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   UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF
                             TEXAS, DALLAS DIVISION
In Re: Highland Capital Management, L.P         § Case No. 19-34054-SGJ-11
Highland Capital Management Fund Advisors, L.P.
et al                                           §
                          Appellant             §
vs.                                             §
Highland Capital Management, L.P.,
                                                §      3:21-CV-00538-N
                         Appellee           §

 [1943] Order confirming the fifth amended chapter 11 plan, Entered on 2/22/2021 .

                           APPELLANT RECORD
                               VOLUME 27
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                                                IMPORTANT NOTICE

    Attached is an electronic copy of the Offering Memorandum (the “Offering Memorandum”), dated December 7,
    2005, relating to the contemplated offering by (i) Liberty CLO, Ltd. (the “Issuer”) and Liberty CLO, Corp. (the
    “Co-Issuer” and, together with the Issuer, the “Co-Issuers”) of Class A-1A Revolving Floating Rate Senior
    Secured Extendable Notes, Class A-1B Delayed Drawdown Floating Rate Senior Secured Extendable Notes,
    Class A-1C Floating Rate Senior Secured Extendable Notes, Class A-2 Floating Rate Senior Secured
    Extendable Notes, Class A-3 Floating Rate Senior Secured Extendable Notes, Class A-4 Floating Rate Senior
    Secured Extendable Notes, Class B Floating Rate Deferrable Senior Secured Extendable Notes and Class C
    Floating Rate Deferrable Senior Secured Extendable Notes and (ii) the Issuer of Class Q-1 Combination
    Extendable Securities, Class P-1 Extendable Securities, Class P-2 Extendable Securities and Class E
    Certificates.

    No registration statement relating to these securities has been or will be filed with the U.S. Securities and
    Exchange Commission. These securities will be offered pursuant to an exemption from the registration
    requirements of the U.S. Securities Act of 1933, as amended. This Offering Memorandum does not
    constitute an offer to sell these securities or a solicitation of an offer to buy these securities, nor will there
    be any sale of these securities in any jurisdiction where such offer, solicitation or sale is not permitted.

    Distribution of this electronic transmission of the Offering Memorandum to any person other than (a) the
    person receiving this electronic transmission from the initial purchaser and/or placement agent on behalf of
    the Issuer or the Co-Issuers and (b) any person retained to advise the person receiving this electronic
    transmission with respect to the offering contemplated by this Offering Memorandum (each, an
    “Authorized Recipient”) is unauthorized, provided that each recipient of this electronic transmission from
    the initial purchaser and/or placement agent (and each employee, representative, or other agent of the
    recipient) may disclose to any and all persons, without limitation of any kind, the U.S. federal income tax
    treatment and tax structure of the transaction and all materials of any kind (including opinions or other tax
    analyses) that are provided to the recipient relating to such tax treatment and tax structure. Except as
    provided in the preceding sentence, any photocopying, disclosure or alteration of the contents of this
    Offering Memorandum, and any forwarding of a copy of this Offering Memorandum or any portion thereof
    by electronic mail or any other means to any person other than an Authorized Recipient, is prohibited.

    By accepting delivery of this Offering Memorandum, each recipient hereof agrees to the foregoing.




                                                                                                           006940
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Offering                                      273 06/09/21 Page 57 of 327 PageID 9768
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         Memorandum

                                                             LIBERTY CLO, LTD.
                                                            LIBERTY CLO, CORP.
                                  U.S.$50,000,000 Class A-1A Revolving Floating Rate Senior Secured Extendable Notes
                              U.S.$50,000,000 Class A-1B Delayed Drawdown Floating Rate Senior Secured Extendable Notes
                                       U.S.$446,000,000 Class A-1C Floating Rate Senior Secured Extendable Notes
                                        U.S.$68,500,000 Class A-2 Floating Rate Senior Secured Extendable Notes
                                        U.S.$68,500,000 Class A-3 Floating Rate Senior Secured Extendable Notes
                                        U.S.$43,000,000 Class A-4 Floating Rate Senior Secured Extendable Notes
                                    U.S.$49,000,000 Class B Floating Rate Deferrable Senior Secured Extendable Notes
                                    U.S.$52,000,000 Class C Floating Rate Deferrable Senior Secured Extendable Notes
                                                                 94,000 Class E Certificates
                                                               ________________________
                                                            U.S.$20,000,000 Class P-1 Extendable Securities*
                                                            U.S.$5,000,000 Class P-2 Extendable Securities*
                                                                     ________________________
                                                 U.S.$20,000,000 Class Q-1 Combination Extendable Securities**
                 *The Class P-1 Securities consist of the Class P-1 Class E Certificate Component representing 6,180 Class E Certificates and the Class P-1 U.S.
     Treasury Component representing U.S.$20,000,000 (face value) U.S. Treasury securities with zero coupon due November 15, 2013. The Class P-2 Securities
     consist of the Class P-2 Class E Certificate Component representing 1,500 Class E Certificates and the Class P-2 U.S. Treasury Component representing
     U.S.$5,000,000 (face value) U.S. Treasury securities with zero coupon due November 15, 2013. The 6,180 Class E Certificates to which the Class P-1 Class E
     Certificate Component relates and the 1,500 Class E Certificates to which the Class P-2 Class E Certificate Component relates are included in (and are not in
     addition to) the aggregate 94,000 Class E Certificates.
                 **The Class Q-1 Securities consist of the Class Q-1 Note Component representing U.S.$12,600,000 aggregate principal amount of Class C Notes
     and the Class Q-1 Class E Certificate Component representing 7,400 Class E Certificates. The 7,400 Class E Certificates and the U.S.$12,600,000 aggregate
     principal amount of Class C Notes to which the Class Q-1 Class E Certificate Component and the Class Q-1 Note Component, respectively, relate are included
     in (and are not in addition to) the aggregate 94,000 Class E Certificates and the U.S.$52,000,000 aggregate principal amount of the Class C Notes.
           Liberty CLO, Ltd. (the “Issuer”) and Liberty CLO, Corp. (the “Co-Issuer” and, together with the Issuer, the “Co-Issuers”) will issue (i) the Class A-1A
Revolving Floating Rate Senior Secured Extendable Notes (the “Class A-1A Notes”), the Class A-1B Delayed Drawdown Floating Rate Senior Secured Extendable
Notes (the “Class A-1B Notes”), the Class A-1C Floating Rate Senior Secured Extendable Notes (the “Class A-1C Notes,” and together with the Class A-1A Notes and
the Class A-1B Notes, the “Class A-1 Notes”) the Class A-2 Floating Rate Senior Secured Extendable Notes (the “Class A-2 Notes”), the Class A-3 Floating Rate Senior
Secured Extendable Notes (the “Class A-3 Notes”), the Class A-4 Floating Rate Senior Secured Extendable Notes (the “Class A-4 Notes” and together with the Class
A-1 Notes, Class A-2 Notes and the Class A-3 Notes, the “Class A Notes”), the Class B Floating Rate Deferrable Senior Secured Extendable Notes (the “Class B Notes”)
and the Class C Floating Rate Deferrable Senior Secured Extendable Notes (the “Class C Notes”, and, together with the Class A Notes, and the Class B Notes, the
“Notes”) and (ii) the Issuer will issue the Class E Certificates, U.S. $0.01 par value per certificate, (the “Class E Certificates”), the Class Q-1 Combination Extendable
Securities (the “Class Q-1 Securities”), the Class P-1 Extendable Securities (the “Class P-1 Securities” ) and the Class P-2 Extendable Securities (the “Class P-2
Securities” and together with the Class P-1 Securities, the “Class P Securities” and, the Class P Securities together with the Notes and the Class Q-1 Securities, the
“Indenture Securities” and the Indenture Securities together with the Class E Certificates, the “Securities”), in each case in the aggregate principal amounts or number
as described above. The Class Q-1 Securities represent Class C Notes and Class E Certificates as described herein. The Class P Securities represent Class E Certificates
and certain U.S. Treasury securities as described herein. The Notes, the Class Q-1 Securities and the Class P Securities will be issued on or about December 8, 2005 (the
“Closing Date”) pursuant to an Indenture (the “Indenture”), among the Co-Issuers and JPMorgan Chase Bank, National Association, as Trustee (the “Trustee”). The
Class E Certificates will be issued on or about the Closing Date pursuant to and subject to the terms of the Class E Certificate Documents. The Stated Maturity of the
Notes, the Class Q-1 Securities and the Class P Securities and the Scheduled Class E Certificates Redemption Date of the Class E Certificates are subject to multiple
extensions to the applicable Extended Stated Maturity Date (in the case of the Notes, the Class Q-1 Securities and the Class P Securities) and the applicable Extended
Scheduled Class E Certificates Redemption Date (in the case of the Class E Certificates), if the Issuer provides timely notice and the Extension Conditions are satisfied as
described herein.

            The net proceeds of the offering of the Securities will be applied by the Issuer to repurchase participation interests in certain Collateral Obligations sold to
finance the purchase of such Collateral Obligations prior to the Closing Date and to purchase additional Collateral Obligations on and after the Closing Date, all of which
will be pledged under the Indenture by the Issuer to the Trustee for the benefit of the applicable secured parties named therein and to purchase the Class P-1 U.S. Treasury
Component and the Class P-2 U.S. Treasury Component. See “Use of Proceeds.” Highland Capital Management, L.P. will serve as portfolio manager for the Issuer’s
portfolio.
           The Securities will be sold at varying prices as may be negotiated at the time of sale.
                                                                        ________________________
                              Investing in the Securities involves risks. See “Risk Factors” beginning on page 33.
                                                                        ________________________


                                                                           Citigroup
                                                        The date of this Offering Memorandum is December 7, 2005




                                                                                                                                          006941
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          Application                            Document
                      will be made to list the Notes                26-27
                                                     on the Irish Stock        273
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                                                                        Exchange       06/09/21
                                                                                 and application has been Page     58theofClass
                                                                                                          made to list      327      PageID
                                                                                                                                Q-1 Securities, the 9769
                                                                                                                                                    Class P Securities
and the Class E Certificates on the Cayman Islands Stock Exchange. There can be no assurance that any such listing will be obtained. The issuance and settlement of the
Notes on the Closing Date will not be conditioned on the listing of the Notes on the Irish Stock Exchange. The issuance and settlement of the Class Q-1 Securities, the
Class P Securities and the Class E Certificates on the Closing Date will not be conditioned on the listing of such Securities on the Cayman Islands Stock Exchange.
            It is a condition of the issuance of the Securities that (i) the Class A-1A Notes be rated “Aaa” by Moody’s Investors Service, Inc. (“Moody’s”) and “AAA” by
Standard & Poor’s, a division of The McGraw-Hill Companies, Inc. (“S&P” and, together with Moody’s, the “Rating Agencies”), (ii) the Class A-1B Notes be rated
“Aaa” by Moody’s and “AAA” by S&P, (iii) the Class A-1C Notes be rated “Aaa” by Moody’s and “AAA” by S&P, (iv) the Class A-2 Notes be rated “Aaa” by Moody’s
and “AAA” by S&P, (v) the Class A-3 Notes be rated at least “Aa1” by Moody’s and “AAA” by S&P, (vi) the Class A-4 Notes be rated at least “Aa2” by Moody’s and at
least “AA” by S&P, (vii) the Class B Notes be rated at least “A2” by Moody’s and at least “A” by S&P and (viii) the Class C Notes be rated at least “Baa2” by Moody’s
and at least “BBB” by S&P. Each of the above ratings assumes that no Maturity Extension occurs after the Closing Date. In addition, it is a condition to the issuance of
the Securities that (i) the Class Q-1 Securities be rated at least “Baa2” by Moody’s, (ii) the Class P-1 Securities be rated Aaa by Moody’s and (iii) the Class P-2 Securities
be rated Aaa by Moody’s, in each case subject to the respective limitations on such ratings described herein. A credit rating is not a recommendation to buy, sell or hold
securities and may be subject to revision or withdrawal at any time by the assigning Rating Agency. The Class E Certificates will not be rated by any credit rating agency.
THE SECURITIES HAVE NOT BEEN, AND WILL NOT BE, REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED (THE
“SECURITIES ACT”) AND NEITHER THE ISSUER NOR THE CO-ISSUER WILL BE REGISTERED UNDER THE UNITED STATES INVESTMENT
COMPANY ACT OF 1940, AS AMENDED (THE “INVESTMENT COMPANY ACT”). THE SECURITIES WILL BE OFFERED AND SOLD TO NON-U.S.
PERSONS (AS DEFINED IN REGULATION S UNDER THE SECURITIES ACT (“REGULATION S”)) OUTSIDE THE UNITED STATES IN RELIANCE ON
REGULATION S. THE SECURITIES MAY NOT BE OFFERED OR SOLD WITHIN THE UNITED STATES OR TO, OR FOR THE ACCOUNT OR BENEFIT OF,
U.S. PERSONS EXCEPT TO PERSONS THAT ARE (A) “QUALIFIED INSTITUTIONAL BUYERS” AS DEFINED IN RULE 144A UNDER THE SECURITIES
ACT (“RULE 144A”) (EACH A “QUALIFIED INSTITUTIONAL BUYER”) WHICH ARE ALSO “QUALIFIED PURCHASERS” FOR PURPOSES OF SECTION
3(c)(7) OF THE INVESTMENT COMPANY ACT (EACH, A “QUALIFIED PURCHASER” OR (B) SOLELY IN THE CASE OF THE CLASS E CERTIFICATES,
QUALIFIED INSTITUTIONAL BUYERS OR “ACCREDITED INVESTORS” AS DEFINED IN RULE 501(a) OF REGULATION D UNDER THE SECURITIES
ACT (EACH, AN “ACCREDITED INVESTOR”) IN RELIANCE ON THE EXEMPTION FROM THE REGISTRATION REQUIREMENTS PROVIDED BY
SECTION 4(2) OF THE SECURITIES ACT, WHICH ARE ALSO QUALIFIED PURCHASERS OR KNOWLEDGEABLE EMPLOYEES AS DEFINED IN RULE 3c-
5 UNDER THE INVESTMENT COMPANY ACT (EACH, A “KNOWLEDGEABLE EMPLOYEE”), AND IN ACCORDANCE WITH ANY OTHER APPLICABLE
LAW.
THE SECURITIES ARE NOT TRANSFERABLE EXCEPT IN ACCORDANCE WITH THE RESTRICTIONS IN THE INDENTURE AND CLASS E CERTIFICATE
DOCUMENTS AS DESCRIBED UNDER “TRANSFER RESTRICTIONS.”
Citigroup Global Markets Inc., as Initial Purchaser of the Notes (other than the Class A-1A Notes and the Class A-1B Notes), the Class Q-1 Securities and the Class P
Securities and Placement Agent for the Class E Certificates, expects to deliver such Securities to purchasers on or about the Closing Date.




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          Payment of interest on, and principal of, the Notes and the Class Q-1 Securities will be made by
 the Issuer in U.S. Dollars, in each case to the extent of available cash flow in accordance with the Priority
 of Payments, on the first day of each February, May, August and November of each year (or if such day is
 not a Business Day, the next succeeding Business Day) (each such date a “Payment Date”); provided
 that the first Payment Date will be March 3, 2006 and the second Payment Date will be May 2, 2006.
 Each Class of Notes (including the Class Q-1 Note Component) will bear interest at the per annum rates
 set forth under “Summary of Terms—Principal Terms of the Securities.” The Class E Certificates
 (including the Class E Certificate Components) will receive as dividends certain amounts available for
 distribution to the Holders of the Class E Certificates in accordance with the Priority of Payments. See
 “Description of the Securities—Priority of Payments.”

          The Notes and the Class Q-1 Securities to the extent of their Class Q-1 Note Component will be
 subject to Optional Redemption in whole, but not in part, on any Payment Date upon the occurrence of a
 Tax Event or at any time after the Non-Call Period, in each case at the direction of the Holders of at least
 a Majority of the Class E Certificates. The Notes and the Class Q-1 Securities to the extent of their Class
 Q-1 Note Component will be subject to mandatory redemption on a Payment Date, to the extent that any
 of the applicable Coverage Tests are not satisfied, as described herein. The Notes and the Class Q-1
 Securities to the extent of their Class Q-1 Note Component will be subject to Special Redemption, at the
 discretion of the Portfolio Manager, to the extent that at any time during the Reinvestment Period, the
 Portfolio Manager cannot identify satisfactory Collateral Obligations for investment of Collection
 Account funds. After redemption in full of the Notes and the Class Q-1 Securities to the extent of their
 Class Q-1 Note Component but before the Scheduled Class E Certificates Redemption Date, the Class E
 Certificates including the Class E Certificate Components will be subject to Optional Redemption in
 whole or in part on any Payment Date by the Issuer at the direction of the Holders of the requisite
 percentage of the Class E Certificates at the applicable Redemption Price pursuant to the Class E
 Certificate Documents, to the extent legally permitted. See “Description of the Securities—Optional
 Redemption,” “—Mandatory Redemption of the Notes,” “—Special Redemption of Notes If the Portfolio
 Manager Does Not Identify Investments as Contemplated by the Indenture” and “—Priority of
 Payments.” The principal amount of the Notes will be payable at the Stated Maturity unless redeemed or
 paid in full prior thereto. The Class E Certificates are scheduled to be redeemed at their Redemption
 Price on the Scheduled Class E Certificates Redemption Date, unless redeemed prior thereto.

         Certain pledged assets of the Issuer are the sole source of payments on the Securities. The
 Securities do not represent an interest in or obligations of, and are not insured or guaranteed by, the
 Holders of the Class E Certificates, the Portfolio Manager, the Trustee, any paying agent, the Class E
 Certificate Paying Agent, the Initial Purchaser, the Placement Agent, the Revolving Note Agent, the
 Delayed Drawdown Note Agent, any Hedge Counterparty or any of their respective Affiliates.




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                                    NOTICES TO PURCHASERS

                          NOTICE TO NEW HAMPSHIRE RESIDENTS
       NEITHER THE FACT THAT A REGISTRATION STATEMENT OR AN
 APPLICATION FOR A LICENSE HAS BEEN FILED UNDER CHAPTER 421-B OF THE
 NEW HAMPSHIRE UNIFORM SECURITIES ACT, AS AMENDED, WITH THE STATE OF
 NEW HAMPSHIRE NOR THE FACT THAT A SECURITY IS EFFECTIVELY
 REGISTERED OR A PERSON IS LICENSED IN THE STATE OF NEW HAMPSHIRE
 CONSTITUTES A FINDING BY THE SECRETARY OF STATE THAT ANY DOCUMENT
 FILED UNDER RSA 421-B OF THE NEW HAMPSHIRE UNIFORM SECURITIES ACT IS
 TRUE, COMPLETE AND NOT MISLEADING. NEITHER ANY SUCH FACT NOR THE
 FACT THAT AN EXEMPTION OR EXCEPTION IS AVAILABLE FOR A SECURITY OR A
 TRANSACTION MEANS THAT THE SECRETARY OF STATE HAS PASSED IN ANY
 WAY UPON THE MERITS OR QUALIFICATIONS OF, OR RECOMMENDED OR GIVEN
 APPROVAL TO, ANY PERSON, SECURITY OR TRANSACTION. IT IS UNLAWFUL TO
 MAKE, OR CAUSE TO BE MADE, TO ANY PROSPECTIVE PURCHASER, CUSTOMER,
 OR CLIENT ANY REPRESENTATION INCONSISTENT WITH THE PROVISIONS OF
 THIS PARAGRAPH.
                                   NOTICE TO FLORIDA RESIDENTS
        THE SECURITIES ARE OFFERED PURSUANT TO A CLAIM OF EXEMPTION UNDER SECTION
 517.061 OF THE FLORIDA SECURITIES ACT (THE “FLORIDA ACT”) AND HAVE NOT BEEN
 REGISTERED UNDER THE FLORIDA ACT IN THE STATE OF FLORIDA. FLORIDA RESIDENTS WHO
 ARE NOT “INSTITUTIONAL INVESTORS” DESCRIBED IN SECTION 517.061(7) OF THE FLORIDA ACT
 HAVE THE RIGHT TO VOID THEIR PURCHASES OF THE SECURITIES WITHOUT PENALTY WITHIN
 THREE DAYS AFTER THE FIRST TENDER OF CONSIDERATION.

                                   NOTICE TO GEORGIA RESIDENTS
       THE SECURITIES HAVE BEEN ISSUED OR SOLD IN RELIANCE ON CODE SECTIONS 10-5-7
 AND 10-5-9 OF THE GEORGIA SECURITIES ACT OF 1973, AND MAY NOT BE SOLD OR TRANSFERRED
 EXCEPT IN A TRANSACTION WHICH IS EXEMPT UNDER SUCH ACT OR PURSUANT TO AN
 EFFECTIVE REGISTRATION UNDER SUCH ACT.

                         NOTICE TO RESIDENTS OF THE UNITED KINGDOM

          This document is only being distributed to and is only directed at (i) persons who are outside the
 United Kingdom or (ii) to investment professionals falling within Article 19(5) of the Financial Services
 and Markets Act 2000 (Financial Promotion) Order 2005 (the “Order”) or (iii) high net worth entities, and
 other persons to whom it may lawfully be communicated, falling within Article 49(2)(a) to (d) of the
 Order (all such persons together being referred to as “relevant persons”). The Securities are only
 available to, and any invitation, offer or agreement to subscribe, purchase or otherwise acquire such
 Securities will be engaged in only with, relevant persons. Any person who is not a relevant person should
 not act or rely on this document or any of its contents.

       EACH OF THE INITIAL PURCHASER AND PLACEMENT AGENT HAS REPRESENTED AND
 AGREED THAT: (A) IT HAS ONLY COMMUNICATED OR CAUSED TO BE COMMUNICATED AND WILL
 ONLY COMMUNICATE OR CAUSE TO BE COMMUNICATED AN INVITATION OR INDUCEMENT TO
 ENGAGE IN INVESTMENT ACTIVITY (WITHIN THE MEANING OF SECTION 21 OF THE FINANCIAL
 SERVICES AND MARKETS ACT 2000 (“FSMA” )) RECEIVED BY IT IN CONNECTION WITH THE ISSUE
 OR SALE OF THE SECURITIES IN CIRCUMSTANCES IN WHICH SECTION 21(1) OF THE FSMA WOULD

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 NOT, IF THE ISSUER WAS NOT AN AUTHORISED PERSON, APPLY TO THE ISSUER; AND (B) IT HAS
 COMPLIED AND WILL COMPLY WITH ALL APPLICABLE PROVISIONS OF THE FSMA WITH RESPECT
 TO ANYTHING DONE BY IT IN RELATION TO THE SECURITIES IN, FROM OR OTHERWISE
 INVOLVING THE UNITED KINGDOM.

                            NOTICE TO RESIDENTS OF FRANCE
         NO PROSPECTUS (INCLUDING ANY AMENDMENT, SUPPLEMENT OR REPLACEMENT
 THERETO) HAS BEEN PREPARED IN CONNECTION WITH THE OFFERING OF THE SECURITIES THAT
 HAS BEEN APPROVED BY THE AUTORITÉ DES MARCHÉS FINANCIERS OR BY THE COMPETENT
 AUTHORITY OF ANOTHER STATE THAT IS A CONTRACTING PARTY TO THE AGREEMENT ON THE
 EUROPEAN ECONOMIC AREA AND NOTIFIED TO THE AUTORITÉ DES MARCHÉS FINANCIERS; NO
 SECURITIES HAVE BEEN OFFERED OR SOLD NOR WILL BE OFFERED OR SOLD, DIRECTLY OR
 INDIRECTLY, TO THE PUBLIC IN FRANCE EXCEPT TO PERMITTED INVESTORS (“PERMITTED
 INVESTORS”) CONSISTING OF PERSONS LICENSED TO PROVIDE THE INVESTMENT SERVICE OF
 PORTFOLIO MANAGEMENT FOR THE ACCOUNT OF THIRD PARTIES, QUALIFIED INVESTORS
 (INVESTISSEURS QUALIFIÉS) ACTING FOR THEIR OWN ACCOUNT AND/OR INVESTORS BELONGING
 TO A LIMITED CIRCLE OF INVESTORS (CERCLE RESTREINT D’INVESTISSEURS) ACTING FOR THEIR
 OWN ACCOUNT, ALL AS DEFINED AND IN ACCORDANCE WITH ARTICLES L.411-2, D.411-1, D.411-2,
 D.734-1, D.744-1, D.754-1 AND D.764-1 OF THE FRENCH CODE MONÉTAIRE ET FINANCIER; NONE OF
 THIS OFFERING MEMORANDUM OR ANY OTHER MATERIALS RELATED TO THE OFFERING OR
 INFORMATION CONTAINED THEREIN RELATING TO THE SECURITIES HAS BEEN RELEASED,
 ISSUED OR DISTRIBUTED TO THE PUBLIC IN FRANCE EXCEPT TO PERMITTED INVESTORS; AND
 THE DIRECT OR INDIRECT RESALE TO THE PUBLIC IN FRANCE OF ANY SECURITIES ACQUIRED BY
 ANY PERMITTED INVESTORS MAY BE MADE ONLY AS PROVIDED BY ARTICLES L. 411-1, L. 411-2, L.
 412-1 AND L. 621-8 TO L. 621-8-3 OF THE FRENCH CODE MONÉTAIRE ET FINANCIER AND
 APPLICABLE REGULATIONS THEREUNDER.
                           NOTICE TO RESIDENTS OF GERMANY
       THE SECURITIES MAY ONLY BE ACQUIRED IN ACCORDANCE WITH THE GERMAN
 SECURITIES PROSPECTUS ACT (WERTPAPIERPROSPEKTGESETZ, THE “SECURITIES
 PROSPECTUS ACT”) AND THE GERMAN INVESTMENT ACT (INVESTMENTGESETZ, THE
 “INVESTMENT ACT”) AS THE CASE MAY BE. THE SECURITIES ARE NOT REGISTERED OR
 AUTHORIZED FOR DISTRIBUTION UNDER THE INVESTMENT ACT OR THE SECURITIES
 PROSPECTUS ACT AND ACCORDINGLY MAY NOT BE, AND ARE NOT BEING, OFFERED OR
 ADVERTISED PUBLICLY OR OFFERED SIMILARLY UNDER THE INVESTMENT ACT OR THE
 SECURITIES PROSPECTUS ACT. THEREFORE, THIS OFFER IS ONLY BEING MADE TO
 RECIPIENTS TO WHOM THIS DOCUMENT IS PERSONALLY ADDRESSED AND DOES NOT
 CONSTITUTE AN OFFER OR ADVERTISEMENT TO THE PUBLIC. ALL PROSPECTIVE
 INVESTORS ARE URGED TO SEEK TAX ADVICE REGARDING THE TAX TREATMENT
 OF THE SECURITIES PURSUANT TO GERMAN AND OTHER APPLICABLE LAW BY
 THEIR TAX ADVISOR. THE INITIAL PURCHASER AND THE PLACEMENT AGENT DO
 NOT GIVE TAX ADVICE.
                             NOTICE TO RESIDENTS OF JAPAN
       THE SECURITIES HAVE NOT BEEN AND WILL NOT BE REGISTERED UNDER THE
 SECURITIES AND EXCHANGE LAW OF JAPAN (THE “SECURITIES AND EXCHANGE LAW”) AND
 EACH OF THE INITIAL PURCHASER AND THE PLACEMENT AGENT HAS AGREED THAT IT WILL NOT
 OFFER OR SELL ANY SECURITIES, DIRECTLY OR INDIRECTLY, IN JAPAN OR TO, OR FOR THE
 BENEFIT OF, ANY RESIDENT OF JAPAN (WHICH TERM AS USED HEREIN MEANS ANY PERSON
 RESIDENT IN JAPAN, INCLUDING ANY CORPORATION OR OTHER ENTITY ORGANIZED UNDER THE
 LAWS OF JAPAN) OR TO OTHERS FOR RE-OFFERING OR RESALE, DIRECTLY OR INDIRECTLY, IN
 JAPAN OR TO A RESIDENT OF JAPAN AND THAT THEREAFTER IT WILL NOT OFFER OR SELL SUCH
 SECURITIES IN JAPAN OR TO A RESIDENT OF JAPAN EXCEPT PURSUANT TO AN EXEMPTION FROM


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 THE REGISTRATION REQUIREMENTS OF, AND OTHERWISE IN COMPLIANCE WITH, THE
 SECURITIES AND EXCHANGE LAW AND ANY RELEVANT LAWS, REGULATIONS AND MINISTERIAL
 GUIDELINES OF JAPAN.

                    NOTICE TO THE PUBLIC IN THE CAYMAN ISLANDS

       NO INVITATION, WHETHER DIRECTLY OR INDIRECTLY, MAY BE MADE TO THE PUBLIC IN
 THE CAYMAN ISLANDS TO SUBSCRIBE FOR THE SECURITIES. SECTION 194 OF THE COMPANIES
 LAW (2004 REVISION) OF THE CAYMAN ISLANDS PROVIDES THAT AN EXEMPTED COMPANY
 (SUCH AS THE ISSUER) THAT IS NOT LISTED ON THE CAYMAN ISLANDS STOCK EXCHANGE IS
 PROHIBITED FROM MAKING ANY INVITATION TO THE PUBLIC IN THE CAYMAN ISLANDS TO
 SUBSCRIBE FOR ANY OF ITS SECURITIES. EACH PURCHASER OF THE SECURITIES AGREES THAT
 NO INVITATION MAY BE MADE TO THE PUBLIC IN THE CAYMAN ISLANDS TO SUBSCRIBE FOR THE
 SECURITIES.

                          NOTICE TO RESIDENTS OF AUSTRIA

        THIS OFFERING MEMORANDUM IS CIRCULATED IN AUSTRIA FOR THE SOLE PURPOSE OF
 PROVIDING INFORMATION ABOUT THE SECURITIES TO A LIMITED NUMBER OF SOPHISTICATED
 INVESTORS IN AUSTRIA. THIS OFFERING MEMORANDUM IS MADE AVAILABLE ON THE
 CONDITION THAT IT IS SOLELY FOR THE USE OF THE RECIPIENT AS A SOPHISTICATED,
 POTENTIAL AND INDIVIDUALLY SELECTED INVESTOR AND MAY NOT BE PASSED ON TO ANY
 OTHER PERSON OR REPRODUCED IN WHOLE OR IN PART. THIS OFFERING MEMORANDUM DOES
 NOT CONSTITUTE A PUBLIC OFFER (ÖFFENTLICHES ANGEBOT) IN AUSTRIA AND MAY NOT BE
 USED IN CONJUNCTION WITH A PUBLIC OFFERING PURSUANT TO THE CAPITAL MARKET ACT
 (KAPITALMARKTGESETZ) AND/OR THE INVESTMENT FUND ACT (INVESTMENTFONDSGESETZ) IN
 AUSTRIA. CONSEQUENTLY, NO PUBLIC OFFERS OR PUBLIC SALES MUST BE MADE IN AUSTRIA IN
 RESPECT OF THE SECURITIES. THE SECURITIES ARE NOT REGISTERED IN AUSTRIA. IN CASE THE
 SECURITIES ARE QUALIFIED AS SHARES IN A FOREIGN INVESTMENT FUND WITHIN THE MEANING
 OF THE INVESTMENT FUND ACT, THEY MIGHT BE SUBJECT TO A LESS FAVOURABLE TAX
 TREATMENT THAN SHARES IN INVESTMENT FUNDS ESTABLISHED IN AUSTRIA UNDER THE
 INVESTMENT FUND ACT. ALL PROSPECTIVE INVESTORS ARE URGED TO SEEK INDEPENDENT TAX
 ADVICE. THE INITIAL PURCHASER AND THE PLACEMENT AGENT AND THEIR RESPECTIVE
 AFFILIATES DO NOT GIVE TAX ADVICE.

                    ANMERKUNG FÜR EINWOHNER VON ÖSTERREICH
       DIESER PROSPEKT WIRD IN ÖSTERREICH NUR ZU DEM ZWECK HERAUSGEGEBEN, UM
 EINER BESCHRÄNKTEN ANZAHL VON PROFESSIONELLEN MARKTTEILNEHMERN IN ÖSTERREICH
 INFORMATIONEN ÜBER DIE ANGEBOTENEN WERTPAPIERE ZU GEBEN. DIESER PROSPEKT WIRD
 UNTER DER BEDINGUNG ZUR VERFÜGUNG GESTELLT, DASS DIESER PROSPEKT
 AUSSCHLIESSLICH VOM EMPFÄNGER ALS EINEM PROFESSIONELLEN POTENTIELLEN UND
 EINZELN AUSGEWÄHLTEN ANLEGER VERWENDET WIRD UND ER DARF NICHT AN EINE ANDERE
 PERSON WEITERGELEITET ODER TEILWEISE ODER VOLLSTÄNDIG REPRODUZIERT WERDEN.
 DIESER PROSPEKT STELLT KEIN ÖFFENTLICHES ANGEBOT IN ÖSTERREICH DAR UND DARF NICHT
 IN ZUSAMMENHANG MIT EINEM ÖFFENTLICHEN ANGEBOT IN ÖSTERREICH IM SINNE DES
 KAPITALMARKTGESETZES UND/ODER DES INVESTMENTFONDSGESETZES VERWENDET WERDEN.
 FOLGLICH DÜRFEN IN ÖSTERREICH KEINE ÖFFENTLICHEN ANGEBOTE ODER VERKÄUFE DER
 ANGEBOTENEN WERTPAPIERE DURCHGEFÜHRT WERDEN. DIE WERTPAPIERE SIND NICHT IN
 ÖSTERREICH ZUGELASSEN. SOLLTEN DIE WERTPAPIERE ALS ANTEILE AN EINEM
 AUSLÄNDISCHEN INVESTMENTFONDS QUALIFIZIERT WERDEN, KÖNNTEN SIE EINER
 UNGÜNSTIGEREN BESTEUERUNG ALS ANTEILE AN IN ÖSTERREICH GEMÄSS DEM
 INVESTMENTFONDSGESETZ ERRICHTETEN INVESTMENTFONDS UNTERLIEGEN. ALLE KÜNFTIGEN
 ANLEGER WERDEN DAHER AUFGEFORDERT, UNABHÄNGIGE STEUERBERATUNG EINZUHOLEN.

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 DER ERSTKÄUFER UND DIE MIT IHM VERBUNDENEN UNTERNEHMEN ERTEILEN KEINE
 STEUERLICHE BERATUNG.

                          NOTICE TO RESIDENTS OF AUSTRALIA
       ANY OFFER OF SECURITIES, INVITATION TO SUBSCRIBE FOR SECURITIES OR ISSUE OF THE
 SECURITIES IN AUSTRALIA THAT IS REGULATED BY THE CORPORATIONS LAW MUST
 CONSTITUTE AN EXCLUDED OFFER, EXCLUDED INVITATION, OR EXCLUDED ISSUE WITHIN THE
 MEANING GIVEN TO THOSE EXPRESSIONS IN THE CORPORATIONS LAW.

                            NOTICE TO RESIDENTS OF SPAIN
       NEITHER THE SECURITIES NOR THIS OFFERING MEMORANDUM HAVE BEEN APPROVED
 OR REGISTERED IN THE ADMINISTRATIVE REGISTRIES OF THE SPANISH SECURITIES MARKETS
 COMMISSION (COMISIÓN NACIONAL DEL MERCADO DE VALORES). ACCORDINGLY, THE
 SECURITIES MAY NOT BE OFFERED IN SPAIN EXCEPT IN CIRCUMSTANCES WHICH DO NOT
 CONSTITUTE A PUBLIC OFFER OF SECURITIES IN SPAIN WITHIN THE MEANING OF ARTICLE 30BIS
 OF THE SPANISH SECURITIES MARKET LAW OF 28 JULY 1988 (LEY 24/1988, DE 28 DE JULIO, DEL
 MERCADO DE VALORES), AS AMENDED AND RESTATED, AND SUPPLEMENTAL RULES ENACTED
 THEREUNDER.

                          NOTICE TO RESIDENTS OF SINGAPORE
        THIS OFFERING MEMORANDUM HAS NOT BEEN AND WILL NOT BE REGISTERED AS A
 PROSPECTUS WITH THE MONETARY AUTHORITY OF SINGAPORE. ACCORDINGLY, THIS OFFERING
 MEMORANDUM OR ANY OTHER DOCUMENT OR MATERIAL IN CONNECTION WITH ANY OFFER OF
 THE SECURITIES OFFERED HEREBY MAY NOT BE ISSUED, CIRCULATED OR DISTRIBUTED IN
 SINGAPORE. THE OFFER OF SECURITIES OFFERED HEREBY OR ANY INVITATION TO SUBSCRIBE
 FOR OR PURCHASE ANY SUCH SECURITIES (OR ANY ONE OF THEM) MAY NOT BE MADE,
 DIRECTLY OR INDIRECTLY, IN SINGAPORE, OTHER THAN UNDER CIRCUMSTANCES IN WHICH
 SUCH OFFER OR SALE DOES NOT CONSTITUTE AN OFFER OR SALE OF THE SECURITIES OFFERED
 HEREBY TO THE PUBLIC IN SINGAPORE, OR IN WHICH SUCH OFFER OR SALE IS MADE PURSUANT
 TO SUITABLE EXEMPTIONS APPLICABLE THERETO (SUCH AS BUT NOT LIMITED TO SECTION 274
 OR SECTION 275 OF THE SECURITIES AND FUTURES ACT (CHAPTER 289) OF SINGAPORE). NO
 PERSON WHO RECEIVES A COPY OF THIS OFFERING MEMORANDUM UNDER SUCH
 CIRCUMSTANCES MAY ISSUE, CIRCULATE OR DISTRIBUTE THIS OFFERING MEMORANDUM IN
 SINGAPORE OR MAKE, OR GIVE TO ANY OTHER PERSON, A COPY OF THIS OFFERING
 MEMORANDUM.

                            NOTICE TO RESIDENTS OF KOREA
       THE ISSUER IS NOT MAKING ANY REPRESENTATIONS, EXPRESS OR IMPLIED, WITH
 RESPECT TO THE QUALIFICATION OF THE RECIPIENTS OF THESE MATERIALS FOR THE PURPOSE
 OF INVESTING IN THE SECURITIES UNDER THE LAWS OF KOREA, INCLUDING AND WITHOUT
 LIMITATION THE FOREIGN EXCHANGE MANAGEMENT LAW AND REGULATIONS THEREUNDER.
 THE SECURITIES HAVE NOT BEEN REGISTERED UNDER THE SECURITIES AND EXCHANGE LAW OF
 KOREA AND NONE OF THE SECURITIES MAY BE OFFERED OR SOLD OR DELIVERED, DIRECTLY OR
 INDIRECTLY, IN KOREA OR TO ANY RESIDENT OF KOREA EXCEPT PURSUANT TO APPLICABLE
 LAWS AND REGULATIONS OF KOREA.



                                    STABILIZATION

       IN CONNECTION WITH THE ISSUE OF THE SECURITIES, THE INITIAL PURCHASER AND THE
 PLACEMENT AGENT (THE “STABILIZING MANAGERS”) (OR PERSONS ACTING ON BEHALF OF THE
 STABILIZING MANAGERS) MAY OVER-ALLOT SECURITIES; PROVIDED THAT THE AGGREGATE


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  PRINCIPAL AMOUNT OF THE SECURITIES ALLOTED DOES NOT EXCEED 105% OF THE AGGREGATE
  PRINCIPAL AMOUNT OF THE SECURITIES, OR EFFECT TRANSACTIONS WITH A VIEW TO
  SUPPORTING THE MARKET PRICE OF THE SECURITIES AT A LEVEL HIGHER THAN THAT WHICH
  MIGHT OTHERWISE PREVAIL. HOWEVER, THERE IS NO ASSURANCE THAT THE STABILIZING
  MANAGERS (OR PERSONS ACTING ON BEHALF OF THE STABILIZING MANAGERS) WILL
  UNDERTAKE STABILIZATION ACTIONS. ANY STABILIZATION ACTION MAY BEGIN ON OR AFTER
  THE DATE ON WHICH ADEQUATE PUBLIC DISCLOSURE OF THE FINAL TERMS OF THE OFFER OF
  THE SECURITIES IS MADE AND, IF BEGUN, MAY BE ENDED AT ANY TIME, BUT IT MUST END NO
  LATER THAN THE EARLIER OF 30 DAYS AFTER THE ISSUE DATE OF THE SECURITIES AND 60 DAYS
  AFTER THE DATE OF THE ALLOTMENT OF THE SECURITIES.




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                               IMPORTANT INFORMATION

         THE SECURITIES HAVE NOT BEEN AND WILL NOT BE REGISTERED UNDER THE
  SECURITIES ACT, THE SECURITIES LAWS OF ANY STATE OF THE UNITED STATES OR THE
  SECURITIES LAWS OF ANY OTHER RELEVANT JURISDICTION AND MAY NOT BE OFFERED, SOLD
  OR OTHERWISE TRANSFERRED UNLESS AN EXEMPTION FROM REGISTRATION UNDER THE
  SECURITIES ACT AND APPLICABLE STATE SECURITIES LAWS AND THE LAWS OF ANY OTHER
  RELEVANT JURISDICTION IS AVAILABLE. EACH PURCHASER OF THE NOTES (OTHER THAN THE
  CLASS A-1A NOTES AND THE CLASS A-1B NOTES) AND OF CLASS Q-1 SECURITIES, CLASS P-1
  SECURITIES, CLASS P-2 SECURITIES AND CLASS E CERTIFICATES REPRESENTED BY GLOBAL
  SECURITIES WILL BE DEEMED TO MAKE AND EACH PURCHASER OF CLASS A-1A NOTES, CLASS A-
  1B NOTES, CERTIFICATED CLASS E CERTIFICATES, CERTIFICATED CLASS Q-1 SECURITIES,
  CERTIFICATED CLASS P-1 SECURITIES AND CERTIFICATED CLASS P-2 SECURITIES WILL BE
  REQUIRED TO MAKE THE APPROPRIATE PURCHASER REPRESENTATIONS AS DESCRIBED UNDER
  “TRANSFER RESTRICTIONS.” IN ADDITION, THE SECURITIES WILL BEAR RESTRICTIVE LEGENDS
  AND WILL BE SUBJECT TO RESTRICTIONS ON TRANSFER AS DESCRIBED HEREIN, INCLUDING THE
  REQUIREMENT THAT TRANSFERORS OR TRANSFEREES OF SUCH SECURITIES BE DEEMED TO
  MAKE CERTAIN REPRESENTATIONS OR IN CERTAIN CASES FURNISH REPRESENTATION LETTERS,
  IN THE FORMS PRESCRIBED BY THE INDENTURE. ANY RESALE OR OTHER TRANSFER, OR
  ATTEMPTED RESALE OR ATTEMPTED OTHER TRANSFER, OF SECURITIES THAT IS NOT MADE IN
  COMPLIANCE WITH THE APPLICABLE TRANSFER RESTRICTIONS WILL BE TREATED BY THE
  ISSUER AND THE TRUSTEE AS NULL AND VOID AB INITIO. SEE “TRANSFER RESTRICTIONS.”

        THE NOTES WILL BE LIMITED RECOURSE DEBT OBLIGATIONS OF THE ISSUER AND NON-
  RECOURSE DEBT OBLIGATIONS OF THE CO-ISSUER. THE CLASS E CERTIFICATES CONSTITUTE
  PREFERRED EQUITY INTERESTS IN THE ISSUER. THE CLASS Q-1 SECURITIES AND THE CLASS P
  SECURITIES WILL BE LIMITED RECOURSE DEBT OBLIGATIONS OF THE ISSUER (EXCEPT TO THE
  EXTENT OF THEIR CLASS E CERTIFICATE COMPONENTS). PAYMENTS ON THE SECURITIES WILL
  BE MADE SOLELY FROM AND TO THE EXTENT OF THE AVAILABLE PROCEEDS OF THE
  COLLATERAL, WHICH WILL BE THE ONLY SOURCE OF PAYMENTS ON THE SECURITIES. THE
  SECURITIES DO NOT REPRESENT AN INTEREST IN OR OBLIGATIONS OF, AND ARE NOT INSURED
  OR GUARANTEED BY, THE INITIAL PURCHASER, THE PLACEMENT AGENT, THE PORTFOLIO
  MANAGER, THE TRUSTEE, THE CLASS E CERTIFICATES PAYING AGENT, THE CLASS E
  CERTIFICATES REGISTRAR, THE REVOLVING NOTE AGENT, THE DELAYED DRAWDOWN NOTE
  AGENT, THE COLLATERAL ADMINISTRATOR, THE SHARE TRUSTEE, THE ADMINISTRATOR OR
  ANY OF THEIR RESPECTIVE AFFILIATES OR ANY AFFILIATES OF THE ISSUER.

         AN INVESTMENT IN THE SECURITIES IS NOT SUITABLE FOR ALL INVESTORS AND WILL BE
  APPROPRIATE ONLY FOR FINANCIALLY SOPHISTICATED INVESTORS CAPABLE OF (i) ANALYZING
  AND ASSESSING THE RISKS ASSOCIATED WITH COLLATERALIZED DEBT OBLIGATIONS AND (ii)
  BEARING SUCH RISKS AND THE FINANCIAL CONSEQUENCES THEREOF AS THEY RELATE TO AN
  INVESTMENT IN THE SECURITIES. AN INVESTOR IN THE SECURITIES SHOULD HAVE NO NEED FOR
  LIQUIDITY WITH RESPECT TO ITS INVESTMENT IN THE SECURITIES AND NO NEED TO DISPOSE OF
  ITS SECURITIES OR ANY PORTION THEREOF TO SATISFY ANY EXISTING OR CONTEMPLATED
  INDEBTEDNESS OR OBLIGATION OR FOR ANY OTHER PURPOSE.

        THE ISSUER ACCEPTS RESPONSIBILITY FOR THE INFORMATION CONTAINED IN THIS
  OFFERING MEMORANDUM OTHER THAN INFORMATION PROVIDED IN “THE PORTFOLIO
  MANAGER.” TO THE BEST OF THE KNOWLEDGE AND THE BELIEF OF THE ISSUER, THE
  INFORMATION CONTAINED IN THIS OFFERING MEMORANDUM IS IN ACCORDANCE WITH THE
  FACTS AND DOES NOT OMIT ANYTHING LIKELY TO AFFECT THE IMPORT OF SUCH INFORMATION.

        THIS DOCUMENT INCLUDES INFORMATION GIVEN IN COMPLIANCE WITH THE LISTING
  RULES OF THE CAYMAN ISLANDS STOCK EXCHANGE. THE CAYMAN ISLANDS STOCK EXCHANGE


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  REGISTRAR, THE REVOLVING NOTE AGENT, THE DELAYED DRAWDOWN NOTE AGENT, THE
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  REGISTRAR, THE REVOLVING NOTE AGENT, THE DELAYED DRAWDOWN NOTE AGENT, THE
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  AGENT, THE PORTFOLIO MANAGER, THE COLLATERAL ADMINISTRATOR, THE SHARE TRUSTEE,
  THE ADMINISTRATOR OR ANY OF THEIR RESPECTIVE AFFILIATES IN CONNECTION WITH THE
  ACCURACY OF SUCH INFORMATION OR ITS INVESTMENT DECISION.

        THE SECURITIES ARE BEING OFFERED ONLY TO A LIMITED NUMBER OF INDIVIDUALS
  AND INSTITUTIONAL INVESTORS THAT ARE WILLING AND ABLE TO CONDUCT AN INDEPENDENT
  ANALYSIS OF THE CHARACTERISTICS OF THE SECURITIES AND RISKS OF OWNERSHIP OF THE
  SECURITIES. IT IS EXPECTED THAT PROSPECTIVE PURCHASERS INTERESTED IN PURCHASING
  SECURITIES IN THIS OFFERING ARE WILLING AND ABLE TO CONDUCT AN INDEPENDENT
  INVESTIGATION OF THE RISKS POSED BY AN INVESTMENT IN THE SECURITIES.
  REPRESENTATIVES OF THE INITIAL PURCHASER AND THE PLACEMENT AGENT WILL BE
  AVAILABLE TO ANSWER QUESTIONS CONCERNING THE ISSUER, THE SECURITIES AND THE
  COLLATERAL AND WILL, UPON REQUEST, MAKE AVAILABLE SUCH OTHER INFORMATION AS
  PROSPECTIVE PURCHASERS MAY REASONABLY REQUEST.

        THIS OFFERING MEMORANDUM IS NOT INTENDED TO FURNISH LEGAL, REGULATORY,
  TAX, ACCOUNTING, INVESTMENT OR OTHER ADVICE TO ANY PROSPECTIVE PURCHASER OF THE
  SECURITIES. THIS OFFERING MEMORANDUM SHOULD BE REVIEWED BY EACH PROSPECTIVE
  PURCHASER AND ITS LEGAL, REGULATORY, TAX, ACCOUNTING, INVESTMENT AND OTHER
  ADVISORS. PROSPECTIVE PURCHASERS WHOSE INVESTMENT AUTHORITY IS SUBJECT TO LEGAL
  OR OTHER RESTRICTIONS SHOULD CONSULT THEIR LEGAL ADVISORS TO DETERMINE WHETHER
  AND TO WHAT EXTENT THE SECURITIES CONSTITUTE PERMISSIBLE INVESTMENTS FOR THEM.

        NO PERSON IS AUTHORIZED IN CONNECTION WITH ANY OFFERING MADE HEREBY TO
  GIVE ANY INFORMATION OR MAKE ANY REPRESENTATION OTHER THAN AS CONTAINED IN THIS
  OFFERING MEMORANDUM AND, IF GIVEN OR MADE, SUCH INFORMATION OR REPRESENTATION
  MUST NOT BE RELIED UPON AS HAVING BEEN AUTHORIZED BY THE ISSUER, THE INITIAL
  PURCHASER, THE PLACEMENT AGENT, THE PORTFOLIO MANAGER, THE TRUSTEE, THE CLASS E
  CERTIFICATES PAYING AGENT, THE CLASS E CERTIFICATES REGISTRAR, THE REVOLVING NOTE

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  AGENT, THE DELAYED DRAWDOWN NOTE AGENT, THE COLLATERAL ADMINISTRATOR, THE
  SHARE TRUSTEE, THE ADMINISTRATOR OR ANY AFFILIATES OF THE ISSUER. THE DELIVERY OF
  THIS OFFERING MEMORANDUM AT ANY TIME DOES NOT IMPLY THAT THE INFORMATION
  CONTAINED HEREIN IS CORRECT AT ANY TIME SUBSEQUENT TO ITS DATE. EXCEPT TO THE
  EXTENT REQUIRED BY THE LISTING RULES OF THE IRISH STOCK EXCHANGE OR THE CAYMAN
  ISLANDS STOCK EXCHANGE, THE CO-ISSUERS DISCLAIM ANY OBLIGATION TO UPDATE SUCH
  INFORMATION.

         NO ACTION IS BEING TAKEN OR IS CONTEMPLATED BY THE ISSUER, THE CO-ISSUER, THE
  INITIAL PURCHASER OR THE PLACEMENT AGENT THAT WOULD PERMIT A PUBLIC OFFERING OF
  THE SECURITIES OR POSSESSION OR DISTRIBUTION OF THIS OFFERING MEMORANDUM OR ANY
  AMENDMENT THEREOF OR SUPPLEMENT THERETO OR ANY OTHER OFFERING MATERIAL
  RELATING TO THE ISSUER OR THE SECURITIES IN ANY JURISDICTION WHERE, OR IN ANY OTHER
  CIRCUMSTANCES IN WHICH, ACTION FOR THOSE PURPOSES IS REQUIRED. THE DISTRIBUTION OF
  THIS OFFERING MEMORANDUM AND THE OFFERING OF THE SECURITIES MAY ALSO BE
  RESTRICTED BY LAW IN CERTAIN JURISDICTIONS. CONSEQUENTLY, NOTHING CONTAINED
  HEREIN SHALL CONSTITUTE AN OFFER TO SELL, OR A SOLICITATION OF AN OFFER TO BUY, (i)
  ANY SECURITIES OTHER THAN THE SECURITIES OFFERED HEREBY OR (ii) ANY SECURITIES IN
  ANY JURISDICTION IN WHICH IT IS UNLAWFUL FOR SUCH PERSON TO MAKE SUCH AN OFFER OR
  SOLICITATION. PERSONS INTO WHOSE POSSESSION THIS OFFERING MEMORANDUM COMES ARE
  REQUIRED BY THE ISSUER, THE CO-ISSUER, THE INITIAL PURCHASER AND THE PLACEMENT
  AGENT TO INFORM THEMSELVES ABOUT, AND TO OBSERVE, ANY SUCH RESTRICTIONS. NONE OF
  THE U.S. SECURITIES AND EXCHANGE COMMISSION, ANY STATE SECURITIES REGULATORY
  AUTHORITY OR ANY OTHER U.S. REGULATORY AUTHORITY HAS APPROVED OR DISAPPROVED
  THE SECURITIES OR PASSED UPON OR ENDORSED THE MERITS OF THIS OFFERING
  MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

        NONE OF THE INITIAL PURCHASER, THE PLACEMENT AGENT, THE PORTFOLIO MANAGER,
  THE TRUSTEE, THE CLASS E CERTIFICATES PAYING AGENT, THE CLASS E CERTIFICATES
  REGISTRAR, THE REVOLVING NOTE AGENT, THE DELAYED DRAWDOWN NOTE AGENT, THE
  COLLATERAL ADMINISTRATOR, THE SHARE TRUSTEE OR THE ADMINISTRATOR ASSUMES ANY
  RESPONSIBILITY FOR THE PERFORMANCE OF ANY OBLIGATIONS OF THE ISSUER OR CO-ISSUER
  OR ANY OTHER PERSON DESCRIBED IN THIS OFFERING MEMORANDUM OR FOR THE DUE
  EXECUTION, VALIDITY OR ENFORCEABILITY OF THE SECURITIES, THE INSTRUMENTS OR
  DOCUMENTS DELIVERED IN CONNECTION WITH THE SECURITIES OR FOR THE VALUE OR
  VALIDITY OF ANY COLLATERAL (EXCEPT TO THE EXTENT SUCH PERSON IS THE ISSUER
  THEREOF) OR SECURITY INTERESTS PLEDGED IN CONNECTION THEREWITH.

         EXCEPT AS MAY REASONABLY BE NECESSARY TO COMPLY WITH APPLICABLE
  SECURITIES LAWS, EACH RECIPIENT HEREOF (AND EACH EMPLOYEE, REPRESENTATIVE, OR
  OTHER AGENT OF THE RECIPIENT) MAY DISCLOSE TO ANY AND ALL PERSONS, WITHOUT
  LIMITATION OF ANY KIND, THE U.S. FEDERAL INCOME AND STATE AND LOCAL INCOME AND
  FRANCHISE TAX TREATMENT AND TAX STRUCTURE OF THE TRANSACTION AND ALL MATERIALS
  OF ANY KIND (INCLUDING OPINIONS OR OTHER TAX ANALYSES) THAT ARE PROVIDED TO THE
  RECIPIENT RELATING TO SUCH TAX TREATMENT AND TAX STRUCTURE. FOR THIS PURPOSE
  “TAX STRUCTURE” IS LIMITED TO FACTS RELEVANT TO THE U.S. FEDERAL INCOME AND STATE
  AND LOCAL INCOME AND FRANCHISE TAX TREATMENT OF THE OFFERING AND DOES NOT
  INCLUDE INFORMATION RELATING TO THE IDENTITY OF THE ISSUER, THE INITIAL PURCHASER,
  THE PLACEMENT AGENT, THE PORTFOLIO MANAGER OR ANY INVESTOR IN THE SECURITIES.

        ALL REFERENCES HEREIN TO “U.S. $,” “$” OR DOLLARS ARE TO UNITED STATES DOLLARS.




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                                             AVAILABLE INFORMATION

            The Issuer (and, solely in the case of the Notes, the Co-Issuer) will deliver to the Holders of the Securities,
  and make available to prospective purchasers designated by a Holder of Securities, the information required to be
  delivered pursuant to Rule 144A(d)(4) under the Securities Act. If and for so long as any Class of Notes is listed on
  the Irish Stock Exchange and for so long as the rules of such stock exchange so require, any information requested
  under this section by the Holders of the Notes and prospective purchasers will be made available at the offices of
  NCB Stockbrokers as the Paying Agent in Ireland (“Paying Agent in Ireland”).

            Copies of the Indenture and the Issuer Charter may be obtained by the Holders of the Securities upon
  request in writing to the Trustee. Copies of the Indenture will be available at the office of the Paying Agent in
  Ireland, for so long as any Class of the Notes is listed on the Irish Stock Exchange.

                                        FORWARD LOOKING STATEMENTS

           Any projections, forecasts and estimates contained herein are forward looking statements and are based
  upon certain assumptions that the Issuer consider reasonable. Projections are necessarily speculative in nature, and
  it can be expected that some or all of the assumptions underlying the projections will not materialize or will vary
  significantly from actual results. Accordingly, the projections are only an estimate. Actual results may vary from
  the projections, and the variations may be material.

           Some important factors that could cause actual results to differ materially from those in any forward
  looking statements include, among others, changes in interest rates, credit spreads, market, financial or legal
  uncertainties, differences in the actual allocation of the Obligors among categories from those assumed, the timing
  and the number of Collateral Obligations that become Defaulted Obligations and of modifications to the Collateral
  and differences in the market value of Collateral Obligations. Consequently, the inclusion of projections herein
  should not be regarded as a representation by the Issuer, the Initial Purchaser, the Placement Agent, the Trustee, the
  Portfolio Manager, the Class E Certificate Paying Agent, the Class E Certificates Registrar, the Revolving Note
  Agent, the Delayed Drawdown Note Agent, the Collateral Administrator, the Share Trustee, the Administrator or
  any of their respective affiliates or any other Person of the results that will actually be achieved by the Issuer.

           None of the Issuer, the Initial Purchaser, the Placement Agent, the Portfolio Manager, the Trustee, the Class
  E Certificate Paying Agent, the Class E Certificates Registrar, the Revolving Note Agent, the Delayed Drawdown
  Note Agent, the Collateral Administrator, the Share Trustee, the Administrator or any of their respective affiliates or
  any other Person has any obligation to update or otherwise revise any projections, including any revisions to reflect
  changes in economic conditions or other circumstances arising after the date hereof, or to reflect the occurrence of
  unanticipated events, even if the underlying assumptions do not come to fruition.

                              CERTAIN LEGAL INVESTMENT CONSIDERATIONS

            Institutions whose investment activities are subject to legal investment laws and regulations or to review by
  certain regulatory authorities may be subject to restrictions on investments in the Securities. Any such institution
  should consult its legal advisers in determining whether and to what extent there may be restrictions on its ability to
  invest in the Securities. Without limiting the foregoing, any financial institution that is subject to the jurisdiction of
  the Office of the Comptroller of the Currency, the Board of Governors of the Federal Reserve System, the Federal
  Deposit Insurance Corporation, the Office of Thrift Supervision, the National Credit Union Administration, any state
  insurance commission, or any other federal or state agencies with similar authority should review any applicable
  rules, guidelines and regulations prior to purchasing the Securities. Depository institutions should review and
  consider the applicability of the Federal Financial Institutions Examination Council Supervisory Policy Statement on
  Securities Activities, which has been adopted by the respective federal regulators.

           None of the Issuer, the Initial Purchaser, the Placement Agent, the Portfolio Manager, the Trustee, the Class
  E Certificate Paying Agent, the Class E Certificates Registrar, the Revolving Note Agent, the Delayed Drawdown
  Note Agent, the Collateral Administrator, the Share Trustee, the Administrator or any of their respective Affiliates
  makes any representation as to the proper characterization of the Securities for legal investment or other purposes, or


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  as to the ability of particular purchasers to purchase the Securities under applicable investment restrictions. The
  uncertainties described above (and any unfavorable future determinations concerning legal investment or applicable
  regulatory or other characteristics of the Securities) may affect the liquidity of the Securities. Accordingly, all
  institutions whose activities are subject to legal investment laws and regulations, regulatory capital requirements,
  review by regulatory authorities or contractual or other restrictions should consult their own legal advisers in
  determining whether and to what extent the Securities are, or the institution by purchasing Securities would be,
  subject to investment, capital or other restrictions.

                   CERTAIN CONSIDERATIONS RELATING TO THE CAYMAN ISLANDS

             The Issuer is an exempted company incorporated with limited liability under the laws of the Cayman
  Islands. As a result, it may not be possible for purchasers of the Securities to effect service of process upon the
  Issuer within the United States or to enforce against the Issuer in United States courts judgments predicated upon the
  civil liability provisions of the securities laws of the United States. The Issuer has been advised by Walkers, its
  legal advisor in the Cayman Islands, that the United States and the Cayman Islands do not currently have a treaty
  providing for reciprocal recognition and enforcement of judgments in civil and commercial matters and that a final
  judgment for the payment of money rendered by any federal or state court in the United States based on civil
  liability, whether or not predicated solely upon United States securities laws, would therefore not be automatically
  enforceable in the Cayman Islands, and that there is doubt as to the enforceability in the Cayman Islands, in original
  actions or in actions for the enforcement of judgments of the United States courts, of liabilities predicated solely
  upon United States securities laws. The Issuer will appoint Corporation Service Company, 1133 Avenue of the
  Americas, Suite 3100, New York, NY 10036 as its agent in New York for service of process.




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                                                                                 SUMMARY OF TERMS
        The following summary of terms does not purport to be complete and is qualified in its entirety by, and should be read in conjunction with, the more
detailed information appearing elsewhere in this Offering Memorandum and the documents referred to in this Offering Memorandum. A Glossary and an Index of
Defined Terms appear at the back of this Offering Memorandum.
                                                                              Principal Terms of the Securities

                  Class A-1A        Class A-1B   Class A-1C     Class A-2       Class A-3    Class A-4       Class B      Class C        Class E           Class Q-1     Class P-1      Class P-2
                     Notes            Notes        Notes          Notes           Notes        Notes          Notes        Notes        Certificates       Securities    Securities     Securities
    Type           Revolving         Delayed       Senior         Senior          Senior       Senior         Senior       Senior          N/A            Combination    Extendable     Extendable
                 Senior Secured     Drawdown      Secured        Secured         Secured      Secured        Secured      Secured                          Extendable
                   Extendable         Senior     Extendable     Extendable      Extendable   Extendable     Deferrable   Deferrable
                                     Secured                                                                Extendable   Extendable
                                    Extendable
  Issuer(s)        Co-Issuers       Co-Issuers    Co-Issuers    Co-Issuers      Co-Issuers   Co-Issuers     Co-Issuers    Co-Issuers        Issuer           Issuer         Issuer        Issuer
  Principal       $50,000,000      $50,000,000   $446,000,000   $68,500,000    $68,500,000   $43,000,000   $49,000,000   $52,000,0005   $94,000,0005      $20,000,0005   $20,000,0006   5,000,0007
  Amount/
Face Amount/
   Stated
  Amount
  (U.S.$) 1
  Expected           “Aaa”            “Aaa”         “Aaa”         “Aaa”           “Aa1”        “Aa2”          “A2”         “Baa2”            N/A            “Baa2”          “Aaa”         “Aaa”
  Moody’s
Initial Rating
Expected S&P        “AAA”            “AAA”         “AAA”          “AAA”          “AAA”          “AA”           “A”         “BBB”             N/A              N/A            N/A           N/A
Initial Rating
Note Interest      LIBOR +          LIBOR +       LIBOR +        LIBOR +        LIBOR +       LIBOR +       LIBOR +       LIBOR +            N/A              N/A          6.5%10          N/A8
    Rate            0.29%2           0.25%2        0.25%          0.375%         0.50%         0.55%         0.90%         1.90%
                                                                                                                                                                                                     Case 3:21-cv-00538-N Document 26-27 Filed 06/09/21




   Stated        November 1,       November 1,   November 1,    November 1,     November     November 1,   November 1,   November 1,    November 1,       November 1,    November 1,    November 1,
Maturity/Sche       2017              2017          2017           2017          1, 2017        2017          2017          2017           2017              2017           2017           2017
duled Class E
 Certificates
 Redemption
    Date3
 Minimum           $500,000          $500,000     $500,000       $500,000       $500,000      $500,000      $500,000      $500,000          5004          $1,400,000      $2,000,000    $1,700,000
Denomination       ($1,000)          ($1,000)     ($1,000)       ($1,000)       ($1,000)      ($1,000)      ($1,000)      ($1,000)       certificates     ($100,000)     ($1,000,000)    ($50,000)
     s                                                                                                                                  (1 certificate)
  (Integral
  Multiples)
                                                                                                                                                                                                     Page 73 of 327 PageID 9784




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  Ranking of
the Securities:
Priority Class           None              None              None          A-1A, A-1B,      A-1A, A-       A-1A, A-1B,      A-1A, A-1B, A-1A, A-1B, A-1A, A-1B,     See Priority                 See Priority      See Priority
                                                                              A-1C          1B, A-1C,      A-1C, A-2,       A-1C, A-2,  A-1C, A-2, A-1C, A-2, A-    Classes for                  Classes for       Classes for
                                                                                              A-2             A-3           A-3 and A-4    A-3,     3, A-4, B, and Class C Notes                   Class E           Class E
                                                                                                                                         A-4 and B        C         and Class E                  Certificates8     Certificates8
                                                                                                                                                                    Certificates
    Junior Class    A-2, A-3, A-4,     A-2, A-3, A-     A-2, A-3, A-4,     A-3, A-4, B,      A-4, B, C       B, C and       C and Class       Class E            None            See Junior       See Junior        See Junior
                    B, C and Class     4, B, C and      B, C and Class     C and Class      and Class E      Class E             E           Certificates                       Classes for      Classes for       Classes for
                    E Certificates       Class E        E Certificates          E           Certificates    Certificates    Certificates                                       Class C Notes       Class E           Class E
                                       Certificates                        Certificates                                                                                         and Class E      Certificates8     Certificates8
                                                                                                                                                                                Certificates
  Deferred                No                 No                No               No              No              No               Yes             Yes              N/A               Yes9              N/A              N/A
Interest Notes

1      The original principal amount shown above in respect of the Class A–1A Notes is the Commitment for such Class on the Closing Date. Except as otherwise provided, references to the principal of Class A-1A Notes
       will mean the Drawn Amount thereof from time to time. The original principal amount shown above in respect of the Class A–1B Notes is the Fully Drawn Amount for such Class on the Closing Date. Except as
       otherwise provided, references to the principal of Class A-1B Notes will mean the Drawn Amount thereof from time to time. The Class E Certificates will be issued with a Face Amount of U.S. $1,000 per share.
2      The Class A-1A Notes also will be entitled to the Commitment Fee on any undrawn amounts. The Class A-1B Notes also will be entitled to the Delayed Drawdown Fee on any undrawn amounts.
3      The Stated Maturity of the Notes and the Scheduled Class E Certificates Redemption Date of the Class E Certificates are subject to multiple extensions to the applicable Extended Stated Maturity Date (in the case of the
       Notes) and the applicable Extended Scheduled Class E Certificates Redemption Date (in the case of the Class E Certificates), if the Issuer provides timely notice and the Extension Conditions are satisfied. See “Risk
       Factors—The Weighted Average Lives of the Notes May Vary,” “—A Maturity Extension May Result in a Longer or Shorter Holding Period Than Expected,” “Maturity and Prepayment Considerations” and
       “Description of the Securities—Extension of the Reinvestment Period, the Stated Maturity and the Scheduled Class E Certificates Redemption Date.”
4      One Class E Certificate may be issued and transferred in a minimum denomination of 200 certificates and integral multiples of one certificate in excess thereof.
5      The Class Q-1 Securities consist of the Class Q-1 Note Component representing U.S.$12,600,000 aggregate principal amount of Class C Notes and the Class Q-1 Class E Certificate Component representing 7,400 Class
       E Certificates. The 7,400 Class E Certificates and the U.S.$12,600,000 in aggregate principal amount of Class C Notes to which the Class Q-1 Class E Certificate Component and the Class Q-1 Note Component relate
       are included in (and are not in addition to) the Class E Certificates and the aggregate principal amount of the Class C Notes.
6      The Class P-1 Securities consist of the Class P-1 Class E Certificate Component representing 6,180 Class E Certificates and the Class P-1 U.S. Treasury Component representing U.S.$20,000,000 (face value) U.S.
       Treasury securities with zero coupon due November 15, 2013 (CUSIP No. 912833KB5). The 6,180 Class E Certificates to which the Class P-1 Class E Certificate Component relates are included in (and are not in
       addition to) the aggregate 94,000 Class E Certificates. The Class P-1 Securities have an aggregate stated amount of U.S.$20,000,000.
7      The Class P-2 Securities consist of the Class P-2 Class E Certificate Component representing 1,500 Class E Certificates and the Class P-2 U.S. Treasury Component representing U.S.$5,000,000 (face value) U.S.
                                                                                                                                                                                                                                Case 3:21-cv-00538-N Document 26-27 Filed 06/09/21




       Treasury securities with zero coupon due November 15, 2013 (CUSIP No. 912833KB5). The 1,500 Class E Certificates to which the Class P-2 Class E Certificate Component relates are included in (and are not in
       addition to) the aggregate 94,000 Class E Certificates. The Class P-2 Securities have an aggregate stated amount of U.S.$5,000,000.
8      The Class P-1 Class E Certificate Component and the Class P-2 Class E Certificate Component bear the right to receive distributions in the same manner as all Class E Certificates. Any amounts payable with respect
       thereto will be subject to the availability of funds for such payment with respect to the underlying Class P-1 Class E Certificate Component and Class P-2 Class E Certificate Component, as applicable, in accordance
       with the Priority of Payments, and the Class P Securities will not be entitled to any payments in addition to the payments required to be made on their respective underlying Class P-1 Components and Class P-2
       Components.
9      Solely with respect to the Class Q-1 Note Component.
10     Solely for certain calculation purposes, the Class P-1 Securities are deemed to have a Class P-1 Notional Coupon Rate.
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                               The Notes, the Class Q-1 Securities and the Class P Securities
                               will be limited recourse debt obligations of the Issuer (except to
                               the extent of their Class E Certificate Components). The Notes
                               will be non-recourse debt obligations of the Co-Issuer. The
                               Notes, the Class Q-1 Securities and the Class P Securities will be
                               issued pursuant to the Indenture.

                               The Class E Certificates will be preferred equity interests that are
                               part of the issued share capital of the Issuer and, accordingly,
                               will not be secured obligations of the Issuer. The Class E
                               Certificates will not be interests in or obligations of the Co-
                               Issuer. JPMorgan Chase Bank, National Association will act as
                               the Class E Certificate Paying Agent for the Class E Certificates
                               and will perform various administrative services pursuant to a
                               Class E Certificate Paying Agency Agreement, dated as of the
                               Closing Date (the “Class E Certificate Paying Agency
                               Agreement”) between the Issuer and the Class E Certificate
                               Paying Agent.

                               The Class Q-1 Securities will consist of the Class Q-1 Note
                               Component and the Class Q-1 Class E Certificate Component.
                               The Class Q-1 Note Component will represent an initial
                               aggregate principal amount of U.S. $12,600,000 of Class C
                               Notes. The Class Q-1 Class E Certificate Component will
                               represent 7,400 Class E Certificates.
                               The initial aggregate principal amount of the Class C Notes and
                               Face Value of the Class E Certificates to which the Class Q-1
                               Note Component and the Class Q-1 Class E Certificate
                               Component relate are included in (and are not in addition to) the
                               initial aggregate principal amount of the Class C Notes or the
                               aggregate Face Value of the Class E Certificates, respectively.
                               Each Class Q-1 Security represents an undivided beneficial
                               ownership interest in the cash flows on the Class Q-1 Note
                               Component and the Class Q-1 Class E Certificates Component.
                               Pursuant to the Indenture, a Holder of the beneficial interest in
                               the Class Q-1 Securities may exchange, subject to the applicable
                               minimum denomination requirements, Class Q-1 Securities for
                               interests in the underlying Class C Notes and Class E
                               Certificates, subject to the applicable transfer restrictions, and in
                               the manner described, in the Indenture. See “Description of the
                               Securities—The Class Q-1 Securities.”

                               The Class P-1 Securities will be secured to the extent of the
                               Class P-1 Nominal Principal Outstanding solely by (i) the Class
                               P-1 Accounts, (ii) any property deposited into the Class P-1
                               Accounts, including the Class P-1 U.S. Treasury Component and
                               (iii) all proceeds with respect to the foregoing (collectively, the
                               “Class P-1 Collateral”). The Class P-1 Collateral will secure no
                               other Class of Security. The Class P-1 Class E Certificate



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                                               Component (like the Class E Certificates) will not be secured.

                                               The Class P-2 Securities will be secured to the extent of the
                                               Class P-2 Nominal Principal Outstanding solely by (i) Class P-2
                                               Accounts, (ii) any property deposited into the Class P-2
                                               Accounts, including the Class P-2 U.S. Treasury Component and
                                               (iii) all proceeds with respect to the foregoing (collectively, the
                                               “Class P-2 Collateral”). The Class P-2 Collateral will secure no
                                               other Class of Security. The Class P-2 Class E Certificate
                                               Component (like the Class E Certificates) will not be secured.


                                               Except as provided under “Description of the Securities—
                                               Priority of Payments,” the Class A-1A Notes, the Class A-1B
                                               Notes and the Class A-1C Notes will be pari passu with each
                                               other as provided in “Description of the Securities—Class A-1
                                               Funding Allocations,” the Class A-1 Notes will be senior in right
                                               of interest and principal payments on each Payment Date to the
                                               Class A-2 Notes, the Class A-3 Notes, the Class A-4 Notes, the
                                               Class B Notes, the Class C Notes and the Class E Certificates;
                                               the Class A-2 Notes will be senior in right of interest and
                                               principal payments on each Payment Date to the Class A-3
                                               Notes, the Class A-4 Notes, the Class B Notes, the Class C Notes
                                               and the Class E Certificates; the Class A-3 Notes will be senior
                                               in right of interest and principal payments on each Payment Date
                                               to the Class A-4 Notes, the Class B Notes, the Class C Notes and
                                               the Class E Certificates; the Class A-4 Notes will be senior in
                                               right of interest and principal payments on each Payment Date to
                                               the Class B Notes, the Class C Notes and the Class E
                                               Certificates; the Class B Notes will be senior in right of interest
                                               and principal payments on each Payment Date to the Class C
                                               Notes and the Class E Certificates; and the Class C Notes will be
                                               senior in right of interest and principal payments on each
                                               Payment Date to the Class E Certificates.

                                               The Securities and certain other obligations of the Issuer will
                                               have the priorities of payment described under “Description of
                                               the Securities—Priority of Payments.”

  Co-Issuers .......................................... The Issuer is an exempted limited liability company under the
                                                        laws of the Cayman Islands. The Issuer’s activities are limited to
                                                        acquiring Collateral Obligations, Eligible Investments and other
                                                        permitted collateral, entering into any Hedge Agreements and
                                                        Securities Lending Agreements, issuing the Securities and
                                                        incidental activities related thereto.

                                               The Issuer will not have any significant assets other than
                                               Collateral Obligations, Eligible Investments, any Hedge
                                               Agreements and Securities Lending Agreements and certain
                                               other eligible assets. The Collateral Obligations, Eligible
                                               Investments, the rights of the Issuer under any Hedge


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                                              Agreements and other collateral will be pledged to the Trustee as
                                              security for, among other things, the Issuer’s obligations under
                                              the Notes (including the Class Q-1 Note Component).
                                                          The Co-Issuer is a corporation organized under the laws of the
                                                          State of Delaware for the sole purpose of co-issuing the Notes.
                                                          The Co-Issuer will not have any significant assets and will not
                                                          pledge any assets to secure the Notes.
  Trustee ............................................... JPMorgan Chase Bank, National Association will act as the
                                                          Trustee under the Indenture on behalf of the Holders of the
                                                          Notes, Class Q-1 Securities and Class P Securities.
  Portfolio Manager............................. Certain advisory, management and administrative functions with
                                                 respect to the Collateral will be performed by Highland Capital
                                                 Management, L.P., a Delaware limited partnership (“Highland
                                                 Capital” or, in such capacity, the “Portfolio Manager”),
                                                 pursuant to a portfolio management agreement between the
                                                 Issuer and the Portfolio Manager (the “Management
                                                 Agreement”). On the Closing Date, the Portfolio Manager or its
                                                 Affiliates are expected to purchase Class E Certificates having an
                                                 aggregate Face Amount equal to approximately U.S.$22 million.
                                              The Portfolio Manager or its Affiliates may also acquire Class E
                                              Certificates upon the occurrence of (i) the Amendment Buy-Out
                                              Option or (ii) a proposed removal without cause of the Portfolio
                                              Manager by the Directing Class E Certificates. In addition, the
                                              Portfolio Manager or its Affiliates may acquire all or any portion
                                              of any Extension Sale Securities in connection with a Maturity
                                              Extension. See “The Portfolio Manager,” “Risk Factors—
                                              Relating to the Securities,” “—Relating to the Portfolio
                                              Manager” and “—Relating to Certain Conflicts of Interest—The
                                              Issuer Will Be Subject to Various Conflicts of Interest Involving
                                              the Portfolio Manager,” “Description of the Securities—
                                              Amendment Buy-Out,” “Description of the Securities—
                                              Extension of the Reinvestment Period, the Stated Maturity and
                                              the Scheduled Class E Certificates Redemption Date” and “The
                                              Management Agreement.”
  Closing Date ...................................... On or about December 8, 2005.

  Use of Proceeds ................................. The gross proceeds of the offering of the Securities received on
                                                    the Closing Date are expected to equal approximately $838
                                                    million and will be used by the Issuer to:
                                                    x purchase a portfolio of Collateral Obligations (including by
                                                         entering into any Synthetic Security Agreements (and
                                                         correspondingly to fund the related accounts)) and terminate
                                                         participations outstanding under the Warehouse Agreement;

                                              x    fund a trust account for Revolving Loans and Delayed
                                                    Drawdown Loans (the “Revolving Reserve Account”) to
                                                    cover any future draws on Revolving Loans and Delayed
                                                    Drawdown Loans;



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                                              x    enter into any Hedge Agreements, as applicable;

                                              x    enter into any Securities Lending Agreements (and
                                                    correspondingly to fund the Securities Lending Account);

                                              x    fund the Closing Date Expense Account and the Interest
                                                    Reserve Account;

                                              x    purchase the Class P-1 U.S. Treasury Component for
                                                    deposit in the Class P-1 U.S. Treasury Component Account;

                                              x    purchase the Class P-2 U.S. Treasury Component for
                                                    deposit in the Class P-2 U.S. Treasury Component Account;
                                                    and

                                              x    undertake certain permitted incidental activities.

                                              See “Use of Proceeds.”

  Payment Dates................................... Payment of interest on, and principal of, the Notes and
                                                   distributions on the Class E Certificates will be made by the
                                                   Issuer in U.S. Dollars, in each case to the extent of available cash
                                                   flow in respect of the Collateral in accordance with the Priority
                                                   of Payments, on the first day of each February, May, August and
                                                   November of each year (or if such day is not a Business Day, the
                                                   next succeeding Business Day); provided that the first Payment
                                                   Date will be on March 3, 2006 and the second Payment Date will
                                                   be on May 2, 2006.

  Class P Securities Payment Dates ... Payment of the Class P-1 Net Periodic Distribution with respect
                                       to the Class P-1 Securities and of the Class P-2 Net Periodic
                                       Distribution with respect to the Class P-2 Securities will be made
                                       to the Holders of the Class P-1 Securities and the Holders of the
                                       Class P-2 Securities, as applicable, on the tenth Business Day
                                       after each Payment Date or, if such Payment Date coincides with
                                       the Stated Maturity, such Payment Date. Except as otherwise
                                       provided herein, no other payments will be made on the Class P
                                       Securities. See “Description of the Securities —Class P
                                       Securities”.

  Interest Payments and Payments
  of Dividends from Interest
  Proceeds ............................................. The Notes will accrue interest from the Closing Date. Interest on
                                                         the Notes will be payable, to the extent of funds available
                                                         therefor, on each Payment Date.

                                               So long as any Priority Classes are Outstanding with respect to
                                               any Class of Deferred Interest Notes, any payment of interest due
                                               on such Class of Deferred Interest Notes that is not available to
                                               be paid (“Deferred Interest”) in accordance with the Priority of
                                               Payments on any Payment Date will not be considered “payable”


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                                               for the purposes of the Indenture (and the failure to pay the
                                               interest will not be an Event of Default) until the first Payment
                                               Date on which funds are available to be used for payment of
                                               such interest in accordance with the Priority of Payments. To the
                                               extent lawful and enforceable, interest on Deferred Interest with
                                               respect to any Class of Deferred Interest Notes will accrue at the
                                               Note Interest Rate for such Class (and to the extent not paid as
                                               current interest on the Payment Date after the Interest Period in
                                               which it accrues, will thereafter be additional Deferred Interest),
                                               until paid.      See “Description of the Securities—Interest
                                               Payments on the Notes and Payments of Dividends on the
                                               Class E Certificates from Interest Proceeds,” “—Priority of
                                               Payments” and “—The Indenture—Events of Default.”
                                               On each Payment Date, the Issuer will make distributions to the
                                               Class E Certificate Paying Agent for payment to the Holders of
                                               the Class E Certificates as dividends on the Class E Certificates
                                               pursuant to the Class E Certificate Documents, to the extent
                                               legally permitted, to the extent of available Interest Proceeds as
                                               described under clauses (22) and (24) under “Description of the
                                               Securities—Priority of Payments—Interest Proceeds.”
                                               The Class Q-1 Securities are entitled to receive only the
                                               payments associated with the related components.
  Principal Payments and
  Distributions from Principal
  Proceeds ............................................. The Notes and the Class Q-1 Securities will mature at par on the
                                                         Payment Date in November 2017 or, upon a Maturity Extension
                                                         (if any), on the applicable Extended Stated Maturity Date (the
                                                         “Stated Maturity”) and the Class E Certificates are scheduled to
                                                         be redeemed at the Redemption Price thereof by the Issuer on the
                                                         Payment Date in November 2017 or, upon a Maturity Extension
                                                         (if any), on the applicable Extended Scheduled Class E
                                                         Certificates Redemption Date (the “Scheduled Class E
                                                         Certificates Redemption Date”), in each case unless redeemed
                                                         or (in the case of the Notes) repaid in full prior thereto. The
                                                         average life of each Class of Notes is expected to be shorter than
                                                         the number of years from issuance until Stated Maturity for such
                                                         Notes. See “Risk Factors—Relating to the Securities—The
                                                         Weighted Average Lives of the Notes May Vary,” “—A
                                                         Maturity Extension May Result in a Longer or Shorter Holding
                                                         Period Than Expected” and “Maturity and Prepayment
                                                         Considerations.”
                                               In general, principal payments will not be made on the Notes
                                               before the end of the Reinvestment Period, except in the
                                               following circumstances:

                                               x      in connection with an Optional Redemption;
                                               x      at the option of the Portfolio Manager, to effect a Special
                                                       Redemption of the Notes;



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                               x     following a mandatory redemption of the Notes caused by
                                      a failure to meet any of the Coverage Tests or a Rating
                                      Confirmation Failure.

                               See “Description of the Securities—Priority of Payments,” “—
                               Optional Redemption,” “—Special Redemption of the Notes If
                               the Portfolio Manager Does Not Identify Investments as
                               Contemplated by the Indenture,” “—Mandatory Redemption of
                               the Notes” and “Security for the Notes—Ramp-Up.”

                               No payments of principal will be made on the Class A-2 Notes
                               until the principal of the Class A-1 Notes has been paid in full.
                               No payments of principal will be made on the Class A-3 Notes
                               until the principal of the Class A-1 Notes and the Class A-2
                               Notes has been paid in full. No payments of principal will be
                               made on the Class A-4 Notes until the principal of the Class A-1
                               Notes, the Class A-2 Notes and the Class A-3 Notes has been
                               paid in full. No payments of principal will be made on the
                               Class B Notes until the principal of the Class A Notes has been
                               paid in full. No payments of principal will be made on the
                               Class C Notes (other than with respect to the use of Interest
                               Proceeds to pay principal of the Class C Notes on any Payment
                               Date to the extent necessary to satisfy the Class C Coverage
                               Tests in certain circumstances) until the principal of the Class A
                               Notes and the Class B Notes has been paid in full. However,
                               Principal Proceeds may be used to pay Deferred Interest
                               (provided payment of the Deferred Interest would not cause any
                               Coverage Test to be failed) and other amounts before the
                               payment of principal of the Notes. See “Description of the
                               Securities—Priority of Payments.”

                               No principal of any Class of Notes will be payable on any
                               Payment Date other than in accordance with the Priority of
                               Payments and to the extent funds are available therefor on that
                               Payment Date for that purpose, except that the principal of each
                               Class of Notes will be payable in full at the Stated Maturity,
                               unless repaid before that. In addition, principal payments may be
                               made on any Business Day on the Class A-1A Notes , the Class
                               A-1B Notes and the Class A-1C Notes as provided in
                               “Description of the Securities—Class A-1 Funding Allocations
                               and “—Prepayment of the Class A-1A Notes.”

                               On each Payment Date, the Issuer will make distributions to the
                               Class E Certificate Paying Agent for payment to the Holders of
                               the Class E Certificates as dividends on the Class E Certificates
                               pursuant to the Class E Certificate Documents, to the extent
                               legally permitted, to the extent of available Principal Proceeds as
                               described under clauses (8) and (10) under “Description of the
                               Securities—Priority of Payments—Principal Proceeds.”




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                                            For a description of the relative priority of payments and level of
                                            subordination of the Securities and certain fees, expenses and
                                            other liabilities of the Co-Issuers, see “Description of the
                                            Securities—Priority of Payments.”

  Extension of the Stated Maturity,
  the Scheduled Class E Certificates
  Redemption Date and the
  Reinvestment Period......................... The Issuer, if directed by the Portfolio Manager, shall be entitled
                                               on each Extension Effective Date to extend the Stated Maturity
                                               to the applicable Extended Stated Maturity Date if (i) in the case
                                               of an Extension Effective Date occurring after the first Extension
                                               Effective Date, the Issuer has previously effected a Maturity
                                               Extension for each preceding Extension Effective Date and (ii)
                                               the Extension Conditions are satisfied and the Issuer has given
                                               written notice of its election to extend the Reinvestment Period
                                               no later than 60 days and no earlier than 90 days prior to such
                                               Extension Effective Date. For purposes of the foregoing,
                                               “Extension Effective Date” means in the case of the first
                                               Maturity Extension, the Payment Date in November, 2010 and in
                                               the case of any subsequent Maturity Extension, the sixteenth
                                               Payment Date after the then current Extension Effective Date.

                                            If the Extension Conditions are satisfied, the Stated Maturity of
                                            the Notes, the Class Q-1 Securities and the Class P Securities
                                            will be automatically extended to the related Extended Stated
                                            Maturity Date (a “Maturity Extension”); provided that the
                                            Issuer will not be permitted to effect more than four Maturity
                                            Extensions. In the case of a Maturity Extension, the Scheduled
                                            Class E Certificates Redemption Date will automatically be
                                            extended to the related Extended Scheduled Class E Certificates
                                            Redemption Date, the Weighted Average Life Test will be
                                            automatically extended to the related Extended Weighted
                                            Average Life Date, and the Reinvestment Period will be
                                            automatically extended to the related Extended Reinvestment
                                            Period End Date without any requirement for approval or
                                            consent of any Holders of Securities or amendment or
                                            supplement to the Indenture or the Class E Certificate
                                            Documents.       For purposes of the foregoing, “Extended
                                            Reinvestment Period End Date” means, in the case of the first
                                            Maturity Extension, the Payment Date in November 2016 and in
                                            the case of any subsequent Maturity Extension, the sixteenth
                                            Payment Date after the then current Extended Reinvestment
                                            Period End Date, “Extended Stated Maturity Date” means, in
                                            the case of the first Maturity Extension, the Payment Date in
                                            November 2021) and in the case of any subsequent Maturity
                                            Extension, the sixteenth Payment Date after the then current
                                            Extended Stated Maturity Date, “Extended Scheduled Class E
                                            Certificates Redemption Date” means, in the case of the first
                                            Maturity Extension, the Payment Date in November 2021 and in
                                            the case of any subsequent Maturity Extension, the sixteenth


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                                          Payment Date after the then current Extended Scheduled Class E
                                          Certificates Redemption Date, and “Extended Weighted
                                          Average Life Date” means, in the case of the first Maturity
                                          Extension, the Payment Date in May 2019 and in the case of any
                                          subsequent Maturity Extension, the sixteenth Payment Date after
                                          the then current Extended Weighted Average Life Date;
                                          provided that the “Extended Reinvestment Period End Date” will
                                          in no event be a date later than the Payment Date in November
                                          2028, the “Extended Stated Maturity Date” will in no event be a
                                          date later than the Payment Date in November 2033, the
                                          “Extended Scheduled Class E Certificates Redemption Date”
                                          will in no event be a date later than the Payment Date in
                                          November 2033 and the “Extended Weighted Average Life
                                          Date” will in no event be a date later than the May 2031.

                                          As a condition to a Maturity Extension, any Holder of Securities
                                          will have the right to offer to sell its Securities to one or more
                                          Extension Qualifying Purchasers for purchase on the applicable
                                          Extension Effective Date; provided that in the case of the Class P
                                          Securities only the Class E Certificates represented by the Class
                                          E Certificate Component will be sold, and the applicable Class P
                                          U.S. Treasury Component will be distributed to the Holder in
                                          kind.

                                          If all Extension Conditions are satisfied and a Maturity
                                          Extension is effected, each Holder of a Note (including in the
                                          form of the Class Q-1 Note Component) (other than Extension
                                          Sale Securities) will be entitled to receive the applicable
                                          Extension Bonus Payment to the extent of available funds and as
                                          provided in the Priority of Payments. Holders of the Class E
                                          Certificates will not be entitled to receive any Extension Bonus
                                          Payment.

                                          See “Risk Factors—Relating to the Securities—The Weighted
                                          Average Lives of the Notes May Vary,” “—A Maturity
                                          Extension May Result in a Longer or Shorter Holding Period
                                          Than Expected,” “Maturity and Prepayment Considerations,”
                                          and “Description of the Securities—Extension of the
                                          Reinvestment Period, the Stated Maturity and the Scheduled
                                          Class E Certificates Redemption Date”.

  Security for the Securities ................ The Notes and the Class Q-1 Securities (to the extent of the
                                               Class Q-1 Note Component) will be secured by a portfolio
                                               having an Aggregate Principal Balance at the end of the Ramp-
                                               Up Period of approximately U.S.$900 million (in principal
                                               amount) and consisting primarily of Collateral Obligations and
                                               certain other debt securities, in each case having the
                                               characteristics set forth herein. The Notes and the Class Q-1
                                               Securities (to the extent of the Class Q-1 Note Component) will
                                               also be secured by funds on deposit in the Issuer Accounts, the



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                                         Issuer’s rights under any Hedge Agreements, any Securities
                                         Lending Agreements, the Management Agreement and the
                                         Collateral Administration Agreement. See “Security for the
                                         Notes.”

                                         The Class E Certificates (including the Class E Certificate
                                         Components) are unsecured preferred equity interests in the
                                         Issuer.

                                         The Class P-1 Securities will be secured solely by the Class P-1
                                         Collateral. The Class P-1 Collateral will secure no other Class of
                                         Security.

                                         The Class P-2 Securities will be secured solely by the Class P-2
                                         Collateral. The Class P-2 Collateral will secure no other Class of
                                         Security.

  Collateral Ramp-Up Period ............. The Issuer expects that, as of the Closing Date, it will have
                                          purchased (or entered into commitments to purchase) Collateral
                                          Obligations such that the Overcollateralization Ratio Numerator
                                          will be at least $815,000,000. The Issuer expects to purchase or
                                          enter into commitments to purchase additional Collateral
                                          Obligations during the period until the Ramp-Up Completion
                                          Date. The “Ramp-Up Completion Date” is the earlier of (i) the
                                          Business Day prior to March 3, 2005 and (ii) the first day on
                                          which the following conditions are satisfied (x) either (A) the
                                          Aggregate Principal Balance of the Collateral Obligations owned
                                          by the Issuer equals at least $900,000,000 or (B) the Aggregate
                                          Principal Balance of the Collateral Obligations purchased (or
                                          committed to be purchased) by the Issuer (in each case in this
                                          clause (B), measured solely as of the date of purchase or
                                          commitment, as the case may be (provided that with respect to
                                          the Initial Collateral Obligations, the date of purchase shall be
                                          the Closing Date)) equals at least $900,000,000 (without giving
                                          effect to any reductions of that amount that may have resulted
                                          from scheduled principal payments, principal prepayments or
                                          dispositions made with respect to any Collateral Obligations
                                          after the Closing Date and on or before the Ramp-Up
                                          Completion Date) and (y) the Overcollateralization Ratio
                                          Numerator is at least $900,000,000.

                                         In anticipation of the issuance of the Securities, the Issuer, the
                                         Portfolio Manager and an affiliate of the Initial Purchaser (as the
                                         “Warehouse Provider”) entered into the Asset Acquisition
                                         Agreement and Master Participation Agreement pursuant to
                                         which the Portfolio Manager has agreed to manage, on behalf of
                                         the Issuer, the Warehoused Loans to be acquired by the Issuer
                                         before the Closing Date and the Warehouse Provider has agreed
                                         to acquire a 100% participation in each Warehoused Loan
                                         concurrently with its acquisition by the Issuer. On the Closing



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                                               Date, the participations in eligible Warehoused Loans will be
                                               repurchased by the Issuer with the proceeds of the offering.

                                               See “Security for the Notes—Ramp-Up.”

  Reinvestment Period;
  Reinvestment in Collateral
  Obligations ........................................ During the Reinvestment Period, the Issuer may generally (and
                                                       subject to certain requirements) reinvest Principal Proceeds
                                                       received with respect to the Collateral in additional or substitute
                                                       Collateral Obligations in compliance with the Eligibility Criteria
                                                       (which Eligibility Criteria includes requirements that an item of
                                                       Collateral purchased by the Issuer meet the definition of
                                                       “Collateral Obligation” and that the portfolio of Collateral
                                                       Obligations be in compliance with the Concentration Limitations
                                                       to the extent provided in the Eligibility Criteria). See “—
                                                       Collateral Obligations,” “—Concentration Limitations” and
                                                       “Security for the Notes—Eligibility Criteria.”

                                               The “Reinvestment Period” will be the period from the Closing
                                               Date through and including the first to occur of:

                                               (i)     the Payment Date after the date that the Portfolio
                                                       Manager notifies the Trustee, each Rating Agency and the
                                                       Administrator, in the sole discretion of the Portfolio
                                                       Manager, that, in light of the composition of the
                                                       Collateral, general market conditions, and other factors,
                                                       investments in additional Collateral Obligations within
                                                       the foreseeable future would either be impractical or not
                                                       beneficial;
                                               (ii)    the Payment Date in November 2012 or, in the case of a
                                                       Maturity Extension, the Extended Reinvestment Period
                                                       End Date;
                                               (iii)   the Payment Date on which all Notes are to be optionally
                                                       redeemed or an earlier date after notice of an Optional
                                                       Redemption chosen by the Portfolio Manager to facilitate
                                                       the liquidation of the Collateral for the Optional
                                                       Redemption; and
                                               (iv)    the date on which the Reinvestment Period terminates or
                                                       is terminated as a result of an Event of Default (subject to
                                                       the terms of the Indenture).
                                               No investment will be made in Collateral Obligations after the
                                               termination of the Reinvestment Period, except that
                                               (x) Unscheduled Principal Payments and (y) Sale Proceeds from
                                               Credit Improved Obligations may be invested in Collateral
                                               Obligations after the Reinvestment Period subject to the
                                               limitations described under “Security for the Notes—Eligibility
                                               Criteria” and “—Sale of Collateral Obligations; Reinvestment of
                                               Principal Proceeds.” After the termination of the Reinvestment


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                                          Period, all Principal Proceeds (other than Principal Proceeds
                                          constituting Unscheduled Principal Payments and Sale Proceeds
                                          from Credit Improved Obligations) must be applied to make
                                          payments on the Securities in accordance with the Priority of
                                          Payments.
  Collateral Obligations ...................... Any obligation or security (a “Collateral Obligation”) that,
                                                when the Issuer commits to purchase (or otherwise acquire) the
                                                obligation or security, is a Loan, High-Yield Bond, Structured
                                                Finance Obligation or Synthetic Security with a Reference
                                                Obligation that is a Loan, a Structured Finance Obligation or
                                                High-Yield Bond, in each case, that is:

                                          (i)      denominated and payable in U.S. Dollars and is not
                                                   convertible by its obligor into any other currency;
                                          (ii)     an obligation of an obligor Domiciled in an Eligible
                                                   Country;
                                          (iii)    an obligation that is eligible by its terms to be assigned
                                                   to the Issuer and pledged by the Issuer to the Trustee for
                                                   inclusion in the Collateral;

                                          (iv)     not an exchangeable or convertible security that is
                                                   exchangeable or convertible at the option of its issuer;

                                          (v)      not an equity security or a component of an equity
                                                   security or a security that has a component that is an
                                                   equity security (other than for avoidance of doubt, a
                                                   pass-through trust certificate in a trust holding
                                                   Collateral Obligations);

                                          (vi)     not an obligation or security that has been called for
                                                   redemption and is not an obligation or security that is
                                                   the subject of an Offer other than a Permitted Offer or
                                                   an exchange offer in which a security that is not
                                                   registered under the Securities Act is exchanged for (a)
                                                   a security that has substantially identical terms (except
                                                   for transfer restrictions) but is registered under the
                                                   Securities Act or (b) a security that would otherwise
                                                   qualify for purchase under the Eligibility Criteria;

                                          (vii)    an obligation that (a) has a Moody’s Rating (including
                                                   any estimated or confidential rating which is in respect
                                                   of the full obligation of the obligor and which is
                                                   monitored) and (b) has an S&P Rating (including any
                                                   confidential rating which is in respect of the full
                                                   obligation of the obligor and which is monitored),
                                                   which S&P Rating does not have a “p”, “pi”, “q”, “r”,
                                                   “st” or “t” subscript unless S&P otherwise authorizes in
                                                   writing;




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                               (viii)   an obligation that is a Finance Lease (if it is a lease) and
                                        the Rating Condition has been satisfied with respect to
                                        the acquisition thereof;
                               (ix)     an obligation that is not a Current-Pay Obligation, Non-
                                        Performing Collateral Obligation or Credit Risk
                                        Obligation, and in the case of a Collateral Obligation
                                        that has a Moody’s Rating of “Caa1” or lower or an
                                        S&P Rating of “CCC+” or lower, is an obligation for
                                        which the Portfolio Manager has certified in writing
                                        that such Collateral Obligation is not a Credit Risk
                                        Obligation;
                               (x)      an obligation that (unless it is a High-Yield Bond) is not
                                        subordinated by its terms to other indebtedness for
                                        borrowed money of the applicable issuer; provided that
                                        for the avoidance of doubt, this clause shall not prohibit
                                        the inclusion as Collateral Obligations of Second Lien
                                        Loans or Subordinated Lien Loans;

                               (xi)     an obligation that (a) bears simple interest payable in
                                        cash no less frequently than annually (although, in the
                                        case of a PIK Security, interest may be deferrable) at a
                                        fixed or floating rate that is paid on a periodic basis on
                                        an unleveraged basis and, in the case of a floating rate,
                                        computed on a benchmark interest rate plus or minus a
                                        spread, if any (which may vary under the terms of the
                                        obligation) and (b) provides for a fixed amount of
                                        principal payable in cash according to a fixed schedule
                                        (which may include optional call dates) or at maturity
                                        (or a fixed notional amount in the case of Synthetic
                                        Securities);

                               (xii)    except in the case of a Synthetic Security, an obligation
                                        the payment or repayment of the principal, if any, of
                                        which is not an amount determined by reference to any
                                        formula or index or subject to any contingency under
                                        the terms thereof;
                               (xiii)   an obligation the portion of which to be acquired
                                        (including through a Synthetic Security with respect to
                                        the Reference Obligation) does not represent, directly or
                                        indirectly, more than a 25% interest in the obligation;

                               (xiv)    not an obligation with a maturity later than two years
                                        after the Stated Maturity of the Notes;

                               (xv)     an obligation upon which no payments are subject to
                                        withholding tax imposed by any jurisdiction unless the
                                        obligor thereof or counterparty with respect thereto is
                                        required to make “gross-up” payments that cover the
                                        full amount of any such withholding tax on an after-tax


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                                         basis (other than withholding taxes with respect to
                                         commitment fees associated with Collateral Obligations
                                         constituting Revolving Loans or Delayed Drawdown
                                         Loans);

                               (xvi)     not a Loan or Synthetic Security that would require the
                                         Issuer after its purchase of the Loan or Synthetic
                                         Security to advance any funds to the related borrower or
                                         Synthetic Security Counterparty or permit the borrower
                                         or Synthetic Security Counterparty to require that any
                                         future advances be made except for:

                                         (A) any Revolving Loan or Delayed Drawdown Loan
                                             if, the aggregate Balance of all Eligible
                                             Investments credited to the Revolving Reserve
                                             Account will be at least equal to the Revolver
                                             Funding Reserve Amount; and

                                         (B)    any Synthetic Security if the Issuer posts cash
                                                collateral with (or for the benefit of) the Synthetic
                                                Security Counterparty simultaneously with the
                                                Issuer’s purchase of or entry into the Synthetic
                                                Security in an amount not exceeding the amount
                                                of any future advances;

                               (xvii)    if such obligation is a Structured Finance Obligation
                                         that is a collateralized loan obligation, such obligation:

                                         (A) has been assigned a rating by both Moody’s and
                                             S&P;

                                         (B)    has a Moody’s Rating of “Ba3” or higher and an
                                                S&P Rating of “BB-” or higher; and

                                         (C)    has not been placed on the watch list for possible
                                                downgrade by Moody’s or S&P;

                               (xviii)   if such obligation is a Structured Finance Obligation
                                         managed by the Portfolio Manager that is other than a
                                         collateralized loan obligation primarily secured by
                                         Senior Secured Loans, the Rating Condition has been
                                         satisfied;

                               (xix)     not a Loan that is an obligation of a debtor in possession
                                         or a trustee for a debtor in an insolvency proceeding
                                         other than a DIP Loan;

                               (xx)      with respect to an obligation that provides for the
                                         payment of interest at a floating rate, an obligation for
                                         which such floating rate is determined by reference to
                                         the U.S. Dollar prime rate or other base rate, London
                                         interbank offered rate or similar interbank offered rate,


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                                         commercial deposit rate or any other index with respect
                                         to which the Rating Condition is satisfied;

                               (xxi)     in the case of a Synthetic Security, a Synthetic Security
                                         for which the counterparty or issuer, as the case may be,
                                         has a long-term senior unsecured rating by Moody’s of
                                         at least “A1”, and if rated “A1” by Moody’s, such rating
                                         is not on watch for downgrade, and an issuer credit
                                         rating by S&P of at least “A+”;

                               (xxii)    not Margin Stock;
                               (xxiii)   not a Zero-Coupon Security;
                               (xxiv)    not an obligation that is currently deferring interest or
                                         paying interest “in kind” or otherwise has an interest “in
                                         kind” balance outstanding at the time of purchase,
                                         which interest is otherwise payable in cash, unless the
                                         Rating Condition has been satisfied with respect to the
                                         acquisition thereof;
                               (xxv)     not a security whose repayment is subject to substantial
                                         non-credit related risk as determined by the Portfolio
                                         Manager;
                               (xxvi)    not an obligation the interest payments of which are
                                         scheduled to decrease (although interest payments may
                                         decrease due to unscheduled events such as a decrease
                                         if the index relating to a Floating Rate Obligation, the
                                         change from a default rate of interest to a non-default
                                         rate of interest or an improvement in the obligor’s
                                         financial condition);
                               (xxvii) not an obligation that will cause the Issuer, the Co-
                                       Issuer, or the pool of Collateral to be required to be
                                       registered as an investment company under the
                                       Investment Company Act;
                               (xxviii) not an asset, the acquisition (including the manner of
                                         acquisition), ownership, enforcement or disposition of
                                         which would cause the Issuer to be treated as engaged
                                         in a trade or business within the United States for
                                         United States federal income tax purposes or otherwise
                                         as subject to tax on a net income basis in any
                                         jurisdiction outside the Issuer’s jurisdiction of
                                         incorporation; and
                               (xxix)    not a Bridge Loan.

                               Pursuant to the definition of “Synthetic Security,” any
                               “deliverable obligation” that may be delivered to the Issuer as a
                               result of the occurrence of any “credit event” must qualify (when
                               the Issuer purchases the related Synthetic Security and when
                               such “deliverable obligation” is delivered to the Issuer as a result


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                                                of the occurrence of any “credit event”) as a Collateral
                                                Obligation, except that such “deliverable obligation” may
                                                constitute a Defaulted Collateral Obligation when delivered upon
                                                a “credit event”.
                                                See “Security for the Notes—Purchase of Collateral Obligations”
                                                and “—Eligibility Criteria.”
  Concentration Limitations............... Upon a purchase of a Collateral Obligation, the Eligibility
                                           Criteria require that each of the limits set forth below with
                                           respect to a particular type of Investment Obligation (measured
                                           by Aggregate Principal Balance) as a percentage of the
                                           Maximum        Investment       Amount     (the     “Concentration
                                           Limitations”) is satisfied or, if any such limit is not satisfied, the
                                           extent of satisfaction is not reduced:

                                                                                                       Percentage of the
                                                                                                          Maximum
                                                                                                      Investment Amount
   (1)     Senior Secured Loans, Second Lien Loans, Subordinated Lien Loans and Eligible                   t 92.5%
           Investments
           (a)   except that Senior Secured Loans shall meet or exceed the percentage of the               t 87.5%
                 Maximum Investment Amount specified in the right column
   (2)     unsecured Loans                                                                                 d 3.0%
   (3)     Subordinated Lien Loans and Second Lien Loans                                                   d 10.0%
   (4)     High-Yield Bonds                                                                                d 7.5%
   (5)     Subordinated Lien Loans, Second Lien Loans and High-Yield Bonds                                 d 15.0%
   (6)     Revolving Loans and Delayed Drawdown Loans                                                      d 15.0%
   (7)     DIP Loans                                                                                       d 5.0%
           (a) except that with satisfaction of the Rating Condition, DIP Loans may constitute up
                                                                                                           d 7.5%
               to the percentage of the Maximum Investment Amount specified in the right column
   (8)     S&P Unrated DIP Loans                                                                           d 2.5%
   (9)     PIK Securities                                                                                  d 3.0%

   (10)    Structured Finance Obligations                                                                  d 7.5%
           (a) except that Structured Finance Obligations managed by the Portfolio Manager may             d 5.0%
               not exceed the percentage of the Maximum Investment Amount specified in the
               right column
           (b) except that a single issuer together with any of its Affiliates (excluding Secondary        d 3.0%
               Risk Counterparties) of a Structured Finance Obligation may not exceed the
               percentage of the Maximum Investment Amount specified in the right column; and
           (c) except that any single issuer whose long-term debt obligations are rated below                0%
               BBB- by S&P, or are rated BBB- by S&P and are on negative watch for downgrade,
               other than an issuer with respect to which the Rating Condition has been satisfied,
               may not exceed the percentage of the Maximum Investment Amount specified in the
               right column;
   (11)    obligors Domiciled other than in the United States and Canada                                   d 15.0%
   (12)    obligors Domiciled in Canada or any single Moody’s Group I Country                              d 10.0%



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   (13)   obligors Domiciled in any single Moody’s Group II Country                                               d 5.0%
   (14)   obligors Domiciled in any single Moody’s Group III Country                                              d 2.5%
   (15)   obligors organized in a Tax Advantaged Jurisdiction                                                     d 5.0%
   (16)   obligations in the same S&P Industry Classification                                                     d 8.0%
          (a)       except that Investment Obligations belonging to two S&P Industry                             d 12.0%
                    Classifications (not including Telecommunications) may each constitute up to
                    the percentage of the Maximum Investment Amount specified in the right
                    column
   (17)   obligations of a single issuer or any of its Affiliates (excluding Secondary Risk                       d 1.5%
          Counterparties); provided that
          (a)     obligations of a single issuer or any of its Affiliates (excluding Secondary Risk               d 1.0%
                   Counterparties) that are Loans that are part of a credit facility with a total global
                   aggregate commitment amount of less than $75,000,000 may each constitute up
                   to the percentage of the Maximum Investment Amount specified in the right
                   column; and
          (b)       obligations (other than described in (a) above) of up to each of five individual              d 2.0%
                    issuers (including any of their respective Affiliates but excluding issuers that the
                    Portfolio Manager reasonably determines are Affiliated but are not dependent
                    upon one another for credit support and are not dependent upon a Person by
                    which they are commonly controlled for credit support) may each constitute up
                    to the percentage of the Maximum Investment Amount specified in the right
                    column
   (18)   Fixed Rate Obligations                                                                                  d 7.5%
   (19)   obligations that pay interest less frequently than quarterly but no less frequently than                d 7.5%
          annually
   (20)   Synthetic Securities                                                                                   d 20.0%
          (a)       except that Synthetic Securities that provide for settlement other than by                    d 5.0%
                    physical delivery may not exceed the percentage of the Maximum Investment
                    Amount specified in the right column
          (b)       except that Synthetic Securities that reference a senior secured index investment             d 5.0%
                    providing non-leveraged credit exposure to a basket of credit default swaps
                    referencing a diversified group of Reference Obligations, with respect to which
                    the principal or notional amount of the credit exposure to any single Reference
                    Obligation does not increase over time may not exceed the percentage of the
                    Maximum Investment Amount specified in the right column

   (21)   Participations (provided, that no Investment Obligations may be a Participation in a                   d 20.0%
          Participation)
   (22)   Investment Obligations of which are (i) obligors Domiciled other than in the United                    d 20.0%
          States, (ii) Collateral Obligations lent under Securities Lending Agreements, (iii)
          Participations and (iv) Synthetic Securities, in the aggregate may not exceed the
          percentage of the Maximum Investment Amount specified in the right column
                                                                                                                d respective
                                                                                                               percentage in
                                                                                                              Secondary Risk
   (23)   Investment Obligations of which are (i) obligors Domiciled other than in the United                   Table under
          States, (ii) Collateral Obligations lent under Securities Lending Agreements, (iii)                   “Individual
          Participations and (iv) Synthetic Securities, entered into with, or issued by, a single           Counterparty Limit”
          Secondary Risk Counterparty                                                                      for applicable rating*




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                                                                                                               d respective
                                                                                                              percentage in
   (24)     Investment Obligations of which are (i) obligors Domiciled other than in the United              Secondary Risk
            States, (ii) Collateral Obligations lent under Securities Lending Agreements, (iii)                Table under
            Participations and (iv) Synthetic Securities, entered into with, or issued by, all Secondary       “Aggregate
            Risk Counterparties                                                                            Counterparty Limit”
                                                                                                              for applicable
                                                                                                                 rating**
   (25)     Deep Discount Obligations                                                                           d 10.0%
   (26)     CCC/Caa Collateral Obligations                                                                       d 7.5%
   (27)     Long-Dated Collateral Obligations                                                                    d 4.0%
   (28)     Collateral Obligations lent under Securities Lending Agreements                                     d 15.0%
   (29)     Floating Rate Obligations providing for interest at a non-London interbank offered rate              d 5.0%
   (30)     Collateral Obligations that are Loans that are part of a credit facility with a total global        d 10.0%
            aggregate commitment amount of less than $75,000,000
   (31)     Collateral Obligations representing units consisting of debt and warrants to purchase                d 5.0%
            equity securities; provided, that with respect to each Collateral Obligation which consists
            of such a unit of debt and warrants, at the time of purchase of such Collateral Obligation,
            the aggregate value of the warrants included in such unit must be determined by the
            Portfolio Manager in good faith to be no more than 2% of the outstanding principal
            amount of the debt included in such unit
   (32)     Finance Leases                                                                                       d 5.0%
     *      Applicable long-term unsecured rating by Moody’s or S&P of such Secondary Risk Counterparty (using
            the limit for the lower of such ratings if different).
     **     Long-term unsecured rating by Moody’s or S&P at or below a level specified in the Secondary Risk Table
            (using the lower of such ratings for a Secondary Risk Counterparty, if different).

                                                       Subject to the rights of the Portfolio Manager to determine
                                                       otherwise as set out in the Indenture, solely for the purpose
                                                       of determining whether the Concentration Limitations are
                                                       met, Eligible Investments and Cash will be treated as Senior
                                                       Secured Loans and Floating Rate Obligations.
                                                       See “Security For the Notes—Eligibility Criteria.”
  Coverage Tests and the Reinvestment
  Overcollateralization Test........................ The     “Coverage      Tests”     will    consist  of    the
                                                     Overcollateralization Tests and the Interest Coverage Tests.
                                                     In addition, the Reinvestment Overcollateralization Test,
                                                     which is not a Coverage Test, will apply as described
                                                     herein. See “Security For the Notes—The Coverage
                                                     Tests—The Overcollateralization Tests” and “—The
                                                     Interest Coverage Tests” for the formulations of these tests.
                                                     The ratios on which they are based are also described under
                                                     such headings. The tests will be used to determine, among
                                                     other things, whether (i) in the case of the Coverage Tests,
                                                     Notes will be redeemed in the circumstances described
                                                     under “Description of the Securities—Priority of
                                                     Payments,” (ii) in the case of the Reinvestment
                                                     Overcollateralization Test, Collateral Obligations must be
                                                     acquired from Interest Proceeds as described under
                                                     “Description of the Securities—Priority of Payments” and


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                                              (iii) in the case of the Coverage Tests, Collateral
                                              Obligations may be acquired as described under “Security
                                              for the Notes—Eligibility Criteria.”

                                              There will not be any Coverage Test applicable to the Class
                                              E Certificates.

     The Overcollateralization Tests......... The Overcollateralization Tests will consist of the “Class A
                                              Overcollateralization       Test,”      the     “Class       B
                                              Overcollateralization Test” and the “Class C
                                              Overcollateralization Test.” Each Overcollateralization
                                              Test will be satisfied with respect to any Class of Notes
                                              (treating the Class A-1 Notes, the Class A-2 Notes, Class
                                              A-3 Notes and the Class A-4 Notes as one Class for this
                                              purpose) if, as of any Measurement Date, the
                                              Overcollateralization Ratio for the Class is at least equal to
                                              the specified required level for the specified Class indicated
                                              in the table below:

                                                              Test                       Required Level

                                              Class A Overcollateralization Test             111.7%

                                              Class B Overcollateralization Test             106.0%

                                              Class C Overcollateralization Test             103.8%

     The Interest Coverage Tests .............. The Interest Coverage Tests will consist of the “Class A
                                                Interest Coverage Test,” “Class B Interest Coverage
                                                Test” and the “Class C Interest Coverage Test.” Each
                                                Interest Coverage Test will be satisfied with respect to any
                                                specified Class of Notes (treating the Class A-1 Notes, the
                                                Class A-2 Notes, the Class A-3 Notes and the Class A-4
                                                Notes as one Class for this purpose) if, as of the
                                                Determination Date immediately preceding the second
                                                Payment Date and any Measurement Date thereafter on
                                                which any Notes remain Outstanding, the Interest Coverage
                                                Ratio equals or exceeds the applicable required level
                                                specified in the table below for the specified Class:

                                                              Test                       Required Level

                                              Class A Interest Coverage Test                  125%

                                              Class B Interest Coverage Test                  115%

                                              Class C Interest Coverage Test                  110%




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      Reinvestment Overcollateralization
      Test..................................................... A test that will be satisfied as of any Measurement Date on
                                                                which any Notes remain Outstanding, if the Reinvestment
                                                                Overcollateralization Ratio as of such Measurement Date is
                                                                at least equal to 104.8%.
  Collateral Quality Tests ........................... The Collateral Quality Tests will be used primarily as
                                                       criteria for purchasing Collateral Obligations.     See
                                                       “Security for the Notes—Eligibility Criteria.”      The
                                                       “Collateral Quality Tests” will consist of the Diversity
                                                       Test, the Weighted Average Life Test, the Weighted
                                                       Average Moody’s Recovery Rate Test, the Weighted
                                                       Average S&P Recovery Rate Test, the Weighted Average
                                                       Fixed Rate Coupon Test, the Weighted Average Spread
                                                       Test, the Weighted Average Rating Factor Test and the
                                                       S&P CDO Monitor Test, as described below.
      Diversity Test ....................................... The Diversity Test will be satisfied as of any Measurement
                                                             Date if the Diversity Score equals or exceeds the Minimum
                                                             Diversity Score.
      S&P CDO Monitor Test....................... The S&P CDO Monitor Test will be satisfied as of any
                                                  Measurement Date if, after giving effect to the sale of a
                                                  Collateral Obligation or the purchase of a Collateral
                                                  Obligation, each Note Class Loss Differential of the
                                                  Proposed Portfolio is positive.
      Weighted Average Fixed Rate
      Coupon Test ......................................... The Weighted Average Fixed Rate Coupon Test will be
                                                            satisfied as of any Measurement Date if the Weighted
                                                            Average Fixed Rate Coupon equals or exceeds 7.5%.

      Weighted Average Life Test ................. The Weighted Average Life Test will be satisfied as of any
                                                   Measurement Date if the Weighted Average Life on that
                                                   date of all Collateral Obligations is equal to or less than the
                                                   number of years (including any fraction of a year) between
                                                   such Measurement Date and the Payment Date in May
                                                   2015 or, in the case of a Maturity Extension, the Extended
                                                   Weighted Average Life Date.
      Weighted Average Moody’s
      Recovery Rate Test............................... The Weighted Average Moody’s Recovery Rate Test will
                                                        be satisfied as of any Measurement Date if the Moody’s
                                                        Weighted Average Recovery Rate is greater than or equal
                                                        to 44.75%.
      Weighted Average Rating Factor
      Test....................................................... The Weighted Average Rating Factor Test will be satisfied
                                                                  as of any Measurement Date, if the Weighted Average
                                                                  Moody’s Rating Factor of the Collateral Obligations
                                                                  (excluding Eligible Investments) as of such Measurement
                                                                  Date is less than or equal to the Maximum Weighted
                                                                  Average Moody’s Rating Factor.



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      Weighted Average S&P Recovery
      Rate Test .............................................. The Weighted Average S&P Recovery Rate Test will be
                                                               satisfied as of any Measurement Date if the S&P Weighted
                                                               Average Recovery Rate is greater than or equal to 51.5%.

      Weighted Average Spread Test ............ The Weighted Average Spread Test will be satisfied as of
                                                any Measurement Date if (i) the Weighted Average Spread
                                                as of the Measurement Date equals or exceeds the
                                                Minimum Weighted Average Spread and (ii) the Weighted
                                                Average Commitment Fee as of the Measurement Date
                                                equals or exceeds the Minimum Weighted Average
                                                Commitment Fee.

                                                   See “Security for the Notes—The Collateral Quality Tests.”

  Mandatory Redemption of the Notes
  for Failure to Satisfy Coverage Tests...... If any of the Overcollateralization Tests is not satisfied on
                                              the last day of any Due Period (each, a “Determination
                                              Date”) or any of the Interest Coverage Test is not satisfied
                                              on the Determination Date relating to the second Payment
                                              Date or any Determination Date thereafter, funds will be
                                              used pursuant to the Priority of Payments to redeem the
                                              Notes to the extent necessary for such failing Coverage
                                              Tests to be satisfied that would otherwise be used:

                                                   (i)     to purchase additional Collateral Obligations during
                                                           the Reinvestment Period; or

                                                  (ii)     to make interest and principal payments on Notes at
                                                           lower levels of the Priority of Payments than the
                                                           level at which the applicable Coverage Test is
                                                           applied, and to make dividend or redemption
                                                           payments in respect of the Class E Certificates.

                                                   See “Description of the Securities—Mandatory Redemption
                                                   of the Notes—Mandatory Redemption of the Notes for
                                                   Failure to Satisfy Coverage Tests.”

  Certain Consequences of Failure to
  Satisfy the Reinvestment
  Overcollateralization Test........................ If the Reinvestment Overcollateralization Test is not
                                                     satisfied on any Determination Date, certain funds, as
                                                     described under clause (17) under “Description of the
                                                     Securities—Priority of Payments—Interest Proceeds,”
                                                     representing Interest Proceeds that would otherwise be used
                                                     to pay Administrative Expenses in excess of the
                                                     Administrative     Expense     Cap,    pay    Subordinated
                                                     Management Fees, make Extension Bonus Payments, make
                                                     Defaulted Hedge Termination Payments, make distributions
                                                     on the Class E Certificates and pay the Incentive
                                                     Management Fee will be deposited instead into the


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                                                  Collection Account as Principal Proceeds for purposes of
                                                  investment in additional Collateral Obligations.

  Mandatory Redemption of the Notes
  Upon Rating Confirmation Failure......... The Issuer will request each of S&P and Moody’s to
                                            confirm in writing, by the Business Day after the 29th day
                                            after the Ramp-Up Completion Date, that it has not
                                            reduced, suspended or withdrawn the Initial Rating of any
                                            Class of Notes or the Class Q-1 Securities and that it has
                                            not placed any Class of Notes or the Class Q-1 Securities
                                            on credit watch with negative implications. If the Trustee
                                            does not receive evidence of such confirmation before the
                                            Determination Date relating to the Payment Date following
                                            the 29-day period (such an event, a “Rating Confirmation
                                            Failure”), all Interest Proceeds remaining after payment of
                                            amounts referred to in clauses (1) through (15) of
                                            “Description of the Securities—Priority of Payments—
                                            Interest Proceeds” will be used on the next Payment Date
                                            and each Payment Date thereafter to pay principal of the
                                            Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes,
                                            the Class A-4 Notes, the Class B Notes and the Class C
                                            Notes sequentially in order of their priority, in each case
                                            until the Initial Ratings are confirmed. If necessary, after
                                            the foregoing payments are made out of Interest Proceeds,
                                            Principal Proceeds in accordance with clause (4) under
                                            “Description of the Securities—Priority of Payments—
                                            Principal Proceeds” will also be used on each Payment Date
                                            for such purpose until the Initial Ratings are confirmed. In
                                            addition, if otherwise available Interest Proceeds and
                                            Principal Proceeds are insufficient to pay principal on the
                                            Notes such that the Initial Ratings are confirmed, the
                                            Portfolio Manager, in its discretion, may sell Collateral
                                            Obligations and use the proceeds to pay principal on the
                                            Notes until such Initial Ratings are confirmed. See
                                            “Description of the Securities—Mandatory Redemption of
                                            the Notes—Redemption of the Notes Upon Rating
                                            Confirmation Failure.”

  Non-Call Period ........................................ The period from the Closing Date to but not including the
                                                           Payment Date in November 2010 (the “Non-Call Period”).




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  Optional Redemption ............................... Upon the occurrence of a Tax Event or at any time after the
                                                      Non-Call Period, the Holders of at least a Majority of the
                                                      Class E Certificates may require the Co-Issuers to redeem
                                                      the Notes, in whole but not in part, from Principal Proceeds
                                                      and all other funds available for that purpose in the
                                                      Collection Account, the Payment Account, the Interest
                                                      Reserve Account, the Closing Date Expense Account and
                                                      the Revolving Reserve Account in accordance with the
                                                      redemption procedures described under “Description of the
                                                      Securities—Optional Redemption.” In such event, the
                                                      Portfolio Manager will direct the sale of all or part of the
                                                      Collateral in an amount sufficient that the proceeds of sale
                                                      therefrom and all other funds available for such purpose in
                                                      the Collection Account, the Payment Account, the Interest
                                                      Reserve Account, the Closing Date Expense Account and
                                                      the Revolving Reserve Account will be at least sufficient to
                                                      redeem all of the Notes at the applicable redemption price
                                                      and to pay all administrative and other fees and expenses
                                                      payable pursuant to the Priority of Payments.

                                                 In addition, the Class A-1A Notes may be prepaid during
                                                 the Reinvestment Period at the election of the Issuer,
                                                 subject to certain conditions.

                                                 Notes to be redeemed shall, on the Redemption Date,
                                                 become payable at their redemption price described below.
                                                 From and after the Redemption Date the redeemed Notes
                                                 will cease to bear interest.

                                                 The redemption price payable in connection with the
                                                 Optional Redemption of any Class of Notes (other than any
                                                 Class A-1A Note) will be the sum of:

                                                 (i)     the outstanding principal amount of the portion of
                                                         the Note being redeemed; plus
                                                 (ii)    accrued and unpaid interest on the Note (including
                                                         any Defaulted Interest and interest on Defaulted
                                                         Interest); plus
                                                 (iii)   in the case of any Deferred Interest Note, the
                                                         applicable Deferred Interest on the Note; plus
                                                 (iv)    in the case of the Class A-1B Notes, any accrued and
                                                         unpaid Delayed Drawdown Fee; plus
                                                 (v)     any unpaid Extension Bonus Payment in respect of
                                                         the Note.
                                                 The “Redemption Price”, when used with respect to any
                                                 Class A–1A Note, shall be 100% of the Drawn Amount of
                                                 such Class A–1A Note to be redeemed, plus accrued and
                                                 unpaid interest thereon (including any Defaulted Interest
                                                 and interest on Defaulted Interest) at the applicable Interest


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                                                  Rate and any accrued and unpaid Commitment Fee
                                                  Amount.

                                                  The redemption price payable in connection with the
                                                  Optional Redemption of the Class E Certificates will be (i)
                                                  the entire remaining amount of available funds after all
                                                  prior applications or (ii) as otherwise specified by the
                                                  unanimous direction of the Holders of the Class E
                                                  Certificates, in each case, as described under “Description
                                                  of the Securities—Optional Redemption.”

                                                  Following the liquidation and distribution of the Collateral
                                                  in full or early redemption of the Class E Certificates, if any
                                                  Class P Notes are then Outstanding, on the next succeeding
                                                  Class P Securities Payment Date the Class P Securities will
                                                  automatically be redeemed at the applicable Class P
                                                  Redemption Price.

  Special Redemption .................................. The Notes will be subject to redemption in whole or in part
                                                        by the Co-Issuers on Payment Dates during the
                                                        Reinvestment Period if the Portfolio Manager elects
                                                        (subject to the Management Agreement) to notify the
                                                        Trustee and each Rating Agency that it has been unable, for
                                                        45 consecutive Business Days, to identify additional
                                                        Collateral Obligations that are deemed appropriate by the
                                                        Portfolio Manager in its sole discretion and meet the
                                                        Eligibility Criteria in sufficient amounts to permit the
                                                        investment or reinvestment of all or a portion of the funds
                                                        then in the Collection Account available to be invested in
                                                        additional    Collateral     Obligations    (a     “Special
                                                        Redemption”). On the first Payment Date following the
                                                        Due Period for which such notice is effective (a “Special
                                                        Redemption Date”), the funds in the Collection Account
                                                        representing Principal Proceeds which the Portfolio
                                                        Manager determines cannot be reinvested in additional
                                                        Collateral Obligations (the “Special Redemption
                                                        Amount”) will be available to be applied in accordance
                                                        with the Priority of Payments. See “Description of the
                                                        Securities—Special Redemption of the Notes If the
                                                        Portfolio Manager Does Not Identify Investments as
                                                        Contemplated by the Indenture.”

  Revolving Notes......................................... Pursuant to a Class A-1A Note Purchase Agreement to be
                                                           entered into among the Co-Issuers, the Revolving Note
                                                           Agent and the holders of the Class A-1A Notes (the “Class
                                                           A-1A Note Purchase Agreement”), the Holders of the
                                                           Class A-1A Notes will commit to make advances at any
                                                           time beginning on the Closing Date and ending on the
                                                           earlier to occur of (a) the later of (i) the end of the
                                                           Reinvestment Period and (ii) the date on which the



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                                                     Aggregate Unfunded Amount is zero and (b) the
                                                     Commitment Termination Date (such period, the “Draw
                                                     Period”), subject to compliance with certain conditions
                                                     specified therein. The aggregate Borrowings under the
                                                     Class A-1A Notes at any time will not exceed
                                                     U.S.$50,000,000. The Royal Bank of Scotland, plc, will be
                                                     the initial purchaser of the Class A-1A Notes. See
                                                     “Description of the Securities—Class A-1A Notes
                                                     Borrowings.” JPMorgan Chase Bank, National Association
                                                     will serve as the Revolving Note Agent under the Class A-
                                                     1A Note Purchase Agreement.
                                                     During the Reinvestment Period, the Class A-1A Notes
                                                     may be prepaid (in whole or in part) without premium on
                                                     any Business Day at the option of the Issuer (at the
                                                     direction of the Portfolio Manager) (each, a “Prepayment”)
                                                     from (i) Principal Proceeds otherwise available for
                                                     reinvestment in Collateral Obligations or (ii) amounts
                                                     credited to the Revolving Reserve Account so long as, after
                                                     giving effect thereto, the aggregate Balance of all Eligible
                                                     Investments credited to the Revolving Reserve Account
                                                     will be at least equal to the Revolver Funding Reserve
                                                     Amount. Any amounts repaid may be reborrowed until the
                                                     date of termination of the Commitments. Accrued interest
                                                     will be paid to the extent provided in the Indenture, without
                                                     duplication, on amounts prepaid and reborrowed in the
                                                     same Interest Period in respect of the actual number of days
                                                     for which such amounts were drawn.
                                                     Each purchaser of Class A-1A Notes during the Draw
                                                     Period will be required to satisfy the Rating Criteria. If any
                                                     holder of Class A-1A Notes at any time during the Draw
                                                     Period fails to comply with the Rating Criteria, such holder
                                                     will be obligated under the Class A-1A Note Purchase
                                                     Agreement to give immediate notice thereof to the Issuer,
                                                     the Trustee, the Revolving Note Agent and the Rating
                                                     Agencies and immediately following such notice to fund
                                                     the full Undrawn Amount of its Class A-1A Notes into a
                                                     reserve account.

      Commitment Fee on the Revolving                            A commitment fee (the “Commitment Fee”) will accrue on
      Notes .................................................... the Aggregate Undrawn Amount of the Class A-1A Notes
                                                                 at a rate per annum equal to 0.17% (the “Commitment Fee
                                                                 Rate”).     The Commitment Fee will be payable (if
                                                                 applicable) on the first Payment Date and then quarterly in
                                                                 arrears on each Payment Date and will rank pari passu with
                                                                 the payment of interest on the Class A-1 Notes.

  Delayed Drawdown Notes ........................ Pursuant to a Class A-1B Note Purchase Agreement to be
                                                  entered into among the Co-Issuers, the Delayed
                                                  Drawdown Note Agent and the holders of the Class A-1B
                                                  Notes (the “Class A-1B Note Purchase Agreement”), the


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                                                      Holders of the Class A-1B Notes will commit to make
                                                      advances at any time beginning on the Closing Date and
                                                      ending on the earlier to occur of (a) the date on which the
                                                      Fully Drawn Amount of Class A-1B Notes is fully drawn
                                                      and (b) February 27, 2006 (such period, the “Delayed
                                                      Drawdown Period”), subject to compliance with certain
                                                      conditions specified therein. Any Aggregate Undrawn
                                                      Amount of Class A-1B Notes as of the second Business
                                                      Day prior February 27, 2006 will be drawn on that Business
                                                      Day and required to be funded on the Business Day prior to
                                                      February 27, 2006. The aggregate Fully Drawn Amount of
                                                      the Class B Notes may will not exceed U.S.$50,000,000.
                                                      Citigroup Global Markets Inc. will be the initial purchaser
                                                      of the Class A-1B Notes. See “Description of the
                                                      Securities—Class A-1B Notes Drawdowns.” JPMorgan
                                                      Chase Bank, National Association will serve as the Delayed
                                                      Drawdown Note Agent under the Class A-1B Note
                                                      Purchase Agreement.
                                                      Each purchaser of Class A-1B Notes during the Delayed
                                                      Drawdown Period will be required to satisfy the Rating
                                                      Criteria. If any holder of Class A-1B Notes at any time
                                                      during the Delayed Drawdown Period fails to comply with
                                                      the Rating Criteria, such holder will be obligated under the
                                                      Class A-1B Note Purchase Agreement to give immediate
                                                      notice thereof to the Issuer, the Trustee, the Delayed
                                                      Drawdown Note Agent and the Rating Agencies and
                                                      immediately following such notice to fund the full Undrawn
                                                      Amount of its Class A-1B Notes into a reserve account.
       Delayed Drawdown Fee on the                A commitment fee (the “Delayed Drawdown Fee”) will
       Delayed Drawdown Notes ................... accrue on the Aggregate Undrawn Amount of the Class
                                                  A-1B Notes at a rate per annum equal to 0.17% (the
                                                  “Delayed Drawdown Fee Rate”).               The Delayed
                                                  Drawdown Fee will be payable (if applicable) on the first
                                                  Payment Date and will rank pari passu with the payment of
                                                  interest on the Class A-1 Notes.

  The Offering.............................................. The Securities are being offered only (i) in the United
                                                             States, to (a) in the case of the Notes, the Class Q-1
                                                             Securities and the Class P Securities, “qualified institutional
                                                             buyers” as defined in Rule 144A under the Securities Act
                                                             (“Qualified Institutional Buyers”) or (b) in the case of the
                                                             Class E Certificates only, Qualified Institutional Buyers or
                                                             “accredited investors” as defined in Rule 501(a) of
                                                             Regulation D under the Securities Act (“Accredited
                                                             Investors”), in each case that are also “qualified purchasers”
                                                             as defined for purposes of Section 3(c)(7) of the Investment
                                                             Company Act (“Qualified Purchasers”) or, in the case of
                                                             Class E Certificates only, “knowledgeable employees” as
                                                             defined in Rule 3c-5 under the Investment Company Act.



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                                                        The Securities are being offered outside the United States to
                                                        non-U.S. persons (as defined in Regulation S under the
                                                        Securities Act) in offshore transactions in reliance on
                                                        Regulation S under the Securities Act. Certain additional
                                                        offering restrictions also apply.            See “Transfer
                                                        Restrictions.”

  Form, Registration and Transfer of the The Notes of each Class (other than the Class A-1A Notes
  Notes........................................................... and the Class A-1B Notes) sold to U.S. persons (as defined
                                                                   in Regulation S) will each be issued in the form of one or
                                                                   more permanent global notes per Class in definitive, fully
                                                                   registered form without interest coupons (each, a “Rule
                                                                   144A Global Note”) deposited with the Trustee as
                                                                   custodian for, and registered in the name of, a nominee of
                                                                   the Depositary. With respect to the Rule 144A Global
                                                                   Notes, the Depositary will credit the account of each of its
                                                                   participants with the principal amount of the Notes being
                                                                   purchased by or through the participant.            Beneficial
                                                                   interests in a Rule 144A Global Note will be shown on, and
                                                                   transfers thereof will be effected only through, records
                                                                   maintained by the Depositary and its direct and indirect
                                                                   participants. See “Description of the Securities—Form,
                                                                   Denomination, Registration and Transfer of the Global
                                                                   Securities.” Interests in Rule 144A Global Notes may only
                                                                   be beneficially owned by persons who are both (i) a
                                                                   Qualified Institutional Buyer and (ii) a Qualified Purchaser.

                                                        The Notes of each Class (other than the Class A-1A Notes
                                                        and the Class A-1B Notes), the Class Q-1 Securities and the
                                                        Class P Securities, in each case sold outside the U.S. in
                                                        offshore transactions to non-U.S. persons (as defined in
                                                        Regulation S under the Securities Act) in reliance on
                                                        Regulation S will each be initially represented by one or
                                                        more temporary global securities in definitive, fully
                                                        registered form without interest coupons (each, a
                                                        “Temporary Regulation S Global Security”). On or after
                                                        the first Business Day following the 40th day after the later
                                                        of the Closing Date and the commencement of the offering
                                                        of the Notes (the “Exchange Date”), interests in a
                                                        Temporary Regulation S Global Security will be
                                                        exchangeable for interests in one or more permanent global
                                                        notes of the same Class in definitive, fully registered form
                                                        without interest coupons (each, a “Regulation S Global
                                                        Security”), upon certification that the beneficial interests in
                                                        such Temporary Regulation S Global Security are owned by
                                                        persons that are not “U.S. person” as defined in Regulation
                                                        S. The Temporary Regulation S Global Securities and
                                                        Regulation S Global Securities will be deposited on behalf
                                                        of the subscribers for the Securities represented thereby
                                                        with the Trustee as custodian for, and registered in the name
                                                        of a nominee of, the Depositary for the respective accounts
                                                        of the beneficial owners at Euroclear or Clearstream.


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                                                  Beneficial interests in a Temporary Regulation S Global
                                                  Security or Regulation S Global Security may be held only
                                                  through Euroclear or Clearstream at any time.
                                                  Except in the limited circumstances described herein,
                                                  certificated Securities will not be issued in exchange for
                                                  beneficial interests in Global Securities. See “Settlement
                                                  and Clearing.”

                                                  All Class Q-1 Securities and Class P Securities sold in the
                                                  United States or to U.S. persons (as defined in Regulation
                                                  S) will be issued in the form of one or more certificated
                                                  Class Q-1 Securities or Class P Securities, as applicable, in
                                                  definitive, fully registered form, registered in the name of
                                                  the owner thereof (each a “Certificated Class Q-1
                                                  Security” or “Certificated Class P Security”, as
                                                  applicable).

                                                  All Class A-1A Notes will be issued in the form of one or
                                                  more certificated Class A-1A Notes in definitive, fully
                                                  registered form, without interest coupons, registered in the
                                                  name of the owner thereof (the “Certificated Class A-1A
                                                  Notes”).

                                                  All Class A-1B Notes will be issued in the form of one or
                                                  more certificated Class A-1B Notes in definitive, fully
                                                  registered form, without interest coupons, registered in the
                                                  name of the owner thereof (the “Certificated Class A-1B
                                                  Notes” and, together with the Certificated Class A-1A
                                                  Notes, the “Certificated Class A-1 Notes”).

                                                  Transfers of interests in the Notes, Class Q-1 Securities and
                                                  Class P Securities are subject to certain restrictions and
                                                  must be made in accordance with the procedures and
                                                  requirements set forth in the Indenture. See “Description of
                                                  the Securities—Form, Denomination, Registration and
                                                  Transfer of the Global Securities” and “Transfer
                                                  Restrictions.” Each purchaser of an interest in the Notes,
                                                  Class Q-1 Securities or Class P Securities in making its
                                                  purchase will be required to make, or will be deemed to
                                                  have made, as the case may be, certain acknowledgments,
                                                  representations     and     agreements.     See    “Transfer
                                                  Restrictions.”

  Form, Registration and Transfers of
  the Class E Certificates ............................ The Class E Certificates sold outside the U.S. in offshore
                                                        transactions to non-U.S. persons (as defined in Regulation S
                                                        under the Securities Act) in reliance on Regulation S under
                                                        the Securities Act will be initially represented by one or
                                                        more temporary global certificates in definitive, fully
                                                        registered form (the “Temporary Regulation S Global


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                                                        Class E Certificates”).
                                                        On or after the first Business Day following the 40th day
                                                        after the Exchange Date, interests in a Temporary
                                                        Regulation S Global Class E Certificate will be
                                                        exchangeable for interests in one or more permanent global
                                                        Class E Certificates in definitive, fully registered form (a
                                                        “Regulation S Global Class E Certificate”), upon
                                                        certification that the beneficial interests in such Temporary
                                                        Regulation S Global Class E Certificate are owned by
                                                        persons that are not “U.S. person” as defined in Regulation
                                                        S. The Temporary Regulation S Global Class E Certificates
                                                        and Regulation S Global Class E Certificates will be
                                                        deposited on behalf of the subscribers for the Class E
                                                        Certificates represented thereby with the Trustee as
                                                        custodian for, and registered in the name of a nominee of,
                                                        the Depositary for the respective accounts of the beneficial
                                                        owners at Euroclear or Clearstream. Beneficial interests in
                                                        a Temporary Regulation S Global Class E Certificate or
                                                        Regulation S Global Class E Certificates may be held only
                                                        through Euroclear or Clearstream at any time.

                                                        All Class E Certificates sold in the United States or to U.S.
                                                        persons (as defined in Regulation S) will be issued in the
                                                        form of one or more certificated Class E Certificates in
                                                        definitive, fully registered form, registered in the name of
                                                        the owner thereof (the “Certificated Class E
                                                        Certificates”).

                                                        Transfers of the Class E Certificates are subject to certain
                                                        restrictions and must be made in accordance with the
                                                        procedures and requirements set forth in the Class E
                                                        Certificate Documents.        See “Description of the
                                                        Securities—Form, Denomination, Registration and Transfer
                                                        of the Class E Certificates” and “Transfer Restrictions.”
                                                        Each purchaser of Class E Certificates in making its
                                                        purchase will be required to make or deemed to have made
                                                        certain acknowledgments, representations and agreements.
                                                        See “Transfer Restrictions.”

  Ratings ....................................................... It is a condition of the issuance of the Securities that each
                                                                  Class of Notes, the Class Q-1 Securities and the Class P
                                                                  Securities are rated at least as indicated in the table under “–
                                                                  –Principal Terms of the Securities” on the Closing Date.
                                                        No rating of the Class E Certificates has been sought or
                                                        obtained in connection with the issuance thereof.
                                                        Each of such ratings assumes that no Maturity Extension
                                                        occurs after the Closing Date. In addition, (i) the rating of
                                                        the Class Q-1 Securities addresses solely the return of the
                                                        Class Q-1 Rated Principal, (ii) the rating of the Class P-1


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                                                        Securities addresses solely the ultimate payment of the
                                                        Class P-1 Rated Principal and (iii) the rating of the Class P-
                                                        2 Securities which addresses solely the ultimate payment of
                                                        the Class P-2 Rated Principal.
                                                        A credit rating is not a recommendation to buy, sell or hold
                                                        securities and may be subject to revision or withdrawal at
                                                        any time by the assigning Rating Agency. See “Risk
                                                        Factors—Relating to the Securities—Future Ratings of the
                                                        Notes Are Not Assured and Limited in Scope; the Class E
                                                        Certificates are Not Rated.”

  Listing ........................................................ Application will be made to the Irish Stock Exchange for
                                                                   the Notes to be admitted to the Daily Official List, but there
                                                                   can be no assurance that such listing will be granted.
                                                                   Application has been made to the Cayman Islands Stock
                                                                   Exchange for the Class E Certificates, the Class Q-1
                                                                   Securities and the Class P Securities to be admitted to the
                                                                   official list of the Cayman Islands Stock Exchange, but
                                                                   there can be no assurance that such listing will be granted.
                                                                   In addition, the Indenture will not require the Issuer to
                                                                   maintain a listing for any Class of Notes on the Irish Stock
                                                                   Exchange or any other E.U. stock exchange if compliance
                                                                   with European Union directives (or other requirements
                                                                   adopted by the European Commission or a relevant Member
                                                                   State) becomes burdensome in the sole judgment of the
                                                                   Portfolio Manager. Further, neither the Indenture nor the
                                                                   Class E Certificate Documents will require the Issuer to
                                                                   maintain a listing for the Class E Certificates, the Class Q-1
                                                                   Securities or the Class P Securities on the Cayman Islands
                                                                   Stock Exchange or any other stock exchange, if compliance
                                                                   with the rules of such stock exchange becomes burdensome
                                                                   in the sole judgment of the Portfolio Manager. The issuance
                                                                   and settlement of the Securities on the Closing Date will not
                                                                   be conditioned on the listing of the Notes on the Irish Stock
                                                                   Exchange or the listing of the Class E Certificates, Class Q-
                                                                   1 Securities or the Class P Securities on the Cayman Islands
                                                                   Stock Exchange.

  Governing Law ......................................... The terms and conditions of the Class E Certificates
                                                          (including the Class Q-1 Class E Certificate Component,
                                                          the Class P-1 Class E Certificate Component and the Class
                                                          P-2 Class E Certificate Component) (as set forth in the
                                                          Issuer Charter and the Resolutions) will be governed by,
                                                          and construed in accordance with, the law of the Cayman
                                                          Islands. The Indenture Securities (except with respect to
                                                          any Class E Certificate Component), the Indenture, the
                                                          Management Agreement, the Collateral Administration
                                                          Agreement, the Class E Certificate Paying Agency
                                                          Agreement and any Hedge Agreements will be governed
                                                          by, and construed in accordance with, the law of the State


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                                                               of New York.
  Tax Status.................................................. See “Income Tax Considerations.”

  ERISA Considerations ............................. See “ERISA Considerations.”

  Additional Issuance .................................. At any time during the Reinvestment Period, the Issuer may
                                                         issue and sell additional Class E Certificates and use the net
                                                         proceeds to purchase additional Collateral Obligations or
                                                         for other purposes permitted under the Indenture if the
                                                         conditions for such additional issuance described under
                                                         “Description of the Securities—Supplemental Indentures—
                                                         Additional Issuance of Class E Certificates” are met.




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                                               RISK FACTORS


          An investment in the Securities involves certain risks. Prospective investors should carefully
  consider the following factors, in addition to the matters set forth elsewhere in this Offering
  Memorandum, prior to investing in any Class of Securities. Prospective purchasers of the Class Q-1
  Securities and Class P Securities should consider, in addition to the matters set forth elsewhere in this
  Offering Memorandum, the risks applicable to the Class Q-1 Components and Class P Components, as
  applicable. Unless otherwise indicated or the context otherwise requires, all statements in these “Risk
  Factors” and elsewhere herein concerning the Notes in general or the Class C Notes in particular also
  relate to the applicable Class Q-1 Note Component, and all such statements concerning the Class E
  Certificates also relate to the Class Q-1 Class E Certificate Component and the Class P Class E
  Certificate Component.

  Investor Suitability

          An investment in the Securities will not be appropriate or suitable for all investors. Structured
  investment products, like the Securities, are complex instruments, and typically involve a high degree of
  risk and are intended for sale only to sophisticated investors who are capable of understanding and
  assuming the risks involved. Any investor purchasing Securities should conduct its own investigation and
  analysis of an investment in the Securities and consult with its own professional advisors as to the risks
  involved in making such investment.

  General; Priorities of Securities

          The Issuer intends to invest in securities and other financial assets with certain risk characteristics
  as provided in the Indenture and the Management Agreement. See “Security for the Notes.” There can
  be no assurance that the Issuer’s investments will be successful, that its investment objectives will be
  achieved, that investors will receive their initial investments under the Securities or that they will receive
  any return (or avoid any loss, including total loss) on their investment in the Securities. Prospective
  investors are therefore advised to review this entire Offering Memorandum carefully and should consider,
  among other things, the risk factors described herein (along with, among other things, the inherent risks of
  investment activities) before deciding whether to invest in the Securities.

           Except as is otherwise stated below, the risk factors are generally applicable to all the Securities,
  although the degree of risk associated with each Class of Securities may vary depending among other
  factors on its position in the priority of payments under the Indenture.

  Relating to the Securities

          The Securities Will Have Limited Liquidity

           There is currently no market for the Securities. There can be no assurance that a secondary
  market for any Class of Securities will develop, or if a secondary market does develop, that it will provide
  the Holders of the applicable Class of Securities with liquidity of investment or that it will continue for
  the life of such Class of Securities. In addition, each Class of Securities is subject to certain transfer
  restrictions and can only be transferred to certain transferees as described under “Transfer Restrictions.”
  The restrictions on the transfer of the Securities may further limit their liquidity. Consequently, an
  investor in the Securities must be prepared to hold such Securities until their Stated Maturity or, in the
  case of the Class E Certificates, the Scheduled Class E Certificates Redemption Date. In addition, the
  Securities will not be registered under the Securities Act or any state securities laws, and the Co-Issuers
  have no plans, and are under no obligation, to register the Securities under the Securities Act.



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          The Subordination of the Class A-2 Notes, Class A-3 Notes, Class A-4 Notes, Class B Notes, the
          Class C Notes and the Class E Certificates Will Affect Their Right to Payment in Relation to the
          More Senior Securities

           The Class A-2 Notes are subordinated in right of payment of interest and principal to the Class
  A-1 Notes in the manner and to the extent described in this Offering Memorandum. Payments of interest
  on the Class A-2 Notes will not be made until due and unpaid interest on the Class A-1 Notes and certain
  other amounts (including certain management fees payable to the Portfolio Manager, certain hedging
  termination payments and certain administrative fees) have been paid. No payments of principal of the
  Class A-2 Notes will be made until principal of and due and unpaid interest on the Class A-1 Notes and
  certain other amounts have been paid in full.

           The Class A-3 Notes are subordinated in right of payment of interest and principal to the Class
  A-1 Notes and the Class A-2 Notes in the manner and to the extent described in this Offering
  Memorandum. Payments of interest on the Class A-3 Notes will not be made until due and unpaid
  interest on the Class A-1 Notes and on the Class A-2 Notes and certain other amounts (including certain
  management fees payable to the Portfolio Manager, certain hedging termination payments and certain
  administrative fees) have been paid. No payments of principal of the Class A-3 Notes will be made until
  principal of and due and unpaid interest on the Class A-1 Notes and the Class A-2 Notes and certain other
  amounts have been paid in full.

          The Class A-4 Notes are subordinated in right of payment of interest and principal to the Class
  A-1 Notes, the Class A-2 Notes and the Class A-3 Notes in the manner and to the extent described in this
  Offering Memorandum. Payments of interest on the Class A-4 Notes will not be made until due and
  unpaid interest on the Class A-1 Notes, on the Class A-2 Notes and on the Class A-3 Notes and certain
  other amounts (including certain management fees payable to the Portfolio Manager, certain hedging
  termination payments and certain administrative fees) have been paid. No payments of principal of the
  Class A-4 Notes will be made until principal of and due and unpaid interest on the Class A-1 Notes, the
  Class A-2 Notes and the Class A-3 Notes and certain other amounts have been paid in full

           The Class B Notes are subordinated in right of payment of interest and principal to the Class A
  Notes in the manner and to the extent described in this Offering Memorandum. Payments of interest on
  the Class B Notes will not be made until due and unpaid interest on the Class A Notes and certain other
  amounts (including certain management fees payable to the Portfolio Manager, certain hedging
  termination payments and certain administrative fees) have been paid. No payments of principal of the
  Class B Notes will be made until principal of and due and unpaid interest on the Class A Notes and
  certain other amounts have been paid in full.

          The Class C Notes are subordinated in right of payment of interest and principal to the Class A
  Notes and the Class B Notes in the manner and to the extent described in this Offering Memorandum.
  Payments of interest on the Class C Notes will not be made until due and unpaid interest on the Class A
  Notes and the Class B Notes and certain other amounts (including certain management fees payable to the
  Portfolio Manager, certain hedging termination payments and certain administrative fees) have been paid.
  No payments of principal of the Class C Notes will be made until principal of and due and unpaid interest
  on the Class A Notes and the Class B Notes and certain other amounts have been paid in full, except in
  connection with the payment of any Class C Deferred Interest and in certain circumstances in which the
  Class C Coverage Tests are not satisfied.

          No payments will be made out of Interest Proceeds on the Class E Certificates on any Payment
  Date until due and unpaid interest on the Notes (including any Deferred Interest) and certain other
  amounts (including amounts due under the Hedge Agreements, certain management fees payable to the
  Portfolio Manager, hedging termination payments and certain administrative fees) have been paid on the
  Payment Date in accordance with the Priority of Payments. No payments will be made out of Principal
  Proceeds on the Class E Certificates until principal of each Class of Notes and certain other amounts

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  payable out of Principal Proceeds on each Payment Date have been paid in full. In addition, the Class E
  Certificates will not be redeemed until each Class of Notes and certain other amounts have been paid in
  full.

          In addition, the Co-Issuers will have only nominal unpreferred equity capitalization.
  Consequently, to the extent that any losses are suffered by any of the Holders of any Securities, the losses
  will be borne first by the Holders of the Class E Certificates, then by the Holders of the Class C Notes,
  then by the Holders of the Class B Notes, then by the Holders the Class A-4 Notes, then by the Holders
  the Class A-3 Notes, then by the Holders the Class A-2 Notes, and then by the Holders of the Class A-1
  Notes.

          See “Description of the Securities.”

          Interest Will Be Deferred on Deferred Interest Notes if There Are Insufficient Funds under the
          Priority of Payments for Payment of Interest

           So long as any Class A-1 Notes, Class A-2 Notes, Class A-3 Notes or Class A-4 Notes are
  Outstanding, any interest due and accrued on the Class B Notes that remains unpaid on any Payment Date
  because insufficient funds are available to pay it in accordance with the Priority of Payments will be
  added to the Aggregate Outstanding Amount of the Class B Notes as Class B Deferred Interest and failure
  to pay that interest on such Payment Date will not be an Event of Default. Class B Deferred Interest will
  then be payable on subsequent Payment Dates in accordance with the Priority of Payments, pursuant to
  which it will remain subordinated to the payment of interest on the Class A-1 Notes, the Class A-2 Notes,
  the Class A-3 Notes and the Class A-4 Notes in the application of Interest Proceeds and to the payment of
  current interest on the Class B Notes.

           So long as any Class A Notes or Class B Notes are Outstanding, any interest due and accrued on
  the Class C Notes that remains unpaid on any Payment Date because insufficient funds are available to
  pay it in accordance with the Priority of Payments will be added to the Aggregate Outstanding Amount of
  the Class C Notes as Class C Deferred Interest and failure to pay that interest on such Payment Date will
  not be an Event of Default. Class C Deferred Interest will then be payable on subsequent Payment Dates
  in accordance with the Priority of Payments, pursuant to which it will remain subordinated to the payment
  of interest on the Class A-1 Notes, the Class A-2 Notes, Class A-3 Notes, Class A-4 Notes and the
  Class B Notes in the application of Interest Proceeds and to the payment of current interest on the Class C
  Notes.

          Interest Proceeds May Be Used to Reinvest Prior to any Payments to Holders of Class E
          Certificates

          If the Reinvestment Overcollateralization Test is not met on any Determination Date, a portion of
  the Interest Proceeds that might otherwise have been used to pay Administrative Expenses in excess of
  the Administrative Expense Cap, pay Subordinated Management Fees, make Extension Bonus Payments,
  pay Defaulted Hedge Termination payments, make distributions on the Class E Certificates and pay the
  Incentive Management Fee on the related Payment Date will instead be deposited into the Collection
  Account as Principal Proceeds which may be used for the purchase of additional Collateral Obligations,
  as described under clause (17) under “Description of the Securities—Priority of Payments—Interest
  Proceeds.”

          The Controlling Class Will Control Many Rights under the Indenture; However, Some Rights of
          the Controlling Class to Sell the Collateral in Connection with an Event of Default Are Limited

          Under the Indenture, many rights of the Holders of the Notes will be controlled by a Majority of
  the Controlling Class. Remedies pursued by the Holders of the Controlling Class upon an Event of
  Default could be adverse to the interests of the Holders of Securities subordinated to the Controlling

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  Class. After any realization on the Collateral, proceeds will be allocated in accordance with the Priority
  of Payments pursuant to which the Notes and certain other amounts owing by the Co-Issuers will be paid
  in full before any allocation to the Class E Certificates, and each Class of Notes (along with certain other
  amounts owing by the Co-Issuers) will be paid serially in order of seniority until it is paid in full before
  any allocation is made to the next most Junior Class of Notes.

           However, the ability of the Controlling Class to direct the sale and liquidation of the Collateral is
  subject to certain limitations. As described under “Description of the Securities—The Indenture—Events
  of Default,” if an Event of Default occurs and is continuing, the Trustee must retain the Collateral intact
  and collect all payments in respect of the Collateral and continue making payments in accordance with the
  Priority of Payments and in accordance with the Indenture unless either (A) the Trustee determines that
  the anticipated net proceeds of a sale or liquidation of the Collateral would be sufficient to discharge in
  full the amounts then due and unpaid on the Notes for principal and interest (including Defaulted Interest
  and Deferred Interest and any interest on the Defaulted Interest and Deferred Interest), all Administrative
  Expenses, all other net amounts (if any) then payable to the Hedge Counterparty by the Issuer (including
  any applicable termination payments) and all other amounts then payable under clause (3) under
  “Description of the Securities—Priority of Payments—Interest Proceeds,” and a Majority of the
  Controlling Class agrees with that determination or (B) either (x) (except in the case of an Event of
  Default described in clause (y)) the Holders of a Majority of each of the Class A-1 Notes, the Class A-2
  Notes, the Class A-3 Notes, the Class A-4 Notes, the Class B Notes and the Class C Notes direct the sale
  and liquidation of the Collateral or (y) in the case of an Event of Default because the Overcollateralization
  Ratio Numerator is less than 100% of the Aggregate Outstanding Amount of the Class A-1 Notes, the
  Class A-2 Notes, the Class A-3 Notes and the Class A-4 Notes, the Majority of the Class A Notes (voting
  together as a single Class) direct the sale and liquidation of the Collateral.

          Net Proceeds Less Than Aggregate Amount of the Notes

         It is anticipated that the proceeds received by the Issuer on the Closing Date from the issuance of
  the Securities, net of certain fees and expenses, will be less than the aggregate amount of Securities.
  Consequently, it is anticipated that on the Closing Date the Collateral would be insufficient to repay the
  purchase price of the Securities in the event of an Event of Default under the Indenture on that date.

          The Issuer is Highly Leveraged, which Increases Risks to Investors
          The Issuer will be substantially leveraged. Use of leverage is a speculative investment technique
  and involves certain risks to investors in the Securities. The leverage provided to the Issuer by the
  issuance of the Securities will result in interest expense and other costs incurred in connection with the
  borrowings that may not be covered by the net interest income, dividends and appreciation of the
  Collateral Obligations. The use of leverage generally magnifies the Issuer’s risk of loss, particularly for
  the more subordinate Classes of Notes and the Class E Certificates. In certain circumstances, such as in
  connection with the exercise of remedies following an Event of Default, the Controlling Class may
  require the Issuer to dispose of some or all of the Collateral Obligations under unfavorable market
  conditions, thus causing the Issuer to recognize a loss that might not otherwise have occurred. In certain
  circumstances, the Controlling Class or certain other Noteholders are entitled to direct the sales of
  Collateral Obligations and may be expected to do so in their own interest, rather than in the interests of
  the more subordinate Classes of Securities.

          Ongoing Commitments of the Class A-1A Notes

          Holders of the Class A-1A Notes will be obligated, subject to compliance by the Issuer with
  certain borrowing conditions, to advance funds to the Issuer during the Draw Period so long as the
  aggregate Drawn Amount of the Class A-1A Notes does not exceed the aggregate amount of
  Commitments. If a holder of a Class A-1A Note should fail to advance funds to the Issuer as required
  under the Class A-1A Note Purchase Agreement, the Issuer may be forced to obtain substitute sources of


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  liquidity by selling Collateral Obligations (to the extent permitted by the Indenture) to meet the Issuer’s
  obligations to fund Delayed Drawdown Loans and Revolving Loans. Such forced sales of Collateral
  Obligations by the Issuer may be at disadvantageous prices to the Issuer. If the Issuer is unable to obtain
  substitute sources of liquidity, the Issuer may default on its obligations to fund Delayed Drawdown Loans
  and Revolving Loans.

          In addition, as described in “Description of the Securities—Class A-1 Funding Allocations”, until
  the Class A-1B Notes and the Class A-1C Notes have been paid in full, the holders of the Class A-1A
  Notes will be absolutely and unconditionally obligated in certain circumstances to make advances in order
  to prepay a portion of the principal of the Class A-1B Notes and the Class A-1C Notes then outstanding.
  Failure by a Holder of Class A-1A Notes to perform such obligations may adversely affect the Holders of
  other Classes.

          Delayed Drawdown of the Class A-1B Notes

           Holders of the Class A-1B Notes will be obligated, subject to compliance by the Issuer with
  certain drawdown conditions, to advance funds to the Issuer during the Delayed Drawdown Period so
  long as the aggregate Drawn Amount of the Class A-1B Notes does not exceed the Fully Drawn Amount.
  If a holder of a Class A-1B Note should fail to advance funds to the Issuer as required under the Class A-
  1B Note Purchase Agreement, the Issuer may not be able to purchase additional Collateral Obligations,
  which may adversely affects the return on the Securities.

          The Issuer Is Newly Formed, Has No Significant Operating History, Has No Material Assets
          Other than the Collateral and Is Limited in its Permitted Activities

          The Issuer is a newly formed entity and has no significant operating history. The Issuer will have
  no material assets other than the Collateral and Class P Collateral. The Indenture provides that the Issuer
  is not permitted to engage in any business activity other than the issuance of the Securities and the
  Ordinary Shares, the acquisition and disposition of and investment and reinvestment in Collateral
  Obligations and Eligible Investments, entry into Hedge Agreements and Securities Lending Agreement
  and other activities incidental to the foregoing. Income derived from the Collateral will be the Issuer’s
  sole source of cash for making payments on the Securities.

          The Co-Issuer Is Newly Formed, Has No Significant Operating History, Has No Material Assets
          and Is Limited in its Permitted Activities

           The Co-Issuer is a newly formed Delaware corporation and has no prior operating history. The
  Co-Issuer will have no material assets. The Indenture provides that the Co-Issuer is not permitted to
  engage in any business activity other than the co-issuance and sale of the Notes, the issuance of its share
  capital, and other activities incidental to the foregoing.

          The Notes and the Class Q-1 Securities Are Limited Recourse Obligations of the Issuer and Non-
          Recourse Obligations of the Co-Issuer; Investors Must Rely on Available Collections from the
          Collateral and Will Have No Other Source for Payment

           The Class A Notes, the Class B Notes and the Class C Notes are limited recourse debt obligations
  of the Issuer and non-recourse debt obligations of the Co-Issuer. The Class Q-1 Securities will be limited
  recourse debt obligations of the Issuer to the extent of the related Class Q-1 Note Component. The Notes
  and the Class Q-1 Securities are payable solely from the Collateral pledged by the Issuer to secure the
  Notes. Distributions on the Class Q-1 Securities will be made in respect of the Class Q-1 Components as
  described herein. None of the security holders, members, officers, directors, partners, or incorporators of
  the Issuer, the Co-Issuer, the Portfolio Manager, the Initial Purchaser, the Placement Agent, the Trustee,
  the Class E Certificate Paying Agent, the Revolving Note Agent, the Delayed Drawdown Note Agent, the
  Administrator, the Class E Certificates Registrar, the Share Trustee, any of their respective affiliates, or

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  any other person will be obligated to make payments on the Notes or the Class Q-1 Securities. The
  Issuer’s ability to make interest payments and principal repayments on the Notes will be constrained by
  the terms of the Indenture. Holders of the Notes and the Class Q-1 Securities must rely solely on
  collections received on the Collateral pledged to secure the Notes for the payment of interest and principal
  on the Notes, and there can be no assurance that those collections will be sufficient to pay all amounts due
  on the Notes. If distributions on the Collateral are insufficient to make payments on the Notes, no other
  assets will be available for payment of the deficiency and, following liquidation of all of the Collateral,
  the Co-Issuers will not have any obligation to pay any deficiency, which shall be extinguished and shall
  not revive.

          The Class E Certificates are not Secured Obligations; Investors Must Rely on Available
          Collections from the Collateral and Will Have No Other Source for Payment

           The Class E Certificates (including the Class E Certificate Components) are part of the issued
  share capital of the Issuer. The Class E Certificates are preferred equity interests in the Issuer and are not
  secured by the Collateral Obligations or other Collateral securing the Notes. As such, the Holders of
  Class E Certificates will rank behind all creditors, whether secured or unsecured and known or unknown,
  of the Issuer, including, without limitation, the holders of the Notes and any Hedge Counterparties.
  Except with respect to the obligations of the Issuer to pay the amounts described under the “Description
  of the Securities—Priority of Payments—Interest Proceeds” and “—Principal Proceeds”, the Issuer does
  not, however, expect to have any creditors, although there can be no assurance that this will be the case.
  See “The Co-Issuers—Business.” Payments in respect of the Class E Certificates are subject to certain
  requirements imposed by Cayman Islands law. Any amounts paid by the Class E Certificate Paying
  Agent as dividends on the Class E Certificates will be payable only if the Issuer has sufficient
  distributable profits and/or balance in the Issuer’s certificate premium account. In addition, dividends and
  the final payment upon redemption of the Class E Certificates will be payable only to the extent that the
  Issuer is and will remain solvent after such dividends or redemption payment is paid. Under Cayman
  Islands law, a company is generally deemed to be solvent if it is able to pay its debts as they become due.

           The Issuer’s obligation to pay dividends or to make other distributions to the Holders of the Class
  E Certificates will therefore not be a secured obligation of the Issuer and such Holders will not be entitled
  to the benefits of the Indenture, nor will the Trustee have any obligation to act on behalf of the Holders of
  Class E Certificates. Holders of the Class E Certificates will only be entitled to receive amounts available
  for payment of dividends or other distributions after payment of all amounts payable on each Class of
  Notes and certain other amounts in accordance with the Priority of Payments and only to the extent of
  distributable profits of the Issuer and/or any balance in the Issuer’s certificate premium account and (in
  each case) only to the extent that the Issuer is and will remain solvent following such distributions.

          To the extent the requirements under Cayman Islands law described in the preceding paragraphs
  are not met, amounts otherwise payable to the Holders of the Class E Certificates will be retained in the
  Class E Certificates Distribution Account until, in the case of dividends, the next succeeding Payment
  Date on which the Issuer notifies the Class E Certificate Paying Agent such requirements are met and, in
  the case of any payment on redemption of the Class E Certificates, the next succeeding Business Day on
  which the Issuer notifies the Class E Certificate Paying Agent such requirements are met. Amounts on
  deposit in the Class E Certificates Distribution Account will not be available to pay amounts due to the
  Holders of the Notes, the Trustee, the Collateral Administrator, the Portfolio Manager, any Hedge
  Counterparty or any other creditor of the Issuer whose claim is limited in recourse to the Collateral.
  However, amounts on deposit in the Class E Certificates Distribution Account may be subject to the
  claims of creditors of the Issuer that have not contractually limited their recourse to the Collateral. The
  Indenture and the Class E Certificate Documents will limit the Issuer’s activities to the issuance and sale
  of the Securities, the acquisition and disposition of, and investment and reinvestment in, the Collateral
  Obligations and Eligible Investments and the other activities related to the issuance and sale of the

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  Securities described under the “The Co-Issuers.” The Issuer therefore does not expect to have any
  significant full recourse liabilities that would be payable out of the amounts on deposit in the Class E
  Certificates Distribution Account.

          The Class P Securities Are Limited Recourse Obligations of the Issuer

           The Class P-1 Securities and the Class P-2 Securities will be limited recourse obligations of the
  Issuer (except to the extent of their Class E Certificate Components). The Class P-1 Collateral will secure
  the Class P-1 Securities (other than the Class P-1 Class E Certificate Component), and the Class P-2
  Collateral will secure the Class P-2 Securities (other than the Class P-2 Class E Certificate Component).
  Distributions on the Class P Securities will be made in respect of their respective components as
  described herein.

           None of the security holders, members, officers, directors, partners, or incorporators of the Issuer,
  the Co-Issuer, the Portfolio Manager, the Initial Purchaser, the Placement Agent, the Trustee, the Class E
  Certificate Paying Agent, the Revolving Note Agent, the Delayed Drawdown Note Agent, the
  Administrator, the Class E Certificates Registrar, the Share Trustee, any of their respective affiliates, or
  any other person will be obligated to make payments on the Class P Securities. In the event that the Class
  P-1 Collateral is not sufficient to pay the Aggregate Outstanding Amount of the Class P-1 Securities or
  the Class P-2 Collateral is not sufficient to pay the Aggregate Outstanding Amount of the Class P-2
  Securities, the Issuer will have no obligation whatsoever to pay any such deficiency, except, in each case
  to the extent of payment, if any, with respect to the related Class P Class E Certificate Component in
  accordance with the Priority of Payments and the Class E Certificate Documents.

          The Issuer May Not Be Able to Invest and Reinvest Available Funds in Appropriate Collateral

           The amount of Collateral Obligations purchased or refinanced on the Closing Date, the amount
  and timing of the purchase of additional Collateral Obligations before the Ramp-Up Completion Date,
  and the subsequent reinvestment of Principal Proceeds, will affect the cash flows available to make
  payments on, and the return to the Holders of, the Securities. Reduced liquidity and relatively lower
  volumes of trading in certain Collateral Obligations, in addition to restrictions on investment represented
  by the Eligibility Criteria, could result in periods during which the Issuer is not able to fully invest its
  available cash in Collateral Obligations, and it is unlikely that the Issuer’s available cash will be fully
  invested in Collateral Obligations at any time. The longer the period before reinvestment of cash or cash-
  equivalents in Collateral Obligations and the larger the amount of uninvested cash or cash equivalents, the
  greater the adverse impact may be on aggregate interest collected and distributed by the Issuer, thereby
  resulting in lower yield than could have been obtained if the net proceeds associated with the offering of
  the Securities and all Principal Proceeds were immediately and fully reinvested. The associated
  reinvestment risk on the Collateral Obligations will be borne first by the Holders of the Class E
  Certificates and second by the Holders of the Notes (beginning with the most subordinated Class of
  Notes). Although the Portfolio Manager may mitigate this risk to some degree during the Reinvestment
  Period by declaring a Special Redemption, the Portfolio Manager is not required to do so, and any Special
  Redemption may result in a lower yield on the Issuer’s assets than could have been obtained if the net
  proceeds from the offering of the Securities and all Principal Proceeds were immediately and fully
  reinvested and no Special Redemption had taken place.

          Generally, Principal Proceeds (together with Interest Proceeds, but only to the extent used to pay
  for accrued interest on Collateral Obligations, and Sale Proceeds received on the Collateral Obligations)
  will be reinvested during the Reinvestment Period (and Principal Proceeds constituting Unscheduled
  Principal Payments and Sale Proceeds from Credit Improved Obligations may be invested on any date
  after the Reinvestment Period, at the discretion of the Portfolio Manager) in substitute Collateral
  Obligations or temporarily reinvested in the Eligible Investments pending reinvestment in substitute
  Collateral Obligations in accordance with the Priority of Payments. The earnings with respect to


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  substitute Collateral Obligations will depend, among other factors, on reinvestment rates available in the
  marketplace at the time and on the availability of investments acceptable to the Portfolio Manager that
  satisfy the criteria under “Security for the Notes—Eligibility Criteria.” The need to satisfy the criteria
  and identify acceptable investments may require the purchase of substitute Collateral Obligations having
  lower yields than those initially acquired or require that Principal Proceeds be held temporarily in cash or
  Eligible Investments, which will reduce the yield earned by the Issuer. Further, issuers of Collateral
  Obligations may be more likely to exercise any rights they may have to redeem them when interest rates
  or spreads are declining. Any decrease in the yield on the Collateral Obligations will reduce the amounts
  available to make payments of principal and interest on the Notes and payments on the Class E
  Certificates.

          The Issuer expects that, as of the Closing Date, it will have purchased (or entered into
  commitments to purchase) at least $815,000,000 in Aggregate Principal Balance of the Collateral
  Obligations.

          Changes in Tax Law Could Result in the Imposition of Withholding Taxes with Respect to
          Payments on the Securities, and the Issuer Will Not Gross-Up Payments to Holders

           Although no withholding tax is currently imposed by the United States or the Cayman Islands on
  payments on the Securities, there can be no assurance that, as a result of any change in any applicable
  law, treaty, rule, regulation, or interpretation thereof, the payments with respect to the Securities would
  not in the future become subject to withholding taxes. If any withholding tax is imposed on payments on
  any Securities, the Issuer will not “gross up” payments to their Holders.

          A Determination that the Issuer were Engaged in a U.S. Trade or Business would Reduce the
          Amounts Available to Make Payments on the Securities

           The Issuer expects to conduct its affairs so that its net income will not become subject to United
  States federal income tax. There can be no assurance, however, that its net income will not become
  subject to United States federal income tax as the result of activities by the Issuer, changes in law or
  contrary conclusions by United States tax authorities. Imposition of such taxes would reduce the amounts
  available to make payments on the Securities and there can be no assurance that remaining payments on
  the Collateral would be sufficient to make payments on all Classes of Securities.

          The Securities Are Subject to Substantial Transfer Restrictions

           The Securities have not been registered under the Securities Act, under any U.S. state securities
  or “Blue Sky” laws, or under the securities laws of any other jurisdiction and are being issued and sold in
  reliance upon exemptions from registration provided by those laws. No Securities may be sold or
  transferred unless the sale or transfer is exempt from the registration requirements of the Securities Act
  (for example, in reliance on exemptions provided by Rule 144A or Regulation S) and applicable state
  securities laws, and the sale or transfer does not cause either of the Co-Issuers or the pool of Collateral to
  become subject to the registration requirements of the Investment Company Act. Certain other transfer
  restrictions apply. See “Transfer Restrictions” and “ERISA Considerations.”

          Non-Compliance with Restrictions on Ownership of the Securities under the United States
          Investment Company Act of 1940 Could Adversely Affect the Issuer

          Neither of the Co-Issuers has registered with the United States Securities and Exchange
  Commission (the “SEC”) as an investment company pursuant to the Investment Company Act. The
  Issuer has not so registered in reliance on an exclusion from the definition of “investment company” for
  companies organized under the laws of a jurisdiction other than the United States or any of its states: (i)
  whose investors residing in the United States are solely “qualified purchasers” (within the meaning given
  to such term in the Investment Company Act and related SEC regulations); and (ii) that do not make a

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  public offering of their securities in the United States. The Co-Issuer also has not registered with the SEC
  as an investment company, based on the fact that the Co-Issuer has no assets that could be construed as
  the holding of “securities” under the Investment Company Act. No opinion or no-action position with
  respect to the registration of either of the Co-Issuers or the pool of Collateral under the Investment
  Company Act has been requested of, or received from, the SEC.

          If the SEC or a court of competent jurisdiction were to find that the Issuer or the Co-Issuer is
  required, but in violation of the Investment Company Act has failed, to register as an investment
  company, possible consequences include the following: (i) the SEC could apply to a district court to
  enjoin the violation; (ii) investors in the Issuer or the Co-Issuer could sue the Issuer or the Co-Issuer, as
  the case may be, and recover any damages caused by the violation; and (iii) any contract to which the
  Issuer or the Co-Issuer, as the case may be, is party whose performance involves a violation of the
  Investment Company Act would be unenforceable by any party to the contract unless a court were to find
  that under the circumstances enforcement would produce a more equitable result than non-enforcement
  and would not be inconsistent with the purposes of the Investment Company Act.

          In addition, the Issuer’s or the Co-Issuer’s being required to register as an investment company
  would result in an Event of Default. See “Description of the Securities—The Indenture—Events of
  Default.” Should the Issuer or the Co-Issuer be subjected to any or all of the foregoing, the Issuer or the
  Co-Issuer, as the case may be, would be materially and adversely affected.

          The Weighted Average Lives of the Notes May Vary

           The Stated Maturity of the Notes is the Payment Date in November 2017 or, upon a Maturity
  Extension (if any), the applicable Extended Stated Maturity Date. The weighted average life of each
  Class of Notes is expected to be shorter than the number of years until their Stated Maturity. See
  “Description of the Securities.” The weighted average life of a Class of Notes will be affected by the
  amount and timing of payments of principal of the Notes and the amount and timing of payments received
  on the Collateral Obligations. The amount and timing of payments of principal on the Notes will be
  affected by, among other things, any Optional Redemption of the Notes, a failure of any Coverage Test, a
  Rating Confirmation Failure, any failure by the Portfolio Manager to invest or reinvest uninvested
  proceeds of the offering of the Securities in Collateral Obligations, any Special Redemption of one or
  more Classes of Notes, and an Event of Default by the Issuer and an acceleration of the principal of the
  Notes in connection with an Event of Default. The occurrence of any of the foregoing unscheduled
  principal repayments of the Notes, in turn, may be determined by the amount and timing of payments on
  the Collateral, which will be dependent on, among other things, the financial condition of the obligors on
  or issuers of the Collateral and the characteristics of the Collateral Obligations, including the existence
  and frequency of exercise of any prepayment, optional redemption, or sinking fund features, the
  prevailing level of interest rates and spreads, the redemption price, the actual default rate and the actual
  level of recoveries on any Defaulted Collateral Obligations, the frequency of tender or exchange offers for
  the Collateral Obligations and any sales of Collateral Obligations, dividends or other distributions
  received on any obligations that at the time of acquisition, conversion, or exchange do not satisfy the
  requirements of a Collateral Obligation, as well as the risks unique to investments in obligations of
  foreign issuers. See “Security for the Notes.”




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          A Maturity Extension May Result in a Longer or Shorter Holding Period Than Expected.

           Under the Indenture, the Issuer, if directed by the Portfolio Manager, shall be entitled, on each
  Extension Effective Date, to extend the Stated Maturity (a maximum of four times) to the applicable
  Extended Stated Maturity Date if (i) in the case of an Extension Effective Date occurring after the first
  Extension Effective Date, the Issuer has previously effected a Maturity Extension for each preceding
  Extension Effective Date and (ii) the Extension Conditions are satisfied and the Issuer has given written
  notice of its election to extend the Stated Maturity no later than 60 days and no earlier than 90 days prior
  to such Extension Effective Date. Under the Indenture and the Class E Certificate Documents, if the
  Stated Maturity is so extended, the Scheduled Class E Certificates Redemption Date will be equally
  extended and the Weighted Average Life Test and Reinvestment Period shall be automatically extended
  without the requirement for any approval or consent of any Holders of Securities. Holders of Securities
  will not be able to prevent or prohibit the extension of the Stated Maturity of the Notes (or, in the case of
  the Class E Certificates, the Scheduled Class E Certificates Redemption Date) so long as the Extension
  Conditions are satisfied, which include the ability of Holders of Securities to sell their Securities at the
  designated purchase price to a designated purchaser under the Indenture. However, in the case of the
  Class E Certificates, the Indenture provides that Holders of Class E Certificates that have received a Class
  E Certificate Internal Rate of Return equal to or in excess of 12% as of the Extension Effective Date will
  not receive any payment in exchange for their Class E Certificates sold in connection with a Maturity
  Extension; provided, however that in the case of the 3rd or 4th Maturity Extension, for any single Holder of
  Class E Certificates who holds Class E Certificate with an aggregate Face Amount of at least
  U.S.$30,000,000 and cannot consent to the Maturity Extension due to tax, regulatory, compliance or
  accounting rules or investment policies (whether internally or externally governed), the designated
  purchase price payable to such Holder for its Class E Certificates will be an amount that, when taken
  together with all payments and distributions made in respect of such Class E Certificates since the
  Closing Date would cause such Class E Certificates to have received a Class E Certificate Internal Rate of
  Return of 15%.

           As a consequence, if the Portfolio Manager elects to extend the Stated Maturity and the Extension
  Conditions are satisfied, the Holders of the Securities may either be required to hold their Securities for a
  significantly longer period of time or be forced to sell their Securities for the applicable purchase price
  under the Indenture, potentially resulting in a shorter holding period than expected at the time of
  investment in the Securities.

          Upon the Extension Effective Date of the second Maturity Extension, if any, and the Extension
  Effective Date of the fourth Maturity Extension, if any, it is likely that continuing holders of Securities
  will be treated for U.S. federal income tax purposes as exchanging their Securities for newly issued
  longer-term Securities. Although Holders generally should not recognize gain or loss upon such a
  deemed exchange except to the extent of any Extension Bonus Payment, holders who purchased
  Securities at a discount could be required as a consequence of the deemed exchange to accrue such
  discount as interest income on a current basis as OID. See “Income Tax Considerations.”

          An Amendment Buy-Out May Result in a Shorter Holding Period Than Expected.

          Any Non-Consenting Holder of Securities with respect to an amendment of the Indenture (which
  includes Holders that fail to respond to a consent solicitation within the applicable period) may be forced
  to sell its applicable Securities to the Amendment Buy-Out Purchaser at the Amendment Buy-Out
  Purchase Price, resulting in a shorter holding period than expected at the time of investment in the
  Securities. In the case of the Class E Certificates, the Indenture provides that the Amendment Buy-Out
  Purchase Price will be zero for Non-Consenting Holders that have received a Class E Certificate Internal
  Rate of Return equal to or in excess of 12% as of the Amendment Buy-Out Date. See “Description of the
  Securities—Amendment Buy-Out.” A Holder’s ability to vote against an amendment or affect or
  influence the amendment process with respect to the Indenture may thus be limited. The Amendment


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  Buy-Out Option may also increase the ability of the Portfolio Manager to affect or influence the
  amendment process.

          The existence or exercise of the buy-out right may increase the likelihood that an amendment to
  the Indenture could cause a deemed exchange of a Security for U.S. federal income tax purposes upon
  which capital gain or loss would be recognized. If such a deemed exchange were treated as a
  recapitalization, holders generally would not recognize gain or loss except to the extent of any cash
  received, but holders who purchased Securities at a discount could be required as a consequence of the
  deemed exchange to accrue such discount as interest income on a current basis as OID. See “Income Tax
  Considerations.”

          The Indenture Requires Mandatory Redemption of the Notes for Failure to Satisfy Coverage Tests

           If any of the Coverage Tests are not satisfied on any Determination Date on which the Notes of
  the relevant Class are Outstanding, Interest Proceeds available on the related Payment Date in accordance
  with the Priority of Payments (and, to the extent Interest Proceeds are insufficient, Principal Proceeds
  available on the Payment Date in accordance with the Priority of Payments) are required to be applied to
  pay principal on the Notes in the order of priority up to and including the Class to which the Coverage
  Test relates (other than in certain circumstances with respect to the Class C Coverage Tests in which
  Interest Proceeds will be applied to the Class C Notes without prior application to any Notes senior to the
  Class C Notes) to the extent necessary for the relevant Coverage Test to be satisfied. The application of
  Interest Proceeds and Principal Proceeds to pay principal of the Notes to the extent necessary to restore
  the Coverage Tests to certain minimum required levels could result in an elimination, deferral or
  reduction in the amounts available to make distributions on the Class E Certificates and interest and
  principal payments on one or more Classes of Notes, which would adversely affect the returns to the
  Holders of the Securities.

          The Indenture Requires Redemption of the Notes or Investment in Additional Collateral
          Obligations Upon Rating Confirmation Failure

          If the Rating Agencies have not confirmed the initial rating of each Class of Notes by the
  Business Day after the 29th day after the Ramp-Up Completion Date, Interest Proceeds and, if Interest
  Proceeds are insufficient, Principal Proceeds, are required to be diverted in accordance with the Priority
  of Payments and used to redeem the Notes sequentially in order of their relative priority on the next
  Payment Date and each Payment Date thereafter until each rating is confirmed. In addition, the Portfolio
  Manager may cause Collateral Obligations to be sold to use the proceeds for such redemption. The
  application of Interest Proceeds and Principal Proceeds to redeem the Notes to the extent necessary for
  one or more ratings to be confirmed could result in an elimination, deferral, or reduction in one or more
  payments or distributions on one or more Classes of Securities, which would adversely affect the returns
  to the Holders of those Classes of Securities.

          The Indenture Permits Special Redemption of Notes Based on the Portfolio Manager’s Inability
          to Identify Investments

           The Portfolio Manager is permitted under the Indenture to elect to have all or a portion of the
  funds then in the Collection Account available to be invested in additional Collateral Obligations applied
  to a Special Redemption of the Notes, in whole or in part, on one or more Payment Dates during the
  Reinvestment Period because it has been unable, for a period of at least 45 consecutive Business Days, to
  identify additional Collateral Obligations that are deemed appropriate by the Portfolio Manager in its sole
  discretion and meet the Eligibility Criteria in sufficient amounts to permit the investment or reinvestment
  of all such funds. On the Special Redemption Date, in accordance with the Indenture, the Special
  Redemption Amount will be applied in accordance with “Description of the Securities—Priority of

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  Payments—Principal Proceeds,” to the extent available (which includes for this purpose uninvested
  proceeds specified by the Portfolio Manager), to pay the principal of the Notes. The application of funds
  in that manner could result in an elimination, deferral, or reduction of amounts available to make
  payments on Securities subordinate in priority to the Securities being amortized. See “Description of the
  Securities—Special Redemption of Notes If the Portfolio Manager Does Not Identify Investments as
  Contemplated by the Indenture.”

          The Notes Are Subject to Optional Redemption

           Subject to satisfaction of certain conditions, on any Payment Date upon the occurrence of a Tax
  Event or at any time after the Non-Call Period, the Holders of at least a Majority of the Class E
  Certificates may require that the Notes be redeemed as described under “Description of the Securities—
  Optional Redemption.” In the case of an Optional Redemption of the Notes, the Portfolio Manager may
  be required to aggregate Collateral Obligations to be sold together in one block transaction, thereby
  possibly resulting in a lower realized value for the Collateral Obligations sold. There can be no assurance
  that the market value of the Collateral will be sufficient for the Holders of the Class E Certificates to
  direct an Optional Redemption of the Notes. A decrease in the market value of the Collateral would
  adversely affect the Sale Proceeds from their sale. Consequently, the conditions precedent to the exercise
  of an Optional Redemption may not be met. Moreover, the Holders of the Notes may not be able to
  invest the proceeds of the redemption of the Notes in investments providing a return equal to or greater
  than the return the Holders of the Notes expected to obtain from their investment in the Notes.

          Future Ratings of the Notes Are Not Assured and Limited in Scope; the Class E Certificates Are
          Not Rated

           It is a condition to the issuance of the Securities that the Notes be rated as provided under
  “Summary of Terms—Principal Terms of the Securities.” A credit rating is not a recommendation to buy,
  sell or hold securities and is subject to revision or withdrawal at any time. There is no assurance that a
  rating will remain for any given period or that a rating will not be lowered or withdrawn entirely by each
  Rating Agency if in its judgment circumstances in the future so warrant. Any such action could have an
  adverse effect on the Holders of the relevant Class of Securities. If a rating initially assigned to a Class of
  Securities is subsequently lowered for any reason, no person is obligated to provide any additional credit
  support or credit enhancement. The ratings of the Securities assumes no Maturity Extensions occur.

          No rating of the Class E Certificates will be sought or obtained.

          Events Outside the Control of the Co-Issuers and the Portfolio Manager Can Affect the Securities

          Various acts of God, force majeure, and certain other events beyond the control of the Co-Issuers,
  the Trustee, the Portfolio Manager, the Collateral Administrator, the Indenture Registrar, the Class E
  Certificate Paying Agent and the Administrator could affect the ability of financial institutions to process
  payments and transfer funds and could impair the financial records and record-keeping practices of
  financial institutions and others (including the Trustee, the Portfolio Manager, the Collateral
  Administrator, the Indenture Registrar, the Class E Certificate Paying Agent and the Administrator). In
  addition, the existence of those circumstances could cause lenders and other creditors more readily to
  agree to restructure debt obligations (including payment terms) than they would in the absence of those
  circumstances. The existence of those circumstances could adversely affect the ability of the Issuer or the
  Co-Issuer, as applicable, to make timely payments on the Securities.

          The Listing of the Notes on the Irish Stock Exchange Would Subject the Issuer to Emerging
          Requirements of the European Union

         As part of the harmonization of securities markets in Europe, the European Commission has
  adopted a directive known as the Prospectus Directive (which was required to be implemented by

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  Member States by July 1, 2005) that will regulate offers of securities to the public and admissions to
  trading to E.U. regulated markets. A directive known as the Transparency Directive which came into
  force in the European Union at the beginning of 2005 and is required to be implemented by Member
  States by early 2007, will among other things, impose continuing financial reporting obligations on
  issuers that have certain types of securities admitted to trading on an E.U. regulated market. In addition,
  the Market Abuse Directive harmonizes the rules on insider trading and market manipulation in respect of
  securities admitted to trading on an E.U. regulated market and requires issuers of such securities to
  disclose any non-public price-sensitive information as soon as possible, subject to certain limited
  exemptions. The listing of the Notes on the Irish Stock Exchange would subject the Issuer to regulation
  under these directives, although the requirements applicable to the Issuer are not yet fully clarified. The
  Indenture will not require the Issuer to maintain a listing of any Class of Notes on an E.U. stock exchange
  if compliance with these directives (or other requirements adopted by the European Commission or a
  relevant Member State) becomes burdensome in the sole judgment of the Portfolio Manager.

  Relating to the Portfolio Manager

          The Issuer Will Depend on the Managerial Expertise Available to the Portfolio Manager and its
          Key Personnel

           The performance of the Issuer’s investment portfolio depends heavily on the skills of the
  Portfolio Manager in analyzing, selecting and managing the Collateral Obligations. As a result, the Issuer
  will be highly dependent on the financial and managerial experience of certain investment professionals
  associated with the Portfolio Manager, none of whom is under a contractual obligation to the Issuer to
  continue to be associated with the Portfolio Manager for the term of this transaction. The loss of one or
  more of these individuals could have a material adverse effect on the performance of the Co-Issuers.
  Furthermore, the Portfolio Manager has informed the Issuer that these investment professionals are also
  actively involved in other investment activities and will not be able to devote all of their time to the
  Issuer’s business and affairs. In addition, individuals not currently associated with the Portfolio Manager
  may become associated with the Portfolio Manager and the performance of the Collateral Obligations
  may also depend on the financial and managerial experience of such individuals. See “The Management
  Agreement” and “The Portfolio Manager.”

          The Issuer Will Have Limited Control of the Administration and Amendment of Collateral
          Obligations

           The Portfolio Manager will cause the Issuer to exercise or enforce, or refrain from exercising or
  enforcing, its rights in connection with the Collateral Obligations or any related documents or will grant
  or refuse amendments or waivers of the terms of any Collateral Obligation and related documents in
  accordance with its ordinary business practices as if the Portfolio Manager were administering the
  Collateral Obligations for its own account. The authority of the Portfolio Manager to cause the Issuer to
  change the terms of the Collateral Obligations will generally not be restricted by the Indenture or the
  Management Agreement. As a result, the Issuer will be relying on the Portfolio Manager’s customary
  standards, policies and procedures with respect to the servicing of the Collateral Obligations. Neither the
  Issuer not the Holders of the Securities will have any right to compel the Portfolio Manager to take or
  refrain from taking any actions other than in accordance with its ordinary business practices.

          A modification that would increase the commitment of a lender, reduce the interest rate, or
  postpone the final maturity of an obligation, or release all of the collateral for an obligation, generally
  requires the affirmative vote of the participating lender for a loan in which the Issuer owns a Participation,
  or of the Issuer for a Loan purchased by assignment, for the increase, reduction, or postponement to be
  binding. The exercise of remedies may also be subject to the vote of a specified percentage of the lenders
  under the loan obligation. The Portfolio Manager will have the authority to cause the Issuer to consent to
  these and certain other amendments, waivers, or modifications to the Collateral Obligations requested by


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  obligors or the lead agents (and Participating Institutions for participation agreements relating to
  Participations) (subject to operating procedures intended to reduce the risk that the Issuer would be
  deemed to be engaged in a trade or business in the United States for United States federal income tax
  purposes). The Portfolio Manager may, subject to the transaction documents, cause the Issuer to extend
  or defer the maturity, adjust the outstanding balance of any Collateral Obligation, reduce or forgive
  interest or fees, release material collateral or guarantees, or otherwise amend, modify, or waive the terms
  of any related loan agreement, including its payment terms. The Portfolio Manager will make
  determinations in accordance with its servicing standards under the Management Agreement. Any
  amendment, waiver, or modification of a Collateral Obligation could postpone the expected redemption
  of the Notes or the expected redemption date of the Class E Certificates, or reduce the likelihood of
  timely and complete payment of interest or principal under the Notes or a full return of an investment in
  the Class E Certificates.

          Performance History of the Portfolio Manager May Not Be Indicative of Future Results

           Any prior investment results of the Portfolio Manager, and the persons associated with it or any
  other entity may not be indicative of the Issuer’s future investment results. The nature of, and risks
  associated with, the Issuer’s future investments may differ substantially from those investments and
  strategies undertaken historically by the Portfolio Manager, and the persons associated with it or any other
  entity. There can be no assurance that the Issuer’s investments will perform as well as the past
  investments of the Portfolio Manager, and the persons associated with it or any other entity. Moreover,
  since the investment criteria that govern investments in the Collateral Obligations do not govern the
  Portfolio Manager’s investments and investment strategies generally, investments in the Collateral
  Obligations conducted in accordance with the investment criteria that govern investments in the Collateral
  Obligations, and the results they yield, may differ substantially from other investments undertaken by the
  Portfolio Manager.

          Right of Portfolio Manager to Avoid Removal Without Cause May Result in a Shorter Holding
          Period of the Class E Certificates Than Expected; Limitations on Right to Remove.

           The Portfolio Manager may be removed without cause upon 90 days’ prior written notice by the
  Issuer, at the direction of the Holders of at least 66-2/3% of the Class E Certificates (excluding Class E
  Certificates held by the Portfolio Manager, its Affiliates or any account for which the Portfolio Manager
  or its Affiliates have discretionary voting authority at the time of such vote); provided, however, that the
  Portfolio Manager shall have the right to avoid such removal if, in accordance with the terms described in
  “The Management Agreement,” the Removal Buy-Out Purchaser purchases not less than all of the
  Directing Class E Certificates. Upon the occurrence of such purchase by the Removal Buy-Out Purchaser
  of all of the Directing Class E Certificates, the Holders of such Directing Class E Certificates will be
  forced to sell their Class E Certificates to the Removal Buy-Out Purchaser at the Buy-Out Amount,
  resulting in a shorter holding period than expected at the time of investment in the Class E Certificates.
  The ability of a Holder of Class E Certificates to remove the Portfolio Manager or affect or influence the
  removal of the Portfolio Manager may thus be limited. Moreover, the Management Agreement provides
  that any Buy-Out Amount payable to Holders of Directing Class E Certificates will be zero for all
  Directing Class E Certificates that have received a Class E Certificate Internal Rate of Return equal to or
  in excess of 12.0% as of the purchase date; provided that in the case of any such purchase date after the
  Payment Date in November 2018, the Buy-Out Amount payable to any single Holder of Directing Class E
  Certificates holding U.S.$30,000,000 or more in aggregate Face Amount of Class E Certificates will only
  be zero if its Directing Class E Certificates have received a Class E Certificate Internal Rate of Return
  equal to or in excess of 15.0% as of the purchase date. See “The Management Agreement.” Accordingly,
  once these respective thresholds are reached, the Holders of Class E Certificates will effectively have no
  ability to remove the Portfolio Manager without cause.




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  Relating to the Collateral Obligations

          In General, the Collateral Obligations Are Subject to Various Risks

          The Collateral Obligations are subject to credit, liquidity, and interest rate risks, among others.
  The Eligibility Criteria and the Collateral Quality Tests have been established to address certain assumed
  deficiencies in payment occasioned by defaults with respect to the Collateral Obligations. If any
  deficiencies exceed certain modeled scenarios, however, payments or distributions on the Securities could
  be adversely affected. To the extent that a default occurs with respect to any Collateral Obligation
  securing the Notes and the Issuer (on the advice of the Portfolio Manager) sells or otherwise disposes of
  the Collateral Obligation, it is not likely that the proceeds of the sale or other disposition will be equal to
  the amount of principal and interest owing to the Issuer on the Collateral Obligation.

          The value of the Collateral Obligations generally will fluctuate with, among other things, the
  financial condition of the obligors on or issuers of the Collateral Obligations and, with respect to
  Synthetic Securities, both the financial condition of the related Synthetic Security counterparties and the
  obligors on or issuers of the Reference Obligations, general economic conditions, the condition of certain
  financial markets, political events, developments or trends in any particular industry, and changes in
  prevailing interest rates.

           The ability of the Issuer to sell Collateral Obligations before their maturity is subject to certain
  restrictions under the Indenture including those described under “Security for the Notes—Sale of
  Collateral Obligations; Reinvestment of Principal Proceeds.”

          Investing in Below Investment-Grade Obligations Involves Particular Risks

          A substantial amount of the Collateral Obligations will consist of loans, bonds and other
  obligations that are below investment grade, including high-yield loans and securities. Those Collateral
  Obligations will have greater credit and liquidity risk than investment grade obligations. They are also
  often unsecured and may be subordinated to certain other obligations of their issuer. The lower rating of
  those Collateral Obligations reflects a greater possibility that adverse changes in the financial condition of
  an issuer or in general economic conditions or both may impair the ability of their issuer to make
  payments of principal or interest. These Collateral Obligations may be speculative.

          Risks of below investment-grade Collateral Obligations may include (among others):

          (i)      limited liquidity and secondary market support;

          (ii)     in the case of fixed-rate high-yield debt securities, substantial market place volatility
                   resulting from changes in prevailing interest rates;

          (iii)    subordination to the prior claims of senior lenders and creditors;

          (iv)     the operation of mandatory sinking fund or call and redemption provisions during periods
                   of declining interest rates that could cause the Issuer to reinvest premature redemption
                   proceeds in lower-yielding debt obligations;

          (v)      the possibility that earnings of the below investment-grade issuer may be insufficient to
                   meet its debt service; and

          (vi)     the declining creditworthiness and potential for insolvency of a below investment-grade
                   issuer during periods of rising interest rates and economic downturn.



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         An economic downturn or an increase in interest rates could severely disrupt the market for
  below investment-grade obligations and could adversely affect the value of outstanding below
  investment-grade obligations and the ability of their issuers to repay principal and interest.

           Issuers that are below investment grade may be highly leveraged and may not have available to
  them more traditional methods of financing. The risk associated with obligations of below investment-
  grade issuers is generally greater than is the case with investment grade issuers. For example, during an
  economic downturn or a sustained period of rising interest rates, below investment-grade issuers may be
  more likely to experience financial stress, especially if they are highly leveraged. During those periods,
  timely service of debt obligations may also be adversely affected by specific issuer developments, or the
  issuer’s inability to meet specific projected business forecasts or the unavailability of additional financing.
  The risk of loss from default by the issuer is significantly greater for the holders of below investment-
  grade obligations because those obligations may be unsecured and may be subordinated to obligations
  owed to other creditors of the issuer. In addition, the Issuer may incur additional expenses to the extent it
  is required to seek recovery upon a default on such an obligation or participate in its restructuring.

          As a result of the limited liquidity of below investment-grade obligations, their prices have at
  times experienced significant and rapid decline when a substantial number of holders decided to sell. In
  addition, the Issuer may have difficulty disposing of certain below investment-grade obligations because
  there may be a thin trading market for them. To the extent that a secondary trading market for below
  investment-grade obligations does exist, it is generally not as liquid as the secondary market for highly
  rated obligations. Reduced secondary market liquidity may have an adverse impact on the Issuer’s ability
  to dispose of particular Collateral Obligations in response to a specific economic event, such as a
  deterioration in the creditworthiness of the issuer of the Collateral Obligation.

          Investing in Loans Involves Particular Risks

          The Collateral Obligations will consist primarily of Dollar-denominated senior secured and senior
  unsecured loans, which are required by the Indenture to be obligations of corporations, partnerships, or
  other entities organized under the laws of the United States (or any of its states) or of foreign obligors
  meeting specified criteria, or Synthetic Securities the Reference Obligations of which are such loans. See
  “Security for the Notes—Purchase of Collateral Obligations.”

           Loans may become non-performing for a variety of reasons. Non-performing loans may require
  substantial workout negotiations or restructuring that may entail, among other things, a substantial
  reduction in the interest rate or a substantial write-down of the principal of a loan. In addition, because of
  the unique and customized nature of a loan agreement and the private syndication of a loan, loans
  typically may not be purchased or sold as easily as publicly traded securities, and historically the trading
  volume in the bank term loan market has been small relative to the corporate bond market. Loans may
  encounter trading delays due to their unique and customized nature, and transfers may require the consent
  of an agent bank or borrower.

           The Issuer may acquire interests in loans either directly (by assignment) or indirectly (by
  Participation or through Synthetic Securities). The Issuer may not originate any loans. The purchaser of
  an assignment of a loan obligation typically succeeds to all the rights and obligations of the selling
  institution and becomes a lender under the loan or credit agreement with respect to the debt obligation. In
  contrast, a Participation acquired by the Issuer in a portion of a loan obligation held by a Participating
  Institution or a security or other debt obligation typically results in a contractual relationship only with the
  Participating Institution, not with the borrower. The Issuer would have the right to receive payments of
  principal, interest, and any fees to which it is entitled under a Participation only from the Participating
  Institution and only upon receipt by the Participating Institution of those payments from the borrower. In
  addition, when the Issuer holds a Participation, the Issuer generally will have no right to enforce
  compliance by the borrower with the loan or credit agreement or other instrument evidencing the related


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  loan obligation, no rights of set-off against the borrower, no direct interest in the collateral supporting the
  loan obligation, and no right to vote with respect to amendments of, or waivers of defaults under, the loan
  obligation. However, most participation agreements relating to Participations in loans provide that the
  Participating Institution may not vote in favor of any amendment, modification, or waiver that forgives
  principal, interest, or fees; reduces principal, interest, or fees that are payable; postpones any payment of
  principal (whether a scheduled payment or a mandatory prepayment), interest or fees; or releases any
  material guarantee or security without the consent of the participant (at least to the extent the participant
  would be affected by the amendment, modification, or waiver). A Participating Institution voting in
  connection with a potential waiver of a default by an obligor may have interests different from those of
  the Issuer, and the Participating Institution might not consider the interests of the Issuer in connection
  with its vote. In addition, many participation agreements relating to Participations in loans that do
  provide voting rights to the participant further provide that if the participant does not vote in favor of
  amendments, modifications, or waivers, the Participating Institution may repurchase the Participation at
  par. In the event of the insolvency of the Participating Institution, the Issuer may be treated as a general
  creditor of the Participating Institution with respect to a Participation and may not benefit from any set-off
  between the Participating Institution and the borrower and may not be able to proceed against the
  collateral supporting the loan obligation. As a result, the Issuer is subject to the credit risk of both the
  borrower and the Participating Institution. An investment by the Issuer in a Synthetic Security related to a
  Loan involves many of the same considerations relevant to Participations. See also “—Investing in
  Synthetic Securities Involves Particular Risks” below. The Issuer will be subject to restrictions on the
  amount of Participations that may be acquired for inclusion in the Collateral. See “Security for the
  Notes—Eligibility Criteria.”

           Certain of the loans in the Issuer’s portfolio may be unsecured or secured by collateral worth less
  than the outstanding balance of the loan. In addition to the general risks associated with loans described
  above, unsecured loans will not be secured by substantial collateral or any collateral and secured loans
  may be substantially under-secured. Without collateral and with materially inadequate collateral, the
  ability of the holder of the loan to recover amounts due from the borrower may be substantially limited.

          Investing in Structured Finance Obligations Involves Particular Risks

           A portion of the Collateral Obligations may consist of Structured Finance Obligations and
  Synthetic Securities the Reference Obligations of which are Structured Finance Obligations. Structured
  Finance Obligations may present risks similar to those of the other types of Collateral Obligations in
  which the Issuer may invest and, in fact, the risks may be of greater significance in the case of Structured
  Finance Obligations. Moreover, investing in Structured Finance Obligations may entail a variety of
  unique risks. Among other risks, Structured Finance Obligations may be subject to prepayment risk,
  credit risk, liquidity risk, market risk, structural risk, legal risk and interest rate risk (which may be
  exacerbated if the interest rate payable on a Structured Finance Obligation changes based on multiples of
  changes in interest rates or inversely to changes in interest rates). In addition, certain Structured Finance
  Obligations (particularly subordinated collateralized bond obligations) may provide that non-payment of
  interest is not an event of default in certain circumstances and the holders of the securities will therefore
  not have available to them any associated default remedies. During the period of non-payment, unpaid
  interest will generally be capitalized and added to the outstanding principal balance of the related security.
  Furthermore, the performance of a Structured Finance Obligation will be affected by a variety of factors,
  including its priority in the capital structure of its issuer, the availability of any credit enhancement, the
  level and timing of payments and recoveries on and the characteristics of the underlying receivables,
  loans, or other assets that are being securitized, bankruptcy remoteness of those assets from the originator
  or transferor, the adequacy of and ability to realize on any related collateral, and the skill of the manager
  of the Structured Finance Obligation in managing securitized assets. The price of a Structured Finance
  Obligation, if required to be sold, may be subject to certain market and liquidity risks for securities of its
  type at the time of sale. In addition, Structured Finance Obligations may involve initial and ongoing
  expenses above the costs associated with other investments.

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          Investing in Synthetic Securities Involves Particular Risks

          As described above, a portion of the Collateral Obligations may consist of Synthetic Securities
  the Reference Obligations of which are Loans, Structured Finance Obligations or High-Yield Bonds.
  Investments in these types of assets through the purchase of Synthetic Securities present risks in addition
  to those inherently associated with direct purchases of such assets. With respect to Synthetic Securities,
  the Issuer will usually have a contractual relationship only with the counterparty of the Synthetic Security,
  and not the reference obligor on the Reference Obligation. The Issuer will have no right to enforce
  compliance by the reference obligor with the Reference Obligation nor any rights of set-off against the
  reference obligor, nor have any voting or other consensual rights of ownership with respect to the
  Reference Obligation. The Issuer will not directly benefit from any collateral supporting the Reference
  Obligation and will not have the benefit of the remedies that would normally be available to a holder of
  the Reference Obligation.

           In addition, in the event of the insolvency of the Synthetic Security Counterparty, the Issuer will
  be treated as a general creditor of the counterparty and will not have any claim of title with respect to the
  Reference Obligation. Consequently, the Issuer will be subject to the credit risk of the counterparty as
  well as that of the reference obligor and concentrations of Synthetic Securities entered into with any one
  counterparty will subject the Securities to an additional degree of risk with respect to defaults by that
  counterparty. One or more Affiliates of the Initial Purchaser may act as counterparty with respect to all or
  a portion of the Synthetic Securities, which relationship may create certain conflicts of interest. See “—
  Relating to Certain Conflicts of Interest—The Issuer Will Be Subject to Various Conflicts of Interest
  Involving the Initial Purchaser and the Placement Agent” below. In addition, Synthetic Securities may
  involve initial and ongoing expenses above the costs associated with the related direct investments. The
  Issuer will be subject to restrictions on the amount of Synthetic Securities it may own at any one time.

          Some of the Collateral Obligations Will Be Illiquid

           Some of the Collateral Obligations purchased by the Issuer will have no, or only a limited, trading
  market. The Issuer’s investment in illiquid Collateral Obligations may restrict its ability to dispose of
  investments in a timely fashion and for a fair price, as well as its ability to take advantage of market
  opportunities, although the Issuer is generally prohibited by the Indenture from selling Collateral
  Obligations except under certain limited circumstances described under “Security for the Notes—Sale of
  Collateral Obligations; Reinvestment of Principal Proceeds.” Illiquid Collateral Obligations may trade at
  a discount from comparable, more liquid investments. In addition, the Issuer may invest in privately
  placed Collateral Obligations that may or may not be freely transferable under the laws of the applicable
  jurisdiction or due to contractual restrictions on resale, and even if those privately placed Collateral
  Obligations are transferable, the prices realized from their sale could be less than those originally paid by
  the Issuer or less than what may be considered their fair value.

          Insolvency Considerations With Respect to Issuers of Collateral Obligations May Affect the
          Issuer’s Rights

           Various laws enacted for the protection of creditors may apply to the Collateral Obligations. If,
  in a lawsuit brought by a creditor or representative of creditors of an obligor under a Collateral Obligation
  (such as a trustee in bankruptcy), a court were to find that the obligor did not receive fair consideration or
  reasonably equivalent value for incurring the indebtedness evidenced by the Collateral Obligation and,
  after giving effect to the indebtedness and the use of the proceeds thereof, the obligor (i) was insolvent,
  (ii) was engaged in a business for which the remaining assets of the obligor constituted unreasonably
  small capital or (iii) intended to incur, or believed that it would incur, debts beyond its ability to pay them
  as they mature, the court could determine to invalidate, in whole or in part, the indebtedness as a
  fraudulent conveyance, to subordinate the indebtedness to existing or future creditors of the obligor, or to
  recover amounts previously paid by the obligor in satisfaction of the indebtedness. There can be no


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  assurance as to what standard a court would apply to determine whether the obligor was “insolvent” or
  that, regardless of the method of valuation, a court would not determine that the obligor was “insolvent,”
  in each case, after giving effect to the incurrence of the Collateral Obligation and the use of its proceeds.
  In addition, in the event of the insolvency of an obligor under a Collateral Obligation, payments made on
  the Collateral Obligation may be subject to avoidance as a “preference” if made within a certain period
  before insolvency (which may be as long as approximately one year).

           In general, if payments on a Collateral Obligation are avoidable, whether as fraudulent
  conveyances or preferences, the payments can be recaptured either from the initial recipient (such as the
  Issuer) or from subsequent transferees of the payments (such as the Holders of the Securities). To the
  extent that any payments are recaptured from the Issuer, the resulting reduction in payments on the
  Securities will be borne by the Holders of the applicable Class of Securities. A court in a bankruptcy or
  insolvency proceeding would be able to direct the recapture of any payment from a Holder of the
  Securities to the extent that the court has jurisdiction over the Holder or its assets. Since there is no
  judicial precedent relating to structured securities such as the Securities, there can be no assurance that a
  Holder of Securities will be able to avoid recapture on this basis.

           The preceding discussion is based on principles of United States federal and state laws. Insofar
  as Collateral Obligations that are obligations of non-United States obligors are concerned, the laws of
  certain foreign jurisdictions may provide for avoidance remedies under factual circumstances similar to,
  or broader or narrower than, those described above, with consequences that may or may not be analogous
  to those described above under United States federal and state laws.

          Concentration Risks

          Payments on the Notes could be affected by the concentration of the Collateral in Collateral
  Obligations of any one country, industry or obligor. In addition, Defaulted Collateral Obligations may be
  highly correlated with particular geographic regions or industries represented in the Collateral. The
  Indenture will contain limitations on the concentration of the Collateral Obligations in a single Collateral
  Obligation and will also include diversity requirements intended to achieve diversity across countries and
  industries, but such requirements and limitations will not necessarily insulate the Co-Issuers or the
  Holders of Notes from the risks of geographic or industry concentration.

          International Investing Involves Particular Risks

           A portion of the Collateral Obligations may consist of obligations of obligors Domiciled outside
  the United States. Investing outside the United States may involve greater or different risks than
  investing in the United States. These risks may include: less publicly available information; varying
  levels of governmental regulation and supervision; the difficulty of enforcing legal rights in a foreign
  jurisdiction and uncertainties as to the status, interpretation and application of laws. Moreover, foreign
  companies may be subject to accounting, auditing, and financial reporting standards, practices, and
  requirements different from those applicable to U.S. companies.

           There generally is less governmental supervision and regulation of exchanges, brokers and issuers
  in foreign countries than there is in the United States. For example, there may be no comparable
  provisions under certain foreign laws with respect to insider trading and similar investor protection
  securities laws that apply with respect to securities transactions consummated in the United States.

           Foreign markets also have different clearance and settlement procedures, and in certain markets
  there have been times when settlements have failed to keep pace with the volume of securities
  transactions, making it difficult to conduct transactions. Delays in settlement could result in periods when
  assets of the Issuer are uninvested and no return is earned on them. The inability of the Issuer to make
  intended purchases of Collateral Obligations due to settlement problems or the risk of intermediary


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  counterparty failures could cause the Issuer to miss investment opportunities. The inability to dispose of
  a Collateral Obligation due to settlement problems could result either in losses to the Issuer due to
  subsequent declines in the value of the Collateral Obligation or, if the Issuer has entered into a contract to
  sell the security, could result in possible liability to the purchaser. Transaction costs of buying and selling
  foreign securities, including brokerage, tax, and custody costs, also are generally higher than those
  involved in domestic transactions. Furthermore, foreign financial markets, while generally growing in
  volume, have, for the most part, substantially less volume than U.S. markets, and securities of many
  foreign companies are less liquid and their prices more volatile than securities of comparable domestic
  companies.

           In certain foreign countries there is the possibility of expropriation, nationalization, or
  confiscatory taxation; limitations on the convertibility of currency or the removal of securities, property,
  or other assets of the Issuer; political, economic, or social instability; or adverse diplomatic developments,
  each of which could have an adverse effect on the Issuer’s investments in the foreign countries (which
  may make it more difficult to pay Dollar-denominated obligations such as the Collateral Obligations).
  The economies of individual non-U.S. countries may also differ favorably or unfavorably from the U.S.
  economy in such respects as growth of gross domestic product, rate of inflation, volatility of currency
  exchange rates, depreciation, capital reinvestment, resource self-sufficiency and balance of payments
  position.

          Lender Liability Considerations and Equitable Subordination Can Affect the Issuer’s Rights with
          Respect to Collateral Obligations

           In recent years, a number of judicial decisions in the United States have upheld the right of
  borrowers to sue lenders and bondholders on the basis of various evolving legal theories (collectively
  termed “lender liability”). Generally, lender liability is founded on the premise that a lender has violated
  a duty (whether implied or contractual) of good faith and fair dealing owed to the debtor or has assumed a
  degree of control over the debtor resulting in the creation of a fiduciary duty owed to the debtor or its
  other creditors or shareholders. Because of the nature of the Collateral Obligations, the Issuer may be
  subject to allegations of lender liability. In addition, under common law principles that in some cases
  form the basis for lender liability claims, a court may elect to subordinate the claim of the offending
  lender to the claims of the disadvantaged creditors, a remedy called “equitable subordination,” if a lender:
  (i) intentionally takes an action that results in the undercapitalization of a borrower to the detriment of
  other creditors of the borrower; (ii) engages in other inequitable conduct to the detriment of the other
  creditors; (iii) engages in fraud with respect to, or makes misrepresentations to, the other creditors; or (iv)
  uses its influence as a lender to dominate or control a borrower to the detriment of other creditors of the
  borrower.

           Because the Collateral Obligations are primarily Loans, the Issuer may be subject to claims from
  creditors of an obligor that Collateral Obligations issued by the obligor that are held by the Issuer should
  be equitably subordinated. However, the Portfolio Manager does not intend to engage in conduct that
  would form the basis for a successful cause of action based on lender liability or the equitable
  subordination doctrine. Nonetheless, no assurances can be given that actions taken in good faith by the
  Portfolio Manager will not result in losses to issuers of Collateral Obligations, and that the Issuer will not
  be liable for any such losses. Furthermore, the Issuer and the Portfolio Manager may be unable to control
  the conduct of lenders under a loan syndication agreement requiring less than a unanimous vote, yet the
  Issuer may be subject to lender liability or equitable subordination for such conduct.

           The preceding discussion is based on principles of United States federal and state laws. Insofar
  as Collateral Obligations that are obligations of non-United States obligors are concerned, the laws of
  certain foreign jurisdictions may impose liability on lenders or bondholders under factual circumstances
  similar to, or broader or narrower than, those described above, with consequences that may or may not be
  analogous to those described above under United States federal and state laws.

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          Securities May Be Affected by Interest Rate Risks, Including Mismatches Between the Notes and
          the Collateral Obligations

           The Notes bear interest at a rate based on LIBOR as determined on the second Business Day prior
  to the first day of the relevant Interest Period. The Collateral Obligations will consist primarily of
  obligations that bear interest at floating rates, which floating rates may be different than the floating rates
  on the Notes. Accordingly, the Notes are subject to interest rate risk to the extent that there is a mismatch
  between the rates at which interest accrues on the Notes and the rates at which interest accrues on the
  Collateral. In addition, there may be a timing mismatch between the Notes and the Floating Rate
  Obligations as the interest on the Floating Rate Obligations may adjust more or less frequently, on
  different dates and based on different indices than the interest rates on the Notes. Furthermore, any
  payments of principal of or interest on Collateral received during a Due Period will (except to a limited
  extent specified in the Indenture) be reinvested in Eligible Investments maturing not later than the
  Business Day immediately preceding the next Payment Date. There is no requirement that Eligible
  Investments bear interest at LIBOR or a similar rate, and the interest rates available for Eligible
  Investments are inherently uncertain. As a result of these mismatches, an increase or decrease in LIBOR
  for the relevant maturity could adversely affect the ability of the Issuer to make interest payments on the
  Notes (including due to a rise or a decline in the value of previously issued Collateral Obligations or other
  Collateral that bear interest at a fixed rate as LIBOR decreases or increases, as applicable) and to make
  distributions on the Class E Certificates. To mitigate a portion of the interest rate mismatch, the Issuer
  may enter into Hedge Agreements that are subject to a Rating Confirmation. However, there can be no
  assurance that the Collateral Obligations and Eligible Investments, together with any Hedge Agreements,
  will in all circumstances generate sufficient Interest Proceeds to make timely payments of interest on the
  Notes. Moreover, there can be no assurance that any Hedge Agreements will eliminate the risks of
  interest rate mismatch intended to be addressed by such agreements and the benefits of any Hedge
  Agreements may not be achieved in the event of the early termination of the Hedge Agreements,
  including termination upon the failure of the related Hedge Counterparty to perform its obligations under
  the Hedge Agreement. See “Security for the Notes—Hedge Agreements.”

          The Portfolio Manager may direct the Issuer to reduce the notional amount of, or otherwise adjust
  the terms of, any Hedge Agreement outstanding at any time, subject, in the case of any reduction or
  adjustment made on or after the Ramp-Up Completion Date, to obtaining a Rating Confirmation.

          Changes in Tax Law Could Result in the Imposition of Withholding Taxes with Respect to
          Payments on the Collateral Obligations, and the Obligors on the Collateral Obligations will not
          Gross-Up Payments to the Issuer

           The Issuer expects that payments received on the Hedge Agreements, and generally on the
  Collateral Obligations and Eligible Investments, will not be subject to withholding taxes imposed by the
  United States or reduced by withholding taxes imposed by any other country from which such payments
  are sourced unless the obligor is required to make “gross-up” payments that cover the full amount of any
  such withholding taxes. In the case of Collateral Obligations and Eligible Investments issued by U.S.
  obligors after July 18, 1984 that are in registered form, payments thereon generally are exempt under
  current United States tax law from the imposition of United States withholding tax. See “Income Tax
  Considerations—Tax Treatment of the Issuer—United States Withholding Taxes”. However, there can
  be no assurance that, as a result of any change in any applicable law, treaty, rule or regulation or
  interpretation thereof, the payments on the Hedge Agreements, Collateral Obligations and Eligible
  Investments would not in the future become subject to withholding taxes imposed by the United States of
  America or another jurisdiction. In that event, if the obligors of such Hedge Agreements, Collateral
  Obligations and Eligible Investments were not then required to make “gross-up” payments that cover the
  full amount of any such withholding taxes, the amounts available to make payments on, or distributions
  to, the holders of the Securities would accordingly be reduced. There can be no assurance that remaining



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  payments on the Collateral would be sufficient to make timely payments of interest on, payment of
  principal and payment of other distributions at the Stated Maturity of the Securities.

           Upon the occurrence of a Tax Event, the Notes shall be redeemable at the applicable Redemption
  Price, in whole, but not in part, by the Issuer at the written direction of the Holders of at least a Majority
  of the Class E Certificates, as described under “Description of the Securities—Optional Redemption.”

          The Issuer Has the Right to Engage in Securities Lending, which Involves Counterparty Risks and
          Other Risks

           The Collateral Obligations may be loaned for a term of 90 days or less to banks, broker-dealers,
  and other financial institutions (other than insurance companies) that have, or are guaranteed by entities
  that have, long-term and short-term senior unsecured debt ratings or a guarantor with those ratings at the
  time of the loan, of at least “A1” (and not “A1” but on credit watch with negative implications) and “P-1”
  (and not on credit watch for possible downgrade) from Moody’s and a long-term senior unsecured debt
  rating of at least “A” from S&P. See “Security for the Notes—Securities Lending.” The loans must be
  secured by cash or direct registered debt obligations of the United States of America, in an amount at least
  equal to 102% of the current Ask-Side Market Value of the loaned Collateral Obligations, determined on
  a daily basis. However, if the borrower of a loaned Collateral Obligation defaults on its obligation to
  return the loaned Collateral Obligation because of insolvency or otherwise, the Issuer could experience
  delays and costs in gaining access to the collateral posted by the borrower (and in extreme circumstances
  could be restricted from selling the collateral). If the borrower defaults, the Issuer could suffer a loss to
  the extent that the realized value of the cash or securities securing the obligation of the borrower to return
  a loaned Collateral Obligation (less expenses) is less than the amount required to purchase the Collateral
  Obligation in the open market. This shortfall could be due to, among other factors, discrepancies between
  the mark-to-market and actual transaction prices for the loaned Collateral Obligations arising from limited
  liquidity or availability of the loaned Collateral Obligations and, in extreme circumstances, the loaned
  Collateral Obligations being unavailable at any price.

           The Rating Agencies may downgrade any of the rated Securities if a borrower of a Collateral
  Obligation or, if applicable, the entity guaranteeing the performance of the borrower has been
  downgraded by one of the Rating Agencies such that the Issuer is not in compliance with the Securities
  Lending Counterparty rating requirements. The Securities Lending Counterparties may be Affiliates of
  the Initial Purchaser or Affiliates of the Portfolio Manager, which may create certain conflicts of interest.
  See “—Relating to Certain Conflicts of Interest—The Issuer Will Be Subject to Various Conflicts of
  Interest Involving the Portfolio Manager” and “—The Issuer Will Be Subject to Various Conflicts of
  Interest Involving the Initial Purchaser and the Placement Agent” below.

  Relating to Certain Conflicts of Interest

          In General, the Transaction Will Involve Various Potential and Actual Conflicts of Interest

          Various potential and actual conflicts of interest may arise from the overall advisory, investment,
  and other activities of the Portfolio Manager and its Affiliates and from the conduct by the Initial
  Purchaser and the Placement Agent and its Affiliates of other transactions with the Issuer, including
  acting as counterparty with respect to Hedge Agreements, Securities Lending Agreements, and Synthetic
  Securities. The following briefly summarizes some of these conflicts, but is not intended to be an
  exhaustive list of all such conflicts.

          The Issuer Will Be Subject to Various Conflicts of Interest Involving the Portfolio Manager

           Various potential and actual conflicts of interest may arise for the Portfolio Manager with respect
  to its obligations to the Issuer from the overall investment activities of the Portfolio Manager and its
  Affiliates, for the accounts of its other clients. For example, the Portfolio Manager, its Affiliates and their

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  respective clients may invest in loans, securities, and other obligations that would be appropriate for
  inclusion in the Issuer’s portfolio of Collateral Obligations, as well as in loans, securities, and other
  obligations that are senior to, or have interests different from or adverse to, the loans and or other
  investments that are pledged to secure the Notes. Furthermore, Affiliates of the Portfolio Manager may
  serve as general partners or managers of special-purpose entities organized to issue other collateralized
  loan obligations (“CLOs”) secured primarily by corporate loans and collateralized debt obligations
  (“CDOs”) secured by corporate debt obligations. The Portfolio Manager and its Affiliates may also have
  ongoing relationships with, render services to, or engage in transactions with, companies whose loan
  obligations or securities are pledged to secure the Notes and may now or in the future own (as portfolio
  investments or otherwise) loan obligations or equity or debt securities issued by issuers of or obligors on,
  Collateral Obligations or other Collateral.

           The Portfolio Manager and its Affiliates may possess information relating to issuers of Collateral
  Obligations or other Collateral that (i) may constrain the Issuer’s investments as a consequence of the
  Portfolio Manager’s inability to use such information for advisory purposes or otherwise to take actions
  that would be in the best of interests of the Issuer or (ii) is not known to the employees of the Portfolio
  Manager responsible for monitoring the Collateral and performing the other obligations of the Portfolio
  Manager under the Management Agreement. The Portfolio Manager, its Affiliates and their respective
  clients may at certain times be simultaneously seeking to purchase or dispose of investments for the
  respective accounts of the Issuer, any similar entity for which it serves as manager or advisor, and for its
  clients or Affiliates.

          Neither the Portfolio Manager nor any of its Affiliates has any affirmative obligation to offer any
  investments to the Issuer or to inform the Issuer of any investments before offering any investments to
  other funds or accounts that the Portfolio Manager or any of its Affiliates manage or advise. Furthermore,
  the Portfolio Manager may be bound by affirmative obligations in the future, whereby the Portfolio
  Manager is obligated to offer certain investments to funds or accounts that it manages or advises before or
  without the Portfolio Manager offering those investments to the Issuer.

           The Portfolio Manager will endeavor to resolve conflicts with respect to investment opportunities
  in a manner that it deems equitable to the extent possible under the prevailing facts and circumstances.
  Further, the Portfolio Manager will be prohibited under the Management Agreement from directing the
  acquisition of Collateral Obligations from, or the disposition of Collateral Obligations to, its Affiliates or
  any other account managed by the Portfolio Manager except in a transaction conducted on an arm’s-
  length basis for fair market value and if the Portfolio Manager has complied with its policies and
  procedures with respect to the acquisition or disposition and the acquisition or disposition otherwise
  complies with the requirements of the United States Investment Advisers Act of 1940.

          The Portfolio Manager currently serves as the portfolio manager for a number of special purpose
  vehicles that have issued securities secured by or referencing collateral consisting of assets similar to the
  Collateral Obligations, which may create conflicts in allocating its time and services among the Issuer and
  the Portfolio Manager’s other accounts.

          Upon the removal or resignation of the Portfolio Manager, the Issuer, at the written direction of a
  Super Majority of the Class E Certificates, may appoint a replacement Portfolio Manager if (i) a Majority
  of the Controlling Class of Notes has consented to the appointment of such replacement Portfolio
  Manager and (ii) a Majority of the Aggregate Outstanding Amount of the Notes (voting as a single Class
  (excluding any Notes held by the retiring Portfolio Manager or any of its Affiliates)) does not object to
  the replacement Portfolio Manager. See “The Management Agreement.” Securities held by the Portfolio
  Manager or any of its Affiliates and accounts over which the Portfolio Manager or any of its Affiliates
  exercise discretionary voting authority will have no voting rights with respect to any vote in connection
  with removal of the Portfolio Manager and will be deemed not to be outstanding in connection with any
  vote to remove the Portfolio Manager. Securities held by the Portfolio Manager or any of its Affiliates

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  will have voting rights with respect to all other matters as to which the Holders of the Securities are
  entitled to vote, including any vote to direct an Optional Redemption and any vote to appoint a
  replacement Portfolio Manager in accordance with the Management Agreement. See “The Management
  Agreement” and “Description of the Securities—Optional Redemption.” The Portfolio Manager and its
  Affiliates may own equity or other securities of issuers of or obligors on Collateral Obligations or other
  Collateral and may have provided and may provide in the future, advisory and other services to issuers of
  Collateral.

           On the Closing Date, the Portfolio Manager or its Affiliates are expected to purchase Class E
  Certificates having an aggregate Face Amount approximately equal to U.S.$22 million. To the extent that
  the interests of the Holders of the Notes differ from the interests of the Holders of the Class E Certificates,
  the holding of the Class E Certificates by the Portfolio Manager or its Affiliates may create additional
  conflicts of interest. In addition, the interests of the Portfolio Manager or its Affiliates will not necessarily
  be aligned with those of other Holders of the Class E Certificates.

          The Portfolio Manager will be entitled to receive the Senior Management Fee, the Subordinated
  Management Fee and the Incentive Management Fee, as further described herein. The structure of such
  fees may cause the Portfolio Manager to direct the Issuer to make more speculative investments in
  Collateral Obligations than it would otherwise make in the absence of such performance based
  compensation.

         In addition, the Portfolio Manager and its Affiliates may act as the Securities Lending
  Counterparty under any Securities Lending Agreement entered into by the Issuer.

          The Issuer Will Be Subject to Various Conflicts of Interest Involving the Initial Purchaser and the
          Placement Agent

           The Initial Purchaser and Placement Agent and their affiliates are acting in a number of capacities
  in connection with the transactions described herein. The Initial Purchaser is also expected to be the
  initial Class A-1B Noteholder. The Initial Purchaser and Placement Agent and their affiliates may also in
  the future act as counterparties to Hedge Agreements, Participations and Synthetic Securities that are
  included in the Collateral. The Initial Purchaser and the Placement Agent and each of their affiliates
  acting in such capacities will have only the duties and responsibilities expressly agreed to by such entity
  in the relevant capacity and will not, by reason of its or any of its affiliates’ acting in any other capacity,
  be deemed to have other duties or responsibilities or be deemed to be held to a standard of care other than
  as expressly provided with respect to each such capacity. Neither the Initial Purchaser nor the Placement
  Agent take any responsibility for, or have any obligations in respect of, the Issuer.

          The Initial Purchaser and Placement Agent and their affiliates may purchase, acquire, hold, sell
  and make loans secured by any Notes from time to time and exercise rights of Noteholders in connection
  therewith. In addition, the Initial Purchaser and Placement Agent and their affiliates may enter into
  derivative transactions with respect to the Notes from time to time.

           The Initial Purchaser and Placement Agent and their affiliates may hold Collateral Obligations or
  other obligations or securities of any Obligor, may deal in any such obligations or securities, may enter
  into credit derivatives involving reference entities or reference obligations that may include the Obligors
  or Collateral Obligations, may accept deposits from, make loans or otherwise extend credit to, and
  generally engage in any kind of commercial or investment banking or other business with, any Obligor,
  any affiliate of any Obligor or any other Person or other entity having obligations relating to any Obligor,
  and may act with respect to such business, regardless of whether any such relationship or action might
  have an adverse effect on any Obligor (including, without limitation, any action which might result in or
  cause a Collateral Obligation to be a Defaulted Collateral Obligation), or on the position of the Issuer or
  any other party to the transactions described herein or otherwise. The Initial Purchaser, the Placement


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  Agent or one or more of their affiliates may act as a dealer for purposes of providing quotations with
  respect to the determination of the Market Value of any Collateral Obligation or for purposes of buying or
  selling Collateral Obligations. In addition, the Initial Purchaser and Placement Agent and/or their
  affiliates may from time to time possess interests in the Obligors and/or Collateral Obligations allowing
  the Initial Purchaser and Placement Agent or their affiliates, as applicable (or any investment manager or
  adviser acting on its or their behalf), to exercise voting or consent rights with respect thereto, and such
  rights may be exercised in a manner that may be adverse to the interests of the Holders or that may affect
  the market value of Collateral Obligations and/or the amounts payable thereunder. The Initial Purchaser
  and Placement Agent and their affiliates may maintain other banking and investment advisory
  relationships with the Portfolio Manager and its affiliates.

           The Initial Purchaser and Placement Agent and their affiliates currently act as administrative
  agent, swap counterparty, underwriter, initial purchaser or placement agent or in a similar capacity for
  entities having investment objectives similar to those of the Issuer, and the Initial Purchaser and its
  affiliates may act as administrative agent, swap counterparty, underwriter, initial purchaser or placement
  agent for such entities and other similar entities in the future. The Initial Purchaser and Placement Agent
  (or an affiliate) may be advising or distributing securities on behalf of an issuer or providing banking or
  other services to an issuer at the same time at which the Portfolio Manager is determining whether to
  purchase or sell a Collateral Obligation of such issuer under the Indenture. The Initial Purchaser and
  Placement Agent has no duty to inform the Portfolio Manager, the Issuer or the Holders of the Notes of
  any such relationship or activity. Employees of the Initial Purchaser and Placement Agent and their
  affiliates may also serve as directors of other entities having investment objectives similar to those of the
  Issuer.
          The Issuer may invest in Eligible Investments that are purchased from or sold to, or are
  obligations of, the Initial Purchaser and Placement Agent or their affiliates. The Initial Purchaser and
  Placement Agent and their affiliates may hold or deal in obligations of, or interests in, and may generally
  engage in any kind of commercial or investment banking or other business with, issuers of Eligible
  Investments.

  Money Laundering Prevention

           The Issuer and the Administrator are subject to anti-money laundering legislation in the Cayman
  Islands pursuant to the Proceeds of Criminal Conduct Law (2005 Revision) (the “PCCL”). Pursuant to
  the PCCL the Cayman Islands government enacted The Money Laundering Regulations (2005 Revision),
  which impose specific requirements with respect to the obligation “to know your client.” Except in
  relation to certain categories of institutional investors, the Issuer may require a detailed verification of
  each investor’s identity and the source of the payment used by such investor for purchasing the Securities
  in a manner similar to the obligations imposed under the laws of other major financial centers. In
  addition, if any person who is resident in the Cayman Islands knows or has a suspicion that a payment to
  the Issuer (by way of investment or otherwise) contains the proceeds of criminal conduct, that person
  must report such suspicion to the Cayman Islands authorities pursuant to the PCCL. If the Issuer were
  determined by the Cayman Islands government to be in violation of the PCCL or The Money Laundering
  Regulations (2005 Revision), the Issuer could be subject to substantial criminal penalties. Such a
  violation could materially adversely affect the timing and amount of payments by the Issuer to the
  Holders of the Securities.




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                                  DESCRIPTION OF THE SECURITIES
          The Notes will be issued pursuant to the Indenture. The terms of the Class E Certificates are
  contained in the Issuer Charter and in certain resolutions adopted by the Issuer’s Board of Directors on or
  before the Closing Date authorizing and approving the issuance of the Securities, as reflected in the
  minutes thereof (the “Resolutions” and, together with the Issuer Charter and the Class E Certificate
  Paying Agency Agreement, the “Class E Certificate Documents”). The following summary describes
  certain provisions of the Notes, the Class E Certificates, the Indenture and the Class E Certificate
  Documents. The summary does not purport to be complete and is subject to, and qualified in its entirety
  by reference to, the provisions of the Indenture and the Class E Certificate Documents. Copies of the
  Indenture may be obtained by prospective purchasers upon request in writing to the Trustee at the
  Corporate Trust Office, 600 Travis Street, 50th Floor, Houston, Texas 77002, Attention: Worldwide
  Securities Services—Liberty CLO, Ltd. Copies of the Class E Certificate Documents may be obtained
  upon request in writing to the Administrator at P.O. Box 908GT, Walker House, Mary Street, George
  Town, Grand Cayman, Cayman Islands.

  Status and Security

           The Notes are limited recourse debt obligations of the Issuer and non-recourse debt obligations of
  the Co-Issuer. Each Note within a Class will rank pari passu with all other Notes of that Class (with the
  Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes and the Class A-4 Notes being treated as
  separate Classes). Under the Indenture, the Issuer will grant to the Trustee a first-priority security interest
  in the Collateral to secure the Issuer’s obligations under the Indenture, the Notes, the Hedge Agreements
  and the Management Agreement (collectively, the “Secured Obligations”). The Notes are payable solely
  from amounts received in respect of the Collateral pledged by the Issuer to secure the Notes. If the
  amounts received in respect of the Collateral (net of certain expenses) are insufficient to make payments
  on the Secured Obligations in accordance with the Priority of Payments, no other assets will be available
  for payment of the deficiency and, following liquidation of all the Collateral, the obligations of the Co-
  Issuers to pay the deficiency will be extinguished.

           The Class E Certificates will not be secured. The Class E Certificates are entitled only to
  proceeds of the Collateral to the extent that any proceeds are remaining on any Payment Date after
  payment of all interest and principal payable on each Class of Notes on that Payment Date and the
  satisfaction of other amounts ranking prior to the Class E Certificates in accordance with the Priority of
  Payments.

           In furtherance of the priorities of payments among the Classes of Notes and the Class E
  Certificates, the Indenture contains express subordination provisions pursuant to which the Holders of
  each Class of Notes that is a Junior Class as described below agree for the benefit of the Holders of the
  Notes of each Priority Class with respect to the Junior Class that the Junior Class shall be subordinate and
  junior to the Notes of each Priority Class to the extent and in the manner provided in the Indenture.

           If any Event of Default has not been cured or waived and acceleration occurs under and in
  accordance with the Indenture, each Priority Class of Notes shall be paid in full in cash or, to the extent a
  Majority of the Class consents, other than in cash, before any further payment or distribution is made on
  account of any Junior Class of Notes with respect to the Priority Class. The Holders of each Junior Class
  of Notes agree, for the benefit of the Holders of the Notes of each Priority Class not to cause the filing of
  a petition in bankruptcy against the Issuer or the Co-Issuer for failure to pay to them amounts due to the
  Junior Class, of the Notes or each Class of Notes, as the case may be, or under the Indenture until the
  payment in full of the Priority Classes or all the Classes, as the case may be and not before one year and a
  day, or if longer, the applicable preference period then in effect and a day, has elapsed since such
  payment.



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           For purposes of this provision, with respect to each Class of Securities, the Classes of Securities
  that are Priority Classes and Junior Classes are as follows:

                                 Class          Junior Classes          Priority
                                                                        Classes
                                               A-2, A-3, A-4, B,
                                  A-1             C, Class E              None
                                                 Certificates
                                                A-3, A-4, B, C,
                                  A-2              Class E                A-1
                                                 Certificates
                                  A-3          A-4, B, C, Class E
                                                                        A-1, A-2
                                                  Certificates
                                  A-4            B, C, Class E
                                                                     A-1, A-2, A-3
                                                  Certificates
                                   B              C, Class E         A-1, A-2, A-3,
                                                  Certificates            A-4
                                   C               Class E           A-1, A-2, A-3,
                                                  Certificates          A-4, B
                               Class E               None*           A-1, A-2, A-3,
                              Certificates                             A-4, B, C
                            _______________
                            *Subject to applicable Cayman Islands law, the Class
                            E Certificates will be entitled to certain residual
                            cashflow after payment of senior obligations in
                            accordance with the Priority of Payments.


           If, notwithstanding the provisions of the Indenture, any Holder of Notes of any Junior Class has
  received any payment or distribution in respect of the Notes contrary to the provisions of the Indenture,
  then, until each Priority Class with respect to such Junior Class of Notes has been paid in full in Cash or,
  to the extent a Majority of the Priority Class consents, other than in Cash in accordance with the
  Indenture, the payment or distribution shall be received and held in trust for the benefit of, and shall
  forthwith be paid over and delivered to, the Trustee, which shall pay and deliver the same to the Holders
  of the applicable Priority Classes of Notes. If any such payment or distribution is made other than in
  cash, it shall be held by the Trustee as part of the Collateral and subject in all respects to the Indenture.

           Each Holder of Notes of any Junior Class agrees with all Holders of the applicable Priority
  Classes that the Holder of a Junior Class of Notes shall not demand, accept, or receive any payment or
  distribution in respect of the Notes in violation of the Indenture. After a Priority Class has been paid in
  full, the Holders of Notes of the related Junior Class or Classes shall be fully subrogated to the rights of
  the Holders of the Priority Class. Nothing in these provisions shall affect the obligation of the Issuer to
  pay Holders of any Junior Class of Notes.

          Distributions to Holders of the Class E Certificates are subordinate to distributions on the Notes
  as described in the Priority of Payments.

          The Management Fees shall have priority only to the extent provided in the Priority of Payments.


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  Interest Payments on the Notes and Payments of Dividends on the Class E Certificates from
  Interest Proceeds

           The Notes of each Class (other than the Class A-1A Notes and the Class A-1B Notes) will accrue
  interest during each Interest Period, on their Aggregate Outstanding Amount (determined as of the first
  day of the Interest Period and after giving effect to any redemption or other payment of principal
  occurring on that day) at the applicable per annum interest rates for each such Class (the “Note Interest
  Rate”) equal to LIBOR for the applicable Interest Period plus the spread, as specified above under
  “Summary of Terms—Principal Terms of the Securities.” The Class A-1A Notes will accrue interest only
  on the Drawn Amount of the Class A-1A Notes at the applicable Note Interest Rate. A Commitment Fee
  of 0.17% per annum is payable on the Aggregate Undrawn Amount of the Class A-1A Notes. The Class
  A-1B Notes will accrue interest only on the Drawn Amount of the Class A-1B Notes at the applicable
  Note Interest Rate. A Delayed Drawdown Fee of 0.17% per annum is payable on the Aggregate Undrawn
  Amount of the Class A-1B Notes during the Delayed Drawdown Period. Interest accrued on the Notes,
  the Commitment Fee and the Delayed Drawdown Fee shall be calculated on the basis of the actual
  number of days elapsed in the applicable period divided by 360. Payment of interest on each Class of
  Notes shall be subordinated to the payments of interest on the related Priority Classes and other amounts
  in accordance with the Priority of Payments.

           So long as any Priority Classes are Outstanding with respect to any Class of Deferred Interest
  Notes, any Deferred Interest in accordance with the Priority of Payments on any Payment Date shall not
  be considered “payable” for the purposes of the Indenture (and the failure to pay the interest shall not be
  an Event of Default) until the Payment Date on which the interest is available to be paid in accordance
  with the Priority of Payments. Deferred Interest on any Class of Deferred Interest Notes shall be payable
  on the first Payment Date on which funds are available to be used for that purpose in accordance with the
  Priority of Payments. To the extent lawful and enforceable, interest on Deferred Interest with respect to
  any Class of Deferred Interest Notes shall accrue at the Note Interest Rate for the Class (and to the extent
  not paid as current interest on the Payment Date after the Interest Period in which it accrues, shall
  thereafter be additional Deferred Interest), until paid.

          Interest shall cease to accrue on each Note, or in the case of a partial repayment, on the part
  repaid, from the date of repayment or its Stated Maturity unless payment of principal is improperly
  withheld or unless there is some other default with respect to the payments of principal.

          On each Payment Date, the Issuer will make distributions to the Class E Certificate Paying Agent
  for payment to the Holders of the Class E Certificates as dividends on the Class E Certificates pursuant to
  the Class E Certificate Documents, to the extent legally permitted, to the extent of available Interest
  Proceeds as described under clauses (22) and (24) under “Description of the Securities—Priority of
  Payments—Interest Proceeds.”

          For purposes of calculating interest on each Class of Notes, the Issuer will initially appoint the
  Trustee as calculation agent (the Trustee in that capacity, and each successor calculation agent, the
  “Calculation Agent”).

          As soon as possible after 11:00 a.m. (London time) on the second Business Day before the first
  day of each Interest Period, but in no event later than 11:00 a.m. (London time) on the next Business Day,
  the Calculation Agent will calculate the Note Interest Rate for each Class of Notes for the related Interest
  Period and the amount of interest for the Interest Period payable in respect of each $100,000 in principal
  amount of each Class of Notes (in each case rounded to the nearest cent, with half a cent being rounded
  upward) on the related Payment Date and will communicate the Note Interest Rate for each Class of
  Notes and the date of the next Payment Date to the Co-Issuers, the Trustee, the Placement Agent, each
  paying agent, the Irish Stock Exchange (if and for so long as any Class of Notes is listed thereon),
  Euroclear, Clearstream and the Depositary.


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           The Calculation Agent may be removed by the Co-Issuers at any time. If the Calculation Agent
  is unable or unwilling to act as such or is removed by the Co-Issuers or if the Calculation Agent fails to
  determine the Note Interest Rate for each Class of Notes or the amount of interest payable in respect of
  each Class of Notes for any Interest Period, the Issuer will promptly appoint as a replacement Calculation
  Agent a leading bank which is engaged in transactions in U.S. Dollar deposits in the international U.S.
  Dollar market and which does not control and is not controlled by or under common control with the Co-
  Issuers or any of their respective affiliates. The Calculation Agent may not resign its duties without a
  successor having been duly appointed. The determination of the Note Interest Rate with respect to each
  Class of Notes, the Commitment Fee with respect to the Class A-1A Notes and the Delayed Drawdown
  Fee with respect to the Class A-1B Notes for each Interest Period by the Calculation Agent shall (in the
  absence of manifest error) be final and binding upon all parties. In addition, for so long as any Notes are
  listed on the Irish Stock Exchange and the rules of such exchange so require, notice of the appointment of
  any replacement Calculation Agent will be published by or on behalf of the Issuer in the Irish Stock
  Exchange’s Daily Official List.

          “LIBOR,” determined by the Calculation Agent for any Interest Period, means the offered rate,
  as determined by the Calculation Agent, for three month Dollar deposits that appears on Moneyline
  Telerate Page 3750 as reported on Bloomberg Financial Markets Commodities News (or a page that
  replaces Moneyline Telerate Page 3750 for the purpose of displaying comparable rates), as of 11:00 a.m.
  (London time) on the second Business Day before the first day of the relevant Interest Period.

           If, on the second Business Day before the first day of any relevant Interest Period, that rate does
  not appear on Moneyline Telerate Page 3750 as reported on Bloomberg Financial Market Commodities
  News (or a page that replaces Moneyline Telerate Page 3750 for the purpose of displaying comparable
  rates), the Calculation Agent shall determine the arithmetic mean of the offered quotations of the
  Reference Banks to prime banks in the London interbank market for three month Dollar deposits in
  Europe, by reference to requests by the Calculation Agent to four major banks in the London interbank
  market selected by the Calculation Agent (after consultation with the Portfolio Manager) (the “Reference
  Banks”) for quotations as of approximately 11:00 A.M. (London time) on the second Business Day
  before the first day of the Interest Period. If at least two of the Reference Banks provide quotations as
  requested, LIBOR shall equal such arithmetic mean. If fewer than two Reference Banks provide
  quotations, LIBOR shall be the arithmetic mean of the offered quotations that leading banks in New York
  City selected by the Calculation Agent (after consultation with the Portfolio Manager) are quoting to the
  principal London offices of leading banks in the London interbank market on the second Business Day
  before the first day of the relevant Interest Period for three month Dollar deposits.

           If the Calculation Agent is unable to determine a rate in accordance with any of the above
  procedures, LIBOR for the Interest Period shall be calculated on the last day of the Interest Period and
  shall be the arithmetic mean of the rate of interest for each day during the Interest Period determined by
  the Calculation Agent as being the rate of interest most recently announced by the Bank at its New York
  office as its base rate, prime rate, reference rate, or similar rate for Dollar loans (or if the Bank ceases to
  exist or is not quoting a base rate, prime rate, reference rate, or similar rate for Dollar loans, another major
  money center commercial bank in New York City selected by the Calculation Agent (after consultation
  with the Portfolio Manager)). All calculations shall be calculated to at least four decimal places and
  rounded to four decimal places.

          For the first Interest Period, LIBOR shall be 4.44672%.

  Principal Payments on the Notes and Distributions on the Class E Certificates from Principal
  Proceeds

           The principal of each Note of each Class matures at par and is payable on the Payment Date that
  is the Stated Maturity for the Class of Notes, unless the unpaid principal of the Note becomes payable at


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  an earlier date by declaration of acceleration, call for redemption, or otherwise. The Class E Certificates
  are scheduled to be redeemed on the Scheduled Class E Certificates Redemption Date, unless redeemed
  prior thereto. The average life of each Class of Notes is expected to be shorter than the number of years
  from issuance until Stated Maturity for such Notes. See “Risk Factors—Relating to the Securities—The
  Weighted Average Lives of the Notes May Vary” and “Maturity and Prepayment Considerations.”
  Notwithstanding the foregoing, and except as set forth below, the payment of principal of each Class of
  Notes: (i) may only occur after principal on each Class of Notes that is a Priority Class with respect to the
  Class has been paid in full and (ii) is subordinated to the payment on each Payment Date of the principal
  and interest payable on the Priority Classes, and other amounts in accordance with the Priority of
  Payments. However, (i) Interest Proceeds may be used in certain circumstances to pay principal of the
  Class C Notes on any Payment Date, prior to the payment in full of the Class A Notes and Class B Notes,
  to the extent necessary to satisfy the Class C Coverage Tests and (ii) Principal Proceeds may be used to
  pay Deferred Interest and other amounts pursuant to the Priority of Payments before the payment of
  principal of the Notes. See “Description of the Securities—Priority of Payments.”

          In general, principal payments (other than Prepayments on the Class A-1A Notes) will not be
  made on the Notes before the end of the Reinvestment Period, except in the following circumstances: (i)
  in connection with an Optional Redemption, (ii) at the option of the Portfolio Manager, to effect a Special
  Redemption of the Notes or (iii) to effect a Mandatory Redemption in connection with a failure to meet
  any of the Coverage Tests or a Rating Confirmation Failure. After the Reinvestment Period, Principal
  Proceeds will be applied on each Payment Date in accordance with the Priority of Payments to pay
  principal of each Class of Notes (except for Principal Proceeds constituting Unscheduled Principal
  Payments and Sale Proceeds from Credit Improved Obligations which may be reinvested as described
  herein). No principal of any Class of Notes will be payable on any Payment Date other than in
  accordance with the Priority of Payments and to the extent funds are available therefor on that Payment
  Date for that purpose, except that the principal of each Class of Notes will be payable in full at the Stated
  Maturity, unless repaid before that. Payments of principal on the Class A-1 Notes will also be made as set
  forth in “Description of the Securities—Prepayment of the Class A-1A Notes” and “—Class A-1
  Funding Allocations.”

          On each Payment Date, the Issuer will make distributions to the Class E Certificate Paying Agent
  for payment to the Holders of the Class E Certificates as dividends or Redemption Price, as the case may
  be, on the Class E Certificates pursuant to the Class E Certificate Documents, to the extent legally
  permitted to the extent of available Principal Proceeds as described under clauses (8) and (10) under
  “Description of the Securities—Priority of Payments—Principal Proceeds.”

  Legal Provisions Applicable to the Payments of Dividends from Interest Proceeds and Dividends or
  Other Distributions from Principal Proceeds

          Interest Proceeds and Principal Proceeds paid to the Class E Certificate Paying Agent for
  payment of dividends on, or the payment of the Redemption Price in respect of, the Class E Certificates,
  will be distributable to the Holders of the Class E Certificates only if the Issuer is and will remain solvent
  following such distribution and Interest Proceeds and Principal Proceeds paid to the Class E Certificate
  Paying Agent for payment of dividends in respect of the Class E Certificates will be distributable to the
  Holders of the Class E Certificates only if the Issuer has sufficient distributable profits and/or certificate
  premium and if the Issuer is and will remain solvent following such distribution. Payments will be paid
  by the Trustee to the Class E Certificate Paying Agent, on behalf of the Issuer, for payment of dividends
  and other distributions to the Holders of the Class E Certificates pursuant to the Class E Certificate
  Documents, to the extent legally permitted, on a pro rata basis according to the number of Class E
  Certificates held by each Holder on the Record Date for such Payment Date.




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  Extension of the Reinvestment Period, the Stated Maturity and the Scheduled Class E Certificates
  Redemption Date

          General

           The Issuer, if directed by the Portfolio Manager, shall be entitled on each Extension Effective
  Date to extend the Stated Maturity to the applicable Extended Stated Maturity Date (a “Maturity
  Extension” ) up to a maximum of four times if (i) in the case of an Extension Effective Date occurring
  after the first Extension Effective Date, the Issuer has previously effected a Maturity Extension for each
  preceding Extension Effective Date and (ii) the Extension Conditions are satisfied and the Issuer has
  given written notice to the Trustee of its election to extend the Stated Maturity no later than 60 days and
  no earlier than 90 days prior to such Extension Effective Date. If the Extension Conditions are satisfied,
  the Stated Maturity of the Notes will be automatically extended to the related Extended Stated Maturity
  Date, the Scheduled Class E Certificates Redemption Date will be automatically extended to the related
  Extended Scheduled Class E Certificate Redemption Date, the Weighted Average Life Test will be
  automatically extended to the related Extended Weighted Average Life Date, and the Reinvestment
  Period will be automatically extended to the applicable Extended Reinvestment Period End Date without
  any requirement for approval or consent of any Holders of Securities or amendment or supplement to the
  Indenture or the Class E Certificate Documents.

           In the case of a Maturity Extension, any Holder of Securities wishing to sell such Securities to an
  Extension Qualifying Purchaser pursuant to the Extension Conditions must provide the applicable
  Extension Sale Notice within the Extension Sale Notice Period pursuant to “—Extension Procedure”
  below (such Securities as to which an Extension Sale Notice has been duly given, “Extension Sale
  Securities”); provided that in the case of Holders of Class P Securities wishing to sell such Class P
  Securities to an Extension Qualifying Purchaser, such Class P Securities will be deemed exchanged for
  their respective components, only the Class E Certificate represented by the related Class E Certificate
  Component shall constitute Extension Sale Securities and are to be purchased by an Extension Qualifying
  Purchaser for a price equal to the Extension Purchase Price, which will in case of such sale be distributed
  to the related selling Holders of Class P Securities, and such Holders will receive a distribution in kind of
  the related pro rata amount of the Class P U.S. Treasury Component. Notwithstanding anything to the
  contrary herein, each Holder providing an Extension Sale Notice shall be deemed to agree that no
  Extension Sale Securities of any Holder shall be purchased unless all Extension Sale Securities of all
  Holders are purchased and settled at the applicable Extension Purchase Price on the applicable Extension
  Effective Date and the other Extension Conditions are satisfied as of such date.

         The Maturity Extension shall be effective only if the following conditions (the “Extension
  Conditions”) are satisfied:

          (i)     the purchase of all Extension Sale Securities has been settled by the designated Extension
                  Qualifying Purchasers at the applicable Extension Purchase Prices as of the applicable
                  Extension Effective Date;

          (ii)    all such purchases of Extension Sale Securities individually and in the aggregate comply
                  with the applicable transfer restrictions herein, in the Indenture and the Class E
                  Certificate Documents and the legends on such Securities and all applicable law, rules
                  and regulations (including, without limitation, rules, regulations and procedures of any
                  applicable securities exchange, self-regulatory organization or clearing agency);




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          (iii)   (a) the Rating Condition has been satisfied with respect to S&P (so long as any Notes are
                  then rated by S&P) and (b) either (A) all Coverage Tests and the Selected Collateral
                  Quality Tests are satisfied as of the related Extension Determination Date, the rating of
                  each Class of Notes and the Class Q-1 Securities then rated by Moody’s has not been
                  downgraded, withdrawn or qualified from that in effect on the Closing Date (unless it
                  subsequently has been reinstated to the rating assigned on the Closing Date) and the
                  Overcollateralization Ratio Numerator is at least $900,000,000 or (B) the Rating
                  Condition has been satisfied with respect to Moody’s (so long as any Notes are then rated
                  by Moody’s); and

          (iv)    the Issuer has not effected more than three prior Maturity Extensions.

          In the case of a Maturity Extension, each Holder of Notes (including in the form of the Class Q-1
  Note Component) other than Extension Sale Securities will be entitled to receive an amount equal to the
  applicable Extension Bonus Payment. Holders of Class E Certificates, Class P-1 Securities and Class P-2
  Securities shall not be entitled to receive any Extension Bonus Payment.

           The Extension Bonus Payment shall be payable to any applicable qualifying beneficial owners
  who have provided the Trustee with an Extension Bonus Eligibility Certification on or before the 5th
  Business Day prior to the first Payment Date from and including each Extension Effective Date on which
  funds are available to be used for such purposes in accordance with the Priority of Payments, but in any
  event, no later than the earlier of the Stated Maturity and the date of redemption of the Securities.
  Extension Bonus Payments which are not available to be paid on a Payment Date in accordance with the
  Priority of Payments on a Payment Date shall not be considered “due and payable” hereunder and the
  failure to pay any such Extension Bonus Payment on such date shall not be an Event of Default, unless
  the Issuer shall fail to pay in full such Extension Bonus Payment on the earlier of the Stated Maturity and
  the date of redemption in full of the relevant Securities. Unpaid Extension Bonus Payments shall not
  accrue interest. Such amounts shall be paid, in the case of the Securities to the accounts designated in the
  applicable Extension Bonus Eligibility Certification or, to the extent otherwise required by the rules of
  any applicable securities exchange or clearing agency, in a manner determined by the Issuer.

          Extension Procedure

          No later than three Business Days following receipt by the Trustee of the notice given by the
  Issuer of its election to extend the Stated Maturity (the “Extension Notice”), the Trustee shall mail the
  Extension Notice to all Holders of Notes, Class Q-1 Securities and Class P Securities and the Class E
  Certificate Paying Agent (for forwarding to the Holders of the Class E Certificates) and each Rating
  Agency (so long as any rated Notes are Outstanding), in the form set out in the Indenture, and shall
  request the Rating Condition for the Maturity Extension from S&P, if applicable.

          Any Holder of Securities may give irrevocable notice (an “Extension Sale Notice”) within 30
  days after the Trustee has mailed the Extension Notice (the “Extension Sale Notice Period”) of its
  intention to sell its Securities to an Extension Qualifying Purchaser in the case of a Maturity Extension.
  Any Extension Sale Notice received by the Trustee after the Extension Sale Notice Period shall be
  disregarded and deemed not to have been given. No Holder of Securities that has not given such an
  Extension Sale Notice within the Extension Sale Notice Period shall be entitled to sell its Securities to an
  Extension Qualifying Purchaser in connection with the Maturity Extension.

          If clause (iii)(b)(A) of the Extension Conditions is not satisfied as of the applicable Extension
  Determination Date as determined by the Issuer (or the Portfolio Manager on its behalf), the Trustee shall
  request the Rating Condition to be satisfied with respect to Moody’s.




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           On the applicable Extension Determination Date, the Issuer (or the Portfolio Manager on its
  behalf) will confirm (i) whether or not Extension Qualifying Purchasers for all Extension Sale Securities
  have been designated to purchase such Securities in compliance with all transfer restrictions in the
  Indenture and the legends on such Securities and all applicable laws, rules and regulations (including,
  without limitation, any rules, regulations and procedures of any securities exchange, self-regulatory
  organization or clearing agency), (ii) whether the requirements of clause (iii) of the Extension Conditions
  are satisfied as of the applicable Extension Determination Date and (iii) whether all other Extension
  Conditions can be satisfied as of the applicable Extension Effective Date.

           On each Extension Effective Date, the Maturity Extension shall automatically become effective
  under the terms of the Indenture and the Class E Certificate Documents; provided that all Extension
  Conditions set forth above are satisfied. No later than two Business Days after each Extension Effective
  Date, the Trustee based on a determination made by the Issuer in consultation with the Portfolio Manager,
  at the expense of the Co-Issuers, shall mail a notice to all Holders of the Notes, the Class E Certificate
  Paying Agent (for forwarding to the Holders of Class E Certificates), the Portfolio Manager, the Initial
  Purchaser, the Placement Agent, each Rating Agency (so long as any rated Notes are Outstanding), the
  Paying Agent in Ireland for forwarding to the Irish Stock Exchange (if and for so long as any Class of
  Securities is listed thereon) and the Administrator for forwarding to the Cayman Islands Stock Exchange
  (if and for so long as any Class E Certificates, Class Q-1 Securities or Class P Securities are listed
  thereon) confirming whether or not the Maturity Extension became effective. If the Maturity Extension
  became effective, the Issuer (or the Portfolio Manager on its behalf) shall make any required notifications
  thereof to the Depositary for any Securities subject to the Maturity Extension.

          None of the Initial Purchaser, the Placement Agent, the Portfolio Manager or any of their
  respective Affiliates shall have any duty to act as an Extension Qualifying Purchaser.

  Optional Redemption

           Notes. The Holders of at least a Majority of the Class E Certificates may give written notice to
  the Class E Certificate Paying Agent, the Trustee, the Issuer and the Portfolio Manager directing an
  optional redemption of the Notes (with respect to the Notes, an “Optional Redemption”) upon the
  occurrence of a Tax Event or at any time after the Non-Call Period. Such notice must be given not later
  than 45 days before the Payment Date on which the redemption is to be made. Upon receipt of the
  written notice directing an Optional Redemption of the Notes, the Co-Issuers are required by the
  Indenture to redeem the Notes (in whole but not in part) from amounts available therefor in accordance
  with “—Redemption Procedures” described below. Any Optional Redemption of the Notes shall be made
  at the applicable Redemption Price. Upon an Optional Redemption of the Notes, the Reinvestment Period
  will terminate in accordance with the definition of that term. The Issuer shall, at least 30 days before the
  Redemption Date (unless the Trustee shall agree to a shorter notice period), notify the Trustee, the Class
  E Certificate Paying Agent (for forwarding to the Holders of Class E Certificates) and each Rating
  Agency of the Redemption Date, the applicable Record Date, the principal amount of Notes to be
  redeemed on the Redemption Date and the applicable Redemption Prices.

          Class E Certificates. On any Payment Date on or after payment in full of the Notes, all
  administrative and other fees (without regard to any payment limitations) payable under the Priority of
  Payments (including the Senior Management Fee and the Subordinated Management Fee), and all
  amounts owing under the Indenture and any Hedge Agreement to any Hedge Counterparty have been
  discharged:

                  (i)      at the direction of a Majority of the Class E Certificates, the Issuer shall cause the
          Trustee to make payments in redemption of all of the Class E Certificates, in an aggregate amount
          equal to all of the proceeds from the sale or other disposition of all of the remaining Collateral
          less any fees and expenses owed by the Issuer (including the Redemption Price of any Notes


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          being simultaneously redeemed), the aggregate amount to be distributed to the Class E Certificate
          Paying Agent for distribution to the Holders of the Class E Certificates pro rata in accordance
          with their respective holdings; or

                   (ii)     at the unanimous direction of the Holders of the Class E Certificates, the Issuer
          shall cause the Trustee to make payments in redemption of all or a directed portion (representing
          less than all) of the Class E Certificates to the Class E Certificate Paying Agent for distribution to
          the Holders of the Class E Certificates based upon such direction,

  (with respect to the Class E Certificates and each of clauses (i) and (ii) above, an “Optional
  Redemption”).

          Upon a distribution pursuant to clause (i) above, the Portfolio Manager in its sole discretion will
  (subject to the standard of care specified in the Management Agreement), on behalf of the Issuer, direct
  the sale of all remaining Collateral Obligations. Upon a distribution pursuant to clause (ii) above, the
  Portfolio Manager will effect the sale of Collateral Obligations in accordance with the unanimous
  direction of the Holders of the Class E Certificates.

          Upon receipt of the written notice directing an Optional Redemption of the Class E Certificates,
  the Issuer is required by the Class E Certificate Paying Agency Agreement to redeem the Class E
  Certificates in the applicable manner described above.

           Redemption Procedures. Notice of a redemption shall be given by first-class mail, postage
  prepaid, mailed not later than 10 Business Days and not earlier than 30 days before the applicable
  Redemption Date, to (i) each Holder of Notes to be redeemed, at the Holder’s address in the Indenture
  Register or otherwise in accordance with the rules and procedures of the Depositary, Euroclear and
  Clearstream, as applicable, to the Class E Certificate Paying Agent (for forwarding to the Holders of
  Class E Certificates) and (ii) in the case of an Optional Redemption of the Notes, to each Rating Agency.
  In addition, (i) for so long as any Notes are listed on the Irish Stock Exchange and so long as the rules of
  such exchange so require, notice of redemption to the Holders of such Notes shall also be given by
  publication in the Irish Stock Exchange’s Daily Official List and (ii) for so long as any Class E
  Certificates, Class Q-1 Securities or Class P Securities are listed on the Cayman Islands Stock Exchange
  and so long as the rules of the exchange so require, notice of redemption of Securities shall also be given
  to the Cayman Islands Stock Exchange.

           Notice of redemption having been given as provided above, the Notes to be redeemed shall, on
  the Redemption Date, become payable at the Redemption Price therein specified and from and after the
  Redemption Date (unless the Issuer shall default in the payment of the Redemption Price and accrued
  interest) the Notes shall cease to bear interest on the Redemption Date.

           Upon final payment on a Note to be so redeemed, the Holder shall present and surrender the Note
  at the place specified in the notice of redemption to receive the applicable Redemption Price unless the
  Holder provides an undertaking to surrender the Note thereafter.

          The Notes may not be optionally redeemed unless either of the following conditions are satisfied:

                   (i)      at least ten Business Days before the Redemption Date, the Portfolio Manager
          shall have furnished to the Trustee evidence (in form reasonably satisfactory to the Trustee) that
          the Issuer has entered into a binding agreement (with a financial or other institution or entity
          whose short-term unsecured debt obligations (other than obligations whose rating is based on the
          credit of a person other than the institution) have a credit rating of at least “A-1” from S&P and of
          “P-1” (and not on credit watch for possible downgrade) from Moody’s (or to any other institution
          or entity if the Rating Condition with respect to Moody’s is satisfied with respect to the other
          entity)) to sell to the financial or other institutions, not later than the Business Day before the

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          Redemption Date in immediately available funds, all or part of the Collateral (directly or by
          participation or other arrangement) at a Purchase Price at least equal to an amount sufficient
          (together with any Cash and other Eligible Investments not subject to the agreements and
          maturing on or before the Redemption Date and any payments to be received with respect to the
          Hedge Agreements on or before the Redemption Date) to pay all administrative and other fees
          and expenses payable under the Priority of Payments without regard to any payment limitations
          (including the Senior Management Fee and the Subordinated Management Fee), all amounts
          owing under the Indenture, all amounts owing under the Hedge Agreements to the Hedge
          Counterparties and to redeem the Notes on the Redemption Date at the applicable Redemption
          Prices; or

                   (ii)     before entering into any binding agreement to sell all or a portion of the
          Collateral and selling or terminating any Hedge Agreement, the Portfolio Manager shall have
          certified that, in its commercially reasonable judgment, the settlement dates of the sales will be
          scheduled to occur on or before the Business Day before the Redemption Date and that the
          expected proceeds from the sales are to be delivered to the Trustee no later than the Business Day
          before the Redemption Date, in immediately available funds, in an amount (calculated as
          applicable in the manner provided below) sufficient (together with any Cash and other Eligible
          Investments not subject to the agreements and maturing on or before the Redemption Date and
          any payments to be received with respect to the Hedge Agreements on or before the Redemption
          Date) to pay all administrative and other fees and expenses payable under the Priority of
          Payments (including the Senior Management Fee and the Subordinated Management Fee), all
          amounts owing under the Indenture, all amounts owing under the Hedge Agreements to the
          Hedge Counterparties and to redeem the Notes on the Redemption Date at the applicable
          Redemption Prices. For purposes of this paragraph, the amount shall be calculated with respect
          to the classes of Collateral listed in the table below by multiplying the expected proceeds of sale
          of the Collateral by the indicated percentage in the table below.

                                                                Number of Business Days Between
                                                                Certification to the Trustee and Sale
                                                           Same Day      1 to 2        3 to 5      6 to 15
    1.   Cash or other Eligible Investments                  100%        100%          100%        100%
    2.   Loans (other than 5 below)                           100%         93%          92%          88%
    3.   High-Yield Bonds (other than 5 below) and            100%         89%          85%          75%
         Structured Finance Obligations (in each case,
         other than 4 below)
    4.   High-Yield Bonds (other than 5 below) and            100%         75%          65%          55%
         Structured Finance Obligations, in each case
         with a Moody’s Rating of “B3” and on credit
         watch with negative implications or below
         “B3”
    5.   Synthetic Securities                                 100%         65%          55%          35%

           Any certification delivered by the Portfolio Manager shall include (A) the prices of, and expected
  proceeds from, the sale of any Collateral Obligations, Eligible Investments or Hedge Agreements and
  (B) all calculations required by the Indenture.




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          Any notice of redemption may be withdrawn by the Issuer up to the fourth Business Day before
  the scheduled Redemption Date by written notice to the Class E Certificate Paying Agent (for forwarding
  to the Holders of Class E Certificates), the Trustee and the Portfolio Manager only if:

                   (i)     in the case of an Optional Redemption of Notes, the Portfolio Manager does not
          deliver the sale agreement or certifications required under the Indenture, as the case may be, in
          form satisfactory to the Trustee;

                  (ii)     in the case of an Optional Redemption in whole of either the Notes or the Class E
          Certificates as described above in “—Optional Redemption—Notes” and clause (i) of the first
          paragraph under “—Optional Redemption—Class E Certificates,” the Issuer receives the written
          direction of Holders of Class E Certificates holding Class E Certificates in an aggregate Face
          Amount at least equal to the Face Amount of the Holders of Class E Certificates that had
          requested redemption under “—Optional Redemption—Notes” or clause (i) of the first paragraph
          under “—Optional Redemption—Class E Certificates,” as applicable, to withdraw the notice of
          redemption; and

                  (iii)     in the case of an Optional Redemption of Class E Certificates as described in
          clause (ii) of the first paragraph under “Optional Redemption— Class E Certificates,” the Issuer
          receives the unanimous written direction of the Holders of the Class E Certificates to withdraw
          the notice of redemption (and the Issuer hereby agrees for the benefit of the directing person to
          withdraw the applicable notice of redemption if it receives the written direction referred to in the
          preceding clause (ii) or this clause (iii)).

           Notice of any withdrawal shall be sent, not later than the third Business Day before the scheduled
  Redemption Date (assuming that the Trustee has received timely written notice from the Issuer as
  provided above), by the Trustee, to each Holder of Notes scheduled to be redeemed at the Holder’s
  address in the Indenture Register by overnight courier guaranteeing next day delivery (or, to the extent the
  address contained in the Indenture Register is not sufficient for that purpose, by first-class mail) and the
  Class E Certificate Paying Agent (for forwarding to each Holder of Class E Certificates). If the Issuer so
  withdraws any notice of redemption or is otherwise unable to complete any redemption of the Notes, the
  Sale Proceeds received from the sale of any Collateral Obligations sold in accordance with the Indenture
  may, during the Reinvestment Period (and, in respect of Sale Proceeds from Credit Improved Obligations,
  after the Reinvestment Period) at the Portfolio Manager’s discretion, be reinvested in accordance with the
  Eligibility Criteria.

          Notice of redemption shall be given by the Co-Issuers or, upon an Issuer Order, by the Trustee in
  the name and at the expense of the Co-Issuers. Failure to give notice of redemption, or any defect therein,
  to any Holder of any Note selected for redemption or the Class E Certificate Paying Agent (for
  forwarding to each Holder of Class E Certificates) shall not impair or affect the validity of the redemption
  of any other Securities.

  Special Redemption of Notes If the Portfolio Manager Does Not Identify Investments as
  Contemplated by the Indenture

           Principal payments on the Notes shall be made in whole or in part, at par, in accordance with the
  Priority of Payments if, at any time during the Reinvestment Period, the Portfolio Manager elects (subject
  to the Management Agreement) to notify the Trustee and each Rating Agency that it has been unable, for
  45 consecutive Business Days, to identify additional Collateral Obligations that are deemed appropriate
  by the Portfolio Manager in its sole discretion and meet the Eligibility Criteria in sufficient amounts to
  permit the investment or reinvestment of all or a portion of the funds then in the Collection Account
  available to be invested in additional Collateral Obligations.


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                   On the Special Redemption Date, funds in the Collection Account or the Payment
  Account representing Principal Proceeds which the Portfolio Manager determines cannot be reinvested in
  additional Collateral Obligations (the “Special Redemption Amount”) will be available to be applied in
  accordance with “—Priority of Payments—Principal Proceeds.” Notice of payment of the Special
  Redemption Amount shall be given by first-class mail, postage prepaid, mailed not later than three
  Business Days before the applicable Special Redemption Date, to each Holder of Notes to be redeemed,
  at the Holder’s address in the Indenture Register or otherwise in accordance with the rules and procedures
  of the Depositary. In addition, (i) for so long as any Notes are listed on the Irish Stock Exchange and so
  long as the rules of such exchange so require, notice of Special Redemption to the Holders of such Notes
  shall also be given by publication in the Irish Stock Exchange’s Daily Official List and (ii) for so long as
  any Class E Certificates, Class Q-1 Securities or Class P Securities are listed on the Cayman Islands
  Stock Exchange and so long as the rules of the exchange so require, notice of Special Redemption of
  Notes shall also be given to the Administrator for forwarding to the Cayman Islands Stock Exchange.

           In connection with a Special Redemption, the principal of the Notes will be paid from Principal
  Proceeds in an aggregate amount equal to the Special Redemption Amount (first to any Class A-1 Notes,
  then to any Class A-2 Notes, then to any Class A-3 Notes, then to any Class A-4 Notes, then to any Class
  B Notes, then to any Class C Notes, in each case until paid in full) in accordance with the Priority of
  Payments. See “Description of the Securities—Priority of Payments—Principal Proceeds.”

  Mandatory Redemption of the Notes

          General

          In the event of a failure to meet any Coverage Test on any applicable Determination Date, a
  mandatory redemption of one or more Classes of Notes in whole or in part will be required. In the event
  of a Rating Confirmation Failure, a redemption of one or more Classes of Notes in whole or in part will
  be required to obtain confirmation of the initial rating of the Notes. Any such redemption could result in
  an elimination, deferral or reduction in interest or principal payments to one or more Classes of Securities,
  which would adversely affect the returns to the Holders of the Class or Classes of Securities. See “Risk
  Factors—Relating to the Securities—The Indenture Requires Mandatory Redemption of the Notes for
  Failure to Satisfy Coverage Tests” and “—The Indenture Requires Redemption of the Notes or
  Investment in Additional Collateral Obligations Upon Rating Confirmation Failure.”

          Mandatory Redemption of the Notes for Failure to Satisfy Coverage Tests

         Except with respect to payments made pursuant to an Optional Redemption as described under
  “—Optional Redemption,” on any Payment Date with respect to which any Coverage Test (as described
  under “Security for the Notes—The Coverage Tests”) is not met on any Determination Date, principal
  payments on the Notes will be made as described under “—Priority of Payments.”

          Redemption of the Notes Upon Rating Confirmation Failure

           Upon the event of a Rating Confirmation Failure, all Interest Proceeds remaining after payment
  of amounts referred to in clauses (1) through (15) of “—Priority of Payments—Interest Proceeds” will be
  used to pay principal of the Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes, the Class A-4
  Notes, the Class B Notes and the Class C Notes sequentially in order of their priority on the next Payment
  Date and each Payment Date thereafter in each case until the Initial Ratings are confirmed. If necessary,
  after the foregoing payments are made out of Interest Proceeds, Principal Proceeds in accordance with
  clause (4) “—Priority of Payments—Principal Proceeds” will be used to for such purpose on each
  Payment Date until the Initial Ratings are confirmed.

          Upon receipt of notice of a Rating Confirmation Failure and if available Interest Proceeds and
  Principal Proceeds are insufficient to effect the redemption of the Notes on any subsequent Payment Date

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  in accordance with the Priority of Payments as and to the extent necessary for each of Moody’s and S&P
  to confirm the Initial Ratings, then the Portfolio Manager, in its sole discretion may direct the Trustee to
  sell Collateral Obligations so that the proceeds from the sale and all other funds available for the purpose
  in the Collection Account will be used to redeem the Notes (but only to the extent necessary for each of
  Moody’s and S&P to confirm in writing the Initial Ratings assigned by it on the Closing Date to the
  Securities). Any sale under these provisions shall be conducted in such a manner that:

                   (i)     after giving effect to the sale each Overcollateralization Test is satisfied or, if any
          Overcollateralization Test is not satisfied, the extent of compliance with the Overcollateralization
          Test is not reduced;

                  (ii)     if the sale occurs on or after the second Payment Date, after giving effect to the
          sale each Interest Coverage Test is satisfied or, if any Interest Coverage Test is not satisfied, the
          extent of compliance with the Interest Coverage Test is not reduced; and

                   (iii)  after giving effect to the sale each Collateral Quality Test is satisfied or, if any
          Collateral Quality Test is not satisfied, the extent of compliance with the Collateral Quality Test
          is not reduced.

  Redemption of the Class E Certificates in Connection with Mandatory Redemption of the Notes

          All Class E Certificates will be redeemed in accordance with the Priority of Payments and the
  Class E Certificate Documents on any Payment Date on which a mandatory redemption of the Notes
  described under “—Mandatory Redemption of the Notes” above results in the payment in full of the
  Aggregate Outstanding Amount of each Class of Notes.

  Redemption of the Class P Securities following Optional Redemption or liquidation of Collateral

          Following an Optional Redemption of the Class E Certificates or the liquidation and distribution
  of the Collateral in full, if any Class P Notes are then Outstanding, on the next succeeding Class P
  Securities Payment Date the Class P Securities will automatically be redeemed at the applicable Class P
  Redemption Price.

  Prepayment of the Class A-1A Notes

           The Class A-1A Notes may be prepaid without premium on any Business Day (in whole or in
  part) at the option of the Issuer (at the direction of the Portfolio Manager acting pursuant to the
  Management Agreement) from (i) Principal Proceeds otherwise available for reinvestment in Collateral
  Obligations, or (ii) amounts credited to the Revolving Reserve Account so long as, after giving effect
  thereto, the aggregate Balance of all Eligible Investments credited to the Revolving Reserve Account will
  be at least equal to the Revolver Funding Reserve Amount. Amounts so prepaid (“Prepayments”) may
  be reborrowed until the Commitment Termination Date. Accrued interest will be paid to the extent
  provided in the Indenture, without duplication, on amounts prepaid and reborrowed in the same Interest
  Accrual Period in respect of the actual number of days for which such amounts were drawn.

  Class A-1A Notes Borrowings

         On any Business Day during the Draw Period, the Co-Issuers may borrow amounts under the
  Class A-1A Notes (each, together with amounts paid by Holders of Class A-1A Notes on the Closing
  Date and additional amounts funded by the Holders of the Class A-1A Notes as described under “—Class
  A-1 Funding Allocations”, each a “Borrowing”) to (i) acquire additional Collateral Obligations during the
  Ramp-up Period, (ii) acquire substitute Collateral Obligations during the Reinvestment Period (or after
  the Reinvestment Period pursuant to commitments to purchase made by the Issuer during the
  Reinvestment Period) and (iii) fund commitments of the Issuer to obligors under Revolving Loans or

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  Delayed Drawdown Loans acquired during the Reinvestment Period. Each Borrowing for purposes other
  than to fund commitments of the Issuer to obligors under Revolving Loans or Delayed Drawdown Loans
  acquired during the Reinvestment Period is subject to the conditions that: (i) at the time of and
  immediately after giving effect to such Borrowing, each of the Coverage Tests is satisfied (except the
  Coverage Tests will be deemed satisfied for the purposes of this paragraph if each Coverage Test was
  satisfied as of the date of the Issuer’s commitment to acquire the Collateral Obligation for which such
  Borrowing is required) or, if any Coverage Test was not satisfied prior to such Borrowing, such Coverage
  Test will be at least as close to being satisfied after giving effect to such Borrowing, (ii) at the time of and
  immediately after giving effect to such Borrowing, no Event of Default or any occurrence that, with
  notice or the lapse of time or both, would become an Event of Default shall have occurred and be
  continuing and (iii) the representations and warranties made by the Issuer in the Class A-1A Note
  Purchase Agreement shall be true and correct in all material respects on the date of such Borrowing and
  after giving effect thereto. Aggregate Borrowings under the Class A-1A Notes may not exceed the
  Aggregate Commitment Amount, and the Issuer may not make any Borrowings unless after giving effect
  to the Borrowing, the amount on reserve in the Revolving Reserve Account will either equal 100% of the
  Revolver Funding Reserve Amount or the Issuer will deposit Principal Proceeds and/or proceeds of the
  Borrowing in an amount sufficient for the Revolver Funding Reserve Amount to be fully satisfied
  immediately after the Borrowing. Each Borrowing will be made pro rata to the Undrawn Amounts of the
  Holders of the Class A-1A Notes.

         Notwithstanding the failure to satisfy any of the foregoing conditions and except under certain
  circumstances specified in the Class A-1A Note Purchase Agreement, the holders of the Class A-1A
  Notes will be obligated to make advances to the Issuer if the proceeds of the related Borrowing are to be
  used by the Issuer to advance funds in respect of the Unfunded Amount of any Revolving Loan or
  Delayed Drawdown Loan.

          To request a Borrowing, the Issuer (or the Portfolio Manager on behalf of the Issuer) will notify
  the Revolving Note Agent (with a copy to the Trustee) no later than 1:00 p.m., New York time and the
  Class A-1A Note Holders no later than 3:00 p.m., New York time, on the second Business Day prior to
  the date of the proposed Borrowing, of such request specifying the aggregate amount of the requested
  Borrowing and the date of such Borrowing, which shall be a Business Day. If notice of the Borrowing
  request is received by the Class A-1A Note Holder after 3:00 p.m. New York time on the second Business
  Day prior to the date of the proposed Borrowing, it will be treated as having been transmitted on the
  following Business Day.

           Each purchaser of Class A-1A Notes during the Draw Period is required to satisfy the Rating
  Criteria upon the purchase of such Notes and at all times during the Draw Period while it holds the Class
  A-1A Notes. If any Holder of Class A-1A Notes at any time during the Draw Period fails to satisfy the
  Rating Criteria, such Holder will be obligated under the Class A-1A Note Purchase Agreement to (i)
  immediately give written notice of such fact to the Issuer (with a copy to the Portfolio Manager), the
  Revolving Note Agent, the Trustee and each Rating Agency and (ii) no later than three Business Days
  following such notice fund the full undrawn portion of such Holder’s Commitment into a reserve account
  designated by the Issuer (or the Portfolio Manager on its behalf); provided that if such Holder transfers its
  interest in the Class A-1A Notes (including its commitment to fund advances) to an eligible purchaser that
  satisfies the Ratings Criteria and satisfies the other transfer restrictions set forth in the Class A-1A Note
  Purchase Agreement and in the Indenture within 60 days following such notice, the Issuer shall return to
  such Holder no later than three Business Days following any such transfer the amount funded by such
  Holder pursuant to this clause (ii) minus the amount of any advances applicable to such Class A-1A Notes
  made after such Holder funded the undrawn portion of its Class A-1A Notes and before such transfer.

  Reduction and Termination of Commitments

        The Commitments in respect of the Class A-1A Notes will be automatically reduced upon
  payment of principal on the Class A-1A Notes as described under “—Class A-1 Funding Allocations”

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  below. Any such reduction of Commitments in respect of the Class A-1A Notes will be final and will be
  applied to the Commitments pro rata according to the respective amounts thereof. The Commitments
  will terminate on the Commitment Termination Date. The Commitments will not be reduced as a result of
  any Prepayments with respect to the Class A-1A Notes.

  Class A-1 Funding Allocations

          In order to maintain pari passu treatment among the Class A-1A Notes, the Class A-1B Notes
  and the Class A-1C Notes, the Class A-1A Note Purchase Agreement will provide that, so long as any
  Class A-1B Notes and/or Class A-1C Notes are outstanding, subject to a notice requirement, the holders
  of the Class A-1A Notes will be obligated to make certain advances from time to time the proceeds of
  which will be applied to repay principal of the Class A-1B Notes and the Class A-1C Notes. These
  funding obligations are described below:

          (i)     On the last day of the Reinvestment Period, the holders of the Class A-1A Notes will be
  obligated to advance to the Issuer, in the aggregate, the amount, if any, by which (1) the product of (a) the
  Aggregate Commitment Amount multiplied by (b) the sum of (x) the Drawn Amount of the Class A-1A
  Notes plus (y) the Aggregate Unfunded Amount minus the amount credited to the Revolving Reserve
  Account, plus (z) the Aggregate Outstanding Amount of the Class A-1B Notes and the Class A-1C Notes
  divided by (c) the sum of (x) the Aggregate Commitment Amount plus (y) the Aggregate Outstanding
  Amount of the Class A-1B Notes and Class A-1C Notes exceeds (2) the sum of (x) the Drawn Amount of
  the Class A-1A Notes plus (y) the Aggregate Unfunded Amount minus the amount credited to the
  Revolving Reserve Account. Immediately after such advance, the Aggregate Commitment Amount will
  be reduced, but not below the aggregate Drawn Amount of the Class A-1A Notes and only to the extent
  the amount on reserve in the Revolving Reserve Account will, after such reduction, equal or exceed the
  Revolver Funding Reserve Amount.

           (ii)    After the Reinvestment Period, on each Business Day occurring on or after any date on
  which the Aggregate Unfunded Amount is reduced, the holders of the Class A-1A Notes will be obligated
  to advance to the Issuer, in the aggregate, the amount, if any, by which (1) the product of (a) the
  Aggregate Commitment Amount multiplied by (b) the sum of (x) the Drawn Amount of Class A-1A
  Notes plus (y) the Aggregate Unfunded Amount after giving effect to such reduction minus the amount
  credited to the Revolving Reserve Account, plus (z) the Aggregate Outstanding Amount of the Class A-
  1B Notes and the Class A-1C Notes divided by (c) the sum of (x) the Aggregate Commitment Amount
  plus (y) the Aggregate Outstanding Amount of the Class A-1B Notes and the Class A-1C Notes exceeds
  (2) the sum of (x) the Drawn Amount of the Class A-1A Notes plus (y) the Aggregate Unfunded Amount
  after giving effect to such reduction minus the amount credited to the Revolving Reserve Account. In
  addition, immediately after such advance, the Aggregate Commitment Amount will be reduced, but not
  below the aggregate Drawn Amount of the Class A-1A Notes and only to the extent the amount on
  reserve in the Revolving Reserve Account will, after such reduction, equal or exceed the Revolver
  Funding Reserve Amount.

          (iii)    Finally, upon any Optional Redemption or in connection with any liquidation of the
  Collateral following the occurrence of an Event of Default, the holders of the Class A-1A Notes will be
  obligated to advance to the Issuer, in the aggregate, the amount, if any, by which (1) the product of (a) the
  Aggregate Commitment Amount multiplied by (b) the sum of (x) the Drawn Amount of Class A-1A
  Notes plus (y) the Aggregate Outstanding Amount of the Class A-1B Notes and the Class A-1C Notes
  divided by (c) the sum of (x) the Aggregate Commitment Amount plus (y) the Aggregate Outstanding
  Amount of the Class A-1B Notes and the Class A-1C Notes exceeds (2) the Drawn Amount of the Class
  A-1A Notes. In addition, immediately after such advance, the Aggregate Commitment Amount will be
  terminated. In connection with such advance, amounts required to be funded by the holders of the Class


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  A-1A Notes to the Issuer will be netted and offset against amounts that would be distributed to the
  holders of the Class A-1A Notes in respect of the principal of the Class A-1A Notes in connection with
  such redemption or liquidation.

          The Issuer will apply any such advance received by it as described in clauses (i) through (iii)
  above to repay principal of the Class A-1B Notes and the Class A-1C Notes, pro rata based on their
  respective Aggregate Outstanding Amount, independent of the Priority of Payments. Such payments will
  be deemed to occur prior to any other principal payments on any date pursuant to the Priority of
  Payments.

          The Class A-1A Note Purchase Agreement will provide that the obligations of the Holders of the
  Class A-1A Notes to make the advances described in paragraphs (i) through (iii) above are absolute and
  unconditional. In the event that, for any reason (including the insolvency of the Issuer or the Co-Issuer or
  the existence of any judicial order or decree), the Holders of the Class A-1A Notes are unable to make
  any such advance or the proceeds of any such advance cannot be applied for account of the Issuer to the
  prepayment of the principal of the Class A-1B Notes and the Class A-1C Notes, then the Holders of the
  Class A-1A Notes, ratably in accordance with their respective Commitments, shall severally be obligated
  to purchase (for cash at par value plus accrued interest) portions of the Class A-1B Notes and the Class A-
  1C Notes on a pro rata basis to the extent necessary so that the Aggregate Outstanding Amount of the
  Class A-1B Notes and Class A-1C Notes held by the Holders of the Class A-1B Notes and the Class A-
  1C Notes, as applicable, in each case other than those purchased by the Holders of the Class A-1A Notes,
  immediately after giving effect to such purchase equals the Aggregate Outstanding Amount of the Class
  A-1B Notes and Class A-1C Notes, as applicable, that they would have held had such advance and
  prepayment been effected as described above.

           The Indenture provides that, so long as any Class of Notes is outstanding, if any Coverage Test is
  not satisfied, certain amounts will be applied on the related Payment Date, to the extent necessary to
  satisfy such Coverage Tests and as provided in the Priority of Payments, to pay principal of the Class A-1
  Notes. In addition, principal payments may be made on the Class A-1A Notes in connection with a
  Special Redemption.

          In the event that principal of the Class A-1 Notes is to be redeemed as contemplated by the
  Priority of Payments (including as a result of the failure of a Coverage Test to be satisfied on a
  Determination Date or in connection with a Special Redemption), the aggregate amount required to be
  applied to the Class A-1A Notes (the “Aggregate Principal Reduction Amount”) shall be applied as
  follows: (1) the Aggregate Commitment Amount shall be reduced (but not below zero) by an amount
  equal to (i) the Aggregate Principal Reduction Amount multiplied by (ii) the Aggregate Commitment
  Amount in effect on the Closing Date divided by (iii) the sum of the Aggregate Commitment Amount in
  effect on the Closing Date plus the Aggregate Outstanding Amount of the Class A-1C Notes as of the
  Closing Date plus the Fully Drawn Amount of the Class A-1B Notes (such portion of the Aggregate
  Principal Reduction Amount, the “Class A-1A Principal Reduction Amount”) and the Class A-1A
  Principal Reduction Amount shall be applied to repay any Drawn Amount on the Class A-1A Notes (with
  any remaining portion of the Class A-1A Principal Reduction Amount deposited in the Revolving
  Reserve Account); and (2) the Aggregate Outstanding Amount of the Class A-1B Notes and the Class A-
  1C Notes shall be prepaid (but not below zero) in an amount equal to their respective pro rata shares
  (based on the Aggregate Outstanding Amount of the Class A-1B Notes and the Class A-1C Notes) of (i)
  the Aggregate Principal Reduction Amount multiplied by (ii) the sum of the Aggregate Outstanding
  Amount of the Class A-1C Notes as of the Closing Date and the Fully Drawn Amount of the Class A-1B
  Notes divided by (iii) the sum of the Aggregate Commitment Amount in effect on the Closing Date plus
  the Aggregate Outstanding Amount of the Class A-1C Notes as of the Closing Date plus the Fully Drawn
  Amount of the Class A-1B Notes. Notwithstanding the foregoing, to the extent that the Revolver Funding
  Reserve Amount after giving effect to any application described in clause (1) above exceeds the amount
  on deposit in the Revolving Reserve Account any repayment of the Drawn Amount of the Class A-1A

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  Notes and reduction in the Aggregate Commitment Amount will be reduced by an amount that if
  deposited in the Revolving Reserve Account would cause the aggregate balance of all Eligible
  Investments credited to the Revolving Reserve Account to equal the Revolver Funding Reserve Amount.
  Any amount that would have otherwise been applied to prepay the Class A-1A Notes but for such
  reduction will be deposited into the Revolving Reserve Account in order to satisfy such funding
  requirement.

           After any amount has been deposited into the Revolving Reserve Account, any payment of
  principal received with respect to any Revolving Loan (other than a Defaulted Collateral Obligation as to
  which the commitment to extend additional credit has been terminated) will be deposited into the
  Revolving Reserve Account to the extent that such deposit would be required to fund the Revolver
  Funding Reserve Amount after giving effect to such payment of principal on such Collateral Obligation.
  In addition, the Class A-1A Note Purchase Agreement provides that no amount shall be drawn under the
  Class A-1A Notes to fund an Unfunded Amount with respect to any Revolving Loan or Delayed
  Drawdown Loan until the balance credited to the Revolving Reserve Account has been reduced to zero.
  The Indenture provides that any amount credited to the Revolving Reserve Account may be withdrawn
  therefrom (a) to fund an Unfunded Amount with respect to any Revolving Loan or Delayed Drawdown
  Loan, (b) whenever the Unfunded Amount with respect to any Revolving Loan and Delayed Drawdown
  Loan is reduced, in an amount equal to the amount of such reduction, (c) upon any Optional Redemption
  or in connection with any liquidation of the Collateral following the occurrence of an Event of Default
  and (d) in order to make Prepayments on the Class A-1A Notes.

          Any Prepayments on the Class A-1A Notes will not reduce the Aggregate Commitment Amount
  of the Class A-1A Notes and will not cause any payments to be made with respect to principal of the
  Class A-1B Notes or the Class A-1C Notes.

  Class A-1B Notes Drawdowns

         On any Business Day during the Delayed Drawdown Period, the Co-Issuers may draw down
  amounts under the Class A-1B Notes (each, together with any amounts paid by holders of Class A-1B
  Notes on the Closing Date, a “Drawdown”) to acquire additional Collateral Obligations during the
  Delayed Drawdown Period. The Drawn Amount of the Class A-1B Notes as of the Closing Date plus the
  Drawdowns under the Class A-1B Notes may not exceed the Fully Drawn Amount. Each Drawdown will
  be made pro rata to the portion of the Fully Drawn Amount of the Holders of the Class A-1B Notes.

           To request a Drawdown, the Issuer (or the Portfolio Manager on behalf of the Issuer) will notify
  the Delayed Drawdown Note Agent (with a copy to the Trustee) of such request no later than 1:00 p.m.
  (New York City time) on the second Business Day prior to the date of the proposed Drawdown,
  specifying the aggregate amount of the requested Drawdown and the date of such Drawdown, which shall
  be a Business Day and the Delayed Drawdown Note Agent shall promptly, and no later than 3:00 p.m. on
  such the day on which it receives such notice, provide to the Class A-1B Note Holder a copy of such
  notice and a statement regarding the remaining Undrawn Amount applicable to such Holder after giving
  effect to such Drawdown. If notice of the Drawdown request is not transmitted to the Class A-1B Note
  Holder until after 3:00 p.m., New York time, it will be treated as having been transmitted on the following
  Business Day.

           Each purchaser of Class A-1B Notes during the Delayed Drawdown Period is required to satisfy
  the Rating Criteria upon the purchase of such Notes and at all times during the Delayed Drawdown Period
  while it holds the Class A-1B Notes. If any Holder of Class A-1B Notes at any time during the Delayed
  Drawdown Period fails to satisfy the Rating Criteria, such Holder will be obligated under the Class A-1B
  Note Purchase Agreement (i) to give immediate notice thereof to the Issuer, the Trustee, the Delayed
  Drawdown Note Agent and each Rating Agency and (ii) no later than the Business Day following such
  notice fund the full Undrawn Amount of its Class A-1B Notes into a reserve account; provided that if
  such Holder transfers its interest in the Class A-1B Notes (including its commitment to fund Drawdowns)

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  to an eligible purchaser that satisfies the Ratings Criteria and satisfies the other transfer restrictions set
  forth in the Class A-1B Notes Purchase Agreement and in the Indenture within 30 days following such
  notice, the Issuer shall return to such Holder no later than the Business Days following any such transfer
  the amount funded by such Holder pursuant to this clause (ii) minus the amount of such Holders portion
  of any Drawdown made after such Holder funded the Undrawn Amount of its Class A-1B Notes and
  before such transfer.

           Any Aggregate Undrawn Amount of Class A-1B Notes as of the second Business Day prior to the
  first Payment Date will be drawn and required to be funded on the Business Day prior to February 27,
  2006.

  Priority of Payments

           Collections received on the Collateral during the related Due Period will be segregated into
  Interest Proceeds and Principal Proceeds and applied on each Payment Date in the priority below under
  “—Interest Proceeds” and “—Principal Proceeds,” respectively (collectively, the “Priority of
  Payments”).

  Interest Proceeds

           On each Payment Date, Interest Proceeds with respect to the related Due Period (other than
  Interest Proceeds previously used during such Due Period to purchase accrued interest in respect of
  Collateral Obligations or otherwise used as permitted under the Indenture) will be distributed in the
  following order of priority:

          (1)     to the payment of any taxes and registration and filing fees owed by the Co-Issuers
                  (without limit) and then to the payment of Administrative Expenses up to the
                  Administrative Expense Cap as follows:

                       FIRST, in the following order of priority:

                           (i)     fees, expenses and indemnities of the Trustee; and then

                           (ii)    fees, expenses and indemnities of the Collateral Administrator; and then

                           (iii)   fees, expenses and indemnities of the Class E Certificate Paying Agent;

                           (iv)    pro rata, fees, expenses and indemnities of the Revolving Note Agent
                                   and the Delayed Drawdown Note Agent; and

                       SECOND, in the following order of priority;

                           (x)     fees and expenses of the Administrator; and then;

                           (y)    fees and expenses of the Co-Issuers (including fees and expenses of
                           counsel and surveillance, credit estimate, and other fees owing to the Rating
                           Agencies) and any other person (except the Portfolio Manager) if specifically
                           provided for in the Indenture, and to the expenses (but not fees) of the Portfolio
                           Manager if payable under the Management Agreement;

          (2)     other than on the final redemption date of the Class E Certificates, the excess, if any, of
                  the Administrative Expense Cap over the amounts paid pursuant to clause (1) above to
                  deposit into the Expense Reimbursement Account;


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        (3)    to the payment to the Portfolio Manager of any accrued and unpaid Senior Management
               Fee then due and payable;

        (4)    to the payment of all amounts due to the Hedge Counterparties under the Hedge
               Agreements (if any) other than any Defaulted Hedge Termination Payments;

        (5)    pro rata to the payment of (a) accrued and unpaid interest on the Class A-1A Notes, the
               Class A-1B Notes and the Class A-1C Notes and any accrued and unpaid Defaulted
               Interest on, and any Defaulted Interest Charge with respect to, the Class A-1A Notes, the
               Class A-1B Notes and the Class A-1C Notes (in each case pro rata in proportion to the
               respective amounts of interest, Defaulted Interest and Defaulted Interest Charge then due
               on such Classes), (b) any accrued and unpaid Commitment Fee Amount and (c) any
               accrued and unpaid Delayed Drawdown Fee;

        (6)    to the payment of any accrued and unpaid interest on the Class A-2 Notes, and any
               accrued and unpaid Defaulted Interest on, and any Defaulted Interest Charge with respect
               to, the Class A-2 Notes;

        (7)    to the payment of accrued and unpaid interest on the Class A-3 Notes and any accrued
               and unpaid Defaulted Interest on, and any Defaulted Interest Charge with respect to, the
               Class A-3 Notes;

        (8)    to the payment of accrued and unpaid interest on the Class A-4 Notes and any accrued
               and unpaid Defaulted Interest on, and any Defaulted Interest Charge with respect to, the
               Class A-4 Notes;

        (9)    if either of the Class A Coverage Tests is not satisfied as of the related Determination
               Date, to the payment of first, the principal of the Class A-1A Notes, the Class A-1B
               Notes and the Class A-1C Notes, to be allocated as described under “—Class A-1
               Funding Allocations”, second the principal of the Class A-2 Notes, third the principal of
               the Class A-3 Notes and fourth the principal of the Class A-4 Notes, to the extent
               necessary to cause both Class A Coverage Tests to be met as of such Determination Date
               on a pro forma basis after giving effect to any payments in reduction of the principal of
               Notes made through this clause, or until paid in full (Interest Proceeds to be applied
               pursuant to this clause (9) before the application of any Principal Proceeds as described
               under “—Principal Proceeds” below on the current Payment Date);

        (10)   to the payment of accrued and unpaid interest on the Class B Notes (excluding Class B
               Deferred Interest, but including interest accrued for the preceding Interest Period on
               Class B Deferred Interest);

        (11)   if either of the Class B Coverage Tests is not satisfied as of the related Determination
               Date, to the payment of first, the principal of the Class A-1A Notes, the Class A-1B
               Notes and the Class A-1C Notes, to be allocated as described under “—Class A-1
               Funding Allocations”, second the principal of the Class A-2 Notes, third the principal of
               the Class A-3 Notes, fourth the principal of the Class A-4 Notes, fifth the Deferred
               Interest on the Class B Notes and sixth the principal of the Class B Notes, to the extent
               necessary to cause both Class B Coverage Tests to be met as of such Determination Date
               on a pro forma basis after giving effect to any payments in reduction of the principal of
               Notes made through this clause, or until paid in full (Interest Proceeds to be applied
               pursuant to this clause (11) before the application of any Principal Proceeds as described
               under “—Principal Proceeds” below on the current Payment Date);

        (12)   to the payment of Class B Deferred Interest;

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        (13)   to the payment of accrued and unpaid interest on the Class C Notes (excluding Class C
               Deferred Interest but including interest accrued for the preceding Interest Period on Class
               C Deferred Interest);

        (14)   if either of the Class C Coverage Tests is not satisfied as of the related Determination
               Date, (1) if the Class A Coverage Tests and the Class B Coverage Tests were satisfied on
               such Determination Date without giving effect to any payments pursuant to clauses (9)
               and (11), as applicable, first to pay Deferred Interest on the Class C Notes and second to
               pay the principal of the Class C Notes, to the extent necessary to cause both Class C
               Coverage Tests to be met as of such Determination Date, or (2) if any of the Class A
               Coverage Tests or the Class B Coverage Tests were not satisfied on such Determination
               Date without giving effect to any payments pursuant to clauses (9) and (11), as
               applicable, to the payment of first, the principal of the Class A-1A Notes, the Class A-1B
               Notes and the Class A-1C Notes, to be allocated as described under “—Class A-1
               Funding Allocations”, second the principal of the Class A-2 Notes, third the principal of
               the Class A-3 Notes, fourth the principal of the Class A-4 Notes, fifth the Deferred
               Interest on the Class B Notes, sixth the principal of the Class B Notes, seventh the
               Deferred Interest on the Class C Notes and eighth the principal of the Class C Notes, to
               the extent necessary to cause both Class C Coverage Tests to be met as of such
               Determination Date, in each case on a pro forma basis after giving effect to any payments
               in reduction of the principal of Notes made through this clause, or until paid in full
               (Interest Proceeds to be applied pursuant to this clause (14) before the application of any
               Principal Proceeds as described under “—Principal Proceeds” below on the current
               Payment Date);

        (15)   to the payment of Class C Deferred Interest;

        (16)   in the event of a Rating Confirmation Failure, to the payment of first, the principal of the
               Class A-1A Notes, the Class A-1B Notes and the Class A-1C Notes, to be allocated as
               described under “—Class A-1 Funding Allocations”, second the principal of the Class A-
               2 Notes, third the principal of the Class A-3 Notes, fourth the principal of the Class A-4
               Notes, fifth the Deferred Interest on the Class B Notes, sixth the principal of the Class B
               Notes, seventh the Deferred Interest on the Class C Notes and eighth the principal of the
               Class C Notes, until and to the extent necessary for each Rating Agency to confirm the
               ratings assigned by it on the Closing Date to each Class of Notes;

        (17)   during the Reinvestment Period, if the Reinvestment Overcollateralization Test is not
               satisfied as of the related Determination Date after giving effect to payments pursuant to
               clauses (1)–(16), for deposit to the Collection Account as Principal Proceeds for the
               purchase of additional Collateral Obligations 50% of the remaining Interest Proceeds
               available after the payments pursuant to clause (16) above;

        (18)   to the payment of any remaining Administrative Expenses not paid under clause (1)
               above in the respective priorities specified in clause (1);

        (19)   to the payment, to the Portfolio Manager of accrued and unpaid Subordinated
               Management Fee then due and payable;

        (20)   to each Holder of Notes entitled thereto, the applicable Extension Bonus Payment as
               described under “—Extension of the Reinvestment Period, the Stated Maturity and the
               Scheduled Class E Certificates Redemption Date;”




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          (21)     to the payment to the Hedge Counterparties of any Defaulted Hedge Termination
                   Payments;

          (22)     to the Class E Certificate Paying Agent, on behalf of the Issuer, for deposit into the Class
                   E Certificates Distribution Account for distribution to the Holders of the Class E
                   Certificates until the Holders of the Class E Certificates have realized a Class E
                   Certificate Internal Rate of Return of 12.0%;

          (23)     to the payment to the Portfolio Manager of the Incentive Management Fee, if applicable;
                   and

          (24)     any remaining Interest Proceeds, to the Class E Certificate Paying Agent, on behalf of the
                   Issuer, for deposit into the Class E Certificates Distribution Account for distribution to
                   the Holders of the Class E Certificates.

  Principal Proceeds

          On each Payment Date, Principal Proceeds with respect to the related Due Period other than:

          (A)      Principal Proceeds previously reinvested in Collateral Obligations (including any related
                   deposit into the Revolving Reserve Account or the posting by the Issuer of cash collateral
                   with (or for the benefit of) a Synthetic Security Counterparty simultaneously with the
                   Issuer’s purchase of or entry into a Synthetic Security) or otherwise used as permitted
                   under the Indenture, including for Prepayments on the Class A-1A Notes;

          (B)      Principal Proceeds on deposit in the Revolving Reserve Account, the Synthetic Security
                   Counterparty Account or the Securities Lending Account; and

          (C)      Principal Proceeds on deposit in the Collection Account in an aggregate amount equal to
                   the agreed Purchase Prices for Collateral Obligations with respect to which the Issuer has
                   entered into a commitment before the end of the Due Period for their purchase, but has
                   not settled the purchase by the end of the Due Period;

  shall be distributed in the following order of priority:

          (1)      to the payment of the amounts referred to in clauses (1) through (13) under “—Interest
                   Proceeds” above (and in the same manner and order of priority) to the extent not
                   previously paid in full thereunder, provided that each payment of any of the amounts
                   referred to in clauses (10), (12) and (13) may only be made, if and to the extent each
                   Coverage Test is met on a pro forma basis giving effect to such payment;

          (2)      if any Class C Coverage Test is not satisfied as of the related Determination Date, to the
                   payment of first the principal of the Class A-1A Notes, the Class A-1B Notes and the
                   Class A-1C Notes, to be allocated as described under “—Class A-1 Funding
                   Allocations”, second the principal of the Class A-2 Notes, third the principal of the Class
                   A-3 Notes, fourth the principal of the Class A-4 Notes, fifth the Deferred Interest on the
                   Class B Notes, sixth the principal of the Class B Notes, seventh the Deferred Interest on
                   the Class C Notes, and eighth the principal of the Class C Notes, to the extent necessary
                   to cause both Class C Coverage Tests to be met as of such Determination Date on a pro
                   forma basis after giving effect to any payments in reduction of the principal of Notes
                   made through this clause, or until paid in full;

          (3)      to the payment of the amounts referred to in clause (15) under “—Interest Proceeds”
                   above to the extent not previously paid in full thereunder; provided, that such payment

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              may only be made if and to the extent each Coverage Test is met on a pro forma basis
              after giving effect to such payment;

        (4)   in the event of a Rating Confirmation Failure and to the extent payments pursuant to
              clause (16) “—Interest Proceeds” above were not sufficient to cause each Rating Agency
              to confirm the ratings assigned by it on the Closing Date to each Class of Notes, to the
              payment of first the principal of the Class A-1A Notes, the Class A-1B Notes and the
              Class A-1C Notes, to be allocated as described under “—Class A-1 Funding
              Allocations”, second the principal of the Class A-2 Notes, third the principal of the Class
              A-3 Notes, fourth the principal of the Class A-4 Notes, fifth the Deferred Interest on the
              Class B Notes, sixth the principal of the Class B Notes, seventh the Deferred Interest on
              the Class C Notes, and eighth the principal of the Class C Notes, in each case until and to
              the extent necessary for each Rating Agency to confirm the ratings assigned by it on the
              Closing Date to each Class of Notes;

        (5)   if the Payment Date is a Special Redemption Date, to the payment of first the principal of
              the Class A-1A Notes, the Class A-1B Notes and the Class A-1C Notes, to be allocated as
              described under “—Class A-1 Funding Allocations”, second the principal of the Class A-
              2 Notes, third the principal of the Class A-3 Notes, fourth the principal of the Class A-4
              Notes, fifth the Deferred Interest on the Class B Notes, sixth the principal of the Class B
              Notes, seventh the Deferred Interest on the Class C Notes, and eighth the principal of the
              Class C Notes, in an aggregate amount equal to the Special Redemption Amount;

        (6)   (a) during the Reinvestment Period, the remaining Principal Proceeds for deposit to the
              Collection Account for the purchase of additional Collateral Obligations (including any
              related deposit into the Revolving Reserve Account or the posting by the Issuer of cash
              collateral into the Synthetic Security Counterparty Account with (or for the benefit of) a
              Synthetic Security Counterparty simultaneously with the Issuer’s purchase of or entry
              into a Synthetic Security), or (b) after the Reinvestment Period, (i) at the discretion of the
              Portfolio Manager and solely to the extent of Principal Proceeds constituting
              Unscheduled Principal Payments and Sale Proceeds from the sale of Credit Improved
              Obligations, for deposit to the Collection Account for the purchase of additional
              Collateral Obligations (including any related deposit into the Revolving Reserve Account
              or the posting by the Issuer of cash collateral with (or for the benefit of) a Synthetic
              Security Counterparty simultaneously with the Issuer’s purchase of or entry into a
              Synthetic Security) when appropriate Collateral Obligations are available and (ii) all
              other remaining amounts to the payment of first the principal of the Class A-1A Notes,
              the Class A-1B Notes and the Class A-1C Notes, to be allocated as described under “—
              Class A-1 Funding Allocations”, second the principal of the Class A-2 Notes, third the
              principal of the Class A-3 Notes, fourth the principal of the Class A-4 Notes, fifth the
              Deferred Interest on the Class B Notes, sixth the principal of the Class B Notes, seventh
              the Deferred Interest on the Class C Notes, and eighth the principal of the Class C Notes;

        (7)   to the payment of the amounts referred in clauses (18) through (21) under “—Interest
              Proceeds” above to the extent not previously paid in full thereunder;

        (8)   to the Class E Certificate Paying Agent, on behalf of the Issuer, for deposit into the Class
              E Certificates Distribution Account for payment to the Holders of the Class E Certificates
              until the Holders of the Class E Certificates have realized a Class E Certificate Internal
              Rate of Return of 12.0%;

        (9)   to the payment to the Portfolio Manager of the Incentive Management Fee, if applicable;
              and


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          (10)    the remaining Principal Proceeds to the Class E Certificate Paying Agent, on behalf of
                  the Issuer, for deposit into the Class E Certificates Distribution Account for payment to
                  the Holders of the Class E Certificates.

          If on any Payment Date the amount available in the Payment Account is insufficient to make the
  full amount of the disbursements required, the Trustee shall make the disbursements called for in the
  order and according to the priority under “—Interest Proceeds” and “—Principal Proceeds,” to the extent
  funds are available therefor.

  The Class Q-1 Securities

          The Class Q-1 Securities will be issued pursuant to the Indenture. The Class Q-1 Securities will
  consist of the Class Q-1 Note Component and the Class Q-1 Class E Certificate Component. The Class Q-
  1 Note Component will represent an initial aggregate principal amount of U.S. $12,600,000 of Class C
  Notes. The Class Q-1 Class E Certificate Component will represent a Face Amount of U.S. $7,400,000 of
  Class E Certificates. Each Class Q-1 Security is a single security, the components of which are not
  separately transferable. However, a Holder may exchange its Class Q-1 Security with the Trustee for the
  corresponding interests in the related components, as described below.
           The initial aggregate principal amount of the Class C Notes and Class E Certificates to which the
  Class Q-1 Note Component and the Class Q-1 Class E Certificate Component relate are included in (and
  are not in addition to) the initial aggregate principal amount of the Class C Notes and Class E Certificates.
  Each Class Q-1 Security represents an undivided beneficial ownership interest in the cash flows on the
  Class Q-1 Note Component and the Class Q-1 Class E Certificate Component.

          The Class Q-1 Securities are scheduled to mature on the Payment Date in November 2017; unless
  the maturity is extended.

         Except as described herein or unless the context otherwise requires, references herein to the Class
 C Notes or Notes (or the Holders thereof) include the Class Q-1 Note Component (or the Holders of the
 Class Q-1 Securities to the extent thereof), whether or not explicitly mentioned, and references to the
 Class E Certificates (or the Holders thereof) include the Class Q-1 Class E Certificate Components (or the
 Holders of the Class Q-1 Securities to the extent thereof), whether or not explicitly mentioned.

           On each Payment Date on which payments, whether of principal or interest, are made on the
  Class C Notes or any distributions are made on the Class E Certificates, a portion of such payment will be
  allocated to the Class Q-1 Securities in the proportion that the principal amount of the Class C comprising
  the Class Q-1 Note Component bears to the aggregate principal amount of the Class C Notes as a whole
  (including the Class Q-1 Note Component) and the Face Amount of the Class E Certificates comprising
  the Class Q-1 Class E Certificate Component bears to the aggregate Face Amount of all Class E
  Certificates as a whole (including the Class Q-1 Class E Certificate Component). No other payments will
  be made on the Class Q-1 Securities.

          The rating by Moody’s on the Class Q-1 Securities applies only to the return of the Class Q-1
  Rated Principal. All distributions made with respect to the Class Q-1 Securities will reduce the
  outstanding Class Q-1 Rated Principal. The rating assigned by Moody’s to the Class Q-1 Securities
  represents Moody’s view only as to the likelihood of receiving an ultimate return of principal on the Class
  Q-1 Securities.

          The Holders of Class Q-1 Securities will be entitled to (i) voting rights in the Class C Notes, in
  the proportion that the Class Q-1 Note Component bears to the aggregate principal amount of the Class C
  Notes as a whole (including the Class Q-1 Note Component) and (ii) voting rights in the Class E
  Certificates, in the proportion that the Class Q-1 Class E Certificate Component bears to the aggregate
  Face Amount of the Class E Certificates as a whole (including the Class Q-1 Class E Certificate


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  Component). The Holders of the Class Q-1 Securities will not be entitled to voting rights as a separate
  class, except in limited circumstances described in the Indenture.

           Investors considering purchasing Class Q-1 Securities should consider carefully the discussions
  in this Offering Memorandum of the Class C Notes and the Class E Certificates represented by the Class
  Q-1 Note Component and the Class Q-1 Class E Certificate Component, as applicable, including the risk
  factors applicable thereto.
          Pursuant to the Indenture, a Holder of the Class Q-1 Security may exchange, subject to the
  applicable minimum denomination requirements, Class Q-1 Securities for interests in the Class C Notes,
  in the form of a Rule 144A Global Note, Temporary Regulation S Global Security or a Regulation S
  Global Security (in an amount equal to the Class Q-1 Note Component of such Class Q-1 Securities) and
  a Certificated Class E Certificate or, in the case of a Holder that is a non-U.S. Person (as defined in
  Regulation S under the Securities Act) an interest in Class E Certificates in the form of a Temporary
  Regulation S Global Security or Regulation S Global Security (in an amount equal to the Class Q-1 Class
  E Certificate Component of such Class Q-1 Securities), in the manner described in the Indenture.
  Thereafter, the Holder or beneficial owner of a Class Q-1 Security so exchanged will be the Holder or
  beneficial owner of the applicable Class C Notes and the Class E Certificates, in each case received upon
  such exchange. No Holder of Class C Notes or Class E Certificates (including a Holder that received such
  Class C Notes or Class E Certificates upon an exchange of a Class Q-1 Security) will have the right to
  exchange such Class C Notes and/or Class E Certificates for a Class Q-1 Security. No service charge will
  be made for any such exchange of Class Q-1 Securities, but the Issuer or the Trustee may require payment
  of a sum sufficient to cover any tax or other governmental charge payable in connection with such
  exchange. Following any such exchange, the rating of the exchanged Class Q-1 Securities by any Rating
  Agency may not apply to the Securities received in such exchange.

          In an Amendment Buy-Out that affects only one Component of a Class Q-1 Security, the Non-
  Consenting Holder, at its option, may require the Amendment Buy-Out Purchaser to purchase its Class Q-
  1 Security as a whole or may exchange its Class Q-1 Security into its Class Q-1 Components and require
  the Amendment Buy-Out Purchaser to purchase solely the affected Component. See “Amendment Buy-
  Out” above. If a holder of Class Q-1 Securities votes the Class E Certificates represented by its related
  Class Q-1 Class E Certificate Component to remove the Portfolio Manager without cause, and a Removal
  Buy-Out Purchaser exercise its right to purchase the Directing Class E Certificates, the Class Q-1
  Securities that include such Class E Components will be deemed exchanged for their respective
  components, the Class E Certificates represented by such Class E Components will be so purchased and
  the applicable Buy-Out Amount will be distributed to the Holders of such Class Q-1 Securities, and such
  Holders will receive in accordance with the provisions of the Indenture the Class C Notes represented by
  the Class Q-1 Note Component of their Class Q-1 Securities.

  The Class P Securities

          The Class P-1 Securities will consist of the Class P-1 U.S. Treasury Component, representing
  U.S.$20,000,000 (face value) U.S. Treasury securities with zero coupon due November 15, 2013, and the
  Class P-1 Class E Certificate Component, representing 6,180 Class E Certificates. The Class P-2
  Securities will consist of the Class P-2 U.S. Treasury Component, representing U.S.$5,000,000 (face
  value) U.S. Treasury securities with zero coupon due November 15, 2013, and the Class P-2 Class E
  Certificate Component, representing 1,500 Class E Certificates. The Class P-1 Securities and the Class P-
  2 Securities are each a single Class and their respective P-1 Components and P-2 Components are not
  transferable separately. Payments on the Class P Securities will be made on the Class P Securities
  Payment Dates as set forth herein and in the Indenture.

         The Class P-1 Securities will be rated “Aaa” by Moody’s (which rating addresses the ultimate
  payment of principal of the Class P-1 Rated Principal Balance). The Class P-2 Securities will be rated
  “Aaa” by Moody’s (which rating addresses the ultimate payment of principal of the Class P-2 Rated

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 Principal Balance. The rating assigned by Moody’s to the Class P Securities represents Moody’s view
 only as to the likelihood of receiving an ultimate return of principal on such Securities.

          On each Payment Date, until the outstanding balance of the Class P-1 U.S. Treasury Component
 is reduced to $10,000, the Trustee will obtain a Class P U.S. Treasury Bid on a portion of the Class P-1
 U.S. Treasury Component with a face amount equal to the Class P-1 Accelerated Payment Notional
 Amount as of such Payment Date. If such Class P U.S. Treasury Bid is equal to or higher than the
 corresponding reference price set forth in the Indenture, the Trustee will liquidate, on behalf of the Class
 P-1 Securityholders, a portion of the Class P-1 U.S. Treasury Component with a face amount equal to the
 Class P-1 Accelerated Payment Notional Amount at such Class P U.S. Treasury Bid (such sale proceeds
 less any transaction costs, the “Class P-1 Mandatory Accelerated Payment”) not later than two
 Business Days after such Payment Date; provided, that, not later than 15 Business Days prior to a
 Payment Date, a Majority of the Class P-1 Securityholders may elect, by written notice to the Trustee, to
 waive the Class P-1 Mandatory Accelerated Payment for such Payment Date and all Payment Dates
 thereafter; provided, further, that not later than 15 Business Days prior to any subsequent Payment Date, a
 Majority of the Class P-1 Securityholders may, by written notice to the Trustee, reinstate the Class P-1
 Mandatory Accelerated Payment for such Payment Date and/or all Payment Dates thereafter as set forth
 in such notice. If the Class P U.S. Treasury Bid is lower than the corresponding reference price set forth
 in the Indenture, the Trustee will notify the Class P-1 Securityholders of such Class P U.S. Treasury Bid
 not later than two Business Days after such Payment Date. Not later than three Business Days after such
 notice, the Class P-1 Securityholders representing a Majority of the Class P-1 Securities may instruct the
 Trustee of a face amount of the Class P-1 U.S. Treasury Component to liquidate (the “Class P-1
 Optional Accelerated Payment Notional Amount,” which amount may not exceed the applicable Class
 P-1 Accelerated Payment Notional Amount) and the minimum acceptable Liquidation Value. Not later
 than two Business Days after such direction, the Trustee will liquidate, on behalf of the Class P-1
 Securityholders, a portion of the Class P-1 U.S. Treasury Component with a face amount equal to the
 Class P-1 Optional Accelerated Payment Notional Amount at the then-prevailing Class P U.S. Treasury
 Bid (such sale proceeds less any transaction costs, the “Class P-1 Optional Accelerated Payment”);
 provided, that the liquidation value at such Class P U.S. Treasury Bid is equal to or higher than the
 minimum acceptable liquidation value provided by the Class P-1 Securityholders. If no such direction is
 given by the Class P-1 Securityholders representing a Majority of the Class P-1 Securities or if the then-
 prevailing Class P U.S. Treasury Bid would result in a liquidation value that is lower than the minimum
 acceptable liquidation value provided by the Class P-1 Securityholders, the Trustee will not liquidate any
 portion of the Class P-1 U.S. Treasury Component. All proceeds from the liquidation of the Class P-1
 U.S. Treasury Component will be deposited into the Class P-1 Collection Account.

          On each Payment Date, until the outstanding balance of the Class P-2 U.S. Treasury Component
 is reduced to $10,000, the Trustee will obtain a Class P U.S. Treasury Bid on the portion of the Class P-2
 U.S. Treasury Component with a face amount equal to the Class P-2 Accelerated Payment Notional
 Amount as of such Payment Date. If such Class P U.S. Treasury Bid is equal to or higher than the
 corresponding reference price set forth in the Indenture, the Trustee will liquidate, on behalf of the Class
 P-2 Securityholders, a portion of the Class P-2 U.S. Treasury Component with a face amount equal to the
 Class P-2 Accelerated Payment Notional Amount at such Class P U.S. Treasury Bid (such sale proceeds
 less any transaction costs, the “Class P-2 Mandatory Accelerated Payment”) not later than two
 Business Days after such Payment Date; provided, that, not later than 15 Business Days prior to a
 Payment Date, a Majority of the Class P-2 Securityholders may elect, by written notice to the Trustee, to
 waive the Class P-2 Mandatory Accelerated Payment for such Payment Date and all Payment Dates
 thereafter; provided, further, that not later than 15 Business Days prior to any subsequent Payment Date, a
 Majority of the Class P-2 Securityholders may, by written notice to the Trustee, reinstate the Class P-2
 Mandatory Accelerated Payment for such Payment Date and/or all Payment Dates thereafter as set forth
 in such notice. If the Class P U.S. Treasury Bid is lower than the corresponding reference price set forth
 in the Indenture, the Trustee will notify the Class P-2 Securityholders of such Class P U.S. Treasury Bid
 not later than two Business Days after such Payment Date. Not later than three Business Days after such

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 notice, the Class P-2 Securityholders representing a Majority of the Class P-2 Securities may instruct the
 Trustee of a face amount of the Class P-2 U.S. Treasury Component to liquidate (the “Class P-2
 Optional Accelerated Payment Notional Amount,” which amount will not exceed the applicable Class
 P-2 Accelerated Payment Notional Amount) and the minimum acceptable Liquidation Value. Not later
 than two Business Days after such direction, the Trustee will liquidate, on behalf of the Class P-2
 Securityholders, a portion of the Class P-2 U.S. Treasury Component with a face amount equal to the
 Class P-2 Optional Accelerated Payment Notional Amount at the then-prevailing Class P U.S. Treasury
 Bid (such sale proceeds less any transaction costs, the “Class P-2 Optional Accelerated Payment”);
 provided, that the liquidation value at such Class P U.S. Treasury Bid is equal to or higher than the
 minimum acceptable liquidation value provided by the Class P-2 Securityholders. If no such direction is
 given by the Class P-2 Securityholders representing a Majority of the Class P-2 Securities or if the then-
 prevailing Class P U.S. Treasury Bid would result in a liquidation value that is lower than the minimum
 acceptable liquidation value provided by the Class P-2 Securityholders, the Trustee will not liquidate any
 portion of the Class P-2 U.S. Treasury Component. All proceeds from the liquidation of the Class P-2
 U.S. Treasury Component will be deposited into the Class P-2 Collection Account.

          On each Class P Securities Payment Date, (i) an amount equal to the Class P-1 Net Periodic
 Distribution for such Class P Securities Payment Date will be distributed to the Class P-1 Securityholders
 and (ii) an amount equal to the Class P-2 Net Periodic Distribution for such Class P Securities Payment
 Date will be distributed to the Class P-2 Securityholders.

          Prior to the Stated Maturity, the Class P-1 Nominal Principal Outstanding will not be reduced to
 less than $500,000, and following the reduction of the Class P-1 Nominal Principal Amount Outstanding
 to $500,000, on each Class P Securities Payment Date, an amount equal to the amount that would
 otherwise be distributed with respect to the Class P-1 Securities on such date less the Class P-1 Notional
 Coupon Payment on the applicable Class P Securities Payment Date (so long as such Class P-1 Notional
 Coupon Payment is greater than zero) will be withheld and deposited into the Class P-1 Principal Reserve
 Account until the balance of the Class P-1 Principal Reserve Account is equal to $500,000. Upon the
 Stated Maturity (or, if earlier, redemption of the Class P-1 Securities), the Class P-1 Principal Reserve
 Account will be liquidated and distributed to the Class P-1 Securityholders as the final payment on the
 Class P-1 Securities. The Class P-1 Notional Coupon Rate will be adjusted upward accordingly should
 such final payment be higher than the Class P-1 Nominal Principal Outstanding at that time.

        All Payments received on the Class P-1 Securities will reduce the Class P-1 Rated Principal
 Balance in accordance with the definition thereof.

        All payments received on the Class P-2 Securities will reduce the Class P-2 Rated Principal
 Balance in accordance with the definition thereof.

         The Class P-1 Securityholders will be entitled to voting rights in the Class E Certificates, in the
 proportion that the Class P-1 Class E Certificate Component bears to the aggregate number of Class E
 Certificates (including the related Class P-1 Class E Certificate Component and the Class P-2 Class E
 Certificate Component) and Class P-2 Securityholders will be entitled to voting rights in the Class E
 Certificates, in the proportion that the Class P-2 Class E Certificate Component bears to the aggregate
 number of Class E Certificates (including the related Class P-1 Class E Certificate Component and the
 Class P-2 Class E Certificate Component).

          In connection with the liquidation of the Class P-1 U.S. Treasury Component (or portion thereof)
 or the Class P-2 U.S. Treasury Component (or portion thereof), the Class P Securityholders, by their
 purchase of such Class P Securities, acknowledge and agree that (i) the Trustee may utilize any dealer,
 including the Initial Purchaser, to accomplish the liquidation of the Class P-1 U.S. Treasury Component
 (or portion thereof) or Class P-2 U.S. Treasury Component (or portion thereof), as applicable, (ii) the
 price obtained by the Trustee from such dealer shall be deemed to be the fair market value for the Class P-


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 1 U.S. Treasury Component (or portion thereof) or the Class P-2 U.S. Treasury Component (or portion
 thereof), as applicable and (iii) they shall have no recourse to the Trustee or such dealer in connection
 with such liquidation.

         Pursuant to the Indenture, a Holder of Class P Securities may exchange Class P Securities for (i) a
 Certificated Class E Certificate or, in the case of a Holder that is a non-U.S. person (as defined in
 Regulation S under the Securities Act) an interest in Class E Certificates in the form of a Temporary
 Regulation S Global Security or Regulation S Global Security (in an amount equal to the Class P-1 Class
 E Certificate Component or Class P-2 Class E Certificate Component of such Class P Securities, subject
 to the minimum denomination requirements applicable to the Class E Certificates), and (ii) a pro rata in
 kind distribution of the Class P-1 U.S. Treasury Component or Class P-2 U.S. Treasury Component, as
 applicable, of such Class P Securities), subject to compliance with the transfer restrictions applicable to
 the Class E Certificates and in the manner described in the Indenture and the Class E Certificate
 Documents. Thereafter, the Holder of a beneficial interest in a Class P Security so exchanged will be the
 Holder of the applicable Class E Certificates, in each case received upon such exchange. No Holder of
 Class E Certificates and any U.S. Treasury securities of the kind represented by the Class P-1 U.S.
 Treasury Component or the Class P-2 U.S. Treasury Component, as applicable (including a Holder that
 received such Class E Certificates or U.S. Treasury securities upon an exchange of a Class P Security)
 will have the right to exchange such Class E Certificates and/or U.S. Treasury securities for a Class P
 Security. No service charge will be made for any such exchange of Class P Securities, but the Issuer or
 the Trustee may require payment of a sum sufficient to cover any tax or other governmental charge
 payable in connection with such exchange. Following any such exchange, the rating of the exchanged
 Class P Securities by any Rating Agency will not apply to the Class E Certificates received in such
 exchange.

         A Holder or beneficial owner of a Class P Security may exchange, subject to the applicable
 minimum denomination requirements, its Class P Securities for interests in the Class E Certificates (in an
 amount equal to the applicable Class P Class E Certificate Component) and the U.S. Treasury securities
 represented by the applicable Class P U.S. Treasury Component, as applicable, in the manner provided in
 the Indenture and in the case of the Class P Class E Certificate Component, in the manner provided in the
 Class E Certificate Documents for transfer of a Certificated Class E Certificate or an interest in a Class E
 Certificate in the form of a Regulation S Global Security or Temporary Regulation S Global Security, as
 applicable. In addition, a Holder or beneficial owner of a Class P Security will be required to exchange all
 but not less than all of its interest in a Class P Security for interests in the Class E Certificates (in an
 amount equal to the applicable Class P Class E Certificate Component) on the Class P Payment Date next
 following the earlier of the maturity or full liquidation of the U.S. Treasury securities represented by the
 applicable Class P U.S. Treasury Component, in the manner provided in the Indenture and in the manner
 provided in the Class E Certificate Documents.

          Following an Optional Redemption (or other earlier redemption) of the Class E Certificates or the
 liquidation and distribution of the Collateral in full, if any Class P Securities are then Outstanding, each
 Class P Security will be redeemed by the Issuer, in whole, but not in part, on the next following Class P
 Securities Payment Date from the Class P-1 Collateral or Class P-2 Collateral, as applicable, available for
 that purpose, in each case, at the applicable Class P-1 Redemption Price or Class P-2 Redemption Price.

 Form, Denomination, Registration and Transfer of the Global Securities

         The Notes (other than the Class A-1A Notes and the Class A-1B Notes), Class E Certificates,
 Class Q-1 Securities and the Class P Securities sold in offshore transactions to non-U.S. persons (as
 defined in Regulation S) in reliance on Regulation S will be represented by one or more Temporary
 Regulation S Global Securities or, following the Exchange Date, Regulation S Global Securities. The
 Temporary Regulation S Global Securities and Regulation S Global Securities will be deposited with the
 Trustee as custodian for, and registered in the name of, a nominee of the Depositary for credit to

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 Depositary participants that hold such positions on behalf of Euroclear and Clearstream, for further credit
 to the respective accounts of Euroclear and Clearstream. Beneficial interests in a Temporary Regulation
 S Global Security or Regulation S Global Security may be held only through Euroclear or Clearstream.
 Investors may hold their interests in a Temporary Regulation S Global Security or Regulation S Global
 Security directly through Euroclear or Clearstream, if they are participants in such systems, or indirectly
 through organizations that are participants in such systems. Beneficial interests in a Temporary
 Regulation S Global Securities or Regulation S Global Security may not be held by a U.S. person (as
 defined in Regulation S) at any time. By acquisition of a beneficial interest in a Temporary Regulation S
 Global Securities or Regulation S Global Security, the purchaser thereof will be deemed to represent that
 it is not a U.S. person (as defined in Regulation S). Any interest in a Note in the form of a Temporary
 Regulation S Global Security or Regulation S Global Security may only be transferred to (i) another non-
 U.S. person (as defined in Regulation S), (ii) to a person whom the seller reasonably believes to be a
 Qualified Institutional Buyer and a Qualified Purchaser that takes delivery in the form of an interest in a
 Rule 144A Global Note.. An interest in a Class E Certificate, Class Q-1 Security or Class P Security in
 the form of a Temporary Regulation S Global Security or a Regulation S Global Security may be
 transferred only to (i) another non-U.S. person (as defined in Regulation S) or (ii) a U.S. person (as
 defined in Regulation S) who takes delivery in the form of a Certificated Class E Certificate, Certificated
 Class Q-1 Security, Certificated Class P-1 Security or Certificated Class P-2 Security, as applicable, and
 is both (a) a Qualified Institutional Buyer or, in the case of the Class E Certificates only, an Accredited
 Investor and (b) a Qualified Purchaser. No service charge will be made for any registration of transfer or
 exchange of an interest in a Temporary Regulation S Global Note or a Regulation S Global Note, but the
 Trustee may require payment of a sum sufficient to cover any tax or other governmental charge payable
 in connection therewith.

          The Notes (other than the Class A-1A Notes and the Class A-1B Notes) initially sold in the
 United States or to U.S. persons (as defined in Regulation S) may only be sold to Qualified Purchasers
 that are Qualified Institutional Buyers in a transaction in reliance on Rule 144A under the Securities Act
 and will represented by one or more Rule 144A Global Notes deposited with the Trustee as custodian for,
 and registered in the name of, a nominee of the Depositary. With respect to the Rule 144A Global Notes,
 the Depositary will credit the account of each of its participants with the principal amount of the Notes
 being purchased by or through the participant. Beneficial interests in a Rule 144A Global Note will be
 shown on, and transfers thereof will be effected only through, records maintained by the Depositary and
 its direct and indirect participants. The Notes may be resold within the United States or to U.S. persons
 (as defined in Regulation S) only to purchasers that are Qualified Institutional Buyers who are also
 Qualified Purchasers, who purchase such Notes for their own account or for the account of a Qualified
 Institutional Buyer who is also a Qualified Purchaser.

          Beneficial interests in Notes, Class E Certificates, Class Q-1 Securities and Class P Securities
 represented by Global Securities will be subject to certain restrictions on transfer set forth therein and in
 the Indenture and such Global Securities will bear the applicable legends regarding the restrictions set
 forth under "Transfer Restrictions." A beneficial interest in a Note represented by a Temporary
 Regulation S Global Security or Regulation S Global Security may be transferred to a person who takes
 delivery in the form of an interest in a Rule 144A Global Note only upon receipt by the Trustee of a
 written certification from the transferor (in the form provided in the Indenture) to the effect that the
 transfer is being made to a person whom the transferor reasonably believes is a Qualified Institutional
 Buyer who is also a Qualified Purchaser and in accordance with any applicable securities laws of any
 state of the United States or any other jurisdiction. A beneficial interest in a Rule 144A Global Note may
 be transferred to a person who takes delivery in the form of an interest in a Temporary Regulation S
 Global Security or Regulation S Global Security only upon receipt by the Trustee of a written certification
 from the transferor (in the form provided in the Indenture) to the effect that the transfer is being made to a
 non-U.S. person (as defined in Regulation S) in an offshore transaction in accordance with Regulation S.
 A beneficial interest in a Class E Certificate represented by a Temporary Regulation S Global Security or
 Regulation S Global Security may be transferred to a person who takes delivery in the form of

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 Certificated Class E Certificate only upon (inter alia) receipt by the Class E Certificate Paying Agent of a
 written certification (in the form provided in the Class E Certificate Documents) from the transferee. A
 beneficial interest in a Class Q-1 Security or a Class P Security represented by a Temporary Regulation S
 Global Security or Regulation S Global Security may be transferred to a person who takes delivery in the
 form of Certificated Class Q-1 Security or Certificated Class P Security, as applicable, only upon (inter
 alia) receipt by the Trustee of a written certification (in the applicable form provided in the Indenture)
 from the transferee.

          Any beneficial interest in a Note represented by a Temporary Regulation S Global Security or a
 Regulation S Global Security that is transferred to a person who takes delivery in the form of an interest
 in a Rule 144A Global Note will, upon transfer, cease to be an interest in such Temporary Regulation S
 Global Security or Regulation S Global Security and become an interest in the Rule 144A Global Note
 and, accordingly, will thereafter be subject to all transfer restrictions and other procedures applicable to
 beneficial interests in a Rule 144A Global Note for as long as it remains such an interest. Any beneficial
 interest in a Rule 144A Global Note that is transferred to a person who takes delivery in the form of an
 interest in a Temporary Regulation S Global Security or Regulation S Global Security will, upon transfer,
 cease to be an interest in the Rule 144A Global Note and become an interest in the Temporary Regulation
 S Global Security or Regulation S Global Security and, accordingly, will thereafter be subject to all
 transfer restrictions and other procedures applicable to beneficial interests in a Temporary Regulation S
 Global Security or Regulation S Global Security for as long as it remains such an interest. No service
 charge will be made for any registration of transfer or exchange of interests in Global Securities, but the
 Co-Issuers or the Trustee may require payment of a sum sufficient to cover any tax or other governmental
 charge payable in connection therewith.

          The Securities are not issuable in bearer form. Except in the limited circumstances described in
 the next paragraph, owners of beneficial interests in the Global Securities will not be entitled to have such
 Securities registered in their names, will not receive or be entitled to receive definitive physical securities
 and will not be considered Holders of such Securities under the Indenture. If (i) the Depositary notifies the
 Co-Issuers that it is unwilling or unable to continue as depository for a Global Security or ceases to be a
 “Clearing Agency” registered under the Exchange Act and a successor depository is not appointed by the
 Issuer within 90 days of such notice, (ii) as a result of any amendment to or change in, the laws or
 regulations of the Cayman Islands or of any authority therein or thereof having power to tax or in the
 interpretation or administration of such laws or regulations which become effective on or after the
 Closing Date, the Issuer or the Paying Agent becomes aware that it is or will be required to make any
 deduction or withholding from any payment in respect of the Securities which would not be required if
 the Global Securities were in definitive form or (iii) an Event of Default under the Indenture has occurred
 and is continuing and has not been waived, the Co-Issuers will issue or cause to be issued securities in
 registered form and in the form of definitive physical securities in exchange for the applicable Global
 Securities to the beneficial owners of such Global Securities in the manner set forth in the Indenture. In
 the event that certificated Securities are not so issued by the Co-Issuers to such beneficial owners of
 interests in Global Securities, the Issuer expressly acknowledges that such beneficial owners shall be
 entitled to pursue any remedy that the Holders of a Global Security would be entitled to pursue in
 accordance with the Indenture (but only to the extent of such beneficial owner’s interest in the Global
 Security) as if certificated Securities had been issued. Payments on such certificated Securities will be
 made by wire transfer in immediately available funds to a Dollar-denominated account maintained by the
 owner or, if a wire transfer cannot be effected, by a Dollar check delivered to the Holder.

         The Notes will be issued and may be transferred only in minimum denominations of U.S$500,000
 and integral multiples of U.S$1,000 in excess thereof. The Class Q-1 Securities will be issued and
 transferable in the minimum denomination of U.S. $1,400,000 and integral multiples of U.S. $100,000 in
 excess thereof in order to satisfy the applicable minimum denomination with respect to each Class Q-1
 Component thereof and maintain the ratio between such Class Q-1 Components. The Class P-1 Securities
 will be issued and transferable in the minimum denomination of U.S.$2,000,000 in stated amount, and

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 integral multiples of U.S.$1,000,000 in excess thereof, in order to satisfy the applicable minimum
 denomination with respect to each Class P-1 Component thereof and maintain the ratio between such
 Class P-1 Components. The Class P-2 Securities will be issued and transferable in the minimum
 denomination of U.S.$1,700,000 in stated amount, and integral multiples of U.S.$50,000 in excess
 thereof, in order to satisfy the applicable minimum denomination with respect to each Class P-1
 Component thereof and maintain the ratio between such Class P-1 Components. Notwithstanding the
 minimum denomination requirements set forth in the preceding sentences, the Indenture Securities may
 be transferred or exchanged in such lesser denominations if a Holder effecting any such transfer or
 exchange owns less than the minimum denomination applicable to such Class of Indenture Securities as a
 result of repayments of principal thereof and such Holder is effecting a transfer or exchange of not less
 than all of its interest in the applicable Class of Notes. The Class E Certificates will be issued in and may
 be transferred only in minimum denominations of 500 certificates and integral multiples of one certificate
 in excess thereof; provided that one Class E Certificate may be issued and may be transferred in a
 minimum denomination of 200 certificates and integral multiples of one certificate in excess thereof.

         As used in this section “U.S. person” means a U.S. person as defined in Regulation S.

 Form, Denomination, Registration and Transfer of the Certificated Securities

         Class A-1A Notes and Class A-1B Notes

          All Class A-1A Notes will be issued in the form of one or more certificated Class A-1A Notes in
 definitive, fully registered form, without interest coupons, registered in the name of the owner thereof
 (“Certificated Class A-1A Note”). All Class A-1B Notes will be issued in the form of one or more
 certificated Class A-1B Notes in definitive, fully registered form, without interest coupons, registered in
 the name of the owner thereof (“Certificated Class A-1B Note”, and together with the Certificated Class
 A-1A Notes, the Certificated Class A-1 Notes”). Class A-1A Notes and Class A-1B Notes may be
 transferred only in the form of Certificated Class A-1 Notes (i) to Persons that are both (A) Qualified
 Institutional Buyers and (B) Qualified Purchasers or (ii) to non-U.S. persons (as defined in Regulation S)
 in offshore transactions in reliance on Regulation S, which in each case of a transfer during the Draw
 Period (in the case of the Class A-1A Notes) or the Delayed Drawdown Period (in the case of the Class
 A-1B Notes) also meet the Rating Criteria.

          Certificated Class A-1 Notes will be subject to certain additional restrictions on transfer set forth
 therein and in the Indenture and the Class A-1A Note Purchase Agreement and the Class A-1B Note
 Purchase Agreement, as applicable, and will bear the applicable legends regarding the restrictions set
 forth under "Transfer Restrictions." Certificated Class A-1 Notes may be transferred only in accordance
 with the Indenture and the Class A-1A Note Purchase Agreement or the Class A-1B Note Purchase
 Agreement, as applicable and upon (inter alia) receipt by the Trustee and the Issuer of a written
 certification (in the form provided in the Indenture) from the transferee regarding compliance with the
 applicable transfer restrictions. See “Transfer Restrictions.”

         Class E Certificates, Class Q-1 Securities and Class P Securities

          All Class E Certificates, Class Q-1 Securities and Class P Securities sold in the United States or
 to U.S. persons (as defined in Regulation S) will be issued in the form of one or more certificated Class E
 Certificates (“Certificated Class E Certificates”), or certificated Class Q-1 Securities (“Certificated
 Class Q-1 Securities”), or certificated Class P-1 Securities (“Certificated Class P-1 Securities”) or
 certificated Class P-2 Securities (“Certificated Class P-2 Securities”, and together with the Certificated
 Class P-1 Securities, the “Certificated Class P Securities” ”), as applicable, in each case in definitive, fully
 registered form, registered in the name of the owner thereof. Class E Certificates, Class Q-1 Securities
 and Class P Securities may be transferred only (i) in the form of Certificated Class E Certificates,
 Certificated Class Q-1 Securities or Certificated Class P Securities, as applicable, to Persons that are both


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 (A) Qualified Institutional Buyers or, in the case of the Class E Certificates only, Accredited Investors
 (provided that in the case of any transfer to an Accredited Investor and if requested by or on behalf of the
 Issuer, the transferor or the transferee will be required to provide an opinion of counsel to each of the
 Issuer, the Class E Certificate Paying Agent and the Class E Certificate Registrar to the effect that such
 transfer may be made pursuant to an exemption from registration under the Securities Act and any
 applicable state securities laws) and (B) Qualified Purchasers or, in the case of the Class E Certificates
 only, Knowledgeable Employees or (ii) in the form of an interest in Class E Certificates, Class Q-1
 Securities or Class P Securities, as applicable, represented by a Temporary Regulation S Global Security
 or a Regulation S Global Security, as applicable, to non-U.S. persons (as defined in Regulation S) in
 offshore transactions in reliance on Regulation S.

          Certificated Class E Certificates will be subject to certain restrictions on transfer set forth therein
 and in the Class E Certificate Documents and will bear the applicable legends regarding the restrictions
 set forth under “Transfer Restrictions.” Certificated Class E Certificates may be transferred only upon
 (inter alia) receipt by the Class E Certificate Paying Agent of a written certification (in the form provided
 in the Class E Certificate Documents) from the transferee. Certificated Class Q-1 Securities and
 Certificated Class P Securities will be subject to certain restrictions on transfer set forth therein and in or
 pursuant to the Indenture and will bear the applicable legends regarding the restrictions set forth under
 “Transfer Restrictions.” Certificated Class Q-1 Securities and Certificated Class P Securities may be
 transferred only upon (inter alia) receipt by the Trustee of a written certification (in the applicable form
 provided in the Indenture) from the transferee. See “Transfer Restrictions.”

          Payments on Certificated Class E Certificates, the Certificated Class Q-1 Securities and the
 Certificated Class P Securities will be made by wire transfer in immediately available funds to a Dollar-
 denominated account maintained by the owner or, if a wire transfer cannot be effected, by a Dollar check
 delivered to the owner. See “Settlement and Clearing.”

         The Class E Certificates will be issued and may be transferred only in minimum denominations
 of 500 certificates and integral multiples of one certificate in excess thereof; provided that one Class E
 Certificate may be issued and may be transferred in a minimum denomination of 200 certificates and
 integral multiples of one certificate in excess thereof. The Class Q-1 Securities will be issued and
 transferable in the minimum denomination of U.S. $1,400,000 in order to satisfy the applicable minimum
 denomination with respect to each component thereof and maintain the ratio between such components.
 The Class P-1 Securities will be issued and transferable in the minimum denomination of U.S. $2,000,000
 in order to satisfy the applicable minimum denomination with respect to each component thereof and
 maintain the ratio between such components. The Class P-2 Securities will be issued and transferable in
 the minimum denomination of U.S. $1,700,000 in order to satisfy the applicable minimum denomination
 with respect to each component thereof and maintain the ratio between such components.

         Walkers SPV Limited has been appointed and will serve as the registrar with respect to the Class
 E Certificates (the “Class E Certificates Registrar”) and will provide for (inter alia) the registration of
 the Class E Certificates and the registration of transfers of the Class E Certificates in accordance with the
 Class E Certificate Documents and the Administration Agreement in the register maintained by it.

         As used in this section “U.S. person” means a U.S. person as defined in Regulation S.

 The Indenture

         The following summary describes certain provisions of the Indenture. The summary does not
 purport to be complete and is subject to, and qualified in its entirety by reference to, the provisions of the
 Indenture.




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       Events of Default

       “Event of Default” is defined in the Indenture as:

               (a)     a default for four Business Days in the payment of any interest on any of the
       Class A-1A Notes (or the Commitment Fee with respect to the Class A-1A Notes), the Class A-
       1B Notes (or the Delayed Drawdown Fee with respect to the Class A-1B Notes), the Class A-1C
       Notes, the Class A-2 Notes, the Class A-3 Notes or the Class A-4 Notes or, after no Class A
       Notes are Outstanding, on any Class of Notes that is currently part of the Controlling Class when
       it becomes payable (or in the case of a default in payment due to an administrative error or
       omission by the Trustee, any paying agent or the Indenture Registrar, after seven Business Days);

                (b)      a default in the payment of principal (including Deferred Interest) of any Note,
       when the same becomes payable, at its Stated Maturity or on the Redemption Date or otherwise
       (or, in the case of a default in payment due to an administrative error or omission by the Trustee,
       any paying agent or the Indenture Registrar, such default has continued for three Business Days);

               (c)     the failure on any Payment Date to disburse amounts available in the Payment
       Account in accordance with the Priority of Payments and the failure continues for 3 Business
       Days (or, in the case of a failure to disburse such amounts due to an administrative error or
       omission by the Trustee, any paying agent or the Indenture Registrar, such failure continues for
       six Business Days);

               (d)    on any Measurement Date for so long as any Class A-1A Notes, Class A-1B
       Notes, Class A-1C Notes, Class A-2 Notes, Class A-3 Notes or Class A-4 Notes are Outstanding,
       the Overcollateralization Ratio Numerator is less than 100% of the Aggregate Outstanding
       Amount of the Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes and the Class A-4
       Notes;

               (e)     either of the Co-Issuers or the pool of Collateral becomes an investment company
       under the Investment Company Act;

                (f)      breach of any other covenant or other agreement or warranty of the Issuer or the
       Co-Issuer under the Indenture (other than any failure to satisfy any of the Collateral Quality
       Tests, any of the Concentration Limitations, any of the Coverage Tests, the Reinvestment
       Overcollateralization Test, or other covenants or agreements for which a specific remedy has
       been provided under the Indenture) in any material respect, or the failure of any representation or
       warranty of the Issuer or the Co-Issuer made in the Indenture or in any certificate or other writing
       delivered pursuant thereto, or in connection therewith, to be correct in any material respect when
       made, and the breach or failure continues for 30 days after either of the Co-Issuers has actual
       knowledge of it or after notice to the Issuer, the Co-Issuer and the Portfolio Manager by the
       Trustee or to the Issuer, the Co-Issuer, the Portfolio Manager and the Trustee by the Holders of at
       least 25% of the Aggregate Outstanding Amount of the Controlling Class by registered or
       certified mail or overnight courier specifying the breach or failure and requiring it to be remedied
       and stating that the notice is a “Notice of Default” under the Indenture;

               (g)      the entry of a decree or order by a court having competent jurisdiction adjudging
       the Issuer or the Co-Issuer as bankrupt or insolvent, or approving as properly filed a petition
       seeking reorganization, arrangement, adjustment, or composition of the Issuer or the Co-Issuer
       under the Bankruptcy Law or any other applicable law, or appointing a receiver, liquidator,
       assignee, or sequestrator (or other similar official) of the Issuer or the Co-Issuer or of any
       substantial part of its property, or ordering the winding up or liquidation of its affairs, and if the
       decree or order remains unstayed and in effect for 45 consecutive days;


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                 (h)       the institution by the shareholders of the Issuer or the Co-Issuer of Proceedings to
         have the Issuer or the Co-Issuer, as the case may be, adjudicated as bankrupt or insolvent, or the
         consent by the shareholders of the Issuer or the Co-Issuer to the institution of bankruptcy or
         insolvency Proceedings against the Issuer or the Co-Issuer, or the filing by the Issuer or the Co-
         Issuer of a petition or answer or consent seeking reorganization or relief under the Bankruptcy
         Law or any other similar applicable law, or the consent by the Issuer or the Co-Issuer to the filing
         of any such petition or to the appointment of a receiver, liquidator, assignee, trustee, or
         sequestrator (or other similar official) of the Issuer or the Co-Issuer or of any substantial part of
         its property, or the making by the Issuer or the Co-Issuer of an assignment for the benefit of
         creditors, or the admission by the Issuer or the Co-Issuer in writing of its inability to pay its debts
         generally as they become due, or the taking of any action by the Issuer or the Co-Issuer in
         furtherance of any such action; or

                 (i)     one or more final judgments is rendered against the Issuer or the Co-Issuer that
         exceed in the aggregate U.S.$2,000,000 (or any lesser amount specified by Moody’s) and that
         remain unstayed, undischarged, and unsatisfied for 30 days after the judgments become
         nonappealable, unless adequate funds have been reserved or set aside for their payment, unless
         (except as otherwise specified in writing by Moody’s) the Rating Condition with respect to
         Moody’s is satisfied with respect thereto.

          If an Event of Default is continuing (other than an Event of Default described in clauses (e), (g),
 (h) or (i) under “Events of Default” above), the Trustee may, with the written consent of a Majority of
 the Controlling Class, and upon the written direction of a Majority of the Controlling Class shall, declare
 the principal of all the Notes to be immediately payable by notice to the Co-Issuers, and upon that
 declaration the unpaid principal of all the Notes, together with all its accrued and unpaid interest (and any
 applicable Defaulted Interest Charge), and other amounts payable under the Indenture, shall become
 immediately payable. The Reinvestment Period shall terminate upon a declaration of acceleration
 (subject to re-commencement as described below). If an Event of Default described in clauses (e), (g), (h)
 or (i) above under “Events of Default” occurs, all unpaid principal, together with all its accrued and
 unpaid interest (and any applicable Defaulted Interest Charge), of all the Notes, and other amounts
 payable under the Indenture, shall automatically become payable without any declaration or other act on
 the part of the Trustee or any Noteholder and the Reinvestment Period shall terminate automatically
 (subject to re-commencement as described below).

         At any time after the declaration of acceleration of maturity has been made and before a judgment
 or decree for payment of the money due has been obtained by the Trustee, a Majority of the Controlling
 Class by written notice to the Issuer, the Trustee and the Class E Certificate Paying Agent, may rescind
 the declaration and its consequences if:

         (i)     the Issuer has paid or deposited with the Trustee a sum sufficient to pay:

                  (A)      all unpaid installments of interest and principal on the Notes then due (other than
     as a result of the acceleration);

                 (B)    to the extent that payment of the interest is lawful, interest on any Deferred
     Interest and Defaulted Interest at the Applicable Note Interest Rate or Default Interest Rate, as
     applicable;

                 (C)     all Administrative Expenses of the Co-Issuers and other sums paid or advanced
     by the Trustee under the Indenture;

                 (D)      all unpaid Senior Management Fees; and



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                  (E)     all amounts then payable to any Hedge Counterparty; and

         (ii)     the Trustee has determined that all Events of Default, other than the nonpayment of the
                  interest on or principal of the Notes that have become due solely by such acceleration,
                  have been (A) cured, and a Majority of the Controlling Class by written notice to the
                  Trustee has agreed with that determination, or (B) waived as provided in the Indenture.

         No rescission shall affect any subsequent Default or impair any right resulting from the Default.

         If an Event of Default is continuing, the Trustee will retain the Collateral intact, collect, and cause
 the collection of the proceeds of the Collateral and make and apply all payments and deposits and
 maintain all accounts in respect of the Collateral and the Notes and any Hedge Agreements (other than
 amounts received under a Hedge Agreement that are used in putting a replacement hedge in place) in the
 manner described under “—Priority of Payments” and the Indenture unless either:

                  (i)     the Trustee determines (bid prices having been obtained with respect to each
         security contained in the Collateral from two nationally recognized dealers (or if there is only one
         dealer, that dealer and if there is no dealer, from a pricing service), selected and specified by the
         Portfolio Manager to the Trustee in writing, at the time making a market in those securities, and
         having computed the anticipated proceeds of sale or liquidation on the basis of the lower of the
         bid prices for each security) that the anticipated net proceeds of a sale or liquidation of the
         Collateral would (after deduction of the reasonable expenses of the sale or liquidation) be
         sufficient to discharge in full the amounts then due and unpaid on the Notes for principal and
         interest (including Defaulted Interest and Deferred Interest and any interest on the Defaulted
         Interest and the Deferred Interest), all Administrative Expenses, all other amounts (if any) then
         payable to any Hedge Counterparty by the Issuer (including any applicable termination payments)
         net of all amounts then payable to the Issuer by such Hedge Counterparty and all other amounts
         then payable under clause (3) under “—Priority of Payments—Interest Proceeds,” and a Majority
         of the Controlling Class agrees with that determination;

                  (ii)    in the case of an Event of Default other than pursuant to clause (d) of the
         definition thereof, the Holders of a Majority of each of the Class A-1 Notes, the Class A-2 Notes,
         the Class A-3 Notes, the Class A-4 Notes, the Class B Notes and the Class C Notes direct the sale
         and liquidation of the Collateral; or

                  (iii)   in the event of an Event of Default pursuant to clause (d) of the definition
         thereof, a Majority of the Class A Notes (voting together as a single Class) direct the sale and
         liquidation of the Collateral.

           During the continuance of an Event of Default, a Majority of the Controlling Class may institute
 and direct the time, method, and place of conducting any proceedings for any remedy available to the
 Trustee or for the exercise of any right of the Trustee under the Indenture if the direction does not conflict
 with any rule of law or with any express provision of the Indenture and the Trustee has been indemnified
 to its reasonable satisfaction. Any direction to the Trustee to undertake a sale of the Collateral shall be by
 the Holders of Notes representing the requisite percentage of the Aggregate Outstanding Amount of the
 Notes specified in the Indenture. The Trustee need not take any action that it determines might involve it
 in liability unless it has received an indemnity reasonably satisfactory to it against the liability.

          A Majority of the Controlling Class on behalf of the Holders of all the Notes before the time a
 judgment or decree for the payment of money due has been obtained by the Trustee, may waive any past
 Event of Default or event that, with notice or the lapse of time or both would become an Event of Default
 and its consequences, except such a default:



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         (i)     in the payment of principal or Redemption Price of any Note or in the payment of interest
                 (including Defaulted Interest, Deferred Interest, and any interest on Defaulted Interest or
                 Deferred Interest) on the Notes;

         (ii)    with respect to a provision of the Indenture that cannot be modified or amended without
                 the waiver or consent of the Holder of each Outstanding Note adversely affected by the
                 modification or amendment;

         (iii)   in the payment of amounts due to the Portfolio Manager, the Trustee, or the Hedge
                 Counterparty, which may only be waived with the consent of the affected party; or

         (iv)    arising as a result of an Event of Default described in clause (e), (g) or (h) under
                 “Events of Default.”

         No Holder of any Note may institute any proceeding judicial or otherwise with respect to the
 Indenture, or for the appointment of a receiver or trustee, or for any other remedy under the Indenture,
 unless:

         (i)     the Holder has previously given to the Trustee written notice of an Event of Default;

         (ii)    the Holders of not less than 25% of the Aggregate Outstanding Amount of the
                 Controlling Class shall have made written request to the Trustee to institute Proceedings
                 with respect to the Event of Default in its own name as Trustee under the Indenture and
                 the Holders have offered to the Trustee indemnity satisfactory to it against the expenses
                 and liabilities to be incurred in compliance with the request;

         (iii)   the Trustee for 30 days after its receipt of the notice, request, and offer of indemnity has
                 failed to institute a Proceeding; and

         (iv)    no direction inconsistent with the written request has been given to the Trustee during the
                 30 day period by a Majority of the Controlling Class.

         If the Trustee receives conflicting or inconsistent requests and indemnity from two or more
 groups of Holders of the Controlling Class, each representing less than a Majority of the Controlling
 Class, the Trustee shall take the action requested by the Holders of the largest percentage in Aggregate
 Outstanding Amount of the Controlling Class, notwithstanding any other provisions of the Indenture.

 Supplemental Indentures

         Without Consent of Holders

          Without the consent of the Holders of any Indenture Securities (except as specifically provided in
 clauses (7), (16) and clause (17) below) or the Holders of any Class E Certificates, but with the consent of
 the parties the consent of which is required as described in the following paragraph, the Co-Issuers, when
 authorized by resolutions of the respective Boards of Directors, and the Trustee, at any time and from
 time to time subject to the requirement provided below with respect to satisfaction of the Rating
 Condition, may enter into one or more indentures supplemental to the Indenture, in form satisfactory to
 the Trustee, for any of the following purposes:

         (1)     to evidence the succession of another person to the Issuer or the Co-Issuer and the
                 assumption by the successor person of the obligations of the Issuer or the Co-Issuer under
                 the Indenture and in the Indenture Securities;



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       (2)    to add to the covenants of the Co-Issuers or the Trustee for the benefit of the Holders of
              the Indenture Securities or to surrender any right in the Indenture conferred on the Co-
              Issuers;

       (3)    to convey, transfer, assign, mortgage, or pledge any property to the Trustee, or add to the
              conditions, limitations or restrictions on the authorized amount, terms and purposes of the
              issue, authentication and delivery of the Indenture Securities;

       (4)    evidence and provide for the acceptance of appointment under the Indenture by a
              successor Trustee and to add to or change any of the provisions of the Indenture
              necessary to facilitate the administration of the trusts under the Indenture by more than
              one Trustee, pursuant to the requirements of the Indenture;

       (5)    correct or amplify the description of any property at any time subject to the lien of the
              Indenture, or to better assure, convey, and confirm to the Trustee any property subject or
              required to be subject to the lien of the Indenture (including all actions appropriate as a
              result of changes in law) or to subject to the lien of the Indenture any additional property;

       (6)    modify the restrictions on and procedures for resales and other transfers of the Indenture
              Securities to reflect any changes in applicable law (or its interpretation) or to enable the
              Co-Issuers to rely on any less restrictive exemption from registration under the Securities
              Act or the Investment Company Act or to remove restrictions on resale and transfer to the
              extent not required under the Indenture;

       (7)    with the consent of the Portfolio Manager and the consent of a Majority of the
              Controlling Class (by Act of the Holders of the Controlling Class), to modify the
              restrictions on the sales of Collateral Obligations described in “Security for the
              NotesSale of Collateral Obligations; Reinvestment of Principal Proceeds” or the
              Eligibility Criteria described in “Security for the Notes Eligibility Criteria” (and the
              related definitions) in a manner not materially adverse to the Holders of any Class of
              Securities as evidenced by an opinion of counsel (which may be supported as to factual
              (including financial and capital markets) matters by any relevant certificates and other
              documents necessary or advisable in the judgment of counsel delivering the opinion) or a
              certificate of an officer of the Portfolio Manager to the effect that the modification would
              not be materially adverse to the Holders of any Class of Notes or Class E Certificates;

       (8)    make any changes required by (i) the Irish Stock Exchange (so long as any of the Notes
              are listed thereon) or (ii) the Cayman Islands Stock Exchange (so long as any of the Class
              E Certificates, Class Q-1 Securities or Class P Securities are listed thereon) or (iii) any
              other stock exchange on which any Class of Securities is listed in order to permit or
              maintain the listing of any Securities thereon;

       (9)    otherwise to correct any inconsistency or cure any ambiguity or errors in the Indenture or
              to conform the Indenture to this Offering Memorandum;

       (10)   accommodate the issuance of the Securities in book-entry form through the facilities of
              DTC or otherwise;

       (11)   to take any appropriate action to prevent the Issuer, the Holders of Securities or the
              Trustee from becoming subject to withholding or other taxes, fees, or assessments or to
              prevent the Issuer from being treated as being engaged in a U.S. trade or business or
              otherwise being subject to U.S. federal, state, or local income tax on a net income basis,
              so long as the action will not cause the Holders of any Securities to be adversely affected


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              to any material extent by any change to the timing, character, or source of the income
              from the Securities, as evidenced by an opinion of counsel (which may be supported as to
              factual (including financial and capital markets) matters by any relevant certificates and
              other documents necessary or advisable in the judgment of counsel delivering the
              opinion);

       (12)   to authorize the appointment of any listing agent, transfer agent, paying agent, or
              additional registrar for any Class of Securities appropriate in connection with the listing
              of any such Class of Securities on any stock exchange, and otherwise to amend the
              Indenture to incorporate any changes required or requested by any governmental
              authority, stock exchange authority, listing agent, transfer agent, paying agent, or
              additional registrar for any Class of Securities in connection with its appointment, so long
              as the supplemental indenture would not materially and adversely affect any Holder of
              Securities, as evidenced by an opinion of counsel (which may be supported as to factual
              (including financial and capital markets) matters by any relevant certificates and other
              documents necessary or advisable in the judgment of counsel delivering the opinion) or a
              certificate of an Authorized Officer of the Portfolio Manager, to the effect that the
              modification would not be materially adverse to the Holders of any Class of the
              Securities;

       (13)   to amend, modify, enter into, or accommodate the execution of any contract relating to a
              Synthetic Security (including posting collateral under a Synthetic Security Agreement);

       (14)   to modify certain representations as to Collateral and Class P Collateral in the Indenture
              in order that it may be consistent with applicable laws or Rating Agency requirements;

       (15)   to evidence any waiver by any Rating Agency as to any requirement or condition, as
              applicable, of the Rating Agency in the Indenture;

       (16)   with the consent of a Majority of the Controlling Class (by Act of the Holders of the
              Controlling Class), modify the calculation of the Collateral Quality Tests, Concentration
              Limitations or the Coverage Tests or related definitions to correspond with written
              changes in the guidelines, methodology or standards established by the Rating Agencies
              or as otherwise permitted by the Rating Agencies;

       (17)   (a) with the consent of a Majority of the Class A-1A Notes (by Act of the Holders of the
              Class A-1A Notes), to amend any provisions herein relating solely to the manner, timing
              and conditions of Borrowings; and (b) with the consent of a Majority of the Class A-1B
              Notes (by Act of the Holders of the Class A-1B Notes), to amend any provisions herein
              relating solely to the manner, timing and conditions of Drawdowns;

       (18)   to facilitate the issuance of participation notes, combination notes, combination securities
              and other similar securities;

       (19)   to facilitate hedging transactions;

       (20)   to facilitate the ability of the Issuer to lend Collateral Obligations pursuant to a Securities
              Lending Agreement;

       (21)   to modify any provision to facilitate an exchange of one security for another security of
              the same issuer or issuers that has substantially identical terms except transfer
              restrictions, including to effect any serial designation relating to the exchange;



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         (22)    with the consent of the Portfolio Manager, to enter into any additional agreements not
                 expressly prohibited by the Indenture as well as any amendment, modification, or waiver
                 if the Issuer determines that the amendment, modification, or waiver would not, upon or
                 after becoming effective, materially and adversely affect the rights or interest of the
                 Holders of any Class of Securities, as evidenced by an opinion of counsel (which may be
                 supported as to factual (including financial and capital markets) matters by any relevant
                 certificates and other documents necessary or advisable in the judgment of counsel
                 delivering the opinion) or a certificate of an officer of the Portfolio Manager to the effect
                 that the modification would not be materially adverse to the Holders of any Class of
                 Securities; or

         (23)    provide for the issuance of additional Class E Certificates to the extent permitted by the
                 Class E Certificate Documents and to extend to such additional Class E Certificates the
                 benefits applicable to the Class E Certificates under the Indenture and the Class E
                 Certificate Documents.

          Without the consent of the Portfolio Manager, no supplemental indenture may be entered into that
 would reduce the rights, decrease the fees or other amounts payable to the Portfolio Manager under the
 Indenture or increase the duties or obligations of the Portfolio Manager. The Trustee is authorized to join
 in the execution of any such supplemental indenture and to make any further appropriate agreements and
 stipulations that may be in the agreements, but the Trustee shall not be obligated to enter into any such
 supplemental indenture that affects the Trustee’s own rights, duties, liabilities, or immunities under the
 Indenture or otherwise, except to the extent required by law. Unless notified by a Majority of any Class
 of Securities that the Class of Securities would be materially and adversely affected, the Trustee may rely
 on a certificate of the Portfolio Manager and an opinion of counsel (which may be supported as to factual
 (including financial and capital markets) matters by any relevant certificates and other documents
 necessary or advisable in the judgment of counsel delivering the opinion) as to whether the interests of
 any Holder of Securities would be materially and adversely affected by any such supplemental indenture.
 The Trustee will give notice of any such supplemental indenture to the Holders of Indenture Securities
 and to the Class E Certificate Paying Agent (for forwarding to the Holders of Class E Certificates) at least
 15 Business Days before execution thereof (or 60 calendar days before execution thereof, in the case of a
 supplemental indenture pursuant to clause (7), (16) and (17) above).

          Except for a supplemental indenture described in clause (23) above, if any Outstanding Securities
 are rated by a Rating Agency, the Trustee shall enter into a supplemental indenture without the consent of
 Holders only if either (1) the Rating Condition with respect to each Rating Agency is satisfied with
 respect to the supplemental indenture or (2) the Portfolio Manager and the Holders of 100% in Aggregate
 Outstanding Amount of each Class of Indenture Securities the ratings on which would be reduced or
 withdrawn consent to the supplemental indenture. Prior to the entry into any supplemental Indenture with
 respect to which a Rating Confirmation for one or more Classes of Indenture Securities is not expected to
 be delivered, the Trustee shall provide written notice to each Holder of each Outstanding Indenture
 Security informing them of such fact.

          At the cost of the Co-Issuers, the Trustee will provide to each Rating Agency (so long as any
 rated Notes are Outstanding), the Holders of the Notes and the Class E Certificate Paying Agent (for
 forwarding to the Holders of Class E Certificates), the Irish Stock Exchange (if and for so long as any
 Class of Notes is listed thereon), the Cayman Islands Stock Exchange (if and for so long as any Class E
 Certificates, Class Q-1 Securities or Class P Securities are listed thereon) and each Hedge Counterparty a
 copy of any such proposed supplemental indenture at least 15 Business Days before its execution by the
 Trustee.




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         With Consent of Holders

          If the Rating Condition is satisfied with respect to each Rating Agency, with the consent of (a) the
 Portfolio Manager if the supplemental indenture would reduce the rights, decrease the fees or other
 amounts payable to it under the Indenture or increase the duties or obligations of the Portfolio Manager,
 (b) a Majority of each Class of Indenture Securities adversely affected thereby, by Act of the Holders of
 each such Class of Indenture Securities, and (c) a Majority of the Class E Certificates adversely affected
 thereby, the Trustee and the Co-Issuers may enter into a supplemental indenture to add any provisions to,
 or change in any manner, or eliminate any of the provisions of, the Indenture or modify in any manner the
 rights of the Holders of the Securities under the Indenture.

         Any proposed supplemental indenture that would also necessitate a change to the Issuer Charter
 may only be made after a Special Resolution (as defined in the Issuer Charter) has been passed to permit
 the Issuer’s constitutional documents to be altered to conform them to the proposed change to the
 Indenture as certified to the Trustee by the Issuer.

        Notwithstanding anything in the Indenture to the contrary, without the consent of the Holder of
 each Outstanding Note or Class E Certificates adversely affected thereby, no supplemental indenture
 shall:

                  (i)      change the Stated Maturity of the principal of or the due date of any installment
         of interest on any Note or of any payment to the Class E Certificate Paying Agent for payment to
         the Holders of the Class E Certificates, reduce the principal amount or the rate of interest on any
         Note, or the Default Interest Rate or the Redemption Price with respect to any Note or Class E
         Certificate, or change the earliest date on which Notes of any Class or Class E Certificate may be
         redeemed at the option of the Issuer, change the provisions of the Indenture relating to the
         application of proceeds of any Collateral to the payment of principal of or interest on the Notes,
         or to payment to the Class E Certificate Paying Agent for payment to the Holders of the Class E
         Certificates, or change any place where, or the coin or currency in which, principal, interest or
         other distributions on Securities are paid or impair the right to institute suit for the enforcement of
         any such payment on or after their Stated Maturity (or, in the case of redemption, on or after the
         applicable Redemption Date);

                 (ii)    reduce the percentage of the Aggregate Outstanding Amount of Holders of Notes
         of each Class or Holders of Class E Certificates whose consent is required for the authorization of
         any such supplemental indenture or for any waiver of compliance with certain provisions of the
         Indenture or certain defaults under the Indenture or their consequences provided for in the
         Indenture;

                  (iii)   permit the creation of any lien ranking prior to or on a parity with the lien of the
         Indenture with respect to any part of the Collateral or Class P Collateral or terminate the lien on
         any property at any time subject hereto or deprive the Holder of any Note of the security afforded
         by the lien of the Indenture;

                 (iv)     reduce the percentage of the Aggregate Outstanding Amount of Holders of Notes
         of each Class whose consent is required to direct remedies or to sell or liquidate the Collateral
         pursuant to the Indenture;

                 (v)     modify any of the provisions of the Indenture with respect to supplemental
         indentures or to provide that certain other provisions of the Indenture cannot be modified or
         waived without the consent of the Holder of each Outstanding Note and Class E Certificate
         affected thereby;



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                 (vi)     modify the definition of “Outstanding,” “Controlling Class,” or “Majority,” or
         the Priority of Payments in the Indenture; or

                  (vii)   modify any of the provisions of the Indenture in such a manner as to affect the
         calculation of the amount of any payment of Redemption Price or of interest or principal on any
         Note or any payment to the Class E Certificate Paying Agent for the payment of dividends or
         other payments on the Class E Certificates on any Payment Date or to affect the rights of the
         Holders of Notes or Class E Certificates to the benefit of any provisions for the redemption of the
         Notes or the Class E Certificates contained in the Indenture.

         No supplemental indenture may modify the terms of the Class Q-1 Securities as such in a manner
 that would adversely affect the Class Q-1 Securities without the prior written consent of a majority of the
 stated amount of the Class Q-1 Securities or the consent of the Holders of each Outstanding Class Q-1
 Security adversely affected thereby as set forth above. Except for any proposed such supplement that
 would affect the terms of the Class Q-1 Securities as such and except as set forth above, Holders of Class
 Q-1 Securities shall be entitled to vote with respect to any supplemental indenture only as Holders of the
 respective related components.

         No supplemental indenture may modify the terms of the Class P Securities as such in a manner
 that would adversely affect the Class P Securities without the prior written consent of a majority of the
 stated amount of the Class P Securities or the consent of the Holders of each Outstanding Class P Security
 adversely affected thereby as set forth above. Except for any proposed such supplement that would affect
 the terms of the Class P-1 Securities and/or Class P-2 Securities, as applicable, as such and except as set
 forth above, Holders of Class P Securities shall be entitled to vote with respect to any supplemental
 indenture only as Holders of the related Class E Certificate Component.

         Not later than 15 Business Days prior to the execution of any proposed supplemental indenture
 pursuant to the above provision, the Trustee, at the expense of the Co-Issuers, shall mail to the Holders of
 the Notes, the Portfolio Manager, the Class E Certificate Paying Agent (for forwarding to the Holders of
 Class E Certificates) and each Rating Agency (so long as any rated Securities are Outstanding) a copy of
 such supplemental indenture and shall request any required consent from the applicable Holders of
 Securities to be given within the Initial Consent Period. Any consent given to a proposed supplemental
 indenture by the Holder of any Securities shall be irrevocable and binding on all future Holders or
 beneficial owners of that Security, irrespective of the execution date of the supplemental indenture. If the
 Holders of less than the required percentage of the Aggregate Outstanding Amount of the relevant
 Securities consent to a proposed supplemental indenture within the Initial Consent Period, on the first
 Business Day after the Initial Consent Period, the Trustee shall notify the Issuer and the Portfolio
 Manager which Holders of Securities have consented to the proposed supplemental indenture and, which
 Holders (and, to the extent such information is reasonably available to the Trustee, which beneficial
 owners) have not consented to the proposed supplemental indenture. If it intends to exercise its
 Amendment Buy-Out Option, the Amendment Buy-Out Purchaser shall so notify the Trustee (which
 notice shall designate a date for the Amendment Buy-Out to occur no earlier than 10 Business Days after
 the date of such notice) no later than five (5) Business Days after so being notified by the Trustee and the
 Trustee shall mail such notice to all Holders of Notes and the Class E Certificate Paying Agent (for
 forwarding to the Holders of Class E Certificates). Any Non-Consenting Holder may give consent (by
 Act of such Holder), to the related proposed supplemental indenture until the 5th Business Day prior to the
 date of the Amendment Buy-Out designated by the Amendment Buy-Out Purchaser, and in such case
 shall cease to be a Non-Consenting Holder for purposes of the Amendment Buy-Out. If the Amendment
 Buy-Out Purchaser exercises its Amendment Buy-Out Option and purchases the applicable Securities, the
 Amendment Buy-Out Purchaser, as Holder or beneficial owner of the applicable Securities, may consent
 to the related proposed supplemental indenture within five (5) Business Days of the Amendment Buy-
 Out.



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         It shall not be necessary for any Act of Holders of Securities under the above provision to
 approve the particular form of any proposed supplemental indenture, but it shall be sufficient if the Act or
 consent approves its substance.

         At the cost of the Co-Issuers, for so long as any Notes are Outstanding and rated by a Rating
 Agency, the Trustee will provide to the Rating Agency a copy of any proposed supplemental indenture at
 least 15 Business Days before its execution by the Trustee and a copy of the executed supplemental
 indenture will be mailed to the Holders of the Indenture Securities, the Portfolio Manager, the Class E
 Certificate Paying Agent (for forwarding to the Holders of the Class E Certificates) and each Rating
 Agency after its execution.

         Additional Issuance of Class E Certificates.

          The Indenture will provide that, at any time during the Reinvestment Period, the Issuer may issue
 and sell additional Class E Certificates and use the proceeds to purchase additional Collateral Obligations
 or as otherwise permitted under the Class E Certificate Documents and the Indenture; provided, that the
 following conditions are met: (a) the terms of the Class E Certificates issued must be identical to the
 terms of previously issued Class E Certificates; (b) the net proceeds of any additional Class E Certificates
 are used to purchase additional Collateral Obligations; and (c) an opinion of tax counsel of nationally
 recognized standing in the United States experienced in such matters shall be delivered to the Trustee to
 the effect that such additional issuance will not result in the Issuer being deemed to engage in a trade or
 business in the United States for U.S. federal income tax purposes. Such additional Class E Certificates
 may be offered at prices that differ from the applicable initial offering price; provided that such initial
 offering price shall not be below 100% of the face amount of the additional Class E Certificates being
 offered.

           Any additional Class E Certificates issued will, to the extent reasonably practicable, be offered
 first to the existing Holders of the Class E Certificates, in such amounts as are necessary to preserve their
 pro rata holdings of Class E Certificates. By its acceptance of the Class E Certificates, each Holder of a
 Class E Certificate agrees that additional Class E Certificates can be issued in accordance with the Class
 E Certificate Documents and the Indenture without consent of any Holder of the Securities.

         The Indenture does not permit the issuance of additional Class A-1 Notes, Class A-2 Notes, Class
 A-3 Notes, Class A-4 Notes, Class B Notes and Class C Notes or other obligations with terms similar to
 those of such Classes of Notes.

 Amendment Buy-Out

          In the case of any supplemental indenture that requires the consent of one or more Holders of
 Securities, the Amendment Buy-Out Purchaser shall have the right, but not the obligation, to purchase
 from Non-Consenting Holders all Securities held by such Holders of the Class of Securities whose
 consent was solicited with respect to such supplemental indenture (the “Amendment Buy-Out Option”)
 for the applicable Amendment Buy-Out Purchase Price. If such option is exercised, the Amendment Buy-
 Out Purchaser must purchase all such Securities of Non-Consenting Holders, regardless of the applicable
 percentage of the Aggregate Outstanding Amount of the Securities the consent of whose Holders is
 required for such supplemental indenture (an “Amendment Buy-Out”). If the solicited consent only
 affects one Class Q-1 Component of the Class Q-1 Securities, the Amendment Buy-Out Purchaser must
 purchase, at the Non-consenting Holder’s option, its Class Q-1 Security as a whole or solely the affected
 Class Q-1 Component. In the case of the Class P Securities of Non-consenting Holders, such Class P
 Securities will be deemed exchanged for their respective components, only the Class E Certificate
 represented by the related Class E Certificate Component must be sold to the Amendment Buy-Out
 Purchaser for a price equal to the Amendment Buy-Out Price, which will be distributed to such Non-
 consenting Holders, and such Non-Consenting Holders will receive a distribution in kind of the related


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 pro rata amount of the Class P U.S. Treasury Component. By its acceptance of its Securities under the
 Indenture or the Class E Certificate Documents, as applicable, each Holder of Securities agrees that if the
 Amendment Buy-Out Option is exercised, any Non-Consenting Holder will be required to sell its
 applicable Securities to the Amendment Buy-Out Purchaser. In the case of the Class A-1 Notes, if an
 Amendment Buy-Out occurs on a day (the “Amendment Buy-Out Trade Date”) other than a Payment
 Date, the settlement of such Amendment Buy-Out will be deferred until the next following Payment Date
 (and, for the avoidance of doubt, the Non-Consenting Holder will be entitled to any payments received on
 such Payment Date and the Amendment Buy-Out Purchase Price will be calculated as of such Payment
 Date); provided that all other rights of a Holder or Beneficial Owner of such securities will be deemed
 transferred to the Amendment Buy-Out Purchaser as of the Amendment Buy-Out Trade Date. Neither the
 Amendment Buy-Out Purchaser nor any other Person shall have any liability to any Holder or beneficial
 owner of Securities as a result of an election by the Amendment Buy-Out Purchaser not to exercise the
 Amendment Buy-Out Option.

          All purchases made pursuant to an Amendment Buy-Out Option individually and in the aggregate
 must comply with the applicable transfer restrictions for the relevant Securities set forth in “Transfer
 Restrictions” and all applicable laws, rules and regulations (including, without limitation, any rules,
 regulations and procedures of any securities exchange, self-regulatory organization or clearing agency).

 Voting Rights of the Class E Certificates

          Holders of the Class E Certificates will have no voting rights, either general or special, of the
 Issuer, except as set forth in the Class E Certificate Documents, as required by Cayman Islands law or as
 otherwise described herein.

 Notices

          Notices to the Holders of the Securities will be given by first-class mail, postage prepaid, to the
 registered Holders of the Notes at their respective addresses appearing in the Indenture Register and the
 Class E Certificate Paying Agent (for forwarding to the Holders of the Class E Certificates). In addition,
 for so long as one or more Classes of Notes are listed on the Irish Stock Exchange and so long as the rules
 of such exchange so require, notices to the Holders of such Notes shall also be given by publication in the
 Daily Official List. If and for so long as any Class E Certificates, Class Q-1 Securities or Class P
 Securities are listed on the Cayman Islands Stock Exchange and the rules of the exchange so require,
 notice will also be given to the Cayman Islands Stock Exchange.

 Certain Covenants

           The Indenture contains certain covenants restricting the conduct of the Co-Issuers, including
 (i) restrictions on consolidations, mergers and transfers or conveyances of assets involving either Co-
 Issuer, (ii) restrictions on incurrence of debt other than the Notes and certain obligations incidental to the
 performance by each Co-Issuer of its obligations under the Indenture, (iii) restrictions on the ability of
 each Co-Issuer to conduct activities inconsistent with its special-purpose nature, (iv) certain restrictions
 on amendments of the Collateral Administration Agreement and the Management Agreement and (v)
 certain tax-related restrictions.

 Cancellation

          All Securities that are surrendered for payment, registration of transfer, exchange, or redemption,
 or lost or stolen will forthwith be canceled and may not be reissued or resold.




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 No Gross-Up

         All payments made by the Issuer under the Securities will be made without any deduction or
 withholding for or on account of any tax unless the deduction or withholding is required by any
 applicable law, as modified by the practice of any relevant governmental revenue authority, then in effect.
 If the Issuer is so required to deduct or withhold, then the Issuer will not be obligated to pay any
 additional amounts in respect of the withholding or deduction.

 Petitions for Bankruptcy

          The Indenture provides that the Trustee, each Hedge Counterparty, the Portfolio Manager and the
 Holders of the Notes may not cause the filing of a petition in bankruptcy against the Issuer or the Co-
 Issuer before one year and one day have elapsed since the final payments to the Holders of all Notes (and
 the reduction of the Commitment to zero in the case of the Class A-1A Notes) or, if longer, the applicable
 preference period then in effect, including any period established pursuant to the laws of the Cayman
 Islands.

 Standard of Conduct

          The Indenture provides that, in exercising any of its or their voting rights, rights to direct and
 consent or any other rights as a Noteholder under the Indenture, subject to the terms and conditions of the
 Indenture, a Noteholder shall not have any obligation or duty to any Person or to consider or take into
 account the interests of any Person and shall not be liable to any Person for any action taken by it or them
 or at its or their direction or any failure by it or them to act or to direct that an action be taken, without
 regard to whether the action or inaction benefits or adversely affects any Noteholder, the Issuer, or any
 other Person, except for any liability to which the Noteholder may be subject to the extent the same
 results from the Noteholders taking or directing an action, or failing to take or direct an action, in bad
 faith or in violation of the express terms of the Indenture.

 Satisfaction and Discharge of Indenture

         The Indenture will be discharged with respect to the Indenture Securities and the Collateral and
 the Class P Collateral upon delivery to the Trustee for cancellation of all of the Indenture Securities or,
 within certain limitations (including the obligation to pay interest on or principal of the Indenture
 Securities) upon deposit with the Trustee of funds sufficient for the payment or redemption thereof and
 the payment by the Co-Issuers of all other amounts due under the Indenture.

 Trustee

          JPMorgan Chase Bank, National Association, will be the Trustee under the Indenture. The Co-
 Issuers, the Portfolio Manager and their respective Affiliates may maintain other banking relationships in
 the ordinary course of business with the Trustee and its Affiliates. The payment of the fees and expenses
 of the Trustee relating to the Notes is solely the obligation of the Issuer. The payment of the fees and
 expenses ranks higher in the Priority of Payments than payments to the Holders of the Notes. The Trustee
 and its Affiliates may receive compensation in connection with the investment of trust assets in certain
 Eligible Investments as provided in the Indenture. Eligible Investments may include investments for
 which the Trustee or its affiliates provide services. The Indenture contains provisions for the
 indemnification of the Trustee for any loss, liability or expense incurred without negligence, willful
 misconduct or bad faith arising out of or in connection with the acceptance or administration of the
 Indenture.

        Pursuant to the Indenture, as security for the payment by the Issuer of the compensation and
 expenses of the Trustee and any sums the Trustee may be entitled to receive as indemnification by the


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 Issuer, the Issuer will grant the Trustee a senior lien on the Collateral, which is senior to the lien of the
 holders of the Secured Obligations on the Collateral.

         Pursuant to the Indenture, the Trustee may resign at any time by providing 30 days’ written notice
 and the Trustee may be removed at any time by a Majority of the Controlling Class, or by order of a court
 of competent jurisdiction. However, no resignation or removal of the Trustee will become effective until
 the acceptance of appointment by a successor Trustee pursuant to the terms of the Indenture.

 Governing Law

         The Indenture Securities (except to the extent of any Class E Certificate Component), the
 Indenture, the Class E Certificate Paying Agency Agreement, the Management Agreement, the Collateral
 Administration Agreement, the Purchase Agreement, the Placement Agency Agreement, the Class A-1A
 Note Purchase Agreement, the Class A-1B Note Purchase Agreement, the Securities Lending
 Agreements, and the Hedge Agreements will be governed by the laws of the State of New York. The
 Administration Agreement, the Issuer Charter and the Class E Certificates will be governed by the laws of
 the Cayman Islands.

          Subject to the provisions relating to submission of jurisdiction contained in each of the
 agreements listed above that are governed by the laws of the State of New York, as a general matter, the
 parties of such agreements have agreed to submit to the non-exclusive jurisdiction of any New York State
 or federal court sitting in the Borough of Manhattan in The City of New York, and that all claims in
 respect of the action or proceeding may be heard and determined in the New York State or federal court.

 Method of Payments

          Payments of principal and interest on any Indenture Security or payments on or in respect of the
 Class E Certificates (including, in each case, any Redemption Price paid on the applicable Redemption
 Date) and of any payments on any Notes or Class E Certificates will be made to the person in whose
 name the related Note or Class E Certificate is registered fifteen days before the applicable Payment Date
 (the “Record Date”). Payments will be made (i) in the case of a Global Security, to the Depositary or its
 designee and to the Holder or its nominee with respect to a Certificated Security, by wire transfer in
 immediately available funds to a United States dollar account maintained by the Depositary or its
 nominee with respect to a Global Security and to the Holder or its designee with respect to a Certificated
 Security if the Holder has provided written wiring instructions to the Trustee (or, in the case of the Class
 E Certificates, the Class E Certificate Paying Agent) on or before the related Record Date or, (ii) if
 appropriate wiring instructions are not received by the related Record Date, by check drawn on a U.S.
 bank mailed to the address of the Holder in the Indenture Register (or, in the case of the Class E
 Certificates, the Class E Certificate register). Final payments on the Indenture Securities or Class E
 Certificates will be made against surrender of the related Indenture Securities or Class E Certificates at
 the office designated by the Trustee or the Class E Certificate Paying Agent. None of the Issuer, the Co-
 Issuer, the Trustee, the Class E Certificate Paying Agent, the Portfolio Manager, the Placement Agent,
 any paying agent, or any of their respective affiliates will have any responsibility or liability for any
 aspects of the records maintained by the Depositary or its nominee or any of its direct or indirect
 participants (including Euroclear or Clearstream or any of their respective direct or indirect participants)
 relating to payments made on account of beneficial interests in a Global Security.

         The Co-Issuers expect that the Depositary or its nominee, upon receipt of any payment of
 principal or interest in respect of a Global Security held by the Depositary or its nominee, will credit
 participants’ accounts with payments in amounts proportionate to their respective beneficial interests in
 the Global Security as shown on the records of the Depositary or its nominee. The Co-Issuers also expect
 that payments by participants (i.e., direct participants) to owners of beneficial interests in a Global
 Security held through the participants (i.e., indirect participants) will be governed by standing instructions


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 and customary practices, as is now the case with securities held for the accounts of customers registered
 in the names of nominees for the customers. The payments will be the responsibility of the participants.

 Class E Certificate Paying Agency Agreement

          Pursuant to the Class E Certificate Paying Agency Agreement, the Class E Certificate Paying
 Agent will perform various fiscal services with respect to the Class E Certificates on behalf of the Issuer,
 including the maintenance of the Class E Certificates Distribution Account and the making of
 distributions on the Class E Certificates. The Class E Certificate Paying Agent will act as transfer agent
 with respect to the Class E Certificates, deliver or request the Trustee to deliver all Monthly Reports and
 Valuation Reports prepared pursuant to the Indenture to the Holders of the Class E Certificates, and
 deliver, or shall cause the Trustee to deliver, a copy of any other notice or information it receives from the
 Trustee under the Indenture to the Holders of the Class E Certificates, in each case by first-class mail,
 postage prepaid, to each Holder of a Class E Certificate at the address appearing in the Class E Certificate
 register. The payment of the fees and expenses of the Class E Certificate Paying Agent is solely the
 obligation of the Issuer. The Class E Certificate Paying Agency Agreement contains provisions for the
 indemnification of the Class E Certificate Paying Agent for any loss, liability or expense incurred without
 gross negligence, willful misconduct or bad faith on its part, arising out of or in connection with the
 performance of its function under the Class E Certificate Paying Agency Agreement.

         On the Scheduled Class E Certificates Redemption Date, the Issuer is scheduled to redeem the
 Class E Certificates for a redemption price equal to all amounts distributable to the Class E Certificate
 Paying Agent for distribution to the Holders of the Class E Certificates as provided under “—Priority of
 Payments,” unless the Class E Certificates have been redeemed earlier through an optional redemption as
 described herein or otherwise.

          The Class E Certificate Paying Agency Agreement will be governed by, and construed in
 accordance with, the laws of the State of New York. The rights of the Holders of the Class E Certificates
 will be governed by, and construed in accordance with, the laws of the Cayman Islands.

 The Issuer Charter

          The following summary describes certain provisions of the Issuer Charter relating to the Class E
 Certificates that are not referred to elsewhere in this Offering Memorandum. For purposes of Cayman
 Islands law, the Class E Certificates will be characterized as shares of the Issuer.

         Voting Rights

         Other than as provided below, only the holders of the Ordinary Shares shall have the right to
 receive notice of, attend at and vote as a shareholder of the Issuer at any general meeting of the Issuer.
 Every holder of an Ordinary Share present at any meeting shall, on a show of hands, be entitled to one
 vote and, on a poll, shall be entitled to one vote per Ordinary Share held by such holder.

          The Holders of the Class E Certificates shall have the right to receive notice of, attend at and vote
 as a shareholder of the Issuer at any general meeting of the Issuer only in respect of a resolution which
 relates to any circumstance or matter which under the Indenture, the Class E Certificate Documents or the
 Management Agreement can take place or occur only at the direction of the Holders of the Class E
 Certificates (a “Class E Certificate Vote” ). Every Holder of Class E Certificates present shall, on a
 show of hands, be entitled to one vote and, on a poll, shall be entitled to one vote per Class E Certificate
 held by such Holder except that, in relation to a Class E Certificate Vote relating to certain matters (as set
 out in the Indenture) Class E Certificates held by certain Holders (as set out in the Indenture), shall be
 ignored.



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         Liquidation

         In the event of any voluntary or involuntary liquidation, dissolution or winding up of the Issuer:

         (i)      the Holders of the Ordinary Shares at the time outstanding will be entitled to receive out
 of the assets of the Issuer available for distribution to shareholders, before any distribution of assets is
 made to Holders of the Class E Certificates, an amount equal to U.S.$2.00 in respect of each Ordinary
 Share held by each such holder; and

         (ii)    the Holders of the Class E Certificates at the time Outstanding will be entitled to the
 balance of the assets of the Issuer available for distribution to shareholders, after distribution of amounts
 due to holders of Ordinary Shares under the above subparagraph, pro rata according to the number of
 Class E Certificates held by each such holder.

         If the assets available for distribution to holders of the Ordinary Shares are not sufficient to pay to
 such holders U.S.$2.00 in respect of each Ordinary Share, the available assets shall be distributed to
 holders of the Ordinary Shares pro rata according to the number of Ordinary Shares held by each such
 holder.

         Transfer

          The rights of a Holder of a Class E Certificate to transfer such Class E Certificate are subject to
 restrictions set out in the Class E Certificate Documents and as described in “Transfer Restrictions.”

         Petitions for Bankruptcy

          The Issuer Charter provides that the Holders of Class E Certificates will not have the right to
 petition or to pass a resolution for the winding up of the Issuer.




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                                          USE OF PROCEEDS
         The Securities will be issued and sold for Cash on the Closing Date. The gross proceeds from the
 issuance of such Securities and the Ordinary Shares on the Closing Date are expected to equal
 approximately U.S.$838 million and will be used by the Issuer to:

        x purchase a portfolio of Collateral Obligations (including by entering into Synthetic Security
           Agreements (and correspondingly funding of the related accounts)), including terminate
           participations outstanding under the Warehouse Agreement;

        x fund the Revolving Reserve Account to cover any future draws on Revolving Loans and
           Delayed Drawdown Loans;

        x enter into any Hedge Agreements, as applicable;

        x enter into any Securities Lending Agreements (and correspondingly to fund the Securities
           Lending Account);

        x fund the Closing Date Expense Account and the Interest Reserve Account;

        x purchase the Class P-1 U.S. Treasury Component for deposit in the Class P-1 U.S. Treasury
           Component Account;

        x purchase the Class P-2 U.S. Treasury Component for deposit in the Class P-2 U.S. Treasury
           Component Account; and

        x undertake certain permitted incidental activities.


                                     SECURITY FOR THE NOTES
       The Notes and the Issuer’s obligations under the Hedge Agreements and the Management
 Agreement will be secured by the following:

                 (i)     the Collateral Obligations and all Workout Assets;

                 (ii)     the Custodial Account, the Collection Account, the Payment Account, the
        Revolving Reserve Account, the Interest Reserve Account, the Synthetic Security Collateral
        Account, the Hedge Counterparty Collateral Account, the Closing Date Expense Account, the
        Expense Reimbursement Account and the Securities Lending Account (such accounts,
        collectively, the “Issuer Accounts”), Eligible Investments purchased with funds on deposit in the
        Issuer Accounts, and all income from the investment of funds in the Issuer Accounts;

                 (iii)   the Synthetic Security Counterparty Account and assets included therein, subject
         to the terms of the related Synthetic Security (provided, however, that any such rights in any
         Synthetic Security Counterparty Account shall be held in trust by the Trustee (or securities
         intermediary) first to secure the Issuer’s payment obligations to the relevant Synthetic Security
         Counterparty and second for the benefit of the Secured Parties);

               (iv)     the Management Agreement, the Securities Lending Agreements, the Hedge
         Agreements as set forth in the Indenture and the Collateral Administration Agreement;

                 (v)     all Cash or money delivered to the Trustee (or its bailee); and

                 (vi)    all proceeds with respect to the foregoing (collectively, the “Collateral”).


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         For the avoidance of any doubt, Collateral will exclude amounts released from the Trustee’s lien
 in connection with certain Synthetic Securities, Hedge Agreements and Securities Lending Agreements in
 accordance with the Indenture.

          In addition, the Indenture provides that the Issuer, to secure the Issuer’s obligations under the
 Class P-1 Securities to pay in full the Class P-1 Nominal Principal Outstanding, will grant to the Trustee,
 solely for the benefit of the Holders of the Class P-1 Securities a perfected security interest in the Class P-
 1 Collateral that is of first priority. For the avoidance of doubt, the Class P-1 Collateral will not include
 the Collateral or the Class P-2 Collateral.

          In addition, the Indenture provides that the Issuer, to secure the Issuer’s obligations under the
 Class P-2 Securities to pay in full the Class P-2 Nominal Principal Outstanding, will grant to the Trustee,
 solely for the benefit of the Holders of the Class P-2 Securities a perfected security interest in the Class P-
 2 Collateral that is of first priority. For the avoidance of doubt, the Class P-2 Collateral will not include
 the Collateral or the Class P-1 Collateral.

 Purchase of Collateral Obligations

          Collateral Obligations may be purchased if such purchases comply (and selections of Collateral
 Obligations for purchase will be made by the Portfolio Manager designed to comply) with the Eligibility
 Criteria and any applicable requirements described under “–Sale of Collateral Obligations; Reinvestment
 of Principal Proceeds.”

           The Portfolio Manager expects that, on or prior to the Business Day prior to March 3, 2006, the
 Issuer will have purchased or committed to purchase Collateral Obligations such that (x) either (A) the
 Aggregate Principal Balance of the Collateral Obligations owned by the Issuer equals at least
 $900,000,000 or (B) the Aggregate Principal Balance of the Collateral Obligations purchased (or
 committed to be purchased) by the Issuer (in each case in this clause (B), measured solely as of the date
 of purchase or commitment, as the case may be (provided that with respect to the Initial Collateral
 Obligations, the date of purchase shall be the Closing Date)) equals at least $900,000,000 (without giving
 effect to any reductions of that amount that may have resulted from scheduled principal payments,
 principal prepayments or dispositions made with respect to any Collateral Obligations after the Closing
 Date and on or before the Ramp-Up Completion Date) and (y) the Overcollateralization Ratio Numerator
 is at least $900,000,000.

 Eligibility Criteria

          On any date during the Reinvestment Period (and, in respect of Principal Proceeds constituting
 Unscheduled Principal Payments and Sale Proceeds from Credit Improved Obligations, on any date after
 the Reinvestment Period), so long as no Event of Default has occurred and is continuing, at the direction
 of the Portfolio Manager, the Issuer may direct the Trustee to invest or reinvest Principal Proceeds
 (together with Interest Proceeds, but only to the extent used to pay for accrued interest on Collateral
 Obligations) and the funds available from Drawdowns under the Class A-1B Notes and Borrowings
 under the Class A-1A Notes in additional Collateral Obligations (including any related deposit into the
 Revolving Reserve Account or the posting by the Issuer of cash collateral into the Synthetic Security
 Counterparty Account with (or for the benefit of) a Synthetic Security Counterparty simultaneously with
 the Issuer’s purchase of or entry into a Synthetic Security) if the conditions specified in the Indenture are
 satisfied. No obligations may be purchased unless each of the conditions in the following clauses (1)
 through (12) (the “Eligibility Criteria”) is satisfied as evidenced by a certificate of the Portfolio Manager
 as of the date the Issuer commits to make the purchase, in each case after giving effect to the purchase
 and all other purchases and sales previously or simultaneously committed to:




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       (1)    the obligation is a Collateral Obligation;

       (2)    for any date occurring during the Reinvestment Period:

              (A)     each Overcollateralization Test is satisfied and, if the commitment is made on or
                      after the second Payment Date, each Interest Coverage Test is satisfied; or

              (B)     if any such Coverage Test is not satisfied, both:

                      (i)      the extent of satisfaction of such Coverage Test is not reduced; and

                      (ii)     the Collateral Obligation is being purchased with Principal Proceeds
                               other than:

                               (x)     Principal Proceeds received in respect of a Defaulted Collateral
                                       Obligation; or

                               (y)     Principal Proceeds received in respect of a Workout Asset that
                                       has been received in exchange for a Defaulted Collateral
                                       Obligation;

       (3)    for any date occurring during the Reinvestment Period, the Diversity Test is satisfied or,
              if not satisfied, the extent of satisfaction is not reduced;

       (4)    for any date occurring during the Reinvestment Period, the Weighted Average Rating
              Factor Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

       (5)    for any date occurring during the Reinvestment Period, each of the limits in the definition
              of “Concentration Limitations” is satisfied or, if any such limit is not satisfied, the extent
              of satisfaction is not reduced;

       (6)    for any date occurring during the Reinvestment Period, the Weighted Average Spread
              Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

       (7)    for any date occurring during the Reinvestment Period, the Weighted Average Fixed Rate
              Coupon Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

       (8)    for any date occurring during the Reinvestment Period, the Weighted Average Life Test
              is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

       (9)    for any date occurring during the Reinvestment Period, the Weighted Average Moody’s
              Recovery Rate Test is satisfied or, if not satisfied, the extent of satisfaction is not
              reduced;

       (10)   for any date occurring during the Reinvestment Period, the Weighted Average S&P
              Recovery Rate Test is satisfied or, if not satisfied, the extent of satisfaction is not
              reduced;

       (11)   for any date occurring during the Reinvestment Period, the S&P CDO Monitor Test is
              satisfied or, if not satisfied, the extent of satisfaction is not reduced; provided, however,
              that this Eligibility Criterion (11) shall not apply either to reinvestment of the proceeds
              from the sale of a Credit Risk Obligation, Non-Performing Collateral Obligation or
              Workout Asset or to the reinvestment of Principal Proceeds in respect of Defaulted
              Collateral Obligations; and

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         (12)    for any date occurring after the Reinvestment Period:

                 (A)      each Coverage Test is satisfied and the extent of satisfaction is not reduced;

                 (B)      each Collateral Quality Test is maintained or improved;

                 (C)      each Concentration Limitation is maintained or improved;

                 (D)     the maturity date of such Collateral Obligation will occur on or prior to the Stated
         Maturity of the Notes and the Weighted Average Life Test is satisfied;

                 (E)     the S&P Rating of such Collateral Obligation is at least equal to the S&P Rating
         of the Collateral Obligation being the source of the Unscheduled Principal Payments or of the
         Credit Improved Obligation being the source of Sale Proceeds, as applicable; and.

                 (F)     the Aggregate Principal Balance of Collateral Obligations to be purchased in
         connection with such sale or prepayment must be no less than the Aggregate Principal Balance of
         the Collateral Obligations sold or prepaid.

          The Issuer may, at the direction of the Portfolio Manager (and regardless of the foregoing
 restrictions), exchange a Collateral Obligation for another Collateral Obligation in an exchange of one
 security for another security of the same issuers that has substantially identical terms except transfer
 restrictions.

        Cash on deposit in the Collection Account may be invested at any time in Eligible Investments in
 accordance with the Indenture pending investment in Collateral Obligations.

          The Indenture provides that any sale or purchase by the Issuer of a Collateral Obligation shall be
 conducted on an arm’s length basis and if effected with the Portfolio Manager or a person Affiliated with
 the Portfolio Manager or any fund or account for which the Portfolio Manager or an Affiliate of the
 Portfolio Manager acts as investment adviser, shall be effected in accordance with the requirements of the
 Management Agreement on terms no less favorable to the Issuer than would be the case if the person
 were not so Affiliated. Under the Management Agreement, the Portfolio Manager will be prohibited from
 directing the acquisition of Collateral Obligations from, or the disposition of Collateral Obligations to, its
 Affiliates or any other account managed by the Portfolio Manager except on terms no less favorable than
 would be obtained in a transaction conducted on an arm’s-length basis between third parties unaffiliated
 with each other and if the Portfolio Manager has complied with the requirements of the Management
 Agreement and the acquisition or disposition otherwise complies with the requirements of the United
 States Investment Advisers Act of 1940.

 The Collateral Quality Tests

         The Collateral Quality Tests will be used primarily as criteria for purchasing Collateral
 Obligations. See “—Eligibility Criteria” above and “—Sale of Collateral Obligations; Reinvestment of
 Principal Proceeds” below. The Collateral Quality Tests are described below.

        Measurement of the degree of compliance with the Collateral Quality Tests will be required on
 each Measurement Date on and after the Ramp-Up Completion Date.




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         The Diversity Test

         The “Diversity Test” is a test that will be satisfied as of any Measurement Date if the Diversity
 Score equals or exceeds the Minimum Diversity Score.

         Weighted Average Life Test

         The “Weighted Average Life Test” is a test that will be satisfied as of any Measurement Date if
 the Weighted Average Life on that date of all Collateral Obligations is equal to or less than the number of
 years (including any fraction of a year) between such Measurement Date and the Payment Date in May
 2015 or, in the case of a Maturity Extension, the Extended Weighted Average Life Date.

         Weighted Average Moody’s Recovery Rate Test

        The “Weighted Average Moody’s Recovery Rate Test” is a test that is satisfied as of any
 Measurement Date if the Moody’s Weighted Average Recovery Rate is greater than or equal to 44.75%.

          “Moody’s Weighted Average Recovery Rate” means, as of any Measurement Date, a rate equal
 to the number obtained by (i) summing the products obtained by multiplying the Principal Balance of
 each Collateral Obligation (other than Defaulted Collateral Obligations) by its respective Moody’s
 Priority Category Recovery Rate, (ii) dividing the sum determined pursuant to clause (i) above by the sum
 of the Aggregate Principal Balance of all Collateral Obligations (other than Defaulted Collateral
 Obligations) and (iii) rounding up to the first decimal place.

         Weighted Average S&P Recovery Rate Test

        The “Weighted Average S&P Recovery Rate Test” is a test that is satisfied as of any
 Measurement Date if the S&P Weighted Average Recovery Rate is greater than or equal to 51.5%.

        “S&P Weighted Average Recovery Rate” is a rate, as of any Measurement Date, equal to the
 number obtained by:

                 (i)     summing the products obtained by multiplying the Principal Balance of each
         Collateral Obligation by its respective S&P Priority Category Recovery Rate;

                (ii)    dividing the sum determined pursuant to clause (i) above by the sum of the
         Aggregate Principal Balance of all Collateral Obligations; and

                 (iii)   rounding up to the first decimal place.

         Weighted Average Fixed Rate Coupon Test

        The “Weighted Average Fixed Rate Coupon Test” is a test that is satisfied if, as of any
 Measurement Date, the Weighted Average Fixed Rate Coupon equals or exceeds 7.5%.

         Weighted Average Spread Test

        The “Weighted Average Spread Test” is a test that is satisfied as of any Measurement Date if (i)
 the Weighted Average Spread as of the Measurement Date equals or exceeds the Minimum Weighted
 Average Spread and (ii) the Weighted Average Commitment Fee as of such Measurement Date equals or
 exceeds the Minimum Weighted Average Commitment Fee.



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         Weighted Average Rating Factor Test

         The “Weighted Average Rating Factor Test” is a test that is satisfied as of any Measurement
 Date if the Weighted Average Moody’s Rating Factor of the Collateral Obligations (excluding Eligible
 Investments) as of the Measurement Date is less than or equal to the Maximum Weighted Average
 Moody’s Rating Factor.

         S&P CDO Monitor Test

          The “S&P CDO Monitor Test” is a test that will be satisfied on any Measurement Date if, after
 giving effect to the sale of a Collateral Obligation or the purchase of a Collateral Obligation, each Note
 Class Loss Differential of the Proposed Portfolio is positive. The S&P CDO Monitor Test shall be
 considered to be improved if each Note Class Loss Differential of the Proposed Portfolio is at least equal
 to the corresponding Note Class Loss Differential of the Current Portfolio. The S&P CDO Monitor Test
 is not required to be satisfied or improved upon the sale of a Credit Risk Obligation and certain other
 obligations and the reinvestment of the related Sale Proceeds in additional Collateral Obligations. For
 purposes of the S&P CDO Monitor Test:

         (i)     the S&P Rating of any S&P Unrated DIP Loan shall be “CCC-”; and

         (ii)    the S&P Industry Classification for a Synthetic Security shall be that of the related
                 Reference Obligation and not the Synthetic Security.

         The “Note Class Loss Differential” with respect to any Measurement Date and any Class of
 Notes that is rated by S&P, the rate calculated by subtracting the Class Scenario Loss Rate for such Class
 from the then-applicable Note Break-Even Loss Rate corresponding to the S&P Monitor Test that is
 created with the Adjusted Weighted Average Spread of the Current Portfolio) for such Class of Notes.

         The “Note Break-Even Loss Rate” with respect to each Class of Notes that is rated by S&P, the
 maximum percentage of defaults that the Current Portfolio or Proposed Portfolio can sustain and
 nevertheless sufficient funds will remain for the payment of principal of such Class of Notes in full by its
 Stated Maturity and the timely payment of interest on the Class A-1 Notes, Class A-2 Notes, Class A-3
 Notes and the Class A-4 Notes and the ultimate payment of interest on the Class B Notes and the Class C
 Notes using S&P’s assumptions on recoveries, defaults, and timing, and taking into account the Priority
 of Payments and the Adjusted Weighted Average Spread level specified in the applicable row of the table
 below. The “Adjusted Weighted Average Spread” as of any Measurement Date is the Weighted Average
 Spread as of the Measurement Date minus the amount of any Spread Excess added to the Weighted
 Average Fixed Rate Coupon as of the Measurement Date.

                   Row                 Adjusted Weighted Average Spread
                    1                      Greater than or equal to 3.00%
                    2            Greater than or equal to 2.90% but less than 3.00%
                    3            Greater than or equal to 2.80% but less than 2.90%
                    4            Greater than or equal to 2.70% but less than 2.80%
                    5            Greater than or equal to 2.60% but less than 2.70%
                    6            Greater than or equal to 2.50% but less than 2.60%
                    7            Greater than or equal to 2.40% but less than 2.50%
                    8            Greater than or equal to 2.30% but less than 2.40%
                    9            Greater than or equal to 2.20% but less than 2.30%




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 The Coverage Tests

         General

          The Coverage Tests will be used to determine, among other things, whether Notes will be
 redeemed in certain circumstances as described under “Description of the Securities—Priority of
 Payments” and whether additional Collateral Obligations may be acquired as described under “—
 Eligibility Criteria.” There will not be any Coverage Test applicable to the Class E Certificates.

         The Overcollateralization Tests

         The “Overcollateralization Tests” will consist of the Class A Overcollateralization Test, the
 Class B Overcollateralization Test and the Class C Overcollateralization Test.

         Each Overcollateralization Test will be satisfied with respect to any Class of Notes (treating the
 Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes and the Class A-4 Notes as one Class for this
 purpose) on any Measurement Date if, as of such Measurement Date, the Overcollateralization Ratio for
 the Class is at least equal to the specified required level for the Class indicated in the table in “Summary
 of Terms—The Overcollateralization Tests.”

         The Overcollateralization Ratio, with respect to any Class of Notes (treating the Class A-1 Notes,
 the Class A-2 Notes, the Class A-3 Notes and the Class A-4 Notes as one Class for this purpose) on any
 Measurement Date, is referred to as an “Overcollateralization Ratio,” and is the ratio calculated by
 dividing:

         (i)       the Overcollateralization Ratio Numerator; by

         (ii)      the Aggregate Outstanding Amount of the Class of Notes and all Notes ranking senior to
                   it (including, for the avoidance of doubt, any Deferred Interest on the Class of Notes and
                   all Notes ranking senior to it).

         The “Overcollateralization Ratio Numerator” is, on any date, the sum of:

         (1)     the Aggregate Principal Balance of all Collateral Obligations (other than any Excess
                 CCC/Caa Collateral Obligations, any Non-Performing Collateral Obligations, any Deep
                 Discount Obligations, and any Collateral Obligations loaned pursuant to a Securities
                 Lending Agreement with respect to which an “event of default” (under and as defined in
                 the Securities Lending Agreement) is continuing); plus

         (2)     unpaid Accrued Interest Purchased With Principal (excluding any unpaid Accrued
                 Interest Purchased With Principal in respect of Non-Performing Collateral Obligations);
                 plus

         (3)     the Aggregate Principal Balance of any Eligible Investments that were purchased with
                 Principal Proceeds and, without duplication, the amount of Principal Proceeds on deposit
                 in the Collection Account; plus

         (4)     the Aggregate Principal Balance of Eligible Investments on deposit in a Securities
                 Lending Account that relate to a Securities Lending Agreement with respect to which an
                 “event of default” (under and as defined in the Securities Lending Agreement) is
                 continuing; plus


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        (5)     with respect to Collateral Obligation that are Non-Performing Collateral Obligations,
                Deep Discount Obligations or Excess CCC/Caa Collateral Obligations, the amount
                determined by using one of the following methods applicable to such type of Collateral
                Obligation; provided that if a Collateral Obligation falls within more than one of such
                types, the Issuer will be required to use the method that results in the smallest amount:

                (A)     with respect to any Excess CCC/Caa Collateral Obligations, an amount equal to
                        the product of (i) the lower of (1) 70% and (2) the weighted average Market
                        Value of all Excess CCC/Caa Collateral Obligations, expressed as a percentage
                        of their outstanding principal balances multiplied by (ii) the Aggregate Principal
                        Balance of the Excess CCC/Caa Collateral Obligations;

                (B)     with respect to any Non-Performing Collateral Obligations, the aggregate of the
                        Applicable Collateral Obligation Amounts for all included Non-Performing
                        Collateral Obligations (other than Defaulted Collateral Obligations that have
                        been held by the Issuer for more than three years, which shall be deemed to be
                        zero for purposes of this clause (B)); and

                (C)     with respect to any Deep Discount Obligations, the Aggregate Purchase Price
                        Amount for all Deep Discount Obligations.

         As used in this definition, “Applicable Collateral Obligation Amount” for any Non-Performing
 Collateral Obligation means:

        (1)     the lesser of (x) the Market Value Percentage of the Non-Performing Collateral
                Obligation and (y) the Applicable Percentage for the Non-Performing Collateral
                Obligation multiplied by:

        (2)     if the Non-Performing Collateral Obligation is:

                (A)     any Pledged Obligation other than those in clauses (B) through (D) below, its
                        outstanding principal amount as of the relevant Measurement Date;

                (B)     any Synthetic Security, the notional amount specified in such Synthetic Security;

                (C)     any Revolving Loan or Delayed Drawdown Loan, its funded principal amount
                        outstanding plus any Unfunded Amount thereof (regardless of the nature of the
                        contingency relating to the Issuer’s obligation to fund the Unfunded Amount);
                        and

                (D)     any PIK Security, its outstanding principal amount but excluding any principal
                        amount representing previously deferred or capitalized interest;

          provided however, that, for the avoidance of doubt, the Applicable Collateral Obligation
 Amount with respect to any Collateral Obligation in which the Trustee does not have a first priority
 perfected security interest will be zero.

         As used in the calculation of Market Value Percentage of the Non-Performing Collateral
 Obligation, the Principal Balance of any Defaulted Collateral Obligation shall be, if the Defaulted
 Collateral Obligation is:

        (i)     any Pledged Obligation other than those in clauses (ii) through (iv) below, its outstanding
                principal amount as of the relevant Measurement Date;


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         (ii)    any Synthetic Security, the notional amount specified in such Synthetic Security;

         (iii)   any Revolving Loan or Delayed Drawdown Loan, its funded principal amount
                 outstanding plus any Unfunded Amount thereof (regardless of the nature of the
                 contingency relating to the Issuer’s obligation to fund the Unfunded Amount); and

         (iv)    any PIK Security, its outstanding principal amount but excluding any principal amount
                 representing previously deferred or capitalized interest.

         The Interest Coverage Tests

          The Interest Coverage Test in respect of each Class of Notes (each an “Interest Coverage Test”)
 is a test the first Measurement Date for which will be on the Determination Date immediately preceding
 the second Payment Date and that is satisfied with respect to any specified Class of Notes (treating the
 Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes and the Class A-4 Notes as one Class for this
 purpose) if, as of the Determination Date immediately preceding the second Payment Date and any
 Measurement Date thereafter on which any Notes remain Outstanding, the Interest Coverage Ratio equals
 or exceeds the applicable required level specified in the table in “Summary of Terms— The Interest
 Coverage Tests.”

        The “Interest Coverage Ratio” with respect to any specified Class of Notes (treating the Class
 A-1 Notes, the Class A-2 Notes, the Class A-3 Notes and the Class A-4 Notes as one Class for this
 purpose) on any Measurement Date, the ratio calculated by dividing:

         (i)     the sum of:
                 (A)     the Interest Proceeds received or scheduled to be received with respect to the Due
                         Period in which the Measurement Date occurs; minus
                 (B)     amounts payable under clauses (1), (2), (3) and (4) of “Description of the
                         Securities—Priority of Payments—Interest Proceeds” on the related Payment
                         Date; by
         (ii)    all accrued and unpaid interest on the specified Class of Notes (and the Commitment Fee
                 Amount with respect to the Class A–1A Notes and the Delayed Drawdown Fee with
                 respect to the Class A-1B Notes), and all Notes ranking senior to the Class on the related
                 Payment Date, but excluding any Deferred Interest as of the related Payment Date.
         For purposes of the Interest Coverage Ratio, only the amount of any interest payment (including
 any “gross up” payment) on any Collateral Obligation in excess of any withholding tax or other
 deductions on account of tax of any jurisdiction on any date of determination shall be included in Interest
 Proceeds.

         Reinvestment Overcollateralization Test

        The “Reinvestment Overcollateralization Test” is a test that is satisfied as of any Measurement
 Date on which any Notes remain Outstanding, if the Reinvestment Overcollateralization Ratio as of such
 Measurement Date is at least equal to 104.8%.

 Ramp-Up

          The Issuer expects that, as of the Closing Date, it will have purchased (or entered into
 commitments to purchase) Collateral Obligations such that the Overcollateralization Ratio Numerator will
 be at least $815,000,000.



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          The Indenture will provide that the Issuer will use commercially reasonable efforts to purchase
 (or enter into commitments to purchase (with settlement as soon as practicable after such commitment,
 but in any event no later than 60 days thereafter)) Collateral Obligations for inclusion in the Collateral on
 any Business Day during the Ramp-Up Period such that together with the Collateral Obligations
 purchased on or before the Closing Date (the “Initial Collateral Obligations”) as of the Business Day
 prior to March 3, 2006, (i) either (A) the Aggregate Principal Balance of the Collateral Obligations owned
 by the Issuer equals at least $900,000,000 or (B) the Aggregate Principal Balance of the Collateral
 Obligations purchased (or committed to be purchased) by the Issuer (in each case in this clause (B),
 measured solely as of the date of purchase or commitment, as the case may be (provided that with respect
 to the Initial Collateral Obligations, the date of purchase shall be the Closing Date)) equals at least
 $900,000,000 (without giving effect to any reductions of that amount that may have resulted from
 scheduled principal payments, principal prepayments or dispositions made with respect to any Collateral
 Obligations after the Closing Date and on or before the Ramp-Up Completion Date).

         If the Issuer has previously entered into a commitment to purchase a Collateral Obligation to be
 included in the Collateral, such commitment not to exceed 60 days, and at the time of the commitment the
 Collateral Obligation complied with the definition of “Collateral Obligation”, the Issuer may consummate
 the purchase of the Collateral Obligation notwithstanding that the Collateral Obligation fails to comply
 with the definition of “Collateral Obligation” on the date of settlement.

         Within 5 Business Days after the Ramp-Up Completion Date, the Issuer or the Portfolio Manager
 (on behalf of the Issuer) will request a Rating Confirmation and will provide a report to the Rating
 Agencies substantially in the form of a Monthly Report as of the Ramp-Up Completion Date identifying
 the Collateral Obligations then included in the Collateral and the Issuer will obtain and deliver to the
 Trustee and the Rating Agencies (together with the delivery of such report), an accountants’ certificate:

         (i)      confirming the maturity date, rating, spread and recovery rate for each Collateral
 Obligation owned by the Issuer as of the Ramp-Up Completion Date and the information provided by the
 Issuer with respect to every other asset included in the Collateral, by reference to such sources as shall be
 specified therein;

         (ii)    confirming that as of the Ramp-Up Completion Date:

                 (1)      each of the Coverage Tests is satisfied;

                (2)     the Aggregate Principal Balance of Collateral Obligations that the Issuer owned
         or committed to purchase as of the Ramp-Up Completion Date is at least equal to the Maximum
         Investment Amount; and

                 (3)    the Collateral Obligations comply with all of the requirements of the Collateral
         Quality Tests and the Concentration Limitations and the criteria set forth in “—Eligibility
         Criteria”; and

          (iii)   specifying the procedures undertaken by them to review data and computations relating
 to the foregoing statements.

         If a Rating Confirmation Failure occurs, the Notes will be redeemed pursuant to the Indenture and
 as described in “Description of the Securities—Mandatory Redemption of the Notes—Redemption of the
 Notes Upon Rating Confirmation Failure.”

 Sale of Collateral Obligations; Reinvestment of Principal Proceeds

         Pursuant to the Indenture and so long as no Event of Default has occurred and is continuing, the
 Issuer may, at the direction of the Portfolio Manager, direct the Trustee to sell (and the Trustee will sell)

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 any Collateral Obligation or Workout Asset if the sale meets the requirements in paragraphs (i) through
 (ix) below and the Issuer shall direct the Trustee to sell assets as set forth in paragraph (x) below. In
 addition, the Issuer (or the Portfolio Manager on its behalf) shall within 5 Business Days of its receipt (or
 within 5 Business Days after such later date as such asset may first be sold in accordance with its terms
 and applicable law), sell any Tax Affected Security or transfer such Tax Affected Security to a subsidiary
 the sole assets of which consist of, and the sole activity of which is the acquisition and ownership of Tax
 Affected Securities.

         (i)     Credit Risk Obligations. At the direction of the Portfolio Manager, the Issuer may direct
                 the Trustee to sell any Credit Risk Obligation at any time during or after the
                 Reinvestment Period without restriction and the Trustee shall sell the Credit Risk
                 Obligation in accordance with such direction. Following any sale of a Credit Risk
                 Obligation pursuant to the Indenture during the Reinvestment Period, at the direction of
                 the Portfolio Manager, the Issuer shall use commercially reasonable efforts to purchase in
                 compliance with the Indenture additional Collateral Obligations (to the extent the
                 purchase is in the best interest of the Issuer) with an Aggregate Principal Balance at least
                 equal to the Sale Proceeds received by the Issuer with respect to the Collateral Obligation
                 sold. For this purpose, the Principal Balance of any Revolving Loan or Delayed
                 Drawdown Loan shall only include its funded amount.

         (ii)    Credit Improved Obligations. At the direction of the Portfolio Manager, the Issuer may
                 direct the Trustee to sell any Credit Improved Obligation if either:

                 (1)      during the Reinvestment Period, (a) the Portfolio Manager believes before the
                          sale that it will be able to cause the Issuer to reinvest its Sale Proceeds, in
                          compliance with the Eligibility Criteria, in one or more additional Collateral
                          Obligations with an Aggregate Principal Balance at least equal to the Investment
                          Criteria Adjusted Balance of the Credit Improved Obligation by the end of the
                          immediately succeeding Due Period (for this purpose, the Principal Balance of
                          any Revolving Loan or Delayed Drawdown Loan shall only include its funded
                          principal amount outstanding and the Principal Balance of any Collateral
                          Obligation in which the Trustee does not have a first priority perfected security
                          interest shall be its outstanding principal amount) or (b) the Portfolio Manager
                          intends to use the Sale Proceeds to make Prepayments on the Class A-1A Notes;
                          or

                 (2)      after the Reinvestment Period, the Sale Proceeds received in respect of the Credit
                          Improved Obligation are at least equal to its Investment Criteria Adjusted
                          Balance (for this purpose, the Principal Balance of any Revolving Loan or
                          Delayed Drawdown Loan shall only include its funded principal amount
                          outstanding and the Principal Balance of any Collateral Obligation in which the
                          Trustee does not have a first priority perfected security interest shall be its
                          outstanding principal amount);

                 and the Trustee shall sell the Credit Improved Obligation in accordance with such
                 direction.

         (iii)   Non-Performing Collateral Obligations and Current-Pay Obligations. At the direction
                 of the Portfolio Manager, the Issuer may direct the Trustee to sell any Non-Performing
                 Collateral Obligation or Current-Pay Obligation at any time during or after the
                 Reinvestment Period without restriction and the Trustee shall sell the Non-Performing
                 Collateral Obligation or Current-Pay Obligation in accordance with such direction. Non-
                 Performing Collateral Obligations may be sold regardless of price; provided that the


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                Principal Balance of any Collateral Obligation purchased with proceeds of any Current-
                Pay Obligation shall equal or exceed the Principal Balance of such Current-Pay
                Obligation that was sold.

       (iv)     Non-qualifying Collateral Obligations. At the direction of the Portfolio Manager, the
                Issuer may direct the Trustee to sell any obligation that at the time of acquisition,
                conversion, or exchange does not satisfy the requirements of a Collateral Obligation at
                any time during or after the Reinvestment Period without restriction and the Trustee shall
                sell that obligation in accordance with such direction.

       (v)      Withholding Tax Sales. At the direction of the Portfolio Manager, the Issuer may direct
                the Trustee to sell any Collateral Obligation subject to withholding tax at any time during
                or after the Reinvestment Period without restriction and the Trustee shall sell the
                Collateral Obligation in accordance with such direction.

       (vi)     Optional Redemption. After the Issuer has notified the Trustee of an Optional
                Redemption of the Notes, at the direction of the Portfolio Manager, the Issuer shall direct
                the Trustee to sell all or a portion of the Collateral Obligations as contemplated therein if
                (A) the requirements in respect of an Optional Redemption under the Indenture have been
                satisfied and (B) the independent certified public accountants appointed pursuant to the
                Indenture have confirmed the calculations contained in any required certificate furnished
                by the Portfolio Manager pursuant to the Indenture’s Note redemption procedure
                provisions. After a Majority of the Class E Certificates have directed an Optional
                Redemption of the Class E Certificates in accordance with the Indenture, at the direction
                of the Portfolio Manager, the Issuer shall direct the Trustee to sell all of the remaining
                Collateral Obligations (in the case of an Optional Redemption pursuant to clause (i)
                under “Description of the Securities—Optional Redemption—Class E Certificates”) or
                all or a portion of the remaining Collateral Obligations in accordance with the unanimous
                directions of Holders of the Class E Certificates (in the case of an Optional Redemption
                pursuant to clause (ii) under “Description of the Securities—Optional Redemption—
                Class E Certificates”) and the Trustee shall sell the remaining Collateral Obligations in
                accordance with such direction.

       (vii)    Rating Confirmation Failure. After the Portfolio Manager has received notice of a
                Rating Confirmation Failure and if available Interest Proceeds and Principal Proceeds are
                insufficient to effect the redemption of the Notes on any subsequent Payment Date in
                accordance with the Priority of Payments as and to the extent necessary for each of
                Moody’s and S&P to confirm the Initial Ratings of the Notes, the Issuer may, if so
                directed by the Portfolio Manager in the Portfolio Manager’s sole discretion, direct the
                Trustee to sell Collateral Obligations as contemplated in the Indenture and the Trustee
                shall sell the Collateral Obligations in accordance with such direction.

       (viii)   Discretionary Sales. In addition to sales permitted under the foregoing clauses, at the
                direction of the Portfolio Manager, the Issuer may direct the Trustee to sell any Collateral
                Obligation, at any time during the Reinvestment Period:

                (1)     at any time on or before the Ramp-Up Completion Date (without regard to any
                        restriction specified in clause (2) below); and

                (2)     at any time after the Ramp-Up Completion Date if:



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                     (A)      after giving effect to the sale and the sale of any other Collateral
                              Obligations whose sale is pending, the Aggregate Principal Balance of
                              all Collateral Obligations sold under “—Discretionary Sales” during any
                              calendar year (in each case determined as of the date the direction to sell
                              is given) is not greater than 20% of the Maximum Investment Amount as
                              of January 1 of such calendar year (or, for the first calendar year, as of
                              the Ramp-Up Completion Date); and

                     (B)      (a) the Portfolio Manager believes before the sale that it will be able to
                              cause the Issuer within 30 days thereafter to reinvest or commit to
                              reinvest its Sale Proceeds, in compliance with the Eligibility Criteria, in
                              one or more additional Collateral Obligations with an Aggregate
                              Principal Balance at least equal to (i) as long as the Class C
                              Overcollateralization Test is satisfied, the Investment Criteria Adjusted
                              Balance of the sold Collateral Obligation and (ii) if the Class C
                              Overcollateralization Test is not satisfied, the Aggregate Principal
                              Balance of the sold Collateral Obligation (for the purpose of both clause
                              (i) and (ii), the Principal Balance of any Revolving Loan or Delayed
                              Drawdown Loan shall only include its funded principal amount
                              outstanding and the Principal Balance of any Collateral Obligation in
                              which the Trustee does not have a first priority perfected security interest
                              shall be its outstanding principal amount) or (b) the Portfolio Manager
                              intends to use the Sale Proceeds to make Prepayments on the Class A-1A
                              Notes;

             and the Trustee shall sell the Collateral Obligations in accordance with such direction.
             However, if the rating by Moody’s of the Class A-1A Notes, the Class A-1B Notes, the
             Class A-1C Notes, the Class A-2 Notes, the Class A-3 Notes or the Class A-4 Notes is
             one or more rating sub-categories below the Initial Rating of the Class A-1A Notes, the
             Class A-1B Notes, the Class A-1C Notes, the Class A-2 Notes, the Class A-3 Notes or
             the Class A-4 Notes or has been withdrawn or the rating by Moody’s of the Class B
             Notes or the Class C Notes is two or more rating sub-categories below the Initial Rating
             of the Class B Notes or the Class C Notes or has been withdrawn, the Issuer shall not
             instruct the Trustee to sell any Collateral Obligations pursuant to “—Discretionary
             Sales.” This restriction may be waived by written consent of a Majority of the
             Controlling Class. For the purposes of this clause (viii), any withdrawal or reduction in
             rating shall not restrict the sale of any Collateral Obligations pursuant to this clause (viii)
             if after the withdrawal or reduction Moody’s has upgraded the reduced or withdrawn
             rating to at least the Initial Rating in the case of the Class A-1A Notes, the Class A-1B
             Notes, the Class A-1C Notes, the Class A-2 Notes, the Class A-3 Notes and the Class A-4
             Notes, or to only one subcategory below their Initial Rating in the case of the Class B
             Notes and the Class C Notes.

             For the purpose of determining the percentage of Collateral Obligations sold during any
             period described in clause (2)(B) above:

                     (i) the amount of any Collateral Obligation sold will be reduced (a) to the extent
                     of any purchases of Collateral Obligations of the same obligor (which are pari
                     passu with such sold Collateral Obligation) occurring within 30 Business Days of
                     the sale (determined based on the date of any relevant trade confirmation or
                     commitment letter) (but only for so long as (x) the Collateral Obligations
                     purchased have not been downgraded by any of the Rating Agencies during the
                     30 Business Day period, (y) the Collateral Obligations have not been purchased

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                          from the Portfolio Manager or any of its Affiliates acting, in each case, as
                          principal or from any funds or accounts advised or managed by the Portfolio
                          Manager or any of its Affiliates, and (z) the purchase price of each purchased
                          Collateral Obligation must not exceed the sale price of the sold Collateral
                          Obligation) and (b) to the extent of any purchases of Collateral Obligations
                          permitted pursuant to the second paragraph set forth under “—Eligibility
                          Criteria”; and

                          (ii) any Synthetic Security based upon or relating to a senior secured index
                          investment providing non-leveraged credit exposure to a basket of credit default
                          swaps referencing a diversified group of Reference Obligations, with respect to
                          which the principal or notional amount of the credit exposure to any single
                          Reference Obligation does not increase over time that is invested into a
                          substantially similar Synthetic Security but with a later maturity will be treated as
                          having been sold.

         (ix)     Workout Assets. At the direction of the Portfolio Manager, the Issuer may direct the
                  Trustee to sell any Workout Asset at any time during or after the Reinvestment Period
                  without restriction and regardless of price and the Trustee shall sell the Workout Assets
                  in accordance with such direction.

         (x)      Margin Stock. Notwithstanding the foregoing, the Issuer shall direct the Trustee to sell
                  any asset that is Margin Stock within 45 days of the later of (i) the acquisition of such
                  asset by the Issuer or (ii) such asset’s becoming Margin Stock, and the Trustee shall sell
                  such asset in accordance with such direction.

 Certain Determinations Relating to Collateral Obligations

         The Indenture provides that, notwithstanding anything to the contrary contained therein, solely
 for the purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Portfolio
 Manager on behalf of the Issuer will be deemed to have purchased any Collateral Obligations as of the
 date on which the Issuer delivers to the Trustee a contract to purchase, a commitment letter, a
 confirmation or a due bill for such Collateral Obligation, in each case entitling the Issuer (or the Trustee
 as assignee thereof) to receive such Collateral Obligations and, in such event, the Issuer shall be deemed
 to have acquired, granted or delivered, as the case may be, such Collateral Obligations on such date.

         The Indenture provides that, notwithstanding anything to the contrary contained therein, solely
 for the purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Portfolio
 Manager on behalf of the Issuer shall be deemed to have sold any Collateral Obligations as of the date on
 which the Issuer delivers to the Trustee a contract to sell, a commitment letter, a confirmation or a due bill
 for such Collateral Obligation, in each case entitling the Issuer (or the Trustee as assignee thereof) to sell,
 and requiring the purchaser to purchase, such Collateral Obligations and, in such event, the Issuer shall be
 deemed to have sold such Collateral Obligations on such date.

          Under the circumstances described in the two preceding paragraphs, if the transaction
 contemplated by the contract, commitment letter, confirmation or due bill referred to therein does not
 settle on or before the 60th day following the scheduled settlement date (the “Deadline”), the deemed
 purchase or sale shall be deemed not to have occurred; provided, however, that the Portfolio Manager
 shall have the right to extend the Deadline for an additional period (not to exceed an additional 60 days)
 by notice to the Trustee, which notice shall include the Portfolio Manager’s certification to the effect that
 the Portfolio Manager believes that the settlement shall occur on or before the extended Deadline.




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        Scheduled distributions with respect to any Pledged Collateral Obligation shall be determined in
 accordance with the applicable provisions of the Indenture.

 The Accounts

          The Indenture provides that the Trustee will establish separate segregated non-interest bearing
 trust accounts, which will be designated as the Collection Account, the Payment Account, the Custodial
 Account, the Revolving Reserve Account, the Synthetic Security Collateral Account, the Hedge
 Counterparty Collateral Account, the Closing Date Expense Account, the Expense Reimbursement
 Account, the Interest Reserve Account and the Securities Lending Account. In addition, Synthetic
 Security Counterparty Accounts may also be established. Any account may contain any number of
 subaccounts.

         Collection Account. The Trustee shall deposit into the “Collection Account”:

         (i)     any funds transferred from (1) the Closing Date Expense Account pursuant to the
                 Indenture or (2) the Interest Reserve Account pursuant to the Indenture;

         (ii)    all Principal Proceeds (unless (1) simultaneously reinvested in Collateral Obligations in
                 accordance with the Indenture, (2) deposited into the Revolving Reserve Account, (3)
                 posted by the Issuer as cash collateral with (or for the benefit of) a Synthetic Security
                 Counterparty simultaneously with the Issuer’s purchase of or entry into a Synthetic
                 Security or in Eligible Investments) or (4) used to make Prepayments with respect to the
                 Class A-1A Notes), received by the Trustee;

         (iii)   all Interest Proceeds received by the Trustee (unless simultaneously reinvested in accrued
                 interest in respect of Collateral Obligations in accordance with the Indenture or in
                 Eligible Investments); and

         (iv)    all other funds received by the Trustee and not excluded above.

        The Issuer may, but under no circumstances will be required to, deposit from time to time any
 monies in the Collection Account it deems, in its sole discretion, to be advisable (and may designate any
 amounts so deposited as Principal Proceeds or Interest Proceeds in its discretion).

          Any Principal Proceeds received during the Reinvestment Period, and Sale Proceeds from the sale
 of Credit Improved Obligations and Unscheduled Principal Payments received after the Reinvestment
 Period, which have not been reinvested in additional Collateral Obligations on the Business Day of
 receipt shall be deposited in the Collection Account and shall at the direction of the Portfolio Manager be
 applied to the purchase of additional Collateral Obligations in accordance with the Eligibility Criteria and
 the other requirements set forth in the Indenture or the purchase of Eligible Investments pending such
 investment or used to enter into additional Hedge Agreements or used in connection with a Special
 Redemption. Principal Proceeds (other than Sale Proceeds from the sale of Credit Improved Obligations
 and Unscheduled Principal Payments) received after the Reinvestment Period shall be deposited into the
 Collection Account and applied to the purchase of Eligible Investments.

         The Collection Account shall be maintained for the benefit of the Noteholders, the Trustee, the
 Portfolio Manager and each Hedge Counterparty and amounts on deposit in the Collection Account will
 be available for application in the order of priority under “Description of the Securities—Priority of
 Payments” and for the acquisition of Collateral Obligations under the circumstances and pursuant to the
 requirements in the Indenture. Amounts received in the Collection Account during a Due Period and
 amounts received in prior Due Periods and retained in the Collection Account under the circumstances
 stated above in “Description of the Securities—Priority of Payments” will be invested in Eligible

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 Investments with Stated Maturities no later than the Business Day before the next Payment Date as
 directed by the Portfolio Manager (which may be in the form of standing instructions). All proceeds
 deposited in the Collection Account will be retained therein unless used to purchase Collateral
 Obligations during the Reinvestment Period (or, in respect of Principal Proceeds constituting
 Unscheduled Principal Payments and Sale Proceeds from Credit Improved Obligations, after the
 Reinvestment Period) in accordance with the Eligibility Criteria, to honor commitments with respect
 thereto entered into during or after the Reinvestment Period, to make Prepayments on the Class A-1A
 Notes or used as otherwise permitted under the Indenture. See “—Eligibility Criteria.”

        The Trustee shall transfer to the Payment Account from the Collection Account for application
 pursuant to the Priority of Payments, on or no later than the Business Day preceding each Payment Date,
 the amount set forth to be so transferred in the Valuation Report for the Payment Date.

         At any time during or after the Reinvestment Period, at the direction of the Portfolio Manager, the
 Issuer may direct the Trustee to pay from amounts on deposit in the Collection Account on any Business
 Day during any Interest Period from Interest Proceeds only, any Administrative Expenses that require
 payment before the next Payment Date to the extent that the amount of the payments does not exceed the
 aggregate amount that may be paid on the next payment Date under, and at the level of priority specified
 by, “Description of the Securities—Priority of Payments—Interest Proceeds.”

          Custodial Account. The Trustee will from time to time deposit the Collateral Obligations and
 other Collateral not deposited elsewhere in accordance with the Indenture into the “Custodial Account”,
 over which the Trustee will have exclusive control and the sole right of withdrawal. All assets or
 securities at any time on deposit in, or otherwise to the credit of, the Custodial Account will be held in
 trust by the Trustee for the benefit of the Noteholders, the Trustee, the Portfolio Manager and each Hedge
 Counterparty. If invested, any amounts on deposit in the Custodial Account will be invested in Eligible
 Investments.

          Revolving Reserve Account. Upon the purchase of any Collateral Obligation that is a Revolving
 Loan or Delayed Drawdown Loan, at the direction of the Portfolio Manager, the Trustee will deposit into
 and maintain at all times in the Revolving Reserve Account amounts drawn under the Class A-1A Notes
 and Principal Proceeds in an amount at least equal to the Revolver Funding Reserve Amount. The
 “Revolver Funding Reserve Amount” means an amount, which cannot be negative, equal to (a) the
 Aggregate Unfunded Amount of all Revolving Loans and Delayed Drawdown Loans minus (b) the
 Aggregate Undrawn Amount of the Class A-1A Notes; provided, however, for purposes of this definition,
 the Aggregate Undrawn Amount of the Class A-1A Notes used in such calculation shall not include the
 portion of the Aggregate Undrawn Amount of Class A-1A Notes attributable to each Holder of Class
 A-1A Notes at any time and for so long as and to the extent (x) such Holder does not meet the Rating
 Criteria and (y) has failed to fund the Undrawn Amount of its Class A-1A Notes into a reserve account
 fund when required to do so under the Class A-1A Note Purchase Agreement. The Principal Proceeds so
 deposited will be considered part of the Purchase Price of the Revolving Loan or Delayed Drawdown
 Loan for purposes of the Indenture. In addition, principal payments received by the Issuer in respect of a
 Revolving Loan (except to the extent of any concurrent commitment reduction), will be deposited within
 two Business Days directly into the Revolving Reserve Account (and will not be available for distribution
 as Principal Proceeds) to the extent required to maintain the Revolver Funding Reserve Amount
 (including with respect to the amount of such principal payments that may be reborrowed under such
 Revolving Loan).

          Amounts on deposit in the Revolving Reserve Account will be invested in Eligible Investments
 with Stated Maturities as directed by the Portfolio Manager (which may be in the form of standing
 instructions) not later than the Business Day after the date of their purchase. All interest and other
 income from amounts in the Revolving Reserve Account deposited to the Collection Account under the
 Indenture will be considered Interest Proceeds in the Due Period in which they are so deposited.

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          At the direction of the Portfolio Manager at any time during or after the Reinvestment Period, the
 Trustee will withdraw funds from the Revolving Reserve Account to fund extensions of credit pursuant to
 Revolving Loans or Delayed Drawdown Loans. Upon the sale, maturity or termination of a Revolving
 Loan or Delayed Drawdown Loan in whole or in part or the reduction in part or termination of the
 Issuer’s commitment thereunder, any funds in the Revolving Reserve Account in excess of the Revolver
 Funding Reserve Amount will be transferred from time to time by the Trustee (upon the direction of the
 Portfolio Manager) to the Collection Account and treated as Principal Proceeds.

          Synthetic Security Collateral Account. On or before the date on which the Issuer enters into a
 Synthetic Security, the Trustee shall create a sub-account of the non-interest bearing trust account
 established for Synthetic Security Collateral (the “Synthetic Security Collateral Account”) with respect
 to the Synthetic Security. All Synthetic Security Collateral posted by any Synthetic Security
 Counterparty in support of its respective obligation under a Synthetic Security shall be immediately
 deposited into the Synthetic Security Collateral Account and posted to the sub-account related to the
 Synthetic Security. On each day on which amounts are payable to the Issuer out of Synthetic Security
 Collateral, the Issuer shall direct the Trustee to withdraw amounts on deposit in the Synthetic Security
 Collateral Account in an amount sufficient to make the payment (including any total or partial release of
 Synthetic Security Collateral). The only permitted withdrawal from or application of funds on deposit in,
 or otherwise to the credit of, the Synthetic Security Collateral Account shall be (i) for application to
 obligations of the relevant Synthetic Security Counterparty under a Synthetic Security; or (ii) to return
 Synthetic Security Collateral to the relevant Synthetic Security Counterparty at the termination of the
 relevant Synthetic Security Agreement or as otherwise required by the Synthetic Security Agreement, in
 each case as directed by the Portfolio Manager.

 Amounts on deposit in the Synthetic Security Collateral Account will be invested in Eligible Investments
 having Stated Maturities not later than one Business Day after their purchase, as directed by the Portfolio
 Manager (which may be in the form of standing instructions), and shall not be considered an asset of the
 Issuer for the purposes of the Coverage Tests.

          Hedge Counterparty Collateral Account. The Trustee will deposit all collateral received from a
 Hedge Counterparty under any Hedge Agreement into the “Hedge Counterparty Collateral Account.”
 The only permitted withdrawal from or application of funds on deposit in, or otherwise to the credit of,
 the Hedge Counterparty Collateral Account will be (i) for application to obligations of the relevant Hedge
 Counterparty to the Issuer under a Hedge Agreement if the Hedge Agreement becomes subject to early
 termination or (ii) to return collateral to the relevant Hedge Counterparty when and as required by the
 relevant Hedge Agreement, in each case as directed by the Portfolio Manager. Amounts on deposit in the
 Hedge Counterparty Collateral Account will be invested in Eligible Investments with Stated Maturities no
 later than the Business Day before the next Payment Date as directed by the Portfolio Manager (which
 may be in the form of standing instructions) and shall not be considered an asset of the Issuer for the
 purposes of the Coverage Tests.

          Closing Date Expense Account. Amounts deposited in the “Closing Date Expense Account” on
 the Closing Date will be withdrawn to pay certain administrative expenses of the Co-Issuers. On the
 Payment Date in March 2006, the Trustee shall transfer all funds on deposit in the Closing Date Expense
 Account to the Collection Account as Principal Proceeds and close the Closing Date Expense Account.
 Amounts on deposit in the Closing Date Expense Account shall be invested in Eligible Investments with
 Stated Maturities no later than the Business Day before the Payment Date in March 2006 as directed by
 the Portfolio Manager (which may be in the form of standing instructions) and shall not be considered an
 asset of the Issuer for the purposes of the Coverage Tests.

         Expense Reimbursement Account. On any Payment Date and on any date between Payment
 Dates, the Trustee will apply amounts, if any, in the “Expense Reimbursement Account” to the payment
 of expenses and fees that must be paid between Payment Dates or that are due on that Payment Date

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 under clause (1) of “Description of the Securities—Priority of Payments—Interest Proceeds” and the
 Trustee shall on any Payment Date (other than on the final redemption date of the Class E Certificates)
 transfer to the Expense Reimbursement Account an amount equal to the excess, if any, of the
 Administrative Expense Cap over the amounts due under clause (1) of “Description of the Securities—
 Priority of Payments—Interest Proceeds” to the Expense Reimbursement Account in accordance with
 clause (2) of “Description of the Securities—Priority of Payments—Interest Proceeds.” Amounts on
 deposit in the Expense Reimbursement Account shall be invested in Eligible Investments with Stated
 Maturities as directed by the Portfolio Manager (which may be in the form of standing instructions), no
 later than the Business Day before the next Payment Date. Any funds remaining in the Expense
 Reimbursement Account as of the Determination Date relating to the final redemption date of the Class E
 Certificates will be deposited in the Collection Account as Interest Proceeds for distribution on the
 Scheduled Class E Certificate Redemption Date as described under “Description of the Securities—
 Priority of Payments—Interest Proceeds.”

         Securities Lending Account. The Trustee will deposit all Securities Lending Collateral posted by
 any Securities Lending Counterparty in support of its respective obligation under a Securities Lending
 Agreement in a non-interest bearing trust account (the “Securities Lending Account”). The only
 permitted withdrawal from or application of funds on deposit in, or otherwise to the credit of, the
 Securities Lending Account will be (i) for application to obligations of the relevant Securities Lending
 Counterparty to the Issuer under a Securities Lending Agreement if the Securities Lending Agreement
 becomes subject to early termination or in the exercise of remedies under the Securities Lending
 Agreement upon any “event of default” under and as defined in the Securities Lending Agreement,
 including liquidating the related Securities Lending Collateral or (ii) to return collateral to the Securities
 Lending Counterparty when and as required by a Securities Lending Agreement, in each case as directed
 by the Portfolio Manager. Amounts on deposit in the Securities Lending Account shall be invested in
 Eligible Investments with Stated Maturities as directed by the Portfolio Manager (which may be in the
 form of standing instructions) no later than the stated termination date of the related Securities Lending
 Agreement. To the extent provided in a Securities Lending Agreement, earnings on amounts on deposit
 in the Securities Lending Account will be payable by the Issuer to the related Securities Lending
 Counterparty. Amounts on deposit in the Securities Lending Account will not be considered an asset of
 the Issuer for the purposes of the Coverage Tests, but the loaned security or asset that relates to the
 Securities Lending Account will be so considered an asset of the Issuer.

          Payment Account. The Trustee will in accordance with the Indenture deposit funds from the
 Collection Account into the “Payment Account”, over which the Trustee will have exclusive control and
 the sole right of withdrawal. All assets or securities at any time on deposit in or otherwise to the credit of
 the Payment Account will be held in trust by the Trustee for the benefit of the Secured Parties. The only
 permitted withdrawal from or application of funds on deposit in, or otherwise to the credit of, the
 Payment Account will be to pay amounts due and payable on the Notes in accordance with their terms
 and the provisions of the Indenture and to pay Administrative Expenses and other amounts specified in
 the Indenture, each in accordance with the Priority of Payments. If invested, any amounts on deposit in
 the Payment Account will be invested in Eligible Investments.

          Interest Reserve Account. Amounts deposited in the “Interest Reserve Account”, on the Closing
 Date will be withdrawn on the first Payment Date to pay the amount necessary such that the amounts
 referred to in clauses (1) through (17) of “Description of the Securities—Priority of Payments—Interest
 Proceeds” will be paid in full on the first Payment Date. In addition, the Portfolio Manager in its sole
 discretion may direct that all or any portion of the funds remaining on deposit in the Interest Reserve
 Account after application pursuant to the preceding sentence be deposited into the Collection Account as
 Interest Proceeds and/or as Principal Proceeds (allocated in such proportion as the Portfolio Manager
 directs in its sole discretion) for distribution on the first Payment Date. Any funds remaining on deposit in
 the Interest Reserve Account after the first Payment Date will be withdrawn on the second Payment Date
 to pay the amount necessary such that the amounts referred to in clauses (1) through (17) of “Description

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 of the Securities—Priority of Payments—Interest Proceeds” will be paid in full on the second Payment
 Date. The Trustee will transfer any remaining funds on deposit in the Interest Reserve Account on the
 second Payment Date to the Collection Account, as directed by the Portfolio Manager in its sole
 discretion as Interest Proceeds and/or as Principal Proceeds (allocated in such proportion as the Portfolio
 Manager directs in its sole discretion) and close the Interest Reserve Account. Amounts on deposit in the
 Interest Reserve Account shall be invested in Eligible Investments with Stated Maturities as directed by
 the Portfolio Manager (which may be in the form of standing instructions), no later than the Business Day
 before the next Payment Date.

          Synthetic Security Counterparty Account. To the extent that any Synthetic Security requires the
 Issuer to secure its obligations to the Synthetic Security Counterparty, the Issuer shall direct the Trustee
 and the Trustee shall establish a segregated non-interest bearing trust account (the “Synthetic Security
 Counterparty Account”) for the Synthetic Security which shall be held in trust for the benefit of the
 related Synthetic Security Counterparty and over which the Trustee shall have exclusive control and the
 sole right of withdrawal in accordance with the applicable Synthetic Security and the Indenture. In the
 alternative, a Synthetic Security Counterparty Account may be established with a trustee designated by
 the Synthetic Security Counterparty that satisfies the requirements with respect to being a securities
 intermediary with respect to the posted collateral if that custodian would qualify to be a successor trustee
 under the Indenture and the account satisfies the other requirements of a Synthetic Security Counterparty
 Account under the Indenture.

          As directed in writing by the Portfolio Manager, the Trustee shall deposit (or deliver for deposit)
 into each Synthetic Security Counterparty Account all amounts or securities that are required to secure the
 obligations of the Issuer in accordance with the related Synthetic Security, including the entire notional
 amount of any Synthetic Security in the form of a credit default swap or other similar transaction. The
 Portfolio Manager shall direct any such deposit only during the Reinvestment Period and only to the
 extent that monies are available for the purchase of Collateral Obligations pursuant to the Indenture. Any
 income received on amounts in the Synthetic Security Counterparty Account shall, after application in
 accordance with the relevant Synthetic Security, be withdrawn from the Synthetic Security Counterparty
 Account and deposited in the Collection Account for distribution as Interest Proceeds.

         As directed by the Portfolio Manager in writing and in accordance with the applicable Synthetic
 Security and the Indenture, amounts on deposit in a Synthetic Security Counterparty Account shall be
 invested in Synthetic Security Collateral.

          In connection with the occurrence of a credit event or an event of default or a termination event
 (each as defined in the applicable Synthetic Security) under the related Synthetic Security, amounts in any
 Synthetic Security Counterparty Account shall be withdrawn by the Trustee (or the Trustee shall request
 their withdrawal) and applied toward the payment of any amounts payable by the Issuer to the related
 Synthetic Security Counterparty in accordance with the Synthetic Security, as directed by the Portfolio
 Manager in writing. Any excess amounts held in a Synthetic Security Counterparty Account, or held
 directly by a Synthetic Security Counterparty, after payment of all amounts owing from the Issuer to the
 related Synthetic Security Counterparty in accordance with the related Synthetic Security shall be
 withdrawn from the Synthetic Security Counterparty Account and deposited in the Collection Account for
 distribution as Principal Proceeds.

         Amounts on deposit in any Synthetic Security Counterparty Account shall not be considered an
 asset of the Issuer for the purposes of the Coverage Tests, but the Synthetic Security that relates to the
 Synthetic Security Counterparty Account shall be so considered an asset of the Issuer (with the notional
 amount as the Principal Balance unless a default exists under the applicable Synthetic Security).




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 Hedge Agreements

         At any time and from time to time after the Closing Date, the Issuer, at the direction of the
 Portfolio Manager, may enter into the Hedge Agreements and will assign its rights (but none of its
 obligations) under the Hedge Agreements to the Trustee pursuant to the Indenture and the collateral
 assignment of Hedge Agreements. The Portfolio Manager, on behalf of the Issuer, will obtain the
 approval of each new Hedge Agreement from each Hedge Counterparty to a then-existing Hedge
 Agreement. The Trustee will, on behalf of the Issuer and in accordance with the Valuation Report, pay
 amounts due to the Hedge Counterparties under the Hedge Agreements on any Payment Date in
 accordance with the Priority of Payments.

          Each Hedge Counterparty will be required to have (i) a debt rating by Moody’s for long-term debt
 of “Aa3” (which rating of “Aa3” is not on credit watch for a possible downgrade) or higher if the Hedge
 Counterparty has only a long-term rating; or a debt rating by Moody’s for long-term debt of “A1” (which
 rating of “A1” is not on credit watch for possible downgrade) or higher and a debt rating by Moody’s for
 short-term debt of “P-1” (which rating of “P-1” is not on credit watch for possible downgrade) if the
 Hedge Counterparty has both long-term and short-term ratings and (ii) a short-term debt rating by S&P of
 not less than “A-1” or a long-term debt rating of not less than “A+” (the “Required Rating”).

         If at any time a Hedge Counterparty has:

         (A)     no short-term Moody’s rating and a long-term Moody’s rating and that rating is below
                 “Aa3” or is “Aa3” and has been placed on credit watch for possible downgrade by
                 Moody’s; or

         (B)     both a short-term and long-term Moody’s rating; and either:

                         (i)     the long-term Moody’s rating is below “A1” or that rating is “A1” and
                                 has been placed on credit watch for possible downgrade by Moody’s, or

                         (ii)    the short-term Moody’s rating is below “P-1” or that rating is “P-1” and
                                 has been placed on credit watch for possible downgrade by Moody’s;

                 then the Hedge Counterparty shall be required, at its sole expense, to, within 30 days,
                 either:

                         (i)     post collateral with the Trustee to secure the Hedge Counterparty’s
                                 obligations under the Hedge Agreement, in an amount and of the type
                                 sufficient to cause the Rating Condition with respect to Moody’s to be
                                 satisfied; or

                         (ii)    obtain a guarantor whose short-term and long-term debt ratings equal or
                                 exceed the above criteria; or

                         (iii)   replace itself under the related or substantially equivalent Hedge
                                 Agreement with a substitute Hedge Counterparty whose short-term and
                                 long-term debt ratings equal or exceed the above criteria; or

                         (iv)    take other actions to satisfy the Rating Condition with respect to
                                 Moody’s.




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         If at any time the Hedge Counterparty has:

         (A)     no short-term Moody’s rating and a long-term Moody’s rating that is “A2” or below or
                 has been suspended or withdrawn;

         (B)     both a short-term and long-term Moody’s rating; and either:

                         (i)      the long-term Moody’s rating is “A3” or below or is suspended or
                                  withdrawn; or

                         (ii)     the short-term Moody’s rating is “P-2” or below; or

         (C)     a short-term debt rating by S&P below “A-1” or, if the Hedge Counterparty has no short-
                 term rating by S&P, a long-term rating by S&P below “A+” or that has been suspended
                 or withdrawn;

         then the Hedge Counterparty shall be required, at its sole expense, to, within 30 days, either:

                 (i)     post collateral as required by the Hedge Agreement to secure the Hedge
                         Counterparty’s obligations under the Hedge Agreement in an amount and of the
                         type sufficient to cause the Rating Condition with respect to Moody’s and S&P
                         to be satisfied; or

                 (ii)    (x) obtain a guarantor that has a Required Rating and that will satisfy the Rating
                         Condition with respect to S&P with respect to its appointment; (y) replace itself
                         under the related or substantially equivalent Hedge Agreement with a substitute
                         Hedge Counterparty that has a Required Rating and the appointment of which
                         will satisfy the Rating Condition with respect to S&P; or (z) take such other
                         actions to satisfy the Ratings Condition;

         provided that, if at any time the Hedge Counterparty has a short-term debt rating by S&P below
         “A-3” or, if the Hedge Counterparty has no short-term rating by S&P, a long-term rating by S&P
         below “BBB-” or such Hedge Counterparty’s rating has been suspended or withdrawn, then the
         Hedge Counterparty shall be required, at its sole expense, to within 7 days replace itself under the
         related or substantially equivalent Hedge Agreement with a substitute Hedge Counterparty that
         has a Required Rating and the appointment of which will satisfy the Rating Condition with
         respect to S&P.

         Any payments required to be made under the Hedge Agreements shall be made in accordance
 with the Priority of Payments. Defaulted Hedge Termination Payments shall be subordinate to interest
 and principal payments on the Notes and any other payments required to be made by the Issuer under the
 Hedge Agreements, but senior to distributions to Holders of the Class E Certificates pursuant to the
 Indenture.

          Unless the Rating Condition with respect to each Rating Agency is otherwise satisfied, following
 the early termination of a Hedge Agreement (other than on a Redemption Date) the Issuer, at the direction
 of the Portfolio Manager, shall promptly (but no later than 60 days after the early termination), at the
 expense of the Issuer and to the extent possible through Hedge Termination Receipts, enter into a
 replacement hedge, unless, in the exercise of the Portfolio Manager’s commercially reasonable judgment,
 to do so would not be in the best interest of the Issuer and the Rating Condition with respect to each
 Rating Agency is satisfied with respect to not entering into a replacement hedge. In addition, a
 replacement hedge may not be entered into unless the Issuer provides the Rating Agencies with at least
 seven Business Days’ prior written notice of its intention to enter into a replacement hedge, together with
 its form and the Rating Condition with respect to each Rating Agency is satisfied with respect to the

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 replacement hedge. The Issuer shall use commercially reasonable efforts to cause the termination of a
 Hedge Agreement (other than a termination resulting from the bankruptcy, insolvency, or similar event
 with respect to the Hedge Counterparty) to become effective simultaneously with its entering into a
 replacement hedge. To the extent that (i) the Portfolio Manager determines not to replace the Hedge
 Agreement and the Rating Condition with respect to each Rating Agency is satisfied with respect to the
 determination; or (ii) termination is occurring on a Redemption Date, the Hedge Termination Receipts
 shall become part of Principal Proceeds and be distributed in accordance with the Priority of Payments on
 the next following Payment Date (or on the Redemption Date, if the Notes are redeemed on the
 Redemption Date).

         The notional amounts of the Hedge Agreements outstanding at any time may be reduced or
 increased from time to time, by the Issuer, and the Hedge Agreements may be amended, modified, or
 terminated in accordance with the Hedge Agreements if the Rating Condition with respect to each Rating
 Agency is satisfied with respect to the reduction, increase, amendment, modification, or termination, as
 the case may be.

         Each Hedge Agreement may be terminated pursuant to its terms upon an Optional Redemption of
 the Notes or an acceleration of maturity of the Notes after an Event of Default. The Hedge Agreement
 will not be permitted to be terminated as the result of a Default or Event of Default unless any
 acceleration of maturity of the Notes resulting from the Event of Default is no longer permitted to be
 rescinded and liquidation of the Collateral has begun pursuant to the Indenture.

         The Issuer shall not enter into any hedge agreement unless (i) the Rating Condition with respect
 to each Rating Agency is satisfied and (ii) the entry into, performance and termination of such hedge
 agreement will not subject the Issuer to net income tax in any jurisdiction outside its jurisdiction of
 incorporation.

 Synthetic Securities

         The Issuer will not enter into a Synthetic Security Agreement with a Synthetic Security
 Counterparty unless the terms of such Synthetic Security Agreement provide that, if at any time the
 Synthetic Security Counterparty does not meet the Synthetic Security Counterparty Ratings Requirement,
 such Synthetic Security Counterparty shall (at the sole cost of the Synthetic Security Counterparty) take
 one of the following actions within 30 days following the date on which the Synthetic Security
 Counterparty fails to meet such Synthetic Security Counterparty Ratings Requirement:

                  (i)    post collateral with the Trustee to secure the Synthetic Security Counterparty’s
         obligations under the Synthetic Security Agreement, in an amount and of the type sufficient to
         cause the Rating Condition with respect to S&P to be satisfied; provided that, if the Synthetic
         Security Counterparty’s senior unsecured credit rating by S&P for long-term debt of such
         Synthetic Security Counterparty are rated below “BBB+” and the senior unsecured, credit rating
         by S&P for short-term senior debt of such Synthetic Security Counterparty are rated below “A 2”
         (if such Synthetic Counterparty has a short term rating from Standard & Poor’s), the Synthetic
         Security Counterparty shall obtain or provide a legal opinion addressed to the Issuer and the
         Trustee acceptable to S&P to the effect that the collateral will be available to the Trustee and the
         Noteholders in the event of the insolvency of such Synthetic Security Counterparty;
                 (ii)    obtain a guarantor whose short-term and long-term debt ratings equal or exceed
         the Synthetic Security Counterparty Ratings Requirement;
                  (iii)    cause an entity who satisfies the Security Counterparty Ratings Requirement to
         issue in favor of the Issuer a credit support of such Synthetic Security Counterparty’s obligations
         under the related Synthetic Security acceptable in form and substance to the Issuer and that
         satisfies the Rating Condition;


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                  (iv)    replace itself under the related or substantially equivalent Synthetic Security
         Agreement with a substitute Synthetic Security Counterparty whose short-term and long-term
         debt ratings equal or exceed the Synthetic Security Counterparty Ratings Requirement; provided
         that, upon successful consummation of any such substitution and assignment, the related
         Synthetic Security Counterparty’s obligations to post collateral contemplated by clause (i) above
         shall terminate and Issuer shall release its security interest in, and return to the related Synthetic
         Security Counterparty, any then posted collateral; or

                 (v)      take other actions to satisfy the Rating Condition with respect to S&P.

         If the Synthetic Security Counterparty has maintained its Synthetic Security Counterparty Rating
 Requirements pursuant to clause (ii) above, the Issuer (or the Portfolio Manager on its behalf) shall, in the
 event that the Synthetic Security Counterparty fails to meet its payment obligations under the Synthetic
 Agreement, demand payment from the guarantor on the day such payment from the Synthetic Security
 Counterparty is due for the purpose of requiring such guarantor to make payment on such same day.

 Securities Lending

         The Indenture permits the Issuer to engage in a limited number of securities lending transactions
 as described below and subject to certain limitations.

           The Portfolio Manager may instruct the Trustee to cause Collateral Obligations that are not
 Defaulted Collateral Obligations to be lent for a term of 90 days or less to banks, broker-dealers, and
 other financial institutions (other than insurance companies) having long-term and short-term senior
 unsecured debt ratings or guarantors with ratings of at least “A1” (and not “A1” but on credit watch with
 negative implications) and “P-1” (and not on credit watch for possible downgrade) from Moody’s and a
 long-term senior unsecured debt rating of at least “A+” from S&P (each, a “Securities Lending
 Counterparty”) pursuant to one or more agreements (each, a “Securities Lending Agreement”);
 provided that Collateral Obligations the Market Value of which cannot be determined under clause (i), (ii)
 or (iii) of that definition may not be lent pursuant to a Securities Lending Agreement. Upon receipt of an
 Issuer Order, the Trustee shall release any lent Collateral Obligations to a Securities Lending
 Counterparty as directed by the Portfolio Manager. The Securities Lending Counterparties may be
 Affiliates of the Placement Agent or Affiliates of the Portfolio Manager. The duration of any Securities
 Lending Agreement shall not exceed the Stated Maturity of the Notes. Collateral Obligations
 representing no more than 15% (measured by Aggregate Principal Balance) of the Maximum Investment
 Amount may be loaned pursuant to Securities Lending Agreements at any time.

       Each Securities Lending Agreement shall be on market terms as determined by the Portfolio
 Manager (except to the extent specified in the Indenture) and shall:

         (i)     require that the Securities Lending Counterparty return to the Issuer debt obligations that
                 are identical (in terms of issue and class) to the lent Collateral Obligations;

         (ii)    require that the Securities Lending Counterparty pay to the Issuer amounts equivalent to
                 all interest and other payments that the owner of the lent Collateral Obligation is entitled
                 to for the period during which the Collateral Obligation is lent and require that any such
                 payments not be subject to withholding tax imposed by any jurisdiction unless the
                 Securities Lending Counterparty is required under the Securities Lending Agreement to
                 make “gross-up” payments to the Issuer that cover the full amount of the withholding tax
                 on an after-tax basis;

         (iii)   require that the Rating Condition with respect to each Rating Agency shall be satisfied
                 with respect to the execution of the Securities Lending Agreement;


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         (iv)     satisfy any other requirements of Section 1058 of the Code and the Treasury Regulations
                  promulgated under it;

         (v)      be governed by the laws of New York;

         (vi)     permit the Issuer to assign its rights under the Securities Lending Agreement to the
                  Trustee pursuant to the Indenture;

         (vii)    provide for early termination and the delivery of any lent Collateral Obligation with no
                  penalty if the Collateral Obligation becomes a Credit Risk Obligation or is subject to
                  redemption in accordance with its terms;

         (viii)   provide for early termination and the delivery of any lent Collateral Obligation with no
                  penalty upon any redemption of the Notes in whole;

         (ix)     require the Securities Lending Counterparty to post with the Trustee collateral consisting
                  of Cash or direct registered debt obligations of the United States of America that have a
                  maturity date no later than the Business Day preceding the stated termination date of the
                  Securities Lending Agreement to secure its obligation to return the Collateral Obligations
                  or in the alternative post that collateral with a custodian for the benefit of the Issuer
                  designated by the Securities Lending Counterparty that satisfies the requirements with
                  respect to being a securities intermediary with respect to the posted collateral if that
                  custodian would qualify to be a successor trustee under the Indenture;

         (x)      provide that the Securities Lending Collateral shall be maintained at all times in an
                  amount equal to at least 102% of the current Ask-Side Market Value (determined daily
                  and monitored by the Portfolio Manager) of the lent Collateral Obligations and if
                  securities are delivered to the Trustee as security for the obligations of the Securities
                  Lending Counterparty under the related Securities Lending Agreement, the Portfolio
                  Manager on behalf of the Issuer will negotiate with the Securities Lending Counterparty a
                  rate for the loan fee to be paid to the Issuer for lending the lent Collateral Obligations;

         (xi)     the lent Collateral Obligations shall be marked-to-market on a daily basis by the Portfolio
                  Manager on the basis of their Market Value;

         (xii)    the Collateral will include the Issuer’s rights under the related Securities Lending
                  Agreement rather than the loaned Collateral Obligation;

         (xiii)   provide for early termination within 10 days at the option of the Issuer and the delivery of
                  any lent Collateral Obligation with no penalty if the Securities Lending Counterparty is
                  no longer in compliance with the requirements relating to the credit ratings of the
                  Securities Lending Counterparty and the noncompliance is not cured as provided in the
                  Indenture; and

         (xiv)    contain appropriate limited recourse and non-petition provisions (to the extent the Issuer
                  has contractual payment obligations to the Securities Lending Counterparty) equivalent
                  (mutatis mutandis) to those in the Indenture.

         If either Moody’s or S&P downgrades a Securities Lending Counterparty such that the Securities
 Lending Agreements to which the Securities Lending Counterparty is a party are no longer in compliance
 with the requirements relating to the credit ratings of the Securities Lending Counterparty, then the Issuer,
 within 10 days of the downgrade, shall (i) terminate its Securities Lending Agreements with the Securities
 Lending Counterparty unless a guarantor for the Securities Lending Counterparty’s obligations under the
 Securities Lending Agreements has been obtained; or (ii) reduce the percentage of the Aggregate

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 Principal Balance of the Collateral Obligations lent to the downgraded Securities Lending Counterparty
 so that the Securities Lending Agreements to which the Securities Lending Counterparty is a party,
 together with all other Securities Lending Agreements, are in compliance with the requirements relating
 to the credit ratings of Securities Lending Counterparties; or (iii) take any other steps Moody’s or S&P
 may require to cause the Securities Lending Counterparty’s obligations under the Securities Lending
 Agreements to which the Securities Lending Counterparty is a party to be treated by Moody’s or S&P, as
 the case may be, as if the obligations were owed by a counterparty having a rating at least equivalent to
 the rating that was assigned by Moody’s or S&P, as the case may be, to the downgraded Securities
 Lending Counterparty before its being downgraded.

          The Portfolio Manager shall instruct the Trustee in writing with respect to the administration of
 any Securities Lending Agreement (including with respect to any default and the exercise of rights under
 it). The Trustee shall not have any responsibility for evaluating the sufficiency, validity, or acceptability
 of any Securities Lending Agreement or for the qualifications or eligibility of any Securities Lending
 Counterparty. Nothing in the Indenture shall be construed to cause the Trustee to have any fiduciary
 duties to any Securities Lending Counterparty.

          So long as any Collateral Obligation is on loan pursuant to a Securities Lending Agreement,
 (a) the Trustee shall have no liability for any failure or inability on its part to receive any information or
 take any action with respect to the Collateral Obligation because of its being on loan (including any
 failure to take action with respect to a notice of redemption, consent solicitation, exchange or tender offer,
 or similar corporate action) and (b) the loaned Collateral Obligations shall not be disqualified for return to
 the Trustee as a Collateral Obligation by any change in circumstance or status during the time while on
 loan (including any change that would cause the Collateral Obligation to be ineligible for purchase by the
 Issuer under the Indenture if applied to a proposed purchase of it in the open market at the time of its
 return from loan).

                        MATURITY AND PREPAYMENT CONSIDERATIONS
          The Stated Maturity of each Class of Notes will be the Payment Date in November 2017 or, upon
 a Maturity Extension (if any), the applicable Extended Stated Maturity Date; however, the principal of
 each Class of the Notes is expected to be paid in full prior to its Stated Maturity. Average life refers to
 the average amount of time that will elapse from the date of delivery of a security until each dollar of the
 principal of such security will be paid to the investor. The average lives of the Notes will be determined
 by the amount and frequency of principal payments, which are dependent upon, among other things, the
 amount of sinking fund payments and any other payments received at or in advance of the scheduled
 maturity of Collateral Obligations (whether through sale, maturity, redemption, default or other
 liquidation or disposition).
          The actual performance of the Securities will also be affected by the financial condition of the
 obligors on or issuers of the Collateral Obligations and the characteristics of the Collateral Obligations,
 including the interest rate or other rate of distribution, the actual default rate and actual losses sustained,
 the existence and frequency of exercise of any prepayment, optional redemption, or sinking fund features
 and any related premium, the prevailing level of interest rates, any sales of Collateral Obligations, and
 any unique risks of the Collateral Obligations. Any disposition of a Collateral Obligation may change the
 composition and characteristics of the portfolio of Collateral Obligations and their rate of payment, and,
 accordingly, may affect the actual performance of each respective Class of Securities. The ability of the
 Issuer to reinvest any Interest Proceeds or Principal Proceeds in the manner described under “Security for
 the Notes” will also affect the performance of the Securities. Redemptions will also affect the
 performance of the Securities.




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                                     THE PORTFOLIO MANAGER
          The information appearing in this section has been prepared by the Portfolio Manager and has
 not been independently verified by the Co-Issuers, the Initial Purchaser, the Placement Agent or any
 other person. Accordingly, notwithstanding anything to the contrary herein, neither the Co-Issuers, the
 Initial Purchaser, the Placement Agent nor any other person assume any responsibility for the accuracy,
 completeness or applicability of such information.

 General

         Based in Dallas, Texas, Highland Capital is a registered investment adviser specializing in below
 investment grade credit and special situation investing. As of September 30, 2005, Highland Capital
 managed over $18 billion in leveraged loans, high yield bonds, structured products and other assets for
 banks, insurance companies, pension plans, foundations, and high net worth individuals.

         Highland Capital manages these assets through a variety of fund structures including separate
 accounts, CDOs, hedge funds and mutual funds. As of September 30, 2005, Highland Capital invested in
 approximately 1,000 below investment grade and credit sensitive credit positions, and Highland Capital's
 56 person credit team followed approximately 1,200 below investment grade and credit sensitive credit
 positions across over 40 industries. Highland Capital or an affiliate or predecessor thereof has been an
 SEC-registered investment advisor since April 1993.

         Investment Philosophy and Process

          Highland Capital has a large range and depth of experience. It has expertise in syndicated loans,
 high yield bonds, and distressed investments. Highland Capital believes it is in a position to arbitrage
 disparities in the historical spread relationship between various below investment grade asset classes.
 Highland Capital believes that, historically, the most inefficient asset classes have demonstrated the best
 risk/return characteristics.

         Highland Capital has invested over $250 million of firm capital in its funds, and expects that one
 of its Affiliates or funds will invest approximately $22 million aggregate Face Amount in the Class E
 Certificates of the Issuer. Additionally, Highland Capital believes that it strives to minimize operating
 expenses and hires the brightest and most talented professionals, insisting on a high degree of dedication
 and integrity.

          Highland Capital believes that its disciplined investment process minimizes a portfolio’s risk and
 that its strategy seeks to maximize current yield over capital appreciation while limiting downside risk.
 Portfolio managers actively follow each credit and several times each year the entire investment staff
 reviews all positions during multi-day monitoring meetings. Highland Capital diversifies its portfolios
 with set limits on exposure to any one given industry or issuer. Highland Capital believes that this
 philosophy and process has resulted in positive returns in 48 of the last 50 quarters on its underlying loan
 portfolio and consistent outperformance relative to its indices.

         Highland Capital focuses on a “team” approach that it has used since the investment committee
 started in 1990. It is Highland Capital management’s belief that this style creates the optimum
 environment for the exchange of information and the development of all investment professionals. All
 aspects of the investment process are coordinated through the committee’s direct interaction. The
 investment committee, which consists of senior portfolio managers, Highland Capital’s Chief Investment
 Officer and its Head of Structured Products, meets every morning to discuss the market, investment
 strategy, and credits. In addition, the firm maintains an “informal” open door policy with regards to
 investment or personal issues. The committee is composed of senior management and portfolio
 managers/analysts. Collectively, the committee utilizes an investment process which is driven by
 fundamental credit research. Each portfolio manager/analyst makes specific credit recommendations

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 based upon industry coverage. The investment proposal is then brought to the investment committee for
 consideration. Based upon the consensus decision, the portfolio manager with the recommendation will
 direct Highland traders to execute the trade. Highland Capital has also provided its investment committee
 with a strong commitment to technology. The firm developed Wall Street Office® which is a proprietary
 software system that allows Highland Capital to model, portfolio manage, and trade syndicated loans.
 This software has been licensed to more than 70 financial institutions that invest in syndicated loans.

 Professionals of the Portfolio Manager

         Set forth below is information regarding certain persons who are currently employed by the
 Portfolio Manager. Such persons may not necessarily continue to be so employed during the entire term
 of the Management Agreement.

 Senior Management

         James Dondero, CFA, CPA, CMA – Managing Partner - President

         Mr. Dondero is a Founder and President of Highland Capital. Formerly, Mr. Dondero served as
 Chief Investment Officer of Protective Life’s GIC subsidiary and helped grow the business from concept
 to over $2 billion between 1989 to 1993. His portfolio management experience includes mortgage-
 backed securities, investment grade corporates, leveraged bank loans, emerging markets, derivatives,
 preferred stocks and common stocks. From 1985 to 1989, he managed approximately $1 billion in fixed
 income funds for American Express. Prior to American Express, he completed the financial training at
 Morgan Guaranty Trust Company. Mr. Dondero is a Beta Gamma Sigma graduate of the University of
 Virginia, 1984 with degrees in Accounting and Finance. Mr. Dondero is a Certified Public Accountant,
 Chartered Financial Analyst and a Certified Management Accountant.

         Mark Okada, CFA – Managing Partner - Chief Investment Officer

          Mr. Okada is a Founder and Chief Investment Officer of Highland Capital. He is responsible for
 overseeing Highland Capital’s investment activities for its various funds and has over 19 years of
 experience in the leveraged finance market. Formerly, Mr. Okada served as Manager of Fixed Income for
 Protective Life’s GIC subsidiary from 1990 to 1993. He was primarily responsible for the bank loan
 portfolio and other risk assets. Protective was one of the first non-bank entrants into the syndicated loan
 market. From 1986 to 1990, he served as Vice President for Hibernia National Bank, managing over $1
 billion of high yield bank loans. Mr. Okada is an honors graduate of the University of California Los
 Angeles with degrees in Economics and Psychology. He completed his credit training at Mitsui and is a
 Chartered Financial Analyst. Mr. Okada is also Chairman of the Board of Directors of Common Grace
 Ministries Inc.

         Todd Travers, CFA – Head of Structured Products, Senior Portfolio Manager

          Mr. Travers is responsible for Highland Capital’s CDO business and is the primary portfolio
 manager for Highland Capital’s par debt funds. He is a member of the Credit Committee and heads a
 team that is responsible for structuring new transactions and implementing additional opportunities in
 Highland Capital’s core businesses. Formerly, Mr. Travers served as Portfolio Manager/Portfolio Analyst
 from 1994 to 1998 for Highland Capital. In 1999, he was promoted to Senior Portfolio Manager and his
 duties were expanded beyond sector portfolio management to include the origination, structuring and
 issuance of new structured vehicles, including all structured vehicles since Highland Loan Funding V Ltd.
 and Restoration Funding Ltd. His prior responsibilities included managing a portion of Highland
 Capital’s leveraged loan and high yield debt portfolios with an emphasis on technology and aviation
 transactions. Prior to joining Highland Capital, Mr. Travers was a Finance Manager at American

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 Airlines. Mr. Travers is a graduate of Iowa State University with a BS in Industrial Engineering. He
 received his MBA with an emphasis in Finance from Southern Methodist University. Mr. Travers is a
 Chartered Financial Analyst.

         Traders

         Brad Borud – Senior Trader and Co-Director Portfolio Management

         Mr. Borud is a Senior Trader of leveraged loans and high yield bonds. Prior to his current duties,
 Mr. Borud served as a Portfolio Analyst for Highland Capital from 1996 to 1998. From 1998 to 2003,
 Mr. Borud was a Portfolio Manager covering a wide range of industries, including Wireline
 Telecommunications, Wireless Telecommunications, Telecommunication Equipment Manufacturers,
 Multi-channel Video, and Media. Prior to joining Highland Capital, Mr. Borud worked as a Global
 Finance Analyst in the Corporate Finance Group at NationsBank from 1995 to 1996 where he was
 involved in the originating, structuring, modeling, and credit analysis of leveraged transactions for large
 corporate accounts in the Southwest portion of the United States. During 1994, Mr. Borud also served at
 Conseco Capital Management as an Analyst Intern in the Fixed Income Research Department following
 the Transportation and Energy sectors. He has a BS in Business Finance from Indiana University.

         Paul Kauffman, CFA, CPA – Senior Trader and Co-Director of Portfolio Management

         Mr. Kauffman is a Senior Trader for loan and high yield credit products. He joined Highland
 Capital in 1998 as a Portfolio Analyst and was a Portfolio Manager prior to moving into his current role.
 At Highland Capital, Paul has followed a variety of industries, including Paper &
 Packaging, General Industrials, Metals, and the Automotive sector. Prior to Highland Capital, Mr.
 Kauffman spent four years in the public accounting industry, including two and a half years at KPMG
 Peat Marwick. At KPMG, Mr. Kauffman gained audit experience in a wide range of industries, with
 particular focus on the Energy and Cable industries. He was the Supervising Senior Accountant on one of
 the Dallas offices’ largest clients. He received a BBA in Accounting from Baylor University and an
 MBA from Duke University. Mr. Kauffman is a Chartered Financial Analyst.

         Senior Portfolio Managers

         Patrick H. Daugherty – Senior Distressed Portfolio Manager

           Mr. Daugherty is a Senior Portfolio Manager and General Counsel at Highland Capital. He is co-
 head of the Distressed Group where he is responsible for managing the sourcing, investing, and
 monitoring process. In addition, he serves as head manager of the Private Equity Group and is
 responsible for all portfolio companies. Prior to joining Highland Capital in early 1998, Mr. Daugherty
 served as Vice President in the Corporate Finance Group at NationsBanc Capital Markets, Inc. (now Bank
 of America Capital Markets, Inc.) where he originated and structured leveraged transactions for a $2.5
 billion portfolio of mid-cap companies located in the Southwest. Prior to joining Bank of America, Mr.
 Daugherty was an Associate with the law firm of Baker, Brown, Sharman and Parker in Houston, Texas
 where he represented banks and financial institutions in the liquidation of various RTC portfolios. Mr.
 Daugherty has over 15 years of experience in distressed, high yield and corporate restructuring. He has
 been involved in over 100 bankruptcy situations and held steering committee positions in over 35 cases.
 Mr. Daugherty currently serves on the Board of Directors of Norse Merchant Group and its affiliates,
 Ferrimorac Holdings Limited, Nexpak Corporation and its affiliates (as Chairman), Moll Industries and
 its affiliates (as Chairman), and is a former board member of Mariner Health Care, Inc. He received a
 BBA in Finance from The University of Texas at Austin and a Juris Doctorate from The University of
 Houston School of Law. Mr. Daugherty’s professional certifications include membership in the Texas
 Bar Association and admittance to the American Bar Association in 1992.



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         John Morgan, CFA – Senior Portfolio Manager

          Mr. Morgan is a Senior Portfolio Manager covering the Retail, Food & Drug, and Restaurant &
 Lodging sectors. Prior to joining Highland Capital, Mr. Morgan served as Portfolio Analyst for Falcon
 Fund Management, LTD from August 1995-February 2000. There he created comparables to assess the
 attractiveness of companies within industries and across the portfolio. He assisted the portfolio manager
 in the security selection process and management of the portfolio. Prior to Falcon, he was an Analyst for
 a Convertible Arbitrage Fund at Q Investments. His primary responsibility included analyzing financial
 statements and related corporate disclosures and performing analysis on potential investment
 opportunities. He received both a BS in Biological Sciences and an MBA from Southern Methodist
 University.

         Kurtis S. Plumer, CFA – Senior Distressed Portfolio Manager

          Mr. Plumer is co-head of the Distressed Group at Highland Capital and is responsible for
 managing the sourcing and monitoring process. He has over 14 years of experience in distressed, high
 yield bond and leveraged loan products. Prior to joining Highland Capital in 1999, Mr. Plumer was a
 distressed high yield bond trader at Lehman Brothers in New York, where he managed a $250 million
 portfolio invested in global distressed securities. While at Lehman, he also traded emerging market
 sovereign bonds. Prior to joining Lehman Brothers, Mr. Plumer was a corporate finance banker at
 NationsBanc Capital Markets, Inc. (now Bank of America Capital Markets, Inc.) where he focused on
 M&A and financing transactions for the bank’s clients. Mr. Plumer earned a BBA in Economics and
 Finance from Baylor University and an MBA in Strategy and Finance from the Kellogg School at
 Northwestern University. Mr. Plumer is a Chartered Financial Analyst.

         Dansby White – Managing Director

         Mr. White is responsible for growing Highland Capital’s structured finance and structured
 vehicles business. Prior to joining Highland Capital he was Managing Director and Head of Structured
 Finance in the Americas from June 2000 to September 2002 at Merrill Lynch. In this capacity, Mr. White
 was responsible for managing the Asset Backed Commercial Paper, Asset Backed Securities,
 Collateralized Debt Obligation and CMBS businesses. From March 1999 until June 2000 Mr. White was
 the Head of Merrill’s Global CDO Group. Prior to joining Merrill Lynch Mr. White was a Principal in the
 Structured Finance Group at BT Alex Brown focusing on the CDO business. In the early 1980s, Mr.
 White worked in various capacities at GATX Leasing Corporation. Prior to joining BT Alex Brown, Mr.
 White spent eight years practicing general corporate law at Cahill Gordon and Reindel LLP and White &
 Case LLP. Mr. White holds a BA in Economics from Northwestern University, an MBA from the
 Kellogg School of Management at Northwestern University and a JD from Rutgers University School of
 Law in Newark where Mr. White was selected for the Law Review. After graduating from Law School,
 Mr. White served as Law Clerk to the Hon. Robert N. Wilentz, Chief Justice of the New Jersey Supreme
 Court for one year.

         David Walls, CFA – Senior Portfolio Manager

          Mr. Walls is a Senior Portfolio Manager with oversight of the Cable, Wireless/Wireline Telecom,
 Satellite, Aerospace/Defense and Equipment Rental sectors. Prior to joining Highland Capital, Mr. Walls
 worked for Lend Lease Real Estate Investments as an Associate in their Asset Management
 unit underwriting and structuring acquisitions of bulk portfolios of distressed Korean real estate and
 corporate debt. Before his international responsibilities at Lend Lease, Mr. Walls performed loan
 workouts on a domestic portfolio of sub- and non-performing real estate secured assets. Prior to Lend
 Lease, Mr. Walls worked at U.S. Trust Company of California as an Assistant Vice President, Junior
 Portfolio Manager in their Fixed Income Portfolio Management group and for Capital Research &
 Management Company as a fixed income trader. He holds a BA in Economics from Northwestern


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 University and an MBA in Finance and Marketing from the Kellogg School of Management at
 Northwestern University. Mr. Walls is a member of AIMR and DAIA. Mr. Walls is a Chartered
 Financial Analyst.

         Joe Dougherty, CFA, CPA – Senior Portfolio Manager

         Mr. Dougherty is a Senior Portfolio Manager. Additionally, Mr. Dougherty heads Highland
 Capital’s retail funds business unit (“Highland Funds”) and serves as Senior Vice President and Director
 of the Firm’s two NYSE-listed bond funds, which invest in both investment grade and high yield debt.
 Additionally, Mr. Dougherty serves as Senior Vice President and Director of the Firm’s two 1940 Act
 Registered floating rate funds, which primarily invest in senior secured floating rate loans. In this
 capacity, Mr. Dougherty oversees investment decisions for the retail funds, alongside several other
 Portfolio Managers, and manages the team dedicated to their day-to-day administration. Prior to his
 current duties, Mr. Dougherty served as Portfolio Analyst for Highland from 1998 to 1999. As a
 Portfolio Analyst, Mr. Dougherty also helped follow companies within the Chemical, Retail, Supermarket
 and Restaurant sectors. Prior to joining Highland, Mr. Dougherty served as an Investment Analyst with
 Sandera Capital Management from 1997 to 1998. Formerly, he was a Business Development Manager at
 Akzo Nobel from 1994 to 1996 and a Senior Accountant at Deloitte & Touche, LLP from 1992 to 1994.
 He received a BS in Accounting from Villanova University and an MBA from Southern Methodist
 University. Mr. Dougherty is a Chartered Financial Analyst and a Certified Public Accountant.

         Brett Pope, CFA – Senior Portfolio Manager

         Mr. Pope is a Senior Portfolio Manager covering the Healthcare, Financial Services, Building
 Products, and Metals & Mining sectors. Prior to joining Highland, Mr. Pope served as a Senior Equities
 Analyst in Healthcare at Street Advisor.com from 1999 to 2001. His experience also includes working as
 a Senior Research Analyst covering the Building Products and Financial Service sectors at Southwest
 Securities from 1996 to 1999. Prior to 1996, he served as a Senior Financial Analyst with Associates
 First Capital Corporation. Mr. Pope is a graduate of the University of Texas at Austin where he graduated
 Magna Cum Laude. Mr. Pope is a Chartered Financial Analyst.

       See “Risk Factors—Relating to the Portfolio Manager—The Issuer Will Depend on the
 Managerial Expertise Available to the Portfolio Manager and Its Key Personnel.”

                                  THE MANAGEMENT AGREEMENT
        The following summary describes certain provisions of the Management Agreement. The
 summary does not purport to be complete and is subject to, and qualified in its entirety by reference to,
 the Management Agreement.

          Pursuant to the terms of the Management Agreement, and in accordance with the requirements set
 forth in the Indenture, the Portfolio Manager will select the portfolio of Collateral Obligations and will
 instruct the Trustee with respect to any acquisition, disposition or sale of a Collateral Obligation and an
 Eligible Investment. Neither the Initial Purchaser or the Placement Agent nor any Affiliate thereof will
 select any of the Collateral Obligations.

          Pursuant to the terms of the Management Agreement, the Portfolio Manager will monitor the
 Collateral Obligations and provide the Issuer with certain information received from the Collateral
 Administrator with respect to the composition and characteristics of the Collateral Obligations, any
 disposition or tender of a Collateral Obligation, the reinvestment of the proceeds of any such disposition
 in Eligible Investments and with respect to the retention of the proceeds of any such disposition or the
 application thereof toward the purchase of additional Collateral Obligations. The Portfolio Manager will,
 and will be authorized to, negotiate, on behalf of the Issuer, with respect to all actions to be taken by the
 Issuer under any Hedge Agreements.

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       As compensation for the performance of its obligations as Portfolio Manager, the Portfolio
 Manager will be entitled to receive:

         (i)      a fee (the “Senior Management Fee”) that accrues from the Closing Date payable to the
                  Portfolio Manager in arrears on each Payment Date equal to 0.30% per annum of the
                  Maximum Investment Amount as of the first day of the related Due Period if and to the
                  extent funds are available for that purpose in accordance with the Priority of Payments
                  (with the Senior Management Fee being calculated on the basis of the actual number of
                  days elapsed divided by 360);

         (ii)     an amount (the “Subordinated Management Fee”) payable on each Payment Date equal
                  to the sum of (a) a fee that accrues from the Closing Date payable to the Portfolio
                  Manager in arrears on each Payment Date equal to 0.25% per annum of the Maximum
                  Investment Amount as of the first day of the related Due Period if and to the extent funds
                  are available for that purpose in accordance with the Priority of Payments, (b) on any
                  Payment Date that any part of the Senior Management Fee was not paid on the preceding
                  Payment Date, an amount equal to interest on such unpaid amount at a rate of LIBOR for
                  the applicable period plus 3.00% per annum and (c) on any Payment Date that any part of
                  the Subordinated Management Fee was not paid on the preceding Payment Date, an
                  amount equal to interest on such unpaid amount at a rate of LIBOR for the applicable
                  period plus 3.00% per annum (with the portion of the Subordinated Management Fee or
                  Senior Management Fee, as applicable, in clauses (a) through (c) above, as applicable,
                  being calculated on the basis of the actual number of days elapsed divided by 360); and

         (iii)    a fee (the “Incentive Management Fee” and together with the Senior Management Fee
                  and the Subordinated Management Fee, the “Management Fee”), if any, payable on each
                  Payment Date to the Portfolio Manager in an amount equal to: (i) 20% of the remaining
                  Interest Proceeds, if any, available for payment in respect of the Incentive Management
                  Fee pursuant to clause (23) under “Description of the Securities—Priority of Payments—
                  Interest Proceeds” and (ii) 20% of the remaining Principal Proceeds, if any, available for
                  payment in respect of the Incentive Management Fee pursuant to clause (9) under
                  “Description of the Securities—Priority of Payments—Principal Proceeds.”

          The Portfolio Manager may, in its sole discretion: (i) waive all or any portion of the Management
 Fee, any funds representing the waived Management Fees to be retained in the Collection Account for
 distribution as either Interest Proceeds or Principal Proceeds (as determined by the Portfolio Manager)
 pursuant to the Priority of Payments; or (ii) defer all or any portion of the Management Fee, any funds
 representing the deferred Management Fees to be retained in the Collection Account, when they will
 become payable in the same manner and priority as their original characterization would have required
 unless deferred again.

          The Portfolio Manager, its directors, officers, stockholders, partners, agents and employees, and
 its Affiliates and their directors, officers, stockholders, partners, agents and employees, shall not be liable
 to the Issuer, the Co-Issuer, the Trustee, the Noteholders, the Holders of Class Q-1 Securities, the Class E
 Certificate Paying Agent, the Holders of the Class E Certificates or any other person for any losses,
 claims, damages, judgments, assessments, costs or other liabilities (collectively “Liabilities”) incurred by
 the Issuer, the Co-Issuer, the Trustee, the Noteholders, the Class E Certificate Paying Agent, the Holders
 of the Class E Certificates or any other person that arise out of or in connection with the performance by
 the Portfolio Manager of its duties under the Management Agreement and the Indenture, except by reason
 of (i) acts or omissions constituting bad faith, willful misconduct, gross negligence or breach of fiduciary
 duty in the performance, or reckless disregard, of the obligations of the Portfolio Manager under the
 Management Agreement and under the terms of the Indenture applicable to it or (ii) with respect to any
 information included in this Offering Memorandum in the sections entitled “The Portfolio Manager” that

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 contains any untrue statement of material fact or omits to state a material fact necessary in order to make
 the statements therein, in the light of the circumstances under which they were made, not misleading (the
 preceding clauses (i) and (ii) collectively being the “Portfolio Manager Breaches”). The Portfolio
 Manager will be liable for any non-waivable breaches of applicable securities laws.

          The Issuer will indemnify and hold harmless the Portfolio Manager, its directors, officers,
 stockholders, partners, agents and employees (such parties collectively in such case, the “Indemnified
 Parties”) from and against any and all Liabilities, and shall reimburse each such Indemnified Party for all
 reasonable fees and expenses (including reasonable fees and expenses of counsel) (collectively, the
 “Expenses”) as such Expenses are incurred in investigating, preparing, pursuing or defending any claim,
 action, proceeding or investigation with respect to any pending or threatened litigation (collectively, the
 “Actions”), caused by, or arising out of or in connection with, the issuance of the Securities, the
 transactions contemplated by the Offering Memorandum, the Indenture or the Management Agreement,
 and/or any action taken by, or any failure to act by, such Indemnified Party; provided, however, that no
 Indemnified Party shall be indemnified for any Liabilities or Expenses it incurs as a result of any acts or
 omissions by any Indemnified Party constituting Portfolio Manager Breaches. Any such indemnification
 by the Issuer will be paid in accordance with, and subject to, the Priority of Payments.

         Pursuant to the terms of the Management Agreement, the Portfolio Manager will agree that on the
 Closing Date the Portfolio Manager or its Affiliates or funds will purchase Class E Certificates having an
 aggregate Face Amount approximately equal to $22 million.

          The Management Agreement may not be amended or modified (other than an amendment or
 modification of the type that may be made to the Indenture without Holder consent) (a) without
 satisfying the Rating Condition with respect to each Rating Agency and (b) if a Majority of the
 Controlling Class or a Majority of the Class E Certificates have objected in writing to such amendment or
 modification within 30 days of notice thereof.

          Subject to the termination provisions of the Management Agreement, any assignment of the
 Management Agreement to any Person, in whole or in part, by the Portfolio Manager will be deemed null
 and void unless (i) such assignment is consented to in writing by the Issuer, the Holders of at least 66-
 2/3% of the Aggregate Outstanding Amount of the Controlling Class of Notes and Holders of a Majority
 of the Class E Certificates (excluding Class E Certificates held by the Portfolio Manager or any of its
 Affiliates, or any account for which the Portfolio Manager or its Affiliates have discretionary voting
 authority), (ii) the Rating Condition is satisfied with respect to any such assignment and (iii) such
 assignee or delegate shall not cause the Issuer to be subject to tax in the United States. The Management
 Agreement shall not be assigned by the Issuer without the prior written consent of the Portfolio Manager
 and the Trustee, except in the case of assignment by the Issuer to (i) an entity which is a successor to the
 Issuer permitted under the Indenture, in which case such successor organization shall be bound under the
 Management Agreement and by the terms of said assignment in the same manner as the Issuer is bound
 thereunder or (ii) the Trustee as contemplated by the Indenture.

          The Management Agreement provides that the Portfolio Manager will not direct the Trustee to
 acquire an obligation to be included in the Collateral from the Portfolio Manager or any of its Affiliates as
 principal or to sell an obligation to the Portfolio Manager or any of its Affiliates as principal unless (i) the
 Issuer shall have received from the Portfolio Manager such information relating to such acquisition or
 sale as it may reasonably require and shall have approved such acquisition, which approval shall not be
 unreasonably withheld, (ii) in the judgment of the Portfolio Manager, such transaction is on terms no less
 favorable than would be obtained in a transaction conducted on an arm’s length basis between third
 parties unaffiliated with each other, (iii) such transaction is permitted by the Investment Advisers Act of
 1940 and (iv) such transaction satisfies the requirements in the Management Agreement and the
 Indenture. The Management Agreement also provides that the Portfolio Manager will not direct the
 Trustee to acquire an obligation to be included in the Collateral directly from any account or portfolio for

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 which the Portfolio Manager serves as investment advisor, or direct the Trustee to sell an obligation
 directly to any account or portfolio for which the Portfolio Manager serves as investment advisor unless
 such acquisition or sale is (i) in the judgment of the Portfolio Manager, on terms no less favorable than
 would be obtained in a transaction conducted on an arm’s length basis between third parties unaffiliated
 with each other, (ii) permitted by the Investment Adviser’s Act of 1940 and (iii) in compliance with the
 terms of the Management Agreement and the Indenture.
         Subject to the provisions for a successor portfolio manager discussed below, the Portfolio
 Manager may resign, upon 90 days’ written notice to the Issuer (or such shorter notice as is acceptable to
 the Issuer).
          The Management Agreement provides that the Portfolio Manager may be removed without cause
 upon 90 days’ prior written notice by the Issuer, at the direction of the Holders of at least 66-Ҁ% of the
 Aggregate Outstanding Amount of Class E Certificates (excluding Class E Certificates held by the
 Portfolio Manager, its Affiliates or any account for which the Portfolio Manager or its Affiliates have
 discretionary voting authority at the time of such vote); provided, however, that the Portfolio Manager
 shall have the right to avoid any such removal if, on or prior to the proposed removal date the following
 conditions are satisfied: (i) the Portfolio Manager provides written notice, not less than 20 Business Days
 prior to the proposed removal date, to the Class E Certificate Paying Agent (for forwarding to Holders of
 Class E Certificates), the Issuer and the Trustee that the Portfolio Manager intends to purchase not less
 than all of the Class E Certificates voting for such removal from the Holders thereof (the “Directing
 Class E Certificates”), (ii) in the notice provided to the Class E Certificate Paying Agent (for forwarding
 to Holders of Class E Certificates) in the preceding clause (i), the Portfolio Manager includes a statement
 to the effect that each Holder of Class E Certificates who did not vote for removal may provide written
 notice to the Portfolio Manager not later than 5 Business Days prior to the proposed removal date that the
 Class E Certificates held by such Holder shall be deemed to be included in the Directing Class E
 Certificates as provided in the preceding clause (i) and (iii) the Portfolio Manager effects the purchase of
 not less than all of the Directing Class E Certificates (including Class E Certificates represented by Class
 E Certificate Components in accordance with the Indenture) at the Buy-out Amount (provided that in the
 case of the Class P Securities only the Class E Certificates represented by the Class E Certificate
 Component will be sold, and the applicable Class P U.S. Treasury Component will be distributed to the
 Holder in kind). If all of the conditions set forth in the preceding sentence are satisfied on or prior to the
 proposed removal date, the Portfolio Manager shall continue as the Portfolio Manager under the
 Management Agreement.
         In addition, the Management Agreement will be terminated, and the Portfolio Manager will be
 removed, by the Issuer, if directed by the Trustee or by Holders of a Majority of the Aggregate
 Outstanding Amount of the Controlling Class of Notes or by Holders of at least 66-2/3% of the Class E
 Certificates (excluding any Class E Certificates held by the Portfolio Manager or its Affiliates or any
 account for which the Portfolio Manager or its Affiliates have discretionary voting authority at the time of
 such vote), in each case for “cause” upon 10 days’ prior written notice to the Portfolio Manager and upon
 written notice to the Noteholders and the Holders of the Class E Certificates as set forth below. For
 purposes of determining “cause” with respect to any such termination of the Management Agreement,
 such term shall mean any one of the following events:
                 (i)     the Portfolio Manager willfully breaches in any respect, or takes any action that it
         knows violates in any respect, any provision of the Management Agreement or any terms of the
         Indenture applicable to it;
                  (ii)    the Portfolio Manager breaches in any material respect any provision of the
         Management Agreement or any terms of the Indenture or the Collateral Administration
         Agreement applicable to it, or any representation, warranty, certification or statement given in
         writing by the Portfolio Manager shall prove to have been incorrect in any material respect when
         made or given, and the Portfolio Manager fails to cure such breach or take such action so that the
         facts (after giving effect to such action) conform in all material respects to such representation,

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        warranty, certificate or statement, in each case within 30 days of becoming aware of, or receiving
        notice from, the Trustee of, such breach or materially incorrect representation, warranty,
        certificate or statement;

              (iii)      certain events of bankruptcy or insolvency occur with respect to the Portfolio
        Manager;

                (iv)    the occurrence of any Event of Default under the Indenture that results from any
        breach by the Portfolio Manager of its duties under the Indenture or the Management Agreement,
        which breach or default is not cured within any applicable cure period; or

                 (v)     (x) the occurrence of an act by the Portfolio Manager related to its activities in
        any securities, financial advisory or other investment business that constitutes fraud, (y) the
        Portfolio Manager being indicted, or any of its principals being convicted, of a felony criminal
        offense related to its activities in any securities, financial advisory or other investment business or
        (z) the Portfolio Manager being indicted for, adjudged liable in a civil suit for, or convicted of a
        violation of the Securities Act or any other United States Federal securities law or any rules or
        regulations thereunder.

       No removal, termination or resignation of the Portfolio Manager will be effective under the
 Management Agreement unless:

        (i)     the Issuer appoints a successor portfolio manager:

                         (a)      (A) at the written direction of a Super Majority of the Class E
                Certificates (excluding any Class E Certificates held by the retiring Portfolio Manager or
                any of its Affiliates and accounts over which the retiring Portfolio Manager or any of its
                Affiliates exercise discretionary voting authority), (B) such successor has agreed in
                writing to assume all of the Portfolio Manager’s duties and obligations pursuant to the
                Management Agreement and the Indenture and (C) a Majority of the Aggregate
                Outstanding Amount of the Controlling Class of Notes has consented to the appointment
                of such successor portfolio manager and (D) such successor portfolio manager is not
                objected to within 30 days after notice of such succession by a Majority in Aggregate
                Outstanding Amount of the Notes (voting as a single Class (excluding any Notes held by
                the retiring Portfolio Manager or any of its Affiliates and accounts over which the retiring
                Portfolio or any of its Affiliates exercise discretionary voting authority)); or

                        (b)      if a Super Majority of the Class E Certificates (excluding any Class E
                Certificates held by the retiring Portfolio Manager or any of its Affiliates and accounts
                over which the retiring Portfolio Manager or any of its Affiliates exercise discretionary
                voting authority) has nominated two or more successor portfolio managers that have
                either not been consented to pursuant to subclause (C) of clause (a) above or been
                objected to pursuant to subclause (D) of clause (a) above or has otherwise failed to
                appoint a successor portfolio manager that has been consented to pursuant to subclause
                (C) of clause (a) above and is not objected to pursuant to clause (D) of clause (a) above
                within 30 days of the date of notice of such removal, termination or resignation of the
                Portfolio Manager, then (A) at the direction of a Majority of the Controlling Class, (B)
                such successor has agreed in writing to assume all of the Portfolio Manager’s duties and
                obligations pursuant to the Management Agreement and the Indenture and (C) such
                successor portfolio manager is not objected to within 30 days after notice of such
                succession by either (x) the Majority of the Class E Certificates (excluding any Class E
                Certificates held by the retiring Portfolio Manager or any of its Affiliates and accounts
                over which the retiring Portfolio Manager or any of its Affiliates exercise discretionary


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                 voting authority) or (y) a Majority in Aggregate Outstanding Amount of the Notes
                 (voting as a single Class (excluding any Notes held by the retiring Portfolio Manager or
                 any of its Affiliates and accounts over which the retiring Portfolio or any of its Affiliates
                 exercise discretionary voting authority)); or

                          (c)   if a Majority of the Controlling Class fails to appoint a successor
                 portfolio manager pursuant to clause (b) above, within 90 days of the date of notice of
                 such removal, termination or resignation of the Portfolio Manager, the Majority of the
                 Controlling Class may petition a court of competent authority to appoint a successor
                 portfolio manager.

           In addition, any successor portfolio manager must be an established institution which (i) has
 demonstrated an ability to professionally and competently perform duties similar to those imposed upon
 the Portfolio Manager under the Management Agreement, (ii) is legally qualified and has the capacity to
 act as Portfolio Manager under the Management Agreement, as successor to the Portfolio Manager under
 the Management Agreement in the assumption of all of the responsibilities, duties and obligations of the
 Portfolio Manager under the Management Agreement and under the applicable terms of the Indenture,
 (iii) shall not cause the Issuer or the pool of Collateral to become required to register under the provisions
 of the Investment Company Act, (iv) shall perform its duties as Portfolio Manager under the Management
 Agreement and the Indenture without causing the Issuer, the Co-Issuer or any Holder of Class E
 Certificates to become subject to tax in any jurisdiction where such successor portfolio manager is
 established as doing business and (v) each Rating Agency has confirmed that the appointment of such
 successor portfolio manager shall not cause its then-current rating of any Class of Notes to be reduced or
 withdrawn. No compensation payable to a successor from payments on the Collateral shall be greater
 than that paid to the Portfolio Manager without the prior written consent of a Majority of the Controlling
 Class of Notes, a Majority of the Notes (voting collectively) and a Majority of the Class E Certificates
 (voting collectively).

          The Management Agreement, and any obligations or duties of the Portfolio Manager under the
 Management Agreement, cannot be delegated by the Portfolio Manager, in whole or in part, except to any
 entity that (i) is controlled by two or more of James Dondero, Mark Okada and Todd Travers, (ii) is one
 in which two or more of James Dondero, Mark Okada and Todd Travers is involved in the day to day
 management and operations (and in such case pursuant to an instrument of delegation in form and
 substance satisfactory to the Issuer), without the prior written consent of the Issuer, a Majority of the
 Controlling Class of Notes and a Majority of the Class E Certificates (excluding Class E Certificates held
 by the Portfolio Manager or any of its Affiliates or any account for which the Portfolio Manager or its
 Affiliates have discretionary voting authority); provided that such delegation shall not cause the Issuer to
 be subject to tax in the United States, and notwithstanding any such consent, no delegation of obligations
 or duties by the Portfolio Manager (including, without limitation, to an entity described above) shall
 relieve the Portfolio Manager from any liability under the Management Agreement.

                                             THE CO-ISSUERS
 General

          Liberty CLO, Ltd. was incorporated on June 30, 2005 under the Companies Law (2004 Revision)
 of the Cayman Islands with the registered number WK-151196 and has an indefinite existence. The
 registered office of the Issuer is at the offices of Walkers SPV Limited, P.O. Box 908GT, Walker House,
 Mary Street, George Town, Grand Cayman, Cayman Islands.
         The Issuer has no prior operating history, prior business experience or employees. Clause 2 of
 the Issuer’s Memorandum of Association sets out the objects of the Issuer, which include the activities to
 be carried out by the Issuer in connection with the issuance of the Securities. The activities of the Issuer
 will be limited to (i) acquisition and disposition of, and investment and reinvestment in, Collateral

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 Obligations and Eligible Investments for its own account; (ii) entering into, and performing its obligations
 under, the Indenture, the Class E Certificate Documents, any Hedge Agreements, the Securities Lending
 Agreements, the Management Agreement, the Collateral Administration Agreement, the Administration
 Agreement, the Purchase Agreement, the Placement Agency Agreement, the Class A-1A Note Purchase
 Agreement and the Class A-1B Note Purchase Agreement; (iii) the issuance and sale of the Securities and
 the Ordinary Shares; (iv) the pledge of the Collateral as security for its obligations in respect of the Notes
 and any Hedge Agreements; (v) the pledge of the Class P-1 Collateral as security for certain obligations
 in respect of the Class P-1 Securities and the pledge of the Class P-2 Collateral as security for certain
 obligations in respect of the Class P-2 Securities; and (vi) undertaking certain other activities incidental to
 the foregoing and permitted by the Indenture. Assets included in the Collateral will be the Issuer’s only
 source of funds to make payments on the Notes, the Class Q-1 Securities and the Class E Certificates.
 Assets included in the Class P-1 Collateral will be the Issuer’s only source of funds to make payments on
 the Class P-1 Securities and assets included in the Class P-2 Collateral will be the Issuer’s only source of
 funds to make payments on the Class P-2 Securities. The Issuer has no indebtedness for borrowed money
 other than indebtedness incurred pursuant to the Indenture and described herein. The Issuer may incur
 debt in the future only in compliance with and pursuant to the terms of the Indenture.

         The authorized share capital of the Issuer consists of the aggregate of 1,000 voting Ordinary
 Shares, par value U.S. $1.00 per share (the “Ordinary Shares”).
         All of the Issuer’s Ordinary Shares will be legally owned by the Share Trustee and will be held in
 charitable trust for the benefit of one or more charitable organizations located in the Cayman Islands
 under the terms of a declaration of trust. Under the terms of such declaration of trust, the Share Trustee
 will, among other things, generally agree not to dispose of or otherwise deal with such Ordinary Shares.
 The Share Trustee will have no beneficial interest in and derive no benefit, other than fees, from its
 holding of the Ordinary Shares.
          Liberty CLO, Corp. was incorporated on October 27, 2005 in the State of Delaware under
 registration number 4051612 as a corporation and has a perpetual existence. The registered office of the
 Co-Issuer is at Puglisi & Associates, 850 Library Avenue, Suite 204, Newark, Delaware 19711.
         The Co-Issuer has no prior operating history, prior business experience or employees and will not
 have any material assets and will not pledge any assets to secure the Notes. The Third Clause of the Co-
 Issuer’s Certificate of Incorporation sets out the principal purpose of the Co-Issuer, which includes the
 business to be carried out by the Co-Issuer in connection with the issuance of the Notes. The activities of
 the Co-Issuer will be limited to (i) issuance of its common stock (not offered hereby), (ii) the co-issuance
 and sale of the Notes and (iii) engaging in any other activities that are incidental to the foregoing and
 permitted by the Indenture.
         The authorized common stock of the Co-Issuer consists of the aggregate of 1,000 voting common
 stock, par value U.S. $0.01 per share (the “Co-Issuer Common Stock”).
         All of the Co-Issuer Common Stock are issued and will be legally owned by the Share Trustee
 and will be held in charitable trust for the benefit of one or more charitable organizations located in the
 Cayman Islands under the terms of a declaration of trust. Under the terms of such declaration of trust, the
 Share Trustee will, among other things, generally agree not to dispose of or otherwise deal with such Co-
 Issuer Common Stock. The Share Trustee will have no beneficial interest in and derive no benefit, other
 than fees, from its holding of the Co-Issuer Common Stock.

 Capitalization of the Issuer

         The Notes are limited recourse obligations of the Issuer and non-recourse obligations of the Co-
 Issuer and the Class E Certificates are preferred equity interests only in the Issuer. The Class Q-1
 Securities will be limited recourse debt obligations of the Issuer to the extent of the related Class Q-1
 Note Component and preferred equity interests in the Issuer to the extent of the related Class Q-1 Class E


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 Certificate Component. The Class P Securities will be limited recourse debt obligations of the Issuer to
 the extent of the related Class P U.S. Treasury Component and preferred equity interests in the Issuer to
 the extent of the related Class P Class E Certificated Component. The Securities are not obligations of the
 Trustee, the Portfolio Manager, the Initial Purchaser, the Placement Agent, the Collateral Administrator,
 the Class E Certificate Paying Agent, the Revolving Note Agent, the Delayed Drawdown Note Agent, the
 Administrator, the Holders of the Class E Certificates, Walkers SPV Limited, as the share trustee (in such
 capacity, the “Share Trustee”), or any directors or officers of Co-Issuers or any of their respective
 Affiliates.

 Capitalization

           The initial proposed capitalization of the Issuer as of the Closing Date after giving effect to the
 initial issuance of the Securities and the Ordinary Shares (before deducting expenses of the offering) is as
 set forth below.

                                                                                Amount
                                                                                (U.S.$)
                             Class A-1A Notes                                   50,000,0001
                             Class A-1B Notes                                   50,000,0002
                             Class A-1C Notes                                   446,000,0003
                             Class A-2 Notes                                    68,500,000
                             Class A-3 Notes                                    68,500,000
                             Class A-4 Notes                                    43,000,000
                             Class B Notes                                      49,000,000
                             Class C Notes                                      52,000,000
                                 Total Notes                                    827,000,000

                             Class E Certificates                               94,000,0005
                             Ordinary Shares                                    1,000
                                    Total Equity                                94,000,000

                             Total Capitalization3                              921,000,000

                             Class Q-1 Securities                               20,000,0006
                             Class P-1 Securities                               20,000,0007
                             Class P-2 Securities                               5,000,0007

 _________________________
  1
         U.S.$0 of which will be drawn as of the Closing Date.
  2
         U.S.$0 of which will be drawn as of the Closing Date.
  3
         Including U.S. $12,600,000 initial aggregate principal amount of Class C Notes represented by the Class Q-
 1 Note Component of the Class Q-1 Securities.
  4
          Including (i) U.S. $7,400,000 Face Amount of the Class E Certificates represented by the Class Q-1 Class
 E Certificate Component of the Class Q-1 Securities, (ii) U.S. $6,180,000 Face Amount of the Class E Certificates
 represented by the Class P-1 Class E Certificate Component of the Class P-1 Securities and U.S. $1,500,000 Face
 Amount of the Class E Certificates represented by the Class P-2 Class E Certificate Component of the Class P-2
 Securities.
  5
         The above statements are unaudited.
  6
          Including U.S. $12,600,000 initial aggregate principal amount of Class C Notes represented by the Class Q-
 1 Note Component of the Class Q-1 Securities and U.S. $7,400,000 Face Amount of the Class E Certificates
 represented by the Class Q-1 Class E Certificate Component of the Class Q-1 Securities.

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  7
           *The Class P-1 Securities consist of the Class P-1 Class E Certificate Component representing 6,180 Class
 E Certificates and the Class P-1 U.S. Treasury Component representing U.S.$20,000,000 (face value) U.S. Treasury
 securities with zero coupon due November 15, 2013. The Class P-2 Securities consist of the Class P-2 Class E
 Certificate Component representing 1,500 Class E Certificates and the Class P-2 U.S. Treasury Component
 representing U.S.$5,000,000 (face value) U.S. Treasury securities with zero coupon due November 15, 2013. The
 U.S.$6,180,000 Face Amount of Class E Certificates to which the Class P-1 Class E Certificate Component relates
 and the U.S.$1,500,000 Face Amount of Class E Certificates to which the Class P-2 Class E Certificate Component
 relates are included in (and are not in addition to) the aggregate U.S.$94,000,000 Face Amount of the Class E
 Certificates.


 The Co-Issuer will be capitalized only to the extent of its common equity of U.S.$100, will have no assets
 other than its equity capital and will have no debt other than as Co-Issuer of the Notes.

 Business

         General

          The Issuer Charter provides that the objects for which the Issuer is established are limited and the
 Issuer may exercise the power contained in Section 226 of the Companies Law (2004 Revision). Article
 III of the Co-Issuer’s Certificate of Incorporation provides that the principal purpose of the Co-Issuer is
 the issuance of the Notes and to exercise any powers permitted to corporations organized under Delaware
 Law, which are incidental to accomplish the foregoing.

         The Issuer

         The Indenture provides that the activities of the Issuer are limited to the following:

         (i)      acquisition and disposition of, and investment and reinvestment in, Collateral Obligations
                  and Eligible Investments for its own account;

         (ii)     entering into, and performing its obligations under, the Indenture, the Class E Certificate
                  Documents, any Hedge Agreements, the Securities Lending Agreements, the
                  Management Agreement, the Collateral Administration Agreement, the Administration
                  Agreement, the Purchase Agreement, the Placement Agency Agreement, the Class A-1A
                  Note Purchase Agreement and the Class A-1B Note Purchase Agreement;

         (iii)    the issuance and sale of the Securities and the Ordinary Shares;

         (iv)     the pledge of the Collateral as security for its obligations in respect of the Notes and any
                  Hedge Agreements;

         (v)      the pledge of the Class P-1 Collateral as security for certain obligations in respect of the
                  Class P-1 Securities and the pledge of the Class P-2 Collateral as security for certain
                  obligations in respect of the Class P-2 Securities;

         (vi)     entering into certain pre-closing warehousing arrangements and the agreements relating
                  thereto; and

         (vii)    undertaking certain other activities incidental to the foregoing and permitted by the
 Indenture.

         The Co-Issuer

         The activities of the Co-Issuer are to be limited to the following:


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         (i)     to co-issuance and sale of the Notes; and

         (ii)    to engage in any activity and to exercise any powers permitted to corporations organized
                 under Delaware law, which are incidental to the foregoing.
 The Administrator

         Certain administrative functions in the Cayman Islands will be performed on behalf of the Issuer
 by Walkers SPV Limited, the Administrator, pursuant to an administration agreement (the
 “Administration Agreement”). Such functions include communications with holders of the Ordinary
 Shares and the general public and other services. The Administrator provides similar services to various
 other Cayman Islands entities. In consideration of the foregoing, the Administrator will receive various
 fees payable by the Issuer. The Administrator’s address is Walkers SPV Limited, P.O. Box 908GT,
 Walker House, Mary Street, George Town, Grand Cayman, Cayman Islands.
         The Administrator may resign or be terminated upon 30 days’ prior written notice to the Issuer, in
 the case of resignation, or to the Administrator, in the case of termination. The Issuer may terminate the
 Administrator with immediate effect to the extent the Administrator has been guilty of fraud, willful
 misconduct or negligence in relation to the Administration Agreement. Upon the occurrence of either
 such event, the Issuer will promptly appoint a successor Administrator.

 Directors

         The Issuer’s Articles of Association provide that the Board of Directors of the Issuer will consist
 of not more than ten Directors. The Directors of the Issuer are expected to be as follows:
   Name                    Address                                 Occupation
   David Egglishaw         Walkers SPV Limited                     Employee of Walkers SPV Limited
                           P.O. Box 908GT
                           Walker House, Mary Street
                           George Town
                           Grand Cayman, Cayman Islands
   John Cullinane          Walkers SPV Limited                     Employee of Walkers SPV Limited
                           P.O. Box 908GT
                           Walker House, Mary Street
                           George Town
                           Grand Cayman, Cayman Islands
   Derrie Boggess          Walkers SPV Limited                     Employee of Walkers SPV Limited
                           P.O. Box 908GT
                           Walker House, Mary Street
                           George Town
                           Grand Cayman, Cayman Islands


         The director of the Co-Issuer is Donald Puglisi. Mr. Puglisi is also the President, Secretary and
 Treasurer of the Co-Issuer. Mr. Puglisi is MBNA America Professor of Business Emeritus. Mr. Puglisi
 serves as a director of, and provides services to, a number of special purpose entities. He may be
 contacted at the address of the Co-Issuer.




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                                          THE LOAN MARKET
         A substantial portion, by principal amount, of the Collateral Obligations is expected to consist of
 corporate loans rated below investment grade extended to U.S. and other non-U.S. borrowers. Such loans
 are typically negotiated by one or more commercial banks or other financial institutions and syndicated
 among a group of commercial banks and financial institutions.

          Corporate loans are typically at the most senior level of the capital structure, and are often
 secured by specific collateral, including but not limited to, trademarks, patents, accounts receivable,
 inventory, equipment, buildings, real estate, franchises and common and preferred stock of the obligor
 and its subsidiaries. Some loans may be unsecured, subordinated to other obligations of the obligor and
 may have greater credit and liquidity risk than is typically associated with senior secured corporate loans.
 The corporate loans expected to secure the Notes are of a type generally incurred by the borrowers
 thereunder in connection with a highly leveraged transaction, often to finance internal growth,
 acquisitions, mergers, stock purchases, or for other reasons. As a result of the additional debt incurred by
 the borrower in the course of the transactions, the borrower’s creditworthiness is often judged by the
 rating agencies to be below investment grade. In order to induce the banks and institutional investors to
 invest in a borrower’s loan facility, and to offer a favorable interest rate, the borrower often provides the
 banks and institutional investors with extensive information about its business, which is not generally
 available to the public. Because of the provision of confidential information, the unique and customized
 nature of a loan agreement, and the private syndication of the loan, loans are not as easily purchased or
 sold as a publicly traded security, and historically the trading volume in the loan market has been small
 relative to the high yield bond market.

          Corporate loans often provide for restrictive covenants designed to limit the activities of the
 borrower in an effort to protect the right of lenders to receive timely payments of interest on and
 repayment of principal of the loans. Such covenants may include restrictions on dividend payments,
 specific mandatory minimum financial ratios, limits on total debt and other financial tests. A breach of
 covenant (after giving effect to any cure period) in a loan that is not waived by the lending syndicate
 normally is an event of acceleration that allows the syndicate to demand immediate repayment in full of
 the outstanding loan. Loans usually have shorter terms than more junior obligations and may require
 mandatory prepayments from excess cash flow, asset dispositions and offerings of debt and/or equity
 securities.

          The majority of loans bear interest based on a floating rate index, e.g., LIBOR, the certificate of
 deposit rate, a prime or base rate (each as defined in the applicable loan agreement) or other index, which
 may reset daily (as most prime or base rate indices do) or offer the borrower a choice of one, two, three,
 six, nine or twelve month interest rate and rate reset periods. The purchaser of a loan may receive certain
 syndication or participation fees in connection with its purchase. Other fees payable in respect of a loan,
 which are separate from interest payments on such loan, may include facility, commitment, amendment
 and prepayment fees.

          Purchasers of loans are predominantly investment and commercial banks, which have applied
 their experience in high yield securities to the commercial and industrial loan market, acting as both
 principal and broker. The range of investors for loans has broadened to include money managers,
 insurance companies, arbitrageurs, bankruptcy investors and mutual funds seeking increased potential
 total returns and portfolio managers of trusts or special purpose companies issuing collateralized bond and
 loan obligations. As secondary market trading volumes increase, new loans are frequently adopting more
 standardized documentation to facilitate loan trading that should improve market liquidity. There can be
 no assurance, however, that future levels or supply and demand in loan trading will provide the degree of
 liquidity that currently exists in the market.




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                          THE HIGH YIELD DEBT SECURITIES MARKET

          A portion of the Collateral Obligations securing the Notes will consist of high yield debt
 securities rated below investment grade and Synthetic Securities, the Reference Obligations of which are
 high yield debt securities rated below investment grade. High yield debt securities are generally
 unsecured, may be subordinated to other obligations of the obligor and generally have greater credit and
 liquidity risk than is typically associated with investment grade corporate obligations. The lower rating of
 high yield debt securities reflects a greater possibility that adverse changes in the financial condition of
 the obligor or in general economic conditions (including a sustained period of rising interest rates or an
 economic downturn) may adversely affect the obligor’s ability to pay principal and interest on its debt.
 Many issuers of high yield debt obligations are highly leveraged, and specific developments affecting
 such issuers, including reduced cash flow from operations or inability to refinance at maturity, may also
 adversely affect such issuers’ ability to meet their debt service obligations.

          High yield debt securities are often issued in connection with leveraged acquisitions or
 recapitalizations in which the issuers incur a substantially higher amount of indebtedness than the level at
 which they had previously operated. High yield debt securities have historically experienced greater
 default rates than has been the case for investment grade securities. Although several studies have been
 made of historical default rates in the high yield market, such studies do not necessarily provide a basis
 for drawing definitive conclusions with respect to default rates and, in any event, do not necessarily
 provide a basis for predicting future default rates.

                                   INCOME TAX CONSIDERATIONS

 U.S. Federal Income Tax Considerations

 In General

 The following summary describes the principal U.S. federal income tax and Cayman Islands tax
 consequences of the purchase, ownership and disposition of the Securities. It does not purport to be a
 comprehensive description of all the tax considerations that may be relevant to a decision to purchase the
 Securities. In particular, special tax considerations that may apply to certain types of taxpayers, including
 securities dealers, banks and insurance companies, and investors purchasing Securities after the initial
 offering, are not addressed. In addition, this summary does not describe any tax consequences arising
 under the laws of any taxing jurisdiction other than the United States federal government and the Cayman
 Islands. In general, the summary assumes that a holder acquires a Security at original issuance (and, in
 the case of the Notes, at its issue price) and holds such Security as a capital asset and not as part of a
 hedge, straddle, or conversion transaction, within the meaning of section 1258 of the Code.

 This summary is based on the U.S. and Cayman Islands tax laws, regulations, rulings and decisions in
 effect or available on the date of this Offering Memorandum, as well as the expected Cayman Islands
 undertaking described in “ — Cayman Islands Tax Considerations.” All of the foregoing are subject to
 change, and any change may apply retroactively and could affect the continued validity of this summary,
 although it is expected that no changes will apply in the Cayman Islands due to the undertaking.

 Prospective purchasers of the Securities should consult their own tax advisers as to U.S. federal income
 tax and Cayman Islands tax consequences of the purchase, ownership and disposition of the Securities,
 including the possible application of state, local, non-U.S. or other tax laws.

 As used in this section, the term “U.S. Holder” means a beneficial owner of a Security who is, for U.S.
 federal tax purposes, a citizen or individual resident of the United States, a U.S. domestic corporation or
 partnership, any estate the income of which is subject to U.S. federal income tax regardless of the source

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 of its income or any trust if a court within the United States is able to exercise primary supervision over
 the administration of the trust and one or more U.S. persons have the authority to control all substantial
 decisions of the trust.

 IRS Circular 230 Notice

 To ensure compliance with Internal Revenue Service Circular 230, prospective investors are hereby
 notified that: (a) any discussion of U.S. federal tax issues contained or referred to in this Offering
 Memorandum or any document referred to herein is not intended or written to be used, and cannot be
 used, by prospective investors for the purpose of avoiding penalties that may be imposed on them under
 the Internal Revenue Code; (b) such discussion is written for use in connection with the promotion or
 marketing of the transactions or matters addressed herein; and (c) prospective purchasers should seek
 advice based on their particular circumstances from an independent tax advisor.

 Tax Treatment of the Issuer

 United States Federal Income Taxes. The Issuer will be treated as a corporation for U.S. federal income
 tax purposes. Except as otherwise described below under “— Potential U.S. Taxation of Net Income,”
 the Issuer intends to operate so as not to be subject to U.S. federal income taxes on its net income. The
 Issuer expects, based on an opinion it will receive from Freshfields Bruckhaus Deringer LLP, special U.S.
 federal income tax counsel to the Issuer, that it will conduct its affairs so that it will not be engaged in a
 trade or business within the United States for U.S. federal income tax purposes, except to the extent it
 holds certain equity securities issued by non-corporate entities that are so engaged.
 Notwithstanding the foregoing, if the Issuer were engaged in a trade or business in the United States, it
 would potentially be subject to substantial U.S. federal taxes. The imposition of such taxes would
 materially affect the Issuer’s financial ability to repay the Notes and Class E Certificates and could
 materially affect the yield on the Notes and the return on the Class E Certificates.

 With respect to Cayman Islands taxation, see the discussion below in “— Cayman Islands Tax
 Considerations.”

 The remainder of this summary assumes that the opinion received by the Issuer from Freshfields
 Bruckhaus Deringer LLP is correct and that the Issuer will not be engaged in a trade or business within
 the United States for U.S. federal income tax purposes.

 Potential U.S. Taxation of Net Income. The Issuer may become the owner of a limited amount of equity
 securities that the issuers of Collateral Obligations distribute with respect to such Collateral Obligations.
 Such equity securities may be treated as stock of U.S. real property holding corporations or equity
 interests in partnerships that may be engaged in U.S. trades or businesses. Gain or loss realized by the
 Issuer on the disposition of stock of a U.S. real property holding corporation will be treated as if such gain
 or loss were effectively connected with a U.S. trade or business. In addition, the U.S. trade or business of
 a partnership in which the Issuer holds an equity interest may be attributed to the Issuer and the income
 derived from such equity interest may be effectively connected with such U.S. trade or business. Net
 income of the Issuer that is effectively connected with a U.S. trade or business will be potentially subject
 to substantial U.S. federal income taxation under sections 882(a) and 884 of the Code. In addition,
 holding such a partnership interest could cause the Issuer to be deemed to be “doing business” within a
 U.S. state or local taxing jurisdiction, or otherwise subject to U.S. state or local taxation. Any such U.S.
 federal, state or local taxation could affect the Issuer’s financial ability to repay the Notes.

 Withholding Taxes. Although the Issuer does not intend to be subject to U.S. federal income tax with
 respect to its net income, income derived by the Issuer may be subject to withholding taxes imposed by
 the United States or other countries. In this regard and subject to certain exceptions, the Issuer may only
 acquire a particular Collateral Obligation if, at the time of commitment to purchase, either the payments

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 thereon (other than commitment and similar fees or dividends in respect of an equity security acquired in
 connection with the exercise of a warrant purchased as apart of a unit) are not subject to withholding tax
 or the issuer of the Collateral Obligation is required to make “gross-up” payments. Similarly, the Issuer
 may only enter into a Securities Lending Agreement in respect of any Collateral Obligations if the
 substitute interest payments received thereunder are not subject to withholding tax or the counterparty is
 required to make “gross-up” payments. However, there can be no assurance that income derived by the
 Issuer will not become subject to withholding tax as a result of a change in law, practice or interpretation.
 Any lending fees received under a Securities Lending Agreement may be subject to withholding tax,
 which would reduce the Issuer’s net income from engaging in such Securities Lending Agreement.

 Tax Treatment of U.S. Holders of Notes

 Status of, and Interest and Discount on, the Class A Notes. The Class A Notes will be treated as debt for
 U.S. federal income tax purposes. U.S. Holders of Class A Notes will treat stated interest on the Class A
 Notes as ordinary interest when paid or accrued, in accordance with their tax method of accounting. In
 general, if the issue price of a Class A Note (the first price at which a substantial amount of the Class A
 Notes is sold to investors) is less than its principal amount by more than a de minimis amount, the Class A
 Note will be considered to have original issue discount (“OID” ). If a U.S. Holder acquires a Class A
 Note with OID, then regardless of such holder’s method of accounting, the holder will be required to
 include such OID in income as it accrues under a constant yield method. Accruals of OID will be based
 on the projected weighted average life of the relevant Class of the Class A Notes rather than the Stated
 Maturity. In the case of the Class A Notes, accruals of OID, if any, should be calculated by assuming that
 interest will be paid over the life of the Class A Notes based on the value of LIBOR used in setting
 interest for the first Interest Period, and then adjusting the income for each subsequent Interest Period for
 any difference between the actual value of LIBOR used in setting interest for that subsequent Interest
 Period and the assumed rate.

 Status of, and Interest and Discount on, the Class B Notes and the Class C Notes. The Class B Notes and
 the Class C Notes (collectively, the “Deferrable Interest Notes” ) will be treated as debt for U.S. federal
 income tax purposes. In general, the characterization of an instrument for such purposes as debt or equity
 by its issuer as of the time of issuance is binding on a holder but not the U.S. Internal Revenue Service
 (the “IRS” ), unless the holder takes an inconsistent position and discloses such position in its tax return.
 Because payments of stated interest on the Deferrable Interest Notes are contingent on available funds
 and subject to deferral, the Deferrable Interest Notes will be treated for U.S. federal income tax purposes
 as having OID. The total amount of such discount with respect to a Deferrable Interest Note will equal
 the sum of all payments to be received under such Note less its issue price (the first price at which a
 substantial amount of Deferrable Interest Notes of each Class were sold to investors). A U.S. Holder of
 Deferrable Interest Notes will be required to include OID in income as it accrues. The amount of OID
 accruing in any Interest Period will generally equal the stated interest accruing in that period (whether or
 not currently due) plus any additional amount representing the accrual under a constant yield method of
 any additional OID represented by the excess of the principal amount of the Deferrable Interest Notes
 over their issue price. Accruals of any such additional OID will be based on the projected weighted
 average life of the Deferrable Interest Notes rather than their stated maturity.

 Sale and Retirement of the Notes. In general, a U.S. Holder of a Note will have a basis in such Note equal
 to the cost of such Note to such holder, increased by any amount includible in income by such holder as
 OID and reduced by any payments thereon other than, in the case of the Class A Notes only, payments of
 stated interest. Upon a sale or exchange of the Note, a U.S. Holder will generally recognize gain or loss
 equal to the difference between the amount realized (less any accrued interest, which would be taxable as
 such) and the holder’s tax basis in such Note. Such gain or loss will be long-term capital gain or loss if
 the U.S. Holder has held such Note for more than one year at the time of disposition. In certain
 circumstances, U.S. Holders that are individuals may be entitled to preferential treatment for net long-
 term capital gains. The ability of U.S. Holders to offset capital losses against ordinary income is limited.

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 A U.S. Holder that purchased its Note at a discount may also recognize gain upon receipt of a principal
 payment upon retirement (in whole or in part) equal to the difference between the amount received and
 the portion of its basis that is considered to be allocable to such payment. Such gain may be ordinary
 income.

 Extension of Stated Maturity. As described in “Description of the Securities—Extension of the
 Reinvestment Period, the Stated Maturity and the Scheduled Class E Certificates Redemption Date” the
 Securities may be subject to one or more Maturity Extensions. Upon the Extension Effective Date of the
 second Maturity Extension, if any, and the Extension Effective Date of the fourth Maturity Extension, if
 any, it is likely that continuing Holders of Securities will be treated for U.S. federal income tax purposes
 as exchanging their Securities for newly issued longer-term Securities (a “deemed exchange”). Such a
 deemed exchange should be treated as a recapitalization for U.S. federal income tax purposes and holders
 generally should not recognize gain or loss except to the extent of any Extension Buyout Bonus Payment.
 However, holders who purchased Securities at a discount could be required to accrue such discount as
 interest income on a current basis as OID. For information regarding OID on the Securities, holders may
 contact the Portfolio Manager at the address provided above.

 Amendment Buy-Out. The existence or exercise of the buy-out right described under “Description of the
 Securities—Amendment Buy-Out” may increase the likelihood that an amendment to the Indenture could
 cause a deemed exchange of a Security for U.S. federal income tax purposes. If such a deemed exchange
 were treated as a recapitalization, holders generally would not recognize gain or loss except to the extent
 of any cash received. However, holders who purchased Securities at a discount could be required as a
 consequence of the deemed exchange to accrue such discount as interest income on a current basis as
 OID. For information regarding OID on the Securities, holders may contact the Portfolio Manager at the
 address provided above.

 Tax Treatment of U.S. Holders of Class E Certificates

 For purposes of Cayman Islands law, the Class E Certificates will be characterized as equity of the Issuer.
 The Issuer will treat the Class E Certificates as equity for U.S. federal income tax purposes. Except
 where otherwise indicated, this summary also assumes such treatment. No assurance can be given,
 however, that the IRS will respect this position. In general, the characterization of an instrument for such
 purposes as debt or equity by its issuer as of the time of issuance is binding on holders (but not the IRS)
 unless the holder takes an inconsistent position and discloses such position in its tax return.

 In general, the timing and character of income under the Class E Certificates may differ substantially
 depending on whether the Class E Certificates are treated for federal income tax purposes as debt
 instruments or as equity of the Issuer. Investors should consider the tax consequences of an investment in
 the Class E Certificates under either possible characterization.

 Investment in a Passive Foreign Investment Company. The Issuer will meet the income and asset tests so
 as to qualify as a “passive foreign investment company” (“PFIC” ). In general, to avoid certain adverse
 tax rules described below that apply to deferred income from a PFIC, a U.S. Holder of Class E
 Certificates may want to make an election to treat the Issuer as a “qualified electing fund” (“QEF” ) with
 respect to such holder. Generally, a QEF election should be made on or before the due date for filing a
 U.S. Holder’s federal income tax return for the first taxable year in which it held Class E Certificates. If a
 timely QEF election is made, an electing U.S. Holder of Class E Certificates will be required to include in
 its ordinary income such holder’s pro rata share of the Issuer’s ordinary earnings and to include in its long
 term capital gain income such holder’s pro rata share of the Issuer’s net capital gain, whether or not
 distributed, assuming that the Issuer is not a “controlled foreign corporation” as discussed below. Under
 Section 1293 of the Code, a U.S. Holder’s pro rata share of the Issuer’s ordinary income and net capital
 gain is the amount which would have been distributed with respect to such holder’s Class E Certificates
 if, on each day during the taxable year of the Issuer, the Issuer had distributed to each holder of Class E


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 Certificates a pro rata share of that day’s ratable share of the Issuer’s ordinary earnings and net capital
 gain for such year. In certain cases in which a QEF does not distribute all of its earnings in a taxable year,
 its U.S. shareholders may also be permitted to elect to defer payment of some or all of the taxes on the
 QEF’s income but will then be subject to an interest charge on the deferred amount. Prospective
 purchasers of the Class E Certificates should be aware that the Collateral Obligations may be purchased
 by the Issuer with substantial original issue discount. As a result, the Issuer may have significant ordinary
 earnings from such instruments, but the receipt of cash attributable to such earnings may be deferred,
 perhaps for a substantial period of time. In addition, under certain circumstances, Interest Proceeds may
 be used to pay principal of the Notes. Thus, absent an election to defer the payment of taxes,
 U.S. Holders that make a QEF election may owe tax on a significant amount of “phantom” income.

 The Issuer will provide, upon request, all information that a U.S. Holder of Class E Certificates making a
 QEF election is required to obtain for U.S. federal income tax purposes (e.g., the U.S. Holder’s pro rata
 share of ordinary income and net capital gain), will provide, upon request, a “PFIC Annual Information
 Statement” as described in Treasury Regulation section 1.1295–1 (or in any successor IRS release or
 Treasury regulation), including all representations and statements required by such statement, and will
 take any other steps it reasonably can to facilitate such election. The Issuer will also elect to calculate and
 report the amount and category of each type of long-term capital gain as provided in section 1(h) of the
 Code that was recognized by the Issuer with respect to each taxable year of the Issuer.

 If a U.S. Holder of Class E Certificates does not make a timely QEF election for the year in which it
 acquired its Class E Certificates and the PFIC rules are otherwise applicable, such holder will be subject
 to a special tax at ordinary income tax rates on so-called “excess distributions,” including both certain
 distributions from the Issuer and gain on the sale of Class E Certificates. The amount of income tax on
 excess distributions will be increased by an interest charge to compensate for tax deferral calculated as if
 excess distributions were earned ratably over the period the taxpayer held its Class E Certificates. In
 many cases, the tax on excess distributions will be more onerous than the taxes that would apply if a
 timely QEF election were made. Classification as a PFIC may also have other adverse tax consequences,
 including in the case of individuals, the denial of a “step up” in the basis of the Class E Certificates at
 death.

 Where a QEF election is not timely made by a U.S. Holder of Class E Certificates for the year in which it
 acquired its Class E Certificates, but is made for a later year, the excess distribution rules can be avoided
 by making an election to recognize gain from a deemed sale of the Class E Certificates at the time when
 the QEF election becomes effective. U.S. Holders should consult with their tax counsel regarding the
 U.S. federal income tax consequences of investing in a PFIC and the desirability of making the QEF
 election.

 U.S. HOLDERS OF CLASS E CERTIFICATES SHOULD CONSIDER CAREFULLY WHETHER TO
 MAKE A QEF ELECTION WITH RESPECT TO THE CLASS E CERTIFICATES AND THE
 CONSEQUENCES OF NOT MAKING SUCH AN ELECTION.

 Investment in a Controlled Foreign Corporation. Depending on the degree of ownership of the Class E
 Certificates by U.S. Shareholders (as defined below), the Issuer may be considered a controlled foreign
 corporation (“CFC” ). In general, a foreign corporation will be a CFC if more than 50% of the shares of
 the corporation, measured by combined voting power or value, are held, directly or indirectly, by U.S.
 Shareholders. A “U.S. Shareholder” for this purpose is any U.S. person who owns or is treated as
 owning, under specified attribution rules, 10% or more of the combined voting power of all classes of
 shares of a corporation. It is possible that the IRS would assert that the Class E Certificates are voting
 securities and that U.S. Holders owning 10% or more of the Class E Certificates are U.S. Shareholders. If
 this argument were successful and more than 50% of the Class E Certificates were held by such U.S.
 Shareholders, the Issuer would be treated as a CFC.



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 If the Issuer were a CFC, subject to certain exceptions, a U.S. Shareholder of the Issuer at the end of a
 taxable year of the Issuer would be required to recognize ordinary income in an amount equal to that
 person’s pro rata share of the “subpart F income” of the Issuer for the year. Among other items, and
 subject to certain exceptions, “subpart F income” includes interest, gains from the sale of securities and
 income from certain notional principal contracts (e.g., swaps and caps). It is likely that, if the Issuer were
 a CFC, substantially all of its income would be subpart F income. If more than 70% of the Issuer’s
 income is subpart F income, then 100% of its income will be so treated.

 If the Issuer were a CFC, a U.S. Shareholder of the Issuer would be taxable on the subpart F income of
 the Issuer under the CFC regime and not under the PFIC rules previously described. As a result, to the
 extent subpart F income of the Issuer includes net capital gains, such gains would be treated as ordinary
 income of the U.S. Shareholder, notwithstanding the fact that generally the character of such gains
 otherwise would be preserved under the PFIC rules if a QEF election were made. Also, the PFIC rule
 permitting the deferral of tax on undistributed earnings would not apply.

 A holder of Class E Certificates that is a U.S. Shareholder of the Issuer subject to the CFC rules for only a
 portion of the time in which it holds Class E Certificates should consult its own tax advisers regarding the
 interaction of the PFIC and CFC rules.

 Indirect Interests in PFICs and CFCs. If the Issuer holds a security of a non-U.S. corporation that is
 treated as equity for U.S. federal income tax purposes, holders of Class E Certificates could be treated as
 holding an indirect investment in a PFIC or a CFC. Prospective purchasers should consult their tax
 advisors regarding the issues relating to such investments.

 Distributions on Class E Certificates. The treatment of actual cash distributions on the Class E
 Certificates, in very general terms, will vary depending on whether a U.S. Holder has made a timely QEF
 election as described above. See “— Investment in a Passive Foreign Investment Company.” If a timely
 QEF election has been made, dividends (which are distributions up to the amount of current and
 accumulated earnings and profits of the Issuer) allocable to amounts previously taxed pursuant to the QEF
 election will not be taxable to U.S. Holders. Similarly, if the Issuer is a CFC of which the U.S. Holder is
 a U.S. Shareholder, dividends will be allocated first to amounts previously taxed pursuant to the CFC
 rules and to this extent will not be taxable to U.S. Holders. Dividends in excess of such previously taxed
 amounts will be taxable to U.S. Holders as ordinary income upon receipt. Distributions in excess of any
 current and accumulated earnings and profits will be treated first as a nontaxable return of capital, to the
 extent of the holder’s tax basis in the Class E Certificates, and then as capital gain. The distributions on
 the Class E Certificates do not qualify for the benefit of the reduced U.S. tax rate applicable to certain
 dividends received by individuals.

 In the event that a U.S. Holder of Class E Certificates does not make a timely QEF election, then except
 to the extent that distributions may be attributable to amounts previously taxed pursuant to the CFC rules,
 some or all of any dividends distributed with respect to the Class E Certificates may be considered excess
 distributions, taxable as previously described. See “— Investment in a Passive Foreign Investment
 Company.”

 Sale, Redemption or other Disposition of Class E Certificates. In general, a U.S. Holder of Class E
 Certificates will recognize gain or loss (which will be capital gain or loss, except as discussed below)
 upon the sale or exchange of Class E Certificates equal to the difference between the amount realized and
 such holder’s adjusted tax basis in the Class E Certificates. A U.S. Holder’s tax basis in Class E
 Certificates will generally equal the amount it paid for the Class E Certificates, increased by amounts
 taxable to such holder by virtue of a QEF election, or under the CFC rules, and decreased by actual
 distributions from the Issuer that are deemed to consist of such previously taxed amounts or represent a
 return of capital.



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 If a U.S. Holder does not make a timely QEF election as described above and the PFIC rules are
 otherwise applicable, any gain realized on the sale or exchange of Class E Certificates will be treated as
 an excess distribution and effectively taxed as ordinary income with an interest charge under the special
 tax rules described above. See “ Investment in a Passive Foreign Investment Company.”

 If the Issuer were treated as a CFC and a U.S. Holder were treated as a U.S. Shareholder therein, then any
 gain realized by such holder upon the disposition of Class E Certificates, other than gain constituting an
 excess distribution under the PFIC rules, would be treated as ordinary income to the extent of the
 U.S. Holder’s share of the current and accumulated earnings and profits of the Issuer. In this respect,
 earnings and profits would not include any amounts previously taxed pursuant to a QEF election or
 pursuant to the CFC rules. The pledge of stock of a PFIC may in some circumstances be treated as a
 disposition of such stock.

 Tax Treatment of U.S. Holders of Class Q-1 Securities and Class P Securities

 For U.S. federal income tax purposes, each holder of a Class Q-1 Security or a Class P Security (together,
 the “Combination Securities”) will be treated as if it directly owned the corresponding components of
 such Combination Security. In calculating its basis in each of the components, a holder will be required
 to allocate the purchase price paid for its Combination Security among the components in proportion to
 their relative fair market values at the time of purchase. A similar principle would apply in determining
 the amount allocable to each component upon a sale. The exchange of a Combination Security for its
 corresponding components will not be a taxable event. A holder of a Combination Security should
 review the applicable discussion above and below to determine the tax consequences of the purchase,
 ownership and disposition of such components that are Securities. Because the Class P U.S. Treasury
 Components consist of zero coupon U.S. Treasury securities, the Class P U.S. Treasury Components will
 be treated for U.S. federal income tax purposes as having OID. Accordingly, a U.S. Holder of Class P
 Securities, or U.S. Treasury securities exchanged therefor, will be required to include OID in income as it
 accrues. A holder of a Class P Security should consult its tax advisor with respect to the tax
 consequences of the purchase, ownership and disposition of Class P-1 U.S. Treasury Component.

 Tax Treatment of Tax-Exempt U.S. Holders

 In general, a tax-exempt U.S. Holder of Notes will not be subject to tax on unrelated business taxable
 income (“UBTI”) with respect to the income from the Notes regardless of whether they are treated as
 equity or debt for U.S. federal income tax purposes, except to the extent that the Notes are considered
 debt-financed property (as defined in the Code) of that entity. A tax-exempt U.S. Holder that owns more
 than 50% of the outstanding Class E Certificates and also owns Notes should consider the possible
 application of the special UBTI rules for amounts received from controlled entities.

 A tax-exempt entity may not make a QEF election if the tax-exempt entity would not otherwise be subject
 to tax on income from the Class E Certificates.

 Tax Treatment of Non-U.S. Holders of the Notes and Class E Certificates

 Payments on the Notes and Class E Certificates to a non-U.S. Holder, or gain realized on the sale,
 exchange or redemption of such Notes or Class E Certificates by such holder, will not be subject to
 U.S. federal income or withholding tax, as the case may be, unless such income is effectively connected
 with a trade or business conducted by such non-U.S. Holder in the United States, or, in the case of gain,
 such holder is a nonresident alien individual who holds the Notes or Class E Certificates as a capital asset
 and who is present in the United States more than 182 days in the taxable year of the sale, exchange or
 redemption and certain other conditions are met. A non-U.S. Holder will not be considered to be engaged
 in a U.S. trade or business solely by reason of holding Notes or Class E Certificates. “Non-effectively
 connected” gain or distributions received by a non-U.S. Holder will not be subject to information


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 reporting requirements or U.S. back-up withholding, although such holders generally will be required to
 furnish a certificate to the paying agent of the Issuer attesting to their status as non-U.S. Holders.

 Information Reporting and Backup Withholding

 Information reporting to the IRS generally will be required with respect to payments on the Securities and
 proceeds of the sale of the Securities to holders other than corporations or other exempt recipients. A
 “backup” withholding tax will apply to those payments if such holder fails to provide certain identifying
 information (such as such holder’s taxpayer identification number) to the Trustee or other paying agent.
 Non-U.S. Holders generally will be required to comply with applicable certification procedures to
 establish that they are not U.S. Holders in order to avoid the application of such information reporting
 requirements and backup withholding.

 Transfer Reporting Requirements

 Treasury regulations require reporting for certain transfers of property (including cash) to a foreign
 corporation by U.S. persons or entities. In general, these rules require any U.S. Holders who acquire
 Class E Certificates to file a Form 926 with the IRS and to supply certain additional information to the
 IRS. In the event a U.S. Holder fails to file any such required form, the U.S. Holder could be subject to a
 penalty equal to 10% of the gross amount paid for the Class E Certificates, subject to a maximum penalty
 of $100,000 (except in cases involving intentional disregard). Holders of Notes who also purchase Class
 E Certificates should consult their tax advisers regarding these reporting requirements.

 In addition, the Code and related Treasury regulations require that any U.S. Holder that directly or
 indirectly owns a significant portion of the voting power or value of the Issuer’s equity (generally 10%,
 but in some cases 50%) must comply with certain reporting requirements. While it is unclear how the
 voting power of the Class E Certificates would be measured for this purpose, a U.S. Holder that owns less
 than 10% (or 50%, as applicable) of the Class E Certificates generally should not be required to file this
 return. In general, such holders of the applicable percentage of the voting power or value of the Issuer’s
 equity are required to file a Form 5471 with the IRS and to supply certain information to the IRS,
 including with respect to the activities and assets of the Issuer and other holders of the Class E
 Certificates. If a U.S. Holder fails to comply with the reporting requirements, the U.S. Holder may be
 subject to a penalty, depending on the circumstances, equal to (a) U.S. $1,000 for each failure to comply
 or (b) U.S. $10,000 for each failure to comply, subject to a maximum of U.S. $60,000. Purchasers of
 Class E Certificates are urged to consult their tax advisors regarding these reporting requirements.

 Cayman Islands Tax Considerations

         The following discussion of certain Cayman Islands income tax consequences of an investment in
 the Securities is based on the advice of Walkers as to Cayman Islands law. The discussion is a general
 summary of present law, which is subject to prospective and retroactive change. It assumes that the
 Issuer will conduct its affairs in accordance with assumptions made by, and representations made to,
 counsel. It is not intended as tax advice, does not consider any investor’s particular circumstances, and
 does not consider tax consequences other than those arising under Cayman Islands law.




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        Under existing Cayman Islands laws:
                (i)      payments of principal and interest on the Notes and dividends and capital in
        respect of the Class E Certificates will not be subject to taxation in the Cayman Islands and no
        withholding will be required on such payments to any Holder of a Security and gains derived
        from the sale of Securities will not be subject to Cayman Islands income or corporation tax. The
        Cayman Islands currently have no income, corporation or capital gains tax and no estate duty,
        inheritance tax or gift tax;

               (ii)    no stamp duty is payable in respect of the issue or transfer of Securities although
        duty may be payable if Notes are executed in or brought into the Cayman Islands; and

                 (iii)    certificates evidencing Securities, in registered form, to which title is not
        transferable by delivery, should not attract Cayman Islands stamp duty. However, an instrument
        transferring title to a Note, if brought to or executed in the Cayman Islands, would be subject to
        Cayman Islands stamp duty.

          The Issuer has been incorporated under the laws of the Cayman Islands as an exempted company
 and, as such, has applied for and obtained an undertaking from the Governor in Cabinet of the Cayman
 Islands in substantially the following form:

                              “THE TAX CONCESSIONS LAW
                                    (1999 REVISION)
                          UNDERTAKING AS TO TAX CONCESSIONS
         In accordance with Section 6 of the Tax Concessions Law (1999 Revision) the Governor in
 Cabinet undertakes with:

        Liberty CLO, Ltd. “the Company”

                (a)     that no Law which is hereafter enacted in the Islands imposing any tax to be
                        levied on profits, income, gains or appreciations shall apply to the Company or
                        its operations; and
                (b)     in addition, that no tax to be levied on profits, income, gains or appreciations or
                        which is in the nature of estate duty or inheritance tax shall be payable
                        (i)     on or in respect of the shares, debentures or other obligations of the
                                Company; or
                        (ii)    by way of the withholding in whole or in part of any relevant payment as
                                defined in Section 6(3) of the Tax Concessions Law (1999 Revision).
        These concessions shall be for a period of TWENTY years from the 9th day of August, 2005.

        GOVERNOR IN CABINET”

         The Cayman Islands does not have an income tax treaty arrangement with the U.S. or any other
 country.

       THE PRECEDING DISCUSSION IS ONLY A SUMMARY OF CERTAIN OF THE TAX
 IMPLICATIONS OF AN INVESTMENT IN THE SECURITIES. PROSPECTIVE INVESTORS ARE
 URGED TO CONSULT WITH THEIR OWN TAX ADVISORS PRIOR TO INVESTING TO
 DETERMINE THE TAX IMPLICATIONS OF SUCH INVESTMENT IN LIGHT OF SUCH
 INVESTORS’ CIRCUMSTANCES.


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                                       ERISA CONSIDERATIONS
          The U.S. Employee Retirement Income Security Act of 1974, as amended (“ERISA”), imposes
 certain requirements on “employee benefit plans” (as defined in Section 3(3) of ERISA) subject to Title I
 of ERISA, including entities such as collective investment funds and separate accounts whose underlying
 assets include the assets of such plans (collectively, “ERISA Plans”), and on those persons who are
 fiduciaries with respect to ERISA Plans. Investments by ERISA Plans are subject to ERISA’s general
 fiduciary requirements, including the requirement of investment prudence and diversification and the
 requirement that an ERISA Plan’s investments be made in accordance with the documents governing the
 ERISA Plan. The prudence of a particular investment must be determined by the responsible fiduciary of
 an ERISA Plan by taking into account the ERISA Plan’s particular circumstances and all of the facts and
 circumstances of the investment including, but not limited to, the matters discussed above under “Risk
 Factors” and the fact that in the future there may be no market in which such fiduciary will be able to sell
 or otherwise dispose of any Notes it may purchase.

          Section 406 of ERISA and Section 4975 of the Code prohibit certain transactions involving the
 assets of an ERISA Plan (as well as those plans that are not subject to ERISA but which are subject to
 Section 4975 of the Code, such as individual retirement accounts, including entities whose underlying
 assets include the assets of such plans (together with ERISA Plans, “Plans”)) and certain persons
 (referred to as “parties in interest” or “disqualified persons”) having certain relationships to such Plans,
 unless a statutory or administrative exemption is applicable to the transaction. A party in interest or
 disqualified person who engages in a prohibited transaction may be subject to excise taxes and other
 penalties and liabilities under ERISA and the Code. In addition, the fiduciary of the Plan that engaged in
 such a non-exempt prohibited transaction may be subject to penalties and liabilities under ERISA and/or
 the Code.

          Governmental plans, certain church plans and non-U.S. plans, while not subject to the fiduciary
 responsibility provisions of ERISA or the provisions of Section 4975 of the Code, may nevertheless be
 subject to local, state or other federal laws or non-U.S. laws that are substantially similar to the foregoing
 provisions of ERISA and the Code (“Similar Laws”). Fiduciaries of any such plans should consult with
 their counsel before purchasing any Securities.

          The Notes should not be considered to be “equity interests” in the Issuer, but the Class E
 Certificates will constitute “equity interests” in the Issuer and the Class Q-1 Securities and the Class P
 Securities may constitute “equity interests” in the Issuer, for purposes of the U.S. Department of Labor’s
 plan asset regulation, 29 CFR Section 2510.3-101 (the “Plan Asset Regulation”), describing what
 constitutes the assets of a Plan with respect to the Plan’s investment in an entity for purposes of certain
 provisions of ERISA, including the fiduciary responsibility provisions of Title I of ERISA, and Section
 4975 of the Code. In light of the foregoing, the Class E Certificates, the Class Q-1 Securities and the
 Class P Securities may not be purchased or held by, with the assets of or on behalf of, any Plan. Each
 initial purchaser and each subsequent transferee of Certificated Class E Certificates, Certificated Class Q-
 1 Securities and Certificated Class P Securities will be required to represent and warrant, and each initial
 purchaser and subsequent transferee of Class E Certificates, Class Q-1 Securities and Class P Securities
 represented by Temporary Regulation S Global Securities or Regulation S Global Securities by its
 acquisition thereof will be deemed to represent and warrant, that (a) it is not, and while it holds any Class
 E Certificates, Class Q-1 Securities or Class P Securities will not be, a Plan or acting on behalf of, or
 using assets of, a Plan, (b) if it is a governmental plan (as defined in Section 3(32) of ERISA) or a non-US
 plan (as described in Section 4(b)(4) of ERISA), its purchase, holding and subsequent transfer of the
 Class E Certificates, Class Q-1 Securities or Class P Securities will not result in a violation of any
 applicable laws, rules, regulations, policies and guidelines to which it and its investments are subject and
 (c) it and any person causing it to acquire any Class E Certificates, Class Q-1 Securities or Class P
 Securities agrees to indemnify and hold harmless the Issuer, Co-Issuer, Portfolio Manager, Trustee,
 Collateral Administrator, Placement Agent and Initial Purchaser and their respective Affiliates from any
 cost, damage or loss incurred by them as a result of any of the foregoing representations being or

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 becoming false. Any attempted acquisition by or transfer to a Plan of Class E Certificates, Class Q-1
 Securities or Class P Securities shall be void and shall not bind the Issuer.

          Additionally, prohibited transactions within the meaning of Section 406 of ERISA or Section
 4975 of the Code may arise if Notes are acquired by a Plan with respect to which the Issuer, Co-Issuer,
 Portfolio Manager, Trustee, Collateral Administrator, Amendment Buy-Out Purchaser, Extension
 Qualifying Purchaser, Placement Agent or Initial Purchaser, or any of their respective Affiliates, is a party
 in interest or a disqualified person. Certain exemptions from the prohibited transaction provisions of
 Section 406 of ERISA and Section 4975 of the Code may be applicable, however, depending in part on
 the type of Plan fiduciary making the decision to acquire an interest in a Note and the circumstances
 under which such decision is made. Included among these exemptions are Prohibited Transaction Class
 Exemption (“PTCE”) 96-23 (relating to transactions directed by an in-house asset manager); PTCE 95-60
 (relating to transactions involving insurance company general accounts); PTCE 91-38 (relating to
 investments by bank collective investment funds); PTCE 90-1 (relating to investments by insurance
 company pooled separate accounts); and PTCE 84-14 (relating to transactions effected by a qualified
 professional asset manager). There can be no assurance that any of these class exemptions or any other
 exemption will be available with respect to any particular transaction involving the Notes.

        BY ITS PURCHASE OF ANY NOTE, THE PURCHASER THEREOF WILL REPRESENT
 AND WARRANT, OR WILL BE DEEMED TO HAVE REPRESENTED AND WARRANTED, ON
 EACH DAY FROM THE DATE ON WHICH THE PURCHASER ACQUIRES ITS INTEREST IN
 SUCH NOTE THROUGH AND INCLUDING THE DATE ON WHICH THE PURCHASER
 DISPOSES OF ITS INTEREST IN SUCH NOTE, EITHER THAT (A) IT IS NOT, AND IS NOT
 USING THE ASSETS OF, A PLAN, AN ENTITY WHOSE UNDERLYING ASSETS INCLUDE THE
 ASSETS OF A PLAN BY REASON OF U.S. DEPARTMENT OF LABOR REGULATION SECTION
 2510.3-101 OR OTHERWISE, OR A PLAN WHICH IS SUBJECT TO SIMILAR LAWS OR (B) ITS
 PURCHASE, HOLDING AND DISPOSITION OF SUCH SECURITY WILL NOT CONSTITUTE OR
 RESULT IN A PROHIBITED TRANSACTION UNDER SECTION 406 OF ERISA OR SECTION 4975
 OF THE CODE (OR A VIOLATION OF ANY APPLICABLE SIMILAR LAWS) FOR WHICH AN
 EXEMPTION IS NOT AVAILABLE, ALL THE CONDITIONS OF WHICH ARE SATISFIED.

          Any plan fiduciary that proposes to cause a plan to purchase an interest in any Securities should
 consult with its counsel regarding the applicability of the fiduciary responsibility and prohibited
 transaction provisions of ERISA and Section 4975 of the Code (or applicable Similar Laws) to such an
 investment, and to confirm that such investment will not constitute or result in a prohibited transaction or
 any other violation of an applicable requirement of ERISA, the Code or other applicable law.

          The sale of interests in any Securities to a plan is in no respect a representation by the Issuer,
 Initial Purchaser, Placement Agent, Portfolio Manager, Trustee, Collateral Administrator, Revolving Note
 Agent or the Delayed Drawdown Note Agent that such an investment meets all relevant legal
 requirements with respect to investments by plans generally or any particular plan, or that such an
 investment is appropriate for plans generally or any plan.

                                        PLAN OF DISTRIBUTION
          The Notes (other than the Class A-1A Notes and the Class A-1B Notes), the Class Q-1 Securities
 and the Class P Securities are being offered by Citigroup Global Markets Inc. (in such capacity, the
 “Initial Purchaser”) pursuant to a purchase agreement with the Co-Issuers (the “Purchase
 Agreement”). The Class E Certificates (other than the Class E Certificate Components) are being offered
 by the Issuer through Citigroup Global Markets Inc. (in such capacity, the “Placement Agent”) pursuant
 to a placement agency agreement with the Issuer (the “Placement Agency Agreement” ). The Securities
 will be sold to prospective purchasers from time to time in individually negotiated transactions at varying
 prices to be determined in each case at the time of sale. The Indenture Securities will be offered within
 the United States to Qualified Purchasers that are also Qualified Institutional Buyers. The Class E

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 Certificates will be offered within the United States to persons that are both (i) Qualified Institutional
 Buyers or Accredited Investors and (ii) Qualified Purchasers or Knowledgeable Employees. The
 Securities will be offered outside the United States in reliance on Regulation S. See “Purchase and
 Transfer Restrictions.”

         The Purchase Agreement provides that the obligation of the Initial Purchaser to purchase such
 Notes, the Class Q-1 Securities and the Class P Securities is subject to approval of legal matters by
 counsel and to other conditions. The Initial Purchaser must purchase all such Notes, the Class Q-1
 Securities and the Class P Securities if it purchases any of such Securities.

          In connection with sales outside the United States, with respect to such Notes, the Class Q-1
 Securities and the Class P Securities, the Initial Purchaser and with respect to the Class E Certificates, the
 Placement Agent have agreed that, except as permitted by the Purchase Agreement or the Placement
 Agency Agreement, as the case may be, they will not offer or sell such Notes, the Class Q-1 Securities,
 Class P Securities or the Class E Certificates within the United States or to, or for the account or benefit
 of, U.S. persons (as defined in Regulation S) (i) as part of its distribution at any time or (ii) otherwise (a)
 with respect to the Notes, until 40 days after the later of the commencement of the offering and the
 Closing Date, and it will have sent to each dealer to which it sells Notes during the 40-day restricted
 period and (b) with respect to the Class E Certificates, the Class Q-1 Securities and the Class P Securities,
 until one year after the later of the commencement of the offering and the Closing Date, and it will have
 sent to each dealer to which it sells Class E Certificates, the Class Q-1 Securities and the Class P
 Securities during the one year restricted period, in each case, a confirmation or other notice setting forth
 the restrictions on offers and sales of the Securities within the United States or to, or for the account or
 benefit of, U.S. persons (as defined in Regulation S). In addition, until 40 days (with respect to the
 Notes) and one year (with respect to the Class E Certificates, the Class Q-1 Securities and the Class P
 Securities) after the commencement of this offering, an offer or sale of Notes or the Class E Certificates
 or the Class Q-1 Securities or the Class P Securities, as applicable, within the United States by a dealer
 that is not participating in this offering may violate the registration requirements of the Securities Act if
 that offer or sale is made otherwise than in accordance with Rule 144A (or, in the case of the Class E
 Certificates, another exemption from registration under the Securities Act).

          No action is being taken or is contemplated by the Co-Issuers that would permit a public offering
 of the Securities or possession or distribution of this Offering Memorandum or any amendment thereof,
 any supplement thereto or any other offering material relating to the Co-Issuers or the Securities in any
 jurisdiction where, or in any other circumstances in which, action for those purposes is required.

         The Initial Purchaser and the Placement Agent or their respective Affiliates may have had in the
 past and may in the future have business relationships and dealings with one or more obligors of
 Collateral Obligations and their Affiliates and may own equity or debt securities issued by such entities or
 their Affiliates. The Initial Purchaser and the Placement Agent or their respective Affiliates may have
 provided and may in the future provide investment banking services to an obligor of Collateral
 Obligations or its Affiliates and may have received or may receive compensation for such services.

           The Co-Issuers have agreed to indemnify the Initial Purchaser against certain liabilities, including
 liabilities under the Securities Act, and have agreed to contribute to payments that the Initial Purchaser
 may be required to make in respect thereof.

           The Issuer has agreed to indemnify the Placement Agent against certain liabilities, including
 liabilities under the Securities Act, and has agreed to contribute to payments that the Placement Agent
 may be required to make in respect thereof.

          The Securities are offered when, as and if issued, subject to prior sale or withdrawal, cancellation
 or modification of the offer without notice and subject to approval of certain legal matters by counsel and
 certain other conditions.


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          The Securities will constitute new classes of securities with no established trading market. Such a
 market may or may not develop, but the Initial Purchaser and the Placement Agent are not under any
 obligation to make such a market, and if they do make such a market they may discontinue any market-
 making activities with respect to the Securities at any time without notice. In addition, market-making
 activity will be subject to the limits imposed by the Securities Act and the Exchange Act. Accordingly,
 no assurances can be made as to the liquidity of or the trading market for the Securities.

        Citigroup Global Markets Inc. may be contacted at 390 Greenwich Street, New York, New York
 10013, Attention: Global Structured Credit Product Group.

         An affiliate of the Placement Agent provided warehouse financing to the Issuer to enable it to
 acquire Collateral Obligations prior to the Closing Date and will be repaid out of the proceeds of the sale
 of the Securities.




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                                    SETTLEMENT AND CLEARING
 Book Entry Registration of the Global Securities

          So long as the Depositary, or its nominee, is the registered owner or Holder of a Global Security,
 the Depositary or the nominee, as the case may be, will be considered the sole owner or Holder of the
 Securities represented by a Global Security for all purposes under the Indenture, the Class E Certificate
 Documents, the Issuer Charter, and the Global Securities, and members of, or participants in, the
 Depositary as well as any other persons on whose behalf the participants may act (including Clearstream
 and Euroclear and account holders and participants therein) will have no rights under the Indenture or a
 Global Security. Owners of beneficial interests in a Global Security will not be considered to be owners
 or Holders of the related Security under the Indenture or the Class E Certificate Documents, except in
 limited circumstances described in the Indenture and the Class E Certificate Documents. Unless the
 Depositary notifies the Co-Issuers that it is unwilling or unable to continue as depositary for a Global
 Security or ceases to be a “clearing agency” registered under the Exchange Act or in certain other limited
 cases as set forth in the Indenture and the Class E Certificate Documents, owners of a beneficial interest
 in a Global Security will not be entitled to have any portion of a Global Security registered in their names,
 will not receive or be entitled to receive physical delivery of Securities in certificated form and will not be
 considered to be the Holders of any Securities under the Indenture and the Class E Certificate Documents.
 In addition, no beneficial owner of an interest in a Global Security will be able to transfer that interest
 except in accordance with the Depositary’s applicable procedures (in addition to those under the
 Indenture and the Class E Certificate Documents, and, if applicable, those of Euroclear and Clearstream).

         Investors may hold their interests in a Regulation S Global Security directly through Clearstream
 or Euroclear, if they are participants in Clearstream or Euroclear, or indirectly through organizations that
 are participants in Clearstream or Euroclear. Clearstream and Euroclear will hold interests in the
 Regulation S Global Securities on behalf of their participants through their respective depositories, which
 in turn will hold the interests in Regulation S Global Securities and Regulation S Global Securities in
 customers’ securities accounts in the depositories’ names on the books of the Depositary. Investors may
 hold their interests in a Rule 144A Global Note directly through the Depositary if they are participants in
 the Depositary, or in directly through organizations that are participants in the Depositary.

         Payments of principal of, or interest or other distributions on a Global Security will be made to
 the Depositary or its nominee, as the registered owner thereof. The Co-Issuers, the Trustee, the Class E
 Certificate Paying Agent, the paying agents, the Initial Purchaser, the Placement Agent, the Portfolio
 Manager and their respective Affiliates will not have any responsibility or liability for any aspect of the
 records relating to or payments made on account of beneficial ownership interests in a Global Security or
 for maintaining, supervising or reviewing any records relating to the beneficial ownership interests.

          The Co-Issuers expect that the Depositary or its nominee, upon receipt of any payment of
 principal, interest, or other distributions in respect of a Global Security representing any Securities, held
 by it or its nominee, will immediately credit participants’ accounts with payments in amounts
 proportionate to their respective beneficial interests in the stated aggregate principal amount or number of
 a Global Security for the Securities, as shown on the records of the Depositary or its nominee. The Co-
 Issuer also expect that payments by participants to owners of beneficial interests in a Global Security held
 through the participants will be governed by standing instructions and customary practices, as is now the
 case with securities held for the accounts of customers registered in the names of nominees for those
 customers. The payments will be the responsibility of the participants.

 Global Security Settlement Procedures

        Transfers between the participants in the Depositary will be effected in the ordinary way in
 accordance with the Depositary rules and will be settled in immediately available funds. The laws of
 some states require that certain persons take physical delivery of securities in definitive form.

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 Consequently, the ability to transfer beneficial interests in a Global Security to these persons may be
 limited. Because the Depositary can only act on behalf of participants, who in turn act on behalf of
 indirect participants and certain banks, the ability of a person holding a beneficial interest in a Global
 Security to pledge its interest to persons or entities that do not participate in the Depositary system, or
 otherwise take actions in respect of its interest, may be affected by the lack of a physical certificate of the
 interest. Transfers between participants in Euroclear and Clearstream will be effected in the ordinary way
 in accordance with their respective rules and operating procedures.

          Subject to compliance with the transfer restrictions applicable to the Securities described above
 and under “Transfer Restrictions,” cross-market transfers between the Depositary, on the one hand, and
 directly or indirectly through Euroclear or Clearstream participants, on the other, will be effected in the
 Depositary in accordance with the Depositary rules on behalf of Euroclear or Clearstream, as the case
 may be, by its respective depositary; however, the cross-market transactions will require delivery of
 instructions to Euroclear or Clearstream, as the case may be, by the counterparty in the system in
 accordance with its rules and procedures and within its established deadlines (Brussels time). Euroclear
 or Clearstream, as the case may be, will if the transaction meets its settlement requirements, deliver
 instructions to its respective depositary to take action to effect final settlement on its behalf by delivering
 or receiving interests in a Note represented by a Regulation S Global Security in the Depositary and
 making or receiving payment in accordance with normal procedures for same-day funds settlement
 applicable to the Depositary. Clearstream participants and Euroclear participants may not deliver
 instructions directly to the depositories of Clearstream or Euroclear.

          Because of time zone differences, cash received in Euroclear or Clearstream as a result of sales of
 interests in a Regulation S Global Security by or through a Euroclear or Clearstream participant to the
 Depositary participant will be received with value on the Depositary settlement date but will be available
 in the relevant Euroclear or Clearstream cash account only as of the business day following settlement in
 the Depositary.

         The Depositary has advised the Issuer that it will take any action permitted to be taken by a
 Holder of Securities (including the presentation of Securities for exchange as described above) only at the
 direction of one or more participants in the Depositary to whose account with the Depositary interests in
 the Securities are credited and only in respect of the portion of the Aggregate Outstanding Amount of the
 Securities as to which the participant or participants has or have given the direction.

         The Depositary has advised the Issuer as follows: The Depositary is a limited-purpose trust
 company organized under the New York Banking Law, a “banking organization” within the meaning of
 the New York Banking Law, a member of the Federal Reserve System, a “clearing corporation” within
 the meaning of the UCC and a “Clearing Agency” registered pursuant to the provisions of Section 17A of
 the Exchange Act. The Depositary was created to hold securities for its participants and facilitate the
 clearance and settlement of securities transactions between participants through electronic book-entry
 changes in accounts of its participants, thereby eliminating the need for physical movement of certificates.
 Participants in the Depositary include securities brokers and dealers, banks, trust companies, and clearing
 corporations and may include certain other organizations. Indirect access to the Depositary system is
 available to others such as banks, brokers, dealers, and trust companies that clear through or maintain a
 custodial relationship with a participant, either directly or indirectly.

          Although the Depositary, Clearstream and Euroclear have agreed to the foregoing procedures to
 facilitate transfers of interests in Regulation S Global Securities among participants of the Depositary,
 Clearstream and Euroclear, they are under no obligation to perform or continue to perform the
 procedures, and the procedures may be discontinued at any time. None of the Co-Issuers, the Trustee and
 the Class E Certificate Paying Agent will have any responsibility for the performance by the Depositary,
 Clearstream, or Euroclear or their respective participants or indirect participants of their respective
 obligations under the rules and procedures governing their operations.

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                                      TRANSFER RESTRICTIONS
         The Securities have not been and will not be registered under the Securities Act or any state
 “Blue Sky” laws or the securities laws of any other jurisdiction and, accordingly, may not be reoffered,
 resold, pledged or otherwise transferred except in accordance with the restrictions set forth in the
 Indenture and described under “Notices to Purchasers” and below.

           Without limiting the foregoing, by holding a Security, each Holder of Securities will
 acknowledge and agree, among other things, that such Holder of Securities understands that neither of the
 Co-Issuers is registered as an investment company under the Investment Company Act, but that the Issuer
 claims exemption from registration as such by virtue of Section 3(c)(7) of the Investment Company Act.
 In general terms, Section 3(c)(7) excepts from the provisions of the Investment Company Act those non-
 U.S. issuers (i) whose investors residing in the United States are Qualified Purchasers and (ii) which do
 not make a public offering of their securities in the United States. In general terms, Qualified Purchaser is
 defined to mean, among other things, (i) natural persons who own not less than U.S. $5,000,000 in
 “investments”; (ii) a company that owns not less than U.S. $5,000,000 in “investments” and that is owned
 directly or indirectly by or for two or more natural persons who are related as siblings or spouses
 (including former spouses), or direct lineal descendants by birth or adoption, spouses of such persons, the
 estates of such persons, or foundations, charitable organizations, or trusts established by or for the benefit
 of such persons; (iii) certain trusts that were not formed for the specific purposes of acquiring the
 securities offered, as to which the trustee or other person authorized to make decisions with respect to the
 trust, and each settlor or other person who has contributed assets to the trust, is a qualified purchaser
 (other than certain trusts); and (iv) any person, acting for its own account or the accounts of other
 qualified purchasers, who in the aggregate owns and invests on a discretionary basis, not less than U.S.
 $25,000,000 in “investments.” For purposes of the definition of “qualified purchaser,” “investments” has
 the meaning given such term in Rule 270.2a51-1 under the Investment Company Act. See “Risk
 Factors— Non-Compliance with Restrictions on Ownership of the Securities under the United States
 Investment Company Act of 1940 Could Adversely Affect the Issuer.”

         The Indenture permits the Issuer to require that any person that acquired or is holding Securities
 in violation of the provisions of the Indenture sell such Securities to a permitted holder thereof in
 accordance with the Indenture, and if such person fails to do so, the Issuer will have the right to sell such
 person’s Notes to a permitted holder.

 The Notes

         Legend

        Unless determined otherwise by the Co-Issuers in accordance with applicable law and so long as
 any Class of Notes is outstanding, the Notes will bear a legend substantially as set forth below:

         “THIS NOTE HAS NOT BEEN AND WILL NOT BE REGISTERED UNDER THE
         U.S. SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), ANY
         STATE SECURITIES LAWS IN THE UNITED STATES OR THE SECURITIES
         LAWS OF ANY OTHER JURISDICTION AND THE CO-ISSUERS HAVE NOT
         REGISTERED UNDER THE U.S. INVESTMENT COMPANY ACT OF 1940, AS
         AMENDED (THE “INVESTMENT COMPANY ACT”). THE HOLDER HEREOF, BY
         ITS ACCEPTANCE OF THIS NOTE, REPRESENTS THAT IT HAS OBTAINED
         THIS NOTE IN A TRANSACTION IN COMPLIANCE WITH THE SECURITIES
         ACT, THE INVESTMENT COMPANY ACT AND ALL OTHER APPLICABLE
         LAWS OF THE UNITED STATES OR ANY OTHER JURISDICTION, AND THE
         RESTRICTIONS ON SALE AND TRANSFER SET FORTH IN THE INDENTURE.
         THE HOLDER HEREOF, BY ITS ACCEPTANCE OF THIS NOTE, FURTHER

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       REPRESENTS, ACKNOWLEDGES AND AGREES THAT IT WILL NOT REOFFER,
       RESELL, PLEDGE OR OTHERWISE TRANSFER THIS NOTE (OR ANY INTEREST
       HEREIN) EXCEPT IN COMPLIANCE WITH THE SECURITIES ACT, THE
       INVESTMENT COMPANY ACT AND ALL OTHER APPLICABLE LAWS OF ANY
       JURISDICTION AND IN ACCORDANCE WITH THE CERTIFICATIONS AND
       OTHER REQUIREMENTS SPECIFIED IN THE INDENTURE REFERRED TO
       HEREIN (A) TO A TRANSFEREE (1) THAT IS A “QUALIFIED PURCHASER”
       WITHIN THE MEANING OF SECTION 3(c)(7) OF THE INVESTMENT COMPANY
       ACT, (2) THAT (i) WAS NOT FORMED FOR THE PURPOSE OF INVESTING IN
       THE NOTES, (ii) HAS RECEIVED THE NECESSARY CONSENT FROM ITS
       BENEFICIAL OWNERS IF THE PURCHASER IS A PRIVATE INVESTMENT
       COMPANY FORMED BEFORE APRIL 30, 1996, (iii) IS NOT A BROKER-DEALER
       THAT OWNS AND INVESTS ON A DISCRETIONARY BASIS LESS THAN U.S.
       $25,000,000 IN SECURITIES OF UNAFFILIATED ISSUERS, (iv) IS NOT A
       PARTNERSHIP, COMMON TRUST FUND, SPECIAL TRUST, PENSION, PROFIT
       SHARING OR OTHER RETIREMENT TRUST FUND OR PLAN IN WHICH THE
       PARTNERS, BENEFICIARIES OR PARTICIPANTS, AS APPLICABLE, MAY
       DESIGNATE THE PARTICULAR INVESTMENTS TO BE MADE, (v) IS
       ACQUIRING ITS NOTES IN A TRANSACTION THAT MAY BE EFFECTED
       WITHOUT LOSS OF ANY APPLICABLE INVESTMENT COMPANY ACT
       EXEMPTION AND (vi) AGREES TO PROVIDE NOTICE TO ANY SUBSEQUENT
       TRANSFEREE OF THE TRANSFER RESTRICTIONS APPLICABLE TO THIS
       NOTE PROVIDED IN THIS LEGEND AND THE INDENTURE AND (3) THAT IS A
       PERSON WHOM THE SELLER REASONABLY BELIEVES IS A “QUALIFIED
       INSTITUTIONAL BUYER” AS DEFINED IN RULE 144A UNDER THE
       SECURITIES ACT PURCHASING FOR ITS OWN ACCOUNT OR FOR THE
       ACCOUNT OF A “QUALIFIED INSTITUTIONAL BUYER” IN COMPLIANCE
       WITH RULE 144A UNDER THE SECURITIES ACT, OR (B) TO A TRANSFEREE
       THAT IS NOT A U.S. PERSON (AS DEFINED IN REGULATION S UNDER THE
       SECURITIES ACT) AND IS ACQUIRING THIS NOTE IN AN OFFSHORE
       TRANSACTION IN COMPLIANCE WITH RULE 903 OR RULE 904 OF
       REGULATION S UNDER THE SECURITIES ACT, AND, IN THE CASE OF BOTH
       CLAUSES (A) AND (B), IN A PRINCIPAL AMOUNT OF NOT LESS THAN THE
       APPLICABLE MINIMUM DENOMINATION.

       EACH PURCHASER OR TRANSFEREE OF THIS NOTE WILL BE REQUIRED TO
       MAKE OR DEEMED TO HAVE MADE THE REPRESENTATIONS AND
       AGREEMENTS SET FORTH IN THE INDENTURE OR AN EXHIBIT THERETO.

       THIS NOTE IS TRANSFERABLE ONLY IN ACCORDANCE WITH THE
       RESTRICTIONS DESCRIBED HEREIN.       ANY SALE OR TRANSFER IN
       VIOLATION OF THE FOREGOING WILL BE OF NO FORCE AND EFFECT, WILL
       BE VOID AB INITIO, AND WILL NOT OPERATE TO TRANSFER ANY RIGHTS TO
       THE TRANSFEREE, NOTWITHSTANDING ANY INSTRUCTIONS TO THE
       CONTRARY TO THE CO-ISSUERS, THE TRUSTEE OR ANY INTERMEDIARY.
       EACH TRANSFEROR OF THIS NOTE OR ANY INTEREST HEREIN AGREES TO
       PROVIDE NOTICE OF THE TRANSFER RESTRICTIONS SET FORTH HEREIN
       AND IN THE INDENTURE TO THE TRANSFEREE. IN ADDITION TO THE
       FOREGOING, THE ISSUER MAINTAINS THE RIGHT TO COMPEL THE RESALE

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        OF ANY INTEREST IN THIS NOTE PREVIOUSLY TRANSFERRED TO OR HELD
        BY ANY NON-PERMITTED HOLDER IN ACCORDANCE WITH AND SUBJECT
        TO THE TERMS OF THE INDENTURE.

        THE STATED MAUTRITY OF THIS NOTE IS SUBJECT TO EXTENSION AS SET
        FORTH IN THE INDENTURE. IN ADDITION, A HOLDER MAY BE REQUIRED
        TO SELL ITS INTEREST IN THIS NOTE AS PROVIDED IN THE INDENTURE IF
        IT DOES NOT CONSENT TO CERTAIN AMENDMENTS TO THE INDENTURE.

        [Add for Notes other than the Class A Notes: THIS NOTE HAS BEEN ISSUED WITH
        ORIGINAL ISSUE DISCOUNT FOR U.S. FEDERAL INCOME TAX PURPOSES.
        FOR INFORMATION ABOUT THE ISSUE PRICE, THE AMOUNT OF OID, THE
        ISSUE DATE AND THE YIELD TO MATURITY OF THE NOTE, PLEASE
        CONTACT THE TRUSTEE AT 600 TRAVIS STREET, 50TH FLOOR, HOUSTON,
        TEXAS 77002, TELECOPY NO (713) 216-2101, ATTENTION: WORLDWIDE
        SECURITY SERVICES--LIBERTY CLO, LTD.]

        FURTHER, NO SALE OR TRANSFER OF THIS NOTE (OR ANY INTEREST
        HEREIN) MAY BE MADE UNLESS SUCH SALE OR TRANSFER WILL NOT
        CONSTITUTE OR RESULT IN A PROHIBITED TRANSACTION UNDER SECTION
        406 OF THE U.S. EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974,
        AS AMENDED (“ERISA”), SECTION 4975 OF THE U.S. INTERNAL REVENUE
        CODE OF 1986, AS AMENDED (THE “CODE”), OR, IN THE CASE OF A
        GOVERNMENTAL, FOREIGN, CHURCH OR OTHER PLAN, ANY
        SUBSTANTIALLY SIMILAR FEDERAL, STATE, LOCAL OR OTHER LAW, FOR
        WHICH AN EXEMPTION IS NOT AVAILABLE, ALL OF THE CONDITIONS OF
        WHICH ARE SATISFIED.

        [Add for Notes other than Class A-1A Notes and the Class A-1B Notes: UNLESS THIS
        NOTE IS PRESENTED BY AN AUTHORIZED REPRESENTATIVE OF DTC TO
        THE TRUSTEE OR ITS AGENTS FOR REGISTRATION OF TRANSFER,
        EXCHANGE, OR PAYMENT, AND ANY NOTE ISSUED IS REGISTERED IN THE
        NAME OF CEDE & CO. OR IN SUCH OTHER NAME AS IS REQUESTED BY AN
        AUTHORIZED REPRESENTATIVE OF DTC (AND ANY PAYMENT IS MADE TO
        CEDE & CO OR TO SUCH OTHER ENTITY AS IS REQUESTED BY AN
        AUTHORIZED REPRESENTATIVE OF DTC), ANY TRANSFER, PLEDGE, OR
        OTHER USE HEREOF FOR VALUE OR OTHERWISE BY OR TO ANY PERSON IS
        WRONGFUL INASMUCH AS THE REGISTERED OWNER HEREOF, CEDE & CO.,
        HAS AN INTEREST HEREIN.”]

 Transferees of Interests in Rule 144A Global Notes

        Each initial purchaser and subsequent transferee who is purchasing an interest in a Rule 144A
 Global Note will be deemed to have represented and agreed as follows:
        1.      It (a) is a Qualified Institutional Buyer and is acquiring the Notes in reliance on the
                exemption from Securities Act registration provided by Rule 144A thereunder, (b) is a
                Qualified Purchaser and (c) understands the Notes will bear the legend set forth above
                and be represented by one or more Rule 144A Global Notes. In addition, it represents
                and warrants that it (i) was not formed for the purpose of investing in the Notes, (ii) has
                received the necessary consent from its beneficial owners if the purchaser is a private

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             investment company formed before April 30, 1996, (iii) is not a broker-dealer that owns
             and invests on a discretionary basis less than U.S. $25,000,000 in securities of
             unaffiliated issuers, (iv) is not a partnership, common trust fund, special trust, pension,
             profit sharing or other retirement trust fund or plan in which the partners, beneficiaries or
             participants, as applicable, may designate the particular investments to be made, (v) is
             acquiring its Notes in a transaction that may be effected without loss of any applicable
             Investment Company Act exemption, (vi) will provide notice to any subsequent
             transferee of the transfer restrictions applicable to such Notes under the Indenture or
             provided in the legend of such Notes, (vii) will hold and transfer its beneficial interest in
             any Note only in a principal amount of not less than the applicable minimum
             denomination and (viii) will provide the Issuer from time to time such information as it
             may reasonably request in order to ascertain compliance with this paragraph 1.
       2.    The Notes are being purchased or transferred in accordance with the transfer restrictions
             set forth in the Indenture and pursuant to an exemption from Securities Act registration,
             and in accordance with applicable state securities laws or securities laws of any other
             relevant jurisdiction. It understands that the Notes have been offered only in a
             transaction not involving any public offering in the United States within the meaning of
             the Securities Act, the Notes have not been and will not be registered under the Securities
             Act or the securities laws of any states, and, if in the future it decides to offer, resell,
             pledge or otherwise transfer the Notes, such Notes may be offered, resold, pledged or
             otherwise transferred only in accordance with an exemption from registration under such
             laws and pursuant to the provisions of the Indenture and the legend on such Notes. In
             particular, it understands that interests in the Notes may be transferred only to (a) a
             Qualified Purchaser that is a Qualified Institutional Buyer or (b) a person that is not a
             “U.S. person“ as defined in Regulation S under the Securities Act. Purchasers and
             transferees who reside in certain states or jurisdictions may be subject to additional
             suitability standards and/or specific holding periods before the Notes may be resold or
             otherwise transferred. It acknowledges that no representation is made as to the
             availability of any exemption under the Securities Act or any state or other securities laws
             for resale of the Notes.
       3.    In connection with the purchase of the Notes (provided that no such representations in
             clauses (a), (b) or (c) below are required to be made with respect to the Portfolio Manager
             by the Portfolio Manager or any affiliate of the Portfolio Manager or by any account
             managed or advised by the Portfolio Manager or any affiliate of the Portfolio Manager):
             (a) it understands that none of the Issuer, the Co-Issuer, the Portfolio Manager, the Initial
             Purchaser, the Placement Agent, the Collateral Administrator, the Revolving Note Agent,
             the Delayed Drawdown Note Agent or any of their respective affiliates is acting as a
             fiduciary or financial or investment adviser for such beneficial owner; (b) such beneficial
             owner is not relying (for purposes of making any investment decision or otherwise) upon
             any advice, counsel or representations (whether written or oral) of the Issuer, the Co-
             Issuer, the Portfolio Manager, the Initial Purchaser, the Placement Agent, the Trustee, the
             Class E Certificate Paying Agent, the Revolving Note Agent, the Delayed Drawdown
             Note Agent, the Collateral Administrator or any of their respective affiliates, agents and
             independent contractors in their capacities as such other than statements, if any, of such
             person in a current offering circular for the Notes; (c) such beneficial owner has
             consulted with its own legal, regulatory, tax, business, investment, financial and
             accounting advisers to the extent it has deemed necessary and has made its own
             investment decisions based upon its own judgment and upon any advice from such
             advisers as it has deemed necessary and not upon any view expressed by the Co-Issuers,
             the Portfolio Manager, the Initial Purchaser, the Placement Agent, the Trustee, the Class
             E Certificate Paying Agent, the Revolving Note Agent, the Delayed Drawdown Note
             Agent, the Collateral Administrator or any of their respective affiliates, agents and

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             independent contractors in their capacities as such; (d) such beneficial owner’s purchase
             of the Notes will comply with all applicable laws in any jurisdiction in which it resides or
             is located; (e) such beneficial owner is acquiring the Notes as principal solely for its own
             account for investment and not with a view to the resale, distribution or other disposition
             thereof in violation of the Securities Act; (f) such beneficial owner has made investments
             prior to the date hereof and was not formed solely for the purpose of investing in the
             Notes; (g) such beneficial owner shall not hold any Notes for the benefit of any other
             person, it shall at all times be the sole beneficial owner thereof for purposes of the
             Investment Company Act and all other purposes and it shall not sell participation
             interests in the Notes or enter into any other arrangement pursuant to which any other
             person shall be entitled to a beneficial interest in the distributions on the Notes; (h) all
             Notes (together with any other securities of the Co-Issuers) purchased and held directly
             or indirectly by such beneficial owner constitute in the aggregate an investment of no
             more than 40% of its assets or capital and (i) it is a sophisticated investor and is
             purchasing the Notes with a full understanding of all of the terms, conditions and risks
             thereof, and it is capable of assuming and willing to assume those risks.

       4.    On each day from the date on which it acquires its interest in the Notes through and
             including the date on which it disposes of its interest in such Notes, either (A) it is not a
             Plan, an entity whose underlying assets include the assets of any Plan by reason of
             Department of Labor regulation Section 2510.3-101 or otherwise, or a governmental,
             foreign, church or other plan that is subject to any Similar Laws or (B) its purchase,
             holding and disposition of such Notes (or interest therein) will not constitute or result in a
             prohibited transaction under Section 406 of ERISA or Section 4975 of the Code (or a
             violation of any applicable Similar Laws), for which an exemption is not available, all of
             the conditions of which are satisfied.

       5.    It understands that the Indenture permits the Issuer to demand that any holder of a
             beneficial interest in a Rule 144A Global Note who is determined not to be both a
             Qualified Institutional Buyer and a Qualified Purchaser sell the Notes (a) to a person who
             is both a Qualified Institutional Buyer and a Qualified Purchaser in a transaction meeting
             the requirements of Rule 144A or (b) to a Person who will take delivery of the holder’s
             interest in the Rule 144A Global Note in the form of an interest in a Temporary
             Regulation S Global Security or Regulation S Global Security, as applicable, and who is
             not a U.S. person (as defined in Regulation S) in a transaction meeting the requirements
             of Regulation S and, if the holder does not comply with such demand within 30 days
             thereof, the Issuer may cause such Holder of the beneficial interest to sell such holder’s
             interest in the Note on such terms as the Issuer may choose.

       6.    It acknowledges that it is its intent and that it understands it is the intent of the Issuer that,
             for purposes of U.S. federal income, state and local income and franchise tax and any
             other income taxes, the Issuer will be treated as a corporation, the Notes will be treated as
             indebtedness of the Issuer and the Class E Certificates (in the absence of an
             administrative determination or judicial ruling to the contrary) will be treated as equity in
             the Issuer; it agrees to such treatment and agrees to take no action inconsistent with such
             treatment.

       7.    It is not purchasing the Notes in order to reduce any United States federal income tax
             liability or pursuant to a tax avoidance plan. In the case of a purchaser that is a bank (as
             defined in Section 881(c)(3)(a) of the Code) or an affiliate of such a bank, the purchaser
             (a) is acquiring the Notes as a capital markets investment and will not for any purpose
             treat the assets of the Issuer as loans acquired in its banking business, and (b) has not
             proposed or identified, and will not propose or identify, any security or loan for inclusion
             in the Collateral.

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       8.    In the case of any purchaser that is not a United States person (as defined in Section
             7701(a)(30) of the Code), it is not a bank (as defined in Section 881(c)(3)(a) of the Code)
             or an affiliate of such a bank, unless the purchaser is a person that is eligible for benefits
             under an income tax treaty with the United States that eliminates United States federal
             income taxation of United States source interest not attributable to a permanent
             establishment in the United States.

       9.    It is aware that, except as otherwise provided in the Indenture, the Notes being sold to it
             will be represented by one or more Global Notes, and that beneficial interests therein may
             be held only through DTC.

       10.   It acknowledges that no governmental agency has passed upon the Notes or made any
             finding or determination as to the fairness of an investment in the Notes.

       11.   It acknowledges that certain persons or organizations will perform services on behalf of
             the Co-Issuers and will receive fees and/or compensation for performing such services as
             described in this Offering Memorandum and the Indenture.

       12.   It acknowledges that the Notes do not represent deposits with or other liabilities or
             obligations of, and are not guaranteed or endorsed by, the Placement Agent, the Initial
             Purchaser, the Portfolio Manager, the Trustee, the Class E Certificate Paying Agent, the
             Revolving Note Agent, the Delayed Drawdown Note Agent, the Collateral Administrator
             or any of their respective affiliates or any entity related to any of them or any other
             Holder of Notes. It acknowledges that none of such persons will, in any way, be
             responsible for or stand behind the value or the performance of the Notes or the assets
             held by the Issuer. It acknowledges that purchase of Notes involves investment risks
             including possible delay in payment of distributions and loss of income and principal
             invested.

       13.   It understands that the maturity of the Notes is subject to up to four extensions of four
             years each (to a latest possible date of November 1, 2033) without consent of any
             beneficial owners of Securities if certain conditions are satisfied.

       14.   It understands that in the case of any amendment to the Indenture that requires consent of
             one or more holders of Notes, the Indenture permits the Amendment Buy-Out Purchaser
             to purchase at a purchase price determined pursuant to the Indenture the beneficial
             interest in the Notes from any holder thereof that either (i) has declared in writing that it
             will not consent to such amendment or (ii) had not consented to such amendment by the
             last day on which consent could be given in accordance with the request therefor, and
             such holder will be required to sell its beneficial interest in the Notes to the Amendment
             Buy-Out Purchaser at the applicable purchase price.

       15.   It understands that the Co-Issuers, the Trustee, the Portfolio Manager, the Initial
             Purchaser, the Placement Agent, the Collateral Administrator and their respective counsel
             will rely upon the accuracy and truth of the foregoing representations, and it hereby
             consents to such reliance.




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 Transferees of Interests in Notes in the form of Temporary Regulation S Global Securities and
 Regulation S Global Securities

         Each initial purchaser and subsequent transferee who is purchasing an interest in Notes in the
 form of a Temporary Regulation S Global Security or a Regulation S Global Security will be deemed to
 have made the representations set forth in paragraphs (2), (3), (4), (6), (7), (8), (10), (11), (12), (13) and
 (14) above and in addition to have further represented and agreed as follows:

         1.      It is aware that the sale of Notes to it is being made in reliance on the exemption from
                 registration provided by Regulation S and understands that the Notes offered in reliance
                 on Regulation S will bear the legend set forth above. It and each beneficial owner of its
                 Notes is not, and will not be, a U.S. person as defined in Regulation S under the
                 Securities Act, and its purchase of the Notes will comply with all applicable laws in any
                 jurisdiction in which it resides or is located. In addition, it represents and warrants that it
                 will (i) provide notice to any subsequent transferee of the transfer restrictions provided in
                 such legend and in the Indenture, (ii) hold and transfer its beneficial interest in any Note
                 only in a principal amount of not less than the applicable minimum denomination and
                 (iii) provide the Issuer from time to time such information as it may reasonably request in
                 order to ascertain compliance with this paragraph 1.

         2.      It understands that the Indenture permits the Issuer to demand that any holder of a
                 beneficial interest in a Temporary Regulation S Global Security or Regulation S Global
                 Security who is determined not to have acquired such beneficial interest in compliance
                 with the requirements of Regulation S or who is a U.S. person (as defined in Regulation
                 S) sell such beneficial interest (a) to a Person who is not a U.S. person (as defined in
                 Regulation S) in a transaction meeting the requirements of Regulation S or (b) to a
                 Person who will take delivery of the holder’s beneficial interest in the Temporary
                 Regulation S Global Securities or Regulation S Global Securities in the form of an
                 interest in a Rule 144A Global Note, who is both a Qualified Institutional Buyer and a
                 Qualified Purchaser in a transaction meeting the requirements of Rule 144A under the
                 Securities Act and, if the holder does not comply with such demand within 30 days
                 thereof, the Issuer may cause the holder to sell its beneficial interest on such terms as the
                 Issuer may choose.

         3.      Such beneficial owner is aware that, except as otherwise provided in the Indenture, the
                 Notes being sold to it will be represented (a) initially, by one or more Temporary
                 Regulation S Global Securities and (b) after the Exchange Date, by one or more
                 Regulation S Global Securities, and that beneficial interests therein may be held only
                 through Euroclear or Clearstream.

         4.      A holder of a beneficial interest in a Temporary Regulation S Global Security must
                 provide Euroclear or Clearstream or the participant organization through which it holds
                 such interest, as applicable, with a certificate certifying that the beneficial owner of the
                 interest in the Temporary Regulation S Global Security is a non-U.S. person (as defined
                 in Regulation S) and Euroclear or Clearstream, as applicable, must provide to the Trustee
                 a certificate to such effect, prior to (a) the payment of interest or principal with respect to
                 such holder’s beneficial interest in the Temporary Regulation S Global Security and (b)
                 any exchange of such beneficial interest for a beneficial interest in a Regulation S Global
                 Security, and no payment will be made to the holder of any beneficial interest in a
                 Temporary Regulation S Global Security unless such holder has provided Euroclear or
                 Clearstream or such participant organization through which it holds such interest with
                 such certificate.



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         5.      It understands that any resale or other transfer of beneficial interests in a Temporary
                 Regulation S Global Security or Regulation S Global Security to U.S. persons (as defined
                 in Regulation S) shall not be permitted.

         6.      It understands that the Co-Issuers, the Trustee, the Portfolio Manager, the Initial
                 Purchaser, the Placement Agent, the Collateral Administrator and their respective counsel
                 will rely upon the accuracy and truth of the foregoing representations, and it hereby
                 consents to such reliance.

 Transferees of Certificated Class A-1A Notes and Certificated Class A-1B Notes

         Each initial purchaser and subsequent transferee who is purchasing Class A-1A Notes or Class A-
 1B Notes will be required to provide to the Issuer, the Trustee and the Class E Certificate Registrar a
 written certification in substantially the form provided in the Indenture, containing representations and
 agreements substantially to the following effect (among other requirements of the Indenture and the Class
 A-1A Note Purchase Agreement or the Class A-1B Note Purchase Agreement, as applicable) (with such
 modifications as may be acceptable to the Issuer):

         1.      It (a) is a Qualified Institutional Buyer and is acquiring the Notes in reliance on the
                 exemption from Securities Act registration provided by Rule 144A thereunder and a
                 Qualified Purchaser or (b) is not a U.S. person (as defined in Regulation S) and is
                 acquiring the Class A-1A Notes in accordance with Regulation S under the Securities Act
                 and all applicable laws in any jurisdiction in which it resides or is located. In addition, in
                 the case of clause (a), it represents and warrants that it (i) was not formed for the purpose
                 of investing in the Notes, (ii) has received the necessary consent from its beneficial
                 owners if the purchaser is a private investment company formed before April 30, 1996,
                 (iii) is not a broker-dealer that owns and invests on a discretionary basis less than U.S.
                 $25,000,000 in securities of unaffiliated issuers, and (iv) is not a partnership, common
                 trust fund, special trust, pension, profit sharing or other retirement trust fund or plan in
                 which the partners, beneficiaries or participants, as applicable, may designate the
                 particular investments to be made. It understands the Notes will bear the legend set forth
                 above. It is acquiring its Notes in a transaction that may be effected without loss of any
                 applicable Investment Company Act exemption. In addition, it warrants that it will hold
                 and transfer its Class A-1A Notes or Class A-1B Notes, as applicable, only in a principal
                 amount of not less than the applicable minimum denomination.

         2.      The Notes are being purchased or transferred in accordance with the transfer restrictions
                 set forth in the Indenture and pursuant to an exemption from Securities Act registration,
                 and in accordance with applicable state securities laws or securities laws of any other
                 relevant jurisdiction. It understands that the Notes have been offered only in a
                 transaction not involving any public offering in the United States within the meaning of
                 the Securities Act, the Notes have not been and will not be registered under the Securities
                 Act or the securities laws of any states, and, if in the future it decides to offer, resell,
                 pledge or otherwise transfer the Notes, such Notes may be offered, resold, pledged or
                 otherwise transferred only in accordance with an exemption from registration under such
                 laws and pursuant to the provisions of the Indenture, the Class A-1A Note Purchase
                 Agreement or the Class A-1B Note Purchase Agreement, as applicable, and the legend on
                 such Notes. In particular, it understands that the Class A-1A Notes and the Class A-1B
                 Notes may be transferred only in the form of Certificated Class A-1 Notes and only to (a)
                 a Qualified Purchaser that is a Qualified Institutional Buyer or (b) a person that is not a
                 “U.S. person“ as defined in Regulation S under the Securities Act. Purchasers and
                 transferees who reside in certain states or jurisdictions may be subject to additional
                 suitability standards and/or specific holding periods before the Notes may be resold or

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             otherwise transferred. It acknowledges that no representation is made as to the
             availability of any exemption under the Securities Act or any state or other securities laws
             for resale of the Notes.
       3.    In connection with the purchase of the Notes (provided that no such representations in
             clauses (a), (b) or (c) below are required to be made with respect to the Portfolio Manager
             by the Portfolio Manager or any affiliate of the Portfolio Manager or by any account
             managed or advised by the Portfolio Manager or any affiliate of the Portfolio Manager):
             (a) it understands that none of the Issuer, the Co-Issuer, the Portfolio Manager, the Initial
             Purchaser, the Placement Agent, the Revolving Note Agent, the Delayed Drawdown Note
             Agent, the Collateral Administrator or any of their respective affiliates is acting as a
             fiduciary or financial or investment adviser for such beneficial owner; (b) it is not relying
             (for purposes of making any investment decision or otherwise) upon any advice, counsel
             or representations (whether written or oral) of the Issuer, the Co-Issuer, the Portfolio
             Manager, the Initial Purchaser, the Placement Agent, the Trustee, the Revolving Note
             Agent, the Delayed Drawdown Note Agent, the Class E Certificate Paying Agent, the
             Collateral Administrator or any of their respective affiliates, agents and independent
             contractors in their capacities as such other than statements, if any, of such person in a
             current offering circular for the Notes; (c) it has consulted with its own legal, regulatory,
             tax, business, investment, financial and accounting advisers to the extent it has deemed
             necessary and has made its own investment decisions based upon its own judgment and
             upon any advice from such advisers as it has deemed necessary and not upon any view
             expressed by the Co-Issuers, the Portfolio Manager, the Initial Purchaser, the Placement
             Agent, the Trustee, the Revolving Note Agent, the Delayed Drawdown Note Agent, the
             Class E Certificate Paying Agent, the Collateral Administrator or any of their respective
             affiliates, agents and independent contractors in their capacities as such; (d) its purchase
             of the Notes will comply with all applicable laws in any jurisdiction in which it resides or
             is located; (e) it is acquiring the Notes as principal solely for its own account for
             investment and not with a view to the resale, distribution or other disposition thereof in
             violation of the Securities Act; (f) it has made investments prior to the date hereof and
             was not formed solely for the purpose of investing in the Notes; (g) it will not hold any
             Notes for the benefit of any other person, it will at all times be the sole beneficial owner
             thereof for purposes of the Investment Company Act and all other purposes and it will
             not sell participation interests in the Notes or enter into any other arrangement pursuant to
             which any other person shall be entitled to a beneficial interest in the distributions on the
             Notes; (h) all Notes (together with any other securities of the Co-Issuers) purchased and
             held directly or indirectly by such beneficial owner constitute in the aggregate an
             investment of no more than 40% of its assets or capital and (i) it is a sophisticated
             investor and is purchasing the Notes with a full understanding of all of the terms,
             conditions and risks thereof, and it is capable of assuming and willing to assume those
             risks.

       4.    On each day from the date on which it acquires the Class A-1A Notes or Class A-1B
             Notes, as applicable, through and including the date on which it disposes of its interest in
             such Class A-1A Notes or Class A-1B Notes, as applicable, either (A) it is not a Plan, an
             entity whose underlying assets include the assets of any Plan by reason of Department of
             Labor regulation Section 2510.3-101 or otherwise, or a governmental, foreign, church or
             other plan that is subject to any Similar Laws or (B) its purchase, holding and disposition
             of such Notes (or interest therein) will not constitute or result in a prohibited transaction
             under Section 406 of ERISA or Section 4975 of the Code (or violation of any applicable
             Similar Laws), for which an exemption is not available, all of the conditions of which are
             satisfied.



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       5.    It understands that the Indenture permits the Issuer to demand that (i) any U.S. person (as
             defined in Regulation S) that is a Holder of a Certificated Class A-1 Note who is
             determined not to be both a Qualified Institutional Buyer and a Qualified Purchaser and
             (ii) any non U.S. person (as defined in Regulation S) (other than a person who is both a
             Qualified Institutional Buyer and a Qualified Purchaser) who is determined not to have
             acquired its Class A-1A Notes or Class A-1B Notes, as applicable, in compliance with
             the requirements of Regulation S, sell such Class A-1A Notes or Class A-1B Notes, as
             applicable, (a) to a person who is both a Qualified Institutional Buyer and a Qualified
             Purchaser in a transaction meeting the requirements of Rule 144A or (b) to a Person who
             is not a U.S. person (as defined in Regulation S) in a transaction meeting the
             requirements of Regulation S and, if the holder does not comply with such demand
             within 30 days thereof, the Issuer may cause such Holder to sell its Class A-1A Notes or
             Class A-1B Notes, as applicable, on such terms as the Issuer may choose.

       6.    It acknowledges that it is its intent and that it understands it is the intent of the Issuer that,
             for purposes of U.S. federal income, state and local income and franchise tax and any
             other income taxes, the Issuer will be treated as a corporation, the Notes will be treated as
             indebtedness of the Issuer, the Class E Certificates (in the absence of an administrative
             determination or judicial ruling to the contrary) will be treated as equity in the Issuer and
             the Class Q-1 Securities and Class P Securities will be treated as a direct ownership
             interest in the corresponding components of such Security; it agrees to such treatment and
             agrees to take no action inconsistent with such treatment.

       7.    It has provided the Issuer or its agent on or immediately prior to its purchase of the Notes
             with a properly completed Form W-9 if it is a “U.S. person” for purposes of the Code that
             is not exempt from such requirement, and a properly completed Form W-8BEN if it is not
             a “U.S. person.”

       8.    It is not purchasing the Notes in order to reduce any United States federal income tax
             liability or pursuant to a tax avoidance plan. In the case of a purchaser that is a bank (as
             defined in Section 881(c)(3)(a) of the Code) or an affiliate of such a bank, the purchaser
             (a) is acquiring the Notes as a capital markets investment and will not for any purpose
             treat the assets of the Issuer as loans acquired in its banking business, and (b) has not
             proposed or identified, and will not propose or identify, any security or loan for inclusion
             in the Collateral.

       9.    In the case of any purchaser that is not a United States person (as defined in Section
             7701(a)(30) of the Code), it is not a bank (as defined in Section 881(c)(3)(a) of the Code)
             or an affiliate of such a bank, unless the purchaser is a person that is eligible for benefits
             under an income tax treaty with the United States that eliminates United States federal
             income taxation of United States source interest not attributable to a permanent
             establishment in the United States.

       10.   It acknowledges that no governmental agency has passed upon the Notes or made any
             finding or determination as to the fairness of an investment in the Notes.

       11.   It agrees to notify any subsequent transferee of all transfer restrictions applicable to
             Holders of Class A-1A Notes or Class A-1B Notes, as applicable, under the Indenture,
             the Class A-1A Note Purchase Agreement or the Class A-1B Note Purchase Agreement,
             as applicable, and provided in the legend of such Notes.

       12.   (a) In the case of the Class A-1A Notes: If the purchase is during the Draw Period, it
             satisfies the Rating Criteria and it acknowledges that if at any time during the Draw
             Period it fails to satisfy the Rating Criteria it will be obligated under the Class A-1A Note


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                  Purchase Agreement immediately give notice thereof to the Issuer, the Revolving Note
                  Agent, the Trustee and the Rating Agencies and on the Business Day following such
                  notice fund the full Undrawn Amount of its Class A-1A Notes into a reserve account; or

                  (b) In the case of the Class A-1B Notes: If the purchase is during the Delayed Drawdown
                  Period, it satisfies the Rating Criteria and it acknowledges that if at any time during the
                  Delayed Drawdown Period it fails to satisfy the Rating Criteria it will be obligated under
                  the Class A-1B Note Purchase Agreement to immediately give notice thereof to the
                  Issuer, the Delayed Drawdown Note Agent, the Trustee and the Rating Agencies and on
                  the Business Day following such notice fund the full Undrawn Amount of its Class A-1B
                  Notes into a reserve account.

         12.      It acknowledges that certain persons or organizations will perform services on behalf of
                  the Co-Issuers and will receive fees and/or compensation for performing such services as
                  described in this Offering Memorandum and the Indenture.

         13.      It acknowledges that the Notes do not represent deposits with or other liabilities or
                  obligations of, and are not guaranteed or endorsed by, the Placement Agent, the Initial
                  Purchaser, the Portfolio Manager, the Trustee, the Revolving Note Agent, the Delayed
                  Drawdown Note Agent, the Class E Certificate Paying Agent, the Collateral
                  Administrator or any of their respective affiliates or any entity related to any of them or
                  any other Holder of Notes. It acknowledges that none of such persons will, in any way,
                  be responsible for or stand behind the value or the performance of the Notes or the assets
                  held by the Issuer. It acknowledges that purchase of Notes involves investment risks
                  including possible delay in payment of distributions and loss of income and principal
                  invested.

         14.      It understands that the maturity of the Notes is subject to up to four extensions of four
                  years each (to a latest possible date of November 1, 2033) without consent of any
                  beneficial owners of Securities if certain conditions are satisfied.

         15.      It understands that in the case of any amendment to the Indenture that requires consent of
                  one or more holders of Notes, the Indenture permits the Amendment Buy-Out Purchaser
                  to purchase at a purchase price determined pursuant to the Indenture the beneficial
                  interest in the Notes from any holder thereof that either (i) has declared in writing that it
                  will not consent to such amendment or (ii) had not consented to such amendment by the
                  last day on which consent could be given in accordance with the request therefor, and
                  such holder will be required to sell its beneficial interest in the Notes to the Amendment
                  Buy-Out Purchaser at the applicable purchase price.

         16.      It understands that the Co-Issuers, the Trustee, the Portfolio Manager, the Initial
                  Purchaser, the Placement Agent, the Revolving Note Agent, the Delayed Drawdown Note
                  Agent, the Collateral Administrator and their respective counsel will rely upon the
                  accuracy and truth of the foregoing representations, and it hereby consents to such
                  reliance.

 Class E Certificates

         Class E Legend

         Unless otherwise determined by the Issuer in accordance with applicable law and so long as the
 Class E Certificates are outstanding, the Class E Certificates will bear a legend substantially as set forth
 below:



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       “THESE CLASS E CERTIFICATES HAVE NOT BEEN AND WILL NOT BE
       REGISTERED UNDER THE U.S. SECURITIES ACT OF 1933, AS AMENDED (THE
       “SECURITIES ACT”), ANY STATE SECURITIES LAWS IN THE UNITED STATES
       OR THE SECURITIES LAWS OF ANY OTHER JURISDICTION AND THE ISSUER
       HAS NOT REGISTERED UNDER THE U.S. INVESTMENT COMPANY ACT OF
       1940, AS AMENDED (THE “INVESTMENT COMPANY ACT”). THE HOLDER
       HEREOF, BY ITS ACCEPTANCE OF THESE CLASS E CERTIFICATES,
       REPRESENTS THAT IT HAS OBTAINED THESE CLASS E CERTIFICATES IN A
       TRANSACTION IN COMPLIANCE WITH THE SECURITIES ACT, THE
       INVESTMENT COMPANY ACT AND ALL OTHER APPLICABLE LAWS OF THE
       UNITED STATES OR ANY OTHER APPLICABLE JURISDICTION, AND THE
       RESTRICTIONS ON SALE AND TRANSFER SET FORTH IN THE CLASS E
       CERTIFICATE DOCUMENTS. THE HOLDER HEREOF, BY ITS ACCEPTANCE OF
       THESE CLASS E CERTIFICATES, FURTHER REPRESENTS, ACKNOWLEDGES
       AND AGREES THAT IT WILL NOT REOFFER, RESELL, PLEDGE OR
       OTHERWISE TRANSFER THESE CLASS E CERTIFICATES (OR ANY INTEREST
       HEREIN) EXCEPT IN COMPLIANCE WITH THE SECURITIES ACT, THE
       INVESTMENT COMPANY ACT AND ALL OTHER APPLICABLE LAWS OF ANY
       JURISDICTION AND IN ACCORDANCE WITH THE CERTIFICATIONS AND
       OTHER REQUIREMENTS SPECIFIED IN THE CLASS E CERTIFICATE
       DOCUMENTS REFERRED TO HEREIN (A) TO A TRANSFEREE (1) THAT IS
       EITHER (i) A “QUALIFIED PURCHASER” WITHIN THE MEANING OF SECTION
       3(c)(7) OF THE INVESTMENT COMPANY ACT OR (ii) A “KNOWLEDGEABLE
       EMPLPOYEE” (AS DEFINED IN RULE 3C-5 UNDER THE INVESTMENT
       COMPANY ACT) WITH RESPECT TO THE ISSUER, (2) IN THE CASE OF (1)(i)
       ABOVE THAT (i) WAS NOT FORMED FOR THE PURPOSE OF INVESTING IN
       THE CLASS E CERTIFICATES, (ii) HAS RECEIVED THE NECESSARY CONSENT
       FROM ITS BENEFICIAL OWNERS IF THE PURCHASER IS A PRIVATE
       INVESTMENT COMPANY FORMED BEFORE APRIL 30, 1996, (iii) IS NOT A
       BROKER-DEALER THAT OWNS AND INVESTS ON A DISCRETIONARY BASIS
       LESS THAN U.S. $25,000,000 IN SECURITIES OF UNAFFILIATED ISSUERS AND
       (iv) IS NOT A PARTNERSHIP, COMMON TRUST FUND, SPECIAL TRUST,
       PENSION, PROFIT SHARING OR OTHER RETIREMENT TRUST FUND OR PLAN
       IN WHICH THE PARTNERS, BENEFICIARIES OR PARTICIPANTS, AS
       APPLICABLE, MAY DESIGNATE THE PARTICULAR INVESTMENTS TO BE
       MADE, (3) THAT (i) IS ACQUIRING ITS CLASS E CERTIFICATES IN A
       TRANSACTION THAT MAY BE EFFECTED WITHOUT LOSS OF ANY
       APPLICABLE INVESTMENT COMPANY ACT EXEMPTION AND (ii) AGREES TO
       PROVIDE NOTICE TO ANY SUBSEQUENT TRANSFEREE OF THE TRANSFER
       RESTRICTIONS PROVIDED IN THIS LEGEND AND THE CLASS E CERTIFICATE
       DOCUMENTS AND (4) THAT (i) IS A PERSON WHOM THE SELLER
       REASONABLY BELIEVES IS A “QUALIFIED INSTITUTIONAL BUYER” AS
       DEFINED IN RULE 144A UNDER THE SECURITIES ACT PURCHASING FOR ITS
       OWN ACCOUNT OR FOR THE ACCOUNT OF A “QUALIFIED INSTITUTIONAL
       BUYER” IN COMPLIANCE WITH RULE 144A UNDER THE SECURITIES ACT OR
       (ii) IS AN “ACCREDITED INVESTOR” AS DEFINED IN RULE 501(A) OF
       REGULATION D UNDER THE SECURITIES ACT (PROVIDED THAT IN THE
       CASE OF ANY TRANSFER TO A PERSON WHO IS AN “ACCREDITED
       INVESTOR” PURSUANT TO THIS SUBCLAUSE (ii) AND IF REQUESTED BY OR
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       ON BEHALF OF THE ISSUER, THE TRANSFEROR OR THE TRANSFEREE HAS
       PROVIDED AN OPINION OF COUNSEL TO EACH OF THE CLASS E
       CERTIFICATES PAYING AGENT, THE REGISTRAR AND THE ISSUER THAT
       SUCH TRANSFER MAY BE MADE PURSUANT TO AN EXEMPTION FROM
       REGISTRATION UNDER THE SECURITIES ACT AND ANY APPLICABLE STATE
       SECURITIES LAW), OR (B) TO A TRANSFEREE THAT IS NOT A U.S. PERSON
       (AS DEFINED IN REGULATION S UNDER THE SECURITIES ACT) AND IS
       ACQUIRING THESE CLASS E CERTIFICATES IN AN OFFSHORE
       TRANSACTION IN COMPLIANCE WITH RULE 903 OR RULE 904 OF
       REGULATION S UNDER THE SECURITIES ACT, AND IN THE CASE OF BOTH
       CLAUSES (A) AND (B), IN A PRINCIPAL AMOUNT OF NOT LESS THAN THE
       APPLICABLE MINIMUM AUTHORIZED DENOMINATIONS. EACH
       PURCHASER OR TRANSFEREE OF THESE CLASS E CERTIFICATES WILL BE
       REQUIRED TO MAKE OR WILL BE DEEMED TO MAKE THE
       REPRESENTATIONS AND AGREEMENTS SUBSTANTIALLY IN THE FORM SET
       FORTH IN THE CLASS E CERTIFICATE DOCUMENTS OR AN EXHIBIT
       THERETO.

       THESE CLASS E CERTIFICATES ARE TRANSFERABLE ONLY IN
       ACCORDANCE WITH THE RESTRICTIONS DESCRIBED HEREIN AND IN THE
       CLASS E CERTIFICATE DOCUMENTS. ANY SALE OR TRANSFER IN
       VIOLATION OF THE FOREGOING WILL BE OF NO FORCE AND EFFECT, WILL
       BE VOID AB INITIO, AND WILL NOT OPERATE TO TRANSFER ANY RIGHTS TO
       THE TRANSFEREE, NOTWITHSTANDING ANY INSTRUCTIONS TO THE
       CONTRARY TO THE ISSUER, THE TRUSTEE OR ANY INTERMEDIARY. EACH
       TRANSFEROR OF ANY INTEREST IN THESE CLASS E CERTIFICATES AGREES
       TO PROVIDE NOTICE OF THE TRANSFER RESTRICTIONS SET FORTH HEREIN
       AND IN THE CLASS E CERTIFICATE DOCUMENTS TO ANY TRANSFEREE. IN
       ADDITION TO THE FOREGOING, THE ISSUER MAINTAINS THE RIGHT TO
       COMPEL THE RESALE OF ANY INTEREST IN THESE CLASS E CERTIFICATES
       PREVIOUSLY TRANSFERRED TO OR HELD BY NON-PERMITTED HOLDERS
       OF CLASS E CERTIFICATES IN ACCORDANCE WITH AND SUBJECT TO THE
       TERMS OF THE CLASS E CERTIFICATE DOCUMENTS.

       THE SCHEDULED CLASS E CERTIFICATES REDEMPTION DATE IS SUBJECT
       TO EXTENSION AS SET FORTH IN THE INDENTURE AND CLASS E
       CERTIFICATE DOCUMENTS. IN ADDITION, A HOLDER MAY BE REQUIRED
       TO SELL ITS CLASS E CERTIFICATES AS REQUIRED IN THE CLASS E
       CERTIFICATE DOCUMENTS IF IT DOES NOT CONSENT TO CERTAIN
       AMENDMENTS TO THE INDENTURE OR IN CERTAIN CIRCUMSTANCES
       VOTES TO REMOVE THE PORTFOLIO MANAGER WITHOUT CAUSE.

       THESE CLASS E CERTIFICATES MAY BE BENEFICIALLY OWNED ONLY BY
       PERSONS THAT CAN CONTINUE TO MAKE, ON EACH DAY SUCH
       BENEFICIAL OWNER OWNS THESE CLASS E CERTIFICATES, THE
       REPRESENTATIONS AND AGREEMENTS WITH RESPECT TO THE U.S.
       EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974, AS AMENDED,
       AND RELATED MATTERS SET FORTH IN THE REPRESENTATION LETTER


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         DELIVERED UPON PURCHASE OR THE REPRESENTATIONS DEEMED MADE
         UPON PURCHASE.”

 Transferees of Certificated Class E Certificates

         Each initial purchaser and subsequent transferee of Class E Certificates will be required to
 provide to the Issuer, Class E Certificate Paying Agent and Registrar a written certification in
 substantially the form provided in the Class E Certificate Documents, containing representations and
 agreements substantially to the following effect (among other requirements of the Class E Certificate
 Documents) (with such modifications as may be acceptable to the Issuer):

         1.      It (i)(I) is a Qualified Institutional Buyer or (II) is an Accredited Investor, and is
                 acquiring the Class E Certificates in reliance on an exemption from Securities Act
                 registration (provided that in the case of any transfer to an Accredited Investor pursuant
                 to this clause (ii) and if requested by or on behalf of the Issuer, the transferor or the
                 transferee has provided an opinion of counsel to each of the Class E Certificate Paying
                 Agent, the Class E Certificate Registrar and the Issuer that such transfer may be made
                 pursuant to an exemption from registration under the Securities Act and any applicable
                 state securities law) and (ii)(I) is a Qualified Purchaser or (II) a Knowledgeable
                 Employee, and understands the Class E Certificates will bear the legend set forth above.
                 In addition, in the case of clause (ii)(I) above, it represents and warrants that it (i) was not
                 formed for the purpose of investing in the Class E Certificates, (ii) has received the
                 necessary consent from its beneficial owners if the purchaser is a private investment
                 company formed before April 30, 1996, (iii) is not a broker-dealer that owns and invests
                 on a discretionary basis less than U.S. $25,000,000 in securities of unaffiliated issuers
                 and (iv) is not a partnership, common trust fund, special trust, pension, profit sharing or
                 other retirement trust fund or plan in which the partners, beneficiaries or participants, as
                 applicable, may designate the particular investments to be made. It is acquiring its Class
                 E Certificates in a transaction that may be effected without loss of any applicable
                 Investment Company Act exemption. In addition, it acknowledges that the Class E
                 Certificates are being offered, and it represents and warrants that it will hold and transfer
                 its interest in any Class E Certificate, only in the applicable minimum denomination.

         2.      The Class E Certificates are being purchased or transferred in accordance with the
                 transfer restrictions set forth in the Class E Certificate Documents and pursuant to an
                 exemption from Securities Act registration, and in accordance with applicable state
                 securities laws or securities laws of any other relevant jurisdiction. It understands that
                 the Class E Certificates have been offered only in a transaction not involving any public
                 offering in the United States within the meaning of the Securities Act, the Class E
                 Certificates have not been and will not be registered under the Securities Act or the
                 securities laws of any states, and, if in the future it decides to offer, resell, pledge or
                 otherwise transfer the Class E Certificates, such Class E Certificates may be offered,
                 resold, pledged or otherwise transferred only in accordance with an exemption from
                 registration under such laws and pursuant to the provisions of the Class E Certificate
                 Documents and the legend on such Class E Certificates. In particular, it understands that
                 the Class E Certificates may be transferred only (a) in the form of a Certificated Class E
                 Certificate to a Qualified Purchaser that is either (i) a Qualified Institutional Buyer or (ii)
                 an Accredited Investor (provided that in the case of any transfer to an Accredited Investor
                 pursuant to this clause (ii) and if requested by the Issuer or on its behalf, the transferor or
                 the transferee has provided an opinion of counsel to each of the Class E Certificate
                 Paying Agent, the Class E Certificate Registrar and the Issuer that such transfer may be
                 made pursuant to an exemption from registration under the Securities Act and any
                 applicable state securities law) or (b) in the form of an interest in a Temporary Regulation

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             S Global Security or Regulation S Global Security to a person that is not a “U.S. person”
             as defined in Regulation S under the Securities Act. Purchasers and transferees who
             reside in certain states or jurisdictions may be subject to additional suitability standards
             and/or specific holding periods before the Class E Certificates may be resold or otherwise
             transferred. It acknowledges that no representation is made as to the availability of any
             exemption under the Securities Act or any state or other securities laws for resale of the
             Class E Certificates.
       3.    In connection with the purchase of the Class E Certificates (provided that no such
             representations in clauses (a), (b) or (c) below are made with respect to the Portfolio
             Manager or its Affiliates by the Portfolio Manager or any Affiliate of the Portfolio
             Manager or by any account managed or advised by the Portfolio Manager or any Affiliate
             of the Portfolio Manager): (a) it understands that none of the Issuer, the Co-Issuer, the
             Portfolio Manager, the Initial Purchaser, the Placement Agent, the Collateral
             Administrator, the Revolving Note Agent, the Delayed Drawdown Note Agent, the
             Trustee or any of their respective Affiliates is acting as a fiduciary or financial or
             investment adviser for it; (b) it is not relying (for purposes of making any investment
             decision or otherwise) upon any advice, counsel or representations (in each case whether
             written or oral) of the Co-Issuers, the Portfolio Manager, the Initial Purchaser, the
             Placement Agent, the Trustee, the Class E Certificate Paying Agent, the Revolving Note
             Agent, the Delayed Drawdown Note Agent, the Collateral Administrator or any of their
             respective Affiliates, agents and independent contractors in their capacities as such other
             than statements, if any, of such person in a current offering circular for the Class E
             Certificates; (c) it has consulted with its own legal, regulatory, tax, business, investment,
             financial and accounting advisers to the extent it has deemed necessary and has made its
             own investment decisions based upon its own judgment and upon any advice from such
             advisers as it has deemed necessary and not upon any view expressed by the Issuer, the
             Initial Purchaser, the Placement Agent, the Portfolio Manager, the Trustee, the Class E
             Certificate Paying Agent, the Revolving Note Agent, the Delayed Drawdown Note
             Agent, the Collateral Administrator or any of their respective Affiliates, agents and
             independent contractors in their capacities as such; (d) its purchase of the Class E
             Certificates will comply with all applicable laws in any jurisdiction in which it resides or
             is located; (e) it is acquiring the Class E Certificates as principal solely for its own
             account for investment and not with a view to the resale, distribution or other disposition
             thereof in violation of the Securities Act; (f) it has made investments prior to the date
             hereof and was not formed solely for the purpose of investing in the Class E Certificates;
             (g) it will not hold any Class E Certificates for the benefit of any other person, it will at
             all times be the sole beneficial owner thereof for purposes of the Investment Company
             Act and all other purposes and it will not sell participation interests in the Class E
             Certificates or enter into any other arrangement pursuant to which any other person shall
             be entitled to a beneficial interest in the dividends or distributions on the Class E
             Certificates; (h) all Class E Certificates (together with any other securities of the Co-
             Issuers) purchased and held directly or indirectly by it constitute in the aggregate an
             investment of no more than 40% of its assets or capital; and (i) it is a sophisticated
             investor and is purchasing the Class E Certificates with a full understanding of all of the
             terms, conditions and risks thereof, and it is capable of assuming and willing to assume
             those risks.
       4.    (a) The purchaser is not, and is not acting on behalf of or using the assets of, (i) an
             “employee benefit plan” as defined in Section 3(3) of ERISA subject to Title I of ERISA,
             (ii) a plan described in Section 4975(e)(1) of the Code subject to Section 4975 of the
             Code, including without limitation, individual retirement accounts and Keogh plans, or
             (iii) an entity whose underlying assets include “plan assets” by reason of U.S.
             Department of Labor regulation Section 2510.3-101 or otherwise, including without

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             limitation, as applicable, an insurance company general account; (b) if the purchaser is a
             governmental plan (as defined in Section 3(32) of ERISA) or a non-US plan (as described
             in Section 4(b)(4) of ERISA), its purchase, holding and subsequent transfer of the Class E
             Certificates will not result in a violation of any applicable laws, rules, regulations,
             policies and guidelines to which it and its investments are subject; and (c) the purchaser
             and any person causing it to acquire any Class E Certificates agrees to indemnify and
             hold harmless the Issuer, Co-Issuer, Portfolio Manager, Class E Certificate Paying Agent,
             Trustee, Collateral Administrator, the Revolving Note Agent, the Delayed Drawdown
             Note Agent, Placement Agent and Initial Purchaser and their respective Affiliates from
             any cost, damage or loss, liability, expense, claim, proceeding or excise tax incurred by
             them as a result of any of the foregoing representations being or becoming untrue. It
             understands that the representations made by it pursuant to this paragraph 4 shall be
             deemed made on each day from the date made through and including the date on which it
             disposes of its interests in the Class E Certificates. It understands that the Issuer may
             require any holder of the Class E Certificates that has made a false representation with
             respect to the foregoing matters to sell the Class E Certificates and, if such holder does
             not comply with such demand within 30 days thereof, the Issuer may sell such holder’s
             interest in the Class E Certificates. It understands that any transfer effected in connection
             with such a representation that was false will be of no force and effect, will be void ab
             initio, and will not operate to transfer any rights to the transferee, notwithstanding any
             instructions to the contrary to the Issuer, the Class E Certificate Paying Agent or any
             intermediary.
       5.    The purchaser understands that the Class E Certificate Documents permit the Issuer to
             demand that any U.S. person (as defined in Regulation S) that is a Holder of a
             Certificated Class E Certificate who is determined not to be both (i) a Qualified Purchaser
             or a Knowledgeable Employee and (ii) a Qualified Institutional Buyer or Accredited
             Investor sell such Class E Certificate (a) to a Person who is both (i) a Qualified
             Institutional Buyer or an Accredited Investor (provided that in the case of any transfer to
             an Accredited Investor and if requested by the Issuer or on its behalf, the transferor or the
             transferee has provided an opinion of counsel to each of the Class E Certificate Paying
             Agent, the Class E Certificate Registrar and the Issuer that such transfer may be made
             pursuant to an exemption from registration under the Securities Act and any applicable
             state securities laws) and (ii) a Qualified Purchaser or a Knowledgeable Employee, in a
             transaction meeting the requirements of Rule 144A of the Securities Act or another
             applicable exemption from the Securities Act (in the case of a transferee who is an
             Accredited Investor) or (b) to a Person who is not a U.S. person (as defined in Regulation
             S) in a transaction meeting the requirements of Regulation S and, if the Holder does not
             comply with such demand within 30 days thereof, the Issuer may cause such Holder to
             sell its Class E Certificates on such terms as the Issuer may choose.
       6.    The purchaser acknowledges that it is its intent and that it understands it is the intent of
             the Issuer that, for purposes of U.S. federal income tax, state and local income and
             franchise tax and any other income taxes, the Issuer will be treated as a corporation, the
             Notes will be treated as indebtedness of the Issuer, the Class E Certificates (in the
             absence of an administrative determination or judicial ruling to the contrary) will be
             treated as equity in the Issuer and the Class Q-1 Securities and Class P Securities will be
             treated as a direct ownership interest in the corresponding components of such Security;
             the purchaser agrees to such treatment and agrees to take no action inconsistent with such
             treatment.
       7.    The purchaser acknowledges that the Issuer is not authorized to engage in activities that
             could cause it to constitute a finance or lending business for federal income tax purposes
             and agrees that it will report its investment in the Class E Certificates in a manner
             consistent with such limitation, and in particular will not treat the Issuer as an “eligible

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             controlled foreign corporation” for purposes of Section 954(h) of the Code or as deriving
             income described in Section 1297(b)(2) of the Code.
       8.    It has provided the Class E Certificate Paying Agent on or immediately prior to its
             purchase of the Class E Certificates with a properly completed Form W-9 if it is a “U.S.
             person” for purposes of the Code that is not exempt from such requirement, and a
             properly completed Form W-8BEN if it is not a “U.S. person.”
       9.    The purchaser is not purchasing the Class E Certificates in order to reduce any United
             States federal income tax liability or pursuant to a tax avoidance plan. In the case of a
             purchaser that is a bank (as defined in Section 881(c)(3)(A) of the Code) or an affiliate of
             such a bank, the purchaser (a) is acquiring the Class E Certificates as a capital markets
             investment and will not for any purpose treat the assets of the Issuer as loans acquired in
             its banking business and (b) has not proposed or identified, and will not propose or
             identify, any security or loan for inclusion in the Collateral.
       10.   In the case of any purchaser that is not a United States person (as defined in Section
             7701(a)(30) of the Code), the purchaser is not a bank (as defined in Section 881(c)(3)(A)
             of the Code) or an affiliate of such a bank, unless the purchaser is a person that is eligible
             for benefits under an income tax treaty with the United States that eliminates United
             States federal income taxation of United States source interest not attributable to a
             permanent establishment in the United States.
       11.   The purchaser agrees to notify subsequent transferees of all transfer restrictions
             applicable to holders of Class E Certificates set forth in the Class E Certificate
             Documents or described in this Offering Memorandum.
       12.   The purchaser acknowledges that no governmental agency has passed upon the Class E
             Certificates or made any finding or determination as to the fairness of an investment in
             the Class E Certificates.
       13.   The purchaser acknowledges that certain persons or organizations will perform services
             on behalf of the Co-Issuers and will receive fees and/or compensation for performing
             such services as described in this Offering Memorandum and the Indenture and Class E
             Certificate Documents.
       14.   Within five days after receipt of a written request therefor from the Issuer or the Class E
             Certificate Paying Agent, the purchaser agrees to provide any information and to execute
             and deliver such documents that may reasonably be necessary to comply with the laws
             and ordinances to which the Issuer is subject by reason of the offering of the Class E
             Certificates and the involvement of the purchaser therewith.
       15.   The purchaser acknowledges that the Class E Certificates do not represent deposits with
             or other liabilities or obligations of, and are not guaranteed or endorsed by, the Placement
             Agent, the Initial Purchaser, the Portfolio Manager, the Trustee, the Class E Certificate
             Paying Agent, the Revolving Note Agent, the Delayed Drawdown Note Agent, the
             Collateral Administrator or any of their respective Affiliates or any entity related to any
             of them or any other holder of Class E Certificates. It acknowledges that none of such
             persons will, in any way, be responsible for or stand behind the value or the performance
             of the Class E Certificates. It acknowledges that purchase of Class E Certificates
             involves investment risks including possible delay in payment of distributions and loss of
             income and principal invested.
       16.   It understands that the Scheduled Class E Certificates Redemption Date is subject to up to
             four extensions of four years each (to a latest possible date of November 1, 2033) without
             consent of any beneficial owners of Securities if certain conditions are satisfied.



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         17.     It understands that in the case of any amendment to the Indenture that requires consent of
                 one or more holders of Class E Certificates, the Indenture and Class E Certificate
                 Documents permit the Amendment Buy-Out Purchaser to purchase at a purchase price
                 determined pursuant to the Indenture and Class E Certificate Documents the Class E
                 Certificates from any holder thereof that either (i) has declared in writing that it will not
                 consent to such amendment or (ii) had not consented to such amendment by the last day
                 on which consent could be given in accordance with the request therefor, and such holder
                 will be required to sell its Class E Certificates to the Amendment Buy-Out Purchaser at
                 the applicable purchase price. In addition, in the case of any vote by holders of Class E
                 Certificates to remove the Portfolio Manager without cause, the Class E Certificate
                 Documents permit the Removal Buy-Out Purchaser to purchase at a purchase price
                 determined pursuant to the Class E Certificate Documents the Class E Certificates from
                 any holder that voted in favor of such removal, and such holder will be required to sell its
                 Class E Certificates to the Removal Buy-Out Purchaser at the applicable purchase price.
         18.     The purchaser understands that the Co-Issuers, the Trustee, the Class E Certificate Paying
                 Agent, the Initial Purchaser, the Placement Agent, the Portfolio Manager, the Revolving
                 Note Agent, the Delayed Drawdown Note Agent, the Collateral Administrator and their
                 respective counsel will rely upon the accuracy and truth of the foregoing representations,
                 and it hereby consents to such reliance.

 Transferees of Interests in Class E Certificates in the form of Temporary Regulation S Global
 Securities and Regulation S Global Securities

         Each initial purchaser and subsequent transferee of Class E Certificates taking delivery in the
 form of a Temporary Regulation S Global Security or Regulation S Global Security will be deemed to
 have made the representations set forth in paragraphs 2, 3, 4, 6, 7, 9, 10, 11, 12, 13, 15, 16 and 17 above
 and in addition to have further represented and agreed as follows:

         1.      It is aware that the sale of Class E Certificates to it is being made in reliance on the
                 exemption from registration provided by Regulation S and understands that the Class E
                 Certificates offered in reliance on Regulation S will bear the legend set forth above. It
                 and each beneficial owner of its Class E Certificates is not, and will not be, a U.S. person
                 as defined in Regulation S under the Securities Act, and its purchase of the Class E
                 Certificates will comply with all applicable laws in any jurisdiction in which it resides or
                 is located. In addition, it represents and warrants that it will (i) provide notice to any
                 subsequent transferee of the transfer restrictions provided in such legend and in the
                 Indenture, (ii) hold and transfer its beneficial interest in any Class E Certificates only in a
                 Face Amount of not less than the applicable minimum denomination; and (iii) provide the
                 Issuer from time to time such information as it may reasonably request in order to
                 ascertain compliance with this paragraph 1.

         2.      It understands that the Class E Certificate Documents permit the Issuer to demand that
                 any holder of a beneficial interest in Class E Certificates in the form of a Temporary
                 Regulation S Global Security or Regulation S Global Security who is determined not to
                 have acquired such beneficial interest in compliance with the requirements of Regulation
                 S or who is a U.S. person (as defined in Regulation S) sell such beneficial interest (a) to a
                 Person who is not a U.S. person (as defined in Regulation S) in a transaction meeting the
                 requirements of Regulation S or (b) to a Person who will take delivery of the holder’s
                 interest in the Temporary Regulation S Global Securities or Regulation S Global
                 Securities in the form of a Certificated Class E Certificate, who is both (i) a Qualified
                 Institutional Buyer or an Accredited Investor (provided that in the case of any transfer to
                 an Accredited Investor and if requested by the Issuer or on its behalf, the transferor or the
                 transferee has provided an opinion of counsel to each of the Issuer, the Class E Certificate

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                  Paying Agent and the Class E Certificate Registrar, that such transfer may be made
                  pursuant to an exemption from registration under the Securities Act and any applicable
                  state securities laws) and (ii) a Qualified Purchaser or “knowledgeable employee” as
                  defined in Rule 3c-5 under the Investment Company Act, in a transaction meeting the
                  requirements of Rule 144A of the Securities Act or another applicable exemption from
                  the Securities Act (in the case of a transferee who is an Accredited Investor), and, if the
                  holder does not comply with such demand within 30 days thereof, the Issuer may cause
                  the holder to sell its beneficial interest on such terms as the Issuer may choose.

         3.       Such beneficial owner is aware that, except as otherwise provided in the Class E
                  Certificate Documents, the Class E Certificates being sold to it will be represented (a)
                  initially, by one or more Temporary Regulation S Global Securities and (b) after the
                  Exchange Date, by one or more Regulation S Global Securities, and that beneficial
                  interests therein may be held only through Euroclear or Clearstream.

         4.       A holder of a beneficial interest in a Temporary Regulation S Global Security must
                  provide Euroclear or Clearstream or the participant organization through which it holds
                  such interest, as applicable, with a certificate certifying that the beneficial owner of the
                  interest in the Temporary Regulation S Global Security is a non-U.S. person (as defined
                  in Regulation S), and Euroclear or Clearstream, as applicable, must provide to the Trustee
                  a certificate to such effect, prior to (a) the payment of interest or principal or other
                  amounts with respect to such holder’s beneficial interest in the Temporary Regulation S
                  Global Security and (b) any exchange of such beneficial interest for a beneficial interest
                  in a Regulation S Global Security and no payment will be made to the holder of any
                  beneficial interest in a Temporary Regulation S Global Security unless such holder has
                  provided Euroclear or Clearstream or such participant organization through which it
                  holds such interest with such certificate.

         5.       It understands that any resale or other transfer of beneficial interests in a Temporary
                  Regulation S Global Security or Regulation S Global Security to U.S. persons (as defined
                  in Regulation S) shall not be permitted.

         6.       It understands that the Co-Issuers, the Trustee, the Class E Certificate Paying Agent, the
                  Initial Purchaser, the Placement Agent, the Portfolio Manager, the Revolving Note
                  Agent, the Delayed Drawdown Note Agent, the Collateral Administrator and their
                  respective counsel will rely upon the accuracy and truth of the foregoing representations,
                  and it hereby consents to such reliance.

 Class Q-1 Securities

         Legend

        Unless determined otherwise by the Issuer in accordance with applicable law and so long as any
 Class Q-1 Security is outstanding, the Class Q-1 Securities will bear a legend substantially as set forth
 below.

         “THIS SECURITY HAS NOT BEEN AND WILL NOT BE REGISTERED UNDER
         THE U.S. SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”),
         ANY STATE SECURITIES LAWS IN THE UNITED STATES OR THE SECURITIES
         LAWS OF ANY OTHER JURISDICTION AND THE ISSUER HAS NOT
         REGISTERED UNDER THE U.S. INVESTMENT COMPANY ACT OF 1940, AS
         AMENDED (THE “INVESTMENT COMPANY ACT”). THE HOLDER HEREOF, BY
         ITS ACCEPTANCE OF THIS SECURITY, REPRESENTS THAT IT HAS OBTAINED
         THIS SECURITY IN A TRANSACTION IN COMPLIANCE WITH THE SECURITIES
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       ACT, THE INVESTMENT COMPANY ACT AND ALL OTHER APPLICABLE
       LAWS OF THE UNITED STATES OR ANY OTHER APPLICABLE JURISDICTION,
       AND THE RESTRICTIONS ON SALE AND TRANSFER SET FORTH IN THE
       INDENTURE. THE HOLDER HEREOF, BY ITS ACCEPTANCE OF THIS
       SECURITY, FURTHER REPRESENTS, ACKNOWLEDGES AND AGREES THAT IT
       WILL NOT REOFFER, RESELL, PLEDGE OR OTHERWISE TRANSFER THIS
       SECURITY (OR ANY INTEREST HEREIN) EXCEPT IN COMPLIANCE WITH THE
       SECURITIES ACT, THE INVESTMENT COMPANY ACT AND ALL OTHER
       APPLICABLE LAWS OF ANY JURISDICTION AND IN ACCORDANCE WITH
       THE CERTIFICATIONS AND OTHER REQUIREMENTS SPECIFIED IN THE
       INDENTURE REFERRED TO HEREIN (A) TO A TRANSFEREE (1) THAT IS
       “QUALIFIED PURCHASER” WITHIN THE MEANING OF SECTION 3(c)(7) OF
       THE INVESTMENT COMPANY ACT (2) THAT (i) WAS NOT FORMED FOR THE
       PURPOSE OF INVESTING IN THE CLASS E CERTIFICATES, (ii) HAS RECEIVED
       THE NECESSARY CONSENT FROM ITS BENEFICIAL OWNERS IF THE
       PURCHASER IS A PRIVATE INVESTMENT COMPANY FORMED BEFORE
       APRIL 30, 1996, (iii) IS NOT A BROKER-DEALER THAT OWNS AND INVESTS
       ON A DISCRETIONARY BASIS LESS THAN U.S. $25,000,000 IN SECURITIES OF
       UNAFFILIATED ISSUERS AND (iv) IS NOT A PARTNERSHIP, COMMON TRUST
       FUND, SPECIAL TRUST, PENSION, PROFIT SHARING OR OTHER RETIREMENT
       TRUST FUND OR PLAN IN WHICH THE PARTNERS, BENEFICIARIES OR
       PARTICIPANTS, AS APPLICABLE, MAY DESIGNATE THE PARTICULAR
       INVESTMENTS TO BE MADE, (3) THAT (i) IS ACQUIRING ITS SECURITY IN A
       TRANSACTION THAT MAY BE EFFECTED WITHOUT LOSS OF ANY
       APPLICABLE INVESTMENT COMPANY ACT EXEMPTION AND (ii) AGREES TO
       PROVIDE NOTICE TO ANY SUBSEQUENT TRANSFEREE OF THE TRANSFER
       RESTRICTIONS PROVIDED IN THIS LEGEND AND THE INDENTURE AND (4)
       THAT IS A PERSON WHOM THE SELLER REASONABLY BELIEVES IS A
       “QUALIFIED INSTITUTIONAL BUYER” AS DEFINED IN RULE 144A UNDER
       THE SECURITIES ACT PURCHASING FOR ITS OWN ACCOUNT OR FOR THE
       ACCOUNT OF A “QUALIFIED INSTITUTIONAL BUYER” IN COMPLIANCE
       WITH RULE 144A UNDER THE SECURITIES ACT OR (B) TO A TRANSFEREE
       THAT IS NOT A U.S. PERSON (AS DEFINED IN REGULATION S UNDER THE
       SECURITIES ACT) AND IS ACQUIRING THIS SECURITY IN AN OFFSHORE
       TRANSACTION IN COMPLIANCE WITH RULE 903 OR RULE 904 OF
       REGULATION S UNDER THE SECURITIES ACT, AND IN THE CASE OF BOTH
       CLAUSES (A) AND (B), IN A PRINCIPAL AMOUNT OF NOT LESS THAN THE
       APPLICABLE MINIMUM AUTHORIZED DENOMINATIONS. EACH
       PURCHASER OR TRANSFEREE OF THIS SECURITY WILL BE REQUIRED TO
       MAKE OR WILL BE DEEMED TO MAKE THE REPRESENTATIONS AND
       AGREEMENTS SUBSTANTIALLY IN THE FORM SET FORTH IN THE
       INDENTURE OR AN EXHIBIT THERETO.
       THIS SECURITY IS TRANSFERABLE ONLY IN ACCORDANCE WITH THE
       RESTRICTIONS DESCRIBED HEREIN AND IN THE INDENTURE. ANY SALE OR
       TRANSFER IN VIOLATION OF THE FOREGOING WILL BE OF NO FORCE AND
       EFFECT, WILL BE VOID AB INITIO, AND WILL NOT OPERATE TO TRANSFER
       ANY RIGHTS TO THE TRANSFEREE, NOTWITHSTANDING ANY
       INSTRUCTIONS TO THE CONTRARY TO THE ISSUER, THE TRUSTEE OR ANY

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         INTERMEDIARY. EACH TRANSFEROR OF ANY INTEREST IN THIS SECURITY
         AGREES TO PROVIDE NOTICE OF THE TRANSFER RESTRICTIONS SET FORTH
         HEREIN AND IN THE INDENTURE TO ANY TRANSFEREE. IN ADDITION TO
         THE FOREGOING, THE ISSUER MAINTAINS THE RIGHT TO COMPEL THE
         RESALE OF ANY INTEREST IN THIS SECURITY PREVIOUSLY TRANSFERRED
         TO OR HELD BY NON-PERMITTED HOLDERS OF THIS SECURITY IN
         ACCORDANCE WITH AND SUBJECT TO THE TERMS OF THE INDENTURE.
         THE STATED MATURITY OF THIS SECURITY IS SUBJECT TO EXTENSION AS
         SET FORTH IN THE INDENTURE. IN ADDITION, A HOLDER MAY BE
         REQUIRED TO SELL ITS INTEREST IN THIS SECURITY AS PROVIDED IN THE
         INDENTURE IF IT DOES NOT CONSENT TO CERTAIN AMENDMENTS TO THE
         INDENTURE OR IN CERTAIN CIRCUMSTANCES VOTES TO REMOVE THE
         PORTFOLIO MANAGER WITHOUT CAUSE.

         A COMPONENT OF THIS SECURITY HAS BEEN ISSUED WITH ORIGINAL
         ISSUE DISCOUNT FOR U.S. FEDERAL INCOME TAX PURPOSES. FOR
         INFORMATION ABOUT THE ISSUE PRICE, THE AMOUNT OF OID, THE ISSUE
         DATE AND THE YIELD TO MATURITY OF THE SECURITY COMPONENT
         ISSUED WITH ORIGINAL ISSUE DISCOUNT, PLEASE CONTACT THE TRUSTEE
         AT 600 TRAVIS STREET, 50TH FLOOR, HOUSTON, TEXAS 77002, TELECOPY
         NO (713) 216-2101, ATTENTION: WORLDWIDE SECURITY SERVICES--
         LIBERTY CLO, LTD.

         THIS SECURITY MAY BE BENEFICIALLY OWNED ONLY BY PERSONS THAT
         CAN CONTINUE TO MAKE, ON EACH DAY SUCH BENEFICIAL OWNER OWNS
         THIS SECURITY, THE REPRESENTATIONS AND AGREEMENTS WITH
         RESPECT TO THE U.S. EMPLOYEE RETIREMENT INCOME SECURITY ACT OF
         1974, AS AMENDED, AND RELATED MATTERS SET FORTH IN THE
         REPRESENTATION LETTER DELIVERED UPON PURCHASE OR THE
         REPRESENTATIONS DEEMED MADE UPON PURCHASE.”

 Transferees of Certificated Class Q-1 Securities

         Each initial purchaser and subsequent transferee of Class Q-1 Securities will be required to
 provide to the Issuer, Class E Certificate Paying Agent and Registrar a written certification in
 substantially the form provided in the Class Q-1 Security Documents, containing representations and
 agreements substantially to the following effect (among other requirements of the Class Q-1 Security
 Documents) (with such modifications as may be acceptable to the Issuer):

         1.      It (i) is a Qualified Institutional Buyer, and is acquiring the Class Q-1 Securities in
                 reliance on an exemption from Securities Act registration and (ii) is a Qualified
                 Purchaser, and understands the Class Q-1 Securities will bear the legend set forth above.
                 In addition, it represents and warrants that it (i) was not formed for the purpose of
                 investing in the Class Q-1 Securities, (ii) has received the necessary consent from its
                 beneficial owners if the purchaser is a private investment company formed before April
                 30, 1996, (iii) is not a broker-dealer that owns and invests on a discretionary basis less
                 than U.S. $25,000,000 in securities of unaffiliated issuers and (iv) is not a partnership,
                 common trust fund, special trust, pension, profit sharing or other retirement trust fund or
                 plan in which the partners, beneficiaries or participants, as applicable, may designate the
                 particular investments to be made. It is acquiring its Class Q-1 Securities in a transaction

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             that may be effected without loss of any applicable Investment Company Act exemption.
             In addition, it acknowledges that the Class Q-1 Securities are being offered, and it
             represents and warrants that it will hold and transfer its interest in any Class Q-1 Security,
             only in the applicable minimum denomination.

       2.    The Class Q-1 Securities are being purchased or transferred in accordance with the
             transfer restrictions set forth in the Indenture and pursuant to an exemption from
             Securities Act registration, and in accordance with applicable state securities laws or
             securities laws of any other relevant jurisdiction. It understands that the Class Q-1
             Securities have been offered only in a transaction not involving any public offering in the
             United States within the meaning of the Securities Act, the Class Q-1 Securities have not
             been and will not be registered under the Securities Act or the securities laws of any
             states, and, if in the future it decides to offer, resell, pledge or otherwise transfer the Class
             Q-1 Securities, such Class Q-1 Securities may be offered, resold, pledged or otherwise
             transferred only in accordance with an exemption from registration under such laws and
             pursuant to the provisions of the Indenture and the legend on such Class Q-1 Securities.
             In particular, it understands that the Class Q-1 Securities may be transferred only (a) in
             the form of a Certificated Class Q-1 Security to a Qualified Purchaser that is also a
             Qualified Institutional Buyer or (b) in the form of an interest in a Temporary Regulation
             S Global Security or Regulation S Global Security to a person that is not a “U.S. person”
             as defined in Regulation S under the Securities Act. Purchasers and transferees who
             reside in certain states or jurisdictions may be subject to additional suitability standards
             and/or specific holding periods before the Class Q-1 Securities may be resold or
             otherwise transferred. It acknowledges that no representation is made as to the
             availability of any exemption under the Securities Act or any state or other securities laws
             for resale of the Class Q-1 Securities.
       3.    In connection with the purchase of the Class Q-1 Securities (provided that no such
             representations in clauses (a), (b) or (c) below are made with respect to the Portfolio
             Manager or its Affiliates by the Portfolio Manager or any Affiliate of the Portfolio
             Manager or by any account managed or advised by the Portfolio Manager or any Affiliate
             of the Portfolio Manager): (a) it understands that none of the Issuer, the Co-Issuer, the
             Portfolio Manager, the Initial Purchaser, the Placement Agent, the Collateral
             Administrator, the Revolving Note Agent, the Delayed Drawdown Note Agent or any of
             their respective Affiliates is acting as a fiduciary or financial or investment adviser for it;
             (b) it is not relying (for purposes of making any investment decision or otherwise) upon
             any advice, counsel or representations (in each case whether written or oral) of the Co-
             Issuers, the Portfolio Manager, the Initial Purchaser, the Placement Agent, the Trustee,
             the Class E Certificate Paying Agent, the Revolving Note Agent, the Delayed Drawdown
             Note Agent, the Collateral Administrator or any of their respective Affiliates, agents and
             independent contractors in their capacities as such other than statements, if any, of such
             person in a current offering memorandum for the Class Q-1 Securities; (c) it has
             consulted with its own legal, regulatory, tax, business, investment, financial and
             accounting advisers to the extent it has deemed necessary and has made its own
             investment decisions based upon its own judgment and upon any advice from such
             advisers as it has deemed necessary and not upon any view expressed by the Issuer, the
             Initial Purchaser, the Placement Agent, the Portfolio Manager, the Trustee, the Class E
             Certificate Paying Agent, the Revolving Note Agent, the Delayed Drawdown Note
             Agent, the Collateral Administrator or any of their respective Affiliates, agents and
             independent contractors in their capacities as such; (d) its purchase of the Class Q-1
             Securities will comply with all applicable laws in any jurisdiction in which it resides or is
             located; (e) it is acquiring the Class Q-1 Securities as principal solely for its own account
             for investment and not with a view to the resale, distribution or other disposition thereof
             in violation of the Securities Act; (f) it has made investments prior to the date hereof and

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             was not formed solely for the purpose of investing in the Class Q-1 Securities; (g) it will
             not hold any Class Q-1 Securities for the benefit of any other person, it will at all times
             be the sole beneficial owner thereof for purposes of the Investment Company Act and all
             other purposes and it will not sell participation interests in the Class Q-1 Securities or
             enter into any other arrangement pursuant to which any other person shall be entitled to a
             beneficial interest in the dividends or distributions on the Class Q-1 Securities; (h) all
             Class Q-1 Securities (together with any other securities of the Co-Issuers) purchased and
             held directly or indirectly by it constitute in the aggregate an investment of no more than
             40% of its assets or capital; and (i) it is a sophisticated investor and is purchasing the
             Class Q-1 Securities with a full understanding of all of the terms, conditions and risks
             thereof, and it is capable of assuming and willing to assume those risks.
       4.    (a) The purchaser is not, and is not acting on behalf of or using the assets of, (i) an
             “employee benefit plan” as defined in Section 3(3) of ERISA subject to Title I of ERISA,
             (ii) a plan described in Section 4975(e)(1) of the Code subject to Section 4975 of the
             Code, including without limitation, individual retirement accounts and Keogh plans, or
             (iii) an entity whose underlying assets include “plan assets” by reason of U.S.
             Department of Labor regulation Section 2510.3-101 or otherwise, including without
             limitation, as applicable, an insurance company general account; (b) if the purchaser is a
             governmental plan (as defined in Section 3(32) of ERISA) or a non-US plan (as described
             in Section 4(b)(4) of ERISA), its purchase, holding and subsequent transfer of the Class
             Q-1 Securities will not result in a violation of any applicable laws, rules, regulations,
             policies and guidelines to which it and its investments are subject; and (c) the purchaser
             and any person causing it to acquire any Class Q-1 Securities agrees to indemnify and
             hold harmless the Issuer, Co-Issuer, Portfolio Manager, Class E Certificate Paying Agent,
             Trustee, Collateral Administrator, the Revolving Note Agent, the Delayed Drawdown
             Note Agent, Placement Agent and Initial Purchaser and their respective Affiliates from
             any cost, damage or loss, liability, expense, claim, proceeding or excise tax incurred by
             them as a result of any of the foregoing representations being or becoming untrue. It
             understands that the representations made by it pursuant to this paragraph 4 shall be
             deemed made on each day from the date made through and including the date on which it
             disposes of its interests in the Class Q-1 Securities. It understands that the Issuer may
             require any holder of the Class Q-1 Securities that has made a false representation with
             respect to the foregoing matters to sell the Class Q-1 Securities and, if such holder does
             not comply with such demand within 30 days thereof, the Issuer may sell such holder’s
             interest in the Class Q-1 Securities. It understands that any transfer effected in
             connection with such a representation that was false will be of no force and effect, will be
             void ab initio, and will not operate to transfer any rights to the transferee,
             notwithstanding any instructions to the contrary to the Issuer, the Class E Certificate
             Paying Agent or any intermediary.
       5.    The purchaser understands that the Indenture permit the Issuer to demand that any U.S.
             person (as defined in Regulation S) that is a Holder of a Certificated Class Q-1 Security
             who is determined not to be both (i) a Qualified Purchaser and (ii) a Qualified
             Institutional Buyer sell such Class Q-1 Security (a) to a Person who is both (i) a Qualified
             Institutional Buyer and (ii) a Qualified Purchaser, in a transaction meeting the
             requirements of Rule 144A of the Securities Act or (b) to a Person who is not a U.S.
             person (as defined in Regulation S) in a transaction meeting the requirements of
             Regulation S and, if the Holder does not comply with such demand within 30 days
             thereof, the Issuer may cause such Holder to sell its Class Q-1 Securities on such terms as
             the Issuer may choose.
       6.    The purchaser agrees to treat the Class Q-1 Security as a direct ownership interest in the
             different Classes of Securities corresponding to the components of the Class Q-1
             Security. The purchaser acknowledges that it is its intent and that it understands it is the

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             intent of the Issuer that, for purposes of U.S. federal income tax, state and local income
             and franchise tax and any other income taxes, the Issuer will be treated as a corporation,
             the Notes will be treated as indebtedness of the Issuer, the Class E Certificates (including
             the Class Q-1 Class E Certificates Component) (in the absence of an administrative
             determination or judicial ruling to the contrary) will be treated as equity in the Issuer and
             the Class Q-1 Securities and Class P Securities will be treated as a direct ownership
             interest in the corresponding components of such Security; the purchaser agrees to such
             treatment and agrees to take no action inconsistent with such treatment.
       7.    The purchaser acknowledges that the Issuer is not authorized to engage in activities that
             could cause it to constitute a finance or lending business for federal income tax purposes
             and agrees that it will report its investment in the Class Q-1 Securities in a manner
             consistent with such limitation, and in particular will not treat the Issuer as an “eligible
             controlled foreign corporation” for purposes of Section 954(h) of the Code or as deriving
             income described in Section 1297(b)(2) of the Code.
       8.    It has provided the Trustee on or immediately prior to its purchase of the Class Q-1
             Securities with a properly completed Form W-9 if it is a “U.S. person” for purposes of
             the Code that is not exempt from such requirement, and a properly completed Form W-
             8BEN if it is not a “U.S. person.”
       9.    The purchaser is not purchasing the Class Q-1 Securities in order to reduce any United
             States federal income tax liability or pursuant to a tax avoidance plan. In the case of a
             purchaser that is a bank (as defined in Section 881(c)(3)(A) of the Code) or an affiliate of
             such a bank, the purchaser (a) is acquiring the Class Q-1 Securities as a capital markets
             investment and will not for any purpose treat the assets of the Issuer as loans acquired in
             its banking business and (b) has not proposed or identified, and will not propose or
             identify, any security or loan for inclusion in the Collateral.
       10.   In the case of any purchaser that is not a United States person (as defined in Section
             7701(a)(30) of the Code), the purchaser is not a bank (as defined in Section 881(c)(3)(A)
             of the Code) or an affiliate of such a bank, unless the purchaser is a person that is eligible
             for benefits under an income tax treaty with the United States that eliminates United
             States federal income taxation of United States source interest not attributable to a
             permanent establishment in the United States.
       11.   The purchaser agrees to notify subsequent transferees of all transfer restrictions
             applicable to holders of Class Q-1 Securities set forth in the Indenture or described in this
             Offering Memorandum.
       12.   The purchaser acknowledges that no governmental agency has passed upon the Class Q-1
             Securities or made any finding or determination as to the fairness of an investment in the
             Class Q-1 Securities.
       13.   The purchaser acknowledges that certain persons or organizations will perform services
             on behalf of the Co-Issuers and will receive fees and/or compensation for performing
             such services as described in this Offering Memorandum and the Indenture and Class E
             Certificate Documents.
       14.   Within five days after receipt of a written request therefor from the Issuer or the Class E
             Certificate Paying Agent, the purchaser agrees to provide any information and to execute
             and deliver such documents that may reasonably be necessary to comply with the laws
             and ordinances to which the Issuer is subject by reason of the offering of the Class Q-1
             Securities and the involvement of the purchaser therewith.
       15.   The purchaser acknowledges that the Class Q-1 Securities do not represent deposits with
             or other liabilities or obligations of, and are not guaranteed or endorsed by, the Placement
             Agent, the Initial Purchaser, the Portfolio Manager, the Trustee, the Class E Certificate

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                 Paying Agent, the Revolving Note Agent, the Delayed Drawdown Note Agent, the
                 Collateral Administrator or any of their respective Affiliates or any entity related to any
                 of them or any other holder of Class Q-1 Securities. It acknowledges that none of such
                 persons will, in any way, be responsible for or stand behind the value or the performance
                 of the Class Q-1 Securities. It acknowledges that purchase of Class Q-1 Securities
                 involves investment risks including possible delay in payment of distributions and loss of
                 income and principal invested.
         16.     It understands that the Stated Maturity of the Class Q-1 Securities is subject to up to four
                 extensions of four years each (to a latest possible date of November 1, 2033) without
                 consent of any beneficial owners of Securities if certain conditions are satisfied.
         17.     It understands that in the case of any amendment to the Indenture that requires consent of
                 one or more holders of Class Q-1 Securities (or holders of any Class of Securities that
                 constitutes a Component thereof), the Indenture and Class E Certificate Documents
                 permit the Amendment Buy-Out Purchaser to purchase at a purchase price determined
                 pursuant to the Indenture and Class E Certificate Documents, the Class Q-1 Securities (or
                 the affected Component thereof) from any holder thereof that either (i) has declared in
                 writing that it will not consent to such amendment or (ii) had not consented to such
                 amendment by the last day on which consent could be given in accordance with the
                 request therefor, and such holder will be required to sell its Class Q-1 Securities or the
                 affected Component thereof (at the holder’s option) to the Amendment Buy-Out
                 Purchaser at the applicable purchase price. In addition, if a holder of Class Q-1
                 Securities votes the Class E Certificates represented by its related Class Q-1 Class E
                 Certificate Component to remove the Portfolio Manager without cause, and a Removal
                 Buy-Out Purchaser exercise its right under the Class E Certificate Documents to purchase
                 the Directing Class E Certificates, the Class Q-1 Securities that include such Class E
                 Components will be deemed exchanged for their respective components, the Class E
                 Certificates represented by such Class E Components will be so purchased and the
                 applicable Buy-Out Amount will be distributed to the Holders of such Class Q-1
                 Securities, and such Holders will receive in accordance with the provisions of the
                 Indenture the Class C Notes represented by the Class Q-1 Note Component of their Class
                 Q-1 Securities.
         18.     The purchaser understands that the Co-Issuers, the Trustee, the Class E Certificate Paying
                 Agent, the Initial Purchaser, the Placement Agent, the Portfolio Manager, the Revolving
                 Note Agent, the Delayed Drawdown Note Agent, the Collateral Administrator and their
                 respective counsel will rely upon the accuracy and truth of the foregoing representations,
                 and it hereby consents to such reliance.

 Transferees of Interests in Class Q-1 Securities in the form of Temporary Regulation S Global
 Securities and Regulation S Global Securities

         Each initial purchaser and subsequent transferee of Class Q-1 Securities taking delivery in the
 form of a Temporary Regulation S Global Security or Regulation S Global Security will be deemed to
 have made the representations set forth in paragraphs 2, 3, 4, 6, 7, 9, 10, 11, 12, 13, 15, 16 and 17 above
 and in addition to have further represented and agreed as follows:

         1.      It is aware that the sale of Class Q-1 Securities to it is being made in reliance on the
                 exemption from registration provided by Regulation S and understands that the Class Q-1
                 Securities offered in reliance on Regulation S will bear the legend set forth above. It and
                 each beneficial owner of its Class Q-1 Securities is not, and will not be, a U.S. person as
                 defined in Regulation S under the Securities Act, and its purchase of the Class Q-1
                 Securities will comply with all applicable laws in any jurisdiction in which it resides or is
                 located. In addition, it represents and warrants that it will (i) provide notice to any

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             subsequent transferee of the transfer restrictions provided in such legend and in the
             Indenture, (ii) hold and transfer its beneficial interest in any Class Q-1 Securities only in
             not less than the applicable minimum denomination; and (iii) provide the Issuer from
             time to time such information as it may reasonably request in order to ascertain
             compliance with this paragraph 1.

       2.    It understands that the Indenture permits the Issuer to demand that any holder of a
             beneficial interest in Class Q-1 Securities in the form of a Temporary Regulation S
             Global Security or Regulation S Global Security who is determined not to have acquired
             such beneficial interest in compliance with the requirements of Regulation S or who is a
             U.S. person (as defined in Regulation S) sell such beneficial interest (a) to a Person who
             is not a U.S. person (as defined in Regulation S) in a transaction meeting the
             requirements of Regulation S or (b) to a Person who will take delivery of the holder’s
             interest in the Temporary Regulation S Global Securities or Regulation S Global
             Securities in the form of a Certificated Class Q-1 Security, who is both (i) a Qualified
             Institutional Buyer and (ii) a Qualified Purchaser, in a transaction meeting the
             requirements of Rule 144A of the Securities Act and, if the holder does not comply with
             such demand within 30 days thereof, the Issuer may cause the holder to sell its beneficial
             interest on such terms as the Issuer may choose.

       3.    Such beneficial owner is aware that, except as otherwise provided in the Indenture, the
             Class Q-1 Securities being sold to it will be represented (a) initially, by one or more
             Temporary Regulation S Global Securities and (b) after the Exchange Date, by one or
             more Regulation S Global Securities, and that beneficial interests therein may be held
             only through Euroclear or Clearstream.

       4.    A holder of a beneficial interest in a Temporary Regulation S Global Security must
             provide Euroclear or Clearstream or the participant organization through which it holds
             such interest, as applicable, with a certificate certifying that the beneficial owner of the
             interest in the Temporary Regulation S Global Security is a non-U.S. person (as defined
             in Regulation S), and Euroclear or Clearstream, as applicable, must provide to the Trustee
             a certificate to such effect, prior to (a) the payment of interest or principal or other
             amounts with respect to such holder’s beneficial interest in the Temporary Regulation S
             Global Security and (b) any exchange of such beneficial interest for a beneficial interest
             in a Regulation S Global Security and no payment will be made to the holder of any
             beneficial interest in a Temporary Regulation S Global Security unless such holder has
             provided Euroclear or Clearstream or such participant organization through which it
             holds such interest with such certificate.

       5.    It understands that any resale or other transfer of beneficial interests in a Temporary
             Regulation S Global Security or Regulation S Global Security to U.S. person (as defined
             in Regulation S) shall not be permitted.

       6.    It understands that the Co-Issuers, the Trustee, the Class E Certificate Paying Agent, the
             Initial Purchaser, the Placement Agent, the Portfolio Manager, the Revolving Note
             Agent, the Delayed Drawdown Note Agent, the Collateral Administrator and their
             respective counsel will rely upon the accuracy and truth of the foregoing representations,
             and it hereby consents to such reliance.




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 Class P Securities

         Class P Legend

         Unless otherwise determined by the Issuer in accordance with applicable law and so long as the
 Class P Securities are outstanding, the Class P Securities will bear a legend substantially as set forth
 below:

         “THESE CLASS P SECURITIES HAVE NOT BEEN AND WILL NOT BE
         REGISTERED UNDER THE U.S. SECURITIES ACT OF 1933, AS AMENDED (THE
         “SECURITIES ACT”), ANY STATE SECURITIES LAWS IN THE UNITED STATES
         OR THE SECURITIES LAWS OF ANY OTHER JURISDICTION AND THE ISSUER
         HAS NOT REGISTERED UNDER THE U.S. INVESTMENT COMPANY ACT OF
         1940, AS AMENDED (THE “INVESTMENT COMPANY ACT”). THE HOLDER
         HEREOF, BY ITS ACCEPTANCE OF THESE CLASS P SECURITIES, REPRESENTS
         THAT IT HAS OBTAINED THESE CLASS P SECURITIES IN A TRANSACTION IN
         COMPLIANCE WITH THE SECURITIES ACT, THE INVESTMENT COMPANY
         ACT AND ALL OTHER APPLICABLE LAWS OF THE UNITED STATES OR ANY
         OTHER APPLICABLE JURISDICTION, AND THE RESTRICTIONS ON SALE AND
         TRANSFER SET FORTH IN THE CLASS E CERTIFICATE DOCUMENTS. THE
         HOLDER HEREOF, BY ITS ACCEPTANCE OF THESE CLASS P SECURITIES,
         FURTHER REPRESENTS, ACKNOWLEDGES AND AGREES THAT IT WILL NOT
         REOFFER, RESELL, PLEDGE OR OTHERWISE TRANSFER THESE CLASS P
         SECURITIES (OR ANY INTEREST HEREIN) EXCEPT IN COMPLIANCE WITH
         THE SECURITIES ACT, THE INVESTMENT COMPANY ACT AND ALL OTHER
         APPLICABLE LAWS OF ANY JURISDICTION AND IN ACCORDANCE WITH
         THE CERTIFICATIONS AND OTHER REQUIREMENTS SPECIFIED IN THE
         INDENTURE AND THE CLASS E CERTIFICATE DOCUMENTS REFERRED TO
         HEREIN (A) TO A TRANSFEREE (1) THAT IS A “QUALIFIED PURCHASER”
         WITHIN THE MEANING OF SECTION 3(c)(7) OF THE INVESTMENT COMPANY
         ACT THAT (i) WAS NOT FORMED FOR THE PURPOSE OF INVESTING IN THE
         CLASS E CERTIFICATES, (ii) HAS RECEIVED THE NECESSARY CONSENT
         FROM ITS BENEFICIAL OWNERS IF THE PURCHASER IS A PRIVATE
         INVESTMENT COMPANY FORMED BEFORE APRIL 30, 1996, (iii) IS NOT A
         BROKER-DEALER THAT OWNS AND INVESTS ON A DISCRETIONARY BASIS
         LESS THAN U.S. $25,000,000 IN SECURITIES OF UNAFFILIATED ISSUERS AND
         (iv) IS NOT A PARTNERSHIP, COMMON TRUST FUND, SPECIAL TRUST,
         PENSION, PROFIT SHARING OR OTHER RETIREMENT TRUST FUND OR PLAN
         IN WHICH THE PARTNERS, BENEFICIARIES OR PARTICIPANTS, AS
         APPLICABLE, MAY DESIGNATE THE PARTICULAR INVESTMENTS TO BE
         MADE, (3) THAT (i) IS ACQUIRING ITS CLASS P SECURITIES IN A
         TRANSACTION THAT MAY BE EFFECTED WITHOUT LOSS OF ANY
         APPLICABLE INVESTMENT COMPANY ACT EXEMPTION AND (ii) AGREES TO
         PROVIDE NOTICE TO ANY SUBSEQUENT TRANSFEREE OF THE TRANSFER
         RESTRICTIONS PROVIDED IN THIS LEGEND, THE INDENTURE AND THE
         CLASS E CERTIFICATE DOCUMENTS AND (4) THAT IS A PERSON WHOM THE
         SELLER REASONABLY BELIEVES IS A “QUALIFIED INSTITUTIONAL BUYER”
         AS DEFINED IN RULE 144A UNDER THE SECURITIES ACT PURCHASING FOR
         ITS OWN ACCOUNT OR FOR THE ACCOUNT OF A “QUALIFIED

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       INSTITUTIONAL BUYER” IN COMPLIANCE WITH RULE 144A UNDER THE
       SECURITIES ACT, OR (B) TO A TRANSFEREE THAT IS NOT A U.S. PERSON (AS
       DEFINED IN REGULATION S UNDER THE SECURITIES ACT) AND IS
       ACQUIRING THESE CLASS P SECURITIES IN AN OFFSHORE TRANSACTION
       IN COMPLIANCE WITH RULE 903 OR RULE 904 OF REGULATION S UNDER
       THE SECURITIES ACT, AND IN THE CASE OF BOTH CLAUSES (A) AND (B), IN
       A STATED AMOUNT OF NOT LESS THAN THE APPLICABLE MINIMUM
       AUTHORIZED DENOMINATIONS. EACH PURCHASER OR TRANSFEREE OF
       THESE CLASS P SECURITIES WILL BE REQUIRED TO MAKE OR WILL BE
       DEEMED TO MAKE THE REPRESENTATIONS AND AGREEMENTS
       SUBSTANTIALLY IN THE FORM SET FORTH IN THE INDENTURE OR AN
       EXHIBIT THERETO.
       THESE CLASS P SECURITIES ARE TRANSFERABLE ONLY IN ACCORDANCE
       WITH THE RESTRICTIONS DESCRIBED HEREIN AND IN THE INDENTURE.
       ANY SALE OR TRANSFER IN VIOLATION OF THE FOREGOING WILL BE OF
       NO FORCE AND EFFECT, WILL BE VOID AB INITIO, AND WILL NOT OPERATE
       TO TRANSFER ANY RIGHTS TO THE TRANSFEREE, NOTWITHSTANDING
       ANY INSTRUCTIONS TO THE CONTRARY TO THE ISSUER, THE TRUSTEE OR
       ANY INTERMEDIARY. EACH TRANSFEROR OF ANY INTEREST IN THESE
       CLASS P SECURITIES AGREES TO PROVIDE NOTICE OF THE TRANSFER
       RESTRICTIONS SET FORTH HEREIN AND IN THE INDENTURE TO ANY
       TRANSFEREE. IN ADDITION TO THE FOREGOING, THE ISSUER MAINTAINS
       THE RIGHT TO COMPEL THE RESALE OF ANY INTEREST IN THESE CLASS P
       SECURITIES PREVIOUSLY TRANSFERRED TO OR HELD BY NON-PERMITTED
       HOLDERS OF CLASS P SECURITIES IN ACCORDANCE WITH AND SUBJECT
       TO THE TERMS OF THE INDENTURE.
       THE STATED MATURITY OF THESE CLASS P SECURITIES IS SUBJECT TO
       EXTENSION AS SET FORTH IN THE INDENTURE. IN ADDITION, A HOLDER
       MAY BE REQUIRED TO SELL ITS INTEREST IN THIS CLASS P SECURITY AS
       PROVIDED IN THE INDENTURE IF IT DOES NOT CONSENT TO CERTAIN
       AMENDMENTS TO THE INDENTURE OR IN CERTAIN CIRCUMSTANCES
       VOTES TO REMOVE THE PORTFOLIO MANAGER WITHOUT CAUSE.
       A COMPONENT OF THIS CLASS P SECURITY HAS BEEN ISSUED WITH
       ORIGINAL ISSUE DISCOUNT FOR U.S. FEDERAL INCOME TAX PURPOSES.
       FOR INFORMATION ABOUT THE ISSUE PRICE, THE AMOUNT OF OID, THE
       ISSUE DATE AND THE YIELD TO MATURITY OF THE CLASS P SECURITY
       COMPONENT ISSUED WITH ORIGINAL ISSUE DISCOUNT, PLEASE CONTACT
       THE TRUSTEE AT 600 TRAVIS STREET, 50TH FLOOR, HOUSTON, TEXAS
       77002, TELECOPY NO (713) 216-2101, ATTENTION: WORLDWIDE SECURITY
       SERVICES--LIBERTY CLO, LTD.

       THESE CLASS P SECURITIES MAY BE BENEFICIALLY OWNED ONLY BY
       PERSONS THAT CAN CONTINUE TO MAKE, ON EACH DAY SUCH
       BENEFICIAL OWNER OWNS THESE CLASS P SECURITIES, THE
       REPRESENTATIONS AND AGREEMENTS WITH RESPECT TO THE U.S.
       EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974, AS AMENDED,
       AND RELATED MATTERS SET FORTH IN THE REPRESENTATION LETTER
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         DELIVERED UPON PURCHASE OR THE REPRESENTATIONS DEEMED MADE
         UPON PURCHASE.”

 Transferees of Certificated Class P Securities

          Each initial purchaser and subsequent transferee of Class P Securities will be required to provide
 to the Issuer, Class E Certificate Paying Agent and Registrar a written certification in substantially the
 form provided in the Indenture, containing representations and agreements substantially to the following
 effect (among other requirements of the Indenture and the Class E Certificate Documents) (with such
 modifications as may be acceptable to the Issuer):

         1.      It (i) is a Qualified Institutional Buyer and (ii) is a Qualified Purchaser. In addition, it
                 represents and warrants that it (i) was not formed for the purpose of investing in the Class
                 P Securities, (ii) has received the necessary consent from its beneficial owners if the
                 purchaser is a private investment company formed before April 30, 1996, (iii) is not a
                 broker-dealer that owns and invests on a discretionary basis less than U.S. $25,000,000 in
                 securities of unaffiliated issuers and (iv) is not a partnership, common trust fund, special
                 trust, pension, profit sharing or other retirement trust fund or plan in which the partners,
                 beneficiaries or participants, as applicable, may designate the particular investments to be
                 made. It is acquiring its Class P Securities in a transaction that may be effected without
                 loss of any applicable Investment Company Act exemption. In addition, it acknowledges
                 that the Class P Securities are being offered, and it represents and warrants that it will
                 hold and transfer its interest in any Class P Security, only in the applicable minimum
                 denomination.

         2.      The Class P Securities are being purchased or transferred in accordance with the transfer
                 restrictions set forth in the Indenture and pursuant to an exemption from Securities Act
                 registration, and in accordance with applicable state securities laws or securities laws of
                 any other relevant jurisdiction. It understands that the Class P Securities have been
                 offered only in a transaction not involving any public offering in the United States within
                 the meaning of the Securities Act, the Class P Securities have not been and will not be
                 registered under the Securities Act or the securities laws of any states, and, if in the future
                 it decides to offer, resell, pledge or otherwise transfer the Class P Securities, such Class P
                 Securities may be offered, resold, pledged or otherwise transferred only in accordance
                 with an exemption from registration under such laws and pursuant to the provisions of the
                 Indenture and the legend on such Class P Securities. In particular, it understands that the
                 Class P Securities may be transferred only (a) in the form of a Certificated Class P
                 Security to a Qualified Purchaser that is a Qualified Institutional Buyer or (b) in the form
                 of an interest in a Temporary Regulation S Global Security or Regulation S Global
                 Security to a person that is not a “U.S. person” as defined in Regulation S under the
                 Securities Act. Purchasers and transferees who reside in certain states or jurisdictions
                 may be subject to additional suitability standards and/or specific holding periods before
                 the Class P Securities may be resold or otherwise transferred. It acknowledges that no
                 representation is made as to the availability of any exemption under the Securities Act or
                 any state or other securities laws for resale of the Class P Securities.
         3.      In connection with the purchase of the Class P Securities (provided that no such
                 representations in clauses (a), (b) or (c) below are made with respect to the Portfolio
                 Manager or its Affiliates by the Portfolio Manager or any Affiliate of the Portfolio
                 Manager or by any account managed or advised by the Portfolio Manager or any Affiliate
                 of the Portfolio Manager): (a) it understands that none of the Issuer, the Co-Issuer, the
                 Portfolio Manager, the Initial Purchaser, the Placement Agent, the Class E Certificate
                 Paying Agent, the Collateral Administrator, the Revolving Note Agent, the Delayed
                 Drawdown Note Agent or any of their respective Affiliates is acting as a fiduciary or

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             financial or investment adviser for it; (b) it is not relying (for purposes of making any
             investment decision or otherwise) upon any advice, counsel or representations (in each
             case whether written or oral) of the Co-Issuers, the Portfolio Manager, the Initial
             Purchaser, the Placement Agent, the Trustee, the Class E Certificate Paying Agent, the
             Revolving Note Agent, the Delayed Drawdown Note Agent, the Collateral Administrator
             or any of their respective Affiliates, agents and independent contractors in their capacities
             as such other than statements, if any, of such person in a current offering circular for the
             Class P Securities; (c) it has consulted with its own legal, regulatory, tax, business,
             investment, financial and accounting advisers to the extent it has deemed necessary and
             has made its own investment decisions based upon its own judgment and upon any advice
             from such advisers as it has deemed necessary and not upon any view expressed by the
             Issuer, the Initial Purchaser, the Placement Agent, the Portfolio Manager, the Trustee, the
             Class E Certificate Paying Agent, the Revolving Note Agent, the Delayed Drawdown
             Note Agent, the Collateral Administrator or any of their respective Affiliates, agents and
             independent contractors in their capacities as such; (d) its purchase of the Class P
             Securities will comply with all applicable laws in any jurisdiction in which it resides or is
             located; (e) it is acquiring the Class P Securities as principal solely for its own account
             for investment and not with a view to the resale, distribution or other disposition thereof
             in violation of the Securities Act; (f) it has made investments prior to the date hereof and
             was not formed solely for the purpose of investing in the Class P Securities; (g) it will not
             hold any Class P Securities for the benefit of any other person, it will at all times be the
             sole beneficial owner thereof for purposes of the Investment Company Act and all other
             purposes and it will not sell participation interests in the Class P Securities or enter into
             any other arrangement pursuant to which any other person shall be entitled to a beneficial
             interest in the dividends or distributions on the Class P Securities; (h) all Class P
             Securities (together with any other securities of the Co-Issuers) purchased and held
             directly or indirectly by it constitute in the aggregate an investment of no more than 40%
             of its assets or capital; and (i) it is a sophisticated investor and is purchasing the Class P
             Securities with a full understanding of all of the terms, conditions and risks thereof, and it
             is capable of assuming and willing to assume those risks.
       4.    (a) The purchaser is not, and is not acting on behalf of or using the assets of, (i) an
             “employee benefit plan” as defined in Section 3(3) of ERISA subject to Title I of ERISA,
             (ii) a plan described in Section 4975(e)(1) of the Code subject to Section 4975 of the
             Code, including without limitation, individual retirement accounts and Keogh plans, or
             (iii) an entity whose underlying assets include “plan assets” by reason of U.S.
             Department of Labor regulation Section 2510.3-101 or otherwise, including without
             limitation, as applicable, an insurance company general account; (b) if the purchaser is a
             governmental plan (as defined in Section 3(32) of ERISA) or a non-US plan (as described
             in Section 4(b)(4) of ERISA), its purchase, holding and subsequent transfer of the Class P
             Securities will not result in a violation of any applicable laws, rules, regulations, policies
             and guidelines to which it and its investments are subject; and (c) the purchaser and any
             person causing it to acquire any Class P Securities agrees to indemnify and hold harmless
             the Issuer, Co-Issuer, Portfolio Manager, Class E Certificate Paying Agent, Trustee,
             Collateral Administrator, the Revolving Note Agent, the Delayed Drawdown Note Agent,
             Placement Agent and Initial Purchaser and their respective Affiliates from any cost,
             damage or loss, liability, expense, claim, proceeding or excise tax incurred by them as a
             result of any of the foregoing representations being or becoming untrue. It understands
             that the representations made by it pursuant to this paragraph 4 shall be deemed made on
             each day from the date made through and including the date on which it disposes of its
             interests in the Class P Securities. It understands that the Issuer may require any holder
             of the Class P Securities that has made a false representation with respect to the foregoing
             matters to sell the Class P Securities and, if such holder does not comply with such
             demand within 30 days thereof, the Issuer may sell such holder’s interest in the Class P

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             Securities. It understands that any transfer effected in connection with such a
             representation that was false will be of no force and effect, will be void ab initio, and will
             not operate to transfer any rights to the transferee, notwithstanding any instructions to the
             contrary to the Issuer, the Class E Certificate Paying Agent or any intermediary.
       5.    The purchaser understands that the Indenture permits the Issuer to demand that any U.S.
             person (as defined in Regulation S) that is a Holder of a Certificated Class P Security
             who is determined not to be both (i) a Qualified Purchaser and (ii) a Qualified
             Institutional Buyer sell such Class P Certificate (a) to a Person who is both (i) a Qualified
             Institutional Buyer and (ii) a Qualified Purchaser, in a transaction meeting the
             requirements of Rule 144A of the Securities Act or (b) to a Person who is not a “U.S.
             person” as defined in Regulation S in a transaction meeting the requirements of
             Regulation S and, if the Holder does not comply with such demand within 30 days
             thereof, the Issuer may cause such Holder to sell its Class P Securities on such terms as
             the Issuer may choose.
       6.    The purchaser agrees to treat the Class P Security as a direct ownership interest in the
             corresponding components of the Class P Security. The purchaser acknowledges that it is
             its intent and that it understands it is the intent of the Issuer that, for purposes of U.S.
             federal income tax, state and local income and franchise tax and any other income taxes,
             the Issuer will be treated as a corporation, the Notes will be treated as indebtedness of the
             Issuer and the Class E Certificates (in the absence of an administrative determination or
             judicial ruling to the contrary) will be treated as equity in the Issuer; the purchaser agrees
             to such treatment and agrees to take no action inconsistent with such treatment.
       7.    The purchaser acknowledges that the Issuer is not authorized to engage in activities that
             could cause it to constitute a finance or lending business for federal income tax purposes
             and agrees that it will report its investment in the Class P Securities in a manner
             consistent with such limitation, and in particular will not treat the Issuer as an “eligible
             controlled foreign corporation” for purposes of Section 954(h) of the Code or as deriving
             income described in Section 1297(b)(2) of the Code.
       8.    It has provided the Trustee and the Class E Certificate Paying Agent on or immediately
             prior to its purchase of the Class P Securities with a properly completed Form W-9 if it is
             a “U.S. person” for purposes of the Code that is not exempt from such requirement, and a
             properly completed Form W-8BEN if it is not a “U.S. person.”
       9.    The purchaser is not purchasing the Class P Securities in order to reduce any United
             States federal income tax liability or pursuant to a tax avoidance plan. In the case of a
             purchaser that is a bank (as defined in Section 881(c)(3)(A) of the Code) or an affiliate of
             such a bank, the purchaser (a) is acquiring the Class P Securities as a capital markets
             investment and will not for any purpose treat the assets of the Issuer as loans acquired in
             its banking business and (b) has not proposed or identified, and will not propose or
             identify, any security or loan for inclusion in the Collateral.
       10.   In the case of any purchaser that is not a United States person (as defined in Section
             7701(a)(30) of the Code), the purchaser is not a bank (as defined in Section 881(c)(3)(A)
             of the Code) or an affiliate of such a bank, unless the purchaser is a person that is eligible
             for benefits under an income tax treaty with the United States that eliminates United
             States federal income taxation of United States source interest not attributable to a
             permanent establishment in the United States.
       11.   The purchaser agrees to notify subsequent transferees of all transfer restrictions
             applicable to holders of Class P Securities set forth in the Indenture or described in this
             Offering Memorandum.



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       12.   The purchaser acknowledges that no governmental agency has passed upon the Class P
             Securities or made any finding or determination as to the fairness of an investment in the
             Class P Securities.
       13.   The purchaser acknowledges that certain persons or organizations will perform services
             on behalf of the Co-Issuers and will receive fees and/or compensation for performing
             such services as described in this Offering Memorandum and the Indenture and Class E
             Certificate Documents.
       14.   Within five days after receipt of a written request therefor from the Issuer, the Trustee or
             the Class E Certificate Paying Agent, the purchaser agrees to provide any information
             and to execute and deliver such documents that may reasonably be necessary to comply
             with the laws and ordinances to which the Issuer is subject by reason of the offering of
             the Class P Securities and the involvement of the purchaser therewith.
       15.   The purchaser acknowledges that the Class P Securities do not represent deposits with or
             other liabilities or obligations of, and are not guaranteed or endorsed by, the Placement
             Agent, the Initial Purchaser, the Portfolio Manager, the Trustee, the Class E Certificate
             Paying Agent, the Revolving Note Agent, the Delayed Drawdown Note Agent, the
             Collateral Administrator or any of their respective Affiliates or any entity related to any
             of them or any other holder of Class P Securities. It acknowledges that none of such
             persons will, in any way, be responsible for or stand behind the value or the performance
             of the Class P Securities. It acknowledges that purchase of Class P Securities involves
             investment risks including possible delay in payment of distributions and loss of income
             and principal invested.
       16.   It understands that the Stated Maturity of the Class P Securities is subject to up to four
             extensions of four years each (to a latest possible date of November 1, 2033) without
             consent of any beneficial owners of Securities if certain conditions are satisfied.
       17.   It understands that in the case of any amendment to the Indenture that requires consent of
             one or more holders of Class P Securities, this Indenture and Class E Certificate
             Documents permit the Amendment Buy-Out Purchaser to purchase at the Amendment
             Buy-Out Purchase Price the Class P Class E Certificate Component of Class P Securities
             from any holder thereof that either (i) has declared in writing that it will not consent to
             such amendment or (ii) had not consented to such amendment by the last day on which
             consent could be given in accordance with the request therefor, and such holder will be
             required to exchange its Class P Securities for the components thereof and sell the Class
             E Certificates represented by such Class E Certificate Component to the Amendment
             Buy-Out Purchaser at the Amendment Buy-Out Purchase Price. In addition, in the case
             of any vote by holders of Class P Securities to remove the Portfolio Manager without
             cause, the Class E Certificate Documents permit the Removal Buy-Out Purchaser to
             purchase at the Buy-Out Amount, the Class P Class E Certificate Component thereof
             from any holder that voted in favor of such removal, and such holder will be required to
             exchange its Class P Securities for the components thereof and sell the Class E
             Certificates represented by such Class E Certificate Component to the Removal Buy-Out
             Purchaser at the Buy-out Amount.
       18.   The purchaser understands that the Co-Issuers, the Trustee, the Class P Securities Paying
             Agent, the Initial Purchaser, the Placement Agent, the Portfolio Manager, the Revolving
             Note Agent, the Delayed Drawdown Note Agent, the Collateral Administrator and their
             respective counsel will rely upon the accuracy and truth of the foregoing representations,
             and it hereby consents to such reliance.




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 Transferees of Interests in Class P Securities in the form of Temporary Regulation S Global
 Securities and Regulation S Global Securities

         Each initial purchaser and subsequent transferee of Class P Securities taking delivery in the form
 of a Temporary Regulation S Global Security or Regulation S Global Security will be deemed to have
 made the representations set forth in paragraphs 2, 3, 4, 6, 7, 9, 10, 11, 12, 13, 15, 16 and 17 above and in
 addition to have further represented and agreed as follows:

         1.      It is aware that the sale of Class P Securities to it is being made in reliance on the
                 exemption from registration provided by Regulation S and understands that the Class P
                 Securities offered in reliance on Regulation S will bear the legend set forth above. It and
                 each beneficial owner of its Class P Securities is not, and will not be, a U.S. person as
                 defined in Regulation S under the Securities Act, and its purchase of the Class P
                 Securities will comply with all applicable laws in any jurisdiction in which it resides or is
                 located. In addition, it represents and warrants that it will (i) provide notice to any
                 subsequent transferee of the transfer restrictions provided in such legend and in the
                 Indenture, (ii) hold and transfer its beneficial interest in any Class P Securities only in a
                 Face Amount of not less than the applicable minimum denomination; and (iii) provide the
                 Issuer from time to time such information as it may reasonably request in order to
                 ascertain compliance with this paragraph 1.

         2.      It understands that the Indenture permits the Issuer to demand that any holder of a
                 beneficial interest in Class P Securities in the form of a Temporary Regulation S Global
                 Security or Regulation S Global Security who is determined not to have acquired such
                 beneficial interest in compliance with the requirements of Regulation S or who is a U.S.
                 person (as defined in Regulation S) sell such beneficial interest (a) to a Person who is not
                 a U.S. person (as defined in Regulation S) in a transaction meeting the requirements of
                 Regulation S or (b) to a Person who will take delivery of the holder’s interest in the
                 Temporary Regulation S Global Securities or Regulation S Global Securities in the form
                 of a Certificated Class P Certificate, who is both (i) a Qualified Institutional Buyer and
                 (ii) a Qualified Purchaser, in a transaction meeting the requirements of Rule 144A of the
                 Securities Act, and, if the holder does not comply with such demand within 30 days
                 thereof, the Issuer may cause the holder to sell its beneficial interest on such terms as the
                 Issuer may choose.

         3.      Such beneficial owner is aware that, except as otherwise provided in the Indenture, the
                 Class P Securities being sold to it will be represented (a) initially, by one or more
                 Temporary Regulation S Global Securities and (b) after the Exchange Date, by one or
                 more Regulation S Global Securities, and that beneficial interests therein may be held
                 only through Euroclear or Clearstream.

         4.      A holder of a beneficial interest in a Temporary Regulation S Global Security must
                 provide Euroclear or Clearstream or the participant organization through which it holds
                 such interest, as applicable, with a certificate certifying that the beneficial owner of the
                 interest in the Temporary Regulation S Global Security is a non-U.S. person (as defined
                 in Regulation S), and Euroclear or Clearstream, as applicable, must provide to the Trustee
                 a certificate to such effect, prior to (a) the payment of interest or principal or other
                 amounts with respect to such holder’s beneficial interest in the Temporary Regulation S
                 Global Security and (b) any exchange of such beneficial interest for a beneficial interest
                 in a Regulation S Global Security and no payment will be made to the holder of any
                 beneficial interest in a Temporary Regulation S Global Security unless such holder has
                 provided Euroclear or Clearstream or such participant organization through which it
                 holds such interest with such certificate.


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       5.    It understands that any resale or other transfer of beneficial interests in a Temporary
             Regulation S Global Security or Regulation S Global Security to U.S. persons (as defined
             in Regulation S) shall not be permitted.

       6.    It understands that the Co-Issuers, the Trustee, the Class E Certificate Paying Agent, the
             Initial Purchaser, the Placement Agent, the Portfolio Manager, the Revolving Note
             Agent, the Delayed Drawdown Note Agent, the Collateral Administrator and their
             respective counsel will rely upon the accuracy and truth of the foregoing representations,
             and it hereby consents to such reliance.




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                               LISTING AND GENERAL INFORMATION
          Application will be made to the Irish Stock Exchange for the Notes to be admitted to the Daily
 Official List. No assurances can be given that any such listing will be obtained with respect to the Notes.
 The issuance and settlement of the Securities on the Closing Date are not conditioned on the listing of any
 Notes on the Irish Stock Exchange. As part of the harmonization of securities markets in Europe, the
 European Commission has adopted a directive known as the Prospectus Directive (which was required to
 be implemented by Member States by July 1, 2005) that will regulate offers of securities to the public and
 admissions to trading to E.U. regulated markets. A directive known as the Transparency Directive which
 came into force in the European Union at the beginning of 2005 and is required to be implemented by
 Member States by early 2007, will among other things, impose continuing financial reporting obligations
 on issuers that have certain types of securities admitted to trading on an E.U. regulated market. In
 addition, the Market Abuse Directive harmonizes the rules on insider trading and market manipulation in
 respect of securities admitted to trading on an E.U. regulated market and requires issuers of such
 securities to disclose any non-public price-sensitive information as soon as possible, subject to certain
 limited exemptions. The listing of the Notes on the Irish Stock Exchange would subject the Issuer to
 regulation under these directives, although the requirements applicable to the Issuer are not yet fully
 clarified. The Indenture will not require the Issuer to maintain a listing for any Class of Notes on an E.U.
 stock exchange if compliance with these directives (or other requirements adopted by the European
 Commission or a relevant Member State) becomes burdensome in the sole judgment of the Portfolio
 Manager.

         If and for so long as any Class of Notes is listed on the Irish Stock Exchange, copies of the Issuer
 Charter, the Certificate of Incorporation and By-laws of the Co-Issuer and the resolutions of the Board of
 Directors of the Co-Issuers authorizing the issuance of the Notes and the Indenture will be available for
 inspection at the office of the Trustee. The Issuer is not required by Cayman Islands law, and the Issuer
 does not intend, to publish annual reports and accounts. The Co-Issuer is not required by Delaware law,
 and the Co-Issuer does not intend, to publish annual reports and accounts. The Indenture, however,
 requires the Issuer to provide the Trustee with written confirmation, on an annual basis, that to the best of
 its knowledge following review of the activities of the prior year, no Event of Default or other matter
 required to be brought to the Trustee’s attention has occurred or, if one has, specifying the same.

          Each of the Co-Issuers represents that, as of the date of this Offering Memorandum, there has
 been no material adverse change in its financial position since the date of its creation. Neither of the Co-
 Issuers is involved, or has been involved since incorporation, in any litigation or arbitration proceedings
 relating to claims on amounts which may have or have had a material effect on the Co-Issuers in the
 context of the issue of the Securities, nor, so far as such Issuer or Co-Issuer, as applicable, is aware, is any
 such litigation or arbitration involving it pending or threatened.

          The issuance of the Securities will be authorized by the Board of Directors of the Issuer by
 resolution passed on or about the Closing Date. The issuance of the Notes was authorized by the Board of
 Directors of the Co-Issuer by resolution passed on or about the Closing Date. Since incorporation, neither
 the Issuer nor the Co-Issuer has commenced trading, established any accounts or declared any dividends,
 except for the transactions described herein relating to the issuance of the Securities.

         Application has been made to the Cayman Islands Stock Exchange for the Class E Certificates,
 the Class Q-1 Securities and the Class P Securities to be admitted to the official list of the Cayman Islands
 Stock Exchange. No assurances can be given that any such listing will be obtained with respect to the
 Class E Certificates, the Class Q-1 Securities or the Class P Securities. The issuance and settlement of
 the Securities on the Closing Date are not conditioned on the listing of any Class E Certificates, Class Q-1
 Securities or Class P Securities on the Cayman Islands Stock Exchange.


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                                           IDENTIFYING NUMBERS
         The Securities sold in offshore transactions in reliance on Regulation S and represented by
 Regulation S Global Securities have been accepted for clearance under the Common Codes in the table
 below. The table also lists the CUSIP (CINS) Numbers, the International Securities Identification
 Numbers (ISIN) and the WKN numbers for each Class of Securities.
                        Security                                 CUSIP     Common Code       ISIN

 Class A-1A Notes
 Certificated Class A-1A Notes                               530361 AA 2                 US530361AA23

 Class A-1B Notes
 Certificated Class A-1B Notes                               530361 AC 8                 US530361AC88

 Class A-1C Notes
 Rule 144A Global Notes                                      530361 AE 4                 US530361 AE45
 Regulation S Global Securities                              G27868 AC 5    023730383    USG27868 AC51

 Class A-2 Notes
 Rule 144A Global Notes                                      530361 AG 9                 US530361 AG92
 Regulation S Global Securities                              G27868 AD 3    023730448    USG27868 AD35

 Class A-3 Notes
 Rule 144A Global Notes                                      530361 AJ 3                 US530361 AJ32
 Regulation S Global Securities                              G27868 AE 1    023730499    USG27868 AE18

 Class A-4 Notes
 Rule 144A Global Notes                                      530361 AL 8                 US530361 AL87
 Regulation S Global Securities                              G27868 AF 8    023730529    USG27868 AF82

 Class B Notes
 Rule 144A Global Notes                                      530361 AN 4                 US530361 AN44
 Regulation S Global Securities                              G27868 AG 6    023730553    USG27868 AG65

 Class C Notes
 Rule 144A Global Notes                                      530361 AQ 7                 US530361 AQ74
 Regulation S Global Securities                              G27868 AH 4    023730618    USG27868 AH49

 Class E Certificates
 Regulation S Global Securities                              G27867 20 2    023730707    KYG278672020
 Certificated Class E Certificates (Rule 144A)               530360 20 5                 US5303602057
 Certificated Class E Certificates (Accredited Investor)     530360 30 4                 US5303603048

 Class Q-1 Securities
 Regulation S Global Securities                              G27867 AC 7    023730839    USG27867 AC78
 Certificated Class Q-1 Securities (Rule 144A)               530360 AE 6                 US530360 AE61

 Class P-1 Securities
 Regulation S Global Securities                              G27867 AA 1    023730740    USG27867 AA13
 Certificated Class P-1 Securities (Rule 144A)               530360 AA 4                 US530360 AA40

 Class P-2 Securities
 Regulation S Global Securities                              G27867 AB 9    023730774    USG27867AB95
 Certificated Class P-2 Securities (Rule 144A)               530360 AC 0                 US530360AC06




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                                         LEGAL MATTERS
         Certain legal matters will be passed upon for the Co-Issuers and the Initial Purchaser and the
 Placement Agent by Cleary Gottlieb Steen & Hamilton LLP, New York, New York. Certain U.S. federal
 income tax matters will be passed upon for the Issuer by Freshfields Bruckhaus Deringer LLP. Certain
 matters with respect to Cayman Islands law will be passed upon for the Issuer by Walkers, George Town,
 Grand Cayman, Cayman Islands. Certain legal matters will be passed upon for the Portfolio Manager by
 Orrick, Herrington & Sutcliffe LLP, Los Angeles, California.




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                                   GLOSSARY OF DEFINED TERMS
         “Accrued Interest On Sale” means interest accrued on a Collateral Obligation at the time of sale
 or other disposition to the extent paid to the Issuer as part of the sale or other disposition price of the
 Collateral Obligation after deduction of any amount representing Accrued Interest Purchased With
 Principal of the Collateral Obligation.

          “Accrued Interest Purchased With Principal” means (i) interest accrued on or purchased with
 a Collateral Obligation as part of the price paid by the Issuer to acquire the Collateral Obligation less any
 amount of Interest Proceeds (applied as Interest Proceeds) applied by the Issuer to acquire the accrued
 interest at the time of purchase and (ii) interest accrued on a Warehoused Loan as part of the price paid by
 the Issuer, if any, to repurchase and terminate the related participation under the Warehouse Agreement.

          “Act” means any request, demand, authorization, direction, notice, consent, waiver or other
 action to be given or taken by Noteholders or Holders of Class E Certificates under the Indenture
 embodied in and evidenced by one or more instruments (which may be an electronic document, including
 but not limited to in the form of e-mail, to the extent permitted by applicable law) of substantially similar
 tenor signed by Noteholders or Holders of Class E Certificates in person or by agents duly appointed in
 writing (provided that no signature shall be required on electronic documents, including but not limited to
 in the form of e-mail to the extent permitted by law). Except as otherwise expressly provided in the
 Indenture the action will become effective when the instruments are delivered to the Trustee (which
 instrument or instruments may be delivered through the Class E Certificate Paying Agent, in the case of
 the Holders of the Class E Certificates) and, if expressly required, to the Issuer. The instruments (and the
 action embodied in them) are referred to as the “Act” of the Noteholders or Holders of Class E
 Certificates signing the instruments.

         “Administrative Expense Cap” means, an amount on any Payment Date equal to the excess of:

                (i)     the sum of 0.04% of the Maximum Investment Amount on the related
         Determination Date plus $150,000, over

                 (ii)    the sum of the amounts paid for Administrative Expenses in the twelve months
         preceding the current Payment Date;

                provided that the Administrative Expense Cap for each of the first three Payment Dates
 shall be an amount equal to the excess of:

                 (i) the sum of (x) 0.04% of the Maximum Investment Amount plus $150,000, multiplied
 by (y) the actual days elapsed from the Closing Date to such Payment Date divided by 360, over

                 (ii) the sum of the amounts paid as Administrative Expenses since (but excluding) the
         Closing Date.

         “Administrative Expenses” means amounts due or accrued representing:

                  (i)     tax preparation, filing, and registration fees or expenses and any other filing and
         registration fees owed by the Co-Issuers (including all filing, registration, and annual return fees
         payable to the Cayman Islands government and registered office fees);

                 (ii)   fees, indemnities and expenses of the Trustee (including all amounts under
         Section 6.7 of the Indenture), the Administrator, the Class E Certificate Paying Agent. the
         Collateral Administrator, the Revolving Note Agent and the Delayed Drawdown Note Agent;



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                 (iii)  fees, indemnities and expenses of either of the Co-Issuers and of accountants,
         agents and counsel for either of the Co-Issuers;

                 (iv)    fees and expenses of the Rating Agencies in connection with any rating of the
         Notes owed by either Co-Issuer (including fees and expenses for ongoing surveillance, credit
         estimates and other fees owing to the Rating Agencies);

                 (v)     expenses and indemnities (but not Management Fees) of the Portfolio Manager if
         payable under the Management Agreement;

                (vi)     fees, expenses, and indemnities for third-party loan pricing services and
         accountants; and

                 (vii)    any other amounts due to any other Person (except the Portfolio Manager) if
         specifically provided for in the Indenture, including fees, expenses and indemnities in connection
         with any Securities Lending Agreement

         “Affiliate” or “Affiliated” means with respect to a Person,

                 (i)   any other Person who, directly or indirectly, is in control of, or controlled by, or
         is under common control with, the Person; or

                (ii)    any other Person who is a director, officer or employee (A) of the Person, (B) of
         any subsidiary or parent company of the Person or (C) of any Person described in clause (i)
         above.

 For the purposes of this definition, control of a Person shall mean the power, direct or indirect:

                 (A)      to vote more than 50% of the securities having ordinary voting power for the
         election of directors of the Person; or

                 (B)     to direct the corporate management and corporate policies of the Person whether
         by contract or otherwise (this does not include the Management Agreement unless it is amended
         expressly to provide those services).

 For the purpose of this definition, the Administrator and its Affiliates are neither Affiliates of nor
 Affiliated with the Co-Issuers and the Co-Issuers are neither Affiliates of nor Affiliated with the
 Administrator, or any of its Affiliates.

        “Aggregate Commitment Amount”: The aggregate of all Commitments with respect to all
 Class A-1A Notes.

          “Aggregate Outstanding Amount” means, used with respect to (i) any of the Notes (other than
 the Class A-1A Notes and the Class A-1B Notes) as of any date, the aggregate principal amount of the
 Notes (including, in the case of the Class C Notes, the Class Q-1 Note Component) on that date, (ii) the
 Class A-1A Notes as of any date, (a) prior to the termination date of the Commitments (x) for purposes of
 any Overcollateralization Test and the Reinvestment Overcollateralization Test, the aggregate Drawn
 Amount of Class A-1A Notes plus an amount equal to the lesser of (A) the Aggregate Undrawn Amount
 of the Class A-1A Notes and (B) the Aggregate Unfunded Amount minus the amount credited to the
 Revolving Reserve Account, and (y) for any other purpose, the Aggregate Commitment Amount and (b)
 after the termination date of the Commitments, for all purposes, the aggregate Drawn Amount, (iii) the
 Class A-1B Notes as of any date, (a) prior to the first Payment Date, the Fully Drawn Amount and (b)
 from and after the first Payment Date, the aggregate principal amount of the Class A-1B Notes on that
 date, (iv) the Class E Certificates as of any date, means the number of such Class E Certificates

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 Outstanding on such date in respect of such Class E Certificates, and (v) the Class P Securities, the Class
 P-1 Nominal Principal Outstanding and the Class P-2 Nominal Principal Outstanding, as applicable, on
 the date of determination.

         Except as otherwise provided herein:

                 (i)     the Aggregate Outstanding Amount of the Class A-1A Notes at any time shall
         include any Defaulted Interest in respect thereof and (to the extent not included in any such
         Defaulted Interest) accrued interest on such Defaulted Interest;

                 (ii)    the Aggregate Outstanding Amount of the Class A-1B Notes at any time shall
         include any Defaulted Interest in respect thereof and (to the extent not included in any such
         Defaulted Interest) accrued interest on such Defaulted Interest;

                 (iii)   the Aggregate Outstanding Amount of the Class A-1C Notes at any time shall
         include any Defaulted Interest in respect thereof and (to the extent not included in any such
         Defaulted Interest) accrued interest on such Defaulted Interest;

                 (iv)    the Aggregate Outstanding Amount of the Class A-2 Notes at any time shall
         include any Defaulted Interest in respect thereof and (to the extent not included in any such
         Defaulted Interest) accrued interest on such Defaulted Interest;

                 (v)     the Aggregate Outstanding Amount of the Class A-3 Notes at any time shall
         include any Defaulted Interest in respect thereof and (to the extent not included in any such
         Defaulted Interest) accrued interest on such Defaulted Interest;

                 (vi)    the Aggregate Outstanding Amount of the Class A-4 Notes at any time shall
         include any Defaulted Interest in respect thereof and (to the extent not included in any such
         Defaulted Interest) accrued interest on such Defaulted Interest;

                 (vii)    the Aggregate Outstanding Amount of the Class B Notes at any time shall
         include all Class B Deferred Interest attributed thereto; and

                 (viii) the Aggregate Outstanding Amount of the Class C Notes at any time shall
         include all Class C Deferred Interest attributed thereto.

          “Aggregate Principal Balance” means, when used with respect to the Pledged Obligations, the
 sum of the Principal Balances of all the Pledged Obligations. When used with respect to a portion of the
 Pledged Obligations, the term Aggregate Principal Balance means the sum of the Principal Balances of
 that portion of the Pledged Obligations.

         “Aggregate Purchase Price Amount” means, when used with respect to the Pledged
 Obligations, the sum of the Purchase Price Amounts of all the Pledged Obligations. When used with
 respect to a portion of the Pledged Obligations, the term Aggregate Purchase Price Amount means the
 sum of the Purchase Price Amounts of that portion of the Pledged Obligations.

        “Aggregate Undrawn Amount” means at any time, (i) with respect to the Class A-1A Notes, the
 aggregate Undrawn Amounts of all Class A-1A Notes; and (ii) with respect to the Class A-1B Notes, the
 aggregate Undrawn Amounts of all Class A-1B Notes.

       “Aggregate Unfunded Amount”: As of any date of determination, the aggregate Unfunded
 Amounts with respect to all Revolving Loans and Delayed Drawdown Loans held by the Issuer as of such
 date.


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          “Allocable Principal Balance” means, with respect to a Synthetic Security based upon or
 relating to a senior secured index investment providing non-leveraged credit exposure to a basket of credit
 default swaps referencing a diversified group of Reference Obligations with respect to which the principal
 or notional amount of the credit exposure to any single Reference Obligation does not increase over time,
 the portion of the aggregate Principal Balance of such Synthetic Security that is allocable to each
 Reference Obligation comprising such index or indices based upon allocating the Principal Balance of
 such Synthetic Security among such Reference Obligations in the same proportion as each Reference
 Obligation bears to the aggregate Principal Balance of such Synthetic Security.

                    “Amendment Buy-Out Purchase Price” means the purchase price payable by the
 Amendment Buy-Out Purchaser for Securities purchased in an Amendment Buy-Out, if any, in an amount
 equal to (i) in the case of the Notes, the Aggregate Outstanding Amount thereof, plus accrued and unpaid
 interest (including Deferred Interest, if any) to the date of purchase by the Amendment Buy-Out
 Purchaser, payable to the Non-Consenting Holder (giving effect to any amounts paid by the Issuer to the
 Holder on such date), plus any unpaid Extension Bonus Payment, plus in the case of an Amendment Buy-
 Out prior to the end of the Non-Call Period and the Class A-1 Notes purchased in an Amendment Buy-
 Out only, an amount equal to the sum of the present values as of the date of the Amendment Buy-Out of
 the spread portion of the interest amount that would be payable with respect to (x) the aggregate Drawn
 Amount of such Class A-1A Notes as of the date of the Amendment Buy-Out and (y) the aggregate
 principal amount of such Class A-1B Notes and Class A-1C Notes, as applicable, as of the date of the
 Amendment Buy-Out, in each case on each Payment Date from the date of the Amendment Buy-Out to
 the end of the Non-Call Period, discounted at the applicable forward LIBOR rate for the period from the
 date of the Amendment Buy-Out to the relevant Payment Date, (ii) in the case of the Class E Certificates,
 an amount that, when taken together with all payments and distributions made in respect of such Class E
 Certificates since the Closing Date (and amounts, if any, that due to the fact that the date of the
 Amendment Buy-Out is after the related Record Date, are payable to the Non-Consenting Holder on the
 next succeeding Payment Date notwithstanding the Amendment Buy-Out) would cause such Class E
 Certificates to have received a Class E Certificate Internal Rate of Return of 12% (assuming such
 purchase date was a “Payment Date” under the Indenture); provided, however, that in any Amendment
 Buy-Out from and after the date on which the Non-Consenting Holders of Class E Certificates have
 received a Class E Certificate Internal Rate of Return equal to or in excess of 12%, the Amendment Buy-
 Out Purchase Price for such Class E Certificates shall be zero; and (iii) in the case of the Class Q-1
 Securities, based on the respective purchase prices for the relevant Class Q-1 Note Component and the
 Class Q-1 Class E Certificate Component thereof.

         “Amendment Buy-Out Purchaser” means the Portfolio Manager (or any of its Affiliates acting
 as principal or agent); provided that in the event that the Portfolio Manager elects not to purchase
 Securities from Holders pursuant to “Description of the Securities—Amendment Buy-Out”, “Amendment
 Buy-Out Purchaser” shall mean one or more qualifying purchasers (which may include the Initial
 Purchaser or the Placement Agent or any of their Affiliates acting as principal or agent) designated by the
 Portfolio Manager; provided, however, none of the Portfolio Manager, the Initial Purchaser, the
 Placement Agent or any of their respective Affiliates shall have any duty to act as an Amendment Buy-
 Out Purchaser.

         “Applicable Note Interest Rate” means, with respect to the Notes of any Class, the Note Interest
 Rate with respect to such Class.

        “Applicable Percentage” means the lesser of the Moody’s Priority Category Recovery Rate and
 the S&P Priority Category Recovery Rate applicable to the Collateral Obligation as specified in the tables
 below. High-Yield Bonds do not include Structured Finance Obligations for this purpose.




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 Moody’s Priority                                           Moody’s Priority Category
 Category                                                       Recovery Rate
 Synthetic Securities............... In the case of:
                                   (i)    a Form-Approved Synthetic Security, the “Moody’s Priority
                                   Category Recovery Rate” given by Moody’s to the Form-Approved
                                   Synthetic Security at the time of approval of the Form-Approved Synthetic
                                   Security by Moody’s; and
                                   (ii)   any other Synthetic Security, the “Moody’s Priority Category
                                   Recovery Rate” given by Moody’s to the Synthetic Security at the time of
                                   acquisition of the Synthetic Security.
 Structured Finance
 Obligations............................ The Moody’s Priority Category Recovery Rate determined in accordance with the
                                   Moody’s Structured Finance Obligation Recovery Rates set forth in Schedule 5 to
                                   the Indenture by reference to the type of asset and its then Moody’s Rating (or,
                                   with respect to assets to which that schedule does not apply, on a case-by-case
                                   basis in connection with the grant of the relevant Collateral Obligation).
 Unsecured DIP Loans and
 any Collateral Obligations
 not covered above or below .. As determined by Moody’s on a case-by-case basis.


 For High-Yield Bonds, Moody’s Senior Secured Loans and Moody’s Non Senior Secured Loans, the
 relevant Moody’s Priority Category Recovery Rate is the rate determined pursuant to the table below
 based on the number of rating subcategories difference between the High-Yield Bond’s or Loan’s
 Moody’s Obligation Rating and its Moody’s Default Probability Rating (for purposes of clarification, if
 the Moody’s Obligation Rating is higher than the Moody’s Default Probability Rating, the rating
 subcategories difference will be positive and if it is lower, negative):


 Number of Moody’s Rating Subcategories                                     Moody’s
    Difference Between the Moody’s                        Moody’s          Non Senior
   Obligation Rating and the Moody’s                       Senior           Secured          High-Yield
       Default Probability Rating                      Secured Loans         Loans             Bonds
               +2 or more                                   60.0%            45.0%             40.0%
                   +1                                       50.0%            42.5%             35.0%
                    0                                       45.0%            40.0%             30.0%
                    -1                                      40.0%            30.0%             15.0%
                    -2                                      30.0%            15.0%             10.0%
                -3 or less                                  20.0%            10.0%              2.0%

 If no Moody’s Priority Category Recovery Rate has been specifically assigned with respect to a Loan
 pursuant to the above table, and the Loan is a secured DIP Loan, the relevant Moody’s Priority Category
 Recovery Rate is 50.0%.




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                                                                          S&P Priority Category
          S&P Priority Category                                              Recovery Rate
 Senior Secured Loans (other than DIP                                                 55.0%
 Loans) ...........................................
 Senior Unsecured Loans ...............                                               37.5%
 Second Lien ..................................                                       37.5%
 Subordinated Lien Loans (other than                                                  21.5%
 DIP Loans) ....................................
 Senior secured High-Yield Bonds                                                      44.0%
 (other than Structured Finance
 Obligations) ..................................
 Senior unsecured High-Yield Bonds                                                    30.0%
 (other than Structured Finance
 Obligations) ..................................
 Subordinated High-Yield Bonds                                                        18.0%
 (other than Structured Finance
 Obligations) ..................................
 Structured Finance Obligations.....                  The S&P Priority Category Recovery Rate determined in
                                                      accordance with the S&P Structured Finance Obligation
                                                      Recovery Rates set forth in Schedule 6 to the Indenture by
                                                      reference to the type of asset and its then S&P Rating (or, with
                                                      respect to assets to which that table does not apply, on a case by
                                                      case basis in connection with the grant of the relevant Collateral
                                                      Obligation).
 Synthetic Securities.......................          As assigned by S&P on a case-by-case basis in connection with
                                                      the grant of the relevant Collateral Obligation.
 DIP Loans and any Collateral
 Obligation not covered above .......
                                                      As assigned by S&P on a case-by-case basis.


        “Approved Pricing Service” means Loan Pricing Corporation, LoanX Inc., Markit Group
 Limited or any other nationally recognized loan pricing service approved in writing by S&P.

         “Ask-Side Market Value” means, as of any Measurement Date, the market value determined by
 the Portfolio Manager and reported to the Trustee as an amount rather than as a percentage or fraction of
 par (expressed in Dollars) of any lent Collateral Obligation based upon the Portfolio Manager’s
 commercially reasonable judgment and based upon the following order of priority: (i) the average of the
 ask-side market prices obtained by the Portfolio Manager from three independent broker-dealers active in
 the trading of such obligations which are also independent from the Portfolio Manager or (ii) if the
 foregoing set of prices could not be obtained, the higher of the ask-side market prices obtained by the
 Portfolio Manager from two independent broker-dealers active in the trading of such obligations which
 are also independent from the Portfolio Manager or (iii) if the foregoing sets of prices could not be
 obtained, the average of the ask-side prices for the purchase of such Collateral Obligation determined by
 an Approved Pricing Service (independent from the Portfolio Manager) that derives valuations by polling
 broker-dealers (independent from the Portfolio Manager); provided that if the Ask-Side Market Value of
 any lent Collateral Obligation cannot be so determined then such Collateral Obligation shall be deemed to
 have a Market Value equal to the outstanding principal balance thereof.


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         “Assigned Moody’s Rating” means the monitored publicly available rating or the monitored
 estimated rating expressly assigned to a debt obligation (or facility) by Moody’s that addresses the full
 amount of the principal and interest promised.

          “Authorized Officer” means, with respect to the Issuer or the Co-Issuer, any Officer or agent
 who is authorized to act for the Issuer or the Co-Issuer, as applicable, in matters relating to, and binding
 on, the Issuer or the Co-Issuer. With respect to the Portfolio Manager, any managing member, Officer,
 manager, employee, partner or agent of the Portfolio Manager who is authorized to act for the Portfolio
 Manager in matters relating to, and binding on, the Portfolio Manager with respect to the subject matter of
 the request, certificate or order in question. With respect to the Trustee or any other bank or trust
 company acting as trustee of an express trust or as custodian, a Trust Officer. Each party may receive and
 accept a certification of the authority of any other party as conclusive evidence of the authority of any
 Person to act, and the certification may be considered as in full force and effect until receipt by the other
 party of written notice to the contrary.

          “Average Life” means, as of any Measurement Date with respect to any Collateral Obligation
 (other than any Defaulted Collateral Obligation), the quotient obtained by dividing:

                    (i)     the sum of the products of:

                            (A)      the number of years (rounded to the nearest hundredth) from the
                    Measurement Date to the respective dates of each successive scheduled payment of
                    principal of the Collateral Obligation; and

                            (B)      the respective amounts of the successive scheduled payments of principal
                    of the Collateral Obligation; by

                    (ii)    the sum of all successive scheduled payments of principal of the Collateral
            Obligation.

            “Bank” means JPMorgan Chase Bank, National Association, in its individual capacity and not as
 Trustee.

            “Bankruptcy Code” means the U.S. Bankruptcy Code, Title 11 of the United States Code.

         “Bankruptcy Law” means the Bankruptcy Code, Part V of the Companies Law (2004 Revision)
 of the Cayman Islands and the Bankruptcy Law (1997 Revision) of the Cayman Islands.

         “Board of Directors” means with respect to the Issuer, the directors of the Issuer duly appointed
 by a resolution of the holders of the Ordinary Shares or by resolution of the Board of Directors and, with
 respect to the Co-Issuers, the directors of the Co-Issuer duly appointed by the stockholders of the Co-
 Issuer.

        “Borrowings” has the meaning specified under “Description of the Securities—Class A-1A
 Notes Borrowings.”

          “Bridge Loan” means any obligation or security incurred in connection with a merger,
 acquisition, consolidation, sale of all or substantially all of the assets of a person or entity, restructuring or
 similar transaction, which obligation or security by its terms is required to be repaid within one year of
 the incurrence thereof with proceeds from additional borrowings or other refinancing (other than any
 additional borrowing or refinancing if one or more financial institutions shall have provided the issuer of
 such obligation or security with a binding written commitment to provide the same). For the avoidance of
 doubt, a DIP Loan will not constitute a Bridge Loan.


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         “Business Day” means a day on which commercial banks and foreign exchange markets settle
 payments in New York City, and any other city in which the Corporate Trust Office of the Trustee is
 located and, in the case of the final payment of principal of any Note, the place of presentation of the Note
 designated by the Trustee; provided, however that, for purposes of determining LIBOR, “Business Day”
 must also be a day on which dealings in deposits in Dollars are transacted in the London interbank
 market.

         “Buy-out Amount” means, with respect to the Directing Class E Certificates, an amount, when
 taken together with all payments and distributions made in respect of such Directing Class E Certificates
 since the Closing Date, would cause the Directing Class E Certificates to have received (as of the date of
 the Portfolio Manager’s purchase thereof) a Class E Certificate Internal Rate of Return of 12.0%
 (assuming such purchase date was a “Payment Date” under the Indenture); provided that in the case of
 any such purchase by the Portfolio Manager on a date after the Payment Date in November 2018, and
 solely with respect to any single Holder of Directing Class E Certificates holding U.S.$30,000,000 or
 more in aggregate Face Amount of Class E Certificates, an amount, when taken together with all
 payments and distributions made in respect of such Holder’s Directing Class E Certificates since the
 Closing Date, would cause such Directing Class E Certificates to have received (as of the date of the
 Portfolio Manager’s purchase thereof) a Class E Certificate Internal Rate of Return of 15.0% (assuming
 such purchase date was a “Payment Date” under the Indenture). If the applicable Directing Class E
 Certificates have already received a Class E Certificate Internal Rate of Return of such respective level,
 the Buy-out Amount will be zero.

         “Cash” means such coin or currency of the United States of America as at the time shall be legal
 tender for payment of all public and private debts.

         “CCC/Caa Collateral Obligations” means the Collateral Obligations (excluding any Defaulted
 Collateral Obligations) that on the relevant date have (i) a Moody’s Rating of “Caa1” or lower and/or (ii)
 an S&P Rating of “CCC+” or lower.

          “Class” means with respect to the Securities (other than the Class E Certificates), all of the
 Securities having the same priority and the same Stated Maturity and with respect to the Class E
 Certificates, all of the Class E Certificates; provided, however, unless otherwise expressly provided for
 herein, (i) the Class A-1A Notes, the Class A-1B Notes and the Class A-1C Notes will be considered the
 same Class, (ii) each of the Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes and the Class A-4
 Notes will be a separate Class, and (iii) each of the Class P-1 Securities and the Class P-2 Securities will
 be a separate Class.

         “Class A Coverage Tests” means the Overcollateralization Test and the Interest Coverage Test,
 each as applied with respect to the Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes and the
 Class A-4 Notes (as a single Class).

         “Class B Coverage Tests” means the Overcollateralization Test and the Interest Coverage Test,
 each as applied with respect to the Class B Notes.

         “Class B Deferred Interest” means Deferred Interest with respect to the Class B Notes.

         “Class C Coverage Tests” means the Overcollateralization Test and the Interest Coverage Test,
 each as applied with respect to the Class C Notes.

         “Class C Deferred Interest” means Deferred Interest with respect to the Class C Notes.

       “Class E Certificate Components” means, collectively, the Class Q-1 Class E Certificate
 Component, the Class P-1 Class E Certificate Component and the Class P-2 Class E Certificate
 Component.

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          “Class E Certificate Internal Rate of Return” means, with respect to any Payment Date, the
 internal rate of return (computed using the “XIRR” function in Microsoft® Excel 2002 or an equivalent
 function in another software package), stated on a per annum basis, for the following cash flows,
 assuming all Class E Certificates were purchased on the Closing Date at their Face Amount:

                  (i)     each distribution of Interest Proceeds made to the Holders of the Class E
         Certificates on any prior Payment Date and, to the extent necessary to reach the applicable Class
         E Certificate Internal Rate of Return, the current Payment Date; and

                 (ii)     each distribution of Principal Proceeds made to the Holders of the Class E
         Certificates on any prior Payment Date and, to the extent necessary to reach the applicable Class
         E Certificate Internal Rate of Return, the current Payment Date.

         “Class E Certificates Distribution Account” means a separate segregated non interest bearing
 trust account established by the Class E Certificate Paying Agent pursuant to the Class E Certificate
 Paying Agency Agreement into which the Class E Certificate Paying Agent will deposit all amounts
 received from the Issuer and payable to the Holders of the Class E Certificates under the Priority of
 Payments.

         “Class E Certificate Paying Agent” means JPMorgan Chase Bank, National Association, in its
 capacity as Class E Certificate Paying Agent under the Class E Certificate Paying Agency Agreement,
 unless a successor Person shall have become the Class E Certificates paying agent pursuant to the
 applicable provisions of the Class E Certificate Paying Agency Agreement, and thereafter “Class E
 Certificate Paying Agent” shall mean such successor person.

         “Class P Administrative Expenses: Collectively, the Class P-1 Administrative Expenses and the
 Class P-2 Administrative Expenses.

       “Class P Class E Certificate Components: Collectively, the Class P-1 Class E Certificate
 Component and the Class P-2 Class E Certificate Component.

        “Class P Collateral: Collectively, the Class P-1 Collateral and the Class P-2 Collateral.

       “Class P Redemption Price” means, the Class P-1 Redemption Price and the Class P-2
 Redemption Price.

          “Class P Securities Due Period” means, with respect to any Class P Securities Payment Date,
 the period commencing on and including the day immediately following the second Business Day prior to
 the preceding Class P Securities Payment Date (or in the case of the Class P Securities Due Period
 relating to the first Class P Securities Payment Date, commencing on the Closing Date) and ending on
 and including the second Business Day prior to such Class P Securities Payment Date (or, in the case of a
 Class P Securities Due Period that is applicable to the Class P Securities Payment Date relating to the
 Stated Maturity of any Security, ending on and including the day preceding such Class P Securities
 Payment Date).

        “Class P Securities Payment Date” means the tenth Business Day after each Payment Date or, if
 such Payment Date coincides with the Stated Maturity, the Class P Securities Payment Date will be such
 Payment Date.

         “Class P Securityholders” means collectively, the Class P-1 Securityholders and the Class P-2
 Securityholders.

        “Class P U.S. Treasury Bid” means the current bid-side market price of the applicable U.S.
 Treasury security represented by the Class P-1 U.S. Treasury Component or the Class P-2 U.S. Treasury

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 Component, as quoted by a dealer in U.S. Treasury securities (which may be the Bank or the Initial
 Purchaser) to the Trustee.

          “Class P-1 Accelerated Payment Notional Amount” means, with respect to each Class P
 Securities Payment Date, an amount equal to a portion of the Class P-1 U.S. Treasury Component with a
 face amount equal to the sum of (rounded down to the nearest U.S.$1,000) (a) the aggregate sum of
 distributions made with respect to the Class P-1 Class E Certificate Component since the Closing Date up
 to and including such Class P Securities Payment Date plus (b) the aggregate Class P-1 Optional
 Accelerated Payments and the aggregate Class P-1 Mandatory Accelerated Payments made on all prior
 Class P Securities Payment Dates minus (c) the aggregate face amount of the Class P-1 U.S. Treasury
 Component liquidated on all prior Class P Securities Payment Dates.

        “Class P-1 Accounts” means collectively, the Class P-1 Collection Account, the Class P-1 U.S.
 Treasury Component Account and the Class P-1 Principal Reserve Account.

          “Class P-1 Administrative Expenses: The administrative fees and expenses (including
 additional fees of the Trustee set forth in a separate fee letter dated as of the Closing Date by and
 between the Trustee and the Issuer) attributable to and taxes associated with the liquidation of the U.S.
 Treasury securities represented by the Class P-1 U.S. Treasury Component and any taxes attributable to
 the related Class P-2 Collateral.

         “Class P-1 Class E Certificate Component” means the U.S. $6,180,000 aggregate Face Amount
 of Class E Certificates comprising the Class P-1 Class E Certificate Component of the Class P-1
 Securities.

        “Class P-1 Collection Account” means the trust account designated as the Class P-1 Collection
 Account and established pursuant to the Indenture.

         “Class P-1 Components” means the Class P-1 U.S. Treasury Component and/or the Class P-1
 Class E Certificate Component, as the context may require.

         “Class P-1 Mandatory Accelerated Payment” has the meaning described under “Description of
 the Securities—The Class P Securities.”

          “Class P-1 Net Periodic Distribution” means, with respect to each Class P Securities Payment
 Date, an amount equal to the sum of (a) any distributions received with respect to the Class P-1 Class E
 Certificate Component during the related Class P Securities Due Period plus (b) the Class P-1 Mandatory
 Accelerated Payment (if any) for such Class P Securities Due Period plus (c) the Class P-1 Optional
 Accelerated Payment (if any) for such Class P Securities Due Period plus (d) any payments or
 distributions received with respect to the Class P-1 U.S. Treasury Component during such Class P
 Securities Due Period net of any Class P-1 Administrative Expenses.

          “Class P-1 Nominal Principal Outstanding” means, with respect to any day on or prior to the
 first Class P Securities Payment Date, U.S.$20,000,000, and on any date of determination thereafter (i)
 the Class P-1 Nominal Principal Outstanding on the prior Class P Securities Payment Date less (ii) the
 amount equal to (x) the aggregate amount of all distributions payable to the Class P-1 Securityholders in
 respect of its related Class P-1 Components on such prior Class P Securities Payment Date pursuant to the
 Indenture minus (y) the Class P-1 Notional Coupon Payment on such prior Class P Securities Payment
 Date; provided that the amount in clause (ii) is greater than zero. For the avoidance of doubt, if the
 amount under clause (ii) above is less than zero, the Class P-1 Notional Principal Outstanding will
 increase by the absolute value of such amount.

         “Class P-1 Notional Coupon Payment” means, with respect to any Class P Securities Payment
 Date, an amount equal to notional interest for the related period on the Class P-1 Nominal Principal

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 Outstanding at the Class P-1 Notional Coupon Rate. The Class P-1 Notional Coupon Payment shall be
 computed for each Interest Period on the basis of a 360-day year consisting of twelve 30-day months.

          “Class P-1 Notional Coupon Rate” means a rate of 6.5% per annum; provided that no later than
 15 Business Days before each Class P Securities Payment Date, the Class P-1 Securityholders
 representing a Majority of the Class P-1 Securities may, by written notice to the Trustee and the Issuer,
 alter the Class P-1 Notional Coupon Rate to be applied to such Class P-1 Securities Payment Date,
 subject to certain terms set forth in the Indenture.

         “Class P-1 Optional Accelerated Payment” has the meaning described under “Description of
 the Securities—The Class P Securities.”

        “Class P-1 Optional Accelerated Payment Notional Amount” has the meaning described
 under “Description of the Securities—The Class P Securities.”

         “Class P-1 Principal Reserve Account” means the trust account designated as the Class P-1
 Principal Reserve Account and established pursuant to the Indenture.

          “Class P-1 Rated Principal” means as of any Measurement Date, the U.S.$20,000,000 original
 stated amount of the Class P-1 Securities as of the Closing Date minus the aggregate amount of all
 distributions paid to the Class P-1 Securityholders in respect of the related Class P-1 Components
 (whether characterized as interest or principal or otherwise) on or prior to such Measurement Date;
 provided that the Class P-1 Rated Principal shall not be less than $1.

          “Class P-1 Redemption Price” means with respect to the Class P-1 Securities, in the aggregate
 (i) a cash distribution in an amount equal to the sum of (x) the amount, if any, payable as the redemption
 price or otherwise as a final distribution with respect to the Class E Certificates represented by the Class
 P-1 Class E Certificate Component and (y) any other Class P-1 Collateral other than the Class P-1 U.S.
 Treasury Component and (ii) a distribution in kind of the Class P-1 U.S. Treasury Component; provided
 that any Class P-1 Securityholder may elect instead of a distribution in kind of its pro rata share of the
 Class P-1 U.S. Treasury Component to enter into another arrangement with the Issuer (satisfactory to the
 Issuer and the Trustee in their sole discretion) with respect to its pro rata share of the Class P-1 U.S.
 Treasury Component; provided that any administrative expenses with respect to such arrangement will be
 paid by such Class P-1 Securityholder.

         “Class P-1 Securities” means the U.S. $20,000,000 Class P-1 Extendable Securities comprised
 of the Class P-1 U.S. Treasury Component and the Class P-1 Class E Certificate Component.

         “Class P-1 Securityholder” means a Holder of the Class P-1 Securities.

          “Class P-1 U.S. Treasury Component” means the U.S. $20,000,000 face value of U.S. Treasury
 securities due November 15, 2013 (CUSIP No. 912833KB5) comprising the Class P-1 U.S. Treasury
 Component of the Class P-1 Securities.

         “Class P-1 U.S. Treasury Component Account” means the trust account designated as the
 Class P-1 U.S. Treasury Component Account and established pursuant to the Indenture.

          “Class P-2 Accelerated Payment Notional Amount” means, with respect to each Class P
 Securities Payment Date, an amount equal to a portion of the Class P-2 U.S. Treasury Component with a
 face amount equal to the sum of (rounded down to the nearest U.S.$1,000) (a) the aggregate sum of
 distributions made with respect to the Class P-2 Class E Certificate Component since the Closing Date up
 to and including such Class P Securities Payment Date plus (b) the aggregate Class P-2 Optional
 Accelerated Payments and the aggregate Class P-2 Mandatory Accelerated Payments made on all prior


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 Class P Securities Payment Dates minus (c) the aggregate face amount of the Class P-2 U.S. Treasury
 Component liquidated on all prior Class P Securities Payment Dates.

         “Class P-2 Accounts” means collectively, the Class P-2 Collection Account and the Class P-2
 U.S. Treasury Component Account.

          “Class P-2 Administrative Expenses: The administrative fees and expenses (including
 additional fees of the Trustee set forth in a separate fee letter dated as of the Closing Date by and
 between the Trustee and the Issuer) attributable to and taxes associated with the liquidation of the U.S.
 Treasury securities represented by the Class P-2 U.S. Treasury Component and any taxes attributable to
 the related Class P-2 Collateral.

         “Class P-2 Class E Certificate Component” means the U.S. $1,500,000 aggregate Face Amount
 of Class E Certificates comprising the Class P-2 Class E Certificate Component of the Class P-2
 Securities.

        “Class P-2 Collection Account” means the trust account designated as the Class P-2 Collection
 Account and established pursuant to the Indenture.

         “Class P-2 Components” means the Class P-2 U.S. Treasury Component and/or the Class P-2
 Class E Certificate Component, as the context may require.

         “Class P-2 Mandatory Accelerated Payment”) has the meaning described under “Description
 of the Securities—The Class P Securities.”

          “Class P-2 Net Periodic Distribution” means, with respect to each Class P Securities Payment
 Date, an amount equal to the sum of (a) any distributions received with respect to the Class P-2 Class E
 Certificate Component during the related Class P Securities Due Period plus (b) the Class P-2 Mandatory
 Accelerated Payment (if any) for such Class P Securities Due Period plus (c) the Class P-2 Optional
 Accelerated Payment (if any) for such Class P Securities Due Period plus (d) any payments or
 distributions received with respect to the Class P-2 U.S. Treasury Component during such Class P
 Securities Due Period net of any Class P-2 Administrative Expenses.

          “Class P-2 Nominal Principal Outstanding” means, with respect to any day on or prior to the
 first Class P Securities Payment Date, U.S.$5,000,000, and on any date of determination thereafter (i) the
 Class P-2 Nominal Principal Outstanding on the prior Class P Securities Payment Date less (ii) the
 amount equal to the aggregate amount of all distributions payable to the Class P-2 Securityholders in
 respect of its related Class P-2 Components on such Class P Securities Payment Date pursuant to the
 Indenture; provided that the amount is greater than zero.

         “Class P-2 Optional Accelerated Payment” has the meaning described under “Description of
 the Securities—The Class P Securities.”

        “Class P-2 Optional Accelerated Payment Notional Amount” has the meaning described
 under “Description of the Securities—The Class P Securities.”

          “Class P-2 Rated Principal” means as of any Measurement Date, the U.S.$5,000,000 original
 stated amount of the Class P-2 Securities as of the Closing Date minus the aggregate amount of all
 distributions paid to the Class P-2 Securityholders in respect of the related Class P-2 Components
 (whether characterized as interest or principal or otherwise) on or prior to such Measurement Date.

          “Class P-2 Redemption Price” means with respect to the Class P-2 Securities, in the aggregate
 (i) a cash distribution in an amount equal to the sum of (x) the amount, if any, payable as the redemption
 price or otherwise as a final distribution with respect to the Class E Certificates represented by the Class

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 P-2 Class E Certificate Component and (y) any other Class P-2 Collateral other than the Class P-2 U.S.
 Treasury Component and (ii) a distribution in kind of the Class P-2 U.S. Treasury Component; provided
 that any Class P-2 Securityholder may elect instead of a distribution in kind of its pro rata share of the
 Class P-2 U.S. Treasury Component to enter into another arrangement with the Issuer (satisfactory to the
 Issuer and the Trustee in their sole discretion) with respect to its pro rata share of the Class P-2 U.S.
 Treasury Component; provided that any administrative expenses with respect to such arrangement will be
 paid by such Class P-2 Securityholder.

         “Class P-2 Securities” means the U.S. $5,000,000 Class P-2 Extendable Securities comprised of
 the Class P-2 U.S. Treasury Component and the Class P-2 Class E Certificate Component.

         “Class P-2 Securityholder” means a Holder of the Class P-2 Securities.

        “Class P-2 U.S. Treasury Component” means the U.S. $5,000,000 face value amount of U.S.
 Treasury securities due November 15, 2013 (CUSIP No. 912833KB5) comprising the Class P-2 U.S.
 Treasury Component of the Class P-2 Securities.

         “Class P-2 U.S. Treasury Component Account” means the trust account designated as the
 Class P-2 U.S. Treasury Component Account and established pursuant to the Indenture.

         “Class Q-1 Class E Certificate Component” means the U.S. $7,400,000 aggregate Face
 Amount of Class E Certificates comprising the Class Q-1 Class E Certificate Component of the Class Q-1
 Securities.

         “Class Q-1 Components” means the Class Q-1 Note Component and the Class Q-1 Class E
 Certificate Component.

         “Class Q-1 Note Component” means the U.S. $12,600,000 initial aggregate principal amount of
 Class C Notes comprising the Class Q-1 Note Component of the Class Q-1 Securities.

         “Class Q-1 Rated Principal” means for the first Interest Period, U.S. $20,000,000 original stated
 amount of the Class Q-1 Securities as of the Closing Date, and for any Interest Period thereafter, the Class
 Q-1 Rated Principal for the prior Interest Period minus the aggregate amount of all distributions paid to
 the Holders of Class Q-1 Securities in respect of the related Class Q-1 Components (whether
 characterized as interest or principal or otherwise) for the Payment Date occurring at the beginning of
 such current Interest Period, provided that the Class Q-1 Rated Principal shall not be less than $1.

         “Class Q-1 Securities” means the U.S. $20,00,000 Class Q-1 Extendable Securities comprised of
 the Class Q-1 Note Component and the Class Q-1 Class E Certificate Component.

         “Class Scenario Loss Rate” means, with respect to any Class of Notes rated by S&P, an estimate
 of the cumulative default rate for the Current Portfolio or the Proposed Portfolio, as applicable, consistent
 with S&P’s rating of such Class of Notes on the Closing Date, determined by application of the S&P
 CDO Monitor.

         “Clearstream” means Clearstream Banking, société anonyme, a corporation organized under the
 laws of the Duchy of Luxembourg.

        “Collateral Administration Agreement” means the agreement dated as of the Closing Date
 among the Issuer, the Portfolio Manager and the Collateral Administrator, as modified, amended, and
 supplemented and in effect from time to time.

         “Collateral Administrator” means the Bank in its capacity as collateral administrator under the
 Collateral Administration Agreement.

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         “Commitment” means at any time in respect of any Class A-1A Note, the maximum aggregate
 outstanding principal amount of advances (whether at the time funded or unfunded) that the holder of
 such Class A-1A Note is obligated from time to time under the Class A-1A Note Purchase Agreement to
 make to the Issuer.

          “Commitment Fee” means with respect to the Class A–1A Notes, the Commitment Fee Rate
 multiplied by the Aggregate Undrawn Amount of the Class A–1A Notes for each day during the Draw
 Period, except that no Commitment Fee shall be paid with respect to the Aggregate Undrawn Amount
 attributable to a Holder that has breached its obligation to fund a request for a Borrowing from the date of
 such breach to and until the date such breach has been cured.

         “Commitment Fee Amount” means with respect to the Class A–1A Notes as of any Payment
 Date, the sum of (i) the aggregate amount of Commitment Fee accrued and unpaid as of such Payment
 Date plus (ii) interest accrued for the Interest Period for such Payment Date at the Note Interest Rate of
 the Class A–1A Notes on any accrued and unpaid Commitment Fees that became payable on any prior
 Payment Date.

          “Commitment Termination Date” means with respect to the Commitments, the earliest of:
 (i) the Stated Maturity, (ii) the date on which the Commitments are reduced to zero and (iii) any date as of
 which (x) an Event of Default described in clause (g) or (h) of the definition thereof has occurred and is
 continuing or (y) (A) any other Event of Default there has occurred and is continuing and (B) the
 Securities have been declared to be due and payable pursuant to the Indenture (or, in the absence of such
 declaration, the Holders of at least 66 2/3% of the Aggregate Outstanding Amount of the Class A-1A
 Notes have directed the Trustee to give notice to the Issuer of the termination of the Commitments under
 the Class A-1A Note Purchase Agreement) and in the case of either (x) and (y) the Holders of the Class
 A-1A Notes have satisfied their funding obligations as a result thereof as described under “Description of
 the Securities—Class A-1 Funding Allocations.”

         “Controlling Class” means the Class A-1A Notes, the Class A-1B Notes and the Class A-1C
 Notes (voting together as a single Class), so long as any Class A-1 Notes are Outstanding; then the Class
 A-2 Notes, so long as any Class A-2 Notes are Outstanding; then the Class A-3 Notes, so long as any
 Class A-3 Notes are Outstanding; then the Class A-4 Notes, so long as any Class A-4 Notes are
 Outstanding; then the Class B Notes, so long as any Class B Notes are Outstanding; and then the Class C
 Notes, so long as any Class C are Outstanding.

         “Corporate Trust Office” means the corporate trust office of the Trustee at which the Trustee
 performs its duties under the Indenture, currently having an address of 600 Travis Street, 50th Floor,
 Houston, Texas 77002, telecopy no. (713) 216-2101, Attention: Worldwide Securities Services—Liberty
 CLO, Ltd. or any other address the Trustee designates from time to time by notice to the Noteholders, the
 Portfolio Manager, the Class E Certificate Paying Agent, the Issuer and each Rating Agency or the
 principal corporate trust office of any successor Trustee

          “Credit Improved Obligation” is any Collateral Obligation that in the commercially reasonable
 judgment of the Portfolio Manager, has improved in credit quality; provided, that if a Credit Rating Event
 is in effect, such Collateral Obligation will be considered a Credit Improved Obligation only if in addition
 to the above:

                 (i)      the Collateral Obligation has been upgraded or has been put on credit watch list
         with the potential for developing positive credit implications by either of the Rating Agencies
         since the date the Issuer first acquired the Collateral Obligation under the Indenture;

                 (ii)  such Collateral Obligation has experienced a reduction in credit spread of
         (A) 0.25% or more (on an absolute rather than a relative basis) in the case of a Collateral


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         Obligation with a spread (prior to such decrease) less than or equal to 2.00%, (B) 0.375% or more
         (on an absolute rather than a relative basis) in the case of a Collateral Obligation with a spread
         (prior to such decrease) greater than 2.00% but less than or equal to 4.00% or (C) 0.50% or more
         (on an absolute rather than a relative basis) in the case of a Collateral Obligation with a spread
         (prior to such decrease) greater than 4.00%, in each case compared to the credit spread at the time
         such Collateral Obligation was acquired by the Issuer, determined by reference to an applicable
         index selected by the Portfolio Manager (such index selection subject to satisfaction of the Rating
         Condition with respect to Moody’s);

                  (iii)   (x) in the case of a Loan, the Market Value of such Collateral Obligation has
         increased by at least 1.00% from the Market Value of such Collateral Obligation as of its date of
         acquisition, as determined by the Portfolio Manager (provided that this subclause (iii)(x) will be
         deemed satisfied if Market Value increases to 101%), or (y) in the case of a bond, the Market
         Value of such Collateral Obligation has changed since its date of acquisition by a percentage
         more positive than the percentage change in the Merrill Lynch US High Yield Master II Index,
         Bloomberg ticker H0A0, plus 3.00%, over the same period; or

                 (iv)    a Super Majority of the Controlling Class have voted to suspend the limitations
         on a Collateral Obligation being a Credit Improved Obligation, and for each subsequent
         downgrade by Moody’s after a vote to suspend the limitations pursuant to this clause (iv) has
         occurred, a Super Majority of the Controlling Class must again vote to suspend the limitations on
         the Collateral Obligation being a Credit Improved Obligation for this clause (iv) to remain
         applicable.

         A Synthetic Security shall be considered a Credit Improved Obligation if:

                 (i)      the Synthetic Security itself is a Credit Improved Obligation; or

                 (ii)     the Reference Obligation of the Synthetic Security would, if it were a Collateral
         Obligation, be a Credit Improved Obligation.

         “Credit Rating Event” means an event that is in effect if the rating by Moody’s:

                  (i)    of the Class A-1A Notes, the Class A-1B Notes, the Class A-1C Notes, the Class
         A-2 Notes, the Class A-3 Notes or the Class A-4 Notes has been withdrawn or is one or more
         rating sub-categories below its respective Initial Rating; or

                  (ii)   of the Class B Notes or the Class C Notes has been withdrawn or is two or more
         rating sub-categories below its respective Initial Rating.

          For the purposes of this definition, any withdrawal or reduction in rating shall not be effective if
 after the withdrawal or reduction Moody’s has upgraded the reduced or withdrawn rating to at least the
 Initial Rating in the case of the Class A-1A Notes, the Class A-1B Notes, the Class A-1C Notes, the Class
 A-2 Notes, the Class A-3 Notes or the Class A-4 Notes, or to only one subcategory below their Initial
 Rating in the case of the Class B Notes and the Class C Notes.




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         “Credit Risk Obligation” means any Collateral Obligation (other than a Defaulted Collateral
 Obligation) that, in the commercially reasonable judgment of the Portfolio Manager, has a significant risk
 of declining in credit quality and, with a lapse of time, becoming a Defaulted Collateral Obligation.

         So long as a Credit Rating Event is in effect, no Collateral Obligation shall be eligible to be a
 Credit Risk Obligation unless, as of the date of determination:

                  (i)      the Collateral Obligation has been downgraded or has been put on credit watch
         list with the potential for developing negative credit implications by either of the Rating Agencies
         since the date the Issuer first acquired the Collateral Obligation under the Indenture;

                 (ii)     such Collateral Obligation has experienced an increase in credit spread of (A)
         0.25% or more (on an absolute rather than a relative basis) in the case of a Collateral Obligation
         with a spread (prior to such increase) less than or equal to 2.00%, (B) 0.375% or more (on an
         absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
         such increase) greater than 2.00% but less than or equal to 4.00% or (C) 0.50% or more (on an
         absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
         such increase) greater than 4.00%, in each case compared to the credit spread at the time such
         Collateral Obligation was acquired by the Issuer, determined by reference to an applicable index
         selected by the Portfolio Manager (such index selection subject to satisfaction of the Rating
         Condition with respect to Moody’s);

                  (iii)   (x) in the case of a Loan, the Market Value of such Collateral Obligation has
         decreased by at least 2.50% from the Market Value of such Collateral Obligation as of its date of
         acquisition, as determined by the Portfolio Manager, and (y) in the case of a bond, the Market
         Value of such Collateral Obligation has changed since its date of acquisition by a percentage
         more negative, or less positive, as the case may be, than the percentage change in the Merrill
         Lynch US High Yield Master II Index, Bloomberg ticker H0A0, less 3.00%, over the same
         period; or

                 (iv)    a Super Majority of the Controlling Class have voted to suspend the limitations
         on a Collateral Obligation being a Credit Risk Obligation, and for each subsequent downgrade by
         Moody’s after a vote to suspend the limitations pursuant to this clause (iv) has occurred, a Super
         Majority of the Controlling Class must again vote to suspend the limitations on the Collateral
         Obligation being a Credit Risk Obligation for this clause (iv) to remain applicable.

         A Synthetic Security shall be considered a Credit Risk Obligation if:

                 (a)      the Synthetic Security itself is a Credit Risk Obligation; or

                 (b)      the Reference Obligation of the Synthetic Security would, if it were a Collateral
         Obligation, be a Credit Risk Obligation.

         “Current-Pay Obligation” means a Collateral Obligation as to which:

                  (i)      except with respect to a DIP Loan, an insolvency event has occurred with respect
         to its obligor or as to which its obligor is rated “D” or “SD” by S&P or its obligor has previously
         been rated “CCC-” by S&P and the rating has been withdrawn;

                  (ii)     no default as to the payment of principal or interest with respect to the Collateral
         Obligation is then continuing and the Portfolio Manager has delivered to the Trustee an officer’s
         certificate to the effect that the Portfolio Manager expects that the obligor will make payments on
         the Collateral Obligation as they become due;


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                   (iii)    (A) if the rating by Moody’s of the Collateral Obligation is at least “Caa1” (and
         not on credit watch with negative implications) the Market Value of the Collateral Obligation is
         at least equal to 80% of its Principal Balance, (B) if the rating by Moody’s of the Collateral
         Obligation is less than “Caa1” or is “Caa1” and on credit watch with negative implications, but
         greater than or equal to Caa2 without credit watch with negative implications, the Market Value
         of the Collateral Obligation is at least equal to 85% of its Principal Balance; provided that if the
         Moody’s Rating of the Collateral Obligation has been withdrawn but the obligation had a
         Moody’s rating of at least “Caa2” without credit watch with negative implications at the time of
         default, such Collateral Obligation may be treated as a Current Pay Obligation if its Market Value
         is at least equal to 85% of its Principal Balance, or (C) if the rating by Moody’s of the Collateral
         Obligation is less than “Caa2” or is “Caa2” and on credit watch with negative implications, but
         greater than or equal to “Caa3” without credit watch with negative implications, the Market
         Value of the Collateral Obligation is at least equal to 90% of its Principal Balance; provided that
         if the Moody’s Rating of the Collateral Obligation has been withdrawn but the obligation had a
         Moody’s rating of at least “Caa3” without credit watch with negative implications at the time of
         default, such Collateral Obligation may be treated as a Current Pay Obligation if its Market Value
         is at least equal to 90% of its Principal Balance;

                 (iv)    if an insolvency event has occurred with respect to the obligor of the Collateral
         Obligation, a bankruptcy court has authorized the payment of interest payable on the Collateral
         Obligation; and

                 (v)     the Portfolio Manager has designated in writing to the Trustee the Collateral
         Obligation as a Current-Pay Obligation.

         If the Aggregate Principal Balance of Collateral Obligations that would otherwise be Current-Pay
 Obligations exceeds 5% of the Maximum Investment Amount, all or a portion of one or more Collateral
 Obligations that would otherwise be Current-Pay Obligations with an Aggregate Principal Balance equal
 to the amount of the excess shall not be Current-Pay Obligations (and will therefore be Defaulted
 Collateral Obligations). The Portfolio Manager shall designate in writing to the Trustee the Collateral
 Obligations that shall not be Current-Pay Obligations pursuant to the preceding sentence as the Collateral
 Obligations (or portions thereof) that have the lowest Market Value on any applicable date of
 determination.

         The Portfolio Manager may, by notice to the Issuer, the Trustee and the Collateral Administrator,
 change the definition of “Current-Pay Obligation” or how Current-Pay Obligations are treated in the
 Indenture, subject to the satisfaction of the Rating Condition with respect to each Rating Agency but
 without amendment of the Indenture.

          “Current Portfolio” means, at any time, the portfolio (measured by Aggregate Principal
 Balance) of Collateral Obligations, Principal Proceeds held as Cash on deposit in the Collection Account,
 and other Eligible Investments purchased with Principal Proceeds on deposit in the Collection Account
 that exists before the sale, maturity, or other disposition of a Collateral Obligation or before the
 acquisition of a Collateral Obligation, as the case may be.

         “Deep Discount Obligation” means, until the average Market Value Percentage of the Collateral
 Obligation, as determined daily for any period of 30 consecutive days, equals or exceeds 90%, any such
 Collateral Obligation acquired by the Issuer for a Purchase Price less than 85% of its Principal Balance.
 For such purpose, the Market Value Percentage of a Collateral Obligation on a day that is not a Business
 Day shall be deemed to be the Market Value Percentage of the Collateral Obligation on the immediately
 preceding Business Day.

         “Defaulted Collateral Obligation” means any Collateral Obligation or other obligation included
 in the Collateral:

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               (i)     as to which there has occurred and is continuing a default with respect to the
       payment of interest or principal with respect to such Collateral Obligation, without giving effect
       to any applicable grace period or waiver (provided that, if the Portfolio Manager certifies to the
       Trustee in writing that such default is for non-credit related reasons, the related Collateral
       Obligation shall not be treated as a Defaulted Collateral Obligation under this clause (i) unless
       and until such default has continued for a period of three (3) consecutive Business Days), but, in
       any case, only until such default has been cured;

               (ii)     the maturity of all or a portion of the principal amount of such Collateral
       Obligation has been accelerated as a consequence of a default (other than any payment default)
       under the instruments evidencing or relating to such Collateral Obligation; unless such default or
       event of default has been fully cured or waived and is no longer continuing and such acceleration
       has been rescinded;

               (iii)    with respect to which there has been effected any distressed exchange or other
       debt restructuring where the obligor has offered the holders thereof a new security or instrument
       or package of securities or instruments that, in the commercially reasonable judgment of the
       Portfolio Manager, either (x) amounts to a diminished financial obligation or (y) has the sole
       purpose of enabling the obligor to avoid a default;

                (iv)    (1) that is pari passu with or subordinated to other indebtedness for borrowed
       money owing by its obligor (“Other Indebtedness”), (2) the obligor has defaulted in the
       payment of principal or interest (without regard to any applicable grace or notice period and
       without regard to any waiver of the default) on the Other Indebtedness, unless, in the case of a
       failure of the obligor to make required interest payments, the obligor has resumed current Cash
       payments of interest previously scheduled and unpaid on the Other Indebtedness and has paid in
       full any accrued interest due and payable thereon, in which case the Collateral Obligation shall
       cease to be classified as a Defaulted Collateral Obligation and (3) the Portfolio Manager
       (provided that the related Collateral Obligation has not been downgraded after the default on such
       Other Indebtedness has occurred) determines (in its commercially reasonable judgment) that such
       Other Indebtedness is material;

               (v)     (other than a Current-Pay Obligation or a DIP Loan) as to which:

                       (A)      an insolvency event has occurred with respect to its obligor; or

                       (B)      the obligation is rated “D”, “SD”, “C” or “CC” by S&P or was so rated
                                immediately prior to such rating being withdrawn, or has previously been
                                rated “CCC-” or lower by S&P and the rating has been withdrawn;

                 (vi)   if the Collateral Obligation is a Structured Finance Obligation, it is rated “CC” or
       below by S&P, or it was rated “CC” or below by S&P but the rating has since been withdrawn, or
       it is rated “Ca” or below by Moody’s, or it was rated “Ca” or below by Moody’s but the rating
       has since been withdrawn;

               (vii)   that is a Participation that would, if the underlying Loan were a Collateral
       Obligation, be a Defaulted Collateral Obligation under any of clauses (i) through (v) above or
       with respect to which the Participating Institution has defaulted in the performance of any of its
       payment obligations under the Participation;

               (viii) that is a Synthetic Security referencing a Reference Obligation that would, if the
       Reference Obligation were a Collateral Obligation, be a Defaulted Collateral Obligation under
       any of clauses (i) through (vi) above or with respect to which the Synthetic Security Counterparty
       has defaulted in the performance of any of its payment obligations under the Synthetic Security;

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         provided, however, with respect to a Synthetic Security based upon or relating to a senior secured
         index investment providing non-leveraged credit exposure to a basket of credit default swaps
         referencing a diversified group of Reference Obligations, with respect to which the principal or
         notional amount of the credit exposure to any single Reference Obligation does not increase over
         time: (x) a determination whether the Reference Obligations upon which such Synthetic Security
         is based would, if such Reference Obligations were Collateral Obligations, be a Defaulted
         Collateral Obligation, shall be determined by treating such Synthetic Security as a direct
         investment by the Issuer in each of the Reference Obligations on which such Synthetic Security is
         based in an amount equal to the Allocable Principal Balance of such Reference Obligation and (y)
         the “Defaulted Collateral Obligation” for purposes of this clause (viii) shall be limited to the
         Allocable Principal Balance of each Reference Obligation that would, if the Reference Obligation
         were a Collateral Obligation, be a Defaulted Collateral Obligation under any of clauses (i)
         through (vi) above;

                 (ix)    that is a Written-Down Obligation;

                 (x)     that is a DIP Loan as to which an order has been entered converting the debtor’s
         chapter 11 case to a case under chapter 7 of the Bankruptcy Code; or

                 (xi)    that is declared to be a Defaulted Collateral Obligation by the Portfolio Manager.

          Any Collateral Obligation that is classified as a Defaulted Collateral Obligation shall cease to be
 so classified if the Collateral Obligation, at any date thereafter,

                (1)     would not otherwise be classified as a Defaulted Collateral Obligation in
         accordance with this definition; and

                 (2)     otherwise meets the Eligibility Criteria as of that date.

         If any portion of a Collateral Obligation has a maturity later than two years after the Stated
 Maturity of the Notes due to a change in the payment schedule of the Collateral Obligation occurring after
 its acquisition by the Issuer, that portion of the Collateral Obligation shall be considered a Defaulted
 Collateral Obligation.

         “Defaulted Hedge Termination Payment” means any termination payment required to be made
 by the Issuer to a Hedge Counterparty pursuant to a Hedge Agreement upon a termination of the Hedge
 Agreement in respect of which the Hedge Counterparty is the sole Defaulting Party or Affected Party
 (each as defined in the Hedge Agreements).

         “Defaulted Interest” means any interest (and in the case of the Class A-1A Notes, the
 Commitment Fee Amount and in the case of the Class A-1B Notes, the Delayed Drawdown Fee) payable
 in respect of any Class of Notes that is not punctually paid or duly provided for on the applicable Payment
 Date or at Stated Maturity.

         “Defaulted Interest Charge” means to the extent lawful, interest on any Defaulted Interest at the
 Default Interest Rate.

          “Default Interest Rate” means, with respect to any specified Class of Notes, the per annum
 interest rate equal to the Note Interest Rate payable on the Notes of such Class.

         “Deferred Interest Notes” means the Class B Notes and the Class C Notes.




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         “Delayed Drawdown Loan” means a Loan or any Synthetic Security with a Reference
 Obligation that:

               (i)      requires the Issuer to make one or more future advances to the borrower under its
        Underlying Instruments;

               (ii)    specifies a maximum amount that can be borrowed on one or more fixed
        borrowing dates; and

                (iii)   does not permit the re-borrowing of any amount previously repaid.

 A Loan or Synthetic Security shall only be considered to be a Delayed Drawdown Loan for so long as its
 Unfunded Amount is greater than zero.

       “Delayed Drawdown Note Agent” has the meaning specified in the Class A-1B Note Purchase
 Agreement.

        “Depositary” or “DTC” means The Depository Trust Company and its nominees.

        “Determination Date” means the last day of any Due Period.

        “DIP Loan” means any Loan:

                (i)    that has a rating assigned by Moody’s (or if the Loan does not have a rating
        assigned by Moody’s, the Portfolio Manager has commenced the process of having a rating
        assigned by Moody’s within five Business Days of the date the Loan is acquired by the Issuer)
        and a rating assigned by S&P (or if the Loan does not have a rating assigned by S&P, the
        Portfolio Manager has commenced the process of having a rating assigned by S&P within two
        Business Days of the date the Loan is acquired by the Issuer);

                 (ii)    that is an obligation of a debtor in possession as described in Section 1107 of the
        Bankruptcy Code or a trustee (if appointment of a trustee has been ordered pursuant to Section
        1104 of the Bankruptcy Code) (a “Debtor”) organized under the laws of the United States or any
        state of the United States; and

                (iii)   the terms of which have been approved by a final order of the United States
        Bankruptcy Court, United States District Court, or any other court of competent jurisdiction, the
        enforceability of which order is not subject to any pending contested matter or proceeding (as
        those terms are defined in the Federal Rules of Bankruptcy Procedure) and which order provides
        that:

                        (A)      the Loan is secured by liens on the Debtor’s otherwise unencumbered
                assets pursuant to Section 364(c)(2) of the Bankruptcy Code;

                       (B)      the Loan is secured by liens of equal or senior priority on property of the
                Debtor’s estate that is otherwise subject to a lien pursuant to Section 364(d) of the
                Bankruptcy Code;

                         (C)     the Loan is fully secured (based on a current valuation or appraisal
                report) by junior liens on the Debtor’s encumbered assets; or

                         (D)      if any portion of the Loan is unsecured, the repayment of the Loan
                retains priority over all other administrative expenses pursuant to Section 364(c)(1) of the


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                 Bankruptcy Code (and in the case of this clause (D), before the acquisition of the Loan,
                 the Rating Condition is satisfied with respect to each Rating Agency).

         “Diversity Score” is a single number that indicates collateral concentration in terms of both
 issuer and industry concentration, calculated as set forth in Schedule 4 to the Indenture.

          “Domicile” or “Domiciled” means, with respect to each Collateral Obligation, (i) the jurisdiction
 of incorporation, organization or creation of the related obligor or (ii) in the case of a Collateral
 Obligation that would otherwise be considered to be domiciled pursuant to clause (i) in a Tax Advantaged
 Jurisdiction, the jurisdiction in which, in the commercially reasonable judgment of the Portfolio Manager,
 the related obligor conducts substantially all of its business operations and in which the assets primarily
 responsible for generating its revenues are located.

       “Drawdown” has the meaning specified under “Description of the Securities—Class A-1B Notes
 Drawdowns.”

          “Drawn Amount” means at any time, (a) with respect to the Class A-1A Notes, the aggregate
 principal amount of the Class A–1A Notes funded on the Closing Date or by one or more Borrowings
 after the Closing Date and not repaid hereunder and (ii) with respect to the Class A-1B Notes, the
 aggregate principal amount of the Class A-1B Notes funded on the Closing Date or by one or more
 Drawdowns after the Closing Date.

          “Due Period” means, (a) for all purposes other than payments and receipts under Hedge
 Agreements, with respect to (i) the first Payment Date, the period from and including the Closing Date to
 and including February 28, 2006, (ii) the second Payment Date, the period from and including March 1,
 2006 up to but excluding the Business Day after the eighth Business Day before the second Payment Date
 and (iii) any Payment Date thereafter, the period from and including the Business Day after the eighth
 Business Day before the previous Payment Date up to but excluding the Business Day after the eighth
 Business Day before the Payment Date (or in the case of the final Payment Date or any Payment Date that
 is a Redemption Date, through the Business Day before the Payment Date, and (b) for payments and
 receipts under Hedge Agreements the period from and including the day after the previous Payment Date
 (or in the case of the first Payment Date from the Closing Date) to but excluding the Payment Date).

         “Eligible Country” means the United States, Canada and any country classified by Moody’s as a
 Moody’s Group I Country, Moody’s Group II Country or Moody’s Group III Country; provided that such
 country has not imposed currency exchange controls.

         “Eligible Investments” means any Dollar-denominated investment that, when it is pledged by
 the Issuer to the Trustee under the Indenture, is one or more of the following:

                 (i)     Cash;

                  (ii)     direct Registered obligations of, and Registered obligations the timely payment
         of principal and interest on which is fully and expressly guaranteed by, the United States or any
         agency or instrumentality of the United States the obligations of which are expressly backed by
         the full faith and credit of the United States, which in each case are not zero coupon securities;

                 (iii)   [Reserved];

                 (iv)    any demand and time deposits in, trust accounts, certificates of deposit payable
         within 91 days of issuance of, bankers’ acceptances payable within 91 days of issuance issued by,
         or Federal funds sold by any depository institution or trust company incorporated under the laws
         of the United States or any state thereof and subject to supervision and examination by Federal
         and/or state banking authorities so long as the commercial paper and/or the debt obligations of

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        such depository institution or trust company (or, in the case of the principal depository institution
        in a holding company system, the commercial paper or debt obligations of such holding
        company), at the time of such investment or contractual commitment providing for such
        investment and throughout the term of the investment, have a credit rating of not less than “Aaa”
        by Moody’s and “AAA” by S&P and in each case are not on watch for downgrade, or “P-1” by
        Moody’s and “A-1+” by S&P in the case of commercial paper and short-term debt obligations;
        provided that, in any case, the issuer thereof must have at the time of such investment a long-term
        credit rating of not less than “AA-” by S&P and “Aa3” by Moody’s and a short-term rating of
        “A-1+” by S&P and “P-1” by Moody’s, and if so rated, is not on watch for downgrade;

                 (v)     commercial paper or other short-term obligations with a maturity of not more
        than 183 days from the date of issuance and having at the time of such investment a credit rating
        of at least “P-1” by Moody’s and “A-1+” by S&P, provided, that, in any case, the issuer thereof
        must have at the time of such investment a long-term credit rating of not less than “Aa2” by
        Moody’s, and if so rated, such rating is not on watch for downgrade;

                 (vi)     unleveraged repurchase obligations (if treated as debt for tax purposes by the
        issuer thereof or obligor thereon) with respect to any security described in clause (ii) above
        entered into with a U.S. federal or state depository institution or trust company (acting as
        principal) described in clause (iii) above or entered into with a corporation (acting as principal)
        whose long-term credit rating is not less than “Aaa” by Moody’s and “AAA” by S&P and in each
        case are not on watch for downgrade or whose short-term credit rating is “P-1” by Moody’s and
        “A-1+” by S&P at the time of such investment and throughout the term of the investment;
        provided, that, if such repurchase obligation has a maturity of longer than 91 days, the
        counterparty thereto must also have at the time of such investment and throughout the term of the
        investment a long-term credit rating of not less than “Aa2” by Moody’s and “AAA” by S&P, and
        if so rated, such rating is not on watch for downgrade;

                 (vii)   any money market fund or similar investment vehicle having at the time of
        investment therein and throughout the term of the investment a credit rating of “MR1+” by
        Moody’s and “AAAm” by S&P; including any fund for which the Trustee or an Affiliate of the
        Trustee serves as an investment advisor, administrator, shareholder servicing agent, custodian or
        subcustodian, notwithstanding that (A) the Trustee or an Affiliate of the Trustee charges and
        collects fees and expenses from such funds for services rendered (provided that such charges, fees
        and expenses are on terms consistent with terms negotiated at arm’s length) and (B) the Trustee
        charges and collects fees and expenses for services rendered, pursuant to the Indenture; provided
        that (x) such fund or vehicle is formed and has its principal office outside the United States and
        (y) the ownership of an interest in such fund or vehicle will not subject the Issuer to net income
        tax in any jurisdiction;

                 (viii) a guaranteed reinvestment agreement from a bank (if treated as a deposit by such
        bank), insurance company or other corporation or entity organized under the laws of the United
        States or any state thereof (if treated as debt by such insurance company or other corporation or
        entity), providing for periodic payments thereunder during each Due Period; provided that each
        such agreement provides that it is terminable by the purchaser, without premium or penalty, in the
        event that the rating assigned to such agreement by either Moody’s or S&P is at any time lower
        than the then current ratings assigned to the Class A-1A Notes, the Class A-1B Notes, the Class
        A-1C Notes, the Class A-2 Notes, the Class A-3 Notes, the Class A-4 Notes, the Class B Notes or
        the Class C Notes; provided, further, that, at the time of investment therein and throughout the
        term of the investment, the issuer of such agreement has a senior unsecured long-term debt rating,
        issuer rating or counterparty rating of at least “Aaa” by Moody’s, a short-term debt rating of “P-
        1” by Moody’s (and not on watch for downgrade), a short-term debt rating of at least “A-1+” by



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          S&P and a long-term debt rating of at least “AAA” by S&P (and not on watch for downgrade);
          and

                  (ix)     such other investments with respect to which the Rating Condition is satisfied, if
          the acquisition (including manner of acquisition), ownership, enforcement and disposition of such
          investments does not cause the Issuer to be treated as engaged in a trade or business within the
          United States for United Sates federal income tax purposes;

  and, in each case, with a stated maturity (giving effect to any applicable grace period) no later than the
  Business Day before the Payment Date next succeeding the date of the investment.

          Eligible Investments on deposit in the Revolving Reserve Account or the Synthetic Security
  Collateral Account must have a stated maturity no later than one Business Day after the date of their
  purchase.

          Eligible Investments may not include:

                   (1)     any interest-only security, mortgage-backed security, any security purchased at a
          price in excess of 100% of its par value, or any security whose repayment is subject to substantial
          non-credit related risk as determined in the commercially reasonable judgment of the Portfolio
          Manager;

                   (2)      any security whose rating assigned by S&P includes the subscript “r,” “t,” “p,”
          “pi,” or “q” or that does not have a rating assigned by S&P;
                   (3)      any floating rate security whose interest rate is inversely or otherwise not
          proportionately related to an interest rate index or is calculated as other than the sum of an
          interest rate index plus a spread (which spread may be zero);

                  (4)     any security that is subject to an exchange or tender offer; or

                   (5)     any security that has payments subject to foreign or United States withholding
          tax, unless the obligor thereof is required to make “gross-up” payments that cover the full amount
          of any such withholding tax on an after-tax basis.

          Eligible Investments may include Eligible Investments for which the Trustee or an Affiliate of the
  Trustee provides services. Eligible Investments may not include obligations principally secured by real
  property.

          “Emerging Market Security” means a security or obligation issued by a sovereign or non-
  sovereign issuer located in a country (excluding the Cayman Islands, Bermuda, the British Virgin Islands,
  the Netherlands Antilles, and the Channel Islands):

                  (i)     that is in Latin America, Asia, Africa, Eastern Europe, or the Caribbean; or

                   (ii)     the long-term foreign currency debt obligations of which are rated below “Aa2”
          or “Aa2” and on credit watch with negative implications by Moody’s or the foreign currency
          issuer credit rating of which is below “AA” by S&P.

          “Euroclear” means Euroclear Bank S.A./N.V., as operator of the Euroclear system.

         “Excess CCC/Caa Collateral Obligations” as of any date of determination means the Principal
  Balance of all CCC/Caa Collateral Obligations constituting the excess of (a) the greater of (i) the
  aggregate principal amount of all Collateral Obligations that have S&P Ratings of “CCC+” or lower

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  (other than any Defaulted Securities) and (ii) the aggregate principal amount of all Collateral Obligations
  that have Moody’s Default Probability Ratings of “Caa1” or lower (other than any Defaulted Securities)
  over (b) 7.5% of the Maximum Investment Amount, as of such date of determination. The Portfolio
  Manager shall designate in writing to the Trustee the CCC/Caa Collateral Obligations that shall constitute
  the Excess CCC/Caa Collateral Obligations pursuant to the preceding sentence as the CCC/Caa Collateral
  Obligations (or portions thereof) that have the lowest Market Value on any applicable date of
  determination.

          “Extension” means an extension of the Reinvestment Period, the Stated Maturity of the Notes
  and the Weighted Average Life Test in accordance with the Indenture.

          “Extension Bonus Payment” means, with respect to each Maturity Extension, a single payment
  to each applicable beneficial owner set forth in “Description of the Securities—Extension of the
  Reinvestment Period, the Stated Maturity and the Scheduled Class E Certificates Redemption Date” in an
  amount equal to (1) in the case of the Class A-1A Notes, the Class A-1B Notes, the Class A-1C Notes, the
  Class A-2 Notes, the Class A-3 Notes and the Class A-4 Notes, 0.25% of the Aggregate Outstanding
  Amount thereof held by such beneficial owner as of the applicable Extension Effective Date, (2) in the
  case of the Class B Notes, 0.25% of the Aggregate Outstanding Amount thereof held by such beneficial
  owner as of the applicable Extension Effective Date, (3) in the case of the Class C Notes, 0.5% of the
  Aggregate Outstanding Amount thereof held by such beneficial owner as of the applicable Extension
  Effective Date, and (4) in the case of the Class Q-1 Securities, 0.5% of the Aggregate Outstanding
  Amount of Class C Notes represented by the Class Q-1 Note Component..

           “Extension Bonus Eligibility Certification” means, with respect to each Maturity Extension and
  each beneficial owner of Notes (including each beneficial owner of Class Q-1 Securities to the extent of
  the Class Q-1 Note Component) other than Extension Sale Securities, the written certification by such
  beneficial owner acceptable to the Issuer to the effect that it held Notes (including Class C Notes
  represented by the Class Q-1 Note Component) other than Extension Sale Securities on the applicable
  Extension Effective Date, including the Aggregate Outstanding Amount thereof and wire transfer
  instructions for the Extension Bonus Payment and any required documentation thereunder (including tax
  certifications).

          “Extension Determination Date” means the eighth Business Day prior to each Extension
  Effective Date.

           “Extension Purchase Price” means the purchase price payable by the Extension Qualifying
  Purchasers for Extension Sale Securities in connection with each Maturity Extension, if any, in an amount
  equal to (i) in the case of the Notes, the Aggregate Outstanding Amount thereof, plus accrued and unpaid
  interest (including Deferred Interest, if any) as of the applicable Extension Effective Date (giving effect to
  any amounts paid to the Holder on such date), (ii) in the case of the Class E Certificates, an amount that,
  when taken together with all payments and distributions made in respect of such Class E Certificates since
  the Closing Date would cause such Class E Certificates to have received (as of the date of purchase by the
  Extension Qualifying Purchaser thereof) a Class E Certificate Internal Rate of Return of 12% (assuming
  such purchase date was a “Payment Date” under the Indenture); provided that if the applicable Extension
  Effective Date is on or after the date on which such Holders have received a Class E Certificate Internal
  Rate of Return equal to or in excess of 12%, the applicable Extension Purchase Price for such Class E
  Certificates shall be zero; provided, however that in the case of the 3rd or 4th Maturity Extension, for any
  one Holder of Class E Certificates who holds Class E Certificate with an aggregate “face amount” of at
  least U.S.$30,000,000 and cannot consent to the Maturity Extension due to tax, regulatory, compliance or
  accounting rules or investment policies (whether internally or externally governed), the purchase price
  payable to such Holder for its Extension Sale Securities consisting of its Class E Certificates will be an
  amount that, when taken together with all payments and distributions made in respect of such Class E
  Certificates since the Closing Date would cause such Class E Certificates to have received (as of the date

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  of purchase by the Extension Qualifying Purchaser thereof) a Class E Certificate Internal Rate of Return
  of 15% (assuming such purchase date was a “Payment Date” under the Indenture), provided, that if the
  applicable Extension Effective Date is on or after the date on which such Holder has received a Class E
  Certificate Internal Rate of Return equal to or in excess of 15%, the applicable Extension Purchase Price
  for such Class E Certificates shall be zero, and (iii) in the case of the Class Q-1 Securities, a purchase
  price determined based on the respective purchase prices for the Class Q-1 Note Component and the Class
  Q-1 Class E Certificate Component thereof.

          “Extension Qualifying Purchasers” means the Portfolio Manager (or any of its Affiliates acting
  as principal or agent); provided that in the event the Portfolio Manager elects not to purchase Securities
  from Holders pursuant to the Extension Conditions set forth in “Description of the Securities—Extension
  of the Reinvestment Period, the Stated Maturity and the Scheduled Class E Certificates Redemption
  Date,” “Extension Qualifying Purchasers” shall mean one or more qualifying purchasers (which may
  include the Initial Purchaser or the Placement Agent or any of their Affiliates acting as principal or agent)
  designated by the Portfolio Manager; provided, however, none of the Portfolio Manager, the Initial
  Purchaser, the Placement Agent, or any of their respective Affiliates shall have any duty to act as an
  Extension Qualifying Purchaser.

          “Face Amount” means, with respect to any Class E Certificate, the amount set forth therein as
  the “face amount” thereof, which “face amount” shall be $1,000 per Class E Certificate.

          “Finance Lease” means a lease agreement or other agreement entered into in connection with
  and evidencing a Leasing Finance Transaction.

          “Fixed Rate Excess” means, as of any Measurement Date, a fraction whose numerator is the
  product of:

                  (i)    the greater of zero and the excess of the Weighted Average Fixed Rate Coupon
          for the Measurement Date over the minimum percentage specified to pass the Weighted Average
          Fixed Rate Coupon Test; and

                 (ii)   the Aggregate Principal Balance of all Fixed Rate Obligations (excluding any
          Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date;

  and whose denominator is the Aggregate Principal Balance of all Floating Rate Obligations (excluding
  any Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date.

         In computing the Fixed Rate Excess on any Measurement Date, the Weighted Average Fixed
  Rate Coupon for the Measurement Date will be computed as if the Spread Excess were equal to zero.

           “Fixed Rate Obligation” means any Collateral Obligation that bears interest at a fixed rate,
  including a Collateral Obligation that does not bear interest on a floating rate index and whose interest
  rate is scheduled to increase one or more times over the life of the Collateral Obligation.

           “Floating Rate Obligation” means any Collateral Obligation that bears interest based on a
  floating rate index.

          “Form-Approved Synthetic Security” means a Synthetic Security:

                  (i)     (A)     each of the Reference Obligations of which satisfy the definition of
                  “Collateral Obligation” and either (x) is in a form which conforms to a form that has been
                  expressly identified and approved in writing in connection with a request under this
                  Indenture by S&P, has an S&P Recovery Rate assigned by S&P and each of the
                  Reference Obligations of which could be purchased by the Issuer without satisfaction of

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                   the Rating Condition or any other action by the Rating Agencies or (y) which the Rating
                   Agencies have otherwise approved; or

                           (B)     each of the Reference Obligations of which would satisfy clause (A)
                   above but for the currency in which the Reference Obligation is payable and the
                   Synthetic Security is payable in Dollars, does not provide for physical settlement, and
                   does not expose the Issuer to Dollar currency risk;

                  (ii)     the Synthetic Security Agreement of which conforms (but for the amount and
          timing of periodic payments, the name of the Reference Obligation, the notional amount, the
          effective date, the termination date, and other similar necessary changes) to a form that has been
          expressly identified and approved in writing in connection with a request under the Indenture by
          Moody’s and S&P; and

                   (iii)  that is with a counterparty with respect to which the Rating Condition has been
          satisfied by each of Moody’s and S&P prior to the acquisition of any such Form-Approved
          Synthetic Security, and such approval has not been withdrawn.

           Moody’s or S&P may at any time, by notice to the Portfolio Manager, withdraw its approval of
  any such form. A withdrawal of approval shall have no effect on any Synthetic Security acquired, entered
  into, or committed to before the date on which the Portfolio Manager receives the notice of withdrawal.

          “Fully Drawn Amount” means the maximum aggregate principal amount that can be drawn
  under the Class A-1B Notes, in an amount equal to U.S.$50,000,000.

          “Hedge Agreements” means, collectively, all interest rate cap or interest rate swap agreements
  between the Issuer and any Hedge Counterparty, and any replacement agreement entered into pursuant to
  the Indenture.

          “Hedge Counterparty” means a counterparty which as of the date the Issuer enters into any
  Hedge Agreement with such counterparty satisfies the requirements of the Indenture or for which the
  Rating Condition with respect to each Rating Agency is satisfied.

          “Hedge Termination Receipt” means any termination payment paid by the Hedge Counterparty
  to the Issuer upon any early termination of a Hedge Agreement with respect to which the Hedge
  Counterparty is the sole Defaulting Party or Affected Party (each as defined in the Hedge Agreements).

          “High-Yield Bond” means any debt security other than a Loan, including any Structured Finance
  Obligation, that is either Registered or, if not Registered, (i) it is issued by an obligor that is not resident
  in the United States, (ii) the payments on it are not subject to United States withholding tax and (iii) it is
  held through a financial institution pursuant to the procedures described in Treasury Regulation Section
  1.165-12(c)(3).

           “Holder” means, with respect to any Note, Class Q-1 Security and Class P Security, the person
  whose name appears on the Indenture Register as the registered holder of such Security, as applicable;
  and with respect to any Class E Certificate, the person whose name appears in the Class E Certificate
  register related thereto as the registered holder of such Class E Certificate.

           “Indenture Register” means the register caused to be kept by the Issuer for the purpose of
  registering Notes and transfers of the Notes as provided in the Indenture.

          “Indenture Registrar” means the Bank in its capacity as Indenture registrar as provided in the
  Indenture.


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          “Indenture Securities” means the Notes, the Class Q-1 Securities, the Class P-1 Securities
  and/or the Class P-2 Securities.

         “Initial Consent Period” means the period of 15 Business Days from but excluding the date on
  which the Trustee provided notice of a proposed supplemental indenture pursuant to the Indenture to the
  Holders of Securities.

          “Initial Rating” means, the ratings with respect to each Class of Securities assigned by Moody’s
  and S&P on the Closing Date as provided in the table in “Summary of Terms—Principal Terms of the
  Securities.”

           “Interest Period” means, initially, the period from and including the Closing Date to but
  excluding the first Payment Date, and, thereafter, each successive period from and including each
  Payment Date to but excluding the following Payment Date; provided that with respect to any Borrowing
  made under the Class A-1A Notes and any Drawdown made under the Class A-1B Notes, the first Interest
  Period shall be the period from and including the date of such Borrowing or Drawdown, as applicable, to
  but excluding the Payment Date following such date, unless in the case of a Borrowing, the date of such
  Borrowing falls in the period from and including a Determination Date to and including the day prior to
  the related Payment Date, in which case such first Interest Period shall run from and including the date of
  such Borrowing to but excluding the second Payment Date following such date.

           “Interest Proceeds” means, with respect to any Due Period, the sum (without duplication) of all
  amounts received in Cash during the Due Period (or as otherwise specified below) by the Issuer with
  respect to the Collateral that are:

                  (i)      payments of interest, fees (including commitment fees with respect to the
          Unfunded Amount of any Revolving Loan or Delayed Drawdown Loan), and commissions
          (excluding (A) Accrued Interest Purchased With Principal, (B) interest and dividends on Workout
          Assets, (C) fees and commissions from Defaulted Collateral Obligations, and (D) syndication and
          other up-front fees and any up-front fixed payments received in connection with entering into a
          Synthetic Security);

                  (ii)    any portion of the Sale Proceeds of a Collateral Obligation (other than a
          Defaulted Collateral Obligation) representing Accrued Interest On Sale;

                 (iii)    all payments of principal on, or disposition proceeds from the sale of, Eligible
          Investments to the extent purchased with Interest Proceeds;

                   (iv)   payments with respect to the Hedge Agreements received on or before the related
          Payment Date other than (x) any amount payable under any Hedge Agreement because of any
          early termination or notional amount reduction, (y) any Sale Proceeds with respect to any Hedge
          Agreement (except to the extent that they were purchased with Interest Proceeds) and (z) any
          payments (including any Sale Proceeds purchased with Interest Proceeds) with respect to any
          Hedge Agreement used in entering into a replacement Hedge Agreement;

                  (v)     all fees received pursuant to any Securities Lending Agreements;

                  (vi)     during the continuance of an “event of default” (under and as defined in the
          related Securities Lending Agreement), all interest received from the related Securities Lending
          Collateral;

                 (vii)   amounts in the Collection Account designated for distribution as Interest
          Proceeds pursuant to the Priority of Payments (including any amount transferred from the Interest
          Reserve Account);

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                  (viii) all earnings on amounts in the Revolving Reserve Account deposited to the
          Collection Account in accordance with Section 10.3(b) of the Indenture;

                  (ix)   amounts in the Expense Reimbursement Account on the Payment Date for the
          relevant Due Period;

                  (x)      any recoveries (including interest) received on a Defaulted Collateral Obligation
          in excess of the principal balance of such Defaulted Collateral Obligation (as of the date the
          related Collateral Obligation became a Defaulted Collateral Obligation).

         Interest Proceeds shall not include earnings on amounts on deposit in the Securities Lending
  Account to the extent the earnings are payable by the Issuer to a Securities Lending Counterparty.

          Each reference in the definition of “Interest Proceeds” to a Collateral Obligation shall include a
  Collateral Obligation that has been loaned pursuant to a Securities Lending Agreement and Interest
  Proceeds shall include any amounts referred to in clauses (i) through (iii) above received by the Issuer in
  respect of the Collateral Obligation indirectly from the related Securities Lending Counterparty pursuant
  to the Securities Lending Agreement.

         For the avoidance of doubt, “Interest Proceeds” will not include the Class P Collateral or any
  proceeds thereof.

          “Investment Criteria Adjusted Balance” means, for any Collateral Obligation other than Deep
  Discount Obligations, its Principal Balance; and for any Deep Discount Obligation its Purchase Price;
  provided, however, that the Investment Criteria Adjusted Balance for any Excess CCC/Caa Collateral
  Obligation shall be the product of (i) its Principal Balance and (ii) the lower of (a) the weighted average
  Market Value (for this purpose expressed as a percentage of principal balance) of all Excess CCC/Caa
  Collateral Obligations, expressed as a percentage of their outstanding principal balances and (b) 70%.

         “Investment Obligation” means, for a Collateral Obligation that is a Synthetic Security, the
  Reference Obligation of the Synthetic Security, and otherwise the Collateral Obligation.

          “Issuer Charter” means the Memorandum and Articles of Association of the Issuer, as amended
  and restated before the Closing Date or in accordance with the Indenture.

          “Issuer Order” and “Issuer Request” means a written order or request dated and signed in the
  name of the Issuer or the Co-Issuer by an Authorized Officer of the Issuer or the Co-Issuer, as applicable,
  or by the Portfolio Manager by an Authorized Officer of the Portfolio Manager, on behalf of the Issuer or
  the Co-Issuer.

          “Junior Class” means, with respect to a particular Class of Notes, each Class of Notes that is
  subordinated to that Class, as indicated under “Description of the Securities—Status and Security.”

           “Leasing Finance Transaction” means any transaction pursuant to which the obligations of the
  lessee to pay rent or other amounts on a triple net basis under any lease of (or other arrangement
  conveying the right to use) real or personal property, or a combination thereof, are required to be
  classified and accounted for as a capital lease on a balance sheet of such lessee under generally accepted
  accounting principles in the United States of America; but only if (a) such lease or other transaction
  provides for the unconditional obligation of the lessee to pay a stated amount of principal no later than a
  stated maturity date, together with interest thereon, and the payment of such obligation is not subject to
  any material non-credit related risk as determined by the Portfolio Manager, (b) the obligations of the
  lessee in respect of such lease or other transaction are fully secured, directly or indirectly, by the property
  that is the subject of such lease and (c) the interest held by the Issuer in respect of such lease or other
  transaction is treated as debt for U.S. federal income tax purposes.

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          “Loan” means any interest in a fully committed, senior secured, unsecured, or revolving loan
  (including loans involving credit linked deposits) that is acquired by assignment or by Participation
  (including any DIP Loan) that is either:

                   (i)     Registered; or

                   (ii)    issued by an obligor that is not resident in the United States;

                           (A)      whose payments are not subject to United States withholding tax; and

                           (B)     that is held through a financial institution pursuant to the procedures
                           described in Treasury Regulation section 1.165-12(c)(3).

           “Long-Dated Collateral Obligation” means any Collateral Obligation with a stated maturity
  later than the Stated Maturity of the Notes other than a Collateral Obligation with a stated maturity later
  than the Stated Maturities of the Notes that includes a “put” option to its obligor at a price of at least par
  payable on or before the Stated Maturity of the Notes; provided that such Collateral Obligation shall in no
  event have a stated maturity later than two years after the Stated Maturity Date of the Notes.

          “Majority” means with respect to any Class or group of Indenture Securities (other than the
  Class Q-1 Securities and the Class P Securities) or the Class E Certificates, the Holders of more than 50%
  of the Aggregate Outstanding Amount of that Class or group of Notes or Class E Certificates, as the case
  may be. Holders of Class Q-1 Securities will be included in the determination of a Majority of Holders of
  Class C Notes as if they were Holders of the Class C Notes in the Aggregate Outstanding Amount
  represented by the Class Q-1 Note Component and in the determination of a Majority of Holders of the
  Class E Certificates as if they were Holders of the number of Class E Certificates represented by the Class
  Q-1 Class E Certificate Component. Holders of the Class P-1 Securities and the Class P-2 Securities will
  be included in the determination of a Majority of Holders of the Class E Certificates as if they were
  Holders of the number of Class E Certificates represented by the Class P-1 Class E Certificate Component
  or the Class P-2 Class E Certificate Component, as applicable. With respect to the Class Q-1 Securities as
  such, the Class P-1 Securities as such and the Class P-2 Securities as such “Majority” means the Holders
  of more than 50% of the respective stated amount thereof.

          “Management Agreement” means the Portfolio Management Agreement, dated as of the
  Closing Date, between the Issuer and the Portfolio Manager, as modified, amended, and supplemented
  and in effect from time to time.

         “Margin Stock” means “Margin Stock” as defined under Regulation U issued by the Board of
  Governors of the Federal Reserve System, including any debt security that is by its terms convertible into
  Margin Stock.

          “Market Value” means, as of any Measurement Date, the market value determined by the
  Portfolio Manager and reported to the Trustee as an amount rather than as a percentage or fraction of par
  (expressed in Dollars) of any Collateral Obligation based upon the Portfolio Manager’s commercially
  reasonable judgment and based upon the following order of priority: (i) the average of the bid-side market
  prices obtained by the Portfolio Manager from three independent broker-dealers active in the trading of
  such obligations or (ii) if the foregoing set of prices were not obtained, the lower of the bid-side market
  prices obtained by the Portfolio Manager from two independent broker-dealers active in the trading of
  such obligations or (iii) if the foregoing sets of prices were not obtained, the average of the bid-side prices
  for the purchase of the Collateral Obligation determined by an Approved Pricing Service (independent
  from the Portfolio Manager) that derives valuations by polling broker-dealers (independent from the
  Portfolio Manager); provided that if a Market Value of any Collateral Obligation cannot be so determined
  for a period of 30 consecutive days then such Collateral Obligation shall be deemed to have a Market
  Value of zero; provided, further, that during such 30 day period, such Collateral Obligation shall be

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  deemed to have a Market Value equal to the lower of (i) (if any) the Market Value of such Collateral
  Obligation as most recently determined by the Portfolio Manager in accordance with the foregoing and
  (ii) the current market value of such Collateral Obligation as determined by the Portfolio Manager in its
  commercially reasonable judgment; provided, further, that the maximum amount of Collateral
  Obligations having a Market Value assigned pursuant to the immediately preceding proviso shall be
  limited to 5.0% of the Maximum Investment Amount (and any amount in excess of 5.0% of the
  Maximum Investment Amount shall be deemed to have a Market Value of zero).

          “Market Value Percentage” means, for any Collateral Obligation, the ratio obtained by
  dividing:

                  (i)     the Market Value of the Collateral Obligation; by

                  (ii)    the Principal Balance of the Collateral Obligation.

          “Maximum Investment Amount” means an amount equal to:

                  (i)     on any Measurement Date during the Ramp-Up Period, U.S.$900,000,000; and

                  (ii)    on any Measurement Date after the Ramp-Up Completion Date:

                         (A)      the aggregate Principal Balance of all Collateral Obligations plus the
                  aggregate outstanding principal amount of any Defaulted Collateral Obligations; plus

                         (B)    Cash representing Principal Proceeds on deposit in the Collection
                  Account; plus

                          (C)     Eligible Investments (other than cash) purchased by the Issuer with
                  Principal Proceeds on deposit in the Collection Account; plus

                         (D)     without duplication, an amount equal to the excess of (x) the Aggregate
                  Undrawn Amount of Class A-1A Notes over (y) the Aggregate Unfunded Amount minus
                  the amount credited to the Revolving Reserve Account; plus

                          (E)     without duplication, an amount equal to the Aggregate Undrawn Amount
                  of the Class A-1B Notes.

          “Maximum Weighted Average Moody’s Rating Factor” means, as of any Measurement Date,
  a rate equal to the sum of (i) the number set forth in the column entitled “Maximum Weighted Average
  Moody’s Rating Factor” in the Ratings Matrix based upon the applicable “row/column combination”
  chosen by the Portfolio Manager (or the interpolation between two adjacent rows and/or two adjacent
  columns, as applicable) plus (ii) the Recovery Rate Modifier.

          “Measurement Date” means any date:

                  (i)     on which the Issuer commits to acquire or dispose of any Collateral Obligation;

                  (ii)    on which a Collateral Obligation becomes a Defaulted Collateral Obligation;

                  (iii)   that is a Determination Date;

                  (iv)    that is the Ramp-Up Completion Date; and



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                  (v)     as of which the information in a Monthly Report is calculated pursuant to the
          Indenture.

          “Minimum Diversity Score” means, as of any Measurement Date, a score equal to the number
  set forth in the column entitled “Minimum Diversity Score” in the Ratings Matrix based upon the
  applicable “row/column combination” chosen by the Portfolio Manager (or the interpolating between two
  adjacent rows and/or two adjacent columns, as applicable).

          “Minimum Weighted Average Commitment Fee” means, as of any Measurement Date, 0.4%.

          “Minimum Weighted Average Spread” means, as of any Measurement Date, the spread equal
  to the percentage set forth in the row entitled “Minimum Weighted Average Spread” in the Ratings
  Matrix based upon the applicable “row/column combination” chosen by the Portfolio Manager (or the
  interpolating between two adjacent rows and/or two adjacent columns, as applicable).

          “Monthly Report” means a monthly report compiled and provided by the Issuer.

           “Moody’s Default Probability Rating” means with respect to any Collateral Obligation, as of
  any date of determination, the rating determined in accordance with the following, in the following order
  of priority:

                  (i)     with respect to a Moody’s Senior Secured Loan:

                          (A)     if the Loan’s obligor has a corporate family rating from Moody’s, such
                  corporate family rating; and
                         (B)      if the preceding clause does not apply, the Moody’s Obligation Rating of
                  such Loan;
                          (C)   if the preceding clauses do not apply, the rating that is one subcategory
                  above the Moody’s Equivalent Senior Unsecured Rating;
                 (ii)    with respect to a Moody’s Non Senior Secured Loan or a bond, the Moody’s
          Equivalent Senior Unsecured Rating of such Collateral Obligation;

                   (iii)  with respect to a Collateral Obligation that is a DIP Loan, the rating that is one
          rating subcategory below the Assigned Moody’s Rating thereof;

                   (iv)     with respect to a Structured Finance Obligation, the Assigned Moody’s Rating
          thereof (or, if the obligation does not have an Assigned Moody’s Rating but has a rating by S&P,
          the rating that is the number of rating subcategories specified by Moody’s below such S&P
          rating); and

                  (v)     with respect to a Synthetic Security, the Assigned Moody’s Rating thereof.

  Notwithstanding the foregoing, if the Moody’s rating or ratings used to determine the Moody’s Default
  Probability Rating are on watch for downgrade or upgrade by Moody’s, such rating or ratings will be
  adjusted down one subcategory (if on watch for downgrade) or up one subcategory (if on watch for
  upgrade).

          “Moody’s Equivalent Senior Unsecured Rating” means, with respect to any Collateral
  Obligation that is a Loan or bond and the obligor thereof, as of any date of determination, the rating
  determined in accordance with the following, in the following order of priority:




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                (i)    if the obligor has a senior unsecured obligation with an Assigned Moody’s
        Rating, such Assigned Moody’s Rating;

                   (ii)    if the preceding clause does not apply, the Moody’s “Issuer Rating” for the
        obligor;

                (iii)   if the preceding clauses do not apply, but the obligor has a subordinated
        obligation with an Assigned Moody’s Rating, then:

                           (A)      if such Assigned Moody’s Rating is at least “B3” (and, if rated “B3,” not
                   on watch for downgrade), the Moody’s Equivalent Senior Unsecured Rating shall be the
                   rating which is one rating subcategory higher than such Assigned Moody’s Rating; or

                          (B)    if such Assigned Moody’s Rating is less than “B3” (or rated “B3” and on
                   watch for downgrade), the Moody’s Equivalent Senior Unsecured Rating shall be such
                   Assigned Moody’s Rating;

                (iv)    if the preceding clauses do not apply, but the obligor has a senior secured
        obligation with an Assigned Moody’s Rating, then:

                            (A)    if such Assigned Moody’s Rating is at least “Caa3” (and, if rated “Caa3,”
                   not on watch for downgrade), the Moody’s Equivalent Senior Unsecured Rating shall be
                   the rating which is one subcategory below such Assigned Moody’s Rating; or

                            (B)  if such Assigned Moody’s Rating is less than “Caa3” (or rated “Caa3”
                   and on watch for downgrade), then the Moody’s Equivalent Senior Unsecured Rating
                   shall be “C”;

                (v)    if the preceding clauses do not apply, but such obligor has a corporate family
        rating from Moody’s, the Moody’s Equivalent Senior Unsecured Rating shall be one rating
        subcategory below such corporate family rating;

                 (vi)     if the preceding clauses do not apply, but the obligor has a senior unsecured
        obligation (other than a bank loan) with a monitored public rating from S&P (without any
        postscripts, asterisks or other qualifying notations, that addresses the full amount of principal and
        interest promised), then the Moody’s Equivalent Senior Unsecured Rating shall be:

                             (A)    one rating subcategory below the Moody’s equivalent of such S&P rating
                   if it is “BBB–” or higher;

                            (B)      two rating subcategories below the Moody’s equivalent of such S&P
                   rating if it is “BB+” or lower; or

                            (C)     “B3” until the Issuer or the Portfolio Manager obtains an estimated rating
                   from Moody’s if (a) the Portfolio Manager certifies to the Trustee that in its
                   commercially reasonable judgment, it believes an estimated rating equivalent to a rating
                   no lower than “B3” will be assigned by Moody’s and the Issuer or the Portfolio Manager
                   on its behalf applies for an estimated rating from Moody’s within five Business Days of
                   the date of the commitment to purchase the Loan or bond, (b) the aggregate Principal
                   Balance of Collateral Obligations having an Assigned Moody’s Rating pursuant to either
                   this clause (vi)(C), or clauses (vii)(C) or (viii)(C) does not exceed 5% of the Maximum
                   Investment Amount, and (c) all the Coverage Tests and the Collateral Quality Tests are
                   satisfied;


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                 (vii)    if the preceding clauses do not apply, but the obligor has a subordinated
        obligation (other than a bank loan) with a monitored public rating from S&P (without any
        postscripts, asterisks or other qualifying notations, that addresses the full amount of principal and
        interest promised), the Assigned Moody’s Rating shall be deemed to be:

                          (A)    one rating subcategory below the Moody’s equivalent of such S&P rating
                if it is “BBB–” or higher;

                         (B)      two rating subcategories below the Moody’s equivalent of such S&P
                rating if it is “BB+” or lower, and the Moody’s Equivalent Senior Unsecured Rating shall
                be determined pursuant to clause (iii) above; or

                         (C)      “B3” until the Issuer or the Portfolio Manager obtains an estimated rating
                from Moody’s if (a) the Portfolio Manager certifies to the Trustee that in its
                commercially reasonable judgment, it believes an estimated rating equivalent to a rating
                not lower than “B3” will be assigned by Moody’s and the Issuer or the Portfolio Manager
                on its behalf applies for an estimated rating from Moody’s within five Business Days of
                the date of the commitment to purchase the Loan or bond, (b) the aggregate Principal
                Balance of Collateral Obligations having an Assigned Moody’s Rating pursuant to either
                this clause (vii)(C), or clauses (vi)(C) or (viii)(C) does not exceed 5% of the Maximum
                Investment Amount, and (c) all the Coverage Tests and the Collateral Quality Tests are
                satisfied;

                (viii) if the preceding clauses do not apply, but the obligor has a senior secured
        obligation with a monitored public rating from S&P (without any postscripts, asterisks or other
        qualifying notations, that addresses the full amount of principal and interest promised), the
        Assigned Moody’s Rating shall be deemed to be:

                          (A)    one rating subcategory below the Moody’s equivalent of such S&P rating
                if it is “BBB–” or higher;

                         (B)      two rating subcategories below the Moody’s equivalent of such S&P
                rating if it is “BB+” or lower, and the Moody’s Equivalent Senior Unsecured Rating shall
                be determined pursuant to clause (iv) above; or

                         (C)      “B3” until the Issuer or the Portfolio Manager obtains an estimated rating
                from Moody’s if (a) the Portfolio Manager certifies to the Trustee that in its
                commercially reasonable judgment, it believes an estimated rating equivalent to a rating
                not lower than “B3” will be assigned by Moody’s and the Issuer or the Portfolio Manager
                on its behalf applies for an estimated rating from Moody’s within five Business Days of
                the date of the commitment to purchase the Loan or bond, (b) the aggregate Principal
                Balance of Collateral Obligations having an Assigned Moody’s Rating pursuant to either
                this clause (viii)(C), or clauses (vi)(C) or (vii)(C) does not exceed 5% of the Maximum
                Investment Amount, and (c) all the Coverage Tests and the Collateral Quality Tests are
                satisfied;

                (ix)    if the preceding clauses do not apply and each of the following clauses (A)
        through (H) do apply, the Moody’s Equivalent Senior Unsecured Rating will be “Caa1”:

                       (A)     neither the obligor nor any of its Affiliates is subject to reorganization or
                bankruptcy proceedings;

                        (B)      no debt securities or obligations of the obligor are in default;


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                          (C)     neither the obligor nor any of its Affiliates has defaulted on any debt
                  during the preceding two years;

                          (D)     the obligor has been in existence for the preceding five years;

                          (E)     the obligor is current on any cumulative dividends;

                          (F)     the fixed-charge ratio for the obligor exceeds 125% for each of the
                  preceding two fiscal years and for the most recent quarter;

                          (G)      the obligor had a net profit before tax in the past fiscal year and the most
                  recent quarter; and

                           (H)     the annual financial statements of such obligor are unqualified and
                  certified by a firm of independent accountants of international reputation, and quarterly
                  statements are unaudited but signed by a corporate officer;

                  (x)     if the preceding clauses do not apply but each of the following clauses (A) and
          (B) do apply, the Moody’s Equivalent Senior Unsecured Rating will be “Caa3”:

                         (A)     neither the obligor nor any of its Affiliates is subject to reorganization or
                  bankruptcy proceedings; and

                           (B)    no debt security or obligation of such obligor has been in default during
                  the past two years; and

                  (xi)    if the preceding clauses do not apply and a debt security or obligation of the
          obligor has been in default during the past two years, the Moody’s Equivalent Senior Unsecured
          Rating will be “Ca.”

  Notwithstanding the foregoing, not more than 10% of the Maximum Investment Amount may consist of
  Investment Obligations given a Moody’s Equivalent Senior Unsecured Rating based on a rating given by
  S&P as provided in clauses (vi), (vii) and (viii) above.

          “Moody’s Group I Country” means any of the following countries: Australia, the Netherlands,
  the United Kingdom and any country subsequently determined by Moody’s to be a Moody’s Group I
  Country.

          “Moody’s Group II Country” means any of the following countries: Germany, Ireland, Sweden,
  Switzerland and any country subsequently determined by Moody’s to be a Moody’s Group II Country.

         “Moody’s Group III Country” means any of the following countries: Austria, Belgium,
  Denmark, Finland, France, Iceland, Liechtenstein, Luxembourg, Norway, Spain and any country
  subsequently determined by Moody’s to be a Moody’s Group III Country.

          “Moody’s Non Senior Secured Loan” means any Loan that is not a Moody’s Senior Secured
  Loan.

         “Moody’s Obligation Rating” means, with respect to any Collateral Obligation as of any date of
  determination, the rating determined in accordance with the following, in the following order of priority:

                  (i)     With respect to a Moody’s Senior Secured Loan:

                          (A)     if it has an Assigned Moody’s Rating, such Assigned Moody’s Rating; or

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                          (B)    if the preceding clause does not apply, the rating that is one rating
                  subcategory above the Moody’s Equivalent Senior Unsecured Rating; and

                  (ii)    With respect to a Moody’s Non Senior Secured Loan or a bond:

                          (A)      if it has an Assigned Moody’s Rating, such Assigned Moody’s Rating; or

                         (B)     if the preceding clause does not apply, the Moody’s Equivalent Senior
                  Unsecured Rating; and

                  (iii)   With respect to a Synthetic Security or a DIP Loan, the Assigned Moody’s
          Rating thereof.

  Notwithstanding the foregoing, if the Moody’s rating or ratings used to determine the Moody’s Default
  Probability Rating are on watch for downgrade or upgrade by Moody’s, such rating or ratings will be
  adjusted down one subcategory (if on watch for downgrade) or up one subcategory (if on watch for
  upgrade).

           “Moody’s Priority Category” means each type of Collateral Obligation specified in the
  definition of “Applicable Percentage” as a “Moody’s Priority Category.”

          “Moody’s Priority Category Recovery Rate” means for any Collateral Obligation, the
  percentage specified in the definition of “Applicable Percentage” opposite the Moody’s Priority Category
  of the Collateral Obligation.

          “Moody’s Rating” means the Moody’s Default Probability Rating; provided that, with respect to
  the Collateral Obligations generally, if at any time Moody’s or any successor to it ceases to provide rating
  services, references to rating categories of Moody’s in the Indenture shall be deemed instead to be
  references to the equivalent categories of any other nationally recognized investment rating agency
  selected by the Portfolio Manager, as of the most recent date on which such other rating agency and
  Moody’s published ratings for the type of security in respect of which such alternative rating agency is
  used.

          “Moody’s Rating Factor” means the number in the table below opposite the rating of the
  Collateral Obligation (excluding Synthetic Securities where an Assigned Moody’s Rating is not
  available).




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                                           Moody’s                            Moody’s
                         Moody’s           Rating            Moody’s          Rating
                         Rating            Factor            Rating           Factor
                           Aaa                 1               Ba1               940
                           Aa1                10               Ba2              1350
                           Aa2                20               Ba3              1766
                           Aa3                40                B1              2220
                           A1                 70                B2              2720
                           A2                 120               B3              3490
                           A3                 180              Caa1             4770
                           Baa1               260              Caa2             6500
                           Baa2               360              Caa3             8070
                           Baa3               610           Ca or lower         10000


          The Moody’s Rating Factor for Collateral Obligations that are Synthetic Securities shall be
  determined by Moody’s and obtained by the Issuer or the Portfolio Manager on a case-by-case basis,
  unless there is an Assigned Moody’s Rating available for such Collateral Obligation that is a Synthetic
  Security, in which case such Assigned Moody’s Rating shall be used to compute the Moody’s Rating
  Factor for such Collateral Obligation that is a Synthetic Security.

         “Moody’s Senior Secured Loan” means:

                 (i)     A Loan that:

                         (A)      is not (and cannot by its terms become) subordinate in right of payment
                 to any other obligation of the obligor of the Loan;

                         (B)      is secured by a valid first priority perfected security interest or lien in, to
                 or on specified collateral securing the obligor’s obligations under the Loan; and

                         (C)      the value of the collateral securing the Loan together with other attributes
                 of the obligor (including, without limitation, its general financial condition, ability to
                 generate cash flow available for debt service and other demands for that cash flow) is
                 adequate (in the commercially reasonable judgment of the Portfolio Manager) to repay
                 the Loan in accordance with its terms and to repay all other loans of equal seniority
                 secured by a first lien or security interest in the same collateral; or

                 (ii)    a Loan that:

                          (A)      is not (and cannot by its terms become) subordinate in right of payment
                 to any other obligation of the obligor of the Loan, other than, with respect to a Loan
                 described in clause (i) above, with respect to the liquidation of such obligor or the
                 collateral for such loan;

                          (B)     is secured by a valid second priority perfected security interest or lien in,
                 to or on specified collateral securing the obligor’s obligations under the Loan; and



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                             (C)    the value of the collateral securing the Loan together with other attributes
                    of the obligor (including, without limitation, its general financial condition, ability to
                    generate cash flow available for debt service and other demands for that cash flow) is
                    adequate (in the commercially reasonable judgment of the Portfolio Manager) to repay
                    the Loan in accordance with its terms and to repay all other loans of equal or higher
                    seniority secured by a first or second lien or security interest in the same collateral;

                            provided that such a second-lien Loan will only constitute a Moody’s Senior
                    Secured Loan if its has an Assigned Moody’s Rating that is not lower than the corporate
                    family rating by Moody’s of the related obligor; and

                    (iii)    the Loan is not: (A) a DIP Loan, (B) a Loan for which the security interest or lien
            (or the validity or effectiveness thereof) in substantially all of its collateral attaches, becomes
            effective, or otherwise “springs” into existence after the origination thereof, or (C) a type of loan
            that Moody’s has identified as having unusual terms and with respect to which its Moody’s
            Recovery Rate has been or is to be determined on a case-by-case basis.

           “Non-Consenting Holder” means in connection with any supplemental indenture pursuant to the
  Indenture that requires the consent of one or more Holders of Securities, with respect to the Holders of the
  Securities, any such Holder or, in the case of such Securities represented by Global Securities, any
  beneficial owner thereof, that either (i) has declared in writing that it will not consent to such
  supplemental indenture or (ii) had not consented to such supplemental indenture within the applicable
  Initial Consent Period.

           “Non-Performing Collateral Obligation” means any Defaulted Collateral Obligation and any
  PIK Security as to which its issuer or obligor has previously deferred or capitalized any interest due on it
  and all the interest so deferred or capitalized has not subsequently been paid in full in cash by:

                     (i)      if the PIK Security has a Moody’s Rating of “Baa3” (and not on credit watch
            with negative implications) or above or an S&P Rating of “BBB-” (and not on credit watch with
            negative implications) or above, the earlier of its second payment date or one year following the
            date of the initial deferral or capitalization of interest due on it; or

                    (ii)    if the PIK Security has a Moody’s Rating of “Baa3” and on credit watch with
            negative implications or below “Baa3,” or an S&P Rating of “BBB-” and on credit watch with
            negative implications or below “BBB-,” the earlier of its first payment date or six months
            following the date of the initial deferral or capitalization of interest due on it.

          “Noteholder” means a Holder of any Class of Notes (which shall include Holders of the Class Q-
  1 Securities to the extent of the Class Q-1 Note Component).

          “Notes” means the Class A-1A Notes, the Class A-1B Notes, the Class A-1C Notes, the Class A-
  2 Notes, the Class A-3 Notes, the Class A-4 Notes, the Class B Notes and the Class C Notes.

          “Obligor”: With respect to a Collateral Obligation (other than a Synthetic Security) or a
  Reference Obligation (in the case of a Synthetic Security), the applicable issuer, borrower or guarantor
  (which in any case is a corporation, company, partnership or trust), or any successor thereto with respect
  to such Collateral Obligation or Reference Obligation.

            “Offer” means a tender offer, voluntary redemption, exchange offer, conversion or other similar
  action.

          “Officer” means, with respect to the Issuer and any corporation, any director, the Chairman of the
  board of directors, the President, any Vice President, the Secretary, an Assistant Secretary, the Treasurer,

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  or an Assistant Treasurer of the entity; with respect to the Co-Issuer and any corporation, any director, the
  Chairman of the board of directors, the President, any Vice President, the Secretary, an Assistant
  Secretary, the Treasurer, or an Assistant Treasurer of the entity; with respect to any partnership, any of its
  general partners; and with respect to the Trustee, any Trust Officer.

          “Outstanding” means, with respect to: (i) the Notes or any specified Class, as of any date of
  determination, all of the Notes, or all of the Notes of the specified Class, as the case may be, theretofore
  authenticated and delivered under the Indenture, (ii) with respect to the Class Q-1 Securities, as of any
  date of determination, all Class Q-1 Securities theretofore authenticated and delivered under the
  Indenture, and (iii) the Class P-1 Securities and the Class P-2 Securities, as of any date of determination,
  all Class P-1 Securities and Class P-2 Securities, as applicable, theretofore authenticated and delivered
  under the Indenture, in each case except Notes, Class Q-1 Securities and Class P Securities, as
  applicable,:

                          (A)      canceled by the Indenture Registrar or delivered to the Indenture
                  Registrar for cancellation;
                          (B)     for whose payment or redemption funds in the necessary amount have
                  been theretofore irrevocably deposited with the Trustee or any Paying Agent in trust for
                  their Holders pursuant to Section 4.1(a)(ii) of the Indenture and if the Securities are to be
                  redeemed, notice of redemption has been duly given pursuant to the Indenture;
                          (C)     in exchange for or in lieu of which other Securities have been
                  authenticated and delivered pursuant to the Indenture; and
                           (D)     alleged to have been destroyed, lost, or stolen for which replacement
                  Securities have been issued as provided in Section 2.7 of the Indenture, unless proof
                  satisfactory to the Trustee is presented that any such Securities are held by a protected
                  purchaser;
          (ii)     the Class E Certificates, as of any date of determination, all of the Class E Certificates
  theretofore issued under the Class E Certificate Documents and listed in the Class E Certificate register of
  the Issuer as outstanding:

  provided that, in determining whether the Holders of the requisite Aggregate Outstanding Amount of the
  Notes, Class Q-1 Securities, Class P Securities or the Class E Certificates have given any request,
  demand, authorization, direction, notice, consent, or waiver under the Indenture: (i) the Class C Notes
  represented by the Class Q-1 Note Component will be considered to be Class C Notes and Holders of
  Class Q-1 Securities will be entitled to vote the Class C Notes represented by the Class Q-1 Note
  Component, and (B) the Class E Certificates represented by any Class E Certificate Component will be
  considered to be Class E Certificates and Holders of the Class Q-1 Securities will be entitled to vote the
  Class E Certificates represented by the Class Q-1 Class E Certificate Component, Holders of the Class P-
  1 Securities will be entitled to vote the Class E Certificates represented by the Class P-1 Class E
  Certificate Component and Holders of the Class P-2 Securities will be entitled to vote the Class E
  Certificates represented by the Class P-2 Class E Certificate Component; (ii) Securities owned or
  beneficially owned by the Issuer, the Co-Issuer, any Affiliate of either of them will be disregarded and not
  be Outstanding and (iii) only (x) with respect to any matter affecting its status as Portfolio Manager, or
  (y) in any matter respecting an acceleration of any Class of Securities if the effect of the Portfolio
  Manager’s action or inaction as a Holder of Securities would effectively prevent acceleration) the
  Portfolio Manager and its Affiliates and any accounts over which the Portfolio Manager or its Affiliates
  have discretionary voting authority, shall be disregarded and not be Outstanding, except that, in
  determining whether the Trustee shall be protected in relying on any request, demand, authorization,
  direction, notice, consent, or waiver, only Securities that a Trust Officer of the Trustee has actual
  knowledge to be so owned or beneficially owned shall be so disregarded. Securities so owned or
  beneficially owned that have been pledged in good faith may be regarded as Outstanding if the pledgee

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  establishes to the satisfaction of the Trustee the pledgee’s right so to act with respect to the Securities and
  that the pledgee is not the Issuer, the Co-Issuer, the Portfolio Manager, the Class E Certificate Paying
  Agent or any Affiliate of the Issuer or the Co-Issuer.

          “Participating Institution” means an institution that creates a participation interest and that has a
  long-term senior unsecured rating by Moody’s of at least “A3” (and if so rated by Moody’s such rating is
  not on watch for possible downgrade) and an issuer credit rating by S&P of at least “A”.

           “Participation” means a Loan acquired as a participation interest created by a Participating
  Institution.

          “Permitted Offer” means an Offer, pursuant to which the offeror offers to acquire a debt
  obligation (including a Collateral Obligation) in exchange solely for cash in an amount equal to or greater
  than the full face amount of the debt obligation plus any accrued and unpaid interest and as to which the
  Portfolio Manager has determined in its commercially reasonable judgment that the offeror has sufficient
  access to financing to consummate the Offer.

          “PIK Cash-Pay Interest” means as to any PIK Security, the portion of interest required to be paid in
  cash (and not permitted to be added to the balance of such PIK Security or otherwise deferred and accrued)
  thereon pursuant to the terms of the related Underlying Instruments.

            “PIK Security” means any loan or debt obligation on which any portion of the interest accrued for a
  specified period of time or until the maturity thereof is, or at the option of the obligor may be, added to the
  principal balance of such loan or debt obligation or otherwise deferred rather than being paid in cash, provided
  that such loan or debt obligation shall not be a PIK Security if the related PIK Cash-Pay Interest, if any, would
  result in the outstanding principal amount of such loan or debt obligation having an effective rate of PIK Cash-
  Pay Interest at least equal to (i) if such loan or debt obligation is a fixed rate loan or debt obligation, 4.0% per
  annum, or (ii) if such loan or debt obligation is a floating rate loan or debt obligation, LIBOR.

          “Pledged Obligations” means, as of any date of determination, the Collateral Obligations, the
  Workout Assets, the Eligible Investments, and any other securities or obligations that have been granted
  to the Trustee that form part of the Collateral.

         “Person” is an individual, corporation (including a business trust), partnership, limited liability
  company, joint venture, association, joint stock company, trust (including any beneficiary thereof),
  unincorporated association or government or any agency or political subdivision thereof.

          “Principal Balance” means, with respect to:

                  (i)     any Pledged Obligation other than those specifically covered in this definition,
          the outstanding principal amount of the Pledged Obligation as of the relevant Measurement Date;

                   (ii)     any Synthetic Security, the notional amount specified in such Synthetic Security;

                  (iii)    any Pledged Obligation in which the Trustee does not have a first priority
          perfected security interest, zero, except as otherwise expressly specified in the Indenture;

                   (iv)     any Defaulted Collateral Obligation, except as otherwise provided, zero;

                   (v)   any Collateral Obligation that has been loaned, its outstanding principal amount
          reduced by the excess of the amount of collateral required over the actual Market Value of the
          collateral;




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                   (vi)     any Revolving Loan or Delayed Drawdown Loan, its funded principal amount
          outstanding plus any Unfunded Amount thereof (regardless of the nature of the contingency
          relating to the Issuer’s obligation to fund the Unfunded Amount), except as otherwise expressly
          specified in the Indenture;

                  (vii)  any PIK Security and any Collateral Obligation that would be a PIK Security but
          for the proviso in the definition thereof, its outstanding principal amount but excluding any
          principal amount representing previously deferred or capitalized interest; and

                  (viii) any obligation or security that at the time of acquisition, conversion, or exchange
          does not satisfy the requirements of a Collateral Obligation, zero.

          “Principal Proceeds” means with respect to any Due Period (i) all amounts received in Cash
  during the Due Period by the Issuer with respect to the Collateral that are not Interest Proceeds and (ii) the
  net proceeds received from any additional issuance of Class E Certificates.

           Principal Proceeds shall include any funds transferred from the Closing Date Expense Account
  into the Collection Account pursuant to Section 10.2 of the Indenture.

         Principal Proceeds do not include the earnings on amounts on deposit in the Securities Lending
  Account to the extent the earnings are payable by the Issuer to a Securities Lending Counterparty.

           At any time when an “event of default” under a Securities Lending Agreement has occurred and
  is continuing, any payments received by the Issuer from the related Securities Lending Collateral shall be
  Principal Proceeds.

          “Priority Class” means, with respect to any specified Class of Notes, each Class of Notes that
  ranks senior to that Class, as indicated under “Description of the Securities—Status and Security.”

         “Proceeding” means any suit in equity, action at law, or other judicial or administrative
  proceeding.

          “Proposed Portfolio” means, as of any Measurement Date, the portfolio (measured by Aggregate
  Principal Balance) of Collateral Obligations and Principal Proceeds held as Cash on deposit in the
  Collection Account and other Eligible Investments purchased with Principal Proceeds on deposit in the
  Collection Account resulting from the sale, maturity, or other disposition of a Collateral Obligation or a
  proposed reinvestment in a Collateral Obligation, as the case may be.

          “Purchase Price” means, with respect to the purchase of any Collateral Obligation (other than
  any obligation that at the time of acquisition, conversion, or exchange does not satisfy the requirements of
  a Collateral Obligation), the net purchase price paid by the Issuer for the Collateral Obligation. The net
  purchase price is determined by subtracting from the purchase price the amount of any Accrued Interest
  Purchased With Principal and any syndication and other upfront fees paid to the Issuer and by adding the
  amount of any related transaction costs (including assignment fees) paid by the Issuer to the seller of the
  Collateral Obligation or its agent.

         “Purchase Price Amount” means, respect to any Collateral Obligation on any date of
  determination, the product of (i) the Purchase Price (stated as a percentage) thereof and (ii) the Principal
  Balance thereof on such date.

           “Qualified Equity Security” means any obligation that at the time of acquisition, conversion, or
  exchange does not satisfy the requirements of a Collateral Obligation that is stock or evidence of an
  interest in or a right to buy stock, or any obligation that at the time of acquisition, conversion, or exchange
  does not satisfy the requirements of a Collateral Obligation but whose acquisition otherwise is a

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  transaction in stocks or securities within the meaning of Section 864(b)(2)(A)(ii) of the Code and the
  regulations under the Code. Qualified Equity Securities do not include any obligation that at the time of
  acquisition, conversion, or exchange does not satisfy the requirements of a Collateral Obligation and that
  will cause the Issuer to be treated as engaged in or having income from a United States trade or business
  for United States federal income tax purposes by virtue of its ownership or disposition of the obligation
  (without regard to the Issuer’s other activities).

        “Ramp-Up Period” means the period from and including the Closing Date to and including the
  Ramp-Up Completion Date.

           “Rating Agency” means, each of Moody’s and S&P or, with respect to Pledged Obligations
  generally, if at any time Moody’s or S&P ceases to provide rating services with respect to high yield debt
  securities, any other nationally recognized statistical rating organization selected by the Issuer and
  reasonably satisfactory to a Majority of each Class of Notes, and, in the case of Moody’s ceasing to
  provide rating services only, a Majority of each of the Class Q-1 Securities, the Class P-1 Securities and
  the Class P-2 Securities. If at any time Moody’s ceases to be a Rating Agency, references to rating
  categories of Moody’s in the Indenture shall instead be references to the equivalent categories of the
  replacement rating agency as of the most recent date on which the replacement rating agency and
  Moody’s published ratings for the type of security in respect of which the replacement rating agency is
  used. If at any time S&P ceases to be a Rating Agency, references to rating categories of S&P in the
  Indenture shall instead be references to the equivalent categories of the replacement rating agency as of
  the most recent date on which the replacement rating agency and S&P published ratings for the type of
  security in respect of which the replacement rating agency is used.

          “Rating Condition” means with respect to any action taken or to be taken under the Indenture, a
  condition that is satisfied when both Rating Agencies, or, if expressly stated, a specified Rating Agency,
  has confirmed to the Portfolio Manager (as agent for the Issuer) in writing that no withdrawal, reduction,
  suspension, or other adverse action with respect to any then current rating by it (including any private or
  confidential rating) of any Class of Securities will occur as a result of the action. The Rating Condition
  with respect to any Rating Agency shall be satisfied for all purposes of the Indenture at any time when no
  Outstanding Securities are rated by it.

         “Rating Confirmation” means confirmation from each Rating Agency that it has not reduced,
  suspended, or withdrawn the Initial Rating assigned by it to any Class of Securities.

          “Rating Criteria”: Criteria that will be satisfied on any date with respect to any Holder of Class
  A–1A Notes and any Holder of Class A-1B Notes, as applicable, if the short-term debt, deposit or similar
  obligations of such Holder (or its guarantor) are on such date rated at least “P-1” (but not “P-1” on credit
  watch for downgrade) by Moody’s and “A-1” by S&P (but not “A-1” on credit watch for downgrade).

          “Ratings Matrix” means the “row/column combination” of the table below selected by the
  Portfolio Manager on the Closing Date to apply initially for purposes of the Diversity Test, the Weighted
  Average Spread Test and the Weighted Average Rating Factor Test. Thereafter, on notice to the Trustee,
  the Portfolio Manager may select a different row of the Ratings Matrix to apply, or may interpolate
  between two adjacent rows and/or two adjacent columns, as applicable, on a straight-line basis and round
  the results to two decimal points.




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                                                  Minimum Diversity Score
                Minimum
             Weighted Average
                 Spread               50    55    60    65      70     75     80
                  2.2%              2070 2100 2130 2160 2190 2220 2250
                  2.3%              2130 2160 2190 2220 2250 2280 2310
                  2.4%              2190 2220 2250 2280 2310 2340 2370
                  2.5%              2250 2280 2310 2340 2370 2400 2430
                  2.6%              2310 2340 2370 2400 2430 2460 2490
                  2.7%              2370 2400 2430 2460 2490 2520 2550
                  2.8%              2430 2460 2490 2520 2550 2580 2610
                  2.9%              2490 2520 2550 2580 2610 2640 2670
                  3.0%              2550 2580 2610 2640 2670 2700 2730
                                      Maximum Weighted Average Moody’s Rating
                                                     Factor


         “Recovery Rate Modifier” means, as of any Measurement Date, the lesser of 60 and the product
  of:

                 (i)     (a) the Moody’s Weighted Average Recovery Rate minus the minimum
         percentage specified to pass the Weighted Average Moody’s Recovery Rate Test (but not less
         than zero) multiplied by (b) 100; and

                 (ii)    40.

         “Redemption Date” means any Payment Date specified for an Optional Redemption under
  “Description of the Securities—Optional Redemption.”

          “Redemption Price” means with respect to any Optional Redemption and (a) any Note (other
  than the Class A-1A Notes), an amount equal to:

                 (i)     the outstanding principal amount of the portion of the Note being redeemed; plus
                 (ii)    accrued interest on the Note (including any Defaulted Interest and interest on
         Defaulted Interest); plus
                 (iii)   in the case of any Deferred Interest Note, the applicable Deferred Interest on the
         Note; plus
                 (iv)    in the case of the Class A-1B Notes, any accrued and unpaid Delayed Drawdown
         Fee; plus
                 (v)     any unpaid Extension Bonus Payment in respect of the Note;
         (b) any Class A-1A Note, an amount equal to:
                 (i)     100% of the Drawn Amount of such Class A–1A Note to be redeemed, plus
                (ii)     accrued and unpaid interest thereon (including any Defaulted Interest and interest
         on Defaulted Interest), plus
                 (iii)   and any accrued and unpaid Commitment Fee Amount, plus
                 (iv)    any unpaid Extension Bonus Payment in respect of the Note.

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           With respect to any Optional Redemption of the Class E Certificates, “Redemption Price” means
  (i) the entire remaining amount of available funds after all prior applications pursuant to the Priority of
  Payments or (ii) as otherwise specified by the unanimous direction of the Holders of the Class E
  Certificates, in each case, as specified in “Description of the Securities—Optional RedemptionClass E
  Certificates.”

           “Reference Obligation” means an obligation that would, if acquired directly by the Issuer,
  satisfy the definition of “Collateral Obligation” and on which a Synthetic Security is based.

           “Registered” means, with respect to a Collateral Obligation or Eligible Investment, means that it
  is issued after July 18, 1984 and is in registered form within the meaning of Section 881(c)(2)(B)(i) of the
  Code and the Treasury Regulations promulgated thereunder.

          “Regulation D” means Regulation D under the Securities Act.

          “Reinvestment Overcollateralization Ratio” means, as of any Measurement Date, the ratio
  obtained by dividing: (i) the Overcollateralization Ratio Numerator by (ii) the Aggregate Outstanding
  Amount of the Class A-1 Notes, the Class A-2 Notes, the Class A-3 Notes, the Class A-4 Notes, the Class
  B Notes and the Class C Notes (including, for the avoidance of doubt, any Deferred Interest, if any, on
  those Classes of Notes).

          “Reinvestment Overcollateralization Ratio Test” means, a test that is satisfied as of any
  Measurement Date on which any Notes remain Outstanding, if the Reinvestment Overcollateralization
  Ratio as of such Measurement Date is at least equal to 104.8%.

          “Removal Buy-Out Purchaser” means the Portfolio Manager or other applicable purchaser
  under the relevant provisions of the Management Agreement.

          “Repository” means the internet-based password protected electronic repository of transaction
  documents relating to privately offered and sold collateralized debt obligation securities located at
  “www.cdolibrary.com” operated by The Bond Market Association. Information on this website is not
  considered part of this Offering Memorandum in any way.

           “Revolver Funding Reserve Amount” means an amount, which cannot be negative, equal to the
  sum of (a) the Aggregate Unfunded Amount for all Revolving Loans and Delayed Drawdown Loans
  minus (b) the Aggregate Undrawn Amount of the Class A-1A Notes; provided, however, for purposes of
  this definition, the Aggregate Undrawn Amount of Class A-1A Notes used in such calculation shall not
  include the portion of the Aggregate Undrawn Amount attributable to each Holder of Class A-1A Notes at
  any time and for so long as and to the extent (x) such Holder does not meet the Rating Criteria and (y) has
  failed to fund the Undrawn Amount of its Class A-1A Notes when required to do so under the Class A-1A
  Note Purchase Agreement.

           “Revolving Loan” means a Loan or any Synthetic Security with a Reference Obligation (in each
  case excluding any Delayed Drawdown Loan) that requires the Issuer to make future advances to (or for
  the account of) the borrower under its Underlying Instruments (including any letter of credit for which the
  Issuer is required to reimburse the issuing bank for under it). A Loan or Synthetic Security will only be
  considered to be a Revolving Loan for so long as its Unfunded Amount is greater than zero.

          “Revolving Note Agent” has the meaning specified in the Class A-1A Note Purchase Agreement.

         “Revolving Reserve Account” has the meaning specified in “Summary of Terms—Use of
  Proceeds.”



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          “S&P CDO Monitor” means a dynamic, analytical computer model developed by S&P that may
  be modified by S&P from time to time and provided to the Portfolio Manager and the Collateral
  Administrator to be used to calculate the default frequency in terms of the amount of debt assumed to
  default as a percentage of the original principal amount of the Collateral Obligations consistent with a
  specified benchmark rating level based on certain assumptions and S&P’s proprietary corporate default
  studies. For the purpose (and only for the purpose) of applying the S&P CDO Monitor to a portfolio of
  obligations, for each obligation in the portfolio, the rating of the obligation shall be its S&P Rating.

          “S&P Industry Classification” means the S&P Industry Classifications in Schedule 3 of the
  Indenture as modified, amended, and supplemented from time to time by S&P.

         “S&P Priority Category” means each type of Collateral Obligation specified in the definition of
  “Applicable Percentage” as an “S&P Priority Category.”

          “S&P Priority Category Recovery Rate” means, for any Collateral Obligation, the percentage
  specified in the definition of “Applicable Percentage” opposite the S&P Priority Category of the
  Collateral Obligation.

           “S&P Rating” means, with respect to any Collateral Obligation, as of any date of determination,
  the rating determined in accordance with the following methodology:

                  (i)     If there is an issuer credit rating of the borrower of the Collateral Obligation (the
          “Borrower”), or the guarantor who unconditionally and irrevocably guarantees the Collateral
          Obligation (the “Guarantor”) by S&P, the most current issuer credit rating for such Borrower or
          Guarantor;

                   (ii)     (a) if there is not an issuer credit rating of the Borrower or its Guarantor by S&P,
          but there is a rating by S&P on a senior secured obligation of the Borrower or its Guarantor, then
          the S&P Rating of the Collateral Obligation will be one subcategory below such rating; (b) if
          there is not a rating by S&P on a senior secured obligation of the Borrower or its Guarantor, but
          there is a rating by S&P on a senior unsecured obligation of the Borrower or its Guarantor, then
          the S&P Rating will be such rating; and (c) if there is not a rating by S&P on a senior obligation
          of the Borrower or its Guarantor, but there is a rating by S&P on a subordinated obligation of the
          Borrower or its Guarantor, then the S&P Rating will be two subcategories above such rating if
          such rating is “BBB-” or higher and will be one subcategory above such rating if such rating is
          “BB+” or lower; or

                   (iii)   if there is neither an issuer credit rating of the Borrower or its Guarantor by S&P
          nor a rating by S&P on an obligation of the Borrower or its Guarantor, then the S&P Rating may
          be determined using any one of the methods below:

                          (A)      if an obligation of the Borrower or its Guarantor is publicly rated by
                  Moody’s, then the S&P Rating will be determined in accordance with the methodologies
                  for establishing the Moody’s Default Probability Rating, except that the S&P Rating of
                  such obligation will be (1) one subcategory below the S&P equivalent of the rating
                  assigned by Moody’s if such security is rated “Baa3” or higher by Moody’s and (2) two
                  subcategories below the S&P equivalent of the rating assigned by Moody’s if such
                  security is rated “Bal” or lower by Moody’s; provided that Collateral Obligations
                  constituting no more than 5% of the Maximum Investment Amount (which concentration
                  may be increased to 10% upon satisfaction of the Rating Condition with respect to S&P)
                  may be given a S&P Rating based on a rating given by Moody’s as provided in this
                  subclause (A) (after giving effect to the addition of the relevant Collateral Obligation, if
                  applicable);


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                           (B)     if no other security or obligation of the Borrower or its Guarantor is rated
                  by S&P or Moody’s, then the Portfolio Manager may apply to S&P for a S&P credit
                  rating estimate, which will be its S&P Rating; or

                           (C)     (1) if such Collateral Obligation (other than a Current-Pay Obligation) is
                  not rated by Moody’s or S&P, no other security or obligation of the Borrower or its
                  Guarantor is rated by S&P or Moody’s and if the Portfolio Manager determines in its sole
                  discretion based on information available to it after reasonable inquiry that such
                  Borrower (x) is not subject to any bankruptcy or reorganization proceedings nor in
                  default on any of its obligations (unless the subject of a good faith business dispute), (y)
                  is a legally constituted corporate entity having the minimum legal, financial and
                  operational infrastructure to carry on a definable business, deliver and sell a product or
                  service and report its results in generally accepted accounting terms as verified by a
                  reputable audit firm and (z) is not so vulnerable to adverse business, financial and
                  economic conditions that default in its financial or other obligations is foreseeable in the
                  near term if current operating trends continue, then the S&P Rating will be “B-”;
                  provided that the Portfolio Manager must apply to S&P for a S&P credit rating on such
                  Borrower within 30 days after the addition of the relevant Collateral Obligation;
                  provided, further, that Collateral Obligations constituting no more than 5% of the
                  Maximum Investment Amount may be given an S&P Rating based on this subclause (C)
                  (after giving effect to the addition of the relevant Collateral Obligation, if applicable) or
                  (2) if such Collateral Obligation is a Current-Pay Obligation and is not rated by Moody’s
                  or S&P and no other security or obligation of the Borrower or its Guarantor is rated by
                  S&P or Moody’s, then the S&P Rating will be “CCC-”;

          provided that, if (i) the relevant Borrower or Guarantor or obligation is placed on any positive
          “credit watch” list by S&P, such rating will be increased by one rating subcategory or (ii) the
          relevant Borrower or Guarantor or obligation is placed on any negative “credit watch” list by
          S&P, such rating will be decreased by one rating subcategory.

          Notwithstanding the foregoing, in the case of a Collateral Obligation that is a DIP Loan, the S&P
  Rating shall be (A) the rating assigned thereto by S&P if the rating is public, (B) the rating assigned by
  S&P if the rating is confidential, but only if all appropriate parties have provided written consent to its
  disclosure and use, (C) the rating assigned by S&P thereto through an estimated rating or (D) the rating
  assigned thereto by S&P in connection with the acquisition thereof upon the request of the Portfolio
  Manager. In the case of a Collateral Obligation that is a PIK Security, Structured Finance Obligation or
  Synthetic Security, the S&P Rating may not be determined pursuant to clause (iii)(A) above.

          S&P Ratings for entities or obligations relevant hereunder other than Borrowers and Collateral
  Obligations shall be determined in a corresponding manner.


          “S&P Unrated DIP Loan” means a DIP Loan acquired by the Issuer that does not have a rating
  assigned by S&P and for which the Portfolio Manager has commenced the process of having a rating
  assigned by S&P (as specified in the definition of “DIP Loan”).

           “Sale Proceeds” means all proceeds received (including any proceeds received with respect to
  any associated interest rate swap or security providing fixed annuity payments) with respect to Collateral
  Obligations or other Pledged Obligations as a result of their sales or other dispositions less any reasonable
  expenses expended by the Portfolio Manager or the Trustee in connection with the sales or other
  dispositions, which shall be paid from such proceeds notwithstanding their characterization otherwise as
  Administrative Expenses. For the avoidance of doubt, “Sale Proceeds” will not include the Class P
  Collateral or any proceeds thereof.


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           “Second Lien Loan” means a Secured Loan (other than a Senior Secured Loan) that has a junior
  contractual claim only to a Senior Secured Loan on tangible property (which property is subject to a prior
  lien (other than customary permitted liens, as such, but not limited to, any tax liens)) to secure payment of
  a debt or the fulfillment of a contractual obligation.

         “Secondary Risk Counterparty” means any obligor Domiciled other than in the United States,
  any Participating Institution, any Synthetic Security Counterparty and any Securities Lending
  Counterparty.

          “Secondary Risk Table” means the table below:

                     Long-Term Senior Unsecured              Individual          Aggregate
                     Debt Rating of Secondary Risk          Counterparty        Counterparty
                             Counterparty                      Limit               Limit
                     Moody’s               S&P
                        Aaa               AAA                     20.0%              20.0%
                        Aa1                AA+                     10.0%             10.0%
                        Aa2                AA                     10.0%              10.0%
                        Aa3                AA-                    10.0%              10.0%
                        A1                  A+                      5.0%             10.0%
                   A2 or below         A or below                   0.0%               0.0%


           If any Secondary Risk Counterparty’s long-term senior unsecured debt rating or short-term rating
  is on credit watch for possible downgrade by Moody’s or S&P, then for the purposes of the table above,
  its rating by the Rating Agency putting its rating on credit watch shall be one rating notch lower for that
  Rating Agency.

           “Secured Loan” means a Loan that (i) is not subordinated by its terms to other indebtedness of
  the borrower for borrowed money and (ii) is secured by a valid and perfected security interest in specified
  collateral.

         “Secured Parties” means the Noteholders, the Trustee, the Portfolio Manager and each Hedge
  Counterparty.

          “Securities Lending Collateral” means Cash or direct registered debt obligations of the United
  States of America that have a maturity date no later than the Business Day preceding the stated
  termination date of the relevant Securities Lending Agreement and that are pledged by a Securities
  Lending Counterparty as collateral pursuant to a Securities Lending Agreement.

         “Selected Collateral Quality Tests” means the Weighted Average Moody’s Recovery Rate Test,
  the Weighted Average Fixed Rate Coupon Test, the Weighted Average Spread Test, the Weighted
  Average Life Test (after taking into consideration any applicable Maturity Extension), the Weighted
  Average Rating Factor Test and the Diversity Test.

          “Senior Secured Loan” means a Secured Loan that is not subordinated by its terms to
  indebtedness of the borrower for borrowed money, trade claims, capitalized leases, or other similar
  obligations, with a first priority security interest in collateral and with respect to which the Portfolio
  Manager determines that the value of the collateral securing such Secured Loan equal or exceeds the


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  outstanding principal balance of the loan plus the aggregate outstanding balances of all other loans of
  equal or higher seniority secured by the same collateral.

           “Senior Unsecured Loan” means a Loan that (i) is not subordinated by its terms to indebtedness
  of the borrower for borrowed money and (ii) is not secured by a valid and perfected security interest in
  collateral.

          “Spread Excess” means, as of any Measurement Date, a fraction whose (i) numerator is the
  product of (A) the greater of zero and the excess of the Weighted Average Spread for the Measurement
  Date over the Minimum Weighted Average Spread specified in the applicable row of the Ratings Matrix
  and (B) the Aggregate Principal Balance of all Floating Rate Obligations (excluding any Non-Performing
  Collateral Obligations) held by the Issuer as of the Measurement Date and (ii) denominator is the
  Aggregate Principal Balance of all Fixed Rate Obligations (excluding any Non-Performing Collateral
  Obligations) held by the Issuer as of the Measurement Date. In computing the Spread Excess on any
  Measurement Date, the Weighted Average Spread for the Measurement Date will be computed as if the
  Fixed Rate Excess were equal to zero.

          “Structured Finance Obligation” means any obligation (other than the Notes or any other
  security or obligation issued by the Issuer):

                   (i)      secured directly by, referenced to, or representing ownership of, a pool of
          receivables or other assets of U.S. obligors, or obligors organized or incorporated in Moody’s
          Group I Countries, Moody’s Group II Countries or Moody’s Group III Countries, including
          portfolio credit default swaps and collateralized debt obligations, but excludes:

                          (A)     residential mortgage-backed securities;

                          (B)     collateralized debt obligations backed by Emerging Market Securities;

                          (C)    collateralized debt obligations primarily backed by asset-backed
                 securities;

                          (D)     market value collateralized debt obligations;

                          (E)    securities backed by “future flow” receivables;

                          (F)    securities backed by “trust preferred securities”;

                          (G)     net interest margin securitizations;

                          (H)     collateralized debt obligations backed by other collateralized debt
                  obligations;

                           (I)     collateralized debt obligations primarily backed by one or more credit
                  default swaps (i.e. “synthetic CDOs”); and

                         (J)      collateralized debt obligations a significant portion of which are backed
                  by bonds;

                  (ii)    that has an S&P Rating and an S&P Priority Category Recovery Rate;

                (iii)  that has a rating and a Moody’s Priority Category Recovery Rate assigned by
          Moody’s; and


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                  (iv)    whose ownership or disposition (without regard to the Issuer’s other activities)
          by the Issuer will not cause the Issuer to be treated as engaged in a U.S. trade or business for
          United States federal income tax purposes or otherwise subject the Issuer to net income taxes.

           In connection with the purchase of a Structured Finance Obligation, the Portfolio Manager shall
  obtain from Moody’s the applicable Moody’s Priority Category Recovery Rate.

           For purposes of the Diversity Test, multiple Structured Finance Obligations from CDOs managed
  by the same Portfolio Manager or multiple Structured Finance Obligations issued by the same master trust
  will be considered to be obligations of one issuer.

          “Subordinated Lien Loan” means a Secured Loan (other than a Second Lien Loan) secured by a
  second (or lower) priority security interest in the relevant collateral.

           “Super Majority” means, with respect to any Class or group of Notes and the Class E
  Certificates, Holders of more than 66Ҁ% of the Aggregate Outstanding Amount of that Class or group of
  Securities. With respect to the Class Q-1 Securities as such, the Holders of more than 66-2/3% of the
  stated amount thereof. With respect to the Class P-1 Securities as such, the Holders of more than 66-2/3%
  of the stated amount thereof and with respect to the Class P-2 Securities as such, the Holders of more than
  66-2/3% of the stated amount thereof.

           “Synthetic Security” means any swap transaction, structured bond investment, credit linked note,
  or other derivative financial instrument relating to a debt instrument (but excluding any such instrument
  relating directly to a basket or portfolio of debt instruments) or an index or indices (such as the “SAMI”
  index published by Credit Suisse First Boston) in connection with a basket or portfolio of debt
  instruments or other similar instruments entered into by the Issuer with a Synthetic Security Counterparty
  that has in the Portfolio Manager’s commercially reasonable judgment, equivalent expected loss
  characteristics (those characteristics, “credit risk”) to those of the related Reference Obligations (taking
  account of those considerations as they relate to the Synthetic Security Counterparty), if (i) it is either a
  Form-Approved Synthetic Security or the Rating Condition for each Rating Agency is satisfied, and (ii)
  the Reference Obligations thereof have a weighted average Market Value of at least 85% at the time the
  Synthetic Security is entered into

          The maturity, interest rate, and other non-credit characteristics of a Synthetic Security may be
  different from the Reference Obligations to which the credit risk of the Synthetic Security relates.

           No Synthetic Security shall require the Issuer to make any payment to the Synthetic Security
  Counterparty after its initial purchase other than any payments represented by the release of any cash
  collateral posted by the Issuer from the Collection Account to the Synthetic Security Counterparty
  Account simultaneously with the Issuer’s purchase of or entry into the Synthetic Security in an amount
  not exceeding the amount of the posted cash collateral. Collateral may be posted only to a Synthetic
  Security Counterparty Account. No Synthetic Security shall result in the Issuer being a “buyer” of credit
  protection.

          The term Synthetic Security shall not include any Structured Finance Obligation or any
  Participation, but the Reference Obligation of a Synthetic Security may be a Structured Finance
  Obligation.

          Any Synthetic Security shall be positively indexed to the Reference Obligation on no more than a
  one-for-one basis (i.e. unleveraged credit exposure).

          Each Synthetic Security Agreement shall (i) contain appropriate limited recourse and non-petition
  provisions (to the extent the Issuer has contractual payment obligations to the Synthetic Security
  Counterparty) equivalent (mutatis mutandis) to those contained in the Indenture and (ii) include

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  provisions satisfying the provisions of the Indenture and contain the limitations described under “Security
  for the Notes—Synthetic Securities”.

           The ownership or disposition of any Synthetic Security (without regard to the Issuer’s other
  activities) must not cause the Issuer to be treated as engaged in a U.S. trade or business for United States
  federal income tax purposes or otherwise subject the Issuer to net income taxes.

          Any “deliverable obligation” that may be delivered to the Issuer as a result of the occurrence of
  any “credit event” under any proposed Synthetic Security must qualify (when the Issuer purchases the
  related Synthetic Security and when such “deliverable obligation” is delivered to the Issuer as a result of
  the occurrence of any “credit event”) as a Collateral Obligation (except that such “deliverable obligation”
  may constitute a Defaulted Collateral Obligation when delivered upon a “credit event) and, unless the
  Rating Condition is otherwise satisfied, (i) must not provide that its transfer to the Issuer is subject to
  obtaining any consents, (ii) after giving effect to the delivery thereof would not cause the Concentration
  Limitations not to be satisfied and (iii) if the Reference Obligation of the Synthetic Security is a Senior
  Secured Loan then the “deliverable obligation” under the Synthetic Security must also be a Senior
  Secured Loan.

         Synthetic Securities that are credit default swaps, credit linked notes, or other similar instruments
  may not provide for “restructuring” as a “credit event”.

          For purposes of the Coverage Tests and the Reinvestment Overcollateralization Test, unless the
  Rating Condition for each Rating Agency is satisfied in respect of any proposed alternative treatment, a
  Synthetic Security shall be included as a Collateral Obligation having the characteristics of the Synthetic
  Security and not of the related Reference Obligations.

          For purposes of the Collateral Quality Tests (other than the Diversity Test and the S&P Industry
  Classification with respect to the S&P CDO Monitor Test), a Synthetic Security shall be included as a
  Collateral Obligation having the characteristics of the Synthetic Security and not of the related Reference
  Obligations.

           For purposes of calculating compliance with the Concentration Limitations other than limits
  relating to payment characteristics, and all related definitions, unless otherwise specified in the Indenture
  or by the Rating Agencies, a Synthetic Security shall be included as a Collateral Obligation having the
  characteristics of its Reference Obligations and not the Synthetic Security. For purposes of calculating
  compliance with the Concentration Limitations relating to payment characteristics, and all related
  definitions, unless otherwise specified in the Indenture or by the Rating Agencies, a Synthetic Security
  shall be included as a Collateral Obligation having the characteristics of the Synthetic Security and not its
  Reference Obligation.

           With respect to a Synthetic Security based upon or relating to a senior secured index investment
  providing non-leveraged credit exposure to a basket of credit default swaps referencing a diversified
  group of Reference Obligations, with respect to which the principal or notional amount of the credit
  exposure to any single Reference Obligation does not increase over time, for purposes of: (i) calculating
  compliance with the Diversity Test, the S&P Industry Classification with respect to the S&P CDO
  Monitor Test, and the Concentration Limitations (other than limits relating to payment characteristics and
  except for clauses 20 and 20(a) of the definition of “Concentration Limitations”), and all related
  definitions, and (ii) any other provision or definition of the Indenture involving a determination with
  respect to a Reference Obligation, the characteristics of such Reference Obligations shall be determined
  by treating such Synthetic Security as a direct investment by the Issuer in each such Reference Obligation
  in an amount equal to the Allocable Principal Balance of such Reference Obligation. In addition, each
  Reference Obligation under such Synthetic Security shall be assigned a Moody’s Rating Factor equal to
  the sum of the Moody’s Rating Factor of (i) the related reference obligor, (ii) the Synthetic Security


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  Counterparty of such Synthetic Security and (iii) the Synthetic Security Collateral of such Synthetic
  Security. In addition, the Moody’s Priority Category Rate in respect of a Synthetic Security referencing
  multiple Reference Obligations pursuant to this paragraph shall be the Moody’s Priority Category Rate as
  assigned by Moody’s to each Reference Obligation underlying such Synthetic Security. For the
  avoidance of doubt, Reference Obligations upon which a Synthetic Security is based as described in this
  paragraph must meet the definition of “Collateral Obligation” to the extent provided in this definition.

          Any Synthetic Security shall be positively indexed to the Reference Obligation on no more than a
  one-for-one basis (i.e. unleveraged credit exposure).

          If the Rating Condition must be satisfied to execute the purchase of any Synthetic Security, the
  Portfolio Manager, on behalf of the Issuer, shall give each applicable Rating Agency not less than 5 days’
  prior notice of the purchase of or entry into any Synthetic Security.

          “Synthetic Security Agreement” means the documentation governing any Synthetic Security.

           “Synthetic Security Collateral” means, respect to any Synthetic Security, amounts posted to the
  Synthetic Security Collateral Account by the Synthetic Security Counterparty in support of its obligations
  under the Synthetic Security, including (i) all Eligible Investments or (ii) investments that satisfy the
  Rating Condition with respect to Moody’s, in each case that mature no later than the Stated Maturity, in
  the Synthetic Security Collateral Account that are purchased with Synthetic Security Collateral; provided
  that Synthetic Security Collateral may not include any investment the acquisition (including the manner
  of acquisition), ownership, enforcement or disposition of which will subject the Issuer to net income tax
  in any jurisdiction outside its jurisdiction of incorporation.

         “Synthetic Security Counterparty” means any entity (other than the Issuer) required to make
  payments on a Synthetic Security (including any guarantor) to the extent that a reference obligor makes
  payments on a related Reference Obligation and meeting the Synthetic Security Counterparty Ratings
  Requirement.

          “Synthetic Security Counterparty Ratings Requirement” means, with respect to the Synthetic
  Security Counterparty and in respect of a Synthetic Security, a requirement that is satisfied if, at the time
  the Issuer enters into such Synthetic Security Agreement, the related Synthetic Security Counterparty has
  a senior unsecured credit rating assigned by S&P for short-term debt of at least “A-1+” or a senior
  unsecured credit rating assigned by S&P for long-term debt of at least “AA-”.

          “Tax Advantaged Jurisdiction” means one of the Cayman Islands, Bermuda, the Netherlands
  Antilles or the tax advantaged jurisdiction of the Channel Islands, or such other jurisdiction with respect
  to which the Rating Condition with respect to each Rating Agency is satisfied.

           “Tax Affected Security” means any asset received or otherwise acquired by the Issuer
  (including, without limitation, an Equity Security, Defaulted Collateral Obligation, ETB/897 Asset and
  Workout Asset) that will cause the Issuer to be deemed to be engaged in a trade or business in the United
  States for U.S. federal income tax purposes.

          “Tax Event” means an event that occurs if either:

                  (i)     (A) one or more Collateral Obligations that were not subject to withholding tax
          when the Issuer committed to purchase them have become subject to withholding tax or the rate
          of withholding has increased on one or more Collateral Obligations that were subject to
          withholding tax when the Issuer committed to purchase them and (B) in any Due Period, the
          aggregate of the payments subject to withholding tax on new withholding tax obligations and the
          increase in payments subject to withholding tax on increased rate withholding tax obligations, in


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          each case to the extent not “grossed-up” (on an after-tax basis) by the related obligor, represent
          5% or more of Interest Proceeds for the Due Period; or

                  (ii)    taxes, fees, assessments, or other similar charges are imposed on the Issuer in an
          aggregate amount in any twelve-month period in excess of U.S$2,000,000, other than any
          deduction or withholding for or on account of any tax with respect to any payment owing in
          respect of any obligation that at the time of acquisition, conversion, or exchange does not satisfy
          the requirements of a Collateral Obligation or Collateral Obligation.

          “Treasury Regulations” means regulations, including proposed or temporary regulations,
  promulgated under the Code. References herein to specific provisions of proposed or temporary
  regulations shall include analogous provisions of final Treasury Regulations or other successor Treasury
  Regulations.

          “Trust Officer” means, when used with respect to the Trustee, any officer in the Corporate Trust
  Office (or any successor group of the Trustee) including any director, vice president, assistant vice
  president, associate, or any other officer of the Trustee customarily performing functions similar to those
  performed by such officers in the Corporate Trust Office, or to whom any corporate trust matter is
  referred at the Corporate Trust Office because of his knowledge of and familiarity with the particular
  subject and having direct responsibility for the administration of this Indenture.

          “UCC” means the Uniform Commercial Code as in effect from time to time in the State of New
  York.

          “Underlying Instrument” means the loan agreement, indenture, credit agreement, or other
  agreement pursuant to which a Pledged Obligation has been issued or created and each other agreement
  that governs the terms of or secures the obligations represented by the Pledged Obligation or of which the
  holders of the Pledged Obligation are the beneficiaries.

           “Undrawn Amount” means at any time (i) with respect to any Class A-1A Note the excess, if
  any, of (x) the Commitment relating to such Class A-1A Note over (y) the Drawn Amount under such
  Class A-1A Note; provided that any funds deposited with the Trustee in a reserve account as a result of
  the failure of a Holder of such Class A-1A Note to satisfy the Rating Criteria during the Draw Period and
  any subsequent Prepayments in respect of such Holder’s Class A-1A Note placed pursuant to the
  Indenture in a separate subaccount of that reserve account relating to such Holder will for all purposes be
  part of the Undrawn Amount of such Class A-1A Note and such Holder will be entitled to receive the
  applicable Commitment Fee thereon, and (ii) with respect to any Class A-1B Note, the excess, if any, of
  (x) the applicable portion of the Fully Drawn Amount relating to such Class A-1B Note over (y) the
  Drawn Amount under such Class A-1B Note; provided that any funds deposited with the Trustee in a
  reserve account as a result of the failure of a Holder of a Class A-1B Note to satisfy the Rating Criteria
  during the Delayed Drawdown Period will for all purposes be part of the Undrawn Amount of such Class
  A-1B Note and such Holder will be entitled to receive the applicable Delayed Drawdown Fee thereon.

           “Unfunded Amount” means at any time, with respect to any Delayed Drawdown Loan or
  Revolving Loan, the excess, if any, of (i) the amount of the commitment with respect to such obligation
  over (ii) the funded principal amount outstanding on such obligation.

          “Unscheduled Principal Payments” means any principal payments received with respect to a
  Collateral Obligation as a result of optional redemptions, exchange offers, tender offers, other payments
  or prepayments made at the option of the issuer thereof or that are otherwise not scheduled to be made
  thereunder.

         “Valuation Report” means the accounting report, determined as of the close of business on each
  Determination Date, rendered in accordance with the terms of the Indenture.

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         “Warehouse Agreement” means the Asset Acquisition Agreement and Master Participation
  Agreement, dated as of August 1, 2005, among Citigroup Financial Products Inc., as the Warehouse
  Provider, the Issuer and the Portfolio Manager, as amended.

         “Warehoused Loans” means loans acquired by the Issuer before the Closing Date pursuant to
  the Warehouse Agreement.

           “Weighted Average Commitment Fee” means, as of any Measurement Date, an amount
  (rounded up to the next 0.001%) equal to the weighted average commitment fee on all Revolving Loans
  and Delayed Drawdown Loans determined by dividing (i) the aggregate of all scheduled amounts (other
  than interest) of commitment fees or facility fees payable on the Aggregate Unfunded Amount of all
  Revolving Loans and Delayed Drawdown Loans held by the Issuer as of such Measurement Date by (ii)
  the Aggregate Unfunded Amount of all Revolving Loans and Delayed Drawdown Loans held by the
  Issuer as of such Measurement Date; provided that if such quotient is less than the Minimum Weighted
  Average Commitment Fee for such Measurement Date, there shall be added to the amount set forth in
  clause (i) above an amount equal to the Spread Excess, if any, as of such Measurement Date (less any
  portion of the Spread Excess that has been added to the Weighted Average Fixed Rate Coupon as of such
  Measurement Date pursuant to clause (iv) of the definition of “Weighted Average Fixed Rate Coupon”),
  and the Weighted Average Commitment Fee as of such Measurement Date shall be the amount calculated
  after giving effect to such addition.

          “Weighted Average Fixed Rate Coupon” means, as of any Measurement Date, the rate obtained
  by:

                   (i)     multiplying the Principal Balance of each Collateral Obligation that is a Fixed
          Rate Obligation held by the Issuer as of the Measurement Date by the current per annum rate at
          which it pays interest (which (x) for PIK Securities for which interest has been deferred or
          capitalized, will be deemed to be zero and (y) for Collateral Obligations that would be PIK
          Securities but for the proviso in the definition thereof, will be deemed to be equal to the effective
          rate of PIK Cash-Pay Interest), using only the effective after-tax interest rate determined by the
          Portfolio Manager on any Fixed Rate Obligation after taking into account any withholding tax or
          other deductions on account of tax of any jurisdiction and any gross-up paid by the obligor);

                  (ii)    summing the amounts determined pursuant to clause (i);

                   (iii)  dividing the sum by the Aggregate Principal Balance of all Collateral Obligations
          that are Fixed Rate Obligations held by the Issuer as of the Measurement Date; and

                  (iv)      if the result obtained in clause (iii) is less than the minimum percentage rate
          specified to satisfy the Weighted Average Fixed Rate Coupon Test, adding to the sum the amount
          of any Spread Excess as of the Measurement Date, but only to the extent required to satisfy the
          Weighted Average Fixed Rate Coupon Test.

          “Weighted Average Life” means, as of any Measurement Date the number obtained by (i)
  summing the products obtained by multiplying (A) the Average Life at that time of each Collateral
  Obligation by (B) the Principal Balance at that time of the Collateral Obligation and (ii) dividing that sum
  by the Aggregate Principal Balance at that time of all Collateral Obligations.

          “Weighted Average Moody’s Rating Factor” means the summation of the products obtained by
  multiplying the Principal Balance of each Collateral Obligation (excluding Eligible Investments) by its
  respective Moody’s Rating Factor, dividing that sum by the Aggregate Principal Balance of all Collateral
  Obligations (excluding Eligible Investments) and rounding the result up to the nearest whole number.

          “Weighted Average Spread” means, as of any Measurement Date, a rate obtained by:

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                   (i)      multiplying the Principal Balance of each Collateral Obligation that is a Floating
          Rate Obligation held by the Issuer as of the Measurement Date by the current per annum contract
          spread at which it pays interest in Cash (which (x) for PIK Securities for which interest has been
          deferred or capitalized, will be deemed to be zero and (y) for Collateral Obligations that would be
          PIK Securities but for the proviso in the definition thereof, will be deemed to be equal to the
          effective rate of PIK Cash-Pay Interest), determined with respect to any Floating Rate Obligation
          that does not bear interest based on a London interbank offered rate, by expressing the current
          interest rate on the Floating Rate Obligation as a spread above a three month London interbank
          offered rate calculated in a manner consistent with the calculation of LIBOR;

                  (ii)    summing the amounts determined pursuant to clause (i);
                  (iii)   dividing that sum by the Aggregate Principal Balance of all Floating Rate
          Obligations held by the Issuer as of the Measurement Date; and
                  (iv)     if the result obtained in clause (iii) is less than the minimum percentage rate
          specified to pass the Weighted Average Spread Test, adding to that sum the amount of Fixed Rate
          Excess as of the Measurement Date.
         For purposes of calculating the Weighted Average Spread, the Principal Balance of each
  Revolving Loan or Delayed Drawdown Loan shall not include any of its Unfunded Amount.

          “Workout Assets” means a Loan, High-Yield Bond, or Qualified Equity Security acquired in
  connection with the workout or restructuring of any Collateral Obligation that the Issuer does not advance
  any funds to purchase and that does not qualify as a Collateral Obligation.

         “Zero-Coupon Security” means a security that, at the time of determination, does not make
  periodic payments of interest. A Zero-Coupon Security will not include a security that is a PIK Security.




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                Liberty CLO, Ltd.                                 Liberty CLO, Corp.
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                                           Liberty CLO, Ltd.
                                           Liberty CLO, Corp.

                U.S.$50,000,000 Class A-1A Revolving Floating Rate Senior Secured Extendable Notes
           U.S.$50,000,000 Class A-1B Delayed Drawdown Floating Rate Senior Secured Extendable Notes
                    U.S.$446,000,000 Class A-1C Floating Rate Senior Secured Extendable Notes
                      U.S.$68,500,000 Class A-2 Floating Rate Senior Secured Extendable Notes
                      U.S.$68,500,000 Class A-3 Floating Rate Senior Secured Extendable Notes
                      U.S.$43,000,000 Class A-4 Floating Rate Senior Secured Extendable Notes
                 U.S.$49,000,000 Class B Floating Rate Deferrable Senior Secured Extendable Notes
                 U.S.$52,000,000 Class C Floating Rate Deferrable Senior Secured Extendable Notes
                                               94,000 Class E Certificates
                                              ________________________
                                            U.S.$20,000,000 Class P-1 Extendable Securities*
                                            U.S.$5,000,000 Class P-2 Extendable Securities*
                                                      ________________________

                                  U.S.$20,000,000 Class Q-1 Combination Extendable Securities**

             *The Class P-1 Securities consist of the Class P-1 Class E Certificate Component representing 6,180 Class E Certificates and the
  Class P-1 U.S. Treasury Component representing U.S.$20,000,000 (face value) U.S. Treasury securities with zero coupon due November 15,
  2013. The Class P-2 Securities consist of the Class P-2 Class E Certificate Component representing 1,500 Class E Certificates and the Class P-2
  U.S. Treasury Component representing U.S.$5,000,000 (face value) U.S. Treasury securities with zero coupon due November 15, 2013. The
  6,180 Class E Certificates to which the Class P-1 Class E Certificate Component relates and the 1,500 Class E Certificates to which the Class P-2
  Class E Certificate Component relates are included in (and are not in addition to) the aggregate 94,000 Class E Certificates.
             **The Class Q-1 Securities consist of the Class Q-1 Note Component representing U.S.$12,600,000 aggregate principal amount of
  Class C Notes and the Class Q-1 Class E Certificate Component representing 7,400 Class E Certificates. The 7,400 Class E Certificates and the
  U.S. 12,600,000 aggregate principal amount of Class C Notes to which the Class Q-1 Class E Certificate Component and the Class Q-1 Note
  Component relate are included in (and are not in addition to) the aggregate 94,000 Class E Certificates and the U.S. 52,000,000 aggregate
  principal amount of the Class C Notes.




                                               OFFERING MEMORANDUM
                                                  DECEMBER 7, 2005


                                                             Citigroup




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